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                                                                                         Ff


        1        CAVIAR MICKENS
                 2309 SANTA MO1vICA BLVD.
       2                                                                          ~ ~      ~~       ~
                 SANTA MO1vICA,CA 90404
       3         424.436.1071
                 CAYIARMICKENS36@YAHOO.COM
       4         SELF-REPRESENTING
       5

       6          Pro Se

       7

       8                                    UNITED STATES DISTRICT COURT
       9                                   CENTRAL DISTRICT OF CALIFORNIA
                                           WESTERN DNISION OF LOS ANGELES
       ~o        CAVIAR MICKENS,              L ACV21,- 8826~~~9~am~.
       11
                              Plaintiff,
       12

       13    ~ vs.
                                                               'I~ COMPLAINT FOR FEDERAL TORT
       14        LOS ANGELES COUNTY,HOUSING                     ~ CLAIMS FOR VIOLATION OF:
                 AUTHORITY OF THE CITY OF LOS
       15
                 ANGELES,LOS ANGELES COUNTY                     (1)FAIR HOUSING ACT(1999)
       16        SHERIFF'S DEPARTMENT,LOS                       (2)THE SECTION 8 ACT (193'n
                 ANGELES POLICE DEPARTMENT,                     (3)TITLE VII CIVIL RIGHTS ACT(1964)
       17        DIVSION OF ADULT PAROLE                        (4)TITLE 42 U.S.C. 1983)
                 OPERATIONS,PATH,are California                 (5)AMERICANS WITH DISABILITY ACT
       18
                 businesses,
       19                                                           (Amount Ezceeds $75,000.00)
                              Defendants)
       20                                                              TRIAL BY JURY DEMAND:NO
                                                                       DEMANDED REWARD:YES
       21

       22

       23                                  COMPLAINT FOR INJURIES AND DAMAGES
                                                  (Housing Discrimination)
       z̀!
                 1. Complaint for injuries and damages under statutory Title VII. ofthe Civil Rights Act
       25

       26        1964,the Section 8 Act of 1937,the Fair Housing Act of 1999 and Title 42 of the United

       27    ~ States Code Section 1983 for housing discrimination and based on cause of action for
       2s (1)"Housing Discrimination" under the Housing Act(1999),(2)"Conspiracy to Deprive
             I
                 FEDERAL TORT CLAIMS FOR HOUSING
                 DISCRIlVIINATION VIOLATIONS

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 1    Rights" and Interfered with Civil Rights" under Title 42 U.S.C.1983,Fair Housing
2
      Act 1999 and Section 8 Act(1937),(3)"Negligent Failure to Provide General Assistance"
3
      under Title 42 U.S.C. 1983.42 U.S.C. 1437(al(A)Bl and Fair Housing Act,(4)"Negligent
4
      Failure to Make Reasonable Accommodation and Person with Disability" under the
5

6     Section 8 Act(1937)and the American with Disability Act,(5)"Discriminated Against

7     Make Reasonable Accommodation" under Title II. of Federal Americans with Disability
8
      Act,(~ "Discrimination Against Person with Disability", under the Civic Rights Act(1964)
9
      and American with Disability Act.
10

11

12
       A. PARTIES
13
                                   (Injured and Damaged Plaintiffl
14

15    2. I, CAVIAR MICKENS,as the ("Plaintiff'), and an individually, and citizen of the State

16    of California, and within the territory of the United States is a party to this action. And has
17
      been a residence of State of California thereat from 2005 to 20021, whereas had applied for
1s
      housing assistance with having possessive impeded disability and low source ofincome and
19
      that was adequately at acknowledge to the County of Los Angeles before and after within
20

21    the state territory whereas plaintiff `s injuries had occurred and is authorize pursuant to

22    Federal Rules ofCivilProcedures Section 4(b) once the United States District Clerk Office
23
      has finish (Federal Rules ofCivil Procedures Section 4(a))the completion filed process
24
      herein this complaint, plaintiff will served the federal summon and complaint to the
25
      defendants. The defendants had causes damages to housing opportunity based on
26

27    prejudice. CaL Gov 't ~ 12989.2(Lost ofhousing opportunity)

28                                (State and Local Government)


      FEDERAL TORT CLAIMS FOR HOUSING
      DISCRIMINATION VIOLATIONS

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1      3. Housing Authority of the City Los Angeles, as an ("Defendant"), and a local
2
       government public entity of the County of Los Angeles and may be a municipal
3
       corporation, and may be served with U.S. Marshal process (pursuant to FederalRules of
4
       CivilProcedures Section 4(c)(e)(i)))[at the address 2600 Wilshire Blvd.,Los Angeles,CA
5

6 ~ 90057], and served with a copy of the summon and herein this complaint. F.R.C. ~ 4(j)(i)

7

8
       4. The Los Angeles Sheriffs Department whom is a party to the action(Fed Ruh Civ
9
       Proc ~§19(1)(B)-20) and is an ("Defendant")and is a law enforcement service agency of
l0
       County of Los Angeles, and therewithin the State of California whom is authorize by the
11 I

12     county and state constitution and may be served with U.S. Marshal process(pursuant to

13     Federal Rules ofCivilProcedures Section 4(c)(e)(i)))[at the address 500 W Temple St,
14
       Room 383, Los Angeles,CA 90012], and served with a copy of the summon and herein
15
       with this complaint. F.R.C. ~ 4(j)(i)
16

17

18     5. The Los Angeles Police Department whom is a party, is an ("Defendant")and is a law

19     enforcement service agency:"The Los Angeles Police Department is a protected service
20
       organization agency whom provided law enforcement services for the Districts of Los
21
       Angeles fLAMC661.071 and thereat,the time between the year 2005 through 2021 plai
22
       had witnessed the agency as a public services of the City of Los Angeles district and had
23

24     offered referral services to the Housing Authority of the City Los Angeles", and

25     therewithin the County of Los Angeles and State of Californian whom is authorize by ~C
26
       Council Municipal Code Section 3.13-56.11 of the City of Los Angeles and state constitute
27
       fCa~ Cons't. Art 11.Sec. 1 localPovernment aPencvl and may be served with U.S. Marshal
28



       FEDERAL TORT CLAIMS FOR HOUSING
       DISCRINIINATION VIOLATIONS

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1     process(pursuant to Federal Rules ofCivi[Procedures Section 4(c)(e)(i)))[at the address
2
      100 W 1st Street, Los Angeles,CA 90012], and served with a copy of the summon and
3
      herein with tlus complaint. F.R.C. ~ 4(j)(i)
4

5

6 ~ 6. The Division of Adult Parole Operations is party to the this action and whom is an

7 ("Defendant"),and is a state department agency of the State of California (California CodE
g     ofReQulation. IS. Division 3. Chanter 11 and is a private sector of government supervision
9
     (for convicted offenders (California Code ofReFulation.Section 35001 whom are reenterinP
10
      into the uubGc community and thus department agency providing services or and
11

12    demands from the people of communities or county or district or any resident

13    neighborhood community therewithin the County of Los Angeles and State of California
14
      whom is authorized by the Governor's Office and Department of Corrections), and may be
is
      served with U.S. Marshal process(pursuant to Federal Rules ofCivilProcedures Section
16
      4(c)(e)~)))[at the address 2444 South Alameda Street, 2nd Floor, CA 90058], and served
17

18    with a copy of the summon and herein with this complaint. F.RC.§4(j)(i),

19

20
      7. The Los Angeles County whom is a party to this action(Fed Ruh Civ Prot ~~ 19(1)
21
   ( B)-20) and is an ("Defendant") and the County of Los Angeles is person of within the state
e~~
    and is a supervised county ofthe County ofLos Angeles, and therewithin the State of
23

24    California whom is authorized by state constitution and at the address 500 W Temple St,

25    10th Floor, Los Angeles, CA 90012], and may be served with U.S. Marshal process
26
      pursuant to Federal Rules ofCivil Procedures Section 4(c)(e)(i)) served with a copy of the
27
      ~ summon and herein with this complaint. F.RC.~ 4(j)(i)
28



      FEDERAL TORT CLAIMS FOR HOUSING
      DISCRIlVIINATION VIOLATIONS

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                                       (Private Organization)

      8. Path whom is a party to the action and is an ("Defendant")and is organization within

      of the City of Los Angeles (Revenue and Taxation Code Sections 2307:26 C.F.R. 301.7701-

      2(b)(3)(business entities and defmition)l, located the address of 2346 Cotner Ave,Los
~~
6     Angeles, CA 90064 and,offer services for the homeless or low-income person and

7 ~ therewitlun the County of Los Angeles and State of Californian whom is authorize by City

8
      Los Angeles to do business. And was contacted on many occasions for housing assistance
9
      and may be served by a private process server pursuant to FederalRules ofCivil
to
      Procedures Section 4(a)(b).
11

12

13    B.FEDERAL COURT HAVING JURISDICTION
        OVER SUBJECT-MATTER
14

15    9. This court has original jurisdiction over this federal lawsuit, that arises under the Titles

16    VlllofFair Housing Act(1988), and 42 U.S.C. ~~619.3601-3604(Public Health and
17
      Welfare-discrimination); and the Civil Rights Act(1964). In 2005 I, plaintiff had moved to
18
      the State of California to only ezpected its county of providing public welfare assistance
19
      stable housing and that I moved from the State of Tennessee whereat that plaintiff having
20

21    habitual residency of the Memphis Shelby County, Tennessee.

22

23
      10. Plaintiff had been referred by a public county office of the County of Los Angeles
24
      whereat, and thereafter referred to the defendant(Rousing Authority of the City of Los
25
      Angeles)for housing assistance whereat I'd applied for section 8 application of housing
26

27    assistance at the Section 8 department via telephonically and written administrative form,

fr~:~ injured had occurred, therefore, this federal court has jurisdiction over subject-matter



      FEDERAL TORT CLAIMS FOR HOUSING
      DISCRIlVIINATION VIOLATIONS

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 1    when the county had an obligation to reflect accordingly to federal regulation 42 U.S.C.
2
        3601(Pub. Law 90 -284, title VIl.S 801. Anr~ 11.1968.82 staff 81.)-3604     c to assist a
3
      low income person when referred by another public agency that assist homeless person an
4
      provide housing placement pursuant to Title 24 Code ofFederal RePulations(demonstrate
s l
6     that the HACLA must manages its program in a manner that reflects its commitment to

7     improving the quality of housing available to the public).
8

9
      11. The defendant(Housing Authority of the City Los Angeles)is an authorized person to
10
      operate in the state as a public institution for public housing assistance and such housing
11

12    vouchers for placement for low income protected class group individuals (see egh. A:

13    Admission Continued and Occupancy Policy, pg. 1-3), and therefore within the territorial
14
      jurisdiction offederal district court,the court has jurisdiction over the defendant pursuant
15
      to the Federal Fair Housing Act: Federal Tort Claim Act.
16

17

18    12. And I, plaintiff had suffered injuries and damages to life, health,companionship,and

19    emotional distress (sleeping disorder) of the continuance periodically [15 years] amount of
20 deprivation of housing assistance and thereoffdteen years of section 8 housing
21
      discrimination by the Department of Housing Authority ofthe City of Los Angeles and
22
      other defendants within [county and its county's agencies] whom all had jointed vicarious
23

24    concert of housing discrimination. The court my have jurisdiction in the matter that is an

25    issue of housing discrimination under federal law. And whereas,this Court has jurisdiction
26
      over this action and may grant the relief sought herein pursuant to
27
      1443.
28



      FEDERAL TORT CLAIMS FOR HOUSING
      DISCRIIVIINATION VIOLATIONS

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      13. The court has jurisdiction under the Disability and Employment Act: At the time
2
      when applied for Section 8 program from the Housing Authority of City of Los Angeles

      County I, plaintiff had possessed some disable mental function that had prevented from
4
      normal self-care of providence and supporting housing and food in the County of Los

      Angeles.Individual With Disability Education Act:20 USCA SS 1400-1491



      14. That I plaintiff in 2005 bad possessed a disability and was discriminated based on

      having some impairment of disability that may have or may not at time or after when
10
      applied for Section 8 housing was known to the department of my disability. Fair
it

12    Housing Amendments Act of1988;42 U.S.C.S 3601 et seQ:(see exh. B:LACDA's Policv-

13    NonDiscrimination Policy. pP.2-3; Americans With Disability Act(1990)
14

15
      15. Under the statute title 42 U.S.C.63604(a)(bl it is prohibited for any county within the
16
      United States to operate with deliberate interference housing accommodation and that is
17

18    not accordingly with housing rental assistance as defined under the Code ofFederal

19    Regulation Section 24(Discriminatory conduct)and(Section 805(b)ofthe Fair HousinP Act:
20
      It shall be unlawful for any person or other entity whose business includes engaging in
21
      residential real estate-related transactions to discriminate against any person in making
22
      unavailable):"In 2005 and 2006 plaintiff had applied for Housing Assistance as an
23

24    individual with low income or and without income sources in the County of Los Angeles,
      and, whereas plaintiff was under government surveillance investigation for unknown
25
      reason that was uniquely had been presented and delivered in technique methods to the
26

27    plaintiff in a "hybrid-discovery" manner and style and under the "third-degree" police

28    interrogation [see in re Miranda's WarninP Protection. Chv~ Z(The Third Degree-Police


      FEDERAI.TORT CLAIMS FOR HOUSING
      DISCRINIINATION VIOLATIONS

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      Interrogation; see in The History and Evolution ofAmerican Torture and Secrete Prisons

     (1898-2008)] in 2018 and thereafter bad led to the further discovery and the conclusion of

      housing assistance discrimination potentially closing in factors by telephonically trick or
4
      persons)[county or department or office or state] that had, discriminatory influenced

6     agendas for the Housing Authority of the City Los Angeles not to assist plaintiff', district

      court is proper pursuant to section 1357 of Title 28(Judiciary and Judicial Procedure)that

      plaintiff seek liability of loss of housing opportunity and plaintiff seek the reward in
9
      all jointed and contributed defendants for liable for the loss amount equivalent [to 16 years
to
      of housing deprivation] thus and thereof the partial percentage coverage divided among
11

12    defendants in any all rental lease for a housing unit or house and liable for all rental

13    application (credit check and letter of guarantee rent payment as designated for scheduled
14
      payment by property management or manager of rental unit).
15

16    16. The court bas jurisdiction in the justiciability doctrine and Zone-of-Interest: whereas
17
      the question arisen under federal constitution[28 U.S C. 13311 for administrative review
18
      department's operation of Housing Assistance and the failure of eligibility or ineligibility
19
      Section 8 notice for the plaintiff as an applicant for 16 years and that the plaintiffs injury
20
21    were sustained through the general failure of county to provide housing assistance thus

22    thereof the failure of 16 years of the nonhousing residence of the County of Los Angeles.
23
      Administrative Procedure Act:Lexmark Int'~ Ins, a Static Control Components.Ins,supra.
24
      ~ 572 US at 129.134 S. Ct at 1388:5 USCS 70~a) person suffering a lesal wrong by an
25
      aPency's action)
26

27

28



      FEDERAL TORT CLAIMS FOR ROUSING
      DISCRIMINATION VIOLATIONS

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1 1 17. As the plaintiff had seek permanent assisted residence or shelter or any housing

2
      covenant in the County of Los Angeles and by the County from the years 2005 through
3
      2020 and its designated agency [Housing Authority of the City Los Angeles] and that all
4
      times as a homeless resident of or person residing in the county,deprive of rights to obtain
S

6     or possess or having equal services for housing as it has the attachment ofthe First

7     Amendment equal protection of state and federal constitution and it is at issue of subject-
s     matter and the district court has jurisdiction when rights was violated as to interference or
9
      restriction of federal rights.
~o
      29161
11

12

13    18. The court has jurisdiction when the issue at subject-matter when a public agency bas a
14
      federal obligation (pursuant to 42 U.S.C. ~3601(to provide housing and thus commenced
15
      efforts to homeless person), and that another agency [Los Angeles County Sheriff's
16
      Department and other public interested individuals] interfered or obstructed or caused to
17

1s or influence to cause the housing discrimination or deprivation: Plaintiff alleged full under
19    the Federal Theory Doctrine Act; F.R.E.66301-406. and based on vicarious circumstance of
20 the discovered awareness of state agencies' satellite surveillance or drones, a fairy drawing
21
      conclusion and speculation of patterns fF.RE. S6 301-302(Presumption- a fact that rise to a
22
      vresumntion without evidence or to rebutl concluded to acts)and activities and potential
23

24    acts)and activities were use in instrumentality during the periods alleged in housing

25    assistance deprivation while under surveillance investigation.
26

27
      C. VENUE
2s


      FEDERAL TORT CLAIMS FOR HOUSING
      DISCRIlI~IINATION VIOLATIONS

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 i   19. Under 28 U.S.C. SS 1390(a)-1391(b)(1)(2)(c)(2)(e) venue is proper, because generally,
2
     defendant, Housing Authority of the City of Los Angeles whereas it resides in this district
3
     of Los Angeles County. And while, I, plaintiff had made numerous transactional
4
     application to Section 8 Department for housing assistance in the past sizteen years and
5

6 ~ with no correspondence notice of ineligibility or eligibility and housing approval with the

7    defendant,the federal court is proper venue for all issues concerning subject-matter,
8
     pursuant to 28 U.S.C. S 1402(61; see DelRaso a United States(7th Cir. 20011244 F. 3d 567.
9
     570,fn(Action under the Federal Tort Claims Act!28 U.S.C. 51346(6). 2671 et seQ(may be
10
     prosecuted either where the plaintiff resides or where the act or omission occurred).
11

12

13   20. Because I plaintiff alleges a serious constitutional violation against Public Health and
14
     Welfare, that the public office or institution department had failure its general principles
is
     and federal regulations,that this court is a proper special venue pursuant to 42 U.S.C.6
16
     ZOOOe-S(f1(3);            v Johnson &Johnson Consumer Prod
17

18   F
     .3d 493. 506-Title VIPs venue urovision).

19

20
     21. This United States District Court is the proper venue thereof because under Public
21
     Welfare Title 42 Sections 3607-3608 anytime a county has fail providing permanent and
22
     stabling housing assistance whether by intended or negligent careless or any circumstance
23

24   that the failure of housing assistance was or was not related to discrimination or reckless

25   care the venue is proper when a federal question is the subject matter of concern: Plaintiff
26
     was confidentially deprive housing assistance by local government ofthe County of Los
27
     Angeles and when under surveillance investigation Cad Gov. Codes ~~SS 11180.25303.
28



     FEDERAL TORT CLAIMS FOR HOUSING
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 1   25212.2660026604;28 U.S.C. S 533 and by other instrumental devices (amplified
2
     communication,radio or direct feeds by government agency Accountability and
3
     Transnarencv Act of2005:(SB 796 Senate Bill that was were used for untraceable or for
4
     uneatractable logging or print or receipt of record or pattern mark or any data recording
5

6    for review or inspection or any method for generating records that may had led to

7    indicated housing discrimination by conductivity or in near a proxy of vicarious.reports.
8
     Fed Ruh Evid ~~ 106-406
9

10   22. Plaintiff was accused of a false sexual offense in another state's jurisdiction
11
     [Tennessee] and the accused sezual offense as a minor [age ('n] and was protected under
12
     federal privacy laws as a minor. The sezual offense record from the State of Tennessee,
13
     that was under theirs' protected liability and obligation to protected disseminated
14

15   confidential information and disregard the accused sea offense record, but the State of

16   California and within its state, County of Los Angeles had obtained such state-to-state
17
     conGdenNal record of[sex offense allegation] fCa~ Pen. Code & 11167.5(Confidential
1s
     reuort;l8 U.S.C. 19051,this federal district court bas original jurisdiction for special
19
     protected class members under circumstance involving sezual offenses and the
20
21   circumstance,involves federal agency [military] of a different state's jurisdiction.

22

23

24   D.

25   23. I, plaintiff, Caviar Mickens had first register application to the Section 8 Housing
26
     Assistance with the Housing Authority of the City of Los Angeles, at the address 2600
27

28



     FEDERAL TORT CLAIMS FOR HOUSING
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 i     Wilshire Blvd.,Los Angeles, CA 90057,in the year 2005 by telephonically.(see ezh. Q-J,
2
       Doc 1: Photo: HACLA building and environment)
 K~
4
       24. Naming as the defendant, Housing Authority of the City Los Angeles, and believes it is ~
5
6      the true and accurate name that defendant that uses and do business under the stated

7      entity name. The defendant is a public entity of county of Los Angeles and provides
8
       assisted services thereof housing accommodation for person with low income or non-
~~
       income source or person with disability for the protected class group members of the state
10
       of California.(CaL Gov 't Code ~~ 12900,12901(Appointment))-12920(purpose policy power)I
11

12

13     25. At between periods of 2005 through 2014, plaintiff had been discriminatory remove
14
       from application process or denied without notice or denied application process or
15
       interfere with application process. Plaintiff had under reasonable assumption (F.R.E. ~~
16
       302-401] in vicarious nezus circumstance in the county's government activity affairs, as the
17

1s affairs proficiently damaged housing assistance, conclusively determined in the year 2021
19      and also having determined the housing discrimination may had been the participated of
20
       the defendants, Housing Authority of the City of Los Angeles and other outside agendas of
21
        a law enforcement agency,of the Los Angeles County Sheriff's Department.
22

h~Cl

24     26. The defendant, Division of Adult Parole Operations, had to some degree of vicarious

25     I circumstance and the influence or direct or cause to direct or contributed to
26
       ~ chose of housing assistance in the year 2014. The act was in concert of computer hacking
27
       (internet domain name search engine),the directing the availability of housing assistance
2s


        FEDERAL TORT CLAIMS FOR HOUSING
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      within the Los Angeles County, whereas plaintiff was directed in the [IDNSE]to a mental

      housing resident for the purpose offitting in a past-tense agenda that had reflect to an
3 ~
      deceptive reputation or mental status of plaintiffs, and that had cause to some degree of

      vicarious attribution, and of plaintiff's than 2014 employments, whereas the `constructive

      employment discharge oftermination'for the purposes resulted in losing permanent

      housing residency [located at North Hollywood City] and political interests.



      27. Plaintiff had become aware of the past-tense conducting activity for 2014 to be
to
      as surreal and the electronic (personal cellphone and computer or other public computers
11

12 [Los Angeles Public Library]] hacking or accessible by certainly a county department

13    during the advanced investigative surveillance(Cad Pen. Code65631. The discovery had
14
      come in unique fashion of investigatory trick [third degree police method] while enduring
is
      from the state of comatose recovery and while incarcerated in a county jail.
16

17

1s 28. While incarcerated in Los Angeles Sheriff's County Jail, the department had made its
19    insinuation of the surveillance investigation very vicariously conveyed aggressive, and
20 while incarcerated in the Los Angeles County Sheriffs Department,through the LASD
21
      informants and audio and tv signal(HDMI spGtter or link connection)to other devices
22
      'I is use for electronic printed interpretation for predicament of body behavioral patterns or
23

24    act, whereas thus had becoming self-conscious awareness to the orchestration of

25    discriminatory selecting housing location and among certain residents and the electronic
26
      hacking.(Computer Fraud and Abuse Act.; 18 U.S C.S 1030(The phrase "computer
27
      hacking" normally refers to illegally using of personal computer or general computer to
28



      FEDERAL TORT CLAIMS FOR HOUSING
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 1   make an attempt to access another computer without consent to cause harm or commit
2
     fraud or deceit) Plaintiff was deceive and by deceitful website appearance of a post
3
     housing assistance advertisement though a third party website (craig list)[in Plaintiff's
4
     partial recollection, of the stated website's lured posted housing information: "if you are
5

6    just looking for a place to stay-", of a alcohol sober rental living house that was operated

7    a private own and that was managed by an Los Angeles Federal Bureau ofInvestigation
s Informant].42 U.S.C. 612182(b)(2)(A)(ii)(structural communication barrier);
9

10
     29. P1ainNff had concluded this year of 2021 of the sufficient legality of the past
11

12   orchestrated activity thus, housing discrimination and discriminatory chose of housing

13   assistance and location and the plaintiffs visually noticed of repeated and change of the
14
     website posted rental housing room ad (42 U.S.C. S 12181(b)(2)(A(iv)) when plaintiff bad
15
     search for housing assistance at a library branch of the Los Angeles County Public
16
     Library. f42 U.S.C.63604(a)(housing practice-making unavailable housing); Woods v.
17

18   Foster. 884 F.Sups. 1169.1175(N.D. Iii. 1995: Cad Gov Code ~ 12927(c)(2)(A):24 C.F.R

19   ssloo.so-loo.90~
zo
zi
     30. The Division of Adult Parole Operations had to some degree to cause influence or had
22
     direct cause of action in housing discrimination with and within the County of Los Angeles
23

24   and had cause the influence or direct cause of act of discriminatory housing assistance with

25   a private organization Path.
26

27

28



     FEDERAL TORT CLAIMS FOR HOUSING
     DISCRIMINATION VIOLATIONS

                                              PAGE 14 OF 68
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 1      31. The defendant(Path) made contact with plaintiff regarding housing assistance at the
 2
        Los Angeles Union Station Tran Rail [located at 800 N Alameda St,Los Angeles, CA
 3
        90012] and sounded the availability of apartment units.(see ezh. K,Photos,1-15: Metro
4
        Rail Cameras)And I, plaintiff had return contact for housing assistance to Path but was
 5

6       interfere or denied,that Plaintiff believes it was by the defendants,Division of Adult Parole

 7      Operations and defendant's discriminatory agendas,the Los Angeles County Sheriffs
 8
        Department,Los Angeles Police Department,Los Angeles County,and Path from 2018
9
        through 2021 for political interests and for attempted false-imprisonments by abetting and
10
        aiding public nuisance.
11

12

13

14 ',
        E. STATEMENT OF FACTS
15
        32. I,P1ainNff had moved from the State of Tennessee, with no stable financial source of
16
        income and no arranged permanent housing residence placement ofto the County of Los
17

18      Angeles. Thereby plaintiff was of no permanent residency,thereat homeless in the Coun

19      of Los Angeles. Sometimes in between May 2005 to June 2005 whereat I plaintiff had
20
        moved to the county, was offered shelter assistance of a two-week hotel voucher from the
21
        Department of Public Social Services.
22

23

24      33. From thereat of services by the Los Angeles County ofDepartment of Public Social

25      Services,I was giving an information form that had contain the information of"applying
26
        for section 8 housing assistance", and was verbally instructed to telephonically contact the
27
        Section 8 Department for applying for Section 8.I was informed by a case worker of
2s


          FEDERAL TORT CLAIMS FOR HOUSING
        I DISCRIlVIINATION VIOLATIONS

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1    Department of Public Social Services there would be a waited period about 1 to 2 years of
2
     Section 8 housing assistance approval from the time I had applied in year 2005. And the
3
     following year of 2006 I bad redundantly applied again for section 8 housing, and I was at
4
     over the age 18 years old and bad met all or some administrative criteria for Section 8
5
6    application process(see ezh A,Docl, pg 8-14).

7

8
     34. When had applied with the department of Section 8(see ezh. J,Photos: HACLA
9
     Building and Location Environment)I had conducted apre-application interview by a
10
     female intaker, city operator of the City of Los Angeles, via telephonically [electronicallyj.
11

12   The plaintiff information and the necessary background information that was needed for

13   completion of section 8 application and was giving to the female intaker/operator over the
14
     telephone communication.I, Plaintiff was informed by the person whom had completed
15
     plaintiff's application "that the waited periods for section 8 approval was 5 or 10 years due
16
     to increased volume of section 8 applicants and already approval applicants that are
17

1s   awaited housing in section 8 placement".

19

20
     35. From 2005 through 2019 I had approximately applied for section 8 of housing
21
     assistance about 4 to 6 times of applications. The department had refused or and made no
22
     notice of acknowledgement of application of all eligible application and no approval of
23

24   section 8 housing assistance within last 16 years of being qualified participant in the see

25   8 program.
26

27

28



     FEDERAL TORT CLAIMS FOR HOUSING
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1     36. Between the years 2006 and 2007 I bad personally applied in office of the section 8
2
      department, whereas I filled an application and personally delivered to person at a window
3
      ofthe section 8 line. The application that was handed to the clerk was assumed process for
4
      eligibility for Section 8 housing and the waiting list in the year 2006.(2 Cad Code Regs ~
5

6     12120(a)(1))                                                                                    i

7 1

8
      37. In 2019 I had reapplied for section 8 with the department and was informed that no
9
      time of designation of approval of section 8 will be determined and that I would potentially
to
      may or may not be eligibility for Section 8 housing program and arranging to 5 to 10 years
11

12    for approval.

13

14
      38. During year 2019 plaintiff was under constant heath complication [irregular
15
      heartbeats, malaise(nerve vibration), seizures, etc.) and under satellite surveillance and by
16
      also the county as on parole in the County of Los Angeles whereas the retaliation agendas
17

1s in the county and constructive deprivation of agencies within the county for the meaningful
19    purpose ofinterfering with and having direct influence to housing discrimination [as to
20
      compulsive deceitful offer housing assistance in hostile or criminality or distraught
21
      [menace] environment that would goes to an effect of disparage appearance and that would
22
      benefit of departments' of the county and a department's (Division of Adult Parole
23

24    Operations)compliance with regulation and of past-tense alignment of interests and thus

25    unconstitutional agendas [Falsely materials of Bare Bonding of filming productions]].
26
      39. I,Plaintiff had been had introduced to housing assistance by a private organization at
27
      the Los Angeles Union Station (see ezh. K,Doc 5-6). I was given a contact information,to
28



      FEDERAL TORT CLAIMS FOR HOUSING
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 1 . contact the individual employee(Maria)for housing assistance from an organization

2 '~
       (Path),located then at 5627 Fernwood Ave.,Los Angeles,CA 90028 then 2019(see ezh. O:
3 ~
       Photo: Path Resource Center building), once I meet the requirement and establish some
4
        source of employment and stable financial source of income that would be seemingly
5
6       appropriated for requirement of the organization. At the 6me plaintiff was suffering a

7       medical disability whereas housing was necessary needed for immediate accommodation in
8
        the year 2019.
9

10
        40. Once, plaintiff bad obtained employment for a month or two I had contacted the
11

12      person(Maria)whom advised me immediately once obtain employment to contact herby

13      phone via call or tent: Made many texts and phone calls were sent to the Path employee
14
       (Maria)whom believes was still an employee of the private organization Path.
15

16
        41. At the time I, plaintiff bad been under surveillance and phone hacking by Los Angeles
17

1s Police Department,Los Angeles County Sheriffs Department,Los Angeles City Attorney'.
19      Officers and Parole Office and of some all agencies' informants.(2 Cad Code Refs
20
        I2020(hostile environment harassment that causes unwelcome conduct sufficiently pervasive
21
        to interfere with housing accommodation) The potential of non- housing assistance from the
22
        organization (Path) unclear determined whom cause the deprivation from housing
23

24      assistance in the year 2019 when advised by Path to contact them once obtaining

25      employment status: I had attempted many communication by text messages and telephone
26
        calling to Maria. But no reply was return. 42 U.S.C. 53604(b)(discrimination in term or
27
        condition or privilege based on connection)
2s


        FEDERAI.TORT CLAIMS FOR HOUSING
        DISCRIlVIINATION VIOLATIONS

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1

2
      42. I, plaintiff had been constant followed and unwanted stalked and cyber stalked by
3 I
      unknown naming group ofindividuals of the county and believes those individuals involve
4
      wee of employees ofPath Organization and person of public building offices.
5
6

7     43. In the year 2014 I, plaintiff had been released from state prison and onto Parole
8
      Supervision (Division of Adult Parole Operations Mid-City 3)in the County of Los
9
      Angeles,located at 2444 South Alameda,Vernon,Ca 90048.
to

11

12    44. The parole office then in 2014 had offered some housing assistance in a hostile or

13    criminality or distraught[menace] environment. At the time plaintiff was not aware or
14
      having any knowledge or could not have possess knowledge by reasonable due diligence of
15
      the concert activity([psyched treatments])[causation of housing discrimination,
16
      discriminatory chose of housing assistance, and employment termination] in 2014 that was
17

1s discovered in between 2018 through 2021.
19

20
      45. In the year 2014 release from prison I, plaintiff had thought and very often of Section 8
21
      housing assistance and the application filed in 2005 and 2006. Plaintiff had believes bad
22
      contacted Section 8 for status update and that no status had ezisted for update. Plaintiff
23

24    believes to some degree and thus vicarious circumstance that of state department or agency

25    had discriminated in housing assistance and that among attributive defendant, County of
26
      Los Angeles joint in concert in influence of nonhousing assistance (24 C.F.R. 960.2061.(see
27
      egh A,Doc 1, pg 24: Removal of waiting list)
28



      FEDERAL TORT CLAIMS FOR HOUSING
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 1

~~
     46. In the year 2014,I, plaintiff was release from state prison, and had seek housing
3
     assistance through the Internet domain for any housing assistance for low income and
4
     convicted felony person for reentry into a peaceful community residence. The agency
5
6    [Division Adult Parole of Operations] that plaintiff had reported for supervision, the

7    agency had assisted in aggressive orchestration and under government operation of
s    pertinent to housing residency for political reasons that was concluded in the year 2019
9
     through 2021 as the [plaintiff had suffered from injuries and was recovering from state of
to
     coma that was cause by an investigation and that had led to the concluded vicarious
11

12   discovery in 2018 -2020 or and reasonable circumstance of residual hearsay of a deceptive

13   hacking then 2014 of my personal computer and county public computers' Internet
14
     search engine of"housing assistance" and the interference; and further concluded that
15
     other local agencies had participant in or influenced the concert act in year 2014.
16

17

18   47. After sometimes serving on parole for years thereat from January 14,2014 and asking

19   for the suitable housing plaintiff was refer to lobby board whereas "posted housing
20 information" ofinside a parole office lobby, but discovered
                                                               sometimes a years later that
21
     parole office were concealing and discriminatory selectively housing placement for favored
22
     parolees base on pervasive racial motivation and discrimination and investigatory agendas
23

~z~ while under duty of the department of correction regulation to assist in housing assistance.
25

26
     48. In 2019 plaintiff was not able to find suitable housing placement or sharing housing
27
     unit within the County of Los Angeles.
28



     FEDERAL TORT CLAIMS FOR HOUSING
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i
z 49. In the year 2019 plaintiff was approached in a Los Angeles Union Station [see ezh. B:
3
     Photo: Union Station], by a private organization(Path-services for the homeless assistance,
4
     while plaintiff had waited for metro rail as attended to himself.
5

6

7    50. A female employee for Path whom had approached me and presented information
s regarding housing assistance and all requirement for the housing
                                                                   assistance that Path can
9
     offer. The employee or volunteer of the organization had given plaintiff her contact and
10
     instructed plaintiff to call or text once had established all requirement for housing
11

12   assistance.

13

14
     51. I,Plaintiff had discovery that phone hacking and Internet domain name generator was
15
     redirected or interfered of my personal electronic devices by local agencies and companies.
16
     And believes such as the Division Adult Parole of Operations had participated among
17

18   concert of the county in housing discrimination for the purposes of government's interest

19 (to eztend parole supervision). In unrelated to herein this federal complaint, plaintiff'had

20
     discovered that the parole agency had conspired in eztended parole supervision by
21
     interfere with parole condition terms(such as employment and rehabilitation programs
22
     and meeting all parole condition). As such of parole conditions,is that plaintiff must have
23

24   permanent residence.

25

26
     52. I,Plaintiff had obtained employment about two months and while under attack of
27
     employment discriminatory termination by the defendant, County of Los Angeles,
2s


     FEDERAL TORT CLAIMS FOR HOUSING
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     had contacted Path for the housing assistance [apartment] that was offered of services.


3

4    I, 53.In 2021 plaintiff had contacted the Los Angeles County Development Authority
5
     ! pertained to public records of the Section 8 Housing Program for low-come individual and
6
     with disability. And I had further inquired through the administrated(HACLA)method
7
     request process for the years 2005,2005,2007, 20008,2009 policies for Section 8 program
8
~~ 'for application and individual with low-income sources and the Housing Authority ofthe
to   City of Los Angles and had comply after many requests but the department had refuse or
11
     deny the information ezisted in the department's data records collection for inspection or
12
     copying of"Contract Services Agreement of the Amendment 1 of year 2005 with the Los
13
     Angeles Sheriff's Department.(see ezh. N: emails)Plaintiff discovered that of 2005
14

~5   appGcallon, plaintiff should been approve sometimes between 2007 through 2011 for

16   section 8 housing placement.
17

18
     F. LOS ANGELES COUNTY MANDATORY POLICY FOR OPERATING HOUSING
19      ASSISTANCE PROGRAMS
20
         a. County and City Housing Oueratin~ Policy
21
     ~ 54. In the year 2005 of the Los Angeles County's Operations Policy for Housing
22
     ~ Assistance thereby in accordance to the California Code ofRegulations Sections 6910 and
23

24   11099 and,the Health and Safety Code Section 50700,in the housing program provision of

25   ~ Program Eligibility and Affordability for Lower Income Household Individual or single
26
     ~ person,the Scope and Applicability of policy: Programs must comply with all portions of
27
     ~ Title 25 Section 6910,and that the county and city was obligated to provide housing
28



     FEDERAL TORT CLAIMS FOR ROUSING
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1     assistance thus accommodation for disabled person for "affordable unit".[pursuant to Cad
2
      Code Refs.666910-6928(dl; Section 8 of United States HousinP Act of1937(Section 8 very
3
      low-income households)] At the time when plaintiff was an or assumed as an applicant for
4
      Section 8 program plaintiff partially did not, possessed full time employment but had
5

6     possessed several full part-time employments in the County of Los Angeles in between the

7     years 2005 and 2006.
S

9     55. The County of Los Angeles was mandated to follow all procedural process for Housing I

10    Assistance for a single household family or homeless person with low income without any
11
      influence or being influent by another agency or agency under contractual relationship: 1
12
      Title 25. Art 3. Sec. 6(a)(b)(Administration and Enforcement: Must be at all times in
13
      compliance with ordinance and regulation as the governing body of city or county of its
14

15    welfare public office, and shall not intended to be enforce ordinance or regulation or and

16    partially enforce ordinance or regulation by or on behalf of another city or county.
17

18
      56. The County as defendant had being influent by such prejudice [by another state and
19
      joint Communication [Memphis,Tennessee(Brock v. U.S. 570 F. 2d 976(9th Cir.
20
21    1979(concurrentjurjsdiction))] and on its own motive endurance to deny

22    application process and housing assistance in 2005 or and started at 2006 that had
23
      prolonging continuation for 16 years ofinterference and nongovernment assistance.
24
     [Health and Safety Code SS 17922.2-17921: Cad Code Refs. SS 8-17003. SI
25

26
          b. Nondiscriminine Housing Assistance
27
      57. The County of Los Angeles was authorized accordingly to fFair Housing Act Title VIII
28



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     ofthe Civil Rights Act of1968:Sections 11099-11154 of Title 2 Cad Code ofReFs

     Discriminatory Practices Applicable to All Persons: Quoted:"It is a discriminatory

     practice for a recinien~ in carrying out any nroEram or activity directly. or through

     contractual. licensing or other arrangements,on the basis of ethnic grouu identification,



     ooportunity to participate in. or benefit from an aid, benefit or service;(b)to afford

     a person the onuortunity to uarticinate in or benefit from an aid benefit or service that is

     not equal to that afforded others;(cl to urovide a person with an aid benefit or service,
10
     is not as effective in affordin¢ an equal oauortunity to obtain the same result to gain
11

12   the same benefit or to reach the same level of achievement as that urovided to others.

13   in some situations, identical treatment may be discriminatory;(dl to provide different or
14
     separate aid, benefits or services to a uerson. or to any class of uersons than is provided to
~5
     others. or to provide aid. benefits or services at a different time. unless such action is
16
     clearly necessary to provide such persons with an equal ouuortunity to receive as truly
17

is effective aid, benefits or services as those urovided to others;(el to aid or perpetuate
19   discrimination by transferring State suuuort to another recipient that discriminates in
20
     providing any aid. benefit or service;(fl to ezclude a person from uarticination as a
21
     member of a planning or advisory board. Under this requirement it is a discriminatory
22
     practice for a reciuient to fail to make reasonable efforts to achieve a representative board.
23

24   However.such requirement is not deemed to impose adherence to a quota system;(~)to

25   otherwise limit a person in the eniovment of any riEht, nrivile~e. advantage or opuortunity
26
     enioved by others receivinE any aid, benefit or service resulting from the program or
27
     8ChV1tY;(L)t0 (ICriV 8 DePSOII t~iC OUpOThlIIity t0 pSl'tiClp8te lII prOLI'a1riS Ol' SChVihC3 tll8t
28



     FEDERAL TORT CLAIMS FOR HOUSING
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     are not separate or different desuite the existence of uermissibly separate or different
2
     t~rograms or activities:(i)to utilize criteria or methods of administration that:(1)have the

     puruose or effect of subiectin~ a person to discrimination on the basis of ethnic eroun
4
     identification. religion. ase,sex. color, or a physical or mental disability;(21 have the

     nuruose or effect of defeating or substantially imnairine the accomplishment of the

     objectives of the recipient's aro~ram with respect to a person of a uarticular ethnic group

     identification. religion. age. sex. color. or with a uhvsical or mental disabi6ty: or (31

     t~eruetuate discrimination by another recipient on the basis of ethnic ~rouu identification.
10
     religion, aye,sex. color. or a physical or mental disability.(il to make or uermit selections
11

12   of sites or locations of facilities:(11 that have the uurpose or effect of ezciuding uersons

13   from. denying them the benefits of. or otherwise subjecting them to discrimination under
14
     any uro~ram or any activity;(2)that have the purpose or effect of defeating or
15
     substantially imoairine the accomplishment ofthe objectives of the nroeram or activity
16
     with respect to a'uerson of a particular ethnic group identification. religion. aye,sex. color.
17

18   or with a ahvsical or mental disability"1.

19

20
     58. Plaintiff had moved county residence from Memphis Shelby County,and the time of
21
     moved residence plaintiff then had possessive acute or partially mental impairment
22
     [disability] that had impaired from normal functions from obtaining stable housing in the
23

24   County of Los Angeles whereas plaintiff was entitled to rights of government assistance

25   under any circumstance.(Americans with Disabilities Act: California Fair Employment
26
     and Housing Act:Section 504 ofthe Rehabilitation Act of19731
27

28



     FEDERAL TORT CLAIMS FOR HOUSING
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     59. In the discovery information and obtain by the Los Angeles County Sheriff's

     Department,thus whereas informed and indicated that I had been under surveillance for

     investigation reason that bad concluded the potential deprivation of housing assistance
4
     whereas plaintiff bad lived most of its sleeping in stairways or shelter or roof tops or car.

6    The form of constructive notice and indication that those of the agency(s) and persons)in

     supervising position, were the cause of influence or interfering to rights to access or

     operation process with the Housing Authority ofthe City of Los Angeles,for the purpose

     among agendas [to be in the conditioning state of homelessness].(Cal. Civ. Code & 51(to
to
     incite or aide interference with Civil Rightsl
11

12
     60. Under the Theory Doctrine Act: whereas the facts or allegation can be made by
13
     reasonable beliefs in complez circumstance: That while under investigative surveillance
14

15   and operation for eztended period of years in confidential acts and mis•conductivity of

16   enjoyments(deprived of and unenforced 1st amendment rights of state constitution of
17
     California) by government agency(s), and,among also of concluded in others of
1s
     unconstitutional activities.(RaPin a New York Times Co.. 923 F. 2d 995. 1002-1003(2d
19
     Cir. 1991)(Fair HousinP laws prohibit certain communication with housinP transaction and
20

21   That ois view as a form ofspeech that lesser a First Amendment Protection Rights)

22
     61. And thereof another theory that has concluded sufficiently with the residual
23

24   hearsay of public controversy and public announcement by the County of Los

25   Angeles and other federal agency's investigative surveillance, thereofthe `study
26
     surveillance agendas of"social encounters behaviors [sezual activity]" were factors to
27
     discriminatory deprive plaintifffrom housing assistance in the County ofLos Angeles was
28



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        intended to be willful and at initiative will of the county. 28 C.F.R 612182(a)(duty to

        accommodate first before finding ddrect or involuntary threat)



        G. MANDATORY OBLIGATION OF PUBLIC OFFICE TO AID ASSISTANCE
           UNDER FEDERAL LAW OF THE PUBLIC WELFARE AND FOR HEALTH;
           GENERAL PRINCIPLES

           a. Homeless Peron Entitlement: County Adeauately at Knowledge of Condition

        62. Under Title 42 of The Public Health and Welfare Sections 1401,3601-11301: the

        general term of "homeless person" and "homeless individual" means: `an individual or
to
        family who lack a fazed, regular and adequate nighttime residence. An individual or family
11

12      with a primary nighttime residence that is a public or private place not designed for or

13      ordinarily used as a regular sleeping accommodation for a human being, including
14
        the sleeping condition within a car, park, abandoned building, bus or train station, airport
15
        or a camping ground.
16

17
        63. Before plaintiff had enter state territory of California, the state and its county had
18
        been notified [Tenn. Pena[ Code ~~~IO, 33-37; T.C.A. ~§§ 33-3-104(Tenn. Code Title 33-
19
        Mental Health and Development Disability] by another state county [Memphis Shelby
~►~i]
21      County] of my "thoughtful" intent to move to Los Angeles County and becoming a reside:

22      of the county within the year 2005. fF•I.S.A• (Foreign Intelligence Surveillance Act(1978);
23
        SO U.S.C. S 1801(electronic surveillance]
24

25
        64. And,Ias had moved to the County of Los Angeles in the year 2005 and thereafter
26
        reside in homeless condition within under 5 years in the county, the county was at
27
        full disclosure of my homeness status. Plaintiff was entitled general assistance, and special
28



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1    accommodation of housing assistance(EVANS v UDR,INC.,644 F.Supp.2d 675(E.D.N.C.
2
     2009))that should had been a process by means of constructive effects for general
3
     assistance and notice(Cad Civ Code6S 18-19) while under government surveillance
4
     investigation fCa~ Gov Code 5623004-58500(district investigation)]. And as the law bad
5

6    been in effect of public housing law programs within the United States (see ezh. H,docl, 1-

7    160),I, plaintiff should had been by under circumstance [the County of Los Angeles
8
     adequately having knowledge of plaintiff's homeless condition in the year 2006 and the
9
     constructive notice of my arrival in the county: The county and City of Los Angeles had
to
     cause and had direct negative acts in confidential concert activities over an eztend period
11

12   amount of years while I, plaintiff had arrived 2005 and reside in the county for

13   approximately 16 years thus while the county having participation in deprivation] should
14
     had been eligible and approved for housing assistance thereof Section 8 program.(see ezh.
15
     A-Doc 1, pg.8,GH-pg. 1-3,¶1-3: U.S. Department of Justice: Civil Rights Division:
16
     Recital Public Policy Laws [2004]).
17

18

19      b. State's Deliberate Failure to Followins Federal Laws
20
     65. In the discoverable connection or and under then past vicarious circumstance while
21

22   incarcerated and thereafter released prison of California Department of Correction,the
23
     following by subsequence of residual hearsay and public strong indication of concert
24

25 (pursuant to 42 U.S.C.A. S 3617: "Interference, coercion,or intimidation: It shall be

26
     unlawful to coerce,intimidate,threaten, or interfere with any person in the exercise or
27

28
     ', enjoyment o~ or on account of his having exercised or enjoyed, or on account of his having

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1

2      or attempt to be aided or encouraged,any other person in the ezercise or enjoyment of,
3
       right granted or protected by sections 3603,3604,3605,or 3606 of this title 42")of the
4

5      County of Los Angeles, and its' county and city public agency of the Los Angeles County
6

7
       Sheriffs Department,Los Angeles Police Department,the mousing Authority ofthe City

8
       Los Angeles that, having access or receiving information that had come into obsessive
9

10     interest of the plaintiff and knowledge of plaintiff by agencies sometimes between 2005 or

11
       earlier period distance and that had risen to the reasonable theory of interference with
12

13     housing assistance pursuant to the relation of the defendants and pursuant to the contract
14
       services agreement between the entities Housing Authority of the City Los Angeles and the
15

16     Los Angeles County Sheriff's Department's contract document(see ezh.,F: doc 3,
17 i
       Amendment No.l (2009))
1s
19

20     H. THE FEDERAL TORT CLAIM ACT SUBJECT COUNTY LIABILITY
21
       66. Overview of F.T.C.A.,states: "The prosecution through a Federal Tort Claim Act, a
22
       county that is operates as government under the United States, and for any acts or omissioi
23
       it is defined as tortious conduct by an employee for the government and is liable for the
24

25     '~, injury or damage or loss.l

26
       67. Presumedly attacking under section 402 of the Federal Rules of Evidence the county
27

2s thus, Los Angeles County and or the City of Los Angeles District whereat,the district of


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1 1    Los Angeles within its municipal district areas,law enforcement agencies, all had acted in
2 ~!
        congregational act or and the affairs of intradepartment's surveillance conductivity,
3
        bad created the engineering concert to cause housing discrimination. The acts of the county
4
        and the city's municipal agencies, no immunity is granted by the United States as
5

6       protection against Lability ofinjuries or damages or loss.2

7

s 68. As I, plaintiff bad suffered injuries and damages by the county,for approximately 16
9       years, plaintiff don't have to endure burdensome of or and frustration of attacking
to
        sovereign immunity ofthe county or and city for the acts whether in official capacity of
11
        government business'
12

13

14
       I. UNDER COUNTY SURVEILLANCE FOR INVESTIGATIVE INTERESTS;
15        PERIODICAL 16 YEARS OF COUNTY SUPERVISION
16
       69. In 2005 plaintiff had been under surveillance from another state jurisdiction
17
       (Tennessee)whereas plaintit~'was being taunted by government activity of surveillance
18

19
        tracking and thereby the conductivity of government surveillance had become to the

20      plaintiff's awareness sometimes after the discovery of plaintiff had suffered from comatose
21      and whereas had receive vicarious delivered hearsay statements(as to advanced machine
22
        that can draw or imprint or photo or photo image and that form an interpretation to
23

24

25

26

27
        `United States Supreme Court, Cases,24 AL.R Fed 2d 3l9(Construction and
28
         application ofFederal Tort Claims Act)



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i     anything to be statement or a statement of hearsay or opinion) pursuant to F.R.E. ~ 1001.
2
     (see in re U.S. v. George,960 F.2nd 97(19921(Unique exceptional receivable discovery:
3
     "Hearsay testimony is barred by confrontation clause in criminal cases unless it has
4
      adequate indicia of reliability, which requirement is to be satisfied if statement falls within
5

C~ "firmly rooted" hearsay eacepNon or is supported by "particularized guarantees of
7    trustworthiness." U.S.C.A. Const.Amend.6.
8
9
     70. The unique residual hearsay statement of discoveries was of electronic transmittal
to
      sounded conveyance by the Los Angeles County Sheriff's Department housing facility
11

12    whereas also plaintiff had in accidental circumstance discovered `video feeds of plaintiff in

13    a jail cells', `sexual video contents of witnesses', and `classified videotaped ezploitallon of
14
     formally spouses' and glanced investi~aNve surveillance video clips of"ulaintiff's life
15
      acNvity in the Countv of Los Angeles" and thereat in the united facility plaintiff suffered
16
      prejudiced inflicted injuries to health and damages to housing assistance during the time
17

1s plaintiff was incarcerated between 2017 to 2018. In some video clips, plaintiff had
19
      witnessed "himself walking near a public shopping mall center', as a focus zooming

20    was capturing every motioning movement".
21

22
      71. The county and thereof its county law enforcement agencies and Los Angeles City
23
      Municipal Law Enforcement Agency was equipped with tracking technologies of devices
24

25
      for surveillance from then the periodically years residing in the county of 2005 to 2014.

26    egh. Q:tracking surveillance equipment)
27
       Mader x U.S., 654 F.3d 794(8th Cir. 2011)(FTCA provides a limi[ed waive► of
28
      the UnitedStales'sovereign immunity, topermit an injuredperson to suefor


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 1      72. The Los County Sheriff's Department and Los Angeles Police Department had
2
        obtained and possessed criticized tracking cellphone equipment devices for hacking or
3
        intercepting or redirected outcoming cellular calling. As both separate jurisdictional law
4
        enforcement agencies, the risen theory that leads to many other potential methods of
5
6       ~ interference with Section 8 housing application process or the housing assistance in the

7       county, is the manipulation usage and anticipatory effects of the law enforcement equipped
8
        cellphone hacking device (stingray), potentially no footprint of trace or record act or
9
        conduct in cause the created housing discrimination and causing interference with
10
        housing from the year 2006 to 2011. (see exhibit R: Dlustrated Diagrams, pg. 1-2)
11

12

13
        J. ARTICULATING ENTIRETY OF CULPABILITIES
14
             a. Intended Negligence of Public Dutv
15

16      ~ 73. In the overall portion of the defendant's negligent failure to provided section 8, when

17      unattended to residency thus homeless in the majority living condition while residing in
18
        County of Los Angeles, and thereof submitting repeated section 8 applications, the
19
        interference of officers of yet to be discovered officially with the corresponds to the true
20
        identity of the officers' employment entity name thereof the investigative officers' i
21

22      while under federal or local city or county department surveillance. A reasonable theory

23      [under the federal theory doctrine] can be drawn that the officers whom had surveil
24
        plaintiff s life, were under prejudice influence or influence of prejudice of informational
25
        material or (background history [e.g. violence or violence against person or domestic
26

27

~►~:~
         damages infederal court); Tik 28U.SC§ 1346(6); and see sections 2671 to 2680


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 i     partner,sez crime or sez crime involving rap or molestation, or involuntary threat to
2
       public safety or institution] or state-to-state release ofinformation] that would be view as
3
       precaution or threat to public safety] such as the intent to cause continuance of
4
       homelessness and deprive of section 8 while the officer or officers or departmental agency
 5
.
~ was under the discriminatory agendas and discriminatory housing assistance.(28 C.F.R

 II    636.208(b)(reasonable mitiPated risk- for assessment to accommodation); Montalvo v
 8
       Radclif)`e.167 F. 3d 873. 878(4th Cir. 1999)(balancinP factors for determining housing)
9

10

11

12        b.Theory Factors Arisen For Dearivation:

13        1.Factories Theories of Agendas
14
       74. The blockage or concealment for entertainment productions as plaintiff were unaware
~5
       than from 2005 to 2011, had been a subject of product within the County of Los Angeles,as
16
       vicarious circumstance,to the county's deliberate demised negligent to not assist with
17
       providing housing assistance, thereby defendant, Housing Authority of the City of Los
is
19     Angeles. The involved circumstance of subject product for entertainment industries, is of

iZ~l   another subject-matter jurisdiction realm of propounding facts that are nexus to other
21
       prepped federal claims against the County of Los Angeles.
22

23
          2.Unknown Periodically Conversion of Investi~aNve Surveils into Production Film
24          Industries and Media
25     75. As the plaintiff had moved thereat,the City of Los Angeles, as a dominant film
26
       industries of the County of Los Angeles, plaintiff believes with carefully consideration and
27

28 'Levin x U.S I33S. C[.1224,1228. 185 L. Ed 2d
        343(201311Seeking compensationfrom the United States, Levin sued under[he


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      scrutiny of all factors related to entertainment industry and the affluent relation with
2
      defendant Los Angeles County and Los Angeles Police Department and Los Angeles
3
      Sheriffs Department and thereof the plaintiff(Caviar Mickens) was of interest during the
4
      period of residency of Los Angeles, plaintiff was being publicly exploited that had
s
6     influenced prolonging homeless condition. Joint Work Act of1909(worknroduct that is

7     created by two or more collaborators in anon-employment relationship and sharing an equal
8
      and undivided interest)
9

10
      76. Plaintiff recalls in public place of peculiarity in encountering with celebrities and
11

12    person of a fdm production, and whereas now retrospective to past mirror reflection of

13    anticipated conductivity of television production shows were the feeding of my awareness
14
      and of some celebrity having affection to meet or to having encounter a social welcoming,
15
      plaintiff's homeless condition may bad been effect by a person of film production whom
16
      may having a relation with an law enforcement officer of Los Angeles County.
17

18

19    77. And,such to statutory rights of entertainment person or production company or

20    corporation,that includes entertainment laws as the industries laws and regulation
21
      ordinance [e.g. copy rights laws, writer agreement laws, product or subject investigation]
~~a

23    for the professional activity were entitle to privacy activity, and that had vicariously

24    indirect prejudicing my constitutional rights to housing and to my welfare of life and
25    federal constitution whereas the privacy conductivity may had contributed to influenced
26

27

28    Federal Toed Claims Act(FTCA),28 U.S.C.§§1346(6),26712680,
       which waives the Government's sovereignty


      FEDERAI.TORT CLAIMS FOR HOUSING
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 1   ~ those whom bad supposed to provide housing or assist with housing.
2

3
     78. And,by such film production having government and social impact, as distributing for''
4
     film marketing or credit or publicity it helps sufficiently to narrowly enclosed the theorical
s
6    circumstance,as to may be a factor reason for potential affluence and reason may or may

7 ~ not be in its entirety of a factor part for the housing discrimination for among of periodic

8
     years in the county. But, nevertheless, in case of point of, the truthfulness of fact that
9
     another derivate effect(person) had attributed or affluent to housing discrimination.
10
ii 79. And that the only remaining substantiated substance to reach to the conclusion, until
12
     defendants having the proof of rebuttal(whether by direct or indirect evidence, not limited
13
     including to video or audio, written statements or testimonial statements or tangible things)
14
     to demonstrate different facts and that contradicts the leading theory of"conspiracy to
15

16   discriminatory housing assistance" based on having influenced interest to film productions

17   whereat in or after 2005 and before moved to the state of California was concluded in
~8
     another prepped federal case matter of interests.
19

20
     80. The motivation of housing discrimination and thus continual condition in the county
21

22 (The
        Committee Concerning Community Improvement v. City ofModesto. 583 F. 3d 690. 706

23   ~(9th Cir. 2009(refusinF housinP assistance)), is assumedly certainly by the defendants Los
24   ~ Angeles County and the Los Angeles County Sheriffls Department,and Division of Adult
25
     ~ Parole Operations were affluent by film production industries.
26

27

28



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1    81. Of the defendant, Los Angeles County Sheriff's Department Men Central Jail, bas in
2
     its facility's possession, in the course of operation of the department's, an Audio and
3
     computer digital televise broadcasting console and direct television broadcasting system
4
     that covering the Los Angeles County areas: "In the year 2008,Iplaintiff had obtained a
5
6    residential rental apartment and rental lease agreement for one year. As plaintiff obtained

7    the apartment, plaintiff activity whereas private and sanctuary under constitution laws of
8
     state and federal, were plaintiff bad engaged in promiscuous sezual intimacy and
►~
     conducted to watching cable television.
10
ii
12   82. As plaintiff had occupy the apartment in 2008, plaintiff had a sezual relation with an

13   acquaintance whom were of Latin descendent female and had engaged in sezual private
14
     exploitation inside the privacy of plaintiff's apartment, thus constitutional sanctuary
15
     privacy rights. Of between the months January and February 2008, plaintiff recalled
16
     watching his' favor cable televised show ("The L Word") through the production
17

1s   broadcast network named "HBO [Home Box Office, Inc.]", had a sexual scene that had

19   reflected reenactment or imitation or curvature gerund of the plaintiff's sexual
20   of plaintiff's motion with the female acquaintance, that of the acquaintance had engaged
21
     with plaintiff. Dietemann v. Time. Inc. (1971. CA9 CaL) 449 F2d 245.248.1Media L R 2417
22
     (vrivacv rights in California states: no right to precincts ofperson's home or office by means
23

24   ojelectronically trespass)

25

26
     83. At that point when witnessing the quick visually sex scene, inflicted `mental thought'
27
     had ecstatic superstitiously, medically interpreted of psychology profession, plaintiff
28



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        mentally reacted in anomalous in psychological state [paranormal when plaintiff had not

        having official acknowledgement of what was occurring in the direct feed or not having the ~

        awareness of the televise production making recognizable reflected identity of the sez scene

        that was gerund from sezual encounter of plaintiff's apartment).Pearson a Dodd(1969)

        133 Ann DC279.410 F2d 701.1 Media L R 1809, cent den 395 US 947.23 L.Ed 2d 465.89S

        C~ 2021(Placing a great strain on human weakness by one whom stumble to sexual

        temptation and in to listens)


10
        84. And,plaintiff this year had become to self-awareness, and by other circumstance when
11

12      watching and thereof had change network channels, the famous entertainment talent film

13      move actress "Anne Moss" or and may had seem the replica appearance in direct digital
14
        live screen-over, or may had been the artificial face-over or live jittering (jitter software
15
        that can make the appearance of artificially digitized facial of a person and behind digital
16
        effects that conveying deception (Fair Use in Digital Environment)].Bare BondinP Doctrine
17

is (Entertainment law of exploitation: causing sexual harassment, harassment, humiGallon
19      through televising broadcasting)Plaintiff may bad been subjected to digital art psych
20
        testation (Derivative work of Title 17 U.S.C.A.6101)as mixed with original production
21
        scene artwork. see re in Durham Induce v. Tomv Corn..(1980. Cat)630 F2d 905. 911(modest
`~~
        dePree oftelevised nartially artwork is consider ori~einality)
23

24

25      85. Nevertheless, as concluded as under surveillance, under county supervision, and the
26
        supervision surveillance investigation, was somehow and by someone of person or
27
        department or agency or whether private or government within the County of Los
~►~:~


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         a conversion was a conjunction (entertainment laws and rights) to the interest of
2
         governmental investigation and entertainment industries.
 3

4

 5

6        K. REASONABLE THEORIES OF AVOIDANCE:LIKELIHOOD OF DIFFERENT
            OUTCOMES

            a. Reasonable Theory Drawn by Past Conduct Behavioral Acts that Could've Been
 s
               Avoided and With Certainty as to Proof of Havin¢ Past Resident Activity
 9
         86. If, not the county had under prejudice surveillance investigation and engineering
to
         cause of effect to constitutional rights to be deprive or not invoked enforced regardless of
11

12       other circumstance that had tainted mandatory wise or competent decision making under

13       color oflaw(42 U.S.C. 19841, plaintiff with verified certainty of plaintiff's self-awareness
14
         characteristics and behavioral conductivity, of isolation of conductivity of apartment,
~5
         would had been a gravitated conductivity inside a residency had not than from the housing
16
         discrimination and would had been from the contrary conduct to public offenses or
17

1s       immoral acts thereof and therewithin Los Angeles County,if alleged by defendant Los

19       Angeles County.
20

21       87. In the year 2008 I, plaintiff had permanent residency that was not of any government

22       or private organization housing assistance, while plaintiff had conduct himself with
23
         isolation or had accompanied with social acquaintance when not obtaining to employment
24
         occupancy.
     I
25 I
26
         88. During the permanent residency of 2008, plaintiff had 2 to 3 employment occupancy to
27
         ,covered ezpenses and rent dues. The county bad assisted with food funds or issuance but,
28



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      did not assistance with housing assistance. The requests) of any additional
2
      available appropriated funds from the county for housing assistance was presumedly made
3
      to the county's attention.
4

5
      89. As,I plaintiff had worked different employment occupancy, no enjoyment time for in-
6
      person search for any organization to assist with housing assistance due to physical energy
7
      consumed from employments as the county was aware through surveillance.
8 '

9
      90. Plaintiff bad consumed homeless living conditions [whereas_ car and stairways] and
10
      consumed sleeping in car or stairways or bus or union station, and had consuming
11

12    temporary housing and sleep of apartments or hotels or resident couch or car.

13

14
      91. And,providing in the methods of living a quarter or unit or placement whereas
15
      plaintiff had made storage offood [e.g. can goods, perishable food,liquid (water)].
16

17

is 92. With certainty, if the county had assisted with housing assistance but thus from
19    housing discrimination,such permanent housing would been for all 16 years of nights
20
      within the county,of healthy sleeping condition instead of homeness.
21

22

23
         b. Theory of Avoiding Public Interests and Public Moral Offensives
24
      93. Plaintiff bad in some instance within the County of Los Angeles pursued deceptive
25
      relationship for shelter purposes and as subsequently unaware of police investigation
26

27    and their staged entrapment conductivity.

28



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 1   94. In the absence of housing assistance from the defendant, Housing Authority ofthe
2
     City Los Angeles,that would had been the avoidance of any criminal offenses and
3
     probation sentence resulting in the living condition of homeness, housing assistance of a
4
     apartment whereas plaintiff would been obligated to pay shared portion of his income for
5
6    rent services through the Department of8 Section; if plaintiff would have been assisted

7 (under the Housing Accountability Act)within the county of Los Angeles, high likely

8
     probability of90% to 95% of no public criminal offensive would likely had occurred while
9
     plaintiff had resided in the county of 17 years.
10
ti
12   95. Had not the deprivation and interference of housing assistance from 2005 and through

13   the mid effective surveil vacuum course to 2009 and thereafter, plaintiff would had never
14
     enter-into-past relationship (that had resulted in domestic violence relationship) based on
15
     deceitful intents that was due to vulnerability of the public street of homeless condition.
16

17
     96. Plaintiff recollected of the year 2011 Path had contact the plaintiff in a silly
18
     harassment manner. Cad Code Rego ~ 12120(a)(1) As derisively inquired of a "mental
19
     state", humorously,as indicated was presumedly at will, and defendant should,done
20
21   reasonable care of discretion to private any source or refer for housing if, as how defer

22 (Path) was led to believe that a mental thus, disability was prominent warn as to the

23
     propounding allegation that was delivered or stated or incited or suggested or directed or
24
     indirect indicated by the unknown person.
25

26
     97. When Path had contacted plaintiff in 2011,Path was warned with indication that
27
     plaintiff need a resident when at the time defendant bad contacted plaintiff, assumed on
28



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 i    behalf on than cohabitant partner pursuant to Cad Pen. Code S13700(b)or an agency's
2
      pre-investigation pursuant to California Government Code Sections 6250 and
3
      6254(individual rights to disclose information of misconduct).
4

5
      98. In the substance of county housing discrimination and not in intended tethering in
6
      inexcusable justification or to make justification or unaccountability or avoiding the
7
      conscious liability of self-acts of offensives of plaintiff, and the circumstance not having a
s
9     place of shelter or the circumstance may involve the circumstance of having a residency

10    that involves offenses upon person and inside a residency,it is fairly assumed that plaintiff
I1
      would not had been involve in accountability whether in partial or comparative.
12

13    99. But of the plaintiffls objective opposition to some degree in far distance periodically,
14
      as resided in having residency or homeless condition in County of Los Angeles,that in
15
      some fair partiality of conscionability,if had not the cause ofinterference of nonhousing
16
      assistance by the county when the county was aware of my homeness, plaintiff'would never
17

~8    submit to vulnerable immoral acts upon a person or would not had encounter any

19    offenses within any resident property as to such acquaintance and spousal deceit or
20
      manipulation for the purpose of having a shelter or covenant in the County of Los
21
      Angeles.
~~a
23
      100. Because,of the plaintiff's first spousal relation thereat 2011,in deceitful intent to
24
      having residency plaintiff had inflicted illusional psyched characteristic that year, as a
25
      result of plaintiff having increasing distress due to many employment attempts and failure
26

27    job application and interviews and having no residency of the year 2011. Plaintiff had

28    resided homeless condition inside his car for all nights of sleeping and cloth changing and


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 1      eating. The homeless condition than was a news circumstance to a litigation lawsuit that
 2
        plaintiff was in proceedings and of county's agenda affairs.
 3

 4      101. As the plaintiff had resided in the county, as living condition of homeness or having
 5
        permanent residency, and that of executive officers thereofformer Los Angeles County
 6
        Sheriffs Department,Lee Baca was the governing officer among board members.(see ezb
 7
        P:Photos offormer Sheriffs).
 8
 9
        102. The Los Angeles Sheriff's Department bad been accused of interference with and
to
        housing discrimination in the County of Los Angeles.(see ezh. M: News Reporting)
11

12
        103. And,at the initiated year 2005 whereas, plaintiff had applied for Section 8 by
13
        telephonically,the county thereof its law enforcement agencies having the equip
14

15      instruments(see ezh. Q-R)that such instrument may had course parted in with

16      interference for housing discrimination or influence housing discrimination by the county.
17

18

19      K. ESTIMATED INJURIES AND DAMAGES
20 104. As a direct or indirect cause by Defendants,the County of Los Angeles
                                                                              and within it'
21
        county all public offices and entity, had cause to the of housing discrimination whereas by
22
        the course of action of concert, and the concert of conspiracy to deprive and interfered wit
23

24      civil rights and the deliberate negligent failure under Title 42 U.S.C.1983 to make or caus

25      reasonable accommodation therefrom than 2005 and now presently having disabled
26 ',
        impairments functions under the American Disability Act,
27

28



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1    105. Plaintiff having long years of suffering housing discrimination by Los Angeles
2
     County, when its county having full acknowledgement and under investigative surveillance.
3
     Dent ofFair Emn[ov &Houma v. City ofNana(June 4.1981)No. 81-12 FEHC Precedential
4
     Decs. 1981. CEB 24, nn. 28-29,1981 WL 30855.19(Cad F.E.H.C.)(DamaFinP resultinP from
~~
.
~    unlawful housinP discrdmination practice has no cutoffneriod for damages)

7

8
     106. Further,in long periods of housing discrimination,.plaintiff has suffering
9
     disfigurement to body,unhealthy sleep activity, physical pain and hunger: Plaintiff was
to
     stalked by criminals as plaintiff was in homeless condition and sleeping in stairways and, c
11

12   one day's morning plaintiff bad gone to use a public restroom thereafter plaintiff bad

13   engaged in a deadly stabbing as a result plaintiff stomach was disfigured. Had not the
14
     defendants,Los Angeles County and Housing Authority of the City of Los Angeles
is
     provided housing plaintiff would had use a bathroom of an apartment or housing unit.
16
                                                         184. 190
17

18

19
     107. And as generally, direct or indirect and proximate result of defendant,Los Angeles
20
21   County's negligent failure to assist when housing assistance when at adequate knowledge

22   another state's false report of sex offenses whether the County had or should had,know
23
     state reporting was false, county had moral federal statutory duty to provide reasonable
24
     accommodation for permanent housing thereat from 2005 when plaintiff had resided
25
     residency in the county.42 U.S.C.A. S 12182(b)(2)(A)(ii); 36 C.F.R. ~ 36.302;see in
26

27   Pennsylvania Protection Advocacy.Ins v Pennsylvania Deny ofPublic Welfare. 402 Fad

28   ~ 374.16 A.D. Cas.(BNA)1144(3d Cir. 2005)(budgetary insufficient to establish


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1               allegation defense to policy)
2

3    108. Plaintiff, as resulted from non•housing general assistance based on negligent failure,

4    by the defendants, County ofLos Angeles and,its county public agencies thereof the
5
     Housing Authority of the City of Los Angeles, whereas the plaintiffls suffered injuries and
6
     damages are estimated from no household or housing services from than plaintiff having
7
     low income or homeless conditions from 2005 through 2010.28 U.S.C.S 2674(Liabilityfor
8
9    injuries as a result ofnegligence are estimate by proximately caused

10
     109. As a direct result from neglect of due care and interference of housing assistance, by
11

12   the defendants, Los Angeles County,Los Angeles Sheriff's Department, and Los Angeles

13   Police Department thereat from 2005 through 2014, whereas the plaintiff's suffer damages
14
     is measured estimated by state applicable laws and thereby which that of plaintiffs
15
     condition of continuation homeness within the County of Los Angeles,thereof in damaging
16
     the plaintiffs health condition and as to improper sleeping and eating digestions. U.S. v
17

is %arnev. 672 F. 3d 81. 96(1st Cir. 2012). cer~ dismissed.133S C~ 1521(2013)(Proximate
19   cause in generally)
20

21

22   L. SHOWING STATED FACTS HAVING GROUNDS FOR CAUSE OF ACTION
23

24                                   First Cause of Action
                                  (Housing Discrimination)
25                         (Violations of the Fair Housing Act(1999)
26

27   110. Whereat all times alleged in reference number paragraphs 25 through 103,for First

2s Cause of Action for Housing Discrimination under federal law,thereof Housing Act(1999).


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 1   good cause is having shown by the factual information alleged against defendants,Los
2
     Angeles County,Los Angeles County Sheriff's Department,Los Angeles Police
3
     Department,Division of Adult Parole Operations and Path.
4
     Cir. 1949)(Capacity to sue-stating cause ofaction)
5

6
     111. And,as each paragraph informative(¶25-103)substance alleging a lawfully
7
     applicable statutory facts and meeting substantiated showing(F.RE. ~§~~ 404, 405,406-
s
9    80~ in the form of making detailing articulated allegations, the information is clear

10   showing for standing-alone grounds for "First Cause of Action" for housing
t~
     discrimination. 28 U.S. C.A. ~ 1346(PlaintiffstandinP to sue): Fed R Civ P.617
12

13

14

15                                Second Cause of Action
                  (Conspiracy to Deprive and Interfere with Civil Rights)
16              (Violations of the Housing Act(1999) and Title 42 U.S.C. 1984)
17

18   112. Whereat all times alleged in reference number set paragraphs 25 through 30,33

19   through 95,and 99 through 103 for Second Cause of Action to Conspiracy to Deprive and
20
     Interfere with Civil rights under federal law,thereof Housing Act(1999),good cause is
21
     having shown by factual information alleged against defendants,Los Angeles County,Los
22
     Angeles County Sheriffs Department,Los Angeles Police Department, and Division of
23

24   Adult Parole Operations. Art Metal-U.S.A..InG v U.S.. 753 F. 53. 2d 1151.32 Cont 1151.

25   32 Conk Cas. Fed (CCF~ P. 73391(D.C. Cir. 1985(Susnension ofbusiness to verson-held by
26
     U.S. Supreme court interference))
27

28   113. And,as each paragraph informative(¶ 25-30,33-95,99-103)substance alleging a


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     lawfully applicable statutory facts and meeting substantiated showing(F.RE. ~~~~ 404,
2
     405,406-80~ in the form of detailing articulated allegations, the information is clear

     showing for standing-alone grounds for "Second Cause of Action" for conspiracy to
4
     deprive and interfere of civil rights to housing and housing assistance. 28 U.S. C.A.S

     1346(PlaintiffstandinP to sue): Fed R. Ciu P. Sl7




                                    Third Cause of Action
10                  (Negligent Failure to Provide General Assistance)
              (Violations of the Section 8Act(1937) and Fair Housing Act(1999))
11

12
     114. Whereat all times alleged in reference number paragraphs 25,31,and 32 through 42
13
     for Third Cause of Action for Negligent Failure Provide General Assistance under federal
14

15   law,thereof Fair Housing Act(1999)and American with Disability Act, good cause is

16   having shown by factual information alleged against defendants,Los Angeles County,
17
     Housing Authority of the City of Los Angeles and Path.
18

19
     115. And,as each paragraph informative(¶ 25,31,32-42)substance alleging
20

21   lawfully applicable statutory facts and meeting substantiated showing(F.RE.~~~~ 404,

22   405,406-80~ in the form making of detailing articulated allegations, the information is
23
     clear showing for standing-alone grounds for "Third Cause of Action" alleged against
24
     defendants,Los Angeles County,Housing Authority of the City Los Angeles and Path,for
25
     negligent failure to provide general assistance for housing accommodation and or
26

27   permanent housing in generally, when plaintiff bad than applied in written application

28   with the Housing Authority ofthe City of Los Angeles-Section 8 Department and had met


     FEDERAL TORT CLAIMS FOR HOUSING
     DISCRIIVIINATION VIOLATIONS

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1    all or some required exceptional standard criteria. 28 U.S. C.A.S 1346(PlaintiffstandinP to
2
     sue): Fed R Civ P. S17
3

4    116. And Plaintiff, had made reasonable efforts to contacted Path,for- housing services
5
     and assistance. When Path bad expressly sounded "availability of apartment unit" and
6
     was under unknown referral managerial housing apartment services relationship within

     the County of Los Angeles.(Cad Gov 't Code S 12955(k)(discriminatory act under
8

9 "catchall" based protected class)

10

11

12
                                    Fourth Cause of Action
13    (Negligent Failure to Make Reasonable Accommodation and Person with Disability)
            (Violations of the Section 8Act(193'~ and American with Disability Act)
14

15
     117. Whereat all times alleged in reference number paragraphs 25,36,39-41 and 54
16
     through 66 for Forth Cause of Action for Negligent Failure to Make Reasonable
17

18   Accommodation and Person with Disability under federal law, thereof Section 8 Act(193~

19   and American with Disability Act, and thereby good cause is having shown by factual
20
     information alleged against defendants,Los Angeles County,Housing Authority of the City
21
     ofLos Angeles and Path. Garcia-Catalan a U.S.. 734 F. 3d 100.86 Fed R.Sere 3d 13
22
     Cir. 2013)(claim must state elementfor nePliFence under FTCA for causinP danPerous
23

24   conditions

25

26
     118. And,as each paragraph informative(¶ 25,36,39-41,54-6~ substance alleging a
27
     lawfully applicability statutory fact and meeting substantiated showing(F.RE.§~~~ 404,
28


     FEDERAL TORT CLAIMS FOR HOUSING
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1    405,406-80~ in the form of making detailing articulated allegation, the information is clear
2
     showing for standing-alone grounds for "Fourth Cause of Action" alleged against
3
     defendants,Los Angeles County,Housing Authority of the City Los Angeles and Path,for
4
     negligent failure to honor policy making thereof public policy(Section 8 Act: see ezh. B-1)
5
6    for housing assistance of homeless person when than having conditional welfare criteria

7    housing accommodation with person with a disability that had impaired the ability to have
8
     normal functions to provide self-care for housing. 28 U.S. C.A. S 1346(standing and
9
     canacity question in a FTCA case
~o
11

12
                                      Fifth Cause of Action
13                  (Discrimination Against Make Reasonable Accommodation)
                        (Violations of the American with Disability Act)
14

15
     119. Whereat all times alleged in reference number paragraphs 25,32 through 42 and 51
16
     through 85 for Fifth Cause of Action for Discrimination to Make Reasonable
17

1s Accommodation under federal law,thereof the American with Disability Act,and thereby
19   good cause is having shown by factual information alleged against defendants,Los Angeles
20
     County, and Path.
21

22   120. And,as each paragraph informative(¶ 25-32-42,42-8~ substance alleging a
23
     lawfully applicable statutory facts and meeting substantiated showing(F.R.E. ~~~~ 404,
24
     405,406-80~ in the form of making detailing articulated allegation, the information is clear
25
     showing for standing-alone grounds for "Fifth Cause of Action" for discrimination against
26

27   make reasonable accommodation of housing.28 U.S. C.A. 61346(PlaintiffstandinP to sue):

28   Fed R Civ. P. S17


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1                                   Sizth Cause of Action
                       (Discrimination Against Person with a Disability)
2
           (Violations of the American with Disability Act and Civil Rights Act(1964))
3

4    121. Whereat all times alleged in reference number paragraphs 26 through 30,and 57
5
     through 61 for Sizth Cause of Action for Discrimination Against a Person with a Disability
6
     under federal law,thereof the American with Disability Act and Civil Rights Act,and
7
     thereby good cause is having shown by factual information alleged against defendants,Los
s
9    Angeles County,Los Angeles County Sheriffs Department,Los Angeles Police Department

10   and Division of Adult Parole Operations.
~~
12   122. And,as each paragraph informative(¶ 26-30,57-61)substance.alleging a

13   lawfully applicable statutory facts and meeting substantiated showing(F.RE.~~~~ 404,
14
     405,406-80~ in the form of making detailing articulated allegation,the information is clear
15
     showing for standing-alone grounds for "Sizth Cause of Action" for discrimination against
16
     a disable person or person having unnormal mental functions or impede ability to obtain
17

1s stable financial source ofincome for the living housing cost rate of Los Angeles County.
19   Richard v U.S.. 369 U.S. 1.82S. CL 585.7L.Ed 2d 492(1962)(Cause ofaction must not fail
20 to state a claim)
21

22

23

24

25

26

27

28



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     M. Claims for Relief
2

3    WHEREFORE,I plaintiff, CAVIAR MICKENS now preys,for judgement against

4    defendants and for awarded of the followings:
5

6
           Good Cause of Action for Relieffor Iniuries and Damages Should Be Granted
7                             (Common to All Allegations)
               (Housing Discrimination, Violation of Fair Housing Act(1999))
8

9
     123. At all times material(Thereto "Plaintiff' CAVIAR MICKENS),alleged to had reside I
10
     in the county of Los Angeles, whereas plaintiff injuries and damages had occurred from
11

12   year 2005 through 2020,at a total of 15 years of housing deprivation,the. grant in

13   rewarding plaintiff for injuries and damages should be in favor of plaintiff and based on
14
     the facts alleged against defendants that had mad attributed portion or at comparative
15
     fault that are entitled to hold liable.28 U.S.C.A. 61346(a)~determinine liabiliivl
16

17

18   124. At all times material(Thereto "Plaintiff'), alleged to had reside in the county of Los

19   Angeles, whereas plaintiff made many diligence efforts to obtain housing assistance in the
20 County ofLos Angeles from the County of Los Angeles and private organizations
21
     therewitlun county, and had obtain self-own residential rental apartment and rental
22
     agreement lease(whereas in the year 2008,in North Hollywood, of plaintiffs own
23

~~~ apartment at a monthly rent cost of $950.00),that the county made no effort to assistance
25   plaintiff, while plaintiff was in financial struggling. Ravonier InG. v U.S.. 352 U.S. 315. 77
26
     S. C~. 374.1 L. Ed 2d 354.1957A.M.C. 909(1957)Riability where the act had occurred)
27

28



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1    125. At all times material(Thereto "PlainN~'), alleged to had reside in the county of Los
2
     Angeles, whereas plaintiff made many diligence efforts to obtain housing assistance in the
3
     County ofLos Angeles from the County of Los Angeles, while under government
4
     investigative surveillance and as a direct or indirect result from the county invesNgallon
5

6    causing of periodical years and of periodical courses of civil rights violations and housing

7    discrimination, plaintiff should be grant the relief for injuries and damages and be
s rewarded the available remedy,thereof rental coverage from holding defendants liable.
9
     Laird v Nelms. 406 U.S. 797, 92S. Ct 1889.32L.Ed 2d 499.Z Envt~ L. Ren.
to
     20363(1972)(strict liability)
11

12

13   i26. As Plaintiff had been in vulnerable to partially reliance of government assistance for
14
     personal usages (e.g. food,rent, bill, etc.) was never an abuse or self-careless of Gfe's
is
     responsibility or relied assistance. When plaintiff had a permanent employment(three jobs
16
     for 3 years from 2005 to 2008) plaintiffls initiated, efforts to obtain care offood and
17

18   permanent residence,the county was aware of the years conditions as having employments

19   and homeless condition in the county ofLos Angeles, but yet the county had neglect its due
20
     care of duty to housing assistance when plaintiff bad made requests,thereby the grant for
21
     relief should be granted in favor of the plaintiff and in all evidence that support some or all
22
     factual allegation against defendants(s). Oconomowoc ResidentialProPrams v City of
23

24   Milwaukee. 300 F. 3d 775. 783(7th Cir. 2002)(burden to show that an accommodation is

25   reasonable on its face)
26

27

28



     FEDERAL TORT CLAIMS FOR HOUSING
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      127. In the average of homeless in the American and the County Los Angeles resulting in
2
      are result from drug addiction or abuse,or loss ofjob or disability [that causes, of careless

      or vulnerable efforts to compete with a normal person whom not in possess of a disability
4
      and can establish financial income resources and function for housing or apartment

      searching for residence than an disabled or impeded person] or circumstance that causes

      vulnerability to non•housing residency. Plaintiffs analogic point offact      is that,Plaintiff,

      at all times resided in the County of Los Angeles never wanted to relied or never had

      awaited,to be aid of government assistance without first attempted the farthest extent of
l0
      plaintiff's ability and thus ability to self-care without any assistance, but in circumstance
11

12    plaintit~'s life that were inevitably unavoidable of the county investigative surveillance

13    having abnormal functioning self-care of housing assistance and thereby upon proof of
14
      evidence and demonstration,the relief sought for remedy should be granted in the
15
      plaintiff's favor for liable of housing rental coverage, against all defendants)liable for all
16
      or some in portion or attributed or comparative at fault, and that the covering calculation
17

1s is based at an equally divided proportionate percentage or the separate amount percentage
19    covering in housing rental coverage pursuant to California laws-Section 1 of Article XIV..
20 Cal. Cons't(effective
                         remedy of legislature's authority;State Farm Mut Auto.Inc. co. v
21
      Campbell 538 U.S 408.422-423.123 S. C~ 1513.1522-1523.1SS L. Ed 2d 585. 60 Fed R.
22
      Evict Sere 1349.1 A L.R F"ed Zd 739(2003)(conduct having specific news to plaintiff's
23

24    harm)

25

26
      128. For all material commonly alleged against said defendants, County of Los Angeles,
~~~
      Housing Authority of the City Los Angeles,Los Angeles County Sheriffs Department,Los
28



      FEDERAL TORT CLAIMS FOR HOUSING
      DISCRIlVIINATION VIOLATIONS
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       Angeles Police,Division of Adult Parole Operations and Path,the demanding for the

       substitute of monetary awarded settlement for the settlement of percentage coverage of all

       rent lease agreement in the costed amount for any selective renting unit(one unit) and the
4
       amount percentage coverage of65.70% that is to be divided among the liable defendants

6      for eztended period of years(l0yrs) of as~ the equivalent ofthe consuming force or cause to

       be force whether directed.or indirectly influenced and housing discrimination and

       nonhousing assistance, or force consuming conditions thereof homeness and living in street

       environment or habitation, and that the coverage eztends to the equal amount of years of
10
       deprivation or reasonable negligence (Texas Deny ofHousing and Community Affairs v
11

12 Inclusive Communities Proiec~ InG. 135 S. Ct 2507.2513. 192 L. Ed 2d 524 (201S)) from

13     the responsible due care persons [County of Los Angeles and City of Los Angeles].
14

15

16
                                   First Cause of Action For Relief
17
                   (Housing Discrimination: Violations of the Fair Housing Act(1999)
18

19     129. The allegations listed above are incorporated herein by reference paragraphs 25
20
       through 103, relief should be granted, in violation of the federal Fair Housing Act, as
21
       the federal statue law that defines the meaning of discriminatory housing pursuant to 42
►~►~
       U.S.C. ~ 36020. (see Havens Reality Corn. a Coleman. 455 U.S. 363.373-370.102 S. Ct
23

24     1114. 1124-1125. 71 ~ Ed 2d 214 (19821(Entitled recovery damages to the eztent proven

25     that discrimination bad dfverted resources or frustrated housing assistance); (making
26
       housing unavailable) 42 U.S.0 53604(a)(~(h); Woods v. Foster, 884 f. Supp.1169,1175
27
       (N.D. I11.1995)(Congress broaden the meaning of making unavailable housing)
28



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i     130. And,if granted based on the trier offacts alleged in First Cause of action against said ~
2
      defendants, County of Los Angeles,Los Angeles County Sheriffs Department,Los Angeles
3
      Police Department,Division of Adult Parole Operations, and Path,in the court's discretion
4
      upon plaintiff's demand that is morally sensible and the demand is not unreasonable
5

6     excessive(Fletcher v Western National Life Ins. Co.. 10 CaL An. 3d 376.409.

7     89 CaL Rvh. 78.99.47A.L.R. 3d 286(1970)that can make adjustment to increase or
8
      decrease to percentage rental coverage and if defendants are find liable (State Farm,supra. ~
9
      538 U.S. at 419) by the district court.
l0

11

12 ~ 131. In the granting if, so grant by the federal district court, of enforcement of California

13    State law for remedy under the Bane Act in re VeneFas v. County ofLos Angeles. 32 CaL
14
      4th 820. 843.11 Cad Rntr. 3d 692. 87P. 3d 1(20041(showin~ of Discrimination intend, that
15
      each defendants serve a proportionate terms and proportionality of attributive fault or
16
      comparative fault or at separate liability of:
17

is                 1. The County of Los Angeles holding at complete fault for housing

19                    discrimination and nonhousing assistance, of a serving liable tern and civil
20
                      reward for 10 to 15 years of percentage rental housing unit coverage not
21
                      exceed over $2,000. and,to covered Plaintiff's(Caviar Mickens)
22
                      accredited unit or apartment or sub-housing live application for purpose to
23

24                    reassure the renter or owner or property management that payment for

25                    rent is guarantee due upon delivery by the defendants whom will be liable
26
                      for the majority coverage of the rent due to the property management or
27
                      owner or renter and that the reliable input information on application is
2s


      FEDERAL TORT CLAIMS FOR HOUSING
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1                cover background credential(noncriminal records)thereby any section of
2
                 the application pertaining to:
3
                    a. employment status and or history.
4
                    b. any apartment evection.
5
6                   c. current or and past source of income that cover the 3 to 4 times the

7                     rent due for unit at decided leasing.
8
                  that all above if information is required by the renter or owner or
9
                  property management,to cover accredit by means of any form of
l0
                  communication (e.g. written letter,fag,telegram, email and with
11

12                attachment(e.g.format file (pfd.))) anywhere within the State California

13                and the United States.
14

15
               Z.The County of Los Angeles Sheriff's Department holding at complete fault
16
                 of direct or indirect causation or influence of causation for housing
17

1s               discrimination and nonhousing assistance, of a serving liable

19               tern and civil reward for 10 to 15 years of percentage rental coverage
20
                 not to ezceed $2,000. anywhere within the State California and the United
21
                 States.
22

23

24            3.The Los Angeles Police Department holding at complete fault

25               of direct or indirect causation or influence of causation for housing
26
                 discrimination and nonhousing assistance, of a serving liable
27
                 tern and civil reward for 10 to 15 years of a divided percentage rental
28



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1                    coverage not to ezceed 2,000. any resident unit anywhere within the State
2
                     California and the United States.
3

4
                  4. The Division of Adult Parole.Operations holding at complete fault
5
6                    of direct or indirect causation or influence of causation for housing

7                    discrimination and nonhousing assistance, of a serving liable
8 '
                     tern and civil reward for 5 years of a lesser divided percentage rental
9 ~
                     coverage not to ezceed $2,000. any resident unit anywhere within the State
l0
                     California and the United States.
11

12

13                5.Path holding at complete fault of direct or indirect causation or influence
14
                     of causation for housing discrimination and nonhousing assistance, of a
15
                     serving liable tern and civil reward for Z years of a lesser divided
16
                     percentage rental coverage not to exceed $2,000. any resident unit
17

1s                   within the State California and the United States.

19

20

21
                                Second Cause of Action For Relief
22     (Conspiracy to Deprive and Interfere with Civil Rights: Violation ofthe Fair Housing
                           Act(1999) and Title 42 U.S.C. 1984)
23

24
      132. The allegations listed above are incorporated herein by reference paragraphs 25
25
      through 30,and 33 through 95,and 99 through 103, relief should be granted,in violation of
26

27    the federal Fair Housing Act(1999) and Title 42 U.S.C.§ 1984(conspiracy of person under

28    color of duty to interfered with civil rights privilege. Mandelbaum v United States. 251 F.


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     2d 748(2d Cir. 19581(aresumntion ofdnterference under FTCA)
i~
3    133. And,if granted based on the trier of facts alleged in Second Cause of action against

4    said defendants, County of Los Angeles,Los Angeles County Sheriff's Department,Los
5
     Angeles Police Department and Division of Adult Parole Operations,in the court's
6
     discretion upon plaintiff's demand for recovery for the damages and injuries by the

     interference that had cause housing discrimination, plaintiff should be rewarded against
8
9    defendants for rental coverage thereby of a percentage coverage, covering all rental unit

10   cost at an divided percentage among the defendants stated-above for the Second Cause of
11
     Action.(Cad Gov't Code S12989.2(Special Damagesfor lost ofhousing opportunity)
12

13

14

15

16                                Third Cause of Action For Relief
     Negligent Failure to Provide General Assistance: Violations of the Section 8Act(193'n and
17
                                     Fair Housing Act(1999))
18

19   134. The allegations listed above are incorporated herein by reference paragraphs 25,31,
20
     and 32 through 42,relief should be granted,in violation of Section 8 Act(193'n and the
21
     federal Fair Housing Act(1999)for negligent failure to provide general housing assistance
22
     when the county was adequate knowledge that plaintiff was homeless and had possessed a
23

24   minor disability (Title II ofAmericans with Disability Act; Cad Civ Code ~~ SI-54- Cain

25   Disable Person Act,but defendants,Los Angeles County and Housing Authority of the
26
     I City of Los Angeles had negligent an obligated duty to serving expedited accommodation
27
     or provided access to await case file approval. 28 U.S.C.A. S 2674(vunitive damaPes and
28



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2 I linteres



3      135. Plaintiff had signed documents indicated the agreement in year 2006 with defendant

4      the Housing Authority of the seeking housing assistance. Information was release to the
5
       defendant as the defendant had requested the release of information to be eligible for
6
      Section 8 housing or any housing accommodation within the housing development project
7
       or any contractual housing for law-income homes person or household, the defendant did
8
9      not serving any housing assistance, therefore the district court should grant favor of the

10     aggrieved plaintiff in rewarding of proportionated rental unit percentage coverage as the
11
       evidence may show against defendant if in the event of trial or hearing. Auburn WoodsI
12
      Homeowners Assn a Fair Emnlov& Hous. Comm'n..121 CaL App. 4th 1578.1591.18 Cad
13
      Rntr. 3d 669. 678 (2004)(remedy available under FEHA for afford greater rights)
14

15

16

17
                                   Fourth Cause of Action For Relief
1s      (Negligent Failure of Reasonable Accommodation and Person with Disability: Violations
                       of the Section 8act(193~ and American with Disability Act)
19

►za
    136. The allegations listed above are incorporated herein by reference paragraphs 25 and
21
       36 and 39 through 41 and 54 through 66, relief should be granted, in violation of Section 8
22
       Act (193'n and the American with Disability Act for negligent failure of reasonable
23

24     accommodation of a person with disability for housing assistance. When the county was

25     adequate knowledge that plaintiff was homeless and had possessed a minor disability (Title
26
      Iof Americans with Disability Act; Cal. Civ Code ~~ 51-54- Cain Disable Person Act), but
      I
~~~
       defendants, Los Angeles County and Housing Authority of the City of Los Angeles had
28



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1     negligent an obligated duty to serving expedited accommodation or provided access to
2
      await case file approval.
7
4     137. And,Plaintiff was at government county interest thereat 2005,and while under
5
      surveillance investigation, as the investigation had made constructive influence that
6
      subsequently resulted in civil rights deprivation, as to no excusable avoidance that the
7
      county should had provided reasonable accommodation at a constructive effect while still
s
9     remaining surveil investigation. The County of Los Angeles made effects to

to    unconstitutional act thereby outside their government policy authority of surveillance, had
ii    run as a balanced conjunction to public policy obligation and their investigation rights and ~
12
      regulation,therefore it is further said,that grant in favor awarding plaintiff coverage
13
      settlement against defendants is justify in the event of showing evidence at trial or hearing
14

~5    and lawfully without prejudice to the defendants. Fair Housing ofMartina Combs.285 F

16    3d 899. 905.52 Fed R Sery 3d 76(9th Cir.2002)(division ofresources damages);Saunders
17
       v GeneralServices Cora. 659 F. Sunn. 1042.1060(E.D. Va. 1987)(Time spent investigating
18
      and attempted to resolve violation)
19

20

21

F~a                            Fifth Cause of Action For Relief
    (Discrimination Against Make Reasonable Accommodation: Violations of the American
~~~
                                     with Disability Act)
24

25     138. The allegations listed above are incorporated herein by reference paragraphs 25 and
26
      32 through 42 and 51,and that relief is shown having merit in accordance to applicable
27
      (Bane Act and be should be granted,in violation of the American with Disability Act for
28



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       Discrimination against making reasonable accommodation when,person with
2
       disability need housing assistance from Housing Authority of the City of Los Angeles and

       Los Angeles County.(Arnold v United Artists Theatre Circuit.InG 866 F. Sunn. 433.438
4
      (N.D. CaL 1994)(California available statutory damagesfor incidents ofdeterrence)

r.~
       139. When the county was adequate knowledge that plaintiff was homeless and had

       possessed a minor acute disability, of discriminatory interference influence

       thereby the Los Angeles County Sheriff's Department,Los Angeles Police Department and

10 Path,the plaintiff suffered injurious living condition within the county,therefore the
11
       district court should grant the favor of plainti~''s claims and hold all defendants equally to
12
       comparability or attributive to liability and rewarding plaintiff in the settlement
13
       controversy of renter percentage apartment or unit coverage.
14

15
       140. The defendant,Los Angeles County was adequate knowledge,of homeless living
16
       statistics and advance crime prevention theology,thereby the county had anticipated that
17

~g     the likelihood without providing any permanent housing assistance that had prolong from

19     2005 to 2020 that crime would had likely occurred at a probability of85% to 90%whether
20
       is the crime or offense of a vulnerable homeless living condition, and of surviving for
21
       food or a place to be safe and warm unit that the homeless person is not permitted by some
22
       municipal regulation or penal code. Therefore, plaintiff believes with showing of evidence
23

24     that the plaintiff having substantiated meritorious claims against defendant, and the grant

25     holding defendants,Los Angeles County,Los Angeles Sheriff's Department,Los Angeles
26
       Police Department,liable for injuries and damages for provoking to cause homeless
27
       conditioning and,without housing accommodation by discrimination and hatred.
28



       FEDERAL TORT CLAIMS FOR HOUSING
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1     141. And,as the reference paragraphs 74 through 85 and whereas the statements tones
`~
      indicated the demise agendas to further shelter plaintiff in unconditionally of homeness
3
      living and from televise broadcasting whereas the epic center of the county's and its'
4
      department agency all demised intent to conspired in having plaintiff without housing aid,
5

6     therefore, by the Fifth Cause,an immediate injunctive relief should be granted in

7     preliminary facts against defendant,Los Angeles County,Los Angeles Sheriff's
s Department and Los Angeles Police and holding liable for settlement in the percentage
9
      rental coverage of housing unit within the State of California and within anywhere of
10
      United States.
11

12

13
                                  Sizth Cause of Action For Relief
14
       (Discrimination Against Person with a Disability: Violations of The American with
15                          Disability Act and Civil Rights Act(1964))

16
      142. The allegations listed above are incorporated herein by reference paragraphs 26
17

18    through 30 and 57 through 61,are having meritorious claims and that relief should be

19    having merit in accordance be granted,in violation of the American with Disability Act
20
      and the Civil Rights Act of(1964)for discrimination against person with disability and
21
      of a minor impediment 42 U.S.C.66 2000(c)-12188(remedyfor discriminatdon against a
22
             with a disability)
23

24
      143. The Los Angeles County and Sheriff's Department and Los Angeles Police
25
      Department was at adequate knowledge thereat from 2005 and thereafter that plaintiff
26

27    possessed some mental impediment while bad resided in the county, and while under

28    investigation that had causing unconstitutional employment work environment


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 1     conductivity, while as the only employment finance source(from than employment status
2
       2005 through 2020) was the essence to support housing or to obtain housing unit as self-
3
       suf5cient if with or without government aid from the defendant,Los Angeles County or
4
       Housing Authority of the City of Los Angeles, therefore the federal district court should
5

6      grant relief thereof settlement in the housing rental coverage upon showing or proven

7      alleged facts against defendants.
8

9

10     Conclusion
11
       144. Plaintiff feels and expressive demand the court honor and enforce the matter of
12
       settlement in controversy (percentage rental coverage(65.70%))to a reasonable terms of
13
       liability and holding the liability terms to the fullest of civil justice that base served
14

15     plaintiffs injuries and damages to the long periodical housing discrimination terms(Cad

16    ~ Gov't Code ~ 12927(c)(1) and that the amount years deprived (thereof 15 years) within the
17
       County of Los Angeles,is equivalent serving the civil liability terms thereof disproportion
18
       to each individual's attributed or comparative accountability of housing discrimination.
19

20

21     145. The purpose that plaintiff had demand this settlement controversy than monetary

22     rewards,is that plaintiff want to secure long housing terms of any rental lease of an
23
       housing unit, that plaintiff had not had reasonable opportunity to establish consistent
24
       housing history due to the circumstance alleged against said defendants. If the court or
25
       upon defendants' request or motion or recommendation that suggests or change settlement
26

`~~ venue to monetary offers) that is an approximate estimate of ranging from the time
28    (thereof 2005 to 2020)deprive housing, of $130,000 or slightly more that is less than the


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     rental coverage years that is equally to the years of housing deprivation.
 2
     F. 2d 1187(9th 1982)(claims may be limit to its iniuries and not excessive demanded)
 3
     Defendants will present opposition to the term year than rather they'd settle in a onetime
 4
     payment settlement. Cutting the entitlement to full remedial claims about of a reduced
 5
 6   percentage fraction than the equal equivalent values of all claims alleged against

 7   defendants for 16 years of housing deprivation.
 s
 9
     146. And,but additionally, plaintiff is being publicly antagonized in lured indication or ill-
10
     controversy psychobabble of an unknown residential community(s) whom may bad
11

12   participated in between the 16 years of housing discrimination within the County Los

13   Angeles. Plaintiff is having a frustrated recollection of what had may been seem as
14
     orchestrated conductivity thus within the community(Hollywood District) awareness of
~5
     plaintiffls presence as damaging his' state and federal First Amendment Rights in the
16
     between 2005 to 2008, due the anticipated county surveil communication. Plaintiff having
17

1g   consisted employment income sources whereas plaintiff was able to have salvation in hotel

19   living condition that would provide secure comfort of sleeping and food storage. Plaintiff
`z~~ recollected that once he'd arrived in the Los Angeles County,the nett followed day,in
21
     Hollywood City, plaintiff bad entered into a hotel and inquired of weekly cost for a hotel
22
     room. Plaintiff was informed that of`the hotel did not rent weekly cost for room'.
23

24   Approximately after 5 years whereas plaintiff had unemployed for amount of years,

25   plaintiff had approached an gentleman whom I had seen on a daily regular basis entering a
26
     hotel, of the same hotel plaintiff had inquired for room weekly rental cost. Plaintiff was
27

28



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 1   informed by the civilian `that he had paid $150.00 a week', as the county taz market was
2
     steady increase.
3

4
     147. As the circumstance may seem surreal coincidental community's activity but plaintiff
5

6    is head-aching due to the facts of plaintiff discovered he was under surveillance

7    investigation and the confidential communication within the communities within the Los
g    Angeles County.If these facts that are officially unverified, become verified by the
9
     defendants or and by means of federal discovery, plaintiff will seek in court of increase of
10
     the amount percentage rental coverage against newly added defendants. Based on the
11

12   indication that the housing discrimination may had been a diverted course action for

13   liability or a jointed course of action for liability.
14

15
     148. And,as an analogic reasonable likelihood of personal responsibility that has no legal
16
     basic or study recognition that is not profound in legal merits or having cited in reported
17

18   cases and if plaintiff is granted relief and rewarded monetary as resulted from venue

19   change of controversy settlement based upon the court's discretion or any opposition
20
     motion by the defendants, plaintiff believes that upon his' personal motives that securing
21
     the settlement in preservation for "percentaee rental housing unit coverage(65.70%1",
22
     would be most likely not guarantee secure by plainNffls own responsibility care, due to
23

24   compilation of prepped greater costly federallitigallon in local district court and Supreme

25   Court and obtaining cost-efficient expensive retentions of experts' services.
26

27

28



     FEDERAL TORT CLAIMS FOR HOUSING
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 i     149. To the eztend years terms for percentage rental coverage holding. against defendants
2
       for intent confidential negligent refusal to provided housing assistance services(24 C.F.R 6
3
       100.70(d)(4)1, plaintiff, would be satisfy completely of civil punishment of that is equivalent
4
       to years and the defendants be responsible for years of a civil punishment for the injuries.
5

6      Dent Fair Emnlov & Hous. v City ofNana(June 4.1981)(Interest id awarded to make

7      plaintiff whole) The demand controversy settlement will serve as an exemplary and can be
8
       look upon demonstration ofjustice having bung serve therefore the district court has the
9
       ultimate discretion to resolute a matter in dispute,the demand is reasonably meritorious
l0
       righteous and seem fit for hold civil punishment and remedy of each defendants.
11

12

13

14

15

16
                                                                                   Submitting,
17

18

19
             10/21/21                                  BY: CAVIAR MICKENS
20                                                         Pro Se 'gant's Name
21                                                                             r                 1



22

                                                             S~
23

24                                                          Caviar Mickens
                                                            2309 Santa Monica
25                                                          Santa Monica,CA 90404
                                                            Email: Caviarmickens36@yahoo.com
26
                                                            Ph.: 424.436/1071
27                                                          In Pro Se

28



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          VERIFIED COMPLAINT FOR FEDERAL TORT CLAIMS FOR VIOLATION
                         OF HOUSING DISCRIn~IINATION


     1. I, CAVIAR MICKENS,verifies herein: I am the federal "Plainti$" in to be proceeded

     in a United States District Court,thereof Southern California, Los Angeles Division, and

     am bring a federal complaint tort claims action against "Defendant(s)",Los Angeles

     County,Los Angeles County Sheriffs Department,Los Angeles Police Department,

     Division of Adult Parole Operations and Path,thereof which each said fore•mendoned

     defendants are resided of place of business with jurisdiction of the federal court pursuant
10
     to American with Disability Act and Fed RuL Ciu Prot. SS 4(e)(i)-82 as well under Title 28
It

12    U.S.C.6~~ 1331.1343-1343 and are authorized to be sue under Title 42 U.S.C. ~ 1984(a)fbl

13   and Fed RuL Civ Prot 66617(a)(b)(3)(c)(C). l9(a)(B)(i)-20(a). for any relief or enforce re
14
      United Heath Care Corp a American Trade Ins. Co.. Ltd.88 F. 3d 563.569.(8th Cir. 19961
15

16
     2. But,and under section 19 of Federal Rules of Civil Procedures that nonjoinders to the
17

1s action and are not stated in the complaint,thereof naming nonjoinders, the Los Angeles
19   County District Attorney's Office,Los Angeles Mayor's Office and KTLA News 5
20
     (fictitious name)based on federal criminal and appeal jurisdictional interest pursuant
21
      18 of the U.S. Constitution. National Licorice Co. v National Labor Relations Board. 309
22
      U.S. 350.363. 60 S. Ct 569.84 L.Ed 799(1940)(narrow goal of protected public interest)
23

24

25   3. In the complaint for federal tort claims against defendants,the alleged information was
26
      read of the foregoing "federal complaint" and the knowing informative contents alleged
27
      against defendants,thereof:
2g


      FEDERAL TORT CLAIMS FOR HOUSING
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 1   4. The First Cause of Action-for Housing Discrimination, under the Fair Housing
2
     ACT(1999)thereby such doctrine act,in violation of the provisional act, all allegation
3
     therein complaint alleged violation of the provisional Acts is to be verified as true and
4
     accurate.
5

6

7    5. The Second Cause of Action-for Conspiracy to Deprive and Interfere with Civil Rights,
8
     under Fair Housing Act(1999) and Title 42 U.S.C.§ 1984 thereby such doctrine act,
9
     all allegation therein.complaint alleged violation of the provisional Acts, all allegation
10
     therein complaint alleged violation of the provisional Acts is to be verified as true and
11

12   accurate.

13
     6. The Third Cause of Action-for Negligent Failure to Provide General Assistance, under
14

is   Section 8 Act(1937)and Fair Housing Act(1999), all allegation therein complaint alleged

16   violation of the provisional Acts is to be verified as true and accurate.
17

18

19   7. The Fourth Cause of Action for Negligent Failure to Make Reasonable Accommodation
20
     and Person with Disability under the Section 8Act(1937)and American with Disability Act,
21
     all allegation therein complaint alleged violation of the provisional Acts is to be verified as
22
     true and accurate.
23

24
     8. For the Fifth Cause of action for Discrimination Against Make Reasonable
25
     Accommodation, under the American with Disability Act, all allegation therein
26

27   complaint alleged violation of the provisional Acts is to be verified as true and accurate.

28



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i 9. The Sizth Cause of action for Discrimination Against Person with a Disability,
2 1
      under American with Disability Act and Civil Rights Act(1964), all allegation therein
3 1
      complaint alleged violation of the provisional Acts is to be verified as true and accurate.
4

5
      10. And,thereof: I, Plaintiff believes that the information alleged against pursued
6
      defendants are true and accurate, under federal perjury oflaw.[18 U.S.C. §§1621-1623;28
7
      U.S. Code § 1746]
8
9
      11. This federal complaint, and complaint for Federal Tort Claims, bas been computer
l0
      written by word process and word counted for approximately 17,067 for each words
11

12    ofthe prepared complaint and included with verbcation,is consisted of68 pages.

13

14

15

16                                                                                 Submitting,
17

18

19        10/21/21                                   BY: CAVIAR MICKENS
                                                         Pro Se litigant's Name
20
                                                                ~~             ~
21

22

23
                                                          Caviar Mickens
24                                                        2309 Santa Monica
                                                          Santa Monica,CA 90404
25                                                        Email: Caviarmickens36@yahoo.com
                                                          Ph.: 424.436/1071
26
                                                          In Pro Se
27

28



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           ADMISSIONS AND CONTINUED OCCUPANCY POLICY [2005] FOR TIC
                  CONVENTIONAL PUBLIC HOUSING PROGRAM
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              HOUSING AUTHORITY OF THE
               COUNTY OF LOS ANGELES



                       ADMINISTRATIVE PLAN
                           APRIL 5, 2005
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                                                                Administrative Plan 2005


                                    CHAPTER 1:
                              POLICIES AND OBJECTIVES

     1.1   INTRODUCTION

           The Los Angeles County Community Development Commission (CDC) was
           created in 1982 by the County's Board of Supervisors. The CDC aims to build
           better lives and better neighborhoods, by providing services to improve the
           quality of life in low- and moderate-income neighborhoods. The CDC manages
           programs in public and assisted housing, community development, economic
           development, and housing development and preservation.
           The Housing Authority of the County of Los Angeles (HACoLA) was created in
           1938 to manage and develop affordable housing. Since 1938, HACoLA has
           administered federally funded public housing, rental assistance programs, and
           services and special programs for residents of public and assisted housing.
           In an effort to streamline Los Angeles County's housing and community
           development programs and services, the County Board of Supervisors combined
            HACoLA with the CDC in 1982. HACoLA is comprised of two divisions of the
           CDC. The Housing Management Division manages public housing and related
            programs and services. The Assisted Housing Division administers rental
           assistance programs.

     1.2    PURPOSE OF THE PLAN
           (24 CFR X982.541

           The purpose of the Administrative Plan is to clearly outline the policies and
           procedures that govern HACoLA's administration of.rental assistance programs.
           The plan includes program requirements established by the U.S. Department of
           Housing and Urban Development (HUD), as well as the discretionary policies
           established by HACoLA.
           The policies and procedures in this Administrative Plan comply with applicable
           local, State, and HUD and other Federal regulations, relevant memos, notices
           and guidelines, including fair housing and equal opportunity requirements. If
           applicable regulatory changes conflict with this plan, regulations will have
           precedence.
           HACoLA adheres to the Administrative Plan in administering all rental assistance
           programs. The original plan and any changes must be approved by the Board of
           Commissioners of the agency (the Los Angeles County Board of Supervisors),
           and a copy of the plan must be provided to HUD.
            As much as possible, revisions and additions are published to coincide with
            published changes in HACoLA's Agency Plan. Interim changes, including Board
            mandates and administrative updates reflecting changes in law or regulatory
            requirements, will be made effective by memo from the Executive Director or
            designee.




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     Housing Authority of the County of Los Angeles


     1.3    LOCAL OBJECTIVES
            X24 CFR 6982.1(a11

            HACoLA rental assistance programs are designed to achieve three major
            objectives:
                1. To provide improved living conditions and decent, safe, and sanitary
                    housing for very low-income families while maintaining their rent
                    payments at an affordable level;
               2. To provide an incentive to private property owners to rent to lower income
                  families by offering timely assistance payments; and
               3. To promote freedom of housing choice and spatial deconcentration of
                  lower income and minority families.
            Additionally, HACoLA has adopted the following mission statement:
                ➢ To promote adequate and affordable housing, economic opportunity and
                    a suitable living environment free from discrimination.

     1.4    JURISDICTION
            X24 CFR X982.51 AND 24 CFR &982.4(8)1

            HUD has authorized HACoLA to administer rental assistance programs within the
            corporate boundaries of Los Angeles County. HACoLA's jurisdiction includes:
               1. The unincorporated areas of the County, and
                2. Participating cities within the County. Participating small cities are
                   defined as cities in the Los Angeles County area that have authorized
                   HACoLA to administer rental assistance programs within their city limits.

      1.5    RENTAL ASSISTANCE PROGRAMS

            Section 8 of the Housing and Community Development Act of 1974 established
            the "Section 8 Program," the first permanent Federal program for rental
            assistance. The program authorized a basic certificate program, as well as
            targeted subprograms. As rental assistance programs developed, Congress
            authorized additional Section 8 programs, including a voucher program in 1987.
             In 1998, the Quality Housing and Work Responsibility Act (QHWRA) required
             housing authorities to convert their certificates into vouchers and establish the
             Housing Choice Voucher Program as the primary rental assistance program. As
             a result of this conversion, the Housing Choice Voucher Program now
             encompasses all HACoLA rental assistance except for existing certificates under
             the previously offered Moderate Rehabilitation Program.
                 ➢ Moderate Rehabilitation Proctram: A certificate-based rental assistance
                   program incorporating financial options for owners doing moderate levels
                   of rehab and upkeep to affordable housing rental units. Administration
                   involves closing or extending expiring contracts. Chapter 22 (Moderate
                   Rehabilitation Program)covers the details of this program.




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                ➢ Section 8 Pre-Pav/Preservation Prouram: A voucher-based rental
                  assistance program that enables existing participants, living in units in
                  which owners have prepaid aHUD-insured mortgage loan, to remain in
                  affordable housing. Chapter 21 (Pre-Pay/Preservation Program) covers
                  the details of this program.
                ➢ Project-Based Voucher Pro4ram: The Housing Authority will utilize
                  Project-Based vouchers to prevent the displacement of families and
                  preserve affordable rents in the case of an unforeseen event.
                ➢ Housing Choice Voucher Program: The major rental assistance
                  program administered by HACoLA.
                  • Note: Unless otherwise noted, the procedures in this Administrative
                     Plan are for the general Housing Choice Voucher Program.
             As required by HUD regulations, HACoLA administers the Family Self-Sufficiency
             Program as a special program option for participants in the Housing Choice
             Voucher Program. See Chapter 20(Special Programs)for details.

     1.5.1   Set-Aside, Targeted and Special Programs
             HACoLA may use the Housing Choice Voucher Program budget to fund set-
             aside programs, which are detailed in Chapter 20 (Special Programs). All set-
             aside programs are subject to the availability of funding. The Executive Director
             has the discretion to approve allocations beyond the existing program size for all
             set-aside programs.
                 ➢ Housing Choice Voucher Homeless Program: This program targets
                     families throughout Los Angeles County. All eligible families are referred
                     to HACoLA by pre-selected service providers.
                 ➢ Housing Choice Voucher Lona-Term Family Self-Sufficiency
                     Homeless Program: This program targets homeless families who are
                     eligible for CaIWORKs and are employed or have an offer of employment
                    (either subsidized or unsubsidized).
                 ➢ Housinct Choice Voucher Family Unification SetAside Program: This
                      program provides assistance to families who are in imminent danger of
                      losing or who cannot regain custody of their minor children due to lack of
                      adequate housing.
              Periodically, HACoLA applies for special funding from HUD to administer
              vouchers to targeted populations, within the Housing Choice Voucher Program.
              HACoLA administers vouchers through the following targeted programs:
                  ➢ Housing Choice Voucher Welfare to Work Prouram: This program
                       provides assistance to families who are eligible for CaIWORKs benefits,
                      are in good standing with the employment/job training program offered by
                      the Los Angeles County Department of Public and Social Services
                     (DPSS) and are in need of housing in order to obtain or retain
                      employment. See Chapter 20(Special Programs)for details.
                     Housing Choice Voucher Mainstream Program: This program assists
                     very-low income, disabled families who need rental assistance. As
                     authorized by HUD regulations, HACoLA administers this program



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                    independently and does not rely on joint ventures with community
                    partners. Eligible families are identified ftom the regular housing choice
                    voucher waiting list and are admitted on a first come,first served basis.
                    Families admitted into a targeted program must meet all regular
                    admission requirements with the exception of the residency requirement.
                    Since HACoLA is required to work closely with other County departments
                    that provide services through all of Los Angeles County, families residing
                    outside of HACoLA's jurisdiction are allowed to participate in targeted
                     programs. However, families may be required to move within HACoLA's
                    jurisdiction for at least one year.
            HACoLA also receives non-Housing Choice Voucher Program funding to
            administer the following special programs. See Chapter 20 (Special Programs)
            for details:
                ➢ Shelter Plus Care Program
                ➢ Housing Opportunities for Persons with AIDS(HOPWAI Program

     1.6    FAIR HOUSING AND EQUAL OPPORTUNITY POLICY
            j24 CFR X982.531

            It is the policy of HACoLA to comply fully with all Federal, State and local
            nondiscrimination laws and with the rules and regulations governing fair housing
            and equal opportunity in housing and employment.
            HACoLA shall not deny any family or individual the opportunity to apply for or
            receive assistance under HACoLA rental assistance programs on the basis of
            race, color, sex, religion, creed, national or ethnic origin, age, family status,
            handicap or disability.
             HACoLA will provide Federal, State, and local information to voucher holders
             regarding discrimination, and the recourse available to them if they are victims of
             discrimination. Such information will be made available during the family briefing
            session, and all fair housing information and discriminatory complaint forms will
             be included in the voucher holder's briefing packet.
             Except as otherwise provided in 24 CFR §8.21(c)(1), §8.24(a), §8.25 and §8.31,
             no individual with disabilities shall be denied the benefits of, be excluded ftom
             participation in, or otherwise be subjected to discrimination because HACoLA's
             facilities are inaccessible to or unusable by persons with disabilities.

      1.7    OPERATING RESERVES

             The Board of Commissioners shall establish the permitted uses of earned
             administrative fees at the time of the Annual Consolidated Operating Budget
             approval. The approval shall consist of the use of administrative fees for the
             Housing Choice Voucher Program (Section 8) administration.
             The Board of Commissioners must approve the expenditure of Section 8
             operating reserves in excess of $50,000. The Executive Director may authorize
             allowable use of Section 8 operating reserve funds not in excess of $49,999. The



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             Assistant Executive Director may authorize allowable use of Section 8 operati
             reserve funds not in excess of $30,000.

     1.8     SERVICE POLICY
             f24 CFR X8.111
                                                                                             Plan
             This policy is applicable to all situations described in this Administrative
                                                                                              with
             when a family initiates contact with HACoLA, when HACoLA initiates contact
                                                                                           les  or
             a family including when a family applies, and when HACoLA schedu
             reschedules any kind of appointments.
                                                                                                 A
             It is the policy of HACoLA to be service-directed in the administration of HACoL
                                                                                 a high   level of
             rental assistance programs, and to exercise and demonstrate
             professionalism while providing housing services to all families.
                                                                                                all
             HACoLA's policies and practices are designed to provide assurances that
                                                                           odatio  n so that  they
              persons with disabilities will be provided reasonable accomm
                                                                                               The
              may fully access and utilize the housing program and related services.
             availability of specific accommodations will be made known     by includi ng  notices
              on HACoLA forms and letters to all families.

     1.8.1    Requests for Accommodation
                                                                                                ,
              All requests for accommodation or modification will be verified with a reliable
              knowledgeable professional so     that HACoL  A can  properl y accomm  odate   the
              need presented by the disability.
              Requests for reasonable accommodation from persons with disabilities will be
              granted upon verification that they meet the need presented by the disability.
                                                                                             that
              Reasonable accommodation will be made for persons with disabilities
              require an advocate or accessible ofFces. A designee will be allowed    to provide
              information as needed, but only with the permission of the person with the
              disability.

      1.9     FAMILY OUTREACH

              Each. time HACoLA enters into an Annual Contributions Contract (ACC) with
              HUD for new Section 8 existing units, it will be publicized in accordance with the
              specification in the criteria of the Equal Opportunity Housing Plan. HACoLA's
              waiting list will remain open on a continuous basis for the foreseeable future.
              HACoLA will communicate the status of housing availability to other service
              providers in the community, advise them of housing eligibility factors and
              guidelines in order that they can make proper referrals for housing assistance.
                                                                                               will
              Information regarding the program directed at prospective applicants/tenants
                                                 with Equal Opportu nity  Housin g Plan and   HUD
              be disseminated in accordance
              guidelines for fair housing.




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     1.10     OWNER OUTREACH
             [24 CFR §982.54(dl(5)l

             HACoLA encourages owners of decent, safe and sanitary housing units to lease
             to families participating in HACoLA rental assistance programs. HACoLA
             maintains and regularly updates a list of interested landlords and available units
             for HACoIA rental assistance programs. When listings from owners are
             received, they are compiled by HACoLA staff and made available through the
             phone hotline, by mail, or by Internet at www.hacola.orQ.
              Ongoing marketing efforts to recruit suburban owners for participation include,
              but are not limited to:
                 1. Brochures for owners;
                 2. Realty Board presentations;
                 3. Apartment Owner Association presentations;
                 4. Community Center presentations; and
                 5. Presentation to organizations serving the disabled and other similar
                     organizations.
              HACoLA periodically evaluates the distribution of assisted families to identify
              areas within the jurisdiction where owner outreach should be targeted. Special
              outreach efforts will be used in order to encourage participation of those groups
              who would not normally apply or participate.

     1.11     PRIVACY RIGHTS
              X24 CFR 55.2121

              Applicants and participants, including all adults in each household, are required
              to sign the HUD-9886 Form (Authorization for the Release of Information). This
              document incorporates the Federal Privacy Act Statement and describes the
              conditions under which HUD will release family information.
              A statement of HACoLA's policy on release of information to prospective
              landlords will be included in the briefing packet that is provided to the family.
              HACoLA's practices and procedures are designed to safeguard the privacy of
              applicants and program participants. All applicant and participant files are stored
              in a secure location that is only to be accessed by authorized staff.
              HACoLA staff will not discuss family information contained in files unless there is
              a business or legal reason to do so. Inappropriate discussion of family
              information or improper disclosure of family information by will result in
              disciplinary action.

      1.12     MONITORING PROGRAM PERFORMANCE
               X24 CFR 59851

              In order to ensure quality control, supervisory staff will review the following
              functions:
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               1. 10 percent of new applicants/contracts, and
              2. 100 percent of work completed by new staff for a minimum of 30 calendar
                  days.
            HACoLA's Quality Assurance Unit conducts audits of:
               1. 5 percent of annual re-examinations/interim re-examinations, and
               2. Minimum HQS quality control inspections as dictated by Section Eight
                  Management Assessment Program (SEMAP)Indicator #5.
            HACoLA's Program Integrity/Fraud Prevention Team will use credit checks, and
            other similar tools to confirm eligibility for:
               1. 20 percent of all new applicants, and
               2. A random sample of program participants. It is anticipated that
                  approximately 1,500 will be selected annually for a random review.

     1.13   TERMINOLOGY
            f24 CFR ~982.4(b)1

            The Housing Authority of the County of Los Angeles is referred to as "HACoLA,"
            "PHA," or "HA° throughout this document.
            "Family" is used interchangeably with "applicant° or "participant" and can refer to
            a single person family. "Tenant" refers to participants in terms of their relation to
             landlords.
            "Landlord" and "owner" are used interchangeably.
            "Disability° is used where "handicap" was formerly used.
            "Non-Citizen Rule" refers to the regulation effective on June 19, 1995 restricting
            assistance to U.S. citizens and eligible immigrants.
            °HQS" means the Housing Quality Standards required by regulations as
            enhanced by HACoLA.




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                                      CHAPTER 2:
           ADM ISSION ELIGIBI LITY FACTOR S AND APPLICANT REQUIREMENTS

     2.1    INTRODUCTION
            f24 CFR ~982.54(dll

            This chapter defines the criteria used by HACoLA to determine program
            eligibility, and the requirements that families and family members must meet in
            order to receive assistance under the program. This chapter also clarifies the
            circumstances that may lead to a denial of admission, and the process for
            notifying families if they are denied admission.
            Family members being added to households that are currently receiving
            assistance are considered new applicants and are subject to HACoLA's
            admission and eligibility requirements.
            The intent of these policies is to maintain consistency and objectivity in
            evaluating the eligibility of families who apply for the programs. The criteria listed
            in this chapter are the only factors used to review eligibility, to minimize the
            possibility of bias or discrimination. Selection shall be made without regard to
            race, color, creed, religion, sex, national origin, familial status, source of income,
            or disabilitylhandicap.

     2.2     ELIGIBILITY FACTORS AND REQUIREMENTS
             L4 CFR G982.201 AND 24 CFR X982.5521

             In accordance with HUD regulations, HACoLA has established the following
             eligibility criteria, which are detailed throughout this chapter. To be eligible for
             admission, an applicant family must:
                1. Meet the definition of a "family;"
                2. Be within the appropriate income limits;
                3. Be a citizen, or anon-citizen with eligible immigration status [24 CFR
                   §5.508]; and
                4. Furnish and verify valid Social Security numbers for all family members
                   age 6 and over[24 CFR §5.216].
             HACoLA will also deny admission as follows:
                1. If applicant fails to meet specified criteria regarding drug abuse and other
                   criminal activity;
               2. If applicant fails to submit required consent forms, or any other HACoLA-
                   required information to verify family eligibility, composition, or income
                  (including birth certificates and valid state identification);
                3. If applicant is in violation of other criteria listed in Section 2.7 of this
                   chapter; or
                4. If the applicant is a member, o~cer or employee of HACoLA who
                   formulates policy or influences decisions with respect to federally funded
                    rental assistance programs or a public official or a member of the local
                    governing body or member of Congress.
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           HAColA's procedures regarding notification and informal reviews for applicants
           who are denied assistance can be found at the end of this chapter.

     2.3   FAMILY COMPOSITION
           X24 CFR &982.201(c)1

           The applicant must qualify as a family. HACoLA defines a family as a single
           person or a group of persons as follows.
              1. An elderly family: A family whose head, spouse, or sole member is a
                  person who is at least 62 years of age. It may include two or more
                  persons who are at least 62 years of age living together, or one or more
                  persons who are at least 62 years of age living with one or more live-in
                  aides.
              2. A disabled family: A family whose head, spouse, or sole member is a
                  person with disabilities. It may include two or more persons with
                  disabilities living together, or one or more persons with disabilities living
                  with one or more live-in aides.
              3. The remaining member of a tenant family: Includes a pregnant person
                   whose pregnancy was terminated after admission to the program.
                   However, if the pregnancy is terminated before admission to the program,
                   the individual will no longer constitute a family. The remaining member of
                   a tenant family will be reassigned another bedroom size voucher,
                   provided there is funding available. The remaining member of a tenant
                  family does not include alive-in attendant of the former family whose
                   service was necessary to care for the well being of an elderly, disabled or
                   handicapped head of household, or spouse and whose income was not
                   included for eligibility purposes.
               4. A group of persons: Two or more persons sharing residency, who are
                    not categorized as an elderly or disabled family, whose income and
                    resources are available to meet family needs. There must be a relation
                    by blood, marriage or operation of law, or the group must provide
                   evidence of a significant relationship determined to be stable by HACoLA.
                    The following is to be considered as relation by blood: mother, father,
                    children, cousin, niece, nephew, aunt, uncle, grandfather and
                    grandmother. A group of two could also be a single person who is
                    pregnant or in the process of adopting or securing legal custody of any
                    individual under the age of 18.
               5. A single person: A person who lives alone, or intends to live alone, who
                    is not categorized as elderly, disabled, or the remaining member of a
                    tenant family.
            A child who is temporarily away from home due to placement in foster care is
            considered a member of the family.

      2.3.1 Stable Relationship
            When the applicant group is not related by blood, marriage, or operation of law,
            HACoLA will require that the applicant group provide evidence of a stable
            relationship.
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            HACoIA defines a stable relationship as:
               1. A relationship that has been in existence for a minimum of 6 months, and
                2. The parties provide financial support for each other.
            Acceptable documentation of a stable •relationship includes lease agreements
            indicating that the parties have lived together for at least 6 months, utility bills,
            other joint bills and/or bank accounts)(need to provide fora 6-month period),
            and, on a case-by-case basis, letters ftom a social service provider or religious
            organization confirming the relationship.

     2.3.2 Head of Household
           [24 CFR §5.504]
            The head of household is considered to be the adult designated by the family or
            HACoLA to sign program-related documents. However, since rental assistance
            is provided to the entire family, it is expected that every family member will
            uphold HACoLA's rules and regulations. Emancipated minors who qualify under
            State law will be recognized as head of household.

     2.3.3 Saouse of Head
           Spouse means the husband or wife of the head of household. The marriage
           partner who, in order to dissolve the relationship, would have to be divorced. This
           includes the partner in a common-law marriage.

     2.3.4 Live-In Attendants
           [24 CFR &982.316 and 24 CFR X5.4031
            A family may include alive-in attendant if the live-in attendant meets the following
            stipulations. The live-in attendant:
                1. Is determined by HACoLA to be essential to the care and well being of an
                    elderly person or a person with a disability;
                2. Is not obligated for the support of the person(s);
                3. Would not be living in the unit except to provide care for the person(s);
                   and
                4. Must submit a signed Criminal Background Consent Form.
             A live-in attendant is different from a family member in the following:
                 1. An attendants income will not be used to determine eligibility of family;
                2. An attendant is not subject to the Non-Citizen Rule requirements;
                3. An attendant is not considered a remaining member of the tenant family,
                     which means that they are not entitled to retain the voucher if the eligible
                     family members)voluntarily leave the program, are terminated from the
                     program, or have a voucher that expires.
             Relatives are not automatically excluded from being live-in attendants, but they
             must meet all the stipulations in the live-in attendant definition described above to
             qualify for the income exclusion as a live-in attendant. A relative who does not
             qualify for an income exclusion as a live-in attendant may qualify for other
             exclusions, including if a family receives income from a state agency to offset the

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             cost of services and equipment needed to keep a developmentally disabled
             family member at home. For a complete list of income exclusions, refer to
             Chapter 7.
             A live-in attendant may only reside in the unit with the approval of HACoLA.
             HACoLA will require written verification from a reliable, knowledgeable
              professional, such as a doctor, social worker, or caseworker. The verification
              provider must certify that alive-in attendant is needed for the care of the family
              member who is elderly, and/or disabled. The verification must include the hours
              of care that will be provided.
              The live-in attendant will be subject to a criminal background check and must
              meet the same standard as an applicant. Please see Section 2.6.1 (Applicant
              Screening Standards) of this chapter for more information.
              With authorization from the assisted family, the landlord and HACoLA, a live-in
              attendant may have a family member live in the assisted unit as long as it does
              not create overcrowding in the unit. HACoLA will not increase the family's
              subsidy to accommodate the family of a live-in attendant.

     2.3.5 Selit Households Before Voucher Issuance
           When a family breakup occurs while a family is on the waiting list due to divorce
           or legal separation, it is the responsibility of the two families to decide which will
           take the placement on the waiting list. If no decision or court determination is
           made, HACoLA will make the decision, taking into consideration the following:
                 1. Which family member applied as head of household;
                 2. Which family member retains the children or any disabled or elderly
                    members;
                 3. Any restrictions that were in place at the time the family applied;
                 4. Role of domestic violence or any other infraction; and
                 5. Recommendation of social service agencies or qualified professionals.

     2.3.6    Multiale Families in the Same Household
              When families consisting of finro families living together, (such as a mother and
              father, and a daughter with her own husband or children), apply together as a
              family, they will be treated as one-family unit.

      2.3.7 Joint Custody of Children
            Children who are subject to a joint custody agreement but live with one parent at
            least 51 percent of the time will be considered members of that household. If
            both parents on the waiting list are trying to claim the child, the parent whose
            address is listed in the school records will be allowed to claim the school-age
            child as a dependent.
            Where court orders exist and provide guidance on custody issues, HACoLA will
            follow the directives outline in the court documents.




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     2.4      INCOME LIMITATIONS
              X24 CFR &982.201(b11

              In order to be eligible for assistance, an applicant must be:
                  1. An extremely low-income family (i.e.; the family's gross income may not
                     exceed 30 percent of the Average Median Income[AMI]for Los Angeles
                      County, as established by HUD); or
                  2. Alow-income family whose gross income does not exceed more than 80
                      percent of the average median income for Los Angeles County.
              In order to meet the income targeting requirements established by QHWRA, 75
              percent of all new admissions will be required to meet the definition of an
              extremely low-income family. To achieve the required balance, it may be
              necessary to skip over othervvise eligible family. If this occurs, families that have
              been skipped over will retain the time and date of application and will be admitted
              as soon as an appropriate opening becomes available [24 CFR

              HACoLA will admit eligible low-income families, whose incomes do not exceed
              80 percent of the AMI, on a first-come, first-serve basis, according to their local
              preference ranking [24 CFR §982.207(e)(1) and 24 CFR §982.207(a)].
              Families whose annual incomes exceed the income limit will be denied
              admission and offered an informal review.

     2.4.1 Income Limits for Other Programs
           Periodically, HUD has provided funding to HACoLA for projects involving
           preservation opt-outs and/or the expiration of a project based Section 8 contract.
           HUD provides the income limits applicable to those projects through specific
           regulation. HACoLA will follow HUD directives in determining admissions for
           such programs.

     2.5      CITIZENSHIP/ELIGIBLE IMMIGRATION STATUS
              f24 CFR &982.201(a) and 6982.203(bu4)and &5.5081

              Eligibility for assistance is contingent upon a family's submission of evidence of
              citizenship or eligible immigration status. In order to receive assistance, a family
              member must be a U.S. citizen or eligible immigrant. Each family member,
              regardless of age, must submit a signed declaration of U.S. citizenship or eligible
              immigration status. HACoLA may request verification of the declaration by
              requiring presentation of alien resident card, birth cert~cate, social security card,
              naturalization document, or other appropriate documentation.
              The citizenship/eligible immigration status of each member of the family is
              considered individually before the family's status is defined.

      2.5.1    Mixed Families
               X24 CFR &5.5041
               An applicant family is eligible for assistance as long as at least one member is a
               citizen or eligible immigrant. A family that includes eligible and ineligible
               individuals is called a "mixed family." Mixed family applicants will be given notice


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               that their assistance will be prorated and that they may request a hearing if they
               contest this determination.

        2.5.2 No Eligible Members
              t24 CFR ~982.552(b►(411
               HACoLA is required to deny admission if no member of the family is a U.S.
               citizen or eligible immigrant. Families will be provided the opportunity to appeal
               the decision in an informal review.

        2.6    SOCIAL SECURITY NUMBER REGIUIREMENTS
               X24 CFR &5.216(a)1

               Applicant families are required to provide verification of Social Security numbers
               for all family members prior to admission, if they have been issued a number by
               the Social Security Administration. This requirement also applies to persons
               joining the family after the admission to the program. Children age 5 and under,
               who have not been assigned a number, are exempt from this requirement.
               Failure to furnish verification of Social Security' numbers is grounds for denial of
               admission.

         2.7   SCREENING FOR DRUG ABUSE AND OTHER CRIMINAL ACTIVITY
               X24 CFR X982.552 —X982.5531

               This section describes the guidelines HACoLA has established for screening
               applicants for drug abuse and other criminal activity. The section includes HUD-
               required screening standards, as well as HACoLA discretionary standards
               allowed by HUD. HACoLA will deny program admission if there is reasonable
               cause to believe that an applicant family has engaged in activity prohibited by
               these guidelines.
               These guidelines apply to applicant families, and any new members being added
               to the household of a family currently participating in a HACoLA-administered
               rental assistance program. HACoLA also screens families transferring into
               HACoLA's jurisdiction from other housing authorities, as authorized at 24 CFR
               §982.355(c)(9) and §982.355(c)(10).

         2.7.1 Drua Abuse and Criminal History Screening Standards
               (24 CFR f 982.552(1) and 5982.553(a11
               HACoLA will prohibit program admission to households if any household member
               is found to have engaged in activities listed in this screening standards section.
               Applicants convicted of an act listed in this section are ineligible to receive
               assistance. However, HACoLA will consider the household eligible for rental
               assistance if the household member who committed the criminal act will not be a
               part of the assisted household; as long as all other admission requirements are
               met The family may be required to submit written certification that the ineligible
                family members) will not reside in and/or visit the household.
                    1. Applicants) previously evicted from federally assisted housing for
                       drug-related criminal activity.



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                  HACoLA is required to deny admission to the applicant or any household
                  member evicted from public housing, Indian housing, Section 23, or any
                  federally assisted housing program because of adrug-related criminal
                  activity fora 3-year period beginning on the date of such eviction.
                  However, HACoLA may waive the 3-year probation period if the person
                  who committed the drug-related crime has successfully completed an
                  approved supervised drug rehabilitation program after the date of the
                  eviction or if the circumstances leading to the eviction no longer exist (i.e.
                  the individual responsible for the original eviction is imprisoned or is
                   deceased).
               2. Applicants) convicted for the manufacture of methamphetamine on
                  the premises of federally assisted housing.
                   HACoLA is required to deny admission if the applicant or any household
                   member has ever been convicted of drug-related criminal activity for
                   manufacture or production of methamphetamine on the premises of
                   federally assisted housing.
                3. Applicants)currently engaging in the illegal use of a drug.
                   HACoLA is required to deny admission to an applicant or any household
                    member who HACoLA determines is currently engaging in illegal use of a
                   drug.
                    HACoLA is required to deny admission if HACoLA has reasonable cause
                   to believe that there is a pattern of illegal use of a drug by the applicant or
                    any household member and that this pattern may threaten the health,
                   safety, or right to peaceful enjoyment of the premises by others,
                    regardless of whether the household member has been arrested or
                    convicted.
                    HACoLA may approve admission if the person provides sufficient
                    evidence that they are no longer engaging in illegal drug use and have
                    successfully completed a supervised drug rehabilitation program.
                4. Applicants)subject to a lifetime sex offender registration
                   requirement
                   HACoLA is required to deny admission if the applicant or any household
                   member is subject to lifetime registration as a sex offender under a state
                   registration program, regardless of longevity of conviction or completion
                   of any rehabilitative program.
                5. Applicants) with a pattern of alcohol abuse.
                    HACoLA is required to deny admission if HACoLA has reasonable cause
                    to believe that there is a pattern of abuse of alcohol by the applicant or
                    any household member and this pattern may threaten the health, safety,
                    or peaceful enjoyment of the premises.
                    HACoLA may approve admission if the person provides sufficient
                    evidence that they are no longer engaging in the abuse of alcohol and
                    has successfully completed a supervised alcohol rehabilitation program.
                6. Applicants)currently engaging in, or who have engaged in criminal
                   activities.


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                    HACoL4 shall deny admission if the applicant or any household member
                    has been convicted for ~a of the following activities, for a period of 3
                    years following the end of a conviction or incarceration (which ever is
                    later), with no further arrest or convictions other than minor traffic
                    violations:
                         Drug-related criminal activity;
                    • Violent criminal activity (convicted perpetrators only);
                    • Other criminal activity which may threaten the health, safety, or right
                      to peaceful enjoyment of the premises by other residents or persons
                      residing in the immediate vicinity; and
                    • Other criminal activity which may threaten the health or safety of the
                      owner or HACoLA staff, contractor or subcontractors or vendors.
                        HACoIJ~ may waive the 3-year period for drug-related criminal activity
                        if the person provides sufficient evidence that they are no longer
                       engaging in the illegal use of a controlled substance and have
                       successfully completed a supervised drug rehabilitation program.
                 7. Applicants)engaging in fraud or bribery associated with any federal
                    housing program.
                    HACoLA shall deny admission if the applicant or any household member
                    has committed fraud, bribery, or any other corrupt or criminal act in
                    connection with any Federal housing program. HACoLA may make an
                    exception in determining admission if the family members) who
                    participated or were culpable for the action do not reside in the assisted
                    unit.
                 8. Applicants) have not completed parole or probation.
                    HACoLA shall deny admission if the applicant or any household member
                    has not completed parole or probation, including summary probation.

       2.7.2 Criminal Backctround Checks
             X24 CFR 6982.552 —X982.553,65.903 —X5.9051
             HACoLA requests a criminal background check for all applicant household
             members (including live-in aides) 18 years of age and older. The criminal
             background check is used as a factor in screening applicants for criminal
             activities that would prohibit admission to HACoLA's Section 8 rental assistance
             programs.
             All adult members of the applicant household must submit a signed Criminal
             Background Consent Form [24 CFR §5.903(b)], authorizing the release of
             criminal conviction records from law enforcement agencies. Failure to sign the
             consent form will result in the denial of assistance.
             A criminal conviction alone may or may not result in the denial of assistance.
              Factors such as disclosure, completion of a drug or alcohol rehabilitative
             treatment program, type and longevity of the conviction may also be taken into
              consideration.
              HACoLA is additionally authorized by HUD to obtain access to sex offender
              registration information, in order to prevent program admission to any household


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             member (including live-in aides and minors) subject to a lifetime sex offender
             registration under a State sex offender registration program.

      2.7.3 ReQuests for Criminal Records by Owners of Covered Housing for the
            Puraoses of Screening
            f24 CFR &5.903(d1l
            Owners of covered housing may request that HACoLA obtain criminal records,
            on their behalf, for the purpose of screening applicants. HACoLA will charge a
            fee in order to cover costs associated with the review of criminal records. These
            costs could include fees charged HACoLA by the law enforcement agency and
            HACoLA's own related staff and administrative cost.
             Owners must submit the following items in order for HACoLA to process criminal
             records. Owner requests must include:
                  1. A copy of a signed consent form from each adult household members,
                     age 18 years and older. Included in the consent form must be a legible
                     name, the date of birth, a California Identification Number, and a Social
                     Security number. This information will be used for the sole purpose of
                     distinguishing persons with similar names or birth dates.
                  2. An owner's criteria or standards for prohibiting admission of drug
                     criminals in accordance with HUD regulations(§ 5.854 of 24 CFR Parts 5
                     et al.), and for prohibiting admission of other criminals (§ 5.855 of 24 CFR
                     Parts 5 et al.).
             Once HACoLA obtains criminal records, a determination will be made as to
              whether a criminal act, as shown by a criminal record, can be used as a basis for
              applicant screening. HACoLA will base its determination in accordance with
              HUD regulations and the owner criteria. If the owner's criteria conflicts with HUD
              regulations, the regulations will have precedence.
              It is important to note that HACoLA will not disclose the applicant's criminal
              conviction record or the content of that record to the owner.

       2.7.4 Request for Criminal Records by Section 8 Project-Based Owners for the
             Puraoses of Lease Enforcement or Eviction
             Section 8 project-based owners may request that the PHA in the location of the
             project obtain criminal conviction records of a household member on behalf of
             the owner for the purpose of lease enforcement or eviction. Owner's request
             must the following:
                 1. A copy of the consent form, signed by the household member.
                  2. Owners standards for lease enforcement and evicting due to criminal
                     activity by members of a household.

       2.7.5 Confidentiality of Criminal Records
             X24 CFR ~5.903(gll
             Criminal records received by HACoLA are maintained confidentially, not
             misused, nor improperly disseminated and kept locked during non-business
             hours. All criminal records will be destroyed no later than 30 calendar days after
             a final determination is made.


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      2.7.6 Disclosure of Criminal Records to Family
            The applicant or family member requesting to be added to the household will be
            provided with a copy of the criminal record upon request and an opportunity to
            dispute the record. Applicants will be provided an opportunity to dispute the
            record at an informal review. Participants may contest such records at an
            informal hearing [24 CFR §982.553(d)).

      2.7.7 Exalanations and Terms
            X24 CFR G5.1001
             The following terms are used to determine eligibility when an applicant or a family
             member is added to an already assisted household and is undergoing a criminal
             background check.
             ❑ "Covered housing" includes public housing, project-based assistance under
               Section 8(including new construction and substantial rehabilitation projects),
               and tenant-based assistance under Section 8.
             ❑ "Drug" means a controlled substance as defined in Section 102 of the
               Controlled Substance Act(21 U.S.C. 802).
             ❑ "Drug-related criminal activity" means the illegal manufacture, sale,
               distribution, or use of a drug, or the possession of a drug with the intent to
               manufacture, sell, distribute or use the drug.
             ❑ "Pattern" is defined as the use of a controlled substance or alcohol if there is
               more than one incident during the previous 12 months. "Incident" includes
               but is not limited to arrests, convictions, no contest pleas, fines, and city
               ordinance violations.
             ❑ "Premises° is the building or complex or development in which the public or
               assisted housing dwelling unit is located, including common areas and
               grounds.
             ❑ "Su~cient evidence may include all or a number of personal certification
                along with supporting documentation from the following sources 1) probation
                officer; 2) landlord; 3) neighbors; 4)social service workers; 5) review of
                verified criminal records.
             ❑ °Violent criminal activity" means any criminal activity that has as one of its
                elements the use, attempted use, or threatened use of physical force
               substantial enough to cause, or be reasonably likely to cause, serious bodily
                injury or property damage. Violent criminal activity also includes activity
                within the family, such as during domestic disputes.

       2.8    OTHER CRITERIA FOR ADMISSION
             [24 CFR &982.552(c)1

              HACoLA is authorized to apply the following criteria, in addition to the HUD
              eligibility criteria, as grounds for denial of admission to the program.
                  1. The family, or any household member, must not have violated any family
                       obligations during a previous participation in a federally assisted housing
                        program. HACoLA will review situations, on a case-by-case basis, for
                        violations that are more than 5 years old.


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                2. The family, or any household member, must not have engaged in serious
                   lease violations while a resident of federally assisted housing or within the
                   past five years been evicted from a federally assisted housing program.
                3. The family, or any household member, must not be a past participant of
                   any Section 8 or public housing program who has failed to satisfy liability
                   for rent, damages or other amounts to HACoLA or another housing
                   agency, including amounts paid under a HAP contract to an owner for
                   rent, damages, or other amounts owed by the family under the lease.
                       On a case-by-case basis, HACoLA may provide the applicant the
                       opportunity to repay any such debt in full as a condition of admissions.
                       HACoLA will not enter into a repayment agreement for this purpose.
                4. No family household member may have engaged in or threaten abusive
                   or violent behavior toward HACoL4 personnel.
                   • "Abusive or violent behavior' includes verbal as well as physical
                       abuse or violence. Use of expletives that are generally considered
                       insulting, racial epithets, or other language, written or oral, that is
                       customarily used to insult or intimidate, may be cause for denial of
                       admission.
                   • "Threatening" refers to oral or written threats or physical gestures that
                       communicate.intent to abuse or commit violence.
                         Actual physical abuse or violence will always be cause for denial.
                 5. The family, or any household member, must not supply false, inaccurate
                    or incomplete information on any application for federal housing
                     programs, including public housing and Section 8. The family may be
                    denied for a period not to exceed two years from the date of such a
                     determination by HACoLA that information which was provided was false,
                     inaccurate or incomplete, provided that no further cause for denial exists
                    [24 CFR §982.552(c)(2)(i)l•

       2.9    SUITABILITY OF FAMILY
              X24 CFR §982.307(a1(21]

              HACoiJ~ may take into consideration any admission criteria listed in this chapter
              in order to screen applicants for program eligibility; however, it is the owner's
              responsibility to screen applicants for family behavior and suitability for tenancy.
              HACoLA will assist and advise applicants on how to file a compliant if they have
              been discriminated against by an owner.

       2.10   DENYING ADMISSION TO INELIGIBLE FAMILIES
              I24 CFR &982.201(fl(11 and 6982.552(a)(2)1

              Denial of assistance for an applicant family may include denying placement on
              the waiting list; denying or withdrawing a voucher; refusing to enter into a HAP
              contract or approve a lease; and refusing to process or provide assistance under
              portability procedures.




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           Families from the HACoLA waiting list who are determined to be ineligible will be
           notified in writing of the reason for denial and given an opportunity to request an
           informal review if they do not agree with the decision. This policy also applies to
           incoming families from other housing authorities that have not yet received
           assistance in HACoLA's jurisdiction. Please refer to Chapter 16 for more
           information on the informal review process.




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                                         CHAPTER 3:
                                    APPLICATIONS PROCESS

      3.1     INTRODUCTION
              X24 CFR &982.54(d1(1)1

              This chapter describes the policies and procedures that govern the initial
              application, placement and denial of placement on HACoLA's waiting list, as well
              as limitations on whom may apply. The policies outlined in this chapter are
              intended to ensure that all families who express an interest in housing assistance
              are given an equal opportunity to apply. The primary purpose of the intake
              function is to gather information about the family so that an accurate, fair, and
              timely decision relative to the family's eligibility may be made. As such,
              applicants are placed on the waiting list in accordance with this plan.

      3.2     HOW TO APPLY

              Interested persons may apply online at www.hacola.orq, or by calling HACoLA's
              special application telephone number. Families who wish to apply for any of
              HACoLA's programs must complete a written application form. Applications will
              be made available in an accessible format to persons with disabilities upon their
              request.
              The application process is composed of two phases.

      3.2.1   Preliminary Re4istration Waiting List
              X24 CFR ~982.204(b11
              All families wishing to receive rental assistance through a HACoLA rental
              assistance program are initially placed on the Preliminary Registration Waiting
              List. This is essentially an interest list. Families are placed on Preliminary
              Registration Waiting List according to the date and time of their call. Preliminary
              information regarding the family's address, income, family composition, and
              disability status is collected. However, this information is not verified until the
              family is placed on the active waiting list. Applicants receive a postcard to
              confirm that their name has been placed on the Preliminary Registration Waiting
              List.

      3.2.2 Waiting List
              When HACoLA determines that there is su~cient funding to issue additional
              vouchers, a pool of potential new applicants is drawn from the Preliminary
              Registration Waiting List. Families move onto the active waiting list according to
              the date and time of their initial call. Once a family has been placed on the active
              waiting list, they will be asked to complete a program application and provide all
              the necessary income forms. At this point, all information will be confirmed
              through a third party. Families must meet all admissions requirements to be
              issued a voucher.




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      3.3     APPLYING FOR SPECIAL PROGRAMS AND NON-HOUSING CHOICE
              VOUCHER PROGRAMS

              To see a list of special programs, other non-Housing Choice Voucher Programs
              and the eligibility process, please refer to Chapter 4, Section 4.4.2 (Targeted
              Funding). Detailed information on special programs can also be found in
              Chapter 20(Special Programs).

      3.4     OPENING AND CLOSING OF WAITING LIST
              X24 CFR 5982.2061

              HACoLA has maintained a continuously open waiting list for over 10 years. For
              the foreseeable future, HACoLA plans to continue this process indefinitely.
              However, should it become necessary to close and then reopen the waiting list,
              HACoLA will comply with the policies outlined in this chapter.

      3.4.1   Oaenina the Waitin4 List
              X24 CFR 6982.206(al(211
              When HACoLA opens the waiting list, it will advertise through public notice in the
              following newspapers, minority publications, and media entities.
                  ➢ Los Angeles Times
                     La Opinion
                  ➢ The Daily News
                  ➢ International Daily News
                     L.A. Sentinel
                  ➢ Long Beach Press Telegram
                  ➢ Eastern Group Publications
                  ➢ The Wave
                  ➢ The Daily Breeze
               HACoLA's public notification will contain:
                  ➢ The dates, times, and locations where families may apply.
                  ➢ The programs for which applications will be taken.
                  ➢ A brief description of the program(s).
                  ➢ A statement that public housing residents must submit a separate
                    application if they want to apply to a rental assistance program.
                  ➢ Any limitations on who may apply [24 CFR §982.206(a)(3)].
                      The Fair Housing Logo.
               The notices will be made in an accessible format to persons with disabilities if
               requested. The notices will provide potential applicants with information that
               includes HACoLA's telephone number and address, how to submit an
               application, information on eligibility requirements, and the availability of local
               preferences, if applicable.


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             Additional time for submission of an application after the stated deadline will be
             given as a reasonable accommodation at the request of a person with a
             disability.

      3.5    LIMITS ON WHO MAY APPLY
             f24 CFR 6982.307(b1(11]

             Upon opening the waiting list, HACoLA will disclose the criteria defining what
             families may apply for assistance under a public notice.
             If there are sufFcient applications from elderly families, disabled families, and
             displaced singles, applications will not be accepted from other singles.

      3.6    CLOSING THE WAITING LIST
             X24 CFR ~982.206(c)1

             Should it become necessary to close the waiting list, HACoLA will use the same
             advertising methods described above.
             Notification of impending closure will be provided to the public for a minimum of
             30 calendar days.

      3.7    TIME OF SELECTION
            [24 CFR 6982.204(d11

             When funding is available, families will be selected from the waiting list in their
             preference-determined sequence, regardless of family size.
             If there is ever insufFcient funding to subsidize the unit size of the family at the
             top of the waiting list, HACoLA will not admit any other applicant until funding is
             available for the first applicant.
             Families may be skipped over to meet the income targeting requirements
             mandated in QHWRA.

      3.8     APPLICATION PROCEDURES
              X24 CFR ~982.204(c)1

              Once the applicant is transferred from the Preliminary Registration Waiting List to
              the Active Waiting List, an application will be mailed to the applicant. The
              application is due back within 10 calendar days from the date it was mailed. If
              the application is returned undeliverable, the applicant will be cancelled from the
              waiting list.
              Periodically, registrants will call to check their status on the waiting list and team
              that they have been cancelled because mail was returned undeliverable. In
              extenuating circumstances, such as a long-term illness, or other family
              emergency, the registrant may be reinstated. However, the registrant must be
              able to provide documentation of the circumstances. Such requests will be
              reviewed and approved (or denied) on a case-by-case basis by the Applications
              and Eligibility Unit Supervisor.




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               Once an application is returned, the information provided by the applicant will be
               used to determine if the applicant is eligible for a tenant selection preference, and
               used to help HACoLA determine which income forms the applicant must
               complete.
               If an applicant is ineligible based on the information provided on the application,
               or because they fail to return the documents by the due date, the applicant will be
               provided written notice of the reason for their disqualification and their right to
               request an informal appeal hearing.
               The application may capture the following information:
                  ➢ Name of adult members and age of all members;
                   ➢ Sex and relationship of all members;
                   ➢ Street address and phone number;
                   ➢ Mailing address;
                   ➢ Amount(s) and sources) of income received by household members;
                   ➢ Information regarding disabilities relating to program requirements;
                   ➢ Information related to qualification for preference(s);
                   ➢ Social Security numbers;
                   ➢ Race/ethnicity;
                   ➢ Citizenship/eligible immigration status;
                     Convictions for drug-related or violent criminal activity;
                   ➢ Request for specific accommodations) needed to fully utilize program
                     and services;
                    ➢ Previous address;
                    ➢ Current and previous landlords' names and addresses;
                    ➢ Emergency contact person and address; and
                    ➢ Program integrity questions regarding previous participation in HUD
                        programs.
                Applicants are required to inform HACoLA in writing within 30 calendar days of
                effective date of any changes in family composition, income, and address, as
                well as any changes in their preference status. Applicants must also comply with
                requests from HACoLA to update information. For information on preferences,
                see Chapter 4(Establishing Preferences and Maintaining the Waiting List).

       3.9      INTERVFEW SESSIONS/MAILINGS

                HACoLA will use both mailing and interview sessions to obtain income, asset and
                family composition information from applicants.

       3.9.1    Request for Information via Mail
                During times of high activity, HACoLA will mail income and asset forms to
                applicants. Applicants will be given 10 calendar days to complete and return all


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             required forms. If forms are not returned in a timely manner, the applicant will
             receive a final notice. The final notice will provide an additional five-day grace
             period. If the required forms are not returned, as specified, the application will be
             cancelled. HACoLA will provide additional time, with appropriate documentation,
             as a reasonable accommodation and in special circumstances such as an illness
             and/or death in the family.

      3.9.2 Apalication Interview Process
            During times for regular activity (average volume), HACoLA utilizes a full
            application interview to discuss the family's circumstances in greater detail, to
            clarify information that has been provided by the applicant, and to ensure that the
            information is complete.
            Applicants are given two opportunities to attend an interview session. If the
            applicant does not respond to the second invitation, the application is cancelled.
            HACoLA will allow for a third interview appointment as a reasonable
            accommodation and in special circumstances such as illness. An applicant may
            also request that the Applications and Eligibility Unit assign someone to conduct
            the interview at the applicant's home, as a reasonable accommodation.
              All   applicants   must   complete    the following     requirements [24       CFR


                  1. At minimum, the head of household must attend the interview. HACoLA
                      requests that all adult members of the applicant family attend when
                      possible. This assures that all members receive information regarding
                      their obligations and allows HACoLA to obtain signatures on critical
                      documents quicker.
                  2. All adult members of the applicant family must sign the HUD-9886 Form
                     (Authorization for the Release of Information), and all supplemental forms
                      required by HACoLA.
                  3. Citizen declaration forms must be completed for all applicant family
                       members, regardless of age.
                  4. All adult members of the applicant family must complete and sign a
                       Criminal Background Consent Form.
                  5. Identification information for all members of the applicant family such as
                       birth certificates, driver's licenses or California ID cards, whichever is
                       applicable based on the age of the family member, must be submitted for
                       all members of the household regardless of age.
              Information provided by the applicant will be verified, including citizenship status,
              full time student status and other factors related to preferences, eligibility and
              rent calculation. Verifications must not be older than 60 calendar days old at the
              time of issuance.
              If they are requested, exceptions for any of the above listed items will be
              reviewed on a case-by-case basis. Exceptions will be granted based upon
              hardship.       Reasonable accommodations will be made for persons with
              disabilities. In these cases, a designee will be allowed to provide some
               information, but only with permission of the person with a disability.



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             Under both processes, all local preferences claimed on the application while the
             family is on the waiting list will be verified. Preference is based on current status,
             so the qualifications for' preference must exist at the time the preference is
             verified, regardless of the length of time an applicant has been on the waiting list.
             For information on preferences, see Chapter 4 (Establishing Preferences and
              Maintaining the Waiting List).

      3.9.3 Secondary Reviews/Credit Resorts
            f24 CFR 6982.551(b)(1)1
            Before issuing vouchers to applicant families, HACoLA will request a credit report
            for 20 percent of all new applicant families. Of the randomly selected families, all
            adults (persons 18 years of age and older) who will reside in the assisted
            household will have their credit report reviewed by HACoLA staff. Applicants
            claiming that they have zero income will automatically undergo a credit review
            and will be included as part of the 20 percent of households undergoing credit
            reviews.
            The information contained in the credit report will be used to confirm the
             information provided by the family. Specifically, the credit report will be used to
            confirm:
             ❑ Emalovment: A credit report will list any employers that the applicant has
                 listed in any recent credit applications. If the credit report reveals
                 employment, for any adult household member, within the last 12 months that
                 was not disclosed, the family will be asked to provide additional documents to
                 clear up the discrepancy. Failure to disclose current employment may result
                 in cancellation of the family's application.
              ❑ Aliases: A credit report can provide information on other names that have
                been used for the purposes of obtaining credit. Common reasons for use of
                other names include a recent marriage or a divorce. If an alias has not been
                disclosed to HACoLA, the family will be asked to provide additional evidence
                of the legal identity of adult family members.
              O Current and previous addresses: A credit report can provide a history of
                where the family has lived. This is particularly important because HACoLA
                provides a residency preference. If the family has provided one address to
                HACoLA and the credit report indicates a different address, the family will be
                asked to provide additional proof of residency. This may include a history of
                utility bills, bank statements, school enrollment records for children, credit
                card statements or other relevant documents. Failure to provide adequate
                proof will result in the denial of a residency preference.
              ❑ Credit card and loan gavments: A credit report will usually include a list of
                the family's financial obligations. Examples of the items that may show up
                 include car loans, mortgage loans, student loans and credit card payments.
                 HACoLA will review this information to confirm the income and asset
                 information provided by the family. If the family's current financial obligations
                (total amount of current monthly payments) exceed the amount of income
                 reported by the family, HACoLA will ask the family to disclose how they are
                 currently meeting their financial obligations. Accounts that have been
                 charged off or significantly delinquent are not included in this calculation.



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                  Failure to provide adequate proof of income will result in termination of the
                  application.
              ❑ Multiple Social Security numbers: A credit report may list multiple Social
                  Security numbers if an adult family member has used different Social Security
                  numbers to obtain credit. If the credit report information does not match the
                   information provided by an adult member of the family, the family member will
                   be required to obtain written confirmation of the Social Security number that
                   was issued to him/her from the Social Security Administration.
              A family will not be issued a voucher until all discrepancies between the
              information provided by the applicant family, and the information contained in the
              credit report have been cleared by the applicant family.
              When discrepancies are found, the family will be contacted by telephone or by
              mail. Inmost cases, the family will be allowed a maximum of 10 calendar days to
              provide the additional documentation. On a case-by-case basis, as a reasonable
              accommodation, the family may be granted additional time. If additional time is
              granted, the family will receive a letter confirming the new deadline. No
              additional extension will be granted thereafter.
               When the credit report reveals multiple discrepancies that are not easily
               communicated over the telephone, HACoLA will set up a face-to-face interview
               with the applicant. HACoLA will schedule up to two interview appointments. An
               additional interview may be scheduled as a reasonable accommodation. Failure
               to appear at the interview session will result in cancellation of the application.
              Additionally, failure to provide the necessary information will result in cancellation
              of the application.

      3.10    DENIAL OF ASSISTANCE
              L24 CFR ~982.204(cl(1) and ~982.204(fl(1) X982.5521

              tf an application is denied due to failure to attend an interview (initial or
              secondary), or for failure to provide eligibility related information, the applicant
              family will be notified in writing and offered an opportunity to request an informal
              review. It is the applicant's responsibility to reschedule the interview if they miss
              the appointment. If the applicant does not reschedule or misses finro scheduled
               meetings, HACoLA will reject the application and remove the applicant's name
              from the waiting list.
               HACoLA may at any time deny program assistance to an applicant family
               because of actions or failure to act by members of the family such as any
               member of the family to sign and submit consent forms for obtaining information.

       3.11    FINAL DETERMINATION AND NOTIFICATION OF ELIGIBILITY
               X24 CFR &982.3011

               If the applicant family is determined to be eligible after all applicable paperwork
               has been reviewed, they will be invited to attend a briefing session at which time
               they will receive information regarding their rights and responsibilities and they
               will be issued a voucher.



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                                  CHAPTER 4:
            ESTABLISHING PREFERENCES AND MAINTAINING THE WAITING LIST

      4.1    INTRODUCTION

             It is HACoLA's objective to ensure that the families are placed on the waiting list
             in the proper order so that an offer of assistance is not delayed to any family, or
             made to any family prematurely.
             By maintaining an accurate waiting list, HACoLA will be able to perform the
             activities which ensure that an adequate pool of qualified applicants will be
             available so that program funds are used in a timely manner.

      4.2    APPLICATION POOL

             The waiting list will be maintained in accordance with the following guidelines:
                 1. The application will be a permanent file;
                2. Applications equal in preference will be maintained by date and time; and
                3. All applicants must meet income requirements outlined in Chapter 2
                  (Admission Eligibility Factors).

      4.3    LOCAL PREFERENCES
             X24 CFR X982.207]

             HACoLA will apply a system of local preferences in determining admissions for
             the program. All preferences will be subject to the availability of funds and all
             applicants will be required to meet all eligibility requirements. Local preferences
             are weighted highest to lowest, in the following order:
                 1. Set-Aside. Targeted, and Special Prourams :Families who qualify for
                    Set-Aside, Targeted, or Special Programs administered by HACoLA will
                    be admitted before all other eligible registrants or applicants on the
                    waiting list. Referral may be made by County agencies with a contract or
                    Memorandum of Understanding in place, or by contracted CBO's up to
                    and not to exceed the number of vouchers specified in the contract.
                 2. Jurisdictional Preference: Families who live and/or work in HACoLA's
                    jurisdiction will be admitted before families outside of HACoLA's
                    jurisdiction.
                 3. These preferences are subject to the approval of the Executive Director:
                       Victims of Declared Disasters: An admissions preference may be
                       given to bona fide victims of declared disasters, whether due to
                       natural calamity (e.g. earthquake), civil disturbance, or other causes
                       recognized by the federal government. Victims must provide
                       documentation to receive an admissions preference. Admissions
                       preference may only be given within the allotted timeframe
                       established by the federal government. If HUD provides specific
                       funding, the Housing Authority will not exceed the allocated amount.



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                    • Disalacement Due to Government Actions: Families or individuals
                      who are certified as displaced due to the action of a federal
                      government agency or local government agencies may be given an
                      admissions preference.
                    • Referrals from law enforcement agencies: HACoLA may distribute
                      application forms and may issue a voucher to families or single
                      persons that are referred by law enforcement agencies. The following
                      are examples of the types of referrals that will be considered but will
                      not be limited to:
                            • Victims of domestic violence,
                            • Involuntarily displaced to avoid reprisals or
                            • Displaced due to being a victim of a hate crime.
                         Law enforcement referrals must be made in writing, on law
                         enforcement agency letterhead, and signed by the requesting officer
                         and his or her immediate supervisor. Eligibility, including background
                         checks will be confirmed for all members.
                  4. Date and Time of Re4istration: When the family placed their name on
                     the Section 8 Preliminary Waiting List.
                  5. Other preferences: The following preferences will be weighted equally:
                    • Veterans: State law requires HACoLA to give preference to veterans.
                    • Elderly and permanently disabled singles or families that have elderly
                         or permanently disabled members.
              Treatment of Single Aaplicants: All families with children, elderly families, and
              disabled families will have an admission preference over "Other Singles."

      4.3.1    Verification of Preferences
              [24 CFR §982.207(b11
               Residency Preference: For families who are residing in, or have at least one
               adult member who works or has been hired to work, or is a full-time participant in
               an educational or training program in the jurisdiction of HACoLA, and who are not
               currently nor have been living in subsidized or low income housing during the
               previous 6 months.
                   ➢ In order to verify that an applicant is a resident, HACoLA will require a
                       minimum of 3 months residency as shown by the following documents:
                       current rent receipts, leases, utility bills, employer or agency records,
                       school records, drivers licenses or credit reports.
                   ➢ In cases where the family's head of household or spouse works or has
                       been offered a job in the jurisdiction of HACoLA, a statement from the
                       employer will be required.
                   ➢ For families whose adult household member is a full-time participant in an
                       educational or training program in the jurisdiction of HACoLA, a statement
                       from the program officials will be required.




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                     For families previously living in subsidized or low-income housing, a
                     statement from the agency's official verifying the date of termination of
                     participatioNresidence will be required.
              Veteran's Preference: Acceptable documentation regarding veteran's status will
              include a DD-214 (discharge documents), proof of receipt of veteran's benefits,
              or documentation from the Veteran's Administration.

      4.4      SPECIAL ADMISSIONS
              [24 CFR X982.2031

              Applicants admitted under special admissions, rather than from the waiting list,
              are identified by codes in the automated system and are not maintained on
              separate lists.
              Applicants who are admitted under targeted funding which are not identified as a
              Special Admission are identified by codes in the automated system and are not
              maintained on separate waiting lists.

      4.4.1   Exceations for Special Admissions
              If HUD awards HACoLA program funding that is targeted for specifically named
              families, HACoLA will admit these families under a special admission procedure.
              Special admissions families will be admitted outside of the regular waiting list
              process. They do not have to qualify for any preferences, nor are they required to
              be on the program waiting list. They are not counted in the limit on non-Federal
               preference admissions. HACoLA maintains separate records of these
              admissions. The following are examples of types of program funding that may be
              designated by HUD for families living in a specified unit:
                  1. A family displaced because of demolition or disposition of a public or
                     Indian housing project;
                  2. A family residing in a multifamily rental housing project when HUD sells
                     forecloses or demolishes the project;
                  3. For housing covered by the Low Income Housing Preservation and
                     Resident Homeownership Act of 1990;
                  4. A family residing in a project covered by a project-based Section 8 HAP
                     contract at or near the end of the contract term; and
                  5. Anon-purchasing family residing in a HOPE 1 or HOPE 2 project.

      4.4.2 Criminal Background Checks
            Program applicants for all voluntary set-aside programs will require criminal
            background checks. Applicants for the Shelter Plus Care program will not be
            required to undergo criminal background checks. For more specific information
            on the applicant screening standards used by HACoLA when reviewing criminal
            records, please refer to Chapter 2, Section 2.6 (Criminal Background Checks).




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      4.5     CHANGE IN CIRCUMSTANCES
             (24 CFR ~982.204(b)1

             Changes in an applicant's circumstances while on the waiting list may affect the
             family's entitlement to a preference. Applicants are required to notify HACoLA in
             writing, within 30 calendar days, when their circumstances change, including any
             change of address, income or family composition.

      4.6     CROSS-LISTING OF PUBLIC HOUSING AND SECTION 8
             (24 CFR X982.2051

              HACoLA will not merge the waiting lists for public housing and Section 8.
              However, if the Section 8 waiting list is open when the applicant is placed on the
              public housing list, HACoLA must offer to place the family on both lists. If the
              public housing waiting list is open at the time an applicant applies for rental
              assistance, HACoLA must offer to place the family on the public housing waiting
              list.

      4.7     FINAL VERIFICATION OF PREFERENCES
             [24 CFR &982.207(e)]

              Preference information on applications will be updated as applicants are selected
              from the waiting list. At that time, HACoLA will obtain necessary verifications of
              preference at the interview and by third party verification.

      4.8     PREFERENCE DENIAL

              If HACoLA denies a preference, HACoLA will notify the applicant in writing of the
              reasons why the preference was denied and offer the applicant an opportunity for
              a review. If the preference denial is upheld as a result of the review, the applicant
              will be placed on the waiting list without benefit of the preference. Applicants
              may exercise other rights if they believe they have been discriminated against.
              If the applicant falsifies documents or makes false statements in order to qualify
              for any preference, or for any other reason, they will be removed from the waiting
              list.

       4.9    REMOVAL FROM WAITING LIST AND PURGING
             [24 CFR ~982.204(c)(1) and &982.201(fl(111

              If an applicant fails to respond to a mailing from HACoLA within the time frame
              indicated, they will be removed from the waiting list. An extension may be
              considered an accommodation if requested in advance by a person with a
              disability. If a letter is returned by the Post Office, the applicant will be removed
              without further notice and the envelope and letter will be maintained in the file.
               If an applicant is removed from the waiting list for failure to respond, they will not
               be entitled to reinstatement unless HACoLA verifies family/health/work
               emergency.




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           The waiting list will be purged by a mailing to all applicants to ensure that the
           waiting list is current and accurate. The mailing will ask for current information
           and confirmation of continued interest.
           The same guidelines will be used for failure to respond to this mailing. Notices
           will be made available in accessible format upon the request of a person with a
           disability.




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                                         CHAPTER 5:
                                     SUBSIDY STANDARDS

      5.1    INTRODUCTION
             f24 CFR &982.402(a)1

             Program regulations require that HACoLA establish subsidy standards that
             determine the number of bedrooms needed for families of different sizes and
             compositions. Such standards must provide for a minimum commitment of
             subsidy while avoiding overcrowding. The standards in determining the voucher
             size must be within the minimum unit size requirements of HUD's Housing
             Quality Standards(HQS).
             This chapter lays out the factors used in determining the voucher size issued to a
             family initially and when there is a move to a new unit, as well as HACoLA's
             procedures for handling changes in family size, selection of unit size that are
             different from the voucher size and requests for waivers.

      5.2    DETERMINATION OF VOUCHER SIZE
             X24 CFR &982.4021

             Subsidy standards and determination of voucher bedroom size are based upon
             the number of family members who will reside in the assisted dwelling unit. All
             standards in this section relate to the number of bedrooms on the voucher, not
             the family's actual living arrangements.
             The unit size on the voucher remains the same as long as the family composition
             remains the same.
             As required by HUD, HACoLA's subsidy standards for determining voucher size
             shall provide for the smallest number of bedrooms needed to house a family
             without overcrowding. They will be applied consistently for all families of like size
             and composition, in a manner consistent with fair housing guidelines and HQS.
              In accordance with HUD regulations, the unit size designated on the voucher
              should be assigned using the following HACoLA standards:
                  1. Subsidy standards are based on finro persons per bedroom, for all new
                     contracts including moves effective January 4, 2005, and effective at
                     annual re-examinations beginning February 2005.
                                Number of                   Number of
                            Household Members               Bedrooms
                                      1-2                  1-bedroom
                                     3-4                   2- bedroom
                                      5-6                   3- bedroom
                                      7-8                  4- bedroom
                                     9-10                   5- bedroom
                                     11-12                  6- bedroom



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                2. At issuance, the bedroom size assigned should not require more than two
                   persons to occupy the same bedroom. The family may choose and live
                   within a suitable unit in any grouping that is acceptable to the family,
                   including using the living room for sleeping purposes.
                3. Every family member is to be counted as a person in determining the
                   family unit size. Under this definition, family members include the unborn
                   child of a pregnant woman, any live-in attendants (approved by HACoLA
                   to reside in the unit to care for a family member who is disabled or is at
                    least 50 years of age), and a child who is temporarily away from the home
                    because of placement in foster care. A family that consists of a pregnant
                    woman (with no other persons) must be treated as atwo-person family.
                   [24 CFR §982.402(a)(4) - §982.402(a)(6)].
                 4. Aone-bedroom unit will be issued to asingle-person family.
                 5. An additional bedroom may be assigned if a family member must use a
                    separate bedroom due to medical reasons, if approved under a waiver by
                    HACoIA (see below).
                 6. If the family decides to move, HACoLA will issue a voucher based on the
                    family's current composition.

      5.2.1   Continuing Assistance
              Continuing assistance refers to cases where an additional persons) joins the
              family and the family will continue to occupy the same rental unit, i.e. no move is
              involved.
              HACoLA may require the family to use the living room for sleeping purposes for
              no more than one person provided that the unit meets other HQS. The family
               may be required to move into a larger size dwelling unit if HACoLA determines
              that the family is overcrowded.
              Acceptable living situations for continued assistance include:

                                Number of               Number of
                                Bedrooms            Household Members
                                1-bedroom                      3
                                2- bedroom                     5
                                3- bedroom                     7
                                4- bedroom                     9
                                5- bedroom                     11
                                6- bedroom                     13


       5.3    OCCUPANCY STANDARDS WAIVER
              X24 CFR b982.402(b)(8)1

              The standards discussed above should apply to the vast majority of assisted
              families. However, in some cases, the health or disability of one or more family


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             members may warrant the assignment of a larger or smaller unit size than the
             unit size that would result from a strict application of the standards. A departure
             from the standards is permissible to the extent that it is based on the health or
             disability of the family member(s).
             Examples of possible exceptions include but are not limited to:
                1. Persons who cannot occupy the same bedroom because of a verified
                    medical or health reason.
                2. Elderly persons or persons with disabilities who may require alive-in
                    attendant.
             Requests based on health related reasons must be verified, in writing, by a
             doctor or other medical professional. The request must specify the reason for
             the request and how providing a larger bedroom would improve or accommodate
             the medical condition.
             A Unit Supervisor who has not been involved in the initial determination will
             review the request, any prior determination and make a decision based on the
             specifics of the individual case (on a case-by-case basis). After the decision is
              made, a letter notifying the applicant or participant of the decision regarding the
             waiver will be sent by the reviewing supervisor.

      5.4     EXCEPTIONS FOR FOSTER CHILDREN
             [24 CFR &982.402(bl(411

             Exceptions will be made to accommodate foster children. The Los Angeles
             County Department of Family and Children Services (DCFS) has very specific
             housing guidelines that must be meet by foster families. In order to assure that
             foster children are able to remain with designated Section 8 foster families,
             HACoLA will utilize the guidelines published by the Los Angeles County DCFS,
             or specified in a court order, in situations involving foster children.

      5.5     CHANGES FOR PARTICIPANTS
              X24 CFR 6982.551(h1(2) AND 24 CFR &982.516(c)1

              Under program regulations; HACoLA has the right and responsibility to approve
              whom can and cannot be a part of the assisted household. The family must
              obtain approval of any additional family member before that person occupies the
              unit. Exceptions to this rule include additions by birth, adoption, or court-
              awarded custody. In these cases, the family must inform HACoLA of the changes
              within 30 calendar days. The family should provide written notification to the
              owner or management of the property.
              The family may request a larger voucher size than indicated by HACoLA's
              subsidy standards. This request must be made in writing within 15 calendar days
              of HACoLA's determination of bedroom size. The request must explain the need
              or justification for a larger bedroom size.
              HACoLA will not increase the family's voucher size due to additions unless the
              addition creates an overcrowding situation for the family.




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            All new household members who are 18 years of age and older will go through a
            credit and criminal background check before receiving approval to join the
            assisted household. Criminal records will only be used to screen new household
            members. They will not be used for lease enforcement or eviction of residents
            already receiving tenant-based rental assistance.

      5.6   UNIT SIZE SELECTED

            The family may select a different size dwelling than that listed on the voucher.
            There are three criteria to consider in this situation:
               ➢ HACoLA uses the aavment standard for the voucher size or the unit size
                   selected by the family, whichever is less[24 CFR §982.402(c)(3)].
               ➢ Utility Allowance: The utility allowance used to calculate the gross rent
                   is based on the actual size of the unit the family selects, regardless of the
                   size authorized on the family's voucher.
                    Housing Quality Standards: The standards allow two persons per
                    living/sleeping room and permit maximum occupancy levels (assuming a
                    living room is used as a living/sleeping area).

      5.7   FLEXIBILITY OF UNIT SIZE ACTUALLY SELECTED
            X24 CFR 6982.4021d)1

            In accordance with regulations, a family may rent a larger dwelling unit than
            designated, provided that the rent for the unit is comparable and the family's total
            rent contribution (rent to the owner plus any applicable utility costs) does not
            exceed 40 percent of the family's adjusted monthly income (applies only if the
            gross rent for the unit exceeds the payment standard). Regardless of the number
            of bedrooms stated on the voucher, HACoLA shall not prohibit a family from
            renting an otherwise acceptable unit because it is too large for the family.
            The family may also rent smaller units, if the unit meets other HQS and the unit is
            appropriate for the family size. HACoLA recognized that it is particularly hard for
            larger families to located appropriate housing given local market conditions.
            Therefore, HACoLA will allow families to request a waiver to move into a smaller
            unit as long as the unit complies with all HQS requirements, including space
            requirements.




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                                CHAPTER 6:
      DETERMINING THE TOTAL TENANT PAYMENT AND HACOLA ABSENCE POLICY

      6.1    INTRODUCTION

             This chapter explains how the Total Tenant Payment (TTP) is calculated at
             admission and during annual re-examinations. It covers HACoLA and HUD
             standards used to calculate income inclusions and deductions.
             This chapter also provides the HACoLA definition of absence of household
             members and explains how the presence or absence of household members can
             affect the TTP.
             The policies outlined in this chapter address those areas, which allow HACoLA
             discretion to define terms and to develop standards in order to assure consistent
             application of the various factors that relate to the determination of TTP.

      6.2    INCOME DEFINITIONS

             O Total Tenant Payment (TTP1: TTP is calculated for each household based
               on family income. It is used to determine the tenant contribution toward rent.
               The TTP is affected by who is included in the family composition. Accurate
               calculation of annual income and adjusted income ensures that families do
               not pay more or less for rent than obligated and required by the regulations.
              ❑ Income: HACoLA will include income from all sources, unless otherwise
                specifically exempted [24 CFR §5.609(c)] through program regulations, for
                the purposes of calculating the TTP. In accordance with this definition,
                income from all sources of each member of the household is counted.
              ❑ Annual Income f24 CFR 55.609(all: The gross amount of income
                anticipated to be received by the family during the 12 months after
                certification or re-examination. Gross income is the amount of income prior to
                any HUD allowable expenses or deductions, and does not include income
                that has been excluded by HUD. Annual income is used to determine
                whether or not applicants are within the applicable income limits.
              ❑ Adjusted Income X24 CFR §5.611 : The annual income minus any HUD
                allowable deductions.

      6.3     INCOME DEDUCTIONS
             [24 CFR ~5.611(all

              The following deductions will be applied in the TTP calculation:
                 ➢ Deaendent Allowance: $480 each for family members (other than the
                     head or spouse), who are minors, and for family members who are 18
                     and older who are full-time students or who are disabled. This allowance
                     does not apply to foster children.
                 ➢ Elderly Family or Disabled Family Allowance: $400 for families whose
                     head or spouse is 62 or over or disabled.




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                   Childcare Exaenses: Deducted for children under 13, including foster
                   children, when childcare is necessary to allow an adult member to work,
                   search for work, or attend school(see below for details).
                 ➢ Allowable Medical Expenses: Deducted for unreimbursed medical
                   expenses for members of any elderly family or disabled family.
                 ➢ Attendant Care and Auxiliary Aagaratus Expenses: Deducted for
                   persons with disabilities if needed to enable the individual or an adult
                   family member to work.

      6.3.1   Childcare Expenses
              f24 CFR 55.603(d1 and 24 CFR ~5.611(e)1
              Childcare expenses for children under 13 years of age may be deducted from
              annual income if they enable an adult to work, search for work, or attend school
              full time.
              In the case of a child attending school, only care during non-school hours can be
              counted as childcare expenses.
              Families will be given a childcare allowance based on the following guidelines:
              O Childcare to Work: The maximum childcare expense allowed must be less
                 than the amount earned by the person enabled to work. The "person enabled
                 to work" will be the adult member of the household who earns the least
                 amount of income from working.
              ❑ Childcare to Search for Work: Childcare expenses cannot exceed the
                 current amount of income received.
              ❑ Childcare for School: The number of hours claimed for childcare may not
                 exceed the number of hours the family member is attending school (including
                 one hour travel time to and from school).
              ❑ Amount of Expense: HACoLA will determine local average costs as a
                  guideline. If the hourly rate materially exceeds the guideline, HACoLA may
                  calculate the allowance using the guideline.

      6.3.2 Medical Exaenses
            [24 CFR §5.611(d)(1ll
              When it is unclear in the HUD rules as to whether or not to allow an item as a
              medical expense, IRS Publication 502 will be used as a guide.
              HACoLA will allow as medical expense the actual out-of-pocket amounts which
              are owed and anticipated to be paid by the family during the re-examination
              period. Expenses from the previous year may be analyzed to determine the
              amount to anticipate when other verification is not available.
              Nonprescription medicines will be counted toward medical expenses for families
              who qualify if the family furnishes legible receipts.
              Acupressure, acupuncture and related herbal medicines, and chiropractic
              services will be considered allowable medical expenses.




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      6.4    INCOME INCLUSIONS AND EXCLUSIONS

      6.4.1 Income Inclusions
            [24 CFR ~5.609(bll
             HACoLA considers the following to be included in the family's annual income, as
             required by HUD:
            (1) The full amount, before any payroll deductions, of wages and salaries,
                 overtime pay, commissions, fees, tips and bonuses, and other compensation
                 for personal services;
            (2) The net income from operation of a business or profession. Expenditures for
                 business expansion or amortization of capital indebtedness shall not be used
                 as deductions in determining net income. An allowance for depreciation of
                 assets used in a business or profession may be deducted, based on straight
                  line depreciation, as provided in Internal Revenue Service regulations. Any
                 withdrawal of cash or assets from the operation of a business or profession
                  will be included in income, except to the extent the withdrawal is
                  reimbursement of cash or assets invested in the operation by the family;
            (3) Interest, dividends, and other net income of any kind from real or personal
                   property. Expenditures for amortization of capital indebtedness shall not be
                   used as deductions in determining net income. An allowance for depreciation
                   is permitted only as authored in No. 2 of this section. Any withdrawal of
                  cash or assets from an investment will be included in income, except to the
                  extent the withdrawal is reimbursement of cash or assets invested by the
                  family. Where the family has net family assets in excess of $5,000, annual
                   income shall include the greater of the actual income derived from net family
                   assets or a percerrtage of the value of such assets based on the current
                    passbook savings rate, as determined by HUD;
            (4) The full amount of periodic payments received from Social Security,
                    annuities, insurance policies, retirement funds, pensions, lotteries, disability
                    or death benefits, and other similar types of periodic receipts, including a
                    lump-sum payment for the delayed start of a periodic payment (but see No.
                    13 under Income Exclusions);
             (5) Payments in lieu of earnings, such as unemployment, worker's
                    compensation, and severance pay (but see No. 3 under Income Exclusions);
             (6) Welfare Assistance.
                 a. Welfare assistance received by the household.
                 b. The amount of reduced welfare income that is disregarded specifically
                    because the family engaged in fraud or failed to comply with an economic
                    self-sufficiency or work activities requirement.
                  c. If the welfare assistance payment inGudes an amount specifically
                     designated for shelter and utilities that is subject to adjustments by the
                     welfare assistance agency in accordance with the actual cost of shelter
                     and utilities, the amount of welfare income to be included as income shall
                     consist of:




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                 (i) The amount of the allowance or grant exclusive of the amount
                      specifically designated for shelter or utilities; plus
                 (ii) The maximum amount that the welfare assistance agency could in
                      fact allow the family for shelter and utilities. If the family's welfare
                      assistance is ratably reduced from the standard of need by applying a
                      percentage, the amount calculated under this paragraph shall be the
                      amount resulting from one application of the percentage;
           (7) Periodic and determinable allowances, such as alimony and child support
               payments, and regular contributions or gifts received from persons not
               residing in the dwelling;
                  Regular Contributions and Gifts f24 CFR ~5.609(b)(7)1
                  Any contribution or gift received every 3 months or more frequently
                  will be considered a "regular" contribution or gift. This includes
                  payments made on behalf of the family such as payments for a car,
                  credit card bills, rent and/or utility bills and other cash or non-cash
                  contributions provided on a regular basis. It does not include casual
                  contributions or sporadic gifts.
                  If the family's expenses exceed its known income, HACoLA will
                  question the family about contributions and gifts. If the family indicated
                  that it is able to meet the extra expenses due to gifts or contributions
                  from persons outside the household, the amount provided will be
                  included in the family's TTP.


                   Alimony and Child Support f24 CFR &5.609(b)(7)1
                   If the amount of child support or alimony received is less than the
                   amount awarded by the court, HACoLA must use the amount
                   awarded by the court unless the family can verify that they are not
                   receiving the full amount. Acceptable verification in such cases may
                   include:
                   1. Verification from the agency responsible for enforcement or
                      collection, and
                   2. Documentation of child support or alimony collection action filed
                      through a child support enforcement/collection agency, or has filed
                      an enforcement or collection action through an attorney.
                   It is the family's responsibility to supply a certified copy of the divorce
                   decree.
                   Effective January 4, 2005, families are required to register with the
                   Los Angeles County Child Support Services Department to facilitate
                   child support income for dependent children.
            (8) All regular pay, special pay, and allowances of a member of the Armed
                Forces (whether or not living in the dwelling) who is head of the family,
                spouse, or other person whose dependents are residing in the unit (but see
                paragraph(~ under Income Exclusions).



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      6.4.2 Income Exclusions
            [24 CFR 65.609(c)1
             HACoLA considers the following to be excluded from the family's annual income,
            as required by HUD:
            (1) Income from employment of children (including foster children) under the age
                of 18 years;
            (2) Payments received for the care of foster children or foster adults (usually
                individuals with disabilities, unrelated to the tenant family, who are unable to
                live alone);
                    Benefits received through the Kin GAP program, a California program
                    designed specifically for foster children who have been place in the
                    home of a relative are considered foster care and should be excluded.
            (3) Lump-sum additions to family assets, such as inheritances, insurance
                payments (including payments under health and accident insurance and
                worker's compensation), capital gains, and settlement for personal or
                property losses (but see No. 5 under Income Inclusions);
            (4) Amounts received by the family that are specifically for, or in reimbursement
                of, the cost of medical expenses for any family member;
            (5) Income of a live-in aide (as defined by regulation);
            (6) The full amount of student financial assistance paid directly to the student or
                to the educational institution;
            (7) The special pay to a family member serving in the Armed Forces who is
                exposed to hostile fire;
            (8)(a) Amounts received under training programs funded by HUD;
                (b) Amounts received by a person with disabilities that are disregarded for a
                    limited time for purposes of Supplemental Security Income eligibility and
                    benefits because they are set aside for use under a Plan to Attain Self-
                    Sufficiency (PASS);
                (c) Amounts received by a participant in other publicly assisted programs
                    which are specifically for or in reimbursement of out-of-pocket expenses
                    incurred (special equipment, clothing, transportation, child care, etc.) and
                    which are made solely to allow participation in a specific program;
                (d) A resident service stipend. This is a modest amount(not to exceed $200
                     per month) received by a resident for performing a service for the owner,
                    on a part-time basis, that enhances the quality of life in the development.
                    This may include, but is not limited to fire patrol, hall monitoring, lawn
                     maintenance, and resident initiatives coordination and serving as a
                     member of the PHA's governing board. No resident may receive more
                     than one such stipend during the same period of time; or
                (e) Incremental earnings and benefits resulting to any family member from
                     participation in qualifying state or local employment training programs
                   (including training programs not affiliated with a local government) and
                     training of a family member as resident management staff. Amounts


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                  excluded by this provision must be received under employment training
                  programs with clearly defined goals and objectives, and are excluded only
                  for the period during which the family member participates in the
                  employment training program.
           (9) Temporary, nonrecurring, or sporadic income (including gifts). For example,
               amounts earned by temporary census employees whose terms of
               employment do not exceed 180 days (Notice PIH 2000-1).
           (10) Reparations payments paid by a foreign government pursuant to claims
                filed under the laws of that government by persons who were persecuted
                 during the Nazi era;
           (11) Earnings in excess of $480 for each full-time student 18 years or older
                (excluding the head of household and spouse);
           (12) Adoption assistance payments in excess of $480 per adopted child;
           (13) Deferred periodic payments of supplemental security income and social
                security benefits that are received in a lump-sum payment or in prospective
                monthly payments;
           (14) Amounts received by the family in the form of refunds or rebates under
                state or local law for property taxes paid on the dwelling unit;
           (15) Amounts paid by a state agency to a family with a developmentally disabled
                family member living at home to offset the cost of services and equipment
                needed to keep the developmentally disabled family member at home; and
           (16) Amounts specifically excluded by any other federal statute from
                consideration as income for purposes of determining eligibility or benefits
                under a category of assistance programs that includes assistance under the
                1937 Act. A notice will be published in the Federal Register and distributed
                to PHAs identifying the benefits that qualify for this exclusion. Updates will
                be distributed when necessary. The following is a list of income sources
                that qualify for that exclusion:
                  a) The value of the allotment provided to an eligible household under the
                     Food Stamp Act of 1977(7 U.S.C. 2017 (b));
                  b) Payments to Volunteers under the Domestic Volunteer Services Act of
                     1973(42 U.S.C. 5044(8), 5058);
                  c) Payments received under the Alaska Native Claims Settlement Act(43
                     U.S.C. 1626(c));
                  d) Income derived from certain submarginal land of the United States that
                     is held intrust for certain Indian tribes(25 U.S.C. 459e);
                  e) Payments or allowances made under the Department of Health and
                     Human Services' Low-Income Home Energy Assistance Program (42
                     U.S.C. 8624(fl);
                  fl Payments received under programs funded in whole or in part under the
                     Job Training Partnership Act(29 U.S.C. 1552(b); (effective July 1, 2000,
                      references to Job Training Partnership Act shall be deemed to refer to




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                       the corresponding provision of the Workforce Investment Act of 1998
                      (29 U.S.C. 2931);
                  g) Income derived from the disposition of funds to the Grand River Band of
                       Ottawa Indians (Pub.L- 94-540, 90 Stat. 2503-04);
                  h) The first $2000 of per capita shares received from judgment funds
                       awarded by the Indian Claims Commission or the U. S. Claims Court,
                       the interests of individual Indians in trust or restricted lands, including
                       the first $2000 per year of income received by individual Indians from
                       funds derived from interests held in such trust or restricted lands(25
                        U.S.C. 1407-1408);
                  )i Amounts of scholarships funded under title IV of the Higher Education
                        Act of 1965, including awards under federal work-study program or
                        under the Bureau of Indian Affairs studerrt assistance programs(20
                        U.S.C. 1087uu);
                  j) Payments received from programs funded under Title V of the Older
                        Americans Act of 1985(42 U.S.C. 3056(fl);
                   k) Payments received on or after January 1, 1989,from the Agent Orange
                        Settlement Fund or any other fund established pursuant to the
                        settlement in In ReAgent-product liability litigation, M.D.L. No. 381
                       (E.D.N.Y.);
                    I Payments received under the Maine Indian Claims Settlement Act of
                    )
                        1980(25 U.S.C. 1721);
                    m)The value of any child care provided or arranged (or any amount
                        received as payment for such care or reimbursement for costs incurred
                        for such care) under the Child Care and Development Block Grant Act
                        of 1990(42 U.S.C. 9858q);
                     n) Earned income tax credit(EITC) refund payments received on or after
                        January 1, 1991 (26 U.S.C. 32(j));
                     o) Payments by the Indian Claims Commission to the Confederated Tribes
                        and Bands of Yakima Indian Nation or the Apache Tribe of Mescalero
                         Reservation (Pub. L. 95-433);
                     p) Allowances, earnings and payments to AmeriCorps participants under
                        the National and Community Service Act of 1990(42 U.S.C. 12637(d));
                   q) Any allowance paid under the provisions of 38 U.S.C. 1805 to a child
                      suffering from spina b~da who is the child of a Vietnam veteran (38
                      U.S.C. 1805);
                   r) Any amount of crime victim compensation (under the Victims of Crime
                      Act) received through crime victim assistance (or payment or
                      reimbursement of the cost of such assistance) as determined under the
                      Victims of Crime Act because of the commission of a crime against the
                      applicant under the Victims of Crime Act(42 U.S.C. 10602); and
                   s) Allowances, earnings and payments to individuals participating in
                      programs under the Workforce Investment Act of 1998(29 U.S.C.
                      2931).



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              (17) Earned Income Disallowance for persons with disabilities [24CFR5.617]
                   (a) Initial Twelve Month Exclusion [24CFR5.617(C)(1)]
                   (b) Second Twelve Month Exclusion and Phase-In [24CFR5.617(C)2)
                   (c) Maximum Four Year Disallowance[24 CFR 5.617(c)(3)]

      6.5      FAMILY ASSETS
              (24 CFR &5.603(b)1

      6.5.1    Lumq-Sum Receipts
               Lump-sum additions to family assets, such as inheritances, insurance payments
              (including lump-sum payments under health and accident insurance and worker's
               compensation), capital gains, and settlement for personal or property losses, are
               not included as income but may be included in assets.
               Lump-sum payments caused by delays in processing periodic payments
              (unemployment or welfare assistance) are counted as income. Lump sum
               payments from Social Security or SSI are excluded from income, but any amount
               remaining will be considered an asset. Deferred periodic payments which have
               accumulated due to a dispute will be treated the same as periodic payments
               which are deferred due to delays in processing.

      6.5.2 Attorney Fees
               The family's attorney fees may be deducted from lump-sum payments when
               computing annual income if the attorney's efforts have recovered alump-sum
               compensation, and the recovery paid to the family does not include an additional
               amount in full satisfaction of the attorney fees.

      6.5.3 Contributions to Retirement Funds —Assets
            f24 CFR ~5.603(d)1
            Contributions to company retiremenbpension funds are handled as follows:
                   1. While an individual is employed, include as assets only amounts the
                      family can withdraw without retiring or terminating employment.
                   2. After retirement or termination of employment, include any amount the
                      individual elects to receive as a lump sum.

       6.5.4 Assets Disaosed of for Less than Fair Market Value
             (24 CFR ~5.603(d)1
              HACoLA must count assets disposed of for less than fair market value during the
              two years preceding certification or re-examination. HACoLA will count the
              difference between the market value and the actual payment received in
              calculating total assets.
                Assets disposed of as a result of foreclosure or bankruptcy, separation or divorce
                are not considered to be assets disposed of for less than fair market value.
                HACoLA's minimum threshold for counting assets disposed of for less than Fair
                Market Value is $5,000. If the total value of assets disposed of within cone-year
                period is less than $5,000, they will not be considered an asset.


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      6.6    CALCULATING INCOME AND FAMILY CONTRIBUTION

      6.6.1 "Minimum Rent" and Minimum Family Contribution
            f24 CFR ~5.630(a)(311
            Minimum family contribution in HACoLA rental assistance programs is $50, for all
            new contracts including moves effective April 5, 2005, and effective at annual re-
            examinations beginning May 2005.
            HACoLA will waive the minimum rent requirement in cases where the family
            documents that they do not currently have any source of income such as in the
            case of some homeless families. In such cases, the family will be re-evaluated in
            6 months. All families are required to report changes in income within 30
            calendar days.

      6.6.2 Minimum Income
            There is no minimum income requirement. Families who report zero income may
            be required to attend an interim re-examination periodically, up to once a quarter,
            at HACoLA's discretion. A credit review will automatically be requested for
            families claiming zero income.

      6.6.3 Averauina Income
            [24 CFR &982.516(6)(2)and 24 CFR &5.609(D)1
             When annual income cannot be anticipated for a full 12 months, HACoLA may
             annualize current income and conduct an interim re-examination if income
             changes.
             If there are bonuses or overtime which the employer cannot anticipate for the
             next 12 months, bonuses and overtime received the previous year may be used.
              Income from the previous year may be analyzed to determine the amount to
              anticipate when third-party or check-stub verification is not available.
              If by averaging, an estimate can be made for those families whose income
              fluctuates from month to month, this estimate will be used so that the housing
              payment will not change from month to month.
              The method used depends on the regularity, source and type of income.

       6.6.4 Utility Allowance and Utility Reimbursement Payments
             X24 CFR &982.5171
             The utility allowance is intended to help defray the cost of utilities not included in
             the rent and is subtracted from TTP to establish the family's rent to the owner.
             The allowances are based on rates and average consumption studies, not on a
             family's actual consumption. HACoLA will review the Utility Allowance Schedule
             on an annual basis and revise it if needed (10 percent increase or decrease).
               The approved utility allowance schedule is given to families along with the
               voucher. The utility allowance is based on the actual unit size selected.
               Where families provide their own range and refrigerator, HACoLA will establish
               an allowance adequate for the family to purchase or rent a range or refrigerator,
               even if the family already owns either appliance. Allowances for ranges and


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              refrigerators will be based on the lesser of the cost of leasing or purchasing the
              appropriate appliance over a 12-month period.
              If the utility allowance exceeds the family's TTP, HACoLA will provide a utility
              reimbursement payment for the family each month. The check will be made out
              directly to the family's head of household on record.

      6.6.5 Reduction in Benefits
              If the family's benefits, such as Social Security, Social Supplemental Insurance or
              CaIWORKs grant, are reduced through no fault of the family, HACoLA will use
              the net amount of the benefit.
              In certain very specific instances families may have welfare benefits reduced and
              still not be eligible for a rent reduction. Families affiected include those that
              receive weffare assistance or other public assistance benefits (e.g. transportation
              or child care) under a governmental program that requires the family to
              participate in an economic self-sufficiency program as a condition for such
              assistance.
              The amount that the welfare benefit has been reduced because of fraud or a
              sanction for noncompliance with requirements to participate in an economic self-
              sufficiency program is identified as the "imputed welfare income." The family's
              annual income includes the amount of the imputed welfare income plus the total
              amount of other annual income.

      6.7     PRORATION OF ASSISTANCE FOR "MIXED" FAMILIES

      6.7.1   Aaplicability
              X24 CFR &5.5201a)1
              Proration of assistance must be offered to any "mixed" applicant or participant
              family. A "mixed" family is one that includes at least one U.S. citizen or eligible
              immigrant and any number of ineligible members.
              "Mixed" families that were participants on June 19, 1995, and that do not qualify
              for continued assistance must be offered prorated assistance. Mixed family
              applicants are entitled to prorated assistance. Families that become mixed after
              June 19, 1995 by addition of an ineligible member are entitled to prorated
              assistance.

       6.7.2 Prorated Assistance Calculation
            [24 CFR §5.520(c)]
               Prorated assistance is calculated by determining the amount of assistance
               payable if all family members were eligible and multiplying by the percent of the
               family members who actually are eligible. TTP is the gross rent minus the
               prorated assistance.

       6.8     ABSENCE POLICY
               f24 CFR ~982.312(d)1

               HACoLA must compute all applicable income of every family member who is on
               the lease, including those who are temporarily absent. In addition, HACoLA must


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              count the income of the spouse or the head of household if that person is
              temporarily absent, even if that person is not on the lease.
              Income of persons permanently absent will not be counted. If the spouse is
              temporarily absent and in the military, all military pay and allowances (except
              hazardous duty pay when exposed to hostile fire and any other exceptions to
               military pay HUD may define) is counted as income.
              It is the responsibility of the household to report absences and changes in family
              composition. HACoLA will evaluate absences from the unit using this policy [24
              CFR §982.551(1)].

      6.8.1   Absence of Entire Familv
              X24 CFR X982.312]
              These policy guidelines address situations when the family is absent from the
              unit, but has not moved out of the unit. In cases where the family has moved out
              of the unit, HACoLA will terminate assistance in accordance with appropriate
              termination procedures contained in this plan.
              Families are required both to notify HACoLA before they move out of a unit and
              to give HACoLA information about any family absence from the unit.
              Families must notify HACoLA if they are going to be absent from the unit for
              more than 30 consecutive calendar days.
              If the family fails to notify HACoLA of an absence of longer than 30 consecutive
              calendar days, or if the entire family is absent from the unit for more than 60
              consecutive calendar days, the unit will be considered to be vacated and the
              assistance will be terminated. HACoLA at all times shall reserve the right to
              exercise its judgment regarding extensions on family absence from the unit on a
              case-by-case basis. However, HUD regulations require HACoLA to terminate
              assistance if the entire family is absent from the unit for a period of more than
               1SO consecutive calendar days.
              "Absence" means that no family member is residing in the unit, and the unit has
               not been vacated. In order to determine if the family is absent from the unit,
               HACoLA may:
                  ➢ Write letters to the family at the unit
                  ➢ Telephone the family at the unit
                  ➢ Interview the owner
                      Interview neighbors
                  ➢ Verify if utilities are in service
                  ➢ Conduct an interim HQS Inspection
               If the absence which resulted in termination of assistance was due to a person's
               disability, and HACoLA can verify that the person was unable to notify HACoLA
               in accordance with the family's responsibilities, and if funding is available,
               HACoLA may reinstate the family as an accommodation if requested by the
               family.




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     6.8.2 Absence of Anv Member
           [24 CFR &982.312(a)1
             Any member of the household will be considered permanently absent if s/he is
             away from the unit for 180 consecutive calendar days except as otherwise
             provided in this chapter.

      6.8.3 Absence Due to Medical Reasons
            t24 CFR ~982.312(e{(111
            If any family member leaves the household to enter a facility such as a hospital,
            nursing home, or rehabilitation center, HACoLA will seek advice from a reliable
            qualified source as to the likelihood and timing of their return. If the verification
            indicates that the family member will return in less than 180 calendar days, the
            family member will not be considered permanently absent.
              If the verification indicates that the family- member will be permanently confined to
              a nursing home, the family member will be considered to be permanently absent
              — out of the home and removed from the family composition.
             If the person who is determined to be permanently absent is the sole member of
             the household, assistance will be terminated in accordance with HACoLA's
             "Absence of Entire Family" policy.

      6.8.4 Absence Due to Incarceration
            X24 CFR ~982.312(e1(111
            If the sole member of the household is incarcerated for more than 30 calendar
            days, s/he will be considered permanently absent and HACoLA will initiate
            proposed termination procedures to terminate assistance.
            Any member of the household, other than the sole member, will be considered
             permanently absent if s/he is incarcerated for 60 calendar days. Once a family
             member is removed from the family composition, the family must seek HACoLA
            approval prior to allowing the family member to re-join the assisted household.
             Failure to adhere to this policy can result in termination of assistance.
             HACoLA will determine if the reason for any family member's incarceration is for
             drug-related or violent criminal activity and, if appropriate, will pursue termination
             of assistance for the family if deemed appropriate.

       6.8.5 Foster Care and Absences of Children
             (24 CFR &982.551(h)(4ll
              If the family includes a child or children temporarily absent from the home due to
              placement in foster care, HACoLA will request information from the appropriate
              agency to determine when the child/children will be returned to the home.
               If the time period is to be greater than 180 calendar days from the date of
              removal of the child/children, the voucher size may be temporarily reduced. If
              children are removed from the home permanently, the voucher size will
               permanently reduced in accordance with HACoLA's subsidy standards.




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      6.8.6 Absence of Adult
            I24 CFR 6982.312(e)1
             If neither parent remains in the household and the appropriate agency has
             determined that another adult is to be brought into the assisted unit to care for
             the children for an indefinite period, HACoLA will treat that adult as a visitor for
             up to the first 180 calendar days.
             If during or by the end of that period, court-awarded custody or legal
             guardianship has been awarded to the caretaker, the voucher will then be
             transferred to the caretaker.
              If custody or legal guardianship has not been awarded by the court, but the
              action is in process, HACoLA will secure verification from social services staff or
             the attorney as to the status.
              If the appropriate agency cannot confirm the guardianship status of the
              caretaker, HACoLA will review the status at 120-day intervals.
             The caretaker will be allowed to remain in the unit, as a visitor, until a
             determination of custody is made or up to 12 months total.
             HACoLA will transfer the voucher to the caretaker, in the absence of a court
             order, if the caretaker has been in the unit for more than 12 months and it is
             reasonable to expect that custody will be granted.
             When HACoLA approves a person to reside in the unit as caretaker for the
             children, this person's income will be counted in the TTP for the family pending a
             final disposition. HACoLA will work with the appropriate service agencies and the
             owner to provide a smooth transition in these cases.
             If a member of the household is subject to a court order that restricts him/her
             from the home for more than 180 calendar days, the person will be considered
             permanently absent.
             If an adult family member leaves the household for any reason, the family must
             report the change in family composition to HACotA within 30 calendar days.
              The family will be required to notify HACoLA in writing within 30 calendar days
              when a family member leaves the household for any reason or moves out. The
              notice must contain a certification by the family as to whether the member is
              temporarily or permanently absent. The family member will be determined
              permanently absent if verification is provided.
              If an adult child goes into the military and leaves the household, they will be
              considered permanently absent.
              Time extensions may be granted as an accommodation upon request by a
              person with a disability.

       6.8.7 Students
             [24 CFR ~982.312(e)1
              Full time students who attend school away from the home and live with the family
              during school recess will be considered temporarily absent from the household.
              These family members will continue to be counted for the purpose of determining
              the family's appropriate voucher size.


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      6.8.8 Visitors
            X24 CFR &982.312(e)1
              Any person not included on the HUD-50058 who has been in the unit more than
              30 calendar days, or a total of 60 calendar days in a 12-month period, will be
              considered to be living in the unit as an unauthorized household member.
              Absence of evidence of any other address will be considered verification that the
              visitor is a family member.
              Statements from neighbors and/or the owner will be considered in making the
              determination.
              Use of the unit address as the visitor's current residence for any purpose that is
              not explicitly temporary shall be construed as permanent residence.
              The burden of proof that the individual is a visitor rests on the family. In the
              absence of such proof, the individual will be considered an unauthorized member
              of the family and HACoLA will terminate assistance since prior approval was not
              requested for the addition.
              In a joint custody arrangement, if the minor is in the household less than 180
              calendar days per year, the minor will be considered to be an eligible visitor and
              not a family member.

      6.9     REPORTING CHANGES IN HOUSEHOLD COMPOSITION
              X24 CFR 6982.516(c)]

              Reporting changes in household composition is both a HUD and HACoLA
              requirement.

      6.9.1    Reaortina Additions to Owner and HACoLA
              [24 CFR ~982.551(h1(211
               The family obligations require the family to receive advance HACoLA approval to
               add any other family member as an occupant of the unit. HACoLA shall notify
               the family of its determination (approve or deny addition) in writing. No persons
               should move in to the unit until approval from HACoLA has been received. If the
               family does not obtain prior written approval from HACoLA, any person the family
               has permitted to move in will be considered an unauthorized household member.
               Families are required to report any additions to the household resulting from the
               birth, adoption or court-awarded custody of a child in writing to HACoLA within 30
               calendar days of the move-in date.
               An interim re-examination will be conducted for any additions to the household.
               In addition, the lease may require the family to obtain prior written approval from
               the owner when there are changes in family composition.
               HACoLA will conduct a credit and criminal background check on all new potential
               family members, 18 years of age and older, as part of the approval process.




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      6.9.2 Reaortina Absences to HACoLA
            f24 CFR ~982.551(hl(3) and ~982.551(i11
             If a family member leaves the household, the family must report this change to
             HACoLA, in writing, within 30 calendar days of the change and certify as to
             whether the member is temporarily absent or permanently absent. When
             available to do so, an adult family member who is leaving the household should
             remove him/herself in writing from the lease and voucher family composition.
             HACoLA will conduct an interim evaluation for changes, which affect the TTP in
             accordance with the interim policy.




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                                           CHAPTER 7:
                                    VERIFICATION PROCEDURES

      7.1      INTRODUCTION
               f24 CFR ~5.240(c1, 24 CFR &5.210, 24 CFR ~982.551(b)l

               HUD regulations require that the factors of eligibility be verified by HACoLA.
               Applicants and program participants must furnish proof of their statements
               whenever required by HACoLA, and the information they provide must be true
               and complete. HACoLA's verification requirements are designed to maintain
               program integrity. This chapter explains HACoLA's procedures and standards for
               verification of preferences, income, assets, allowable deductions, family status,
               and when there are changes in family members. HACoLA will ensure that proper
               authorization from the family is always obtained before making verification
               inquiries.

      7.2      METHODS OF VERIFICATION AND TIME ALLOWED

               HACoLA will verify information through the five methods of verification
               acceptable to HUD in the following order:
                  1. Up-Front Income Verification (UIV)/ Enterprise Income Verification (EIS
                      will be used first, when available.
                  2. Third-party written verification will be used when UIV/EIV is not available.
                   3. Third-party oral verification will be used when written verification is
                      delayed or not possible.
                   4. Review of documents will be used if third-party written or oral is
                       unavailable, or the information has not been verified by the third-party
                       within finro weeks.
                   5. CertificatioNself-declaration will be used if third-party verification or
                       review of documents cannot be made.
               HACoLA will allow two weeks for return of third-party verifications and two weeks
               to obtain other types of verifications before going to the next method.
               For applicants, verifications may not be more than 60 calendar days old at the
               time of voucher issuance [24 CFR §982.201(e)]. For participants, income forms
               are valid for 120 calendar days from date of receipt.

       7.2.1    Ua-Front Income Verification (UIV)/Enterprise Income Verification (EI
                HACoLA will utilize up-front income verification and enterprise income verification
                tools, including TASS and LEADER, whenever possible. When HUD announces
                the availability of a UIV/EIV system for HACoLA, additional UIV/EIV tools will be
                utilized.

       7.2.2 Third-Parly Written Verification
             Third-party written verification will be used when up-front income verification is
             not availability. Third-party written verification forms will be sent and returned via



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            first class mail. The family will be required to sign an authorization for the
            information source to release the specified information.
            Verifications received electronically directly from the source are considered third
             party written verifications.
             HACoLA will not accept verifications delivered by the family except computerized
             printouts from the following agencies:
                 ➢ Social Security Administration
                 ➢ Veterans Administration
                 ➢ Welfare Assistance
                 ➢ Unemployment Compensation Board
                 ➢ City or County Courts
                 ➢ Child Support Enforcement Agencies

      7.2.3 Third-Party Oral Verification
            Oral third-party verification will be used when written third-party verification is
            delayed or not possible. When third-party oral verification is used, staff will be
            required to document both the paper and computer file, noting with whom they
            spoke, the date of the conversation, and the facts provided. If oral third party
            verification is not available, HACoLA will compare the information to any
            documents provided by the family. If provided by telephone, HACoLA must
            originate the call.

      7.2.4 Review of Documents
            In the event that, third-party written or oral verification is unavailable, or the
            information has not been verified by the third party within two weeks, HACoLA
            will annotate the file accordingly and utilize documents provided by the family as
            the primary source if the documents provide complete information.
            All such documents, excluding government checks,. will be photocopied and
            retained in the applicant file. In cases where documents are viewed which cannot
             be photocopied, staff viewing the documents) will complete a Certification of
            Document Viewed or Person Contacted form.
             HACoLA will accept the following documents from the family provided that the
             document is such that tampering would be easily noted:
                  ➢ Printed wage stubs
                  ➢ Computer print-outs from the employer
                  ➢ Signed letters (provided that the information is confirmed by phone)
                  ➢ Other documents noted in this chapter as acceptable verification
              HACoLA will accept faxed documents, however a hard copy must also be
              provided.
              HACoLA will accept photocopies, however original documents may be requested
              for verification.



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             If third-party verification is received after documents have been accepted as
             provisional verification, and there is a discrepancy, HACoLA will utilize the third
             party verification.

      7.2.5 Self-Certification/Self-Declaration
            When verification cannot be made by third-party verification or review of
            documents, families will be required to submit aself-certification.
            Self-certification means a notarized statement/affidavit/certification/statement
            under penalty of perjury and must be witnessed.

      7.3     RELEASE OF INFORMATION
             [24 CFR G5.230]

             The family will be required to sign specific authorization forms when information
             is needed that is not covered by the HUD-9886 Form (Authorization for the
             Release of Information).
             Each member requested to consent to the release of information will be provided
             with a copy of the appropriate forms for their review and signature.
             Family refusal to cooperate with the HUD prescribed verification system will
             result in denial of admission or termination of assistance because it is a family
             obligation to supply any information requested by HACoLA or HUD.

      7.4     COMPUTER MATCHING
              X24 CFR 65.210(all

              Where allowed by HUD and/or other State or local agencies, computer matching
              will be done.

       7.5    ITEMS TO BE VERIFIED
              X24 CFR ~982.551(b)1

              ❑ All income not specifically excluded by the regulations.
              ❑ Zeraincome status of household.
              ❑ Full-time student status including high school students who are age 18 or
                over.
              ❑ Current assets including assets disposed of for less than fair market value in
                preceding two years.
              ❑ Childcare expense where it allows an adult family member to be employed or
                to further his/her education.
              ❑ Total medical expenses of all family members in households whose head or
                spouse is elderly or disabled.
              ❑ Disability assistance expenses to include only those costs associated with
                 attendant care or auxiliary apparatus, which allow an adult family member to
                 be employed.
               ❑ Identity.


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              ❑ U.S. citizenship/eligible immigrant status.
              ❑ Social Security Numbers for all family members 6 years of age or older.
              ❑ Preference status, based upon local preferences.
              ❑ Displacement status of single applicants who are involuntarily displaced
                through no fault of their own.
              ❑ Familial/marital status when needed for head or spouse definition.
              ❑ Disability for determination of preferences, allowances or deductions.

      7.6      VERIFICATION OF INCOME
              (24 CFR ~982.516(a)(2)(i)1

              This section defines the methods HACoLA will use to verify various types of
              income.

      7.6.1    Employment Income
               X24 CFR ~5.609(b)(11)1
               Verification forms request the employer to specify the:
                  ➢ Dates of employment
                  ➢ Amount and frequency of pay
                   ➢ Date of the last pay increase
                   ➢ Likelihood of change of employment status and effective date of any
                     known salary increase during the next 12 months
                      Year-to-date earnings
                     Estimated income from overtime, tips, bonus pay expected during next 12
                      months
               Acceptable methods of verification include, in this order:
                   1. Employment verification form completed by the employer.
                   2. Check stubs or earning statements which indicate the employee's gross
                      pay,frequency of pay or year-tadate earnings.
                   3. W2forms plus income tax return forms.
                   4. Income tax returns signed by the family may be used for verifying self-
                       employment income, or income from tips and other gratuities.
               In cases where there are questions about the validity of information provided by
               the family, HACoLA will require the most recent federal income tax statements.

       7.6.2 Social Secur'ity, Pensions. Disability, Supalementary Security Income
             X24 CFR §5.609(b)(4)1
             Acceptable methods of verification include, in this order:
                   1. Benefit verification form completed by agency providing the benefits.




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                 2. Award or benefit notification letters prepared and signed by the providing
                    agency.
                 3. Computer report electronically obtained or in hard copy.

      7.6.3 Unemployment Compensation
            I24 CFR 65.609(b)(5)1
            Acceptable methods of verification include, in this order:
                 1. Verification form completed by the unemployment compensation agency.
                 2. Computer printouts from unemployment office stating payment dates and
                    amounts.
                 3. Payment stubs.

      7.6.4 Welfare Payments or General Assistance
            I24 CFR &5.609(b)(6)]
            Acceptable methods of verification include, in this order:
                 1. HACoLA verification form completed by payment provider.
                 2. Written statement from payment provider indicating the amount of
                    granUpayment, start date of payments, and anticipated changes in
                    payment in the next 12 months.
                 3. Computer-generated Notice of Action.
                 4. HACoLA may also verify this information by accessing the Los Angeles
                    County Department of Public Social Services(DPSS)computer system.

      7.6.5 Alimony or Child Suaaort Payments
            [24 CFR §5.609(bl(7)]
             Acceptable methods of verification include, in this order:
                  1. Copy of a separation or settlement agreement or a divorce decree stating
                     amount and type of support and payment schedules.
                  2. Computerized official printout of payments made if through a state
                     agency.
                  3. A notarized letter from the person paying the support.
                  4. Copy of latest check and/or payment stubs from Court Trustee. HACoLA
                     must record the date, amount, and number of the check.
                  5. Family's self-certification of amount received and of the likelihood of
                     support payments being received in the future, or that support payments
                     are not being received.
                  6. If payments are irregular, the family must provide:
                     • A copy of the separation or settlement agreement, or a divorce decree
                       stating the amount and type of support and payment schedules.
                     • A statement from the agency responsible for enforcing payments to
                       show that the family has filed for enforcement.



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                      A welfare notice of action showing amounts received by the welfare
                      agency for child support.
                    • A written statement from the District Attorney's office or other
                      appropriate agency certifying that a collection or enforcement action
                      has been filed.

      7.6.6 Net Income from a Business
            X24 CFR ~5.609(bl(211
            In order to verify the net income from a business, HACoLA will view IRS and
            financial documents from prior years and use this information to anticipate the
            income and expenses for the next 12 months.
             Acceptable methods of verification include:
                 1. IRS Form 1040, including:
                    • Schedule C (Small Business)
                    • Schedule E (Rental Property Income)
                    • Schedule F (Farm Income)
                 2. If accelerated depreciation was used on the tax return or financial
                    statement, an accountant's calculation of depreciation expense,
                    computed using straight-line depreciation rules.
                 3. Audited or unaudited financial statements) of the business.
                 4. Third party verification forms for each customer/contract indicating the
                     amounts of income received in a specified time period.
              Expenses for rent and utilities will not be allowed for operations or businesses
              based in the subsidized unit, as these expenses are a required family
              contribution in the Housing Choice Voucher Program and are calculated based
              upon the family's income.

       7.6.7 Child Care Business
             If an applicanUparticipant is operating a licensed day care business, income and
             expenses will be verified as with any other business.
              If the applicant/participant is operating a cash and carry operation (which may or
              may not be licensed), HACoLA will require that the applicant/participant complete
              a form for each customer which indicates: name of persons) whose
              child/children is/are being cared for, phone number, number of hours child is
              being cared for, method of payment(check/cash), amount paid, and signature of
              person.
               If childcare services were terminated, athird-party verification will be sent to the
               parent whose child was receiving childcare.

       7.6.8 Recurring Gifts
             f24 CFR ~5.609(b)(7)1
              The family must furnish aself-certification containing the following information:
                     The person who provides the gifts


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                ➢ The value of the gifts
                ➢ The regularity (dates) of the gifts
                ➢ The purpose of the gifts

      7.6.9 Zero-Income Status
            Families claiming to have no income will automatically undergo a credit review.
            The information contained in the credit report will be used to confirm the
            information provided by the family. HACoLA will also utilize records provided by
            the Department of Public Social Services(DPSS).
            Moreover, HACoLA may check records of other departments in the jurisdiction
            that have information about income sources of customers.

      7.6.10 Full-Time Student Status
             X24 CFR ~5.609(c1(11)]
             Only the first $480 of the earned income of full time students 18 years or older
            (including those who are temporarily absent), other than head or spouse, will be
             counted towards family income.
            Financial aid, scholarships and grants received by full time students are not
            counted towards family income.
             Verification of full time student status includes:
                1. Written verification from the registrar's office or other school official,
                2. School records indicating enrollment for sufficient number of credits to be
                   considered afull-time student by the educational institution, and
                3. A copy of final grades.

      7.7    INCOME FROM ASSETS

             Acceptable methods of verification include, in this order:

      7.7.1 Savings Account Interest Income and Dividends
            X24 CFR ~5.609(bl(311
             Will be verified by:
                 1. Account statements, passbooks, certificates of deposit, or HACoLA
                    verification forms completed by the financial institution.
                 2. Broker's statements showing value of stocks or bonds and the earnings
                    credited the family. Earnings can be obtained from current newspaper
                    quotations or oral broker's verification.
                 3. IRS Form 1099 from the financial institution, provided that HACoLA must
                    adjust the information to project earnings expected for the next 12
                    months.




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      7.7.2 Interest Income from Mort4aQes or Similar Arran4ements
            X24 CFR ~5.609(b)(7)1
                1. A letter from an accountant, attorney, real estate broker, the buyer, or a
                   financial institution stating interest due for next 12 months.(A copy of the
                   check paid by the buyer to the family is not sufficient unless a breakdown
                   of interest and principal is shown.)
                2. Amortization schedule showing interest for the 12 months following the
                   effective date of the certification or re-examination.

      7.7.3 Net Rental Income from Proaertv Owned by Family
            [24 CFR ~5.609(b)(311
                1. IRS Form 1040 with Schedule E (Rental Income).
               2. Copies of latest rent receipts, leases, or other documentation of rent
                   amounts.
                3. Documentation of allowable operating expenses of the property: tax
                   statements, insurance invoices, bills for reasonable maintenance and
                   utilities, and bank statements or amortization schedules showing monthly
                   interest expense.

      7.8     VERIFICATION OF ASSETS
              X24 CFR ~982.516(a)(2)(ii)]

      7.8.1   Family Assets
              HACoLA will require the necessary information to determine the current cash
              value, (the net amount the family would receive if the asset were converted to
              cash).
                  1. Verification forms, letters, or documents from a financial institution or
                      broker.
                  2. Passbooks, checking account statements, certificates of deposit, bonds,
                      or financial statements completed by a financial institution or broker.
                  3. Quotes from a stockbroker or realty agent as to net amount family would
                     receive if they liquidated securities or real estate.
                  4. Real estate tax statements if the approximate current market value can
                     be deduced from assessment.
                  5. Financial statements for business assets.
                  6. Copies of closing documents showing the selling price and the distribution
                     of the sales proceeds.
                  7. Appraisals of personal property held as an investment.

       7.8.2 Assets Disaosed of for Less than Fair Market Value(FMV1
             X24 CFR &5.603(b)(3)1
             This includes assets disposed of during finro years preceding effective date of
             certification or re-examination:



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                 1. For all certifications and re-examinations, HACoLA will obtain the family's
                    certification as to whether any member has disposed of assets for less
                    than fair market value during the two years preceding the effective date of
                    the certification or re-examination.
                 2. If the family certifies that they have disposed of assets for less than fair
                    market value, verification [or certification] is required that shows:
                    • All assets disposed of for less than FMV;
                    • The date they were disposed of;
                    • The amount the family received; and
                    • The market value of the assets at the time of disposition. Third party
                      verification will be obtained wherever possible.

      7.9     VERIFICATION OF ALLOWABLE DEDUCTIONS FROM INCOME
              X24 CFR 55.111

      7.9.1   Childcare Exaenses
              f24 CFR ~5.611(a)(4)1
                 1. Written verification from the person who receives the payments is
                    required. If the childcare provider is an individual, s/he must provide a
                    statement of the amount they are charging the family for their services
                    and whether any of the amounts owed have been or will be paid by
                    sources outside the family.
                 2. Verifications must specify the child care provider's name, address,
                    telephone number, the names of the children cared for, the number of
                    hours the child care occurs, the rate of pay, and the typical yearly amount
                    paid, including school and vacation periods.
                 3. Family's certification as to whether any of those payments have been or
                    will be paid or reimbursed by outside sources.

      7.9.2 Medical Expenses
            [24 CFR ~5.611(a)(3)1
              Families who claim medical expenses or expenses to assist a persons) with a
              disability will be required to submit a certification as to whether or not any
              expense payments have been, or will be, reimbursed by an outside source. All
              expense claims will be verified by one or more of the methods listed below:
                  1. Written verification by a doctor, hospital or clinic personnel, dentist,
                     pharmacist, of
                         The anticipated medical costs to be incurred by the family and regular
                         payments due on medical bills, and
                     • Extent to which those expenses will be reimbursed by insurance or a
                         government agency.
                  2. Written confirmation by the insurance company or employer of health
                     insurance premiums to be paid by the family.




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                3. Written confirmation from the Social Security Administration's written of
                   Medicare premiums to be paid by the family over the next 12 months. A
                   computer printout will be accepted.
                4. For attendant care:
                    • A reliable, knowledgeable professional's certification that the
                       assistance of an attendant is necessary as a medical expense and a
                        projection of the number of hours the care is needed for calculation
                        purposes.
                    • Attendants written confirmation of hours of care provided and amount
                        and frequency of payments received from the family or agency (or
                        copies of canceled checks the family used to make those payments)
                        or stubs from the agency providing the services.
                 5. Receipts, canceled checks, or pay stubs that verify medical costs and
                    insurance expenses likely to be incurred in the next 12 months.
                 6. Copies of payment agreements or most recent invoice that verify
                    payments made on outstanding medical bills that will continue over all or
                    part of the next 12 months.
                 7. Receipts or other record of medical expenses incurred during the past 12
                    months that can be used to anticipate future medical expenses. HACoLA
                    may use this approach for general medical expenses such as non-
                    prescription drugs and regular visits to doctors or dentists, but not for one-
                    time, nonrecurring expenses from the previous year.
                 8. HACoLA will use mileage at the IRS rate, or cab, bus fare, or other public
                    transportation cost for verification of the cost of transportation directly
                    related to medical treatment.

      7.9.3 Assistance to Persons with Disabilities
            f24 CFR ~5.611(a)(3)(ii)1
                 1. In all cases:
                         Written certification from a reliable, knowledgeable professional that
                         the person with disabilities requires the services of an attendant
                         and/or the use of auxiliary apparatus to permit him/her to be employed
                         or to function sufficiently independently to enable another family
                         member to be employed.
                         Family's certification as to whether they receive reimbursement for
                         any of the expenses of disability assistance and the amount of any
                         reimbursement received.
                 2. Attendant Care:
                     • Attendant's written certification of amount received from the family,
                       frequency of receipt, and hours of care provided.
                     • Certification of family and attendant and/or copies of canceled checks
                       family used to make payments.
                  3. Auxiliary Apparatus:



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                    • Receipts for purchases or proof of monthly payments and
                      maintenance expenses for auxiliary apparatus.
                    • In the case where the person with disabilities is employed, a
                      statement from the employer that the auxiliary apparatus is necessary
                      for employment.

      7.10   VERIFYING NON-FINANCIAL FACTORS
             X24 CFR ~982.551(b1(111

      7.10.1 Verification of Legal Identity
             In order to prevent program abuse, HACoLA will require applicants to furnish
             verification of legal identity for all family members.
             The documents listed below will be considered acceptable verification of legal
             identity for adults. If a document submitted by a family is invalid or otherwise
             questionable, more than one of these documents may be required.
                 ➢ Certificate of Birth, naturalization papers
                 ➢ Church issued baptismal certificate
                 ➢ Current, valid Driver's license
                 ➢ U.S. military discharge(DD 214)
                 ➢ U.S. passport
                 ➢ Board approved Consulate General identification cards, which are
                   currently Mexico's and Argentina's "Matricula Consular" identification
                   cards
                  ➢ Company/agency Identification Card
                  ➢ Department of Motor Vehicles Identification Card
                  ➢ Hospital records
              Documents considered acceptable for the verification of legal identity for minors
              may be one or more of the following:
                  ➢ Certificate of Birth
                  ➢ Adoption papers
                  ➢ Custody agreement
                  ➢ Health and Human Services ID

       7.10.2 Verification of Marital Status
              ❑ Verification of divorce status will be a certified copy of the divorce decree,
                 signed by a Court Officer.
              ❑ Verification of a separation may be a copy of court-ordered maintenance or
                  other records.
              O Verification of marriage status is a marriage certificate.




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      7.10.3 Familial Relationshias
             The following verifications may be required if applicable:
                 ➢ Verification of relationship:
                    • O~cial identification showing names
                    • Birth Certificates
                        Baptismal certificates
                 ➢ Verification of guardianship:
                    • Court-ordered assignment
                 ➢ Verification from social services agency
                    School records
                    • Affidavit of parent
                    Evidence of a stable family relationship:
                    • Joint bank accounts or other shared financial transactions
                    • Leases or other evidence of prior cohabitation
                    • Credit reports showing relationship

      7.10.4 Verification of Permanent Absence of Adult Member
             If an adult member who was formerly a member of the household is reported
             permanently absent by the family, HACoLA may require one or more of the
             following as verification:
                 1. Husband or wife institutes divorce action.
                 2. Husband or wife institutes legal separation.
                 3. Order of protection/restraining order obtained by one family member
                    against another.
                 4. Proof of another home address, such as utility bills, canceled checks for
                    rent, drivers license, or lease or rental agreement, if available.
                 5. Statements from other agencies such as social services or a written
                    statement from the owner or manager that the adult family member is no
                    longer living at that location.
                 6. If the adult family member is incarcerated, a document from the Court or
                    prison should be obtained stating how long they will be incarcerated.
                  7. A notarized statement by the adult member of the household removing
                     him/herself from the lease and voucher household and providing a
                     forwarding address and effective date of the move.

       7.10.5 Verification of Chanae in Familv Comaosition
              X24 CFR &982.516(cll
              HACoIA may verify changes in family composition (either reported or
              unreported) through letters, telephone calls, utility records, inspections, owners,
              neighbors, credit data, school or DMV records, and other sources.


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      7.10.6 Verification of Disability
             Verification of disability must be receipt of SSI or SSA disability payments under
             Section 223 of the Social Security Act or 102(7) of the Developmental Disabilities
             Assistance and Bill of Rights Act (42 U.S.C. 6001(7) or verified by appropriate
             diagnostician such as physician, psychiatrist, psychologist, therapist,
             rehabilitation specialist, or licensed social worker, using the HUD language as
             the verification format.

      7.10.7 Verification of Citizenship/Eli4ible Immigrant Status
             X24 CFR ~5.508(a)]
             To be eligible for assistance, individuals must be U.S. citizens or eligible
             immigrants. Individuals who are neither may elect not to contend their status.
             Eligible immigrants must fall into one of the categories specified by the
             regulations and must have their status verified by Immigration and Naturalization
             Service (INS). Each family member must declare their status once. Assistance
             cannot be delayed, denied, or terminated while verification of status is pending
             except that assistance to applicants may be delayed while HACoLA hearing is
             pending.
                 1. Citizens or nationals of the United States are required to sign a
                     declaration under penalty of perjury [24 CFR §5.608(b)(1)].
                 2. Eligible immigrants who were participants and 62 or over on June 19,
                    1995, are required to sign a declaration of eligible immigration status and
                    provide proof of age[24 CFR §5.608(b)(2)].
                 3. Noncitizens with eligible immigration status must sign a declaration of
                    status and verification consent form and provide their original immigration
                    documents which are copied front and back and returned to the family[24
                    CFR §5.508(d)(1)]. HACoLA verifies the status through the INS SAVE
                    system. If this primary verification fails to verify status, HACoLA must
                     request within 10 calendar days that the INS conduct a manual search
                    [24 CFR §5.512(c)].
                 4. Ineligible family members who do not claim to be citizens or eligible
                     immigrants must be listed on a statement of ineligible family members
                     signed by the head of household or spouse(24 CFR §5.508(e)].
                 5. Noncitizen students on student visas are ineligible members even though
                    they are in the country lawfully. They must provide their student visa but
                    their status will not be verified and they do not sign a declaration but are
                    listed on the statement of ineligible members[24 CFR §5.522].
              ❑ Failure to Provide: If an applicant or participant family member fails to sign
                required declarations and consent forms or provide documents, as required,
                they must be listed as an ineligible member. If the entire family fails to provide
                and sign as required, the family may be denied or terminated for failure to
                provide required information [24 CFR §5.508(1)].
              ❑ Time of Verification: For applicants, verification of U.S. citizenship/eligible
                immigrant status occurs at the same time as verification of other factors of
                eligibility for final eligibility determination. For participants, it is done at the
                first regular re-examination after June 19, 1995. For family members added



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                after other members have been verified, the verification occurs at the first re-
                examination after the new member moves in. Once verification has been
                completed for any covered program, it need not be repeated except that, in
                the case of port-in families, if the initial HA does not supply the documents,
                HACoLA must conduct the determination [24 CFR §5.508(g)].
             ❑ Extensions of Time to Provide Documents: Extensions must be given for
               persons who declare their eligible immigration status but need time to obtain
               the required documents. The length of the extension shall be based on
               individual circumstances. HACoLA will generally allow up to 30 calendar days
               to provide the document or a receipt issued by the INS for issuance of
               replacement documents[24 CFR §5.508(h)].
             ❑ Acceatable Documents of Eligible Immigration: The regulations stipulate
               that only the following documents are acceptable unless changes are
               published in the Federal Register[24 CFR §5.508(b) and 24 CFR §5.510(b)].
                    • Resident Alien Card (I-551)
                    • Alien Registration Receipt Card (I-151)
                         Arrival-Departure Record (I-94)
                         Temporary Resident Card (I-688)
                    • Employment Authorization Card (I-6888)
                    • Receipt issued by the INS for issuance of replacement of any of the
                         above documents that shows individual's entitlement has been
                         verified
                     A birth certificate is not acceptable verification of status. All documents in
                     connection with U.S. citizenship/eligible immigrant status must be kept
                    five years.
              ❑ Determination of IneliQibility: After HACoLA has made a determination of
                ineligibility, the family will be notified of the determination and the reasons
                and informed of the option for prorated assistance (if applicable).

      7.10.8 Verification of Social Security Numbers
             f24 CFR ~5.216(a)]
             Social Security numbers must be provided as a condition of eligibility for all family
             members, except for children age 5 and under, who have not been assigned a
             number, and family members who are not eligible to obtain a Social Security
             number. Social Security numbers will be verified through a Social Security card
             issued by the Social Security Administration. If a family member cannot produce
             a Social Security card, only the documents listed below showing his or her Social
             Security number may be used for verification. The family is also required to
             certify in writing that the documents) submitted in lieu of the Social Security card
              information provided is/are complete and accurate[24 CFR §5.216(fl]:
                  ➢ A driver's license
                     Identification card issued by a Federal, state or local agency
                  ➢ Identification card issued by a medical insurance company or provider
                    (including Medicare and Medicaid)
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                 ➢ An identification card issued by an employer or trade union
                   An identification card issued by a medical insurance company
                 ➢ Earnings statements or payroll stubs
                 ➢ Bank statements
                 ➢ IRS Form 1099
                 ➢ Benefit award letters from government agencies
                 ➢ Retirement benefit letter
                 ➢ Life insurance policies
                      Court records such as real estate, tax notices, marriage and divorce,
                      judgment or bankruptcy records
                      Verification of benefits or Social Security Number from Social Security
                      Administration
              All new family members, except children age 5 and under, who have not been
              assigned a number, will be required to produce their Social Security card or
              provide the substitute documentation described above together with their
              certification that the substitute information provided is complete and accurate.
              This information is to be provided at the time the change in family composition is
              reported to HACoLA [24 CFR §5.216(a)].
              If an applicant or participant is able to disclose the Social Security number but
              cannot meet the documentation requirements, the applicant or participant must
              sign a certification to that effect provided by HACoLA. The applicanUparticipant
              or family member will have an additional 60 calendar days to provide proof of the
              Social Security number. If they fail to provide this documentation, the family's
              assistance will be terminated [24 CFR §5.216(8)].
              If the family member states they have not been issued a number, the family
              member will be required to sign a cert~cation to this effect.

       7.10.9 Medical Need for Larger Unit
                A written certification that a larger unit is medically necessary must be obtained
               from a reliable, knowledgeable medical professional.

       7.10.10 Secondary Review/Credit Checks
               HACoLA uses credit reports obtained from reliable sources to conduct
               secondary verifications of applicants and participants. Starting in January
               2001, HACoLA obtains credit reports for 20 percent of randomly selected new
               families, and a randomly selected portion of ongoing program participants.
               The methodology used to evaluate the information obtained from the credit
               report in relation to new applicants is outlined in Chapter 3 (Applications
               Process).
                For continuously assisted families, HACoLA will routinely select, at random, a
                pre-identified number of families to undergo a secondary verification.
                Approximately 1,500 — 2,000 families will be reviewed annually. The
               secondary review includes a comparison between the information contained in


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              the credit report, for each adult household member, and the information
              provided by the family to HACoLA for eligibility purposes. Specifically,
              HACoLA reviews the credit report to verify:
                ➢ Employment: If the credit report reveals employment during the
                   subsidized period that was not disclosed to HACoLA, the family will be
                   required to provide documentation that the employment did not occur or
                   provide information regarding the amount of earnings received during the
                   employment period.
                   If the family contends that the employment was made up for the purposes
                   of obtaining credit or was erroneously placed on the credit report, the
                   family must supply a letter from the employers listed confirming such
                    information. On a case-by-case basis, HACoLA may accept a certified
                   statement from the family.
                    If the family failed to disclose employment for a period longer than 6
                    months, HACoLA will propose termination of the family's assistance and
                   seek repayment of any overpayment.
                    If the family failed to disclose employment for less than 6 months, the
                    family will be required to attend a counseling interview and re-sign all
                     program documents re-enforcing the family's obligations. The family will
                    also be required to repay any overpayment amount. A second violation of
                    this nature will result in a proposed termination.
                 ➢ Assets: The credit report information will be used to verify assets,
                   particularly, large items such as real estate property. If the credit report
                   reveals that the family owns property, the family will be required to
                   provide the appropriate documentation regarding the property.
                   If all documentation confirms that the family.(any family member) -owns
                   real estate property that was purposely concealed, HACoLA will propose
                   termination of assistance and seek repayment of any overpayment
                   amount.
                 ➢ Aliases: A credit report can provide information on other names that have
                    been used for the purposes of obtaining credit. Common reasons for use
                   of other names include a recent marriage or a divorce. If an alias has not
                    been disclosed to HACoLA, the family will be asked to provide additional
                   evidence of the legal identity of adult family members.
                 ➢ Current and Previous Addresses: For a continuously assisted family, it
                    is assumed that the family's primary residence is the assisted address. If
                    the cretfit report indicates the continuous use of an address, other than
                    that of the assisted unit during the subsidized period, the family will be
                    asked to provide documentation that the assisted address is being used
                    as the family's primary residence. This may include a history of utility
                     bills, bank statements, school enrollment record for children, credit card
                    statements or other relevant documents. Failure to provide adequate
                     proof may result in termination of assistance.
                     If the family is not using the subsidized unit as their primary residency
                     and/or is subletting the assisted unit, the file will be referred for proposed



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                termination and HACoLA will seek full repayment of any overpayment
                amount.
              ➢ Credit Card and Loan Payments: A credit report will usually include a
                list of the family's financial obligations. Examples of the items that may
                show up include car loans, mortgage loans, student loans and credit card
                 payments. HACoLA will review this information to confirm the income
                 and asset information provided by the family. If the family's current
                financial obligations (total amount of current monthly payments) exceed
                the amount of income reported by the family, HACoLA will ask the family
                 to disclose how they are currently meeting their financial obligations.
                 Accounts that have been charged off or significantly delinquent are not
                 included in this calculation. Failure to provide adequate proof of income
                 will result in the file being referred for proposed termination. Additionally,
                 HACoLA will seek full repayment of any overpayment amount.
              ➢ Multiale Social Security Numbers: A credit report may list multiple
                 Social Security numbers if an adult family member has used different
                 Social Security numbers to obtain credit. If the credit report information
                 does not match the information provided by an adult member of the
                 family, the family member will be required to obtain written confirmation of
                 the Social Security number that was issued to him/her ftom the Social
                 Security Administration.
                  Whenever a violation results in a proposed termination, the family is
                  entitled to request an informal hearing. Procedures governing the informal
                  hearing process are outlined in Chapter 16 (Informal Hearings and
                  Complaints).




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                                         CHAPTER 8:
                               VOUCHER ISSUANCE AND BRIEFINGS

      8.1      INTRODUCTION

               HACoLA's objectives are to assure that families selected to participate are
               successful in obtaining an acceptable housing unit, and that they have sufficient
               knowledge to derive maximum benefit from the program and to comply with
               program requirements. When families have been determined to be eligible,
               HACoLA will conduct a mandatory briefing to ensure that families know how the
               program works. The briefing will provide a broad description of owner and family
               responsibilities, HACoLA procedures, and how to lease a unit. The family will
               also receive a briefing packet that provides more detailed information about the
               program. This chapter describes how briefings will be conducted, the information
               that will be provided to families, and the policies for how changes in the family
               composition will be handled.

      8.2      ISSUANCE OF HOUSING CHOICE VOUCHERS

               When funding is available, HACoLA will issue vouchers to applicants whose
               eligibility has been determined.
               The number of vouchers issued must ensure that HACotA stays as close as
               possible to 100 percent lease-up. HACoLA performs a calculation to determine
               whether applications can be processed, the number of vouchers that can be
               issued, and to what extent HACoLA can over-issue.
               HACoLA may over-issue vouchers only to the extent necessary to meet leasing
               goals. All vouchers that are over-issued must be honored. If HAColA finds it is
               over-leased, it must adjust future issuance of vouchers in order not to exceed the
               ACC budget limitations for the fiscal year.

      8.3      BRIEFING TYPES AND REQUIRED ATTENDANCE
               f24 CFR 5982.301(a)1

       8.3.1    Initial Aaalicant Briefing
                A full HUD-required briefing will be conducted for applicant families who are
                determined to be eligible for assistance. The briefings will be conducted in
                groups or individual meetings. Families who attend group briefings and still have
                the need for individual assistance will be referred to the appropriate staff person.
                Briefings will be conducted in English.
                The purpose of the briefing is to explain the documents in the voucher holder's
                packet to families so that they are fully informed about the program. This will
                enable them to utilize the program to their advantage, and it will prepare them to
                discuss it with potential owners and property managers.
                HACoLA will not issue a voucher to a family unless the household representative
                has attended a briefing and signed the voucher. Applicants who provide prior
                notice of inability to attend a briefing will automatically be scheduled for the next
                briefing. Applicants who fail to attend scheduled briefings, without prior
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            notification and approval of HACoLA, may be denied admission based on failure
            to supply information needed for certification. HACoLA will conduct individual
            briefings for families with disabilities at their home, upon request by the family, if
            required for reasonable accommodation.

      8.3.2 Briefin Packet
            X24 CFR ~982.301(b)1
            HACoLA will provide the family with a briefing packet of materials. The packet
            includes forms and information required by HUD, as well as additional resources,
            as follows:
                1. Voucher instructions that explain the term of the voucher, and policies
                    on extensions and suspensions.
                2. Payment Standards for Los Angeles County and Small Cities: Provides
                    the calculated payment standards for HACoLA's jurisdiction by unit size
                   (number of bedrooms).
                3. Estimated Rent Calculation/Subsidy Profile: A worksheet on rent
                    calculations, including a description of the method used to calculate the
                    assistance payment, how the minimum and maximum allowable rent is
                    determined, payment standard determination, and an estimated
                    calculation of the maximum rent to suit the tenant's budget.
                4. Information on where the family can lease a unit, including portability
                   procedures for tenants looking to relocate, a list of local and nationwide
                   housing authorities, and a form for participants who are requesting to
                   transfer.
                5. The HUD-required "tenancy addendum" (HUD-53641) that must be
                   included in the lease.
                6. The Request for Tenancy Approval (RTA)form, which the family uses
                   to request PHA approval of the assisted tenancy. This document
                   explains the new contracts process, including how to request approval.
                7. Information on Subsidy and Requests for Waivers: Explains how the
                     number of bedrooms allowed (unit size) relates to family composition, and
                     when and how exceptions are made in regards to requests for additional
                     bedrooms.
                8. The HUD brochure, A Good Place to Live, on how to select a unit that
                     complies with HQS.
                9. Information on federal, State and local equal opportunity laws, and a
                     copy of HUD-906-3, the housing discrimination complaint form.
                10. A list of properties available for rent. Owners or other parties willing to
                      lease to assisted families submit unit listings which HACoLA compiles
                      and distributes. The list includes any available information on units that
                      are accessible to persons with disabilities.
                 1 1. Guidance on searching for a rental home and submitting a successful
                      rental application.




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                12. A statement of the family obligations under the program, and
                    consequences including termination of assistance if the family fails to
                    comply.
                13. Information on HACoLA's informal hearing procedures, including
                    explanations of when participant families have the opportunity for an
                    informal hearing, and how to request a hearing.
                14. The Utility Allowance Schedule, which provides utility allowance
                    amounts for rental units, by unit size and utility type, for cities and
                    unincorporated areas within HACoLA's jurisdiction.
                 15. Protect Your Family From Lead In Your Home, a brochure on the
                     hazards of lead-based paint and resources for additional information.
                 16. HACoLA's policy on conducting credit and background checks.
      The packet may also include the following materials:
             ❑ Fact sheet or information on the Section 8 Program.
             ❑ A Section 8 program overview for owners.
             ❑ Owner forms, such as:
                  • IRS Form W-9 (Request for Taxpayer Identification Number and
                      Certification).
                    • Letter of Authorization.
                    • Authorization Agreement for Automatic Deposit Form.

      8.3.3 Other Information to be Provided at the Briefing
            [24 CFR 5982.301(al]
             The person conducting the briefing will also describe how the program works and
             the relationship between the family and the owner, the family and HACoLA, and
             HACoLA and the owner.
              The briefing presentafion emphasizes:
                 ➢ Family and owner responsibilities;
                  ➢ Where a family may lease a unit inside and outside HACol~4 jurisdiction;
                  ➢ How portability works for families eligible to exercise portability;
                  ➢ Advantages to moving to areas with low concentration of poor families if
                    family is living in a high poverty census tract in HACoLA jurisdiction;
                  ➢ The Family Self-Sufficiency program and its advantages; and
                  ➢ If the family includes a person with disabilities, HACoLA will ensure
                    compliance with 24 CFR §8.6 to ensure effective communication.

       8.3.4 Re-Issuance Briefing
             A briefing will be held for participants who will be re-issued vouchers to move, if
             they have been re-certified within the last 60 calendar days, and have given
             proper notice of intent to vacate to their owner. This briefing may include



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             incoming and outgoing portable families. Families whose re-examinations are
             older than 60 calendar days must be re-certified in order to be briefed to move.
             Families failing to attend a scheduled briefing twice will be denied a new voucher
             based on failure to provide required information.

      8.3.5 Owner Briefing
             Briefings are held for owners at least annually. All owners receive a mailed
             invitation. Prospective owners are also welcome. The purpose of the briefing is
             to assure successful owner participation in the program.

      8.4


             At the briefing, families are encouraged to search for housing in non-impacted
             areas and HACoLA will provide assistance to families who wish to do so.
             The assistance provided to such families includes:
                 ➢ Direct contact with owners;
                    Counseling with the family;
                 ➢ Providing information about services in various non-impacted areas;
                 ➢ Meeting with neighborhood groups to promote understanding;
                 ➢ Formal or informal discussions with owner groups;
                 ➢ Formal or informal discussions with social service agencies;
                 ➢ Meeting with rental referral companies or agencies; and
                 ➢ Meeting with fair housing groups or agencies.
             HACoLA will maintain a database of available housing submitted by owners in all
             neighborhoods within its jurisdiction to ensure greater mobility and housing
             choice to very low-income households. The Marketing List will be made available
             to voucher holders who are actually seeking housing.

       8.5   SECURITY DEPOSIT REQUIREMENTS
             f24 CFR X982.3131

              Security deposits charged by owners may not exceed those charged to
              unassisted families (nor the maximum prescribed by State or local law.)
              For lease-in-place families, responsibility for first and last month's rent is not
              considered a security deposit issue. In these cases, the owner should settle the
              issue with the family prior to the beginning of assistance.

       8.6    TERM OF VOUCHER
              X24 CFR ~982.301(bl(111

              During the briefing session, each household will be issued a voucher which
              represents a contractual agreement befinreen HACoLA and the family, specifying



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              the rights and responsibilities of each party. It does not constitute admission to
              the program, which occurs when the lease and contract become effective.

      8.6.1   Exairations
              X24 CFR ~982.3031a11
              The voucher is valid for a period of 60 calendar days from the date of issuance.
              The family must submit a Request for Tenancy Approval and Lease within the 60
              calendar day period unless an extension has been granted by HACoLA.
              If the voucher has expired, and has not been extended by HACoLA or expires
              after an extension, the family will be denied assistance. The family will not be
              entitled to a review or hearing. If the family is currently assisted, they may remain
              as a participant in their unit if there is an assisted lease/contract in effect.

      8.6.2 Policv on Suspensions (Tollinct)
            j24 CFR 982.303(c)l
              When a Request for Tenancy Approval is received, HACoLA will not deduct the
              number of calendar days required to process the request from the term of the
              voucher.

      8.6.3 Extensions
            [24 CFR ~982.303(b)l
              HACoLA may grant extensions to vouchers.
              A family may request an extension of the voucher time period. All requests for
              extensions must be received prior to the expiration date of the voucher.
              Extensions may be granted in 30, 60, or 120-day increments, up to a maximum
              term of 180 calendar days, if necessary for the tenant to locate a unit.
              Housing Supervisors may authorize extensions up to a maximum term of 270
              calendar days for extenuating circumstances or as a reasonable accommodation.
              Such matters will be considered on an individual basis and must be supported by
              verifiable third party documentation.

       8.6.4 Assistance to Voucher Holders
             [24 CFR ~982.301(b)1
               Families who require additional assistance during their search may call the
               Marketing List for a listing of available units. Information regarding the Marketing
               List will be presented at the briefing session.
               HACoLA will assist families with negotiations with owners and provide other
               assistance related to the families' search for housing.

       8.7     VOUCHER ISSUANCE DETERMINATION FOR SPLIT HOUSEHOLDS
               X24 CFR X982.315]

               In those instances when a family assisted under the Housing Choice Voucher
               Program becomes divided into finro otherwise eligible families due to divorce,
               legal separation, or the division of the family, and the new families cannot agree
               as to which new family unit should continue to receive the assistance, and there


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             is no determination by a court, HACoLA shall consider the following factors to
             determine which of the families will continue to be assisted:
                 1. Which of the finro new family units has custody of dependent children.
                2. Which family member was the head of household when the voucher was
                   initially issued (listed on the initial application).
                3. The composition of the new family units, and which unit contains elderly
                   or disabled members.
                4. Whether domestic violence was involved in the breakup.
                5. Which family members remain in the unit.
                6. Recommendations of social service professionals.
             Documentation of these factors will be the responsibility of the requesting parties.
             If documentation is not provided, HACoLA will terminate assistance on the basis
             of failure to provide information necessary to complete the annual re-
             examination.
             Where the breakup of the family also results in a reduction of the size of the
             voucher, the family will be required to move to a smaller unit if the current owner
             is unwilling to accept the rent level of the smaller sized certificate.

      8.8    REMAINING MEMBER OF FAMILY —RETENTION OF VOUCHER

             To be considered the remaining member of the family, the person must have
             been previously approved by HACoLA to be living in the unit.
             A live-in attendant, by definition, is not a member of the family and will not be
             considered a remaining member of the Family.
             In order for a minor child to continue to receive assistance as a remaining family
             member:
                 1. The court has to have awarded emancipated minor status to the minor, or
                 2. HACoLA has to have verified that social services and/or the Juvenile
                    Court has arranged for another adult to be brought into the assisted unit
                    to care for the child/children for an indefinite period.
              A reduction in family size may require a reduction in the voucher size.

       8.9    FAMILY VOLUNTARILY RELINQUISHES HOUSING CHOICE VOUCHER

              The family may voluntarily relinquish their voucher at any time. In such cases,
              HACoLA will provide the owner of the property with a 30 calendar days notice
              indicating that rental assistance will terminate based on the family's request. The
              family will become fully liable for the contract rent after 30 calendar days.
              Generally, HACoLA will not re-instate a family once a request for voluntary
              termination has been received. However, as a reasonable accommodation,
              HACoLA will review requests for reinstatements received within 6 months and
              make a determination on a case-by-case basis.



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             If a family voluntarily relinquishes their voucher in lieu of facing termination,
             HACoLA will continue to seek to recover any monies that may be due HACoLA
             as a result of misrepresentation or other breach of program regulations.




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                                   CHAPTER 9:
            THE NEW CONTRACT PROCESS REQUEST FOR TENANCY APPROVAL AND
                               CONTRACT EXECUTION

          9.1     INTRODUCTION
                  X24 CFR 6982.302(b) and 24 CFR 6982.353(b)1

                  After families are issued a voucher, they may search for a unit anywhere within
                  HACoLA's jurisdiction, or outside of HACoLA's jurisdiction if they qualify for
                  portability. The family must find an eligible unit under the program rules, with an
                  owner who is willing to enter into a Housing Assistance Payments(HAP)contract
                  with HACoLA. This chapter defines the types of eligible housing, HACoLA's
                  policies which pertain to lease requirements, owner disapproval, and the
                  processing of Requests for Tenancy Approval (RTA).

          9.2      REQUEST FOR TENANCY APPROVAL
                  [24 CFR 6982.302(c1]

                  The family must submit the RTA and a copy of the proposed lease during the
                  term of the voucher. Both the owner and the voucher holder must sign the RTA.
                  HACoLA will not permit the family to submit more than one RTA at a time.
                  The RTA will be approved if[24 CFR §982.302(d)]:
                      1. The unit is an eligible type of housing;
                      2. The unit passes an inspection (based on HUD's Housing Quality
                         Standards and HACoLA's requirements, detailed in Chapter 10);
                      3. The rent is reasonable;
                      4. The security deposit amount is approvable;
                      5. The proposed lease complies with HUD and HACoLA requirements, and
                         State and local law;
                      6. The owner is approvable, and there are no conflicts of interest; and
.                     7. All applicable lead-based paint disclosure requirements have been met.
                         See Chapter 10, Section 10.4.1 for more information on lead-based paint.

          9.2.1    Disaparoval of RTA
                   X24 CFR &982.302(d)1
                   If HACoLA determines that the RTA cannot be approved for any reason, the
                   owner and the family will be notified in writing. HACoLA will instruct the owner
                   and family of the steps that are necessary to approve the Request.
                   The owner will be given five calendar days to submit an approvable RTA from the
                   date of disapproval unless the reason for the disapproval is the result of multiple
                   failed inspections (three or more failed HQS inspections).
                   When,for any reason, an RTA is not approved, HACoIA will furnish another RTA
                   form to the family along with the notice of disapproval so that the family can
                   continue to search for eligible housing.



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              HACoLA will suspend the term of the voucher while the RTA is being processed.
              Therefore, the length of time allotted to a family for the purpose of locating
              another unit will be based on the number of days left on the term of the voucher
              at the time the RTA was submitted to HACoLA [24 CFR §982.303(b)].

      9.3     ELIGIBLE TYPES OF HOUSING
              L24 CFR ~982.352~

              HACoLA will approve the following types of housing in the voucher program:
                 ➢ Single-family dwellings, including condos and townhouses.
                  ➢ Manufactured homes where the family leases the mobile home and the
                    pad [24 CFR §982.620(a)(2)].
                    Manufactured homes where the family owns the mobile home and leases
                    the pad [24 CFR §982.620(a)(3)].
                     Multifamily dwellings (apartment buildings).
                  ➢ Units owned but not subsidized by HACoLA (HUD-prescribed
                     requirement).
              A family can own a rental unit but cannot reside in it while being assisted, except
              in the cases involving manufactured homes when the family owns the mobile
              home and leases the pad. A family may lease in and have an interest in a
              cooperative housing development.
               HACoLA may not permit a voucher holder to lease a unit which is receiving
               project-based Section 8 assistance or any duplicative rental subsidies.

      9.3.1    Ineligible Housinct Tvpes
               X24 CFR 6982.352(a11
               HACoLA will not approve:
                  ➢ A unit occupied by the owner or by any person with an interest in the unit,
                    other than manufactured homes described above.
                  ➢ Nursing homes or other institutions that provide care.
                  ➢ School dormitories and institutional housing.
                  ➢ Structures that have not been properly converted. Owners will be required
                    to provide finalized permits for all conversion work when the integrity
                    and/or soundness of a structure is in question.
                  ➢ Converted garages or other structures not intended to be living areas.
                   ➢ Any other types of housing prohibited by HUD.

       9.3.2 Restrictions On Renting To Relatives
              X24 CFR G982.306(d)1
              In accordance with HUD policy, the family may not rent a unit from an owner
             (including a principal or other interested party) who is the parent, child,
              grandparent, grandchild, sister or brother of any member of the family. This
              restriction applies to all new contracts entered into after June 16, 1998.


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            Exceptions may be made to this policy as a reasonable accommodation for
            persons with a disability. HACoIA will review all such requests on a case-by-
            case basis. The family will be required to provide documentation of disability and
            how the particular unit, owned by the relative, could benefit the disabled person.
            Owners must provide the current address of their residence (not a Post Office
            box). If families lease properties owned by relatives, the owner's current address
            will be compared to the subsidized unit's address.
            Owners must provide an Employer Identification Number or Social Security
            number, and may also be required to provide a copy of their driver's license or
            other photo identification. In addition, HACoLA may request a copy of the
            owner's current utility bills and bank statement.
            Failure to provide adequate documentation, within the specified time period (two
            weeks), will be grounds for denial of such request.
            In all cases, the owner of the assisted unit may not reside in the unit with the
            assisted household, at any time during the term of the Housing Assistance
            Payment(HAP) Contract befinreen HACoLA and the owner.

      9.4    LEASE AGREEMENTS
            [24 CFR X982.308 - b982.3091

             The tenant and the owner must enter a written lease for the unit. If the owner
             uses a standard lease form for rental to unassisted tenants in the locality or the
             premises, the lease must be in such standard form, plus the required HUD
             Tenancy Addendum, which HACoLA will provide to the owner.
             HACoLA will review the lease for compliance with regulations. At minimum, the
             lease must specify the following information:
             ❑ The names of the owner and tenant;
             ❑ The address of the unit rented;
             ❑ The term of the lease including the initial term and any provisions for renewal;
             ❑ The amount of the monthly rent to owner; and
             ❑ A specification of which utilities and appliances will be supplied by the owner,
                and which by the family.
             The lease must provide the following are grounds for the owner to terminate
             tenancy [24 CFR §982.310(c)]:
             ❑ Drug- related criminal activity engaged in, on or near the premises by any
               tenant, household member, or guest, or such activity engaged in on the
               premises by any other person under the tenant's control. In addition, the
               lease must provide that the owner may evict a family when the owner
               determines that a household member is illegally using a drug or when the
               owner determines that a pattern of illegal use of a drug interferes with the
                health, safety, or right to peaceful enjoyment of the premises by other
                residents.
             ❑ Any of the following types of criminal activity by a covered person:




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                ➢ Any criminal activity that threatens the health, safety, or right to peaceful
                  enjoyment of the premises by other residents (including property
                  management staff residing on the premises);
                ➢ Any criminal activity that threatens the health, safety, or right to peaceful
                  enjoyment of their residences by persons residing in the immediate
                  vicinity of the premises; or
                ➢ Any violent criminal activity on or near the premises by a tenant,
                  household member, or guest, or any such activity on the premises by any
                  other person under the tenant's control.
             ❑ If a tenant is:
                  ➢ Fleeing to avoid prosecution, or custody or confinement after conviction,
                     for a crime, or attempt to commit a crime, that is a felony under the laws
                     of the place from which the individual flees, or
                     Violating a condition of probation or parole imposed under Federal or
                     State law.
             If the owner does not have a standard lease form, the owner may request a
             sample lease.
             When needed, HACoLA may require the owner and family to execute a lease
             rider that changes the rent amount and/or effective date on the owner's original
             lease.
             The effective date of the lease and the HAP contract will be based on the date
             the unit passed inspection or the family took possession of the unit, whichever is
              later. For this purpose, the family is considered to be in possession of the unit
              when the family has a key to the unit and the unit is fully available for the family's
             exclusive use [24 CFR §982.305(b)].

      9.4.1 Seaarate Agreements
            [24 CFR &982.510(c11
             Separate agreements are not necessarily prohibited. Families and owners will
             be advised of the prohibition of illegal side payments for additional rent, or for
             items normally included in the rent of unassisted families, or for items not shown
             on the approved lease.
             Owners and families may execute separate agreements for services (parking
             space), appliances (other than range and refrigerator) and other items that are
              not included in the lease if the agreement is in writing and approved by HACoLA.
              Any appliances, services or other items which are routinely provided to
              unassisted families as part of the lease (such as air conditioning, dishwasher or
              garage) or are permanently installed in the unit, cannot be put under separate
              agreement and must be included in the lease. For there to be a separate
              agreement, the family must have the option of not utilizing the service, appliance
              or other item.
              HACoLA is not liable for unpaid charges for items covered by separate
              agreements and nonpayment of these agreements cannot be cause for eviction.




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             If the family and owner have come to a written agreement on the amount of
             allowable charges for a specific item, so long as those charges are reasonable
             and not a substitute for higher rent, they will be allowed.
             All agreements for special items or services must be attached to the lease
             approved by HAColA. If agreements are entered into at a later date, they must
             be approved by HACoLA and attached to the lease.

      9.5    INITIAL INSPECTIONS

             See Chapter 10(Housing Quality Standards and Inspections).

      9.6    RENT LIMITATIONS
             X24 CFR X982.5081

             In accordance with HUD regulations, at the time the family initially receives
             assistance for a new unit, the family's share of the rent for the unit (includes
             utilities and the rent to the owner) may not exceed more than 40 percent of the
             family's adjusted monthly income if the gross rent for the unit exceeds the
             payment standard.
             If the gross rent (rent plus utilities) does not exceed the payment standard, the
             family may contribute more than 40 percent of their monthly income towards rent.
             Although HUD does not place limits on the amount that a family may contribute
             towards rent (if the family is a continuing family or the gross rent for an initial
             lease does not exceed the payment standard), HACoLA is concerned about
             affordability. Therefore, whenever a family is contributing more than 60 percent
             of their adjusted family income towards rent, the family will be required to attend
             an affordability counseling session at HACoLA. Trained staff will review the
             family's financial situation and review the family's ability to meet their rental
             obligation. If the family discloses that they are concerned about their ability to
              meet their rental obligation, HACoLA will work with the family to help them locate
             another affordable unit. If the family indicates that they are able to meet all of
             their current financial obligations, the family will be allowed to proceed with their
              request to move into the unit. A notation will be made in the family's file.

      9.7     RENT REASONABLENESS
             [24 CFR ~982.507(a)(111

              A rent reasonable test will be used to determine if the rent amount request by the
              owner can be approved. HACoLA's rent reasonableness policy, including
              appeals process, is covered in Chapter 11 (Setting Payment Standards and
              Determining Rent Reasonableness).

       9.8    INFORMATION TO OWNERS
             (24 CFR ~982.307(b11

              HACoLA is required to provide prospective owners with the address of the
              applicant and the names and addresses of the current and previous owner if
              known. HACoLA will make an exception to this requirement if the family's



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             whereabouts must be protected due to domestic abuse or witness protection.
             HACoLA will not release any other information regarding the family.
             HACoLA will inform owners that it is the responsibility of the owner to determine
             the suitability of prospective tenants. Owners will be encouraged to screen
             applicants for rent payment history, eviction history, damage to units, and other
             factors related to the family's suitability as a tenant[24 CFR §982.307(a)).
             Information regarding HACoLA's policy on this subject is included in the briefing
             packet and as an attachment to the Request for Tenancy Approval. This policy
             will apply uniformly to all families and owners.
             In addition to the information listed above, HACoLA provides owner workshops at
             least fin►ice a year. At the workshops, current and prospective owners are given
             an overview of the program and information about any significant program
             changes. There is also ample time for a question and answer session.

      9.9    OWNER DISAPPROVAL
             f24 CFR ~982.306(a) - ~982.306(c)(4)1

             For purposes of this section, "owner" includes a principal or other interested
             party.
             HACoLA is required to disapprove an owner for the following reasons:
                 ➢ HUD has informed HACoLA that the owner has been disbarred,
                    suspended, or subject to a limited denial of participation under 24 CFR
                    Part 24.
                 ➢ HUD has informed HACoLA that the federal government has instituted an
                    administrative or judicial action against the owner for violation of the Fair
                    Housing Act or other federal equal opportunity requirements and such
                    action is pending.
                  ➢ HUD has informed HACoLA that a court or administrative agency has
                     determined that the owner violated the Fair Housing Act or other Federal
                     equal opportunity requirements.
              HACoLA also maintains the discretion to disapprove an owner for the following
              reasons:
                  ➢ The owner has violated obligations under a housing assistance payments
                     contract under Section 8 of the 1937 Act(42 U.S.C. 1437fl.
                 ➢ The owner has committed fraud, bribery or any other corrupt act in
                   connection with any Federal housing program.
                 ➢ The owner has engaged in drug trafficking.
                  ➢ The owner has a history or practice of non-compliance with the HQS for
                    units leased under the tenant-based programs or with applicable housing
                    standards for units leased with project-based Section 8 assistance or
                    leased under any other Federal housing program.
              Additionally, in accordance with the policy outlined in Section 9.3.2 (Renting to
              Relatives), HACoLA will not approve an owner who is the parent, child,
              grandparent, grandchild, sister or brother of any member of the assisted family.


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      9.10   CHANGE IN TOTAL TENANT PAYMENT(TTP)PRIOR TO HAP EFFECTIVE
             DATE

             When the family reports changes in factors that will affect the Total Tenant
             Payment(TTP) prior to the effective date of the HAP contract, the information will
             be verified and the TTP will be recalculated. If the family does not report any
             change, HACoLA need not obtain new verifications before signing the HAP
             contract, even if verifications are more than 60 calendar days old.

      9.11    CONTRACT EXECUTION PROCESS
             [24 CFR ~982.305(c)]

             Provided that the unit passes inspection, HACoLA will prepare the HAP contract
             for execution. The family and the owner will execute the lease agreement, and
             the owner and HACoLA will execute the HAP contract. Copies of the documents
             will be furnished to the parties who signed the respective documents.
             HACoLA makes every effort to execute the HAP contract before the
             commencement of the lease term. The HAP contract may not be executed more
             than 60 calendar days after commencement of the lease term and no payments
             will be made until the contract is executed.
             The following HACoLA representatives are authorized to execute a contract on
             behalf of HACoLA: Assisted Housing's Division Director, Assistant Director,
             Assistant Managers and Housing Supervisors.
             Owners must provide the current address of their residence (not a Post Office
             box). If families lease properties owned by relatives, the owner's current address
             will be compared to the subsidized unit's address.
              Owners must provide an Employer Ident~cation Number or Social Security
              number, and may also be required to provide a copy of their driver's license or
              other photo identification.

       9.11.1 Determining the Contract Effective Date
              The effective date and the amount of the rental payment is communicated in
              writing to both the owner and family.
              If the owner and the family have entered into a lease and provide a copy of the
              lease with the RTA, the effective date of the contract will be either:
                   1. The date the unit passed inspection (for families residing in the unit prior
                      to the inspection date), or
                   2. The date that HACoLA authorized the owner to allow the family to take
                      possession of the unit.
              The contract effective date will be based on the later of these two dates. If the
              owner and the family have not executed a lease prior to the HAP contract
               negotiation process, then the HAP contract will become effective once the lease
               has been properly executed by both parties.




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     9.11.2 Prorating First Month's Rent
            When the effective date of a new contract begins on a day other than the first of
            the month, HACoLA will determine a prorated contract rent amount. For
            consistency with rental industry standards, prorated amounts will be calculated
            by using 30 days to establish a daily rate. Please refer to memo dated 3/3/05.

      9.11.3 Proof Of Ownership
             In addition to the items listed above, HACoLA also requires owners to provide
             proof of ownership of the assisted unit. Acceptable documents include a
             recorded grant deed, a property tax bill, property insurance documentation and/or
             if the property was recently acquired, copies of closing escrow documents.
              HACotA also uses property profile information obtained from a private vendor to
             confirm ownership.
              Generally, HACoLA will only require one form of proof of ownership. However, if
              ownership is questionable, additional documentation will be requested and must
              be provided prior to executing a HAP contract. Failure to provide the requested
              information within a reasonable period of time, generally not more than 30
              calendar days, will result in a cancellation of the RTA.

      9.11.4 Establishing EliQibility To Execute HAP Contract And Related Documents
             In cases involving multiple owners, HACoLA will accept the signature of a
             designee on all contracts and related paperwork if all the legal owners have
             jointly agreed on the person/persons who may act on their behalf.
             To establish signature and/or payment authority, HACoLA requires that all
              persons who have interest in the property sign a letter of authorization giving one
              or more parties the right to sign contracts, other program documents and/or
              receive payments on behalf of the owners.
              In cases involving a partnership, HACoLA may request the partnership
              agreement or incorporation documents to determine who is designated to act on
              the group's behalf.
              HACoLA will not execute a HAP Contract until all the proper authorization, from
              all the appropriate parties, has been provided. Failure to provide information
               needed to establish authority to execute the HAP contract within a reasonable
              time, generally 30 calendar days, may result in a cancellation of the RTA.
              Once HACoLA has established proper. authorization, the letter of authorization
              will remain in effect until superceded by another authorization or the HAP
              contract is terminated. All changes or modification to the instructions provided in
              the current letter of authorization must be provided in writing.

       9.11.5 Payment To The Owner
             [24 CFR ~982.311(a)]
              Once the HAP Contract is executed, HACoLA begins processing payments to the
              owner. Because HACoLA's sole method of payment to owners is direct deposit,
              new and existing owners must provide the necessary information for enrollment
              in HACoLA's direct deposit program. Payments will be made via direct deposit
              by the first of each month. Owners must notify HACoLA of any missing


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             payments as soon as possible. HACoLA will accept report of missing payment
             both via a telephone call and/or in writing.

      9.12   CHANGE IN OWNERSHIP

             A change in ownership does not require execution of a new contract.
             HACoLA will process a change of ownership only upon the written request of the
             previous or new owner and only if accompanied by a copy of the escrow
             statement or other document showing the transfer of title and the Employee
             Identification Number or Social Security number of the new owner.
             In order to complete a change of ownership, the new owner must complete an
             Assumptions of Obligations and Benefits contract. This form obligates the new
             owner to the HAP contract. HACoLA will provide this document once a written
             request for a change is received.
             When the assumption contract has been executed, HACoLA will send a copy of
             it, along with a copy of the original HAP contract and lease, to the new owner.
             New owners are subject to HACoLA's owner disapproval policy as outlines in
             Section 9.9 of this chapter.




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                                    CHAPTER 10:
                     HOUSING QUALITY STANDARDS AND INSPECTIONS

      10.1   INTRODUCTION

             This chapter describes HACoLA's procedures for implementing Housing Quality
             Standards (HQS), conducting different inspections, and setting standards for the
             timeliness of repairs. It also explains the responsibilities of the owner and family,
             and the consequences for noncompliance with HQS by the owner and family.

      10.2   TYPES OF INSPECTIONS
             X24 CFR 6982.405]

             HACoLA conducts the following inspections, which will be explained in greater
             detail throughout the chapter:
             ❑ New Contracts Inspection: A unit must pass this HQS inspection before
               HACoLA enters into a HAP Contract with the owner.
             ❑ Inspections at Other Times as Needed:
                ➢ Interim Insaection: HQS inspection conducted upon request of the owner,
                   family or agency.
                ➢ EmerQencv Inspection: HQS inspection conducted for life-threatening
                    violations.
              ❑ Annual Insaection: A unit must pass its annual HQS inspection.
              ❑ Quality Control Insaection: HACoLA is required to conduct supervisor
                quality control HQS inspections.
              ❑ Move-0ut Insaection: For contracts effective before October 2, 1995,
                HACoLA may conduct amove-out inspection, at an owner's request, if a
                damage claim is to be submitted (Moderate Rehabilitation Program only).

      10.3    HOUSING QUALITY STANDARDS(HQS)
             [24 CFR &982.401]

              HQS is the minimum quality standards set forth by HUD for tenant-based
              programs. These standards are in place to ensure that assisted housing is
              decent, safe and sanitary. All program housing must meet the HQS performance
              requirements both at commencement of assisted occupancy, and throughout the
              assisted tenancy.
              Efforts will be made at all times to encourage owners to provide housing above
              the HQS minimum standards.
              HQS applies to the building and premises, as well as the unit. In order for a unit
              to pass an HQS inspection, the following standards must be met.




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      10.3.1 Unit Space and Size
            [24 CFR 6982.401(d)(21(i11
             At minimum, a living room, kitchen area, and bathroom must be located in the
             unit.

      10.3.2 Living Room / Sleepin4 Room
            [24 CFR ~982.401(dl(2)(ii)1. f24 CFR &982.401(h)(2)(iv)], X24 CFR 6982.401(f1l
             ❑ The dwelling unit must have at least one bedroom or living/sleeping room for
                each two persons. Children of opposite sex, other than very young children,
                 may not be required to occupy the same bedroom or living/sleeping room.
             ❑ There must be at least one window in the living room and in each sleeping
               room. If the window is designed to be openable, the window must open and
               close properly, and be large enough to provide emergency egress.
             ❑ The living room and each bedroom must have at least two electrical outlets in
               proper operating condition. Permanent overhead or wall-mounted light
               fixtures may count as one of the required electrical outlets.
             ❑ Bedrooms must also have abuilt-in closet or wardrobe, be located within the
                unit (e.g., no garages), and be private (have a closing door separating it from
               the rest of the unit). Bedrooms should also be finished in a quality similar to
               other bedrooms in the home.
             ❑ In cases where an owner has modified the rental unit without obtaining the
                proper city and/or County building permits, HACoLA may rely on the legal
                property description for the purposes of negotiating the rent and determining
                how many actual sleeping rooms are in the rental unit.

      10.3.3 Sanitary Facilities(Bathroom
             X24 CFR ~982.401(bll. X24 CFR &982.401(h)(2)(iiill, X24 CFR ~982.4011f1(2)(iil]
             ❑ The bathroom must be located in a separate private room and contain a
                 working flush toilet.
             ❑ Bathroom areas must have one openable window or other adequate exhaust
                 ventilation.
             ❑ The unit must have a sink, and shower or tub in proper operating condition,
                 with hot and cold running water.
             ❑ All walls in a tub or shower area must be covered with ceramic the or other
                 material that is impervious to water to prevent water damage and
                 deterioration.
              ❑ Sinks and commode water lines must have shut off valves, unless faucets are
                 wall-mounted. All sinks in the unit must have functioning stoppers.
             0 The bathroom must have a permanent ceiling or wall light fixture in proper
                 operating condition.
              ❑ All bathrooms in the unit must be in proper operating condition.




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      10.3.4 Food Preparation (Kitchen)
            [24 CFR 6982.401(cll.(24 CFR &982.401(fl(2)(ii)1
             ❑ The dwelling unit must have suitable space and equipment to store, prepare,
                and serve foods in a sanitary manner (i.e., kitchen).
             ❑ The dwelling unit must have an oven, and a stove or range, and a refrigerator
               of appropriate size for the family. All of the equipment must be in proper
               operating condition. The equipment may be supplied by either the owner or
               the family.
             ❑ If the tenant is providing the stove and/or refrigerator, those appliances do not
               need to be present during the new contract inspection in order to pass;
               however, they must be in place and operable when the tenant moves in. If
               the owner is providing the appliances, they must be in place and operable
               during the new contract inspection in order to pass.
             ❑ A microwave oven may be substituted for atenant-supplied oven and stove
               or range. A microwave oven may be substituted for an owner-supplied oven
               and stove or range if the tenant agrees and microwave ovens are furnished
               instead of an oven and stove or range to both subsidized and unsubsidized
               tenants in the building or premises.
             ❑ The kitchen area must have a permanent ceiling or wall light fixture in proper
               operating condition, and at least one electrical outlet in proper operating
               condition.
             ❑ The dwelling unit must have a kitchen sink in proper operating condition, with
               a sink trap and hot and cold running water. The sink must have a shut off
                valve, unless faucets are wall-mounted, and must drain into an approvable
                public or private system. All sinks in the unit must have functioning stoppers.
              ❑ There must be facilities and services for the sanitary disposal of food waste
                and refuse, including temporary storage facilities where necessary (e.g.,
                garbage cans).

       10.3.5 Ceilings, Walls, Floors and Roof
              f24 CFR ~982.401(q)1
              The unit must be structurally sound. The structure must not present any threat to
              the health and safety of the occupants and must protect the occupants from the
              environment.
              Ceilings, walls, floors and fences must not have any serious defects such as
              severe bulging or leaning, large holes, loose surface materials, severe buckling,
               missing parts, or other serious damage.
               O Wood floors must be sanded to a smooth surface and sealed. Any loose or
                  warped boards must be re-secured and made level. If the boards cannot be
                  leveled, they must be replaced.
               ❑ The exterior wall structure and surface must not have any serious defects
                  such as serious leaning, buckling, sagging, large holes, or defects that may
                  result in air infiltration or vermin infestation.
               ❑ In areas where plaster or drywall is sagging, severely cracked, or otherwise
                  damaged, it must be repaired or replaced.


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             ❑ The condition and equipment of interior and exterior stairs, halls, porches,
               walkways, etc., must not present a danger of tripping and falling. For
               example, broken or missing steps or loose boards are unacceptable.
             ❑ The roof must be structurally sound and weather tight.

      10.3.6 Windows
            [24 CFR 5982.401(fl(1)(ii11, f24 CFR &982.401(d)(2(iii)1
             All window sashes must be in good condition, solid, intact, and fit properly in the
             window frame. Damaged or deteriorated sashes must be replaced.
             Windows must be weather-stripped as needed to ensure a weather tight seal.
             If window security bars or security screens are present on emergency exit
             windows, they must be equipped with a quick release system. The owner is
             responsible for ensuring that the family is instructed on the use of the system.
             Dwelling unit windows that are accessible from the outside, such as basement,
             first floor, and fire escape windows, must be lockable (such as window units with
             sash pins or sash locks, and combination windows with latches).
             Windows that are nailed shut are acceptable only if these windows are not
             needed for ventilation or as an alternate exit in case of fire.

      10.3.7 Doors and Unit Access
             X24 CFR &982.401(d)(21(iv)1, X24 CFR ~982.401(k1l
             All exterior doors must be solid core and weather tight to avoid any air or water
             infiltration, have no holes, and have all trim intact.
              All interior doors must have no holes, have all trim intact, and be openable
              without the use of a key.
              All exterior doors must have dead bolt locks.
              The unit must be able to be used and maintained without unauthorized use of
              other private properties. The building must provide an alternate means of exit in
              case of fire (such as fire stairs or egress through windows).

       10.3.8 Thermal Environment
              X24 CFR ~982.401(e)1
              There must be a safe system for heating the unit, in .proper operating condition.
              The heating unit must be affixed to the unit and be able to provide adequate
              heat, either directly or indirectly, to each room. The dwelling unit must not
              contain unvented room heaters that bum gas, oil, or kerosene. Electric heaters
              are acceptable. Portable heaters are not acceptable.

       10.3.9 Smoke Detectors
             [24 CFR 6982.401(n)1
              Each assisted unit must be equipped with at least one properly working battery-
              operated or hard-wired smoke detector on each level of the unit.
              Whenever possible, smoke detectors should be installed in a hallway adjacent to
              a bedroom.



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             If an assisted unit is occupied by a household with hearing-impaired persons, a
             permanently installed smoke detector designed for people with hearing-
             impairments must be located in each bedroom that is occupied by a hearing-
             impaired person.

      10.3.10 Site and Sanitation
              X24 CFR ~982.401l111,(24 CFR &982.401(m11
              The site and neighborhood may not be subject to serious adverse
              environmental conditions, natural or manmade. These can include dangerous
              walks or steps; instability; flooding, poor drainage, septic tank back-ups or
              sewage hazards; mudslides; abnormal air pollution, smoke or dust; excessive
              noise, vibration or vehicular traffic; excessive accumulations of trash; vermin or
              rodent infestation; or fire hazards.
              The unit and its equipment must be in sanitary condition, and free from vermin
              and rodent infestation.

      10.3.11 Additional Housing Quality Standards
              X24 CFR ~982.401(a)(41(ii)(a)1
               HACoLA is authorized to enhance HQS, provided that by doing so HACoLA
               does not overly restrict the number of units available for leasing. The
               enhancements adopted by HACoLA are meant to ensure that assisted units
               are safe in relation to other units rented throughout Los Angeles County.
               HUD has identified the items listed above. In addition to these items, all
               assisted units must also be in compliance with the following local building code
               regulations in order to pass an HQS inspection.
              ❑ Double Cylinder Locks: Under the Building Code Regulations for Los
                Angeles County, double-keyed deadbolts, or any other lock requiring special
                knowledge or a tool to open, are prohibited in a residential unit. All doors that
                provide an exit from the residence must be openable from the inside without
                the need of a key or any other special knowledge, effort or tool.
              ❑ Swimming Pools: Under the Building Code Regulations for Los Angeles
                County, all swimming pools must be enclosed by a gate from 48 inches to 60
                inches tall. The gate must be self-closing with aself-closing latch and a
                protected panel must surround the latch. HACoLA will enforce this ordinance
                in multifamily structures.
              ❑ Hot Water Heater: Hot water heater, TPR and drainpipe 6 inches above the
                floor must be present. PVC type drainpipes are not acceptable.
              ❑ Earthquake Straws for Water Heaters: Under the Building Code regulations
                for Los Angeles County, all water heaters must be strapped at 1/3 intervals
                from the top to the bottom of the heater, for seismic stability.
              ❑ Garages: Garages, whether attached or detached, must be accessible.
                Garages are not to be used as a living space.

       10.3.12 Serious Deficiencies
              Assisted units must meet all HQS performance requirements in order to pass an
              inspection. HACoLA has compiled the following list of specific conditions that are
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              considered serious deficiencies that may cause a unit to fail an inspection. This
              list assists inspectors in making a determination regarding the condition of an
              assisted unit; however, deficiencies are not limited to this list:
                 1. No TPR/Drainpipe on water heater
                 2. Clogged toilets/sinks/wash basins/bathtubs
                 3. Torn carpet or linoleum flooring posing a tripping hazard
                 4. Stretched carpet when a potential hazard exists
                 5. Broken mirrors, cabinets, etc.
                 6. Missing smoke detectors
                 7. Vermin infestation (fleas, roaches, termites, mice, and rats)
                 8. Double cylinder locks
                 9. Exterior/common grounds rubbish/debris/overgrown grass/weeds
                 10. Large holes/cracks/uneven concrete in walkway
                  1 1. Building with major peeling of wood trim/paint (directly affecting family's
                       unit)
                  12. Large porcelain chips or peeling paint in bathtubs/sinks/wash basin
                       exposing black surfaces/rust
                  13. Burner knobs missing on stove
                  14. Inoperable stove/reftigerator
                  15. Bathrooms where no windows are present and exhaust fans are
                      missing/inoperable
                  16. Flammable products stored near water heaters
                  17. Signs of leaking/water damage on ceiling/roof
                  18. Broken windows and larger cracks which pose a potential hazard
                  19. Algae/debris in swimming pool
                  20. Loose hand rails/guard rails
                  21. Missing/cracked switch cover plates
                  22. Closet doors off track
                  23. Bedroom window security bar release mechanism is inoperable
                  24. Inoperable window locks

       10.4    LEAD-BASED PAINT
               f24 CFR ~982.401(i11

               HACoLA's rental assistance programs are subject to the requirements of the
               Lead-Based Paint Poisoning Prevention Act and the Residential Lead-Based
               Paint Hazard Reduction Act of 1992. Applicable regulations are detailed in 24
               CFR §35.
               HACoLA will be responsible for the collection of LBP disclosure information;
               conducting Visual Assessment inspections; assuring that Clearance
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             Examinations are conducted; collect data regarding Elevated Intervention Blood
             Lead Level(EIBLL)cases, and informing owners of their responsibilities.

      10.4.1 Disclosure
             X24 CFR ~35(All
             Owners of units built before 1978 are required to disclose to lessees all available
             information about the presence of lead-based paint or lead-based paint hazards
             and provide any available record or reports pertaining to the presence of lead-
             based paint or lead-based paint hazards, before the lease is enacted.
             Lessees must also receive a copy of the lead hazard information pamphlet,
             "Protect Your Family From Lead in Your Home."
             For all new contracts, HACoLA will require owners to certify on the RTA that they
             have met all applicable lead-based paint disclosure requirements. If applicable,
             HACoLA will require owners to submit a copy of the lead-based paint disclosure
             statement, and any inspection reports.
             HACoLA will include a sample lead-based paint disclosure form and a lead
             hazard information pamphlet in voucher issuance packets for participants.
             Materials will be made available directly to owners upon request.
             For units built before 1978, HACoLA will not approve an owner lease without
             receiving all applicable lead-based paint disclosure information.

      10.4.2 Lead-Based Paint Visual Assessment
            [24 CFR §35(M)1
             HACoLA is required to conduct lead-based paint visual assessments for all units
             built prior to 1978 that house or will house a child or children under 6 years of
             age, at the time of the new contract inspection and at annual inspections.
             HACoLA inspectors conducting lead-based paint visual assessments will be
             trained according to HUD requirements.
              The purpose of the visual assessment is to identify any deteriorated paint.
              Deteriorated paint is paint that is peeling, chipping, chalking or cracking, or any
              paint or coating located on an interior or exterior surface or fixture that is
              otherwise damaged or separated from the substrate. Inspectors will check the
              condition of painted surfaces. If deteriorated paint exceeds the de minimis
              thresholds as defined by HUD, the unit will fail the lead-based paint visual
              assessment. The de minimis thresholds are defined as 20 sq. ft.(2 sq. meters)
              on exterior surfaces; 2 sq. ft. (0.2 sq. meters) in any one interior room or space;
              or 10% of the total surface area on an interior or exterior type of component with
              a small surface area (such as window sills, baseboards, and trim.

       10.4.3 Stabilization and Clearance
              X24 CFR &35(M)1
              Owners of units that fail the lead-based paint visual assessment will be required
              to stabilize deteriorated paint in order for the unit to pass.
              HACoLA will send a letter to owners of failed units that provides guidance on
              stabilizing paint and other required activities. Owners will have 30 calendar days
              from the letter date to complete the following:

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            0 Repair the deteriorated paint. Work must be performed by certified lead
               workers using lead-safe work practices. HACoLA will provide owners with
               resources and information on meeting these guidelines.
            ❑ Obtain a Clearance Report. A contractor certified by the Environmental
               Protection Agency (EPA) must inspect the unit and prepare a Clearance
               Report summarizing the work completed and the inspection results.
            ❑ Complete HACoLA's Lead-Based Paint Owner Certification form. The
               owner must certify that all applicable requirements have been met.
            ❑ Submit Clearance Report and Certification to HACoLA. HACoLA will
               accept paperwork by mail, fax, and hand delivery.
            The owner is responsible for informing tenants of all lead hazard reduction work
            and evaluations, in a manner consistent with HUD regulations.
             If the unit has been previously certified free of lead-based paint by a certified
             inspector, the owner may submit a copy of the inspector's report, along with the
             certification form, to HACoLA.
             HACoIA will review the Clearance Report and certification form for
             completeness. The Clearance Report must contain all information required by
             HUD. If the Clearance Report passes, the unit will receive a pass on the visual
             assessment; no further inspection visit is required.
             On new contracts inspections, the passing Clearance Report and valid
             certification form must be received by HACoLA before HACoLA can enter into a
             HAP Contract with the owner. If this does not take place within 30 calendar
             days, HACoLA will cancel the RTA.
             For annual inspections, if the owner fails to submit the passing Clearance Report
             and valid certification form within 30 calendar days, the Housing Assistance
             Payments (HAP) will be placed on hold (abated) for the unit and the participant
             will be issued a voucher. The owner will have an additional 60 calendar days to
             obtain and submit a valid Clearance Report before the HAP Contract is
             terminated. See Section 10.11.1 for more information on abatement.
             HACoLA's Director of Assisted Housing will review reasonable cause requests
             for extension. Extension requests must be submitted in writing within the first 30
             calendar days of the failed lead-based paint visual assessment. An extension
             shall not extend beyond 90 days after the date of notification to the owner of the
             results of the visual assessment. If an extension is approved, the HAP will not be
             abated during this extension period. Reasonable cause circumstances include
              prohibitive weather conditions, financial hardship, and rehabilitation in progress.

       10.4.4 Children with Environmental Intervention Blood Lead Levels(EIBLL)
             [24 CFR X35.3251
              On a quarterly basis, the Division will send the Los Angeles County Department
              of Health Services Childhood Lead Poisoning Prevention (CLPP) Program the
              addresses of assisted families with children under the age of 6. CLPP Program
              staff will check the addresses for matches with identified EIBLL cases. If a match
              is found, CLPP Program staff will conduct a Risk Assessment of the occupied
              unit and forward a report to the Division. A Risk Assessment is a comprehensive
              evaluation for LBP hazards that goes beyond the Visual Assessment component


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             including paint testing, and dust and soil sampling. The Risk Assessment Report
             identifies lead hazards and appropriate lead hazard reduction methods.
             A copy of the Risk Assessment Report must immediately be fonivarded to the
             participating owner once received by the Division. The owner must post a Notice
             of Lead Hazard Evaluation within 15 calendar days and complete lead hazard
             reduction and clearance activities as advised in the Report within 30 calendar
             days. The Housing Authority is not allowed to assist any other participant in the
              unit until the owner comglies with the Report.
              If informed about an EIBLL case from a source other than the CLPP Program,
             the Division must submit the information to the CLPP Program within five
             calendar days. The CLPP Program will conduct a Risk Assessment of the
              occupied unit if required.

      10.5   INSPECTIONS SCHEDULE

             Inspections are conducted on business days between the hours of 7:00 a.m. and
             5:00 p.m. An individual over 18 years of age must be present to allow entry for
             the inspector.

      10.6    NEW CONTRACT INSPECTIONS
             (24 CFR ~982.305(BI(2)11

             Under normal circumstances, new contract (initial) inspections are conducted 7
             to 10 calendar days following the receipt of a Request for Tenancy Approval.
             The new contract inspection is conducted in order to:
                 1. Determine if the unit, including common areas, meets housing quality
                    standards.
                 2. Document the current condition of the unit. This will serve as the basis to
                    evaluate the future condition of the unit, i.e. excessive wear and tear.

      10.6.1 When HQS Deficiencies Must Be Corrected
             If the unit fails the initial inspection, the unit will be scheduled for afollow-up
             inspection within 10 calendar days. The owner will be given 30 calendar days to
             correct the deficiencies. The owner can request an inspection sooner if repairs
             have been made prior to the scheduled follow-up inspection date.
              If the time period given by HACoLA to correct the deficiencies has lapsed, or the
              maximum of three failed inspections has occurred, the family must select another
              unit.
              HACoLA will not enter into a HAP Contract with the owner until the unit passes
              the inspection. However, the family may already be in the unit when the new
              contract inspection is conducted. If the family lives in the unit at the time of the
              new contract inspection, they are responsible for meeting their HQS obligations.
              See Section 10.8 for details of the family's HQS obligations.




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      10.7   ANNUAL AND INTERIM INSPECTIONS
             X24 CFR 6982.4051

      10.7.1 Annuallnspections
             In order to assure that units meet housing quality standards throughout the
             assisted tenancy, HACoLA conducts inspections at least annually.
             As stated in the family obligations, the family must allow HACoLA to inspect the
             unit at reasonable times and after reasonable notice. HACoLA will notify the
             family and/or owner of the date and time of the scheduled inspection
             appointment in writing at least 10 calendar days prior to the inspection.
             Appointments may be rescheduled for emergency situations. If the family
             fails to contact HACoLA to reschedule the inspection, or if the family misses finro
             inspection appointments, HACoLA will consider the family to be in violation of the
             Certified Statement of Family Obligation agreement and will initiate termination
             procedures in accordance with HACoLA's policy for proposed termination.

      10.7.2 Interim Inspections
             Interim inspections are conducted at the request of the owner, family, or agency
            (usually as a result of a violation of HQS or violation of the lease). Interim
             inspections may be scheduled and conducted at any time of the year.

      10.8   FAILED INSPECTIONS: DETERMINATION OF RESPONSIBILITY
             X24 CFR ~982.4041b11

             If deficiencies cause an assisted unit to fail an inspection, HACoLA's inspectors
             will determine who is responsible at the time of inspection.
             In accordance with family obligations, the following deficiencies are considered
             the responsibility of the family:
                 ➢ Family-paid utilities not in service;
                 ➢ Failure to provide or maintain family-supplied appliances; and
                 ➢ Damages to the unit or premises caused by a household member or
                   guest beyond normal wear and tear.
                   • "Normal wear and tear' is defined as items that could be charged
                      against the family's security deposit under state law or court practice.
              The owner is responsible for all other HQS violations. In cases such as vermin
              infestation, where burden of responsibility is not immediately clear, HACoLA's
              inspector will determine the responsible party.
              HQS deficiencies that cause a unit to fail must be corrected by the owner, unless
              the family is responsible for the deficiencies.




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      10.9   FAILED INSPECTIONS: WHEN DEFICIENCIES MUST BE CORRECTED
             f24 CFR &982.404(A)(3)]

      10.9.1 Emeraencv Fail Deficiencies
             Items that endanger the family's health or safety are considered emergency fails.
             These deficiencies must be corrected within 24 hours of inspection or
             verbal/written notification but no longer than 48 hours total from the time of
             inspection.
             In cases where the owner or responsible party cannot be notified verbally, i.e.
             weekends, HACoLA will have a written notification mailed the day of the
             inspection.
             The following deficiencies are considered life-threatening, emergency fails, and
              will cause a unit to be labeled uninhabitable:
                     Gas leaks
                  ➢ Major plumbing problems
                  ➢ Utilities not in service
                  ➢ No running water
                  ➢ No functioning toilet
                  ➢ Unstable roof/structure
              In cases where the unit is deemed uninhabitable, the family will be issued a
              voucher within 24 hours so that they can make arrangements to secure another
              residence if necessary.
              If an emergency fail deficiency is not corrected in the time period required by
              HACoLA, and the owner is responsible, the housing assistance payment will be
              abated immediately and the contract will be terminated.
              If repairs are completed and the family wishes to move back into the unit, a new
              RTA will need to be submitted for that unit and the New Contract Process will
              need to be completed again.
               If the emergency fail deficiency is not corrected in the time period required by
               HACoLA, and the family is responsible, HACoLA will terminate the family's
              assistance for violating family obligations (see Chapter 15: Family Obligations),
               but will not abate the payment to owner for that month.

       10.9.2 Non-Emergencv Fail Deficiencies
              Non-emergency deficiencies that cause a unit to fail the inspection must be
              corrected within a 30 calendar-day cycle. The family and owner will be notified of
              the failed items in writing. Within the 30 calendar days from the notification letter,
              the owner and family must make the appropriate corrections and notify HACoLA
              so that afollow-up inspection can be scheduled.
              If the necessary repairs have been completed prior to the next scheduled
              inspection, the owner or tenant may request an earlier inspection date. Requests
              for earlier repair dates will be reviewed and accommodated in a case-by-case
              basis.
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            For major repairs, the Inspections Housing Unit Supervisor or Housing
            Supervisor may approve an extension beyond 30 calendar days. However, this
            extension cannot exceed 60 calendar days.
            If the family is not at home for the follow-up inspection appointment, a card will
            be left at the unit with instructions. A second follow-up inspection will be
            scheduled automatically and the owner and family will be notified by mail.
            If owner-caused deficiencies are not collected in the time period required by
            HACoLA, housing assistance payments will be abated and the contract may be
            terminated. If family-caused deficiencies are not corrected in the time period
            required by HACoLA, housing assistance may be 'terminated. See Sections
             10.10 and 10.11 for more information.

      10.10 CONSEQUENCES OF VERIFIED FAMILY-CAUSED DEFICIENCIES
            X24 CFR 6982.552(a11

             The family has a responsibility to maintain the assisted unit in good condition and
             to notify the owner of needed repairs. If non-emergency violations of HQS are
             determined to be the responsibility of the family, HACoLA will require the family
             to make any repairs) or corrections within the 30 calendar-day cycle. Housing
             assistance will be terminated if an assisted unit continues to fail housing
             inspections for family-caused deficiencies or the family fails to keep scheduled
             appointment(s). See Chapter 15(Family Obligations)for more information.
             Extensions will be granted on a case-by-case basis and must be approved by the
             Unit Supervisor.
             If it has been concluded that all deficiencies are family-caused, the owner's rent
             will not be abated for such items.

      10.11 CONSEQUENCES OF VERIFIED OWNER-RELATED DEFICIENCIES
            X24 CFR 6982.404(al. 24 CFR 6982.452 and 24 CFR X982.4531

             The owner is responsible for maintaining the unit in accordance with HQS. When
             it has been determined that an assisted unit fails to meet HQS, the owner of that
             unit is responsible for completing the necessary repairs) in the time period
             specified by HACoLA. If the owner fails to correct deficiencies within the
             specified time period, HACoLA is obligated to withhold (abate) housing
             assistance payments.

       10.11.1 Abatement
               f24 CFR &982.453(b) and 24 CFR ~982.404(al(311
               Abatement is defined as withholding Housing Assistance Payments (HAP) to
               the owner for the period of time the unit is out of compliance with HQS
               requirements.
               HAP will be abated if:
               1. The assisted unit fails the first and second housing inspections due to
                  owner-related deficiencies.




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                  If a unit fails the first inspection due to owner-related deficiencies, the notice
                  sent to the owner stating the deficiencies, repairs that need to be made,
                  and the date of the next inspection will also serve as notice that HAP will be
                  abated if the unit fails a second inspection due to owner-related
                  deficiencies.
                   If, after the 30-day correction period, the unit then fails the second
                   inspection due to owner-related deficiencies, HACoLA will stop payment on
                  the first day of the month following the expiration of the 30-day correction
                   period.
                   The owner will be notified of the date of a final inspection. Under normal
                   circumstances, HACoLA will inspect an abated unit 30 calendar days after
                   the abatement notification has been issued.
                   If the owner makes repairs during the abatement period, HAP payments will
                   resume on the day HACoLA's inspector has verified the corrections and the
                   unit passes inspection.
                   A 30-day calculation standard will be used to reconcile abatement
                    payments. Please refer to memo dated 3/3/05.
                   No retroactive payments will be made to the owner for the period of time
                   the rent was abated and the unit did not comply with HQS. The notice of
                   abatement states that the family is not responsible for HACoLA's portion of
                   rent that is abated. However, the family is responsible to pay its portion of
                   the rent while abatement is in effect.
                  If an assisted unit fails the third and final housing inspection for owner-
                  caused deficiencies, HACoLA will terminate the HAP Contract. HACoLA will
                  notify the owner of the termination in writing 30 calendar days before it
                  becomes effective. Abatement will remain in effect until the effective date of
                  the termination.
                   HACoLA is prohibited from implementing rent abatement for family-caused
                  deficiencies. However, abatement will apply if family-caused and owner-
                   related deficiencies exist together.
               2. HACoLA has verified that the assisted unit has emergency fail
                   deficiencies, and the owner did not complete the necessary repairs
                   within the required timeframe.
               3. A unit built before 1978 that houses or will house a child under 6
                   years of age fails the lead-based paint visual assessment, and the
                   owner fails to submit a complete, passing clearance report and
                   certification within 30 calendar days. Owners will receive notice by mail
                   if a unit fails the lead-based paint visual assessment. They will have 30
                   calendar days from the date of the notice to perform clearance and submit
                    passing paperwork. If the owner fails to meet these requirements (see
                   Section 10.4 for more information on lead-based paint), HAP will be abated
                   and HACoLA will stop payment on the first day of the month following. The
                    participant will be issued a voucher. The owner will have an additional 60
                   calendar days to obtain and submit a valid Clearance Report before the
                    HAP Contract is terminated.



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              Families that reside in units that have been abated will be issued a voucher
              and will have the option to move even if the assisted unit passes inspection at
              the third and final inspection (this excludes participants of the Moderate
              Rehabilitation Program).

      10.11.2 Termination of Contract
             [24 CFR §982.453(b)1

              When the HAP Contract has been terminated, the family will be required to
              move in order to continue receiving rental assistance.
              RTA submitted for units that have been terminated due to abatement will be
              reviewed on a case-by-case basis. In cases where the RTA is accepted, the
              family will be brought in for counseling on their situation.

      10.12 QUALfTY CONTROL INSPECTIONS
            X24 CFR ~982.405(B)1

            To ensure efficient program operations, it is essential for management to apply
            sound quality control practices. The purpose of quality control inspections is to
            objectively ascertain that each inspector is conducting accurate and complete
            inspections, and to ensure that there is consistency among inspectors in
            application of HQS.
             Quality control inspections will be performed by a Quality Assurance
             Representative according to SEMAP Indicator #5 which meets the minimum
             quality control sample size for the number of units under HAP contract during the
             last completed HACoLA fiscal year for SEMAP.




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                               CHAPTER 11:
      SETTING PAYMENT STANDARDS AND DETERMINING RENT REASONABLENESS

      11.1   INTRODUCTION
             X24 CFR &982.5031

             HACoLA is responsible for ensuring that the rents charged by owners are
             reasonable based upon objective comparables in the rental market. When
             HACoLA has determined that the unit meets the minimum HQS, that the lease is
             approvable, and that the rent is reasonable, it will make timely payments to the
             owner and notif~r the owner of the procedures for rent adjustments in the rental
             assistance programs. This chapter explains HACoLA's procedures for setting
             and adjusting the payment standards and conducting rent reasonableness
             surveys.

      11.2   PAYMENT STANDARDS FOR THE VOUCHER PROGRAM
             X24 CFR 6982.503(b)(1)1

             HUD regulations allow HACoLA to set Payment Standards at a level that is
             between 90 percent to 110 percent of the Fair Market Rerrt for Los Angeles
             County. HACoLA must set the payment standard at a level that is high enough
             to ensure that families are able to afford quality housing while also balancing the
             need to provide assistance to as many families on the waiting list as possible.
             HACoLA will review the payment standards at least annually to determine
             whether an adjustment should be made for some or all unit sizes. The following
             provides a list of the factors that will be used to evaluate the adequacy of the
             payment standard and/or be used to make a determination to adjust standards,
             as appropriate.

      11.2.1 Assisted Families' Rent Burdens
             HACoLA will review reports showing the percent of income used for rent by
             Voucher families to determine the extent to which the rent burden is more than
             50 percent of income.
             If more than 40 percent of program families in the overall program, or for a
             specific unit size, are contributing in excess of 50 percent of their adjusted
             monthly income towards rent, HACoLA will consider increasing the voucher
             payment standards. The payment standard will not be raised if:
                  ➢ The payment is already at the maximum level HUD will allow (110%).
                  ➢ HACoLA would have to reduce the number of new admissions by 20
                    percent or more for the upcoming year in order to fund the increase.

       11.2.2 Success Rate of Voucher Holders
              HACoLA will periodically review the success rate of voucher holders. If 25
              percent or more of new admissions and/or families wishing to move are unable to
              use the vouchers due to current rental rates in Los Angeles County, HACoLA will
              consider increasing the payment standard for particular unit sizes and/or the
              entire program, as appropriate.



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             The payment standard will not be increased if:
                ➢ The payment is already at the maximum HUD will allow (110%)
                  HACoLA would have to reduce the number of new admissions by 20
                  percent or more for the upcoming year in order to fund the increase

      11.2.3 Rent Reasonableness Database
             HACoLA will review the rent information in the rent reasonableness data bank
             and compare it to the payment standards established for the Housing Choice
             Voucher Program. If the rent reasonableness review indicated that the payment
             standards are higher than the average rental unit in Los Angeles County, the
             payment standard for the specific unit size, or all payment standards, will be
             lowered to reflect the current market rents.

      11.2.4 Quality of Units Selected
             HACoLA will review the quality of units selected by participant families before
             determining any change to the Payment Standard to ensure that Payment
             Standard increases are only made when needed to reach the mid-range of the
             market.

      11.2.5 File Documentation
             A file will be retained in HACoLA Administrative Support Unit for at least 3 years
             to document the analysis and findings to justify whether or not the Payment
             Standard was changed.

      11.3   RENT REASONABLENESS DETERMINATIONS
             X24 CFR X982.5071

             Rent reasonableness determinations are made when units are placed under HAP
             contract for the first time and when an owner requests a rent increase. HACoLA
             will determine and document on a case-by-case basis that the approved rent[24
             CFR §982.507(b) and §982.507 (c)]:
                 1. Does not exceed rents currently charged on new leases by the same
                    owner for an equivalent assisted or unassisted unit in the same building
                    or complex, and
                   2. Is reasonable in relation to rents currently charged by other owners for
                      comparable units in the unassisted market.
              An average of at least three comparable units will be used for each rent
              determination. Of these, one may be from the first category, and the remaining
              two should be from the second category. In cases where three comparable units
              are not available, due either to the unit's location, age or other special features,
              finro comparables may be used to determine the appropriate rent, one from each
              category identified above.
              All comparables must be based on the rent that the unit would command if
              leased in the current market. Leased in the current market means that the unit
              has been leased within the last 12 months.



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             The data for other unassisted units will be gathered from newspapers, realtors,
             professional associations, inquiries of owners, market surveys, and other
             available sources.
             HACoLA will consider the census tract in which the unit is located to be the
             market area for the purposes of obtaining rent comparables. If a unit is located in
             a census tract that is primarily industry, or where no comparable units can be
             found, HACoLA will seek rent comparables in neighboring census tracts. In such
             cases, may require an inspector to go out to do a visual check of the two
             neighborhoods to ensure comparability.
             The following items will be used for rent reasonableness documentation:
                ➢ Number of Bedrooms(see Chapter 10 for definition of bedroom)
                 ➢ Facilities
                 ➢ Location
                 ➢ Quality
                 ➢ Amenities
                 ➢ Date Built
                 ➢ Unit Type

      11.3.1 Management and Maintenance Services
             HACoLA maintains a computer database which includes data on unassisted units
             for use by staff in making rent reasonableness determinations. The data is
             updated on an ongoing basis and purged when it is more than 12 months old.
              In order for a unit to be considered comparable to another, the units must:
                  ➢ Be located in the same census tract;
                  ➢ Have been built within 10 years of each other;
                  ➢ Have three or more similar services and/or amenities;
                    Have the same number of bedrooms; and
                      Be the same unit type. Single-family structures will generally not be
                      compared to multifamily structures. However, HACoLA may make an
                      exception in unique cases where no other selection of rental units exists
                      in the area.

       11.3.2 Aaaealina a Rent Reasonableness Determination
              If the owner of the property disagrees with the rent reasonable determination, the
              owner may appeal the decision in writing by submitting an appeal that includes a
              list of comparable rental units that the owner has found to justify their requested
              rent amount.
              Before using a list of rental units submitted by the owner, HACoLA would confirm
              that the units are indeed comparable using the criteria outlined above. If the units
              are not comparable, HACoLA will not use these units in the rent comparability
              survey and the owner will be notified of the decision.



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            At the owner's request, HACoLA will release information on the unit addresses
            used in the rent comparability survey. If the owner finds that the information used
            by HACoLA is incorrect, HACoLA will re-verify the rental comps used and re-
            determine the rent comparability for the unit.

      11.3.3 Rent Increases
            [24 CFR &982.5191
            HACoLA will use the same criteria defined above to determine if a request for a
            rent increase meets the rent comparability requirement. If the new rent is not rent
            comparable HACoLA will advise both the owner and the family that the increase
            cannot be approved. If a partial rent increase can be approved, HACoLA will
            notify the owner, and process the partial increase upon owner approval. The
            approval amount for rent increases is the lesser of reasonable rent, the amount
            determined by the annual adjustment factor, or the amount requested by the
            owner.
            If the owner disagrees with the determination, s/he may then exercise any of the
            following options:
                 ➢ Appeal the rent comparability determination using the steps outlined
                    above.
                 ➢ Adjust his/her request for a rent increase.
                ➢ Serve the family with a proper termination notice.




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                                           CHAPTER 12:
                                         RE-EXAMINATION

      12.1   INTRODUCTION
             f24 CFR 5982.516(a11

             To assure that tenancy is restricted to participants meeting the eligibility
             requirements for continued occupancy and are charged appropriate rents; the
             eligibility status of each participant is re-examined on an annual basis per HUD
             requirements.
             At the initial, first interim or annual re-examination on or after June 19, 1995,
              participants must report and verify their U.S citizenship/eligible immigration status
              by signing and submitting a declaration of eligibility, verification of consent form
             (if necessary), and appropriate immigration documentation (resident alien card,
              naturalization, etc.).
             When families move to another dwelling unit, a re-examination is completed and
             the anniversary date changed.

      12.1.1 Procedure
              To maintain program efficiency and integrity, HACoLA at its own discretion may
              conduct re-examination interviews by mail or in-person. HACoLA will attempt to
              conduct all annual reexaminations interviews through the mail. Annual re-
              examinations not completed through the mail process will be conducted in
              person.

      12.2    RE-EXAMINATION NOTIFICATION TO THE FAMILY

              Participating families are advised of the annual re-examination requirement and
              the importance of reporting income and family composition changes as they
              occur during the initial re-examination.

       12.2.1 Persons with Disabilities
              X24 CFR ~8.24(a)]
              Persons with disabilities who are unable to come in to HACoLA's office will be
              granted an accommodation of conducting the interview at the person's home or
              by mail, upon verification (physician or medical documentation) that the
              accommodation requested meets the need presented by the disability.

       12.2.2 Requirements to Attend
              If it is determined that a participant (family) will need to come to HACoLA's office
              then all adult household members 18 years and older will be required to attend
              the re-examination interview.

       12.2.3 Failure to Resaond
               If a family fails to complete or return the required re-examination documents
               within the specified timeframe, HACoLA will schedule the family for a mandatory
               appointment. The appointment letter will provide the date and time of the
               appointment and a list of items that family will need to bring. Additionally, the


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             appointment letter will service as a proposed termination notice and will contain
             the date of termination as well as a specified timeftame to request an informal
             hearing.
             If the family fails to attend the appointment or fails to bring all the required
             information and has not requested an informal hearing, Housing Assistance
             Payments will be stopped.
             If the family is able to provide documentation of an emergency situation that
              prevented them from completing the required re-examination documents or
             attending the mandatory appointment, the Unit Supervisor at his/her own
             discretion may, on a case-by-case basis reschedule the appointment.

      12.2.4 Documents Required from the Family
             The re-examination documents will include instructions and appropriate forms
             that need to be submitted to complete the re-examination. The required forms
             and documentation are the following:
                 1. Documentation of income for all family members;
                 2. Documentation of assets;
                 3. Documentation of medical or child care expenses;
                 4. Certified statement of family obligations; and
                 5. Consent for Release of Information (signed by all household members
                      over 18 years of age).
              Verification of these documents will be conducted in accordance with HACoLA
              procedures and guidelines described in this plan.

       12.2.5 Tenant Rent Increases
              If the tenant rent increases, a 30-day notice of increase in rent is mailed to the
              family before the anniversary date.
              If less than 30 calendar days are remaining before the anniversary date, the new
              tenant rent will be effective on the first of the month following the 30-day notice.
              If HACoLA was unable to process the re-examination on a timely basis due to the
              family's failure to provide re-examination documents, then the rent increase will
               be effective retroactive to the appropriate anniversary date.
              If the family causes a delay in the re-examination processing, there will be a
              retroactive increase in rent to the anniversary date. In this particular case, the
              owner will receive a retroactive HAP payment and every effort will be made to
              recover lost rent from the tenant.

       12.2.6 Tenant Rent Decreases
              If the tenant rent decreases, it will be effective on the anniversary date.
              If the family causes a delay so the processing of the re-examination is not
              completed by the anniversary date, the rent change will be effective on the first
              day of the month following the completion of the re-examination processing.




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      12.3    INTERIM RE-EXAMINATION
              f24 CFR ~982.516(b)(3)1

              No TTP adjustments will be affected between dates of periodic re-examination or
              pre-scheduled re-examinations except as noted below:
              Tenants are required to submit information affecting eligibility income at all re-
              examinations. Additionally, tenants are required to report the following changes
              in family circumstances:
                   1. Changes in family composition, including loss or addition of one or more
                       family members through death, divorce, birth, or adoption [24 CFR
                       §982.516(c)], and
                   2. Changes in family income including increases and decreases for income
                       received by the family.
              A family is required to report these changes to HACoLA within 30 calendar days
              after the change has occurred. Once noted, the changes that affect the
              eligibility income will be verified.
              The U.S. citizenship/eligible immigrant status of additional family members must
               be declared and verified as required at the first interim or regular re-examination
               after moving into the unit.

      12.3.1 Increases or Decreases in Income
             If the information provided results in a decrease in tenant rent, a modification to
             the HAP Contract is executed to be effective the first of the month following the
             month in which the required documentation is supplied by the participant.
             Effective January 4, 2005, HACoLA conducts interim re-examinations
             immediately upon notice of a tenant income increase. (Previously, HACoLA did
             not conduct an interim for increases and instead waited until the annual.) If the
             information provided results in an increase in tenant rent, a modification to the
              HAP Contract will be executed, and the tenant will be notified in writing at least
             30 calendar days in advance of an increase.

       12.4    SPECIAL ADJUSTMENTS

               If, at the time of re-examination, a family is clearly of low-income, and it is not
               possible to make an estimate of the family's income for the next 12-month period;
               A special re-examination will be scheduled to accommodate the family's
               circumstances. This includes cases where:
                  1. A tenant is unemployed and there are no anticipated prospects of
                      employment, or
                  2. The conditions of employment and/or receipt of income are too unstable
                      to validate usual and normal standards for determination. An interim re-
                      examination will be scheduled for families with zero or unstable income
                      every 3 months.
               Families whose past employment has been sporadic or who are on welfare,
               become employed, then are unemployed, or are self-employed, will not be given
               special re-examination. If such an income pattern has been established and is

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              expected to continue, then a reasonable 12-month estimate of the income may
              be based upon past income and present rate of income.
              Furthermore, special re-examinations must be clearly set for a definite time to
              assure compliance.

      12.5     CHANGES IN FAMILY COMPOSITION
              [24 CFR ~982.516(c11

              The family must report all changes in family composition to HACoLA within 30
              calendar days of the occurrence.

      12.5.1 Increases in Familv Size
             f24 CFR ~982.551(h)(2)]
             Increases other than by birth, adoption or court awarded custody must have prior
             approval of the owner and HACoLA.
               If an addition would result in overcrowding in the unit according to HQS
               maximum occupancy standards HACoLA will issue a larger voucher (if needed
               under the subsidy standards)for additions to the family in the following cases:
                  1. Addition of marriage/or marital type relation;
                  2. Addition of a minor who is member of the nuclear family who had been
                     living elsewhere;
                  3. Addition of HACoLA-approved live-in attendant; or
                   4. Addition due to birth, adoption or court awarded custody.
               If an approved change requires a larger size unit due to overcrowding, the
               change in voucher size will be made effective immediately. HACoLA will
               determine the assistance, based on funding availability.

       12.5.2 Decreases in Familv Size
              If a change in family composition results in a decrease of the voucher size,
              HACoLA may exercise the option to downsize the family's voucher size and
              require the family to move.
               Generally, families will be asked to move if the unit is finro bedrooms or larger
               than the family is eligible to rent. When this is necessary, the family will be
               granted 120 calendar days to locate another suitable unit. Extensions will be
               granted in accordance with the policy outlined in Chapter 8 (Voucher Issuance
               and Briefings).
               However, if the families Total Tenant Payment unit does not exceed more than
               50 percent of the family's monthly-adjusted income, the family will be allowed to
               remain in the unit.

       12.6


               Under the non-citizen rule, "mixed" families are families that include at least one
               citizen or eligible immigrant and any number of ineligible members.


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            "Mixed" families that were participants on or before June 19,1995, shall continue
            full assistance if they meet the following criteria:
                 1. The head of household or spouse is a U.S. citizen or has eligible
                     immigrant status, and
                 2. All members of the family other than head, spouse, parents of head,
                     parents of spouse, children of head or spouse are citizens or eligible
                     immigrants. The family may change the head of household designation
                     to another adult member of the family to qualify under this provision.
             If they do not qualify for continued assistance, the members) that cause the
            family to be ineligible for continued assistance may move, or the family may
             choose prorated assistance.




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                                     CHAPTER 13:
                              ALLOWABLE MOVES/PORTABILITY

      13.1   INTRODUCTION

             This chapter defines the procedures, restrictions and limitations for moving, for
             new applicants and current participants.
             As stated in HUD regulations, eligible families participating in the Housing Choice
             Voucher Program have the right to receive tenant-based voucher assistance
             anywhere in the United States, in the jurisdiction of a housing authority
             administering a Housing Choice Voucher program. This program feature is
             called "portability." This chapter includes HACoLA's procedures for new
             applicants and current participants that "port out" of HACoLA's jurisdiction.
             Additionally, this chapter specifies HACoLA's policies for receiving "incoming
             ports" from other housing authorities.
             The option of portability does not apply to families assisted under the Moderate
             Rehabilitation Program.

      13.2   ALLOWABLE MOVES AND RESTRICTIONS

      13.2.1 Restrictions on Moves
             HACoLA may deny families permission to move if:
                 ➢ There is insufficient funding for continued assistance;
                 ➢ The family has violated a family obligation;
                     The family is in the initial term of the lease (see 13.2.4 for exceptions); or
                 ➢ The family owes money to HACoLA or another housing authority. See
                     Chapter 17, Section 17.2, for more information on allowable moves for
                     families with repayment agreements.
             In the event of insufficient funding, HACoLA is approved to deny new and
             assisted families permission to move if the family chooses to move to a higher
             cost area. New or assisted families will not permitted to move to a different
             housing authority's jurisdiction if the new HAP is higher than the current HAP
             subsidy for a participant, or the estimated HAP for an applicant, unless the
             receiving housing authority chooses to absorb the new or assisted family into
             their Section 8 program.

       13.2.2 Allowable Moves for New Aaalicants
             [24 CFR &982.3531
              A family who lives and/or works in HACoLA's jurisdiction at the time they are
              admitted to the Housing Choice Voucher Program may choose, as their initial
              housing:
                  ➢ To remain in their current unit (this is referred to as leasing-in-place);
                  ➢ A unit anywhere within HACoLA's jurisdiction; or




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                 ➢ A unit outside of HACoLA's jurisdiction. For more information, see the
                    Outgoing Portability section of this chapter.
             A family who does not live or work in HACoLA's jurisdiction at the time they are
             admitted to the Housing Choice Voucher Program must initially locate a unit
             within HACoLA's jurisdiction in order to receive assistance. The family does not
             have any right to portability until they have resided in HACoLA's jurisdiction for at
             least 12 months[24 CFR §982.353(c)].
                 ➢ Under limited conditions, HACoLA may waive this requirement. Examples
                     of situations that may warrant an exception to this rule include life-
                     threatening situations or as a reasonable accommodation. However, in all
                     cases both HACoLA and the receiving jurisdiction must agree to allow the
                     move. tf the receiving housing authority does not agree, HACoLA will not
                     approve a transfer[24 CFR §982.353(c)(3)].

      13.2.3 Allowable Moves for Current Participants
             X24 CFR X982.314]
             A family that initially receives assistance fora unit leased in HACoLA's
             jurisdiction may request to move to another unit and receive continued
             assistance. Families in good standing may move with continued assistance if:
                  1. The assisted lease for the old unit has ended because HACoLA has
                     terminated the HAP contract for owner breach [24 CFR §982.314(b)(1)(i)];
                  2. The lease was terminated by mutual agreement of the owner and the
                     family [24 CFR §982.314(b)(1)(ii)]. HACoLA must receive a copy of this
                      notice;
                  3. The owner has given the family a notice to vacate for reasons other than
                      a lease violation [24 CFR §982.314(b)(2)]. HACoLA must receive a copy
                      of this notice; or
                  4. The family has given proper written notice of lease termination after the
                      initial lease term and in accordance with State law. This generally
                      requires a 30-day notice; however, HACoLA recommends that families
                      provide a 60-day notice in order to ensure a smooth transition to the new
                      unit [24 CFR §982.314(b)(3)]. HACoLA must receive a copy of this
                      notice.
              A family is considered to be in good standing if they have not violated the terms
              of the lease, any program regulations and do not owe any money to HACoLA or
              another housing authority.
              Families that are eligible to move with continued assistance may choose to move
              to a unit that is:
                  ➢ Within HACoLA's jurisdiction. This type of a move is called a "reserve
                      vacate." This means that the family is moving from a unit, which could
                      result in a temporary vacancy in the program until another unit is secured;
                      however, the slot remains reserved for the family until the time they lease
                      another unit.
                  ➢ Outside HACoLA's jurisdiction. See the Outgoing Portability section of
                      this chapter for more information.


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      13.2.4 Restrictions on Moves Durinu the Initial Lease
            [24 CFR &982.314(c1 and ~982.314(ell
             Generally, families will not be permitted to move during the initial lease (12
             months), or more than once in any 12-month period except as noted below:
                1. Life-Threatening Situations (witness to or victim of a crime, HQS
                   emergency items, natural disaster, unsafe environment, etc.)
                2. Reasonable Accommodation: A family may request to move to
                   accommodate a disability. HACoLA may approve the move as a
                   reasonable accommodation and grant the request to move. However, the
                   owner of the property must agree to release the tenant from the lease.
                3. Mutual Termination: The family and the owner agree to mutually
                   terminate the contract. If a family requests to terminate a HAP contract
                   based on a mutual termination more than once in a 12-month period,
                   HACoLA may review the reason for the mutual termination. If the owner is
                   requesting a mutual termination in lieu of enforcing tenant obligations
                   under the lease, and there is evidence that the family has committed
                   violations of the lease, HACoLA may terminate the family for non-
                   compliance with family obligations.

      13.3   PROCEDURES FOR MOVES FOR CURRENT PARTICIPANTS
             X24 CFR ~982.314(d)i

             Eligible families who wish to move must first provide HACoLA and the property
             owner with proper written notice. Once HACoLA has received the notice, the
             family may be required to provide current income information, if income
             verification is more than 60 calendar days old. This information is needed in
             order for the family to be issued a new voucher.
             At the same time the voucher is issued, the family will receive a Request for
             Tenancy Approval (RTA). The family should begin looking for housing
             immediately in order to ensure a smooth transition to the new unit.
                  ➢ Requests to move for families wishing to port to another jurisdiction must
                      be submitted in writing.
              Families in HACoLA's jurisdiction that are unable to locate a new unit by the time
              they are supposed to vacate the old unit are responsible for contacting the owner
              and negotiating to stay in the current unit longer. In order for an extension to be
              approved by HACoLA, both parties must sign and complete the required contract
              extension form, indicating the revised effective expiration date, and submit it to
              HACoLA before the contract is set to expire. Once the request has been
              received, HACoLA will release payments to the owner as appropriate. If the
              owner does not agree to extend the notice; the family may be required to seek
              alternative housing, at their own expense, in the interim.




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      13.4     OUTGOING PORTABILITY PROCEDURES
              [24 CFR ~982.355(c11

              Both new applicants and current participant families must first identify the new
              jurisdiction where they will be moving. Once HACoLA has received this
              information, HACoLA will:
                  1. Notify the receiving housing authority that the family wishes to relocate
                       into its jurisdiction [24 CFR §982.355(c)(3)];
                 2. Advise the family how to contact and request assistance from the
                    receiving housing authority [24 CFR §982.355(c)(2)]; and
                 3. Provide the following documents and information to the receiving housing
                    authority [24 CFR §982.355(c)(4)]:
                     • A copy of the family's voucher, with issue and expiration dates,
                       formally acknowledging the family's ability to move under portability.
                     • The most recent HUD 50058 form and verifications.
                      • The Family Portability form (HUD-52665).
              New applicant families will be subject to the income eligibility requirements of the
              jurisdiction in which they will be receivin4 assistance [24 CFR §982.353(d)].

      13.4.1 Briefin4 for Families Wishing to Exercise Portability
             Since families wishing to move to another jurisdiction must understand that the
             policies and procedures of the receiving housing authority prevail, HACoLA will
             provide counseling for those families who express an interest in portability. This
             will include a discussion of difference in payment standards, subsidy standards,
             and income limits, if applicable.

       13.4.2 Payment to the Receiving Housing Authority
             [24 CFR 6982.355(d) and ~982.355(e11
              If the receiving housing authority chooses to administer and bill assistance on
              HACoLA's behalf, HACoLA will reimburse the receiving housing authority for
              costs associated with administering the voucher, as specified in HUD regulations.
               The receiving housing authority must submit to HACoLA the initial billing no later
               than 60 days following the expiration date of the family voucher issued or within
               10 days of an executed contract.
               HACoLA will ensure that the receiving PHA receives all subsequerrt monthly
               payments no later than the fifth working day of each month.

       13.5    INCOMING PORTABILITY PROCEDURES
               [24 CFR X982.3551

               Eligible participants in the Housing Choice Voucher Program in other housing
               authorities may be assisted in HACoLA's jurisdiction.
               For a family to port in to HACoLA's jurisdiction, HACoLA must receive, from the
               initial housing authority:



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                   The Family Portability form (HUD-52665) with Part I completed.
                 ➢ A copy of the family's voucher with a valid expiration date.
                 ➢ The most recent HUD 50058 form and required income verifications
                   supporting the form.

      13.5.1 Policies on Absorption and Administration
            [24 CFR ~982.355(d)and §982.355(ey
             For incoming ports, HACoLA may, if funding permits, accept a family with a valid
             voucher from another jurisdiction and absorb the voucher. HACoLA may also
             exercise the option to administer the initial housing authority's voucher and bill
             the initial housing authority as authorized in the regulations.
             If HACoLA chooses to administer, it will submit to the initial PHA an initial billing
             no later than 60 days following the expiration date of the family voucher issued or
             within 10 days of an executed contract to ensure timely receipt of payment.
             All subsequent monthly billing payments are to be received by HACoLA no later
             than the fifth working day of each month.

      13.5.2 Income and Totat Tenant Payment Review
             X24 CFR ~982.355(c11
             HACoLA will conduct an initial review of all incoming port families. HACoLA will:
                 ➢ Conduct criminal background and registered sex offender registration
                   checks of family members, as authorized by 24 CFR §982.355(c)(9) and
                   24 CFR §982.355(c)(10)(refer to Chapter 2for additional information).
                 ➢ Verify idenfrfying documents,family income and composition.
                 ➢ As necessary, HACoLA will change the bedroom size of a family's
                   voucher to comply with HACoLA's subsidy standards. If this occurs, the
                   family will be notified in writing of the change.
                 ➢ If family income documents are missing or there has been a change in
                   the family's circumstances, HACoLA may re-determine the family's TTP.
                 ➢ For incoming port families who have not yet leased a unit under the
                   Housing Choice Voucher Program (initial applicants), HACoLA must
                   verify that the family meets HACoLA's income limits.
              If a re-determination is necessary, HACoLA will not delay issuing the family a
              voucher or otherwise delay approval of a unit unless the re-determination reveals
              that the family is not eligible for assistance in HACoLA's jurisdiction. In such
              cases, the family will be referred to the initial housing authority for further
              assistance[24 CFR §982.355(c)(4)].
              In general, all families porting into HACoLA's jurisdiction will be issued a
              HACoIA voucher. The term of the voucher may not expire before the expiration
              date noted on the voucher issued by the initial housing authority. HACoLA will
              determine whether to extend the voucher term, if necessary, based on HACoLA's
              policy for extension. HACoLA will notify the initial housing authority if such an
              extension is granted [24 CFR §982.355(c)(6)].



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             If a family that has ported into HACoLA's jurisdiction is unable to locate a unit
             within the allotted time authorized on the voucher, HACoLA will notify the issuing
             housing authority that the voucher did not result in a HAP contract.
             Approval of any unit is subject to rent reasonableness and a passed inspection
            [24 CFR §982.401(a)(3)].

      13.5.3 Terminations
               In cases where HACoLA is administering a contract on behalf of another
               housing authority, HACoLA will notify the initial housing authority in writing of
               any termination of assistance within 30 calendar days of the termination.

      13.5.4 Informal Hearin4s/Reviews
             X24 CFR X982.5551
               If an informal hearing is required and requested by the family, HACoLA will
               conduct the hearing only if the participant has been assisted within HACoLA's
               jurisdiction. Such hearings will be conducted using the regular hearing
               procedures included in this plan. Families who have not yet received
               assistance in HACoLA's jurisdiction are eligible for informal reviews, as detailed
               elsewhere in this administrative plan.
               The initial housing authority will be responsible for collecting amounts owed to
               that housing authority by the family for claims paid and for monitoring
               repayment. If the initial housing authority notifies HACoLA that the family is in
               arrears or the family has refused to sign a Repayment Agreement, HACoLA will
               terminate assistance to the family.




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                                        CHAPTER 14:
                                   CONTRACT TERMINATIONS

      14.1    INTRODUCTION

              The chapter identifies the key documents/contracts that set forth the
              responsibilities of each party involved in the rental assistance relationship and
              outlines the policies and procedures under which these contracts can be
              terminated.

      14.2    DESCRIPTION OF DOCUMENTS

              There are three parties involved in the rental relationship: the assisted family, the
              owner and HACoLA.
              The rights and responsibilities of the assisted family are defined in the voucher or
              certificate and the Certified Statement of Family Obligations. A copy of the
              voucher or certificate is provided to the family at admission and each time a new
              voucher is issued. The family signs the Certified Statement of Family Obligations
              annually.
              The relationship befinreen the family and the owner is outlined in the rental lease.
              Generally, the term of the lease is for one year and then turns into amonth-to-
              month tenancy. Although HACoLA is not a part of the lease, HUD regulations
              allow housing authorities to act against the family for serious or repeated
              violations of the lease.
              The terms of the relationship between the owner and HACoLA are outlined in the
              Housing Assistance Payments(HAP) Contract. The term of the HAP contract is
              the same as the term of the lease.

       14.3   TERMINATION OF THE LEASE BY THE FAMILY: MOVES
              X24 CFR ~982.309(c)]

              For continued tenant assistance, the family cannot terminate the lease until after
              the initial term of the lease except for material breach of the lease by the owner.
              The lease determines the notice period for termination to the owner. Most leases
              require, at minimum, a 30-day notification. However, HACoLA recommends that
              families provide a minimum of a 60-day notice in order to allow enough time for a
              smooth transition of assistance from the old unit to the new unit. To initiate the
              lease termination, the family must send a written notice to the owner and
              HACoLA no less than 30 calendar days before the vacate date.

       14.4    TERMINATION OF THE LEASE BY THE OWNER

       14.4.1 Terminating the Lease During the Initial Term of the Lease
              X24 CFR ~982.310(a1]
              During the term of the lease, the owner may not terminate the tenancy except for
              good cause which includes serious or repeated violations of the lease and/or
              violations of federal, state or local law that imposes obligations on the family in
              connection with the use of the unit.


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             Under such conditions, the owner must provide both the family and HACoLA with
             a copy of any notice to move or eviction action. An eviction action is defined as a
             notice to vacate, or a complaint, or other initial pleading used under State or local
             law to commence an eviction action. Any eviction notice served to a family must
             specify the grounds for the termination of the tenancy.
             An owner may commence termination of a tenancy for good cause by serving a
             legal notice of termination on the family for the following reasons:
                 1. Serious or repeated violation of the terms and conditions of the lease[24
                     CFR §982.310(a)(1)];
                 2. Violation of Federal, State or local law that imposes obligations on the
                     tenant in connection with the occupancy or use of the premises[24 CFR
                     §982.310(a)(2)]; and
                 3. Other good cause,[24 CFR §982.310(a)(3)] including:
                    • Criminal activity by the tenant, any member of the household, a guest
                      or another person under the tenant's control that threatens the health,
                      safety or right to peaceful enjoyment of the premises by the other
                      residents, or persons residing in the immediate vicinity of the
                      premises [24 CFR §982.310(d)];
                    • Any drug-related criminal activity on or near the premises; or
                         Tenant disturbance of neighbors, destruction of property, or behavior
                         resulting in damage to the premises.

      14.4.2 Terminatin4 the Lease After the Initial Term of the Lease
             After the initial term of the lease, the owner may terminate the lease for other
             good cause. Examples of other good cause include:
                  ➢ Business or economic reason for regaining possession of the unit;
                  ➢ Owner's desire to repossess the unit for personal or family use or for a
                     purpose other than residential property;
              When terminating the lease for business or economic reasons, the owner is
              required to provide a 90-day notice to both the family and HACoLA.

       14.4.3 Requests for Criminal Records by Project-Based Section 8 Owners
              X24 CFR §5.903(d)1
              Project-based Section 8 owners (excludes housing choice voucher owners), that
              have contracts with HACoLA, may request that HACoLA obtain criminal records,
              on their behalf, for the purpose of eviction or lease enforcement. HACoLA will,
              however, charge a fee in order to cover costs associated with the review of
              criminal records.
              Project-based owners must submit the following items in order for HACoLA to
              process criminal records. Owner requests must include:
                  1. A copy of a signed consent form from each adult household members,
                     age 18 years and older. Included in the consent form must be a legible
                     name, the date of birth, a California Identification Number, and a Social



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                    Security number. This information will be used for the sole purpose of
                    distinguishing persons with similar names or birth dates.
                2. An owner's criteria or standards for evicting drug criminals in accordance
                     with HUD regulations (§ 5.857 of 24 CFR Parts 5 et al.); or criteria for
                    evicting other criminals (§ 5.858 of 24 CFR Parts 5 et al.); or criteria for
                     lease enforcement.
             Once HACoLA obtains the criminal records, a determination will be made as to
             whether a criminal act, as shown by a criminal record, can be used as a basis for
             eviction or lease enforcement. HACoLA will base its determination in accordance
             with HUD regulations and the owner criteria.
             It is important to note that HACoLA will not disclose the participant's criminal
             conviction record nor the content of that record to the owner unless the owner is
             proceeding with a judicial eviction process. In the case of a judicial eviction, the
             owner must provide HACoLA with a certification that the criminal records are
             necessary to proceed with the eviction.

      14.5   MUTUAL TERMINATION OF THE LEASE

             In cases where the owner and the family agree to terminate the lease, both
             parties have an obligation to notify HACoLA in writing at least 30 calendar days
             in advance of the vacate date in order that HACoLA may avoid overpayment to
             the owner. If the family has properly notified HACoLA and is in good standing,
             they will be scheduled for an issuance session where they will receive a voucher
             and all the necessary documents to search for a new unit.

      14.6   TERMINATION OF THE HAP CONTRACT BY HACOLA
             X24 CFR 6982.4531

             HACoLA will terminate the HAP contract as follows:
             1. When HACoLA terminates program assistance for the family.
             2. When the owner has breached the HAP contract. Any of the following
                actions will be considered a breach of the HAP contract by the owner:
                 ➢ The owner has violated any obligation under the HAP contract for the
                   dwelling unit, including the owners obligation to maintain the unit
                   according to housing quality standards, including any standards HACoLA
                   has adopted in this policy[24 CFR §982.453(a)(1)].
                 ➢ The owner has violated any obligation under any other HAP contract
                   under Section 8 of the 1937 Act(42 U.S.C. 1437fl [24 CFR

                 ➢ The owner has committed fraud, bribery or any other corrupt or criminal
                   act in connection with any federal housing program [24 CFR
                   §982.453(a)(3)].
                 ➢ The owner has failed to comply with regulations, the mortgage or note, or
                   the regulatory agreement for projects with mortgages insured by HUD or
                   Ioans made by HUD [24 CFR §982.453(a)(4)].
                   The owner has engaged in drug trafficking [24 CFR §982.453(a)(5)].


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             3. If the family is required to move from a unit which is overcrowded based on
                HACoLA's current subsidy standards[24 CFR §982.403(a)].
             HACol~4 may also terminate the HAP contract if funding is no longer available
             under the ACC[24 CFR §982.454].

      14.7    HAP PAYMENTS AND CONTRACT TERMINATIONS
             (24 CFR X982.3111

             When a HAP contract terminates, HACoLA will make payments in accordance
             with the HAP contract and depending on the reason for the contract termination.
             In cases involving a tenant notice to move or a mutual termination, not involving
             an eviction action, HACoLA wilt pay the owner for the entire last month that the
             family was in the unit regardless of the actual day of the month that the family
             moved out. HACoLA may also pay a HAP on behalf of the family for the new unit
             in the same month. However, while HACoLA can pay a subsidy for two units in a
             given month under these conditions, the family may only have physical
             possession of one unit at a time. A family will be considered to have physical
              possession of a unit if they still have belongings in the unit and the key to the
              unit. Under such cases, the family will be required to pay the full rent for one of
             the units in its possession and the family's portion for the other unit [24 CFR

              In cases involving evictions, HACoLA will continue to pay the HAP until the day
              the family moves out or is evicted [24 CFR §982.311(b)].
              In cases involving termination of assistance, HACoLA will provide the owner and
              the family of the proposed termination date. If the family does not request a
              hearing or the hearing is decided in HACoLA's favor, the HAP payments will
              terminate in accordance with the notfication. If a family continues to occupy the
              unit after assistance is terminated, the family is responsible for the total amount
              of rent due to the owner.
               If HAP payments are released to the owner for periods of time beyond the dates
              set forth above, the owner will be required to return all monies to HACoLA within
              30 calendar days or within the time specified in any approved repayment
               agreement. HACoLA also reserves the right to deduct any monies from other
               HAP payments being made to the owner by HACoLA. If the owner fails to repay
               the HAP,the account will be forwarded for further action.




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                                         CHAPTER 15:
                                      FAMILY OBLIGATIONS

      15.1   INTRODUCTION
             f24 CFR &982.552(a11

             HACOLA may terminate assistance for a family because of the family's action or
             failure to act. HACoLA will provide families with a written description of the family
             obligations under the program, the grounds under which HACoLA can terminate
             assistance, and HACoLA's informal hearing procedures. This chapter describes
             when HACoLA is required to terminate assistance, and HACoLA's policies for the
             termination of assistance.

      15.2    GROUNDS FOR DENIAUTERMINATION
             [24 CFR ~982.552(c)(2)(ii)1

             If termination is based upon behavior resulting from a disability, HACoLA will
             delay the termination in order to determine if there is a reasonable
             accommodation, pursuant to law, that would cure the grounds for the termination.

      15.2.1 Form of Termination
             Termination of assistance for a participant may include any or all of the following
             [24 CFR §982.552(a)(3)]:
                 1. Refusal to enter into a HAP contract or approve a lease
                 2. Termination of HAP under an outstanding HAP contract
                 3. Refusal to process or provide assistance under portability procedures

      15.2.2 Mandatory Termination
             HACoLA must terminate assistance for participants under the following
             conditions:
                 1. If any member of the family fails to sign and submit to HUD or HACoLA
                    required consent forms for obtaining information [24 CFR §982.552(b)(3)].
                 2. If no member of the family is an U.S. citizen or eligible immigrant[24 CFR

                 3. If 180 calendar days have elapsed since HACoLA's last housing
                    assistance payment was made.

       15.2.3 Grounds for Termination of Assistance
              f24 CFR ~982.552(ci(111
              HACoLA may at any time terminate program assistance to a participant, for any
              of the following reasons:
                  1. The family violates any family obligation under the program as listed in 24
                      CFR 982.551 [24 CFR §982.552(c)(1)(i)].
                  2. Any member of the family has ever engaged in serious lease violations
                     while a resident of federally assisted housing or within the past five years


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                    has been evicted from a federally assisted housing program [24 CFR

                3. Any family member engages in drug-related or violent criminal activity [24
                   CFR §982.553(a) and §982.551(k)-(I)].
                4. The family currently owes rent or other amounts to HACoLA or to another
                   housing agency in connection with Section 8 or public housing assistance
                   under the 1937 Act[24 CFR §982.552(c)(1)(v)].
                 5. The family has not reimbursed HACoLA or any housing agency for
                    amounts paid under a HAP contract to an owner for rent, damages to the
                    unit, or other amounts owed by the family under the lease[24 CFR
                    §982.552~~)~~)~~~)l•
                 6. The family breaches an agreement with any housing agency to pay
                    amounts owed to any housing agency, or amounts paid to an owner by
                    any housing agency [24 CFR §982.552(c)(1)(vii)].
                 7. A family participating in the family self-sufficiency(FSS) program fails to
                    comply, without good cause, with the family's FSS contract of
                    participation (COP)[24 CFR §982.552(c)(1)(viii)].
                 8. The family has engaged in or threatened abusive or violent behavior
                    toward HACoLA personnel[24 CFR §982.552(c)(1)(ix)].
                    • "Abusive or violent behavior" includes verbal as well as physical
                        abuse or violence. Use of expletives that are generally considered
                        insulting, racial epithets, or other language, written or oral, that is
                        customarily used to insult or intimidate, may be cause for termination.
                     • 'Threatening" refers to oral or written threats or physical gestures that
                       communicate intent to abuse or commit violence.
                     • Actual physical abuse or violence will always be cause for termination.

      15.2.4 Welfare to Work Pro4ram
            [24 CFR ~982.552(c1(1)(x)1
             Failure to fulfill the obligations and conditions of the Welfare to Work program is
             grounds for termination of assistance.
             Specifically, HACoLA will terminate assistance for Welfare-taWork families if the
             family fails to comply with GAIN requirements, the FSS Contract of Participation
             (CoP) and/or other required Family Self-Sufficiency requirements without good
              cause.

       15.2.5 Registered Sex Offenders
              If it is brought to the attention of the Housing Authority that a current program
              participant is on the sex offender registration list, HACoLA will review on a case-
              by-case basis. HACoLA will consult with law enforcement and legal counsel and
              take appropriate actions based on findings.




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      15.3   FAMILY OBLIGATIONS
             X24 CFR 6982.5511

               1. The family must supply any information that HACoLA or HUD determines
                  is necessary in the administration of the program [24 CFR §982.551(b)].
                  Information includes any requested certification, release or other
                  documentation. Requirements include:
                  • Submission of required evidence of citizenship or eligible immigration
                      status(as provided by 24 CFR part 5);
                  • Disclosure and verification of social security numbers (as provided by
                      24 CFR part 5);
                  • Providing any information requested by HACoLA or HUD for use in a
                       regularly scheduled or interim determination of family income and
                      composition, including income, assets, and accurate family
                      composition.
               2. The family must report all changes in family income and composition in
                   writing immediately as they occur. The owner of the unit and HACoLA
                   must approve changes in composition of the assisted family [24 CFR
                   §982.551(b) and §982.551(h)(2)]. The family must:
                       Report the birth, adoption or court-awarded custody of a child;
                       Request HACoLA approval to add any other family member;
                       Notify HACoLA when a family member no longer lives in the unit.
                   If HACoLA gives approval, alive-in attendant or a foster child may live in
                   the unit. Failure to report changes, making false reports and/or allowing
                   unauthorized people in the unit is cause for termination from the program.
                3. All information supplied by the family must be true and complete[24 CFR

                4. Maintain the rental unit[24 CFR §982.551(c)]. The family is responsible
                   for any violation of Housing Quality Standards resulting from:
                   • Failure to pay for tenant-paid utilities;
                      Failure to furnish required stove and or refrigerator if to be provided by
                      family; or
                   • Damage to the unit or grounds by the family or its guests beyond
                      normal wear and tear.
                5. The family must allow HACoLA to inspect the unit at reasonable times
                   and after reasonable notice(24 CFR §982.551(d)].
                6. The family may not commit any serious or repeated violation of the lease
                   [24 CFR §982.551(e)].
                7. The family must notify the owner and, at the same time, notify HACoLA
                    before the family moves out of the unit or terminates the lease on notice
                    to the owner. The family must promptly give HACoLA a copy of any
                    owner eviction notice [24 CFR §982.551(fl — (g)].



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                8. The family must use the assisted unit for residence by the family. The unit
                   must be the family's only residence. The family must not sublease or let
                   the unit[24 CFR §982.551(h)(1),(6)].
                9. The family must not assign the lease or transfer the unit. In cases where
                   there is a change in the head of household, the lease may be transferred
                   to the new Head but only with the consent of the owner of the property
                   and HACoLA (24 CFR §982.551(h)(7)].
                10. Members of the household may engage in legal profit-making activities in
                   the unit, but only if such activities are incidental to primary use of the unit
                    as a residence by members of the family [24 CFR §982.551(h)(5)].
                 1 1. The family must supply any information or certification requested by
                      HACoLA to verify that the family is living in the unit, or relating to family
                      absence from the unit, including any HA-requested information or
                      certification on the purposes of family absences. The family must
                      cooperate with HACoLA for this purpose. The family must promptly notify
                      HACoLA of absence from the unit[24 CFR §982.551(1)].
                 12. The family must not own or have any interest in the unit[24 CFR
                     §982.551 U)l•
                 13. The members of the family must not commit fraud, bribery or any other
                     corrupt or criminal act in connection with the programs[24 CFR

                 14. The members of the family may not engage in drug-related criminal
                     activity or violent criminal activity.
                 15. An assisted family, or members of the family, may not receive Section 8
                     tenant-based assistance while receiving another housing subsidy, for the
                     same unit or for a different unit, under any duplicative (as determined by
                     HUD or in accordance with HUD requirements)federal, State or local
                     housing assistance program [24 CFR §982.551(1)].
                 16. The family must pay only the amount authorized by HACoLA on the
                     approved lease. Any amount paid by the family other than the authorized
                     amount is considered an illegal side payment and is cause for termination
                     of the housing assistance subsidy. HACoLA may authorize additional
                     payments for other amenities[24 CFR §982.451(b)(4)(ii)].

       15.3.1 Housing Authority Discretion
              f24 CFR ~982.552(c)(211
              In deciding whether to terminate assistance because of action or failure to act by
              members of the family, HACoLA has discretion to consider all of the
              circumstances in each case, including:
                  ➢ The seriousness of the case,
                  ➢ The extent of participation or culpability of individual family members, and
                    The length of time since the violation occurred and more recent record of
                    compliance, and the effects of denial or termination of assistance on other
                    family members who were not involved in the action or failure to act.



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            HACoLA may impose, as a condition of continued assistance for other family
            members, a requirement that family members who participated in or were
            culpable for the action or failure will not reside and/or visit in the unit. HACoLA
            may permit the other members of a family to continue in the program.

      15.3.2 Enforcing Family Oblictations
             Explanations and Terms
             ❑ HQS Breach: The inspector will determine if an HQS breach as identified in
               24 CFR §982.404(b) is the responsibility of the family. Families may be given
               extensions to correct HQS breaches as explained in Chapter 10.
             ❑ Lease Violations: The following criteria will be used to decide if a serious or
               repeated violation of the lease will cause a termination of assistance [24 CFR
               §982.310]:
                       If the owner terminates tenancy through court action for serious or
                       repeated violation of the lease.
                   • If the owner notifies the family of intention to terminate tenancy for
                       serious or repeated lease violations, and the family moves from the
                        unit prior to the completion of court action, and HACoLA determines
                       that the cause is a serious or repeated violation of the lease based on
                        available evidence.
                        If there are police reports, neighborhood complaints or other third
                        party information, and HACoLA has verified the information. Lack of
                        receipts or other proof of rent payments by the family may also be
                        considered verification of lease violations.
             ❑ Family Member Moves Out: Families are required to notify HACoLA within
               30 calendar days if any family member leaves the assisted household [24
                CFR §982.551(h)(3)]. When the family notifies HACoLA, they must furnish
                the following information:
                        The date the family member moved out.
                   • The new address, if known, of the family member.
                   • A statement as to whether the family member is temporarily or
                        permanently absent.
                        Related income, asset or deduction changes resulting from the
                        member moving.
             ❑ Limitation on Profit-making Activity in Unit X24 CFR &982.551(hl(511: If
               the business activity area results in the inability of the family to use any of the
               critical living areas, such as a bedroom utilized for a business which is not
               available for sleeping, it will be considered a violation.
               If HACoLA determines that the use of the unit as a business is not incidental
               to its use as a dwelling unit, it will be considered a violation of family
               obligations.
             ❑ Interest in Unit f24 CFR ~982.551(i)1: The owner may not reside in the
               assisted unit, under any circumstances, including as a live-in aide, regardless
               of whether the owner is a member of the assisted family, unless assistance is


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               being provided for a mobile home and the family owns the mobile home and
               rents the pad under the Certificate or Housing Choice Voucher Program.
             ❑ Fraud X24 CFR ~982.551(k)1: In each case, HACoLA will consider which
               family members were involved, the circumstances, and any hardship that
               might be caused to innocent members.

      15.3.3 Druq Related Criminal Activity
            (24 CFR &982.553(a) and (b)(1) and (21]
             Drug-related criminal activity refers to the illegal manufacture, sale, distribution,
             use or possession with intent to manufacture, sell, distribute or use a controlled
             substance [24 CFR §5.100].
             Drug-related criminal activity does not include the prior use or possession of a
             controlled substance if the family member had an addiction to the substance and
             has recovered, or is recovering from the addiction and does not currently use or
             possess the substance and has demonstrated successful completion of a
             rehabilitation program [24 CFR §982.553(b)].
                     HACoLA may propose termination against the family for drug-related
                     criminal activity within 1000 feet of the assisted unit. An arrest or
                     conviction is not required to deny or terminate assistance.
                  ➢ Participants may be terminated if they have been arrested, convicted or
                     whose tenancy is being terminated due to drug-related criminal activity or
                     whose activities have created a disturbance in the building or
                     neighborhood.
                  ➢ If the family violates the lease for drug-related criminal activity, HACoLA
                     will terminate assistance.
              In appropriate cases, HACoLA may permit the family to .continue receiving
              assistance provided that family members determined to have engaged in the
              prescribed activities will not reside and/or visit in the unit. If the violating member
              is a minor, HACoLA may consider individual circumstances with the advice of
              Juvenile Court officials.

       15.3.4 Violent Criminal Activity
              X24 CFR 6982.553(al and (b1(1) and (211
              Violent criminal activity includes any criminal activity that has as one of its
              elements the use, attempted use, or threatened use of physical force against a
              person or property, and the activity is being engaged in by any family member.
              Violent criminal activity also includes activity which occurs within the family, such
              as during domestic disputes.
                  ➢ Participants may be terminated if they have been arrested, convicted or
                      whose tenancy is being terminated due to violent criminal activity or
                      whose activities have created a disturbance in the building or
                      neighborhood.
                  ➢ If the family violates the lease for violent criminal activity, HACoLA will
                      terminate assistance.




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              In appropriate cases, HACoLA may permit the family to continue receiving
              assistance provided that family members determined to have engaged in the
              prescribed activities will not reside and/or visit in the unit. If the violating member
              is a minor, HACoLA may consider individual circumstances with the advice of
              Juvenile Court officials.

      15.3.5 Required Evidence
            [24 CFR ~982.553(c)1
              In determining whether to terminate assistance based on criminal activity,
              HACoLA may terminate assistance if the preponderance of evidence indicates
              that a family member has engaged in such activity, regardless of whether the
              family member has been arrested or convicted.
              HACoLA may consider arrests, convictions, no contest pleas, fines, city
              ordinance violations or other credible preponderance of evidence in determining
              if a violation has occurred.
              Preponderance of evidence: evidence which is of greater weight or more
              convincing than the evidence which is offered in opposition to it; that is, evidence
              which as a whole shows that the fact sought to be proved is more probable than
               not. The intent is not to prove criminal liability, but to establish that the acts)
              occurred. Preponderance of evidence may not be determined by the number of
               witnesses, but by the greater weight of all evidence.

       15.3.6 Confidentiality of Criminal Records
              X24 CFR ~5.903(Q)]
              Criminal records received by HACoLA shall be maintained confidential, not
              misused, nor improperly disseminated and kept locked during non-business
              hours. Also, all criminal records will be destroyed no later than 30 calendar days
              after a final determination is made.

       15.3.7 Disclosure of Criminal Records to Family
             [24 CFR ~5.903(fl and ~982.553(d)1
              The applicant or household member requesting to be added to the lease will be
              provided with a copy of the criminal record upon request and an opportunity to
              dispute the record. Applicants will be provided with the opportunity to dispute the
              record at an informal review. Participants may contest such records at an
              informal hearing.

       15.4    NOTICE OF TERMINATION OF ASSISTANCE

               In any instance where HACoLA decides to terminate assistance to the family,
               HACoLA must give the family a written notice that includes:
                   1. The reasons)for the proposed termination;
                   2. The effective date of the proposed termination;
                   3. Information regarding the family's right to request an Informal Hearing to
                      be held before termination of assistance; and




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                4. The date by which a request for an informal hearing must be received by
                     HACoLA.
             A final notice of determination and date of termination will then be sent to the
             participant if no hearing is requested within the allowable time or if the Informal
             Hearing confirms the termination.
             HACoLA will simultaneously provide written notice of the contract termination to
             the owner so that it will coincide with the termination of assistance. The notice to
             the owner will not include any details regarding the reason for termination of
             assistance.

      15.5   PROCEDURES FOR NON-CITIZENS
             X24 CFR 6982.552(bl(41 and 24 CFR X5.5141

             HACoLA is required to terminate assistance for participant families in which no
             members are U.S. citizens or eligible immigrants. If a family member does not
             establish citizenship or eligible immigration status as required, HACoLA will
             prorate the assistance, or if there are no eligible family members remaining,
             HACoLA will propose program termination and provide the opportunity for an
             informal hearing, as explained in Chapter 16.

      15.5.1 False or Incomplete Information (No Eligible Membersl
             Families are required to submit evidence and sign declarations of their
             citizenship or eligible immigration status. If HACoLA obtains substantive
             documentation (such as a permanent resident card or information from another
             agency) that contradicts a family member's declaration of citizenship, an
             investigation will be conducted and the individual given an opportunity to present
             relevant information.
                 ➢ If the family (or any member)claimed eligible immigrant status and the
                     INS primary and secondary verifications failed to document the status, the
                     family may make an appeal to the INS and request a hearing with
                     HACoLA either after the INS appeal or in lieu of the INS appeal.
                      If the family member is unable to verify their citizenship, HACoLA may
                     give the individual an opportunity to provide a new declaration as an
                     eligible immigrant or to elect not to contend their status. HACoLA will then
                     verify eligible status, and terminate, or prorate as applicable.
                  ➢ Assistance may not be terminated while verification of the participant
                     family's eligible immigration status is pending.
              After Hi4CoLA has made a determination of ineligibility, the family will be notified
              of the determination and the reasons, and informed of the option for prorated
              assistance (if applicable) or the proposed termination.
              HACoLA will terminate assistance for misrepresentations or submission of false
              information.




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      15.6    $0 ASSISTANCE TENANTS(END OF PARTICIPATION)
              X24 CFR X982.4551

              HACoLA is required to automatically terminate the HAP contract 180 calendar
              days after the last housing assistance payment is made to the owner. A family
              receiving no ($0) assistance may remain in the unit for up to 180 calendar days
              after the last HAP payment. If the family is still in the unit after 180 calendar days,
              assistance is terminated. If within the 180-day period, an owner rent increase or
              a decrease in the TTP causes the family to be eligible for a housing assistance
              payment, HACoLA will resume assistance payments for the family.
              In order for a family to move to another unit during the 180 calendar days, the
              rent for the new unit would have to be high enough to necessitate a housing
              assistance payment.

      15.7    OPTION NOT TO TERMINATE FOR MISREPRESENTATION OF INCOME

              If the family has misrepresented any facts that caused HACoLA to overpay
              assistance, HACoLA may choose not to terminate and may offer to continue
              assistance provided that the family agrees to pay HACoLA the amount owed and
              either pays HACoLA in full or executes a Repayment Agreement and makes
              payments in accordance with the agreement.

      15.8    MISREPRESENTATION IN COLLUSION WITH OWNER

              If the family willingly and knowingly commits fraud or is involved in any other
              illegal scheme with the owner, HACoLA will deny or terminate assistance.

       15.9    MISSED APPOINTMENTS AND DEADLINES
              [24 CFR §982.5511

              It is a family obligation to supply information, documentation, and certifications as
              needed for HACoLA to complete required processes. HACoLA schedules
              appointments and sets deadlines in order to obtain the required information.
              Failure to supply requested information can result in termination of assistance.
              Examples of failing to supply requested information can include: failing to sign
              necessary documents, failing to return documents or returning incomplete or
              altered documents, failing to complete all information requested on documents,
              etc.
              The obligations also require that the family keep all appointments and allow
              HACoLA to inspect the assisted unit. All scheduled inspections are considered
              "appointments."
              The family will receive information about the requirement to keep appointments,
               and the number of times that appointments are rescheduled as specified below.
               Appointments are scheduled and time requirements imposed for the following
               events and circumstances:
                   1. Eligibility for Admissions;
                   2. Verification Procedures;



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                3. Voucher Issuance and Briefings;
                4. HQS Inspections;
                5. Re-examinations; and
                6. Appeals (Informal Hearing/Reviews).
             Examples of good cause for missing appointments or failing to provide
             information by deadlines are medical and/or family emergencies. In such cases,
             the family may be requested to provide verification of such circumstances.
             An applicant or participant who fails to keep appointments, or to supply
             information required by a deadline without notifying HACoLA may be sent a
             notice of termination of assistance for failure to comply with program regulations.
             The family may be granted up to two opportunities before they receive a notice of
             denial or termination for breach of a family obligation. After issuance of the denial
             or termination notice, if the family offers to correct the breach within the time
             allowed to request a review or hearing, the notice may be rescinded after the
             family corrects the breach, if the family does not have a history of non-
             compliance. For families with a history of non-compliance, HACoLA may elect to
             hold the review or hearing.




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                                       CHAPTER 16:
                           INFOR MAL HEARINGS AND COMPLAINTS

      16.1   INTRODUCTION

             This chapter will cover HACoLA's policy and procedures for informal reviews and
             informal hearings. This chapter defines HACoLA's responsibilities to applicants
             and participants.

      16.2   APPLICANTS —PREFERENCE DENIALS
             124 CFR X982.5541

             If HACoLA determines that an applicant is not eligible for a preference, the
             applicant will be informed of the decision in writing. Although such a
             determination does not render the applicant ineligible to receive assistance, the
             applicants file is considered low priority.
             If the applicant disagrees with the decision, the applicant must in writing request
             to review the decision to the Applications and Eligibility Unit Supervisor within 10
             calendar days of the date of the notification. The request should also provide all
             information and documents supporting the applicant's request. The supervisor
             will review the file and determine if the decision was proper or if new information
             provided by the family warrants a change in the original determination. The Unit
             Supervisor will notify the applicant of their decision.
             If the determination was properly made,the applicants file will remain low priority
             until the family notifies HACoLA of a change in circumstance that qualifies the
             family for a preference.

      16.3   INFORMAL REVIEW PROCEDURES FOR APPLICANTS
             [24 CFR ~982.554(a)1

             Under certain circumstances, HACoLA offers informal reviews for applicants.
             Applicants are defined as families who are on the Section 8 waiting list and are
             awaiting the issuance of a voucher or families who have been issued a voucher
             but have not yet been assisted under a Housing Assistance Payment (HAP)
             Contract.
             When HACoLA denies assistance to an applicant, the family is notified in writing.
             The notice contains:
                 ➢ The reasons)for the decision;
                 ➢ The procedure for requesting an informal review if the applicant does not
                   agree with the decision; and
                 ➢ The time limit for requesting a review.
              HACoLA must provide applicants with the opportunity for an Informal Review of
              Decisions denying issuance of a voucher or participation in the program.
              Applicants who are denied assistance based on ineligible immigration status are
              entitled to an informal hearing (rather than an informal review).



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      16.3.1 When an Informal Review is Not Required
            [24 CFR 5982.554(c)1
             Informal reviews are not required for established policies, procedures, and
             HACoLA determinations such as:
                1. Discretionary administrative determinations by HACoLA;
                2. General policy issues or class grievances;
                3. A determination of the family unit size under the HACoLA subsidy
                   standards;
                4. Refusal to extend or suspend a certificate or voucher;
                5. Disapproval of lease;
                6. Determination that the unit is not in compliance with HQS; or
                7. Determination that the unit is not in accordance with HQS due to family
                   size or composition.

      16.3.2 Procedure for Review
            [24 CFR ~982.554(b)l
             A request for an informal review must be received in writing by the close of the
             business day, no later than 10 calendar days from the date of HACoLA's
             notification of denial of assistance. The informal review will be scheduled within
             30 calendar days from the date the request is received.
             The informal review will not be conducted by the person who made or approved
             the decision under review, nor a subordinate of such person. The review may be
             conducted by:
                 ➢ A staff person who is not the person who made the decision or his/her
                   subordinate, or
                 ➢ An individual from outside HACoIA.
             If the applicant fails to appear for the informal review and has not contacted
             HACoLA in advance to reschedule, HACoLA's proposed disposition of the
             grievance will become final. HACoLA may reschedule the review but only if the
             family can show good cause for the failure to appear.
              At the informal review, the applicant may present oral or written objections to the
              decision. Both HACoLA and the family may present evidence and witnesses.
              The family may use an attorney or other representative to assist them at their
              own expense.
              A Notice of the Review decision will be provided in writing to the applicant within
              30 calendar days after the review. It shall include the decision of the review
              o~cer, and an explanation of the reasons for the decision.
              All requests for a review, supporting documentation, and a copy of the final
              decision will be retained in the applicants file.




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      16.4   INFORMAL HEARING FOR PARTICIPANTS
             X24 CFR 6982.5551

      16.4.1 When an Informal Hearing Mav Be Requested
            [24 CFR ~982.555(al(11l
             A participant family must be given an opportunity for an informal hearing to
             consider whether certain HACoLA decisions are in accordance with the law, HUD
             regulations and HACoLA policies.
             In the following cases, HACoLA must give the participant an opportunity for an
             informal hearing before HACoLA terminates HAP for the family under an existing
             HAP contract.
                 1. A determination of the family's annual or adjusted income, and the use of
                     the income to compute the housing assistance payment.
                2. A determination of the appropriate utility allowance (if any)for tenant-paid
                   utilities from HACoLA utility allowance schedule.
                3. A determination of the family unit size under HACoLA subsidy standards.
                4. A determination that a certificate program family is residing in a unit with a
                   larger number of bedrooms than appropriate for the family unit size under
                   HACoLA subsidy standards, or HACoLA determination to deny the family
                   request for a waiver from the standards.
                5. A determination to terminate assistance for a participant family because
                   of the family's action or failure to act.
                6. A determination to terminate assistance because the participant family
                   has been absent from the assisted unit for longer than the maximum
                   period permitted under HACoLA policy and HUD rules.
                7. A decision to deny a voucher re-issuance, to refuse to agree to a new
                   Contract with the participant, or to terminate assistance on behalf of the
                   participant. Exceation: No further hearing is required prior to denial of
                   assistance if:
                   • The ground for denial of re-issuance is the tenants failure to pay an
                       owner's claim for damages, vacancy loss or unpaid rent, and
                   • A prior informal hearing on the validity and amount of that claim has
                       been held (or was not requested by the participant).
                    •   However, the participant must be afforded a reasonable opportunity to
                        supply proof of payment of such owner's claim.

       16.4.2 Notification
             [24 CFR 6982.555(c)1
              ❑ When the matter in question is:
                    The determination of the family's annual or adjusted income or
                    computation of the housing assistance payment;
                 2. Appropriate utility allowance (if any)for tenant-paid utilities; or
                 3. Family unit size,


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                HACoLA must notify the family that they may ask for an explanation of the
                basis of HACoLA determination. The family must also be notified that if the
                family does not agree with the explanation, the family may request in writing
                an informal hearing on the decision.
             ❑ When the matter in question is:
               1. Certificate family residing in too large a unit, or HACoLA's refusal to issue
                  a waiver to subsidy standards;
               2. Termination due to the family's action or failure to act; or
               3. Absence from the assisted unit for longer than the maximum period
                   permitted,
               HACoLA must give the family prompt written notice that the family may
               request in writing an informal hearing on the decision.
             O When HACoLA has made a decision to:
               1. Terminate HAP on behalf of a participant under an active Contract;
                 2. Refuse to re-issue a voucher; or
                 3. Refuse to execute a new contract with a program participant,
                 The family must be given written notice of the opportunity for an informal
                 hearing before the termination of Housing Assistance Payments.
              ❑ The notice must:
                    • Contain a brief statement of reasons for the decision;
                    • Inform the participant regarding his/her right to an informal hearing;
                    • Advise the participant that a request for an informal hearing must be
                      in writing;
                    • Advise the participant that HACoLA must receive the request within
                      10 calendar days of the date of the letter; and
                    • Explain the basic elements of the informal hearing, i.e., right of the
                      participant to present evidence, question witnesses, to have
                      representation, HACoLA designated impartial hearing officer a written
                      decision.

       16.4.3 Prior to Hearin4
              t24 CFR ~982.555(e)(21l
              Before the informal hearing, the family may request an appointment to examine
              any documents in the family's portion of the file that are directly relevant to the
              hearing. The family must be allowed to copy any such document at the family's
              expense. If HACoLA does not make the document available for examination on
              request of the family, HACoLA may not use the document at the hearing.
              HACoLA requires that the family submit any documents that are directly relevant
              to the hearing either before or at the time of the hearing. HACoLA must be
              allowed to copy any such documents at HACoLA's expense. If the family does
              not make the document available for examination on request of HACoLA, the
              family may not rely on the document at the hearing.


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            During the course of the hearing, if the family offers to submit evidence, the
            Hearing Officer is not required to, but may exercise the discretion to allow the
            family to submit a document within a specified period.

      16.4.4 Hearin4 Process
            [24 CFR 5982.555(d)1
            When a participant family has timely requested a hearing, HACoLA will proceed
            within 15 calendar days of receipt of the request to notify the participant of the
            date, time and location of the hearing. There may be one postponement of the
            hearing date by the participant. A request to reschedule must be requested
            before the scheduled date and may not extend beyond the proposed termination
            date. Any additional postponements may only be for good cause such as, but
            not limited to hospitalization, illness or injury. Second postponement requests
            must be supported by verification of the cause.

      16.4.5 Hearing Officer
            (24 CFR ~982.555(el(4)1
             The Hearing Officer may be either an HACoLA employee or an outside third
             party contracted by HACoLA. The Hearing Officer must not have made or
             approved the decision under review nor be a subordinate of the person who
             made the decision. The Hearing Officer will audio record the hearing and follow
             the format set forth below.

      16.4.6 O enin
             The Hearing Officer will convene the informal hearing with both parties and their
             representatives present. (If the participant is represented, the participant will
             have provided HACoLA written authorization for the representative to do so.)
             The Hearing O~cer will explain the informal hearing procedures, state the
             purpose of the hearing, and inform the participant that the hearing will be
             recorded. The Hearing Officer may request clarification or ask questions of
             either side or witnesses at anytime during the Informal Hearing. Each person
             present will introduce himself or herself.

       16.4.7 Presentations
             Each side will have an opportunity to present its case and be allowed to present
             witnesses and submit relevant evidence as determined by the Informal Hearing
             O~cer. (Witnesses may be cross-examined at this time.) HACoLA begins the
             hearing by presenting the Notice of Hearing. HACoLA will then present a copy of
             the original notification to the participant regarding the matter, followed by the
             evidence, including testimony of witnesses, which supports the allegations in the
             notification.

       16.4.8 Rebuttals
             Each side will have an opportunity to present rebuttal to the evidence presented.

       16.4.9 Final Summary
             Each side is then allowed to summarize its arguments.



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      16.4.10 Conclusion of Hearing
              The Hearing Officer may continue a hearing if additional information from either
              party is requested. Otherwise, the Hearing Officer will advise each side that the
              testimony and evidence will be reviewed, a final decision made and a
              determination letter issued stating the decision and the reasons for the decision
              within 10 calendar days. The decision of the Hearing Officer is final.
              The Hearing Officer will use the following principles for the Informal Hearings
              and decisions:
                1. Evidence may be considered without regard to admissibility under the
                   rules of evidence applicable to judicial proceedings.
                2. Determinations on the matter being reviewed shall be based on the
                   evidence presented at the hearing.
                3. If the issues and differences can properly be resolved at the hearing, the
                   Hearing Officer should attempt to resolve them through mutual consent
                   as long as the resolution is not contrary to applicable law, HUD
                   regulations and/or HACoLA's policies.
                4. The purpose of the hearing is to determine if the original decision made in
                   the case is in accordance with the law, HUD regulations and HACoLA's
                   policies.
                5. The Hearing OfFcer may not make a finding contrary to HUD regulations
                   or requirements, contrary to federal, state or local law or exceeding the
                   authority of the Hearing O~cer.

      16.5   WHEN AN INFORMAL HEARING IS NOT REQUIRED
             f24 CFR &982.555(b)1

              HACoLA is not required to provide a participant family an opportunity for an
              informal hearing for the following:
                  1. To review discretionary administrative determinations by HACoLA, or to
                     consider general policy issues or class grievances;
                 2. To review HACoLA's determination that a unit does not comply with HQS,
                    except when the breach of HQS was determined to be tenant-caused;
                 3. To review decision by HACoLA to exercise or not exercise any remedy
                    against the owner under an outstanding Contract, including the
                    termination of HAP to the owner;
                 4. To review HACoLA's decision not to approve a Family's request for an
                    extension or suspension of the term of the voucher;
                 5. Determination that the unit is not accordance with HQS due to family size;
                 6. Establishment of HACoLA's schedule of utility allowances for families in
                    the program; or
                 7. HACoLA determination not to approve a unit or lease.




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                                       CHAPTER 17:
                             OWNER OR FAMILY DEBTS TO HACOLA

      17.1     INTRODUCTION
              [24 CFR 6982.163 and X7921

              This chapter describes HACoLA's policies and guidelines for the recovery of
              debts and the use of repayment agreements. Before a debt is assessed against
              a family or owner, the file must contain documentation to support HACoLA's
              claim that the debt is owed. The file must further contain written documentation of
              the method of calculation, in a clear format for review by the owner or the family,
              as appropriate.
               When families or owners owe money to HACoLA, every effort will be made to
               collect the debt. A variety of collection tools to recover debts may be used
               including, but not limited to:
                  ➢ Requests for lump sum payments
                  ➢ Repayment agreements
                      Abatements
                  ➢ Deductions
                  ➢ Collection agencies
                  ➢ Credit bureaus
                  ➢ Civil suits

       17.2    REPAYMENT AGREEMENT FOR FAMILIES
               X24 CFR X792.1031

               A Repayment Agreement as used in this plan is a document entered into
               between HACoLA and the person who owes a debt to HACoLA. The Repayment
               Agreement contains an acknowledgment by the person of the debt in a specific
               amount, the terms of repayment, any special provisions of the agreement, and
               the remedies available to HACoLA upon default of the agreement.
               If a repayment agreement is to be entered into, HACoLA will usually require that
               the family pay an initial lump sum (in an amount determined by HACoLA) with the
               remaining balance to be paid in equal payments over a period of time not to
               exceed 12 months for amounts under $2,400 or 24 months for any amount in
               excess of $2,400.
               In determining the initial lump sum, HACoLA will consider the total amount owed,
               the ability of the person to make the remaining payments and the percentage of
               the total sum owed. In most cases, HACoLA will require a significant initial lump
               sum as part of entering into a Repayment Agreement to help ensure full payment
               to HACoLA and to reduce the monthly payment.

       17.2.1 Late Payments
               A payment will be considered to be in arrears if the payment has not been
               received by the close of the business day on which the payment was due.


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                      If the due date is on a weekend or holiday, the due date will be at the
                      close of the next business day.
             If the family's repayment agreement is in arrears, HACoLA may do one or more
             of the following:
                ➢ Require the family to pay the entire arrearage plus current month's
                  payment in order avoid loss of assistance;
                7 Require the family to pay the balance in full in order to avoid losing
                  assistance;
                  Pursue civil collection of the balance due; or
                 ➢ Terminate the housing assistance.

      17.2.2 Requests To Move
             If the family requests a move to another unit and has a repayment agreement in
             place and the repayment agreement is not in arrears, the family will be required
             to pay the balance in full prior to the issuance of a voucher.
             If the family requests a move to another unit and is in arrears on a repayment
             agreement unless, they pay the balance in full, the request will be denied.
             Under special circumstances, HACoLA may make an exception and allow a
             family to move without paying the entire balance of the debt if the family is
             current with its payments. HACoLA may also allow a family who is in arrears to
             become current in order to process a move if the move is for one of the following
             reasons:
                 ➢ HAP contract is terminated due to owner non-compliance
                 ➢ A natural disaster
                   The unit is uninhabitable or has major HQS deficiencies that are not the
                   result of a family action or inaction.
                   A life-threatening situation such as the family is a witness to or a victim of
                   a crime and must move for safety reasons. The family will be required to
                    provide proof in such cases.
              HACoLA may not agree to a repayment agreement if the family already has a
              Repayment Agreement in place, or if the family has breached previous
              Repayment Agreements.

       17.2.3 Guidelines for Repayment Aureements
              HACoLA, at its sole discretion, will determine on a case-by-case basis whether or
              not to offer a family a repayment agreement for monies owed to HACoLA.
              Repayment Agreements will be executed between HACoLA and the head of
              household or other adult family member.
              Monthly payments may be decreased in cases of hardship with the prior notice of
              the family, verification of hardship, and the approval of a HACoLA Housing
              Supervisor.




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              ❑ Additional Debt Incurred: If the family has a Repayment Agreement in place
                and incurs an additional debt to HACoLA:
                       HACoLA may choose, at its discretion, to agree to more than one
                       Repayment Agreement at a time with the same family.
                    • If a Repayment Agreement is in arrears more than 30 calendar days,
                      any new debts must be paid in full.

      17.3    FAMILY DEBTS OWED FOR CLAIMS

              If a family owes money to HACoLA for claims paid to an owner:
                  ➢ HACoLA may require the family to repay the amount in full.
                  ➢ HACoLA may agree to a Repayment Agreement.

      17.4     FAMILY DEBTS DUE TO FRAUD/NON-REPORTING OF INFORMATION
              [24 CFR &792.1031

              HUD's Definition of Program Fraud and Abuse: A single act or pattern of
              actions that constitutes false statement, omission, or concealment of a
              substantive fact, made with intent to deceive or mislead, and that results in
              payment of Housing Choice Voucher Program funds in violation of Housing
              Choice Voucher Program requirements.

      17.4.1 Family Error/Late Reporting
              Families who owe money to HACoLA due to the family's failure to report
              increases in income or change in allowances or deductions will be required to
              repay in accordance with the guidelines set forth in Section 17.2 (Repayment
              Agreement for Families) of this chapter.

       17.4.2 Program Fraud
              At HACoLA's discretion, families who owe money to HACoLA due to program
              fraud may be required to repay in accordance with the guidelines set forth in
              Section 17.2(Repayment Agreement for Families) of this chapter.
              In addition, the case may be referred to the Inspector General and/or HACoLA
               may refer the case for criminal prosecution.

       17.5    FAMILY DEBTS PAID IN FULL

               If HACoLA determines not to enter into a repayment agreement, or if the
               repayment agreement is breached and HACoLA demands payment of the
               balance in full, the family must pay the full amount due and owing in one lump
               sum. If the family fails to pay, HACoLA may pursue collection through a collection
               agency or a civil action and may notify credit agencies of the debt. Whether or
               not the amount is paid, HACoLA does not waive its right to take other action
               including termination of assistance or referral for criminal prosecution in
               appropriate cases.




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      17.6   OWNER DEBTS TO HACOLA

             If HACoLA determines that the owner has retained Housing Assistance or Claim
             Payments the owner is not entitled to, HACoLA may deduct the amounts owed
             from future Housing Assistance or Claim Payments owed the owner for any units
             under contract.
             If future Housing Assistance or Claim Payments are insu~cient to reclaim the
             amounts owed, HACoLA may do one or more of the following:
                 ➢ Require the owner to pay the amount in full within 30 calendar days;
                   Agree to a repayment agreement with the owner for the amount owed.
                   Repayment period may not exceed 12 months;
                 ➢ Pursue collections through the local court system;
                 ➢ Pursue collections through a collection agency; or
                 ➢ Restrict the owner from future participation.

      17.7   WRITING OFF DEBTS

             Debts may be written off if:
                 ➢ The debtor's whereabouts are unknown and the debt is more than 3
                   years old.
                   A determination is made that the debtor is judgment proof.
                   The debtor is deceased and has an insu~cient estate.
                 ➢ The debtor is confined to an institution indefinitely or for more than 3
                   years.
                 ➢ The amount is less than $100 and the debtor cannot be located.




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                                     CHAPTER 18:
                      CLAIMS, MOVE-OUT AND CLOSE-OUT INSPECTIONS
                         (For Contracts Effective Before October 2, 1995)

      18.1    INTRODUCTION

              This chapter describes HACoLA's policies, procedures and standards for
              servicing contracts that were effective before October 2, 1995. Certificate and
              voucher contracts in this category have provisions for HACoLA's liability to
              owners when families move out. Vouchers and certificates have a provision for
              damages, and certificates, in addition, have a provision for vacancy loss.

      18.2    OWNER CLAIMS

              Under HAP Contracts effective prior to October 2, 1995, owners may make a
              special claim for damages, unpaid rent, and vacancy loss (vacancy loss cannot
              be claimed in the Housing Choice Voucher Program) after the tenant has
              vacated the unit.
              Owner claims for payment for unpaid rent, damages, or vacancy loss will be
              reviewed for accuracy and completeness and compared with records in the file.
              HACoLA establishes standards by which to evaluate claims, but the burden of
              proof rests with the owner.
              If vacancy loss is claimed, HACoLA will ascertain whether the family gave proper
              notice of its intent to move. The file will also be reviewed to verify owner
              compliance at the time the contract was terminated.
              HACoLA will pay properly filed claims to the owner as a function of the contract,
              but the tenant is ultimately responsible to reimburse HACoLA for claims paid to
              the owner.

      18.3    UNPAID RENT

              Unpaid rent only applies to the tenant's portion of rent while the tenant is in
              residence under the assisted lease and only until the termination date of the HAP
              contract.
              Separate agreements are not considered a tenant obligation under the lease and
              HACoLA will not reimburse the owner for any claims under these agreements.

       18.4    VACANCY LOSS IN THE CERTIFICATE PROGRAM

               Vacancy loss is applicable to the Certificate Program only. Vacancy loss is paid if
               the move was in violation of the notice requirements in the lease, or the result of
               an eviction.
               In order to claim vacancy loss, the unit must be available for lease and the
               landlord must:
                   1. Notify HACol~4 within 72 hours upon learning of the vacancy, or
                      prospective vacancy, and


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                2. Pursue all possible activities to fill the vacancy, including, but not limited
                   to:
                   • Contacting applicants on the owner's waiting list, if any;
                    • Seeking eligible applicants by listing the unit with HACoLA;
                    • Advertising the availability of the unit; and
                         Not rejecting potentially eligible applicants except for good cause.
             In the event that a unit becomes vacant because of death, HACoLA will permit
             the owner to keep the HAP for the month in which the tenant died, but may pay
             no further HAP.
             If the tenant moves after the date given on their notice of intent to vacate, the
             landlord may claim vacancy loss by providing acceptable documentation that
             there was a bona fide prospective tenant to whom the unit could have been
             rented.

      18.5   DAMAGE CLAIMS

             To ensure valid claim processing, HACoLA should conduct a thorough move-in
              inspection noting conditions as well as HQS deficiencies, take pictures of
              questionable items, and send a report of all items to the owner and tenant.
              The owner must be present during the move-out inspection and only damages
              claimed by the owner are reimbursable.
              All claims for damages must be supported by the actual bills for materials and
             .labor and a copy of the canceled checks or other receipts documenting payment.
              Estimates are accepted at the discretion of HACoLA depending upon the nature
              of the work to be done.
              Bills from individuals providing labor must include their name, Social Security
              number, address and phone number. The owner may not bill himself/herself for
              labor since that is not considered by HACoLA to be an "actual cost". However,
              the actual cost of the owner's employees' labor, such as the resident manager, to
              make repairs may be included.
              Persons making repairs or replacements must be licensed to do business in Los
              Angeles County.
              Reasonableness of costs will be based on the Means Cost Estimatinca Guide.
              Reimbursement for replacement of items such as carpets, drapes, or appliances,
              are based on depreciation schedules in general use by HACoLA.
              HACoLA may require verification of purchase date, quality, and price of replaced
              items in order to calculate depreciation.
              Claims for unpaid utility bills cannot be approved as part of a claim.
              Claims for normal wear and tear, previously existing conditions, routine turnover
              preparation, and cyclical interior painting are not paid.
              HACoLA will inspect the unit to verify that repairs were made.




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      18.6   MOVE-OUT AND CLOSE-OUT INSPECTIONS

             Move-out (vacate) inspections are performed after the tenant has vacated the
             unit. These inspections are performed by Program Specialists/Inspectors to
             assess the condition of the unit, not to evaluate the HQS.
             There will be no move-out inspections of units with contracts effective on or after
             October 2, 1995.
             The owner must notify HACoLA of the move-out and request an inspection within
             five calendar days of teaming of the move-out, or contract termination, whichever
             is first, in order to submit a claim for damages.
             If the contract was terminated due to owner breach, or the owner was in violation
             of the contract at the time that it was terminated, there will be no entitlement to
             claims and therefore no inspection.
             The owner and tenant will be notified of the date and time of the inspection. If the
             owner is not present, the move-out inspection will not be rescheduled.
             HACoLA will conduct amove-out inspection on the tenants request.
             In the event that HACoLA is unable to inspect within 10 calendar days, the owner
             will be permitted to use date-stamped photographs to substantiate the claim.

      18.7   PROCESSING CLAIMS

             Any amount owed by the tenant to the owner for unpaid rent or damages will first
             be deducted from the maximum security deposit that the owner could have
             collected under the program rules. If the maximum allowable security deposit is
             insufficient to reimburse the owner for the unpaid tenant rent or other amounts
             which the family owes under the lease, the owner may request reimbursement
             from HACoLA up to the limits for each program.
             If the owner claims vacancy loss, the security deposit that s/he collected or could
             have collected will be deducted from the vacancy loss claim.
             HACoLA reviews claims for unpaid rent, damages, or vacancy loss and makes a
             preliminary determination of amount payable. The family is informed that a claim
             is pending (notice sent to last known address). The notification will state the
              preliminarily determined amount, the type of claim, and describe the procedure
             for contesting the claim.
                  1. HACoLA will offer the family 10 calendar days to contest the claim. If the
                      family disputes the claim, HACoLA will schedule an informal
                      meeting/claim review with the owner and tenant in order to resolve the
                      differences.
                  2. If the tenant fails to attend the meeting, HACoLA will proceed with its
                      original determination; the meeting will not be rescheduled unless there
                      are extenuating circumstances.
                  3. At the Claim Review, the amount and type of claim will be discussed with
                      the family. If the family agrees with the amount and type of claim, the
                      family may be offered a Repayment Agreement. If the family does not



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                    agree to sign a Repayment Agreement, HACoLA will process the account
                    for collection.
                 4. If the family demonstrates that the claim, or parts of it, is invalid, HACoLA
                     will adjust the amount. HACoLA may offer the tenant an opportunity for an
                     Informal Hearing regarding the claim if disputes cannot be resolved.
             After a determination has been made, HACoLA will notify the family in writing of
             the decision. If it has been determined that the family owes money, HACoLA will
             pursue collection to repay either in a lump sum or through a payment agreement.
             The notice will warn the family that their assistance may be terminated and they
             may be denied future participation in the program if they do not reimburse
             HACoLA as required.

      18.7.1 Other Requirements for Claims Processing
             ❑ HACoLA will require proof that the owner has complied with State and local
                 laws applicable to security deposits before making payment on any claim.
             ❑ All notices to tenants during the processing of a claim must include proof of
                 mailing or of personal delivery.
             ❑ Costs of filing eviction to remove the tenant or any other legal fees, shall not
                  be reimbursed.
             ❑ No claims will be paid for a unit that is vacant as the result of the landlord
                 voluntarily moving a family to another unit owned by the same landlord or as
                 a result of a mutual rescission between the landlord and tenant family.
             All unpaid rent, damage, and vacancy loss claim forms must be fully complete
             when they are submitted, and they must be submitted within 30 calendar days of
             the date the owner learned of the move-out.




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                                     CHAPTER 19:
                          OWNER DISAPPROVAL AND RESTRICTION

      19.1   INTRODUCTION
             f24 CFR X982.3061

             In order to ensure the viability of the Housing Choice Voucher Program, HACoLA
             continuously strives to adopt policies that will encourage new and existing
             owners to participate in the program and to provide owners with prompt and
             professional service in order to maintain an adequate supply of available housing
             throughout the entire jurisdiction. However, in cases of owner non-compliance,
             HACoLA must act accordingly in order to protect families and the program. The
             regulations herein contained define when HACoLA must disallow an owner
             participation in the program, and when HACoLA will exercise its discretion to
             disapprove or otherwise restrict the participation of owners in certain categories.

      19.2   DISAPPROVAL OF OWNER

             The owner does not have a right to participate in the program [24 CFR
             §982.306(e)]. For purposes of this section, "owner" includes a principal or other
             interested party.
             HACoLA shall disapprove the owner for the following reasons:
                ➢ HUD or other agency directly related has informed HACoLA that the
                  owner has been disbarred, suspended, or subject to a limited denial of
                  participation under 24 CFR part 24[24 CFR §982.306(a)].
                  HUD has informed HACoLA that the federal government has instituted an
                  administrative or judicial action against the owner for violation of the Fair
                  Housing Act or other federal equal opportunity requirements and such
                  action are pending [24 CFR §982.306(b)(1)].
                 ➢ HUD has informed HACoLA that a court or administrative agency has
                   determined that the owner has violated the Fair Housing Act or other
                   Federal Equal Opportunity Requirements[24 CFR §982.306(b)(2)].
             HACoLA may disapprove an owner for the following reason:
                ➢ The owner has violated obligations under a housing assistance payments
                  contract under Section 8 of the 1937 Act (42 U.S.C. 1437fl [24 CFR

                   The owner has committed fraud, bribery or any other corrupt act in
                   connection with any Federal housing program [24 CFR §982.306(c)(2)].
                 ➢ The owner has engaged in any drug-related criminal activity or any violent
                   criminal activity.[24 CFR §982.306(c)(3)].
                  ➢ The owner has a history or practice of non-compliance with the HQS for
                    units leased under the tenant-based programs or with applicable housing
                    standards for units leased with project-based Section 8 assistance or
                    leased under any other federal housing program [24 CFR




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                ➢ The owner has a history or practice of renting units that fail to meet State
                  or local housing codes[24 CFR §982.306(c)(6)].
                ➢ The owner has not paid State or local real estate taxes, fines or
                  assessments[24 CFR §982.306(c)(7)].

      19.3   OTHER REMEDIES FOR OWNER VIOLATIONS

      19.3.1 Abatement
             X24 CFR ~982.404(a)(3)]
             For non-compliance with HQS, HACoLA may abate rental payments if the
             assisted unit remains out of compliance for more than 30 calendar days.
             In cases involving serious health and/or safety violations, HACoLA may begin
             abating rental payments if the violation is not cured within 24 hours.

      19.3.2 Overpayments
             X24 CFR X792.1011
             If the landlord has been overpaid because of fraud, misrepresentation or violation
             of the contract, HACoLA may terminate the contract and arrange for restitution to
             HACoLA and/or family as appropriate.
             HACoLA will make every effort to recover any overpayments made as a result of
             landlord fraud or abuse. Possible remedies available to HACoLA include:
             recovering monies owed from payments otherwise due to the owner, setting up a
             repayment agreement, referring the debt to a collection agency, or pursuing the
             matter in a civil court. A determination on the course of action to be taken will be
             based on the nature of the violation and the amount of the money owed.
             Generally, if the owner is cooperative, is willing to pay back all monies owed, and
             all monies will be repaid within 12 months, HACoLA will offer the owner a chance
             to enter into a repayment agreement. However, in cases where the owner
             knowingly and willfully violated program rules, HACoLA may seek full repayment
              in one lump sum.




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                                        CHAPTER 20:
                                     SPECIAL PROGRAMS

      20.1   INTRODUCTION

             HACoLA periodically has the opportunity to apply for targeted funding for special
             populations. HACoLA often enters into collaborative agreements with other
             agencies or County departments to qualify for and/or administer these funds.
             Currently, HACoLA's Special Programs Unit administers the following targeted
             programs:
                    Family Unification Set-Aside Program (Family UP);
                ➢ Welfare-to
                          -Work Program (WtV11);
                    Homeless Set-Aside Program;
                 ➢ Shelter Plus Care Program (S+C);
                 ➢ Housing Opportunities for Persons with AIDS Program (HOPWA); and
                ➢ The Family Self-Sufficiency Program (FSS).
             This chapter provides details on the special programs currently administered by
             HACoLA. This section is divided into two main parts:
                 ➢ Housing Assistance Programs, and
                 ➢ Family Self-Sufficiency Program.

      20.2   HOUSING ASSISTANCE PROGRAMS

      20.2.1 Housing Choice Voucher Pro4rams
             0 Housin4 Choice Voucher Welfareto-Work Program (WtW)Program: This
                program provides assistance to families who are eligible for CaIWORKs
                benefits, are in good standing with the employmen~ob training program
                offered by the Los Angeles County Department of Public and Social Services
               (DPSS) and are in need of housing in order to obtain or retain employment.
                Eligible families are identified by DPSS and referred to HACoIA for rental
                assistance. HACoLA may also refer eligible families from the HACoLA
                waiting list to DPSS for assistance.

       20.2.2 Voluntary Set-Aside Programs For Homeless Families
              ❑ Housin4 Choice Voucher Homeless Set-Aside Pro4ram: This program
                 targets families throughout Los Angeles County. All eligible families are
                 referred to HACoLA by pre-selected service providers.
              O Housing Choice Voucher Lona Term Family Self-Sufficiency Homeless
                Pro4ram: This program targets homeless families who are eligible for
                CaIWORKs and are employed or have an offer of employment (either
                subsidized or unsubsidized). Families assisted under this program will have
                access to a $1,500 Relocation grant to help meet the cost of moving
                expenses and have access to Housing Counseling Services. Relocation and
                Housing Counseling Services are funded by the Los Angeles County


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                Department of Public and Social Services (DPSS). This program is currently
                inactive until funding from the DPSS is secured.
              ❑ Housing Choice Voucher Family Unification (Family UP) SetAside
                Program: This program provides assistance to families who are in imminent
                danger of losing or who cannot regain custody of their minor children due to
                lack of adequate housing. This program is a collaborative effort between
                 HACoLA and the Los Angeles Department of Children and Family Services
                (DCFS). Eligible families are identified by DCFS through their Family
                Preservation Unit and referred to HACoLA for rental assistance. HACoLA
                 may also refer eligible families from the HACoLA waiting list to DCFS.
              These programs are funded from HACoLA's regular turnover, i.e. vouchers that
              are vacated throughout the year because families are terminated from the
              program or voluntarily leave are used to provide assistance to special needs
              families.
              For each set-aside program, HACoLA works with pre-selected supportive
              services providers who will certify that the family meets the specific criteria for the
              set-aside program and commits to providing on-going supportive services for a
               minimum of 6 months in order to ensure that the family is able to live
              independently.
              All families admitted into aset-aside program must be referred by an approved
              supportive service provider and meet all regular admission requirements with the
              exception of the residency requirement. For the purpose of the set-aside
               programs, HACoLA will not require that a family qualify for a residential
               preference since most families are homeless and are unable to provide
               information about their last known permanent address. However, families must
               agree to reside in HACoLA's jurisdiction for the first year of assistance.

      20.2.3 Non-Housing Choice Voucher Special Programs
             ❑ Shelter Plus Care (S+C) Program: This program is designed to link rental
                assistance to supportive services for homeless individuals with disabilities
                and/or their families. This program primarily provides assistance to those
                who have been diagnosed with mental illness, chronic substance abuse
                problems, or AIDS. Assistance is provided for a term of five years or for as
                long as there is a continuum of funding available for this program.
               ❑ Housing Oagortunities for Persons with AIDS (HOPWA): This program
                 specifically targets individuals and families afflicted by HIV/AIDS. Assistance
                 under this program is provided for one year. After the one-year term, all
                 HOPWA participants in good standing are allowed to transition to the regular
                 Housing Choice Voucher Program. This program is also administered by
                 HACoLA in other cities in addition to the cities currently within HACoLA's
                 jurisdiction.

       20.3    HOUSING ASSISTANCE PROGRAM PROCEDURES

       20.3.1 Referral Process/V1laitina List
              HACoLA does not maintain a waiting list for the Housing Choice Voucher Special
              Programs, Housing Choice Voucher Homeless Set-aside Programs, or Non-


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             Housing Choice Voucher Special Programs. Eligible families are identified to
             apply for these programs by pre-selected service providers, other agencies or
             County departments are referred to HACoLA.

      20.3.2 Eli ibili
             Applicants must meet HUD's eligibility requirements for that specific program to
             qualify for rental assistance. In order to determine final eligibility, HACoLA may
             verify all information submitted by applicants.
              For more specific information on eligibility requirements, please see Chapter 2
             (Admission Eligibility Factors).

      20.3.3 Verification Procedures
             Since HUD requires that factors of eligibility must be verified, applicants and
             program participants are required to provide proof of their statements whenever
             required by HACoLA. Some Special Programs may require additional
             documents when verifying program eligibility. For example:
                 ➢ Homeless Condition Form: Must be provided for all individuals/families
                    referred through the Shelter Plus Care Program, Homeless Set-Aside
                    Program, Homeless with AIDS program, and HOPWA program.
                  ➢ Verification of Disability and/or Diagnosis Form: Must be provided for
                    all individuals claiming a disabilit~r, especially a disability that is cited as a
                    qualifying factor for a particular program (i.e. S+C, HOPWA). Written
                    determinations must be made by a psychiatric or medical professional
                    trained to make such determination.

       20.3.4 Denial of Participation
              If a family previously participated in any special program and violated a family
              obligation and was terminated, the family may be denied future participation.
              Families may be denied participation in the program if they owe HACoLA or
              another housing authority money in connection with the Housing Choice Voucher
              Program or Public Housing assistance.
              Families referred by contracted Community-Based Organizations (CBO's), will be
              sent a denial letter and referred to the CBO if there are any further questions.

       20.3.5 Criminal Background
              Program applicants for all voluntary set-aside programs and Housing Choice
              Voucher Special Programs will require criminal background checks. Shelter Plus
              Care applicants will not be required to undergo the criminal background check.
              For more speck information on the applicant screening standards used by
              HACoLA when reviewing criminal records, please see Chapter 2 (Admission
              Eligibility Factors), Section 2.6 (Criminal Background Checks).

       20.3.6 Briefing Sessions
               Briefing sessions are conducted for all special programs. Families are issued
               accordingly:


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                ➢ Housing Choice Voucher Special Programs and Homeless Set-aside
                  Programs are issued a Housing Choice Voucher.
                ➢ Shelter Plus Care applicants are issued a participation agreement. This
                  participation agreement allows for termination of assistance if any
                  member of the family violates the terms set forth in the participation
                  agreement.
                  HOPWA applicants are issued certificates.
             For more specific information on voucher issuance and briefings, please see
             Chapter 8(Voucher Issuance and Briefing).

      20.3.7 Contracts/Tenant Payments
             Housing Choice Voucher Special Programs and Homeless Set-Aside Programs
             are contracted based on the Payment Standards and participants may pay up to
             40% of their adjusted monthly income.
             Non-Housing Choice Voucher Special Programs are contracted based on the
             Fair Market Rents published by HUD and tenant rental portions are limited to
             30% of the participant's adjusted monthly income.
             For more specific information on determining total tenant payment, please refer
             to Chapter 6 (Determining the Total Tenant Payment and HACoLA Absence
             Policy). For more specific information on the new contract process, request for
             tenancy approval and contract execution, please refer to Chapter 9 (New
             Contract Process RTA and Contract Execution.

      20.3.8 Re-examinations
             HACoLA is required to process annual re-examinations. In cases where a family
             experiences a change in household composition and/or income between annual
             re-examinations, HACoLA will process an interim re-examination. The family is
             required to report all changes in household composition and/or income to
             HACoLA within 30 calendar days of occurrence.
             For more specific information regarding causes for processing annual/interim re-
             examinations and the requirements for completing an annual/interim re-
             examinations, please refer to Chapter 12(Re-Examination).

       20.3.9 Terminations
              ❑ Proposed TeRninations: Community Based Organizations and/or other
                government units or departments currently contracted by HACoLA to provide
                supportive services may request termination of housing assistance for a
                program participant who is in violation of program requirements and/or
                conditions of occupancy.
              ❑ Terminations: Rousing assistance may be terminated if a family violates
                specific program requirements and/or the family obligation. For more specific
                information on family obligations, please see Chapter 15(Family Obligations).




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      20.3.10          Portability
                      All special programs have different requirements for portability. They are
                      listed as follows:
                      • Housing Choice Voucher Special Programs and Housing Choice
                           Voucher Set-aside Programs must live within HACoLA's jurisdiction
                           for at least one year before becoming eligible to port out to another
                           housing authority's jurisdiction.
                      • Shelter Plus Care Program participants have no portability rights.
                           They must continue to live within HACoLA's jurisdiction for as long as
                           they continue to participate in this program.
                            HOPWA Program participants have no portability rights as long as
                           they continue being assisted under this program. However, after one
                            year of HOPWA assistance, eligible participants are converted to the
                            regular Housing Choice Voucher program and become eligible to port
                            out to another housing authority's jurisdiction.
                       For more specific information on allowable moves and eligibility for
                       portability, please refer to Chapter 13(Allowable Moves/ Portability).

      20.4     FAMILY SELF-SUFFICIENCY PROGRAM
              (24 CFR ~984.101(a11

                Family Self-Sufficiency promotes the development of local strategies to enable
                families to achieve economic independence and self-sufficiency. The program is
                designed to provide supportive services for families who are residents within
                HACoLA's jurisdiction. Supportive services include but are not limited to
                childcare, education, transportation, counseling, job preparation, vocational
                training and home ownership workshops.
                Upon becoming employed, FSS participants continue to pay rent in accordance
                with HACoLA's housing choice voucher procedures. Whenever the participants
                rent increases, HACoLA establishes an interest bearing Escrow Account in their
                name. If the family successfully completes the contract obligations within 5 years,
                the family can apply to graduate from the program and receive the accrued
                portion of their escrow account.
                Effective January 4, 2005, the Housing Authority has suspended all new
                admissions to the Family Self-Sufficiency program.

       20.5     FSS APPLICATION PROCESS

                An application is mailed to the applicant and is due back within 10 calendar days
                from the date it was mailed. If the application is returned undeliverable, HACoLA
                will make one more attempt to corrtact the applicant by mail. If the second
                 application is returned undeliverable, the file will be documented as such.
                Tenants will not be penalized for not participating in the FSS Program since it is a
                 voluntary program for voucher holders with the exception of the Welfare-To -Work
                (WTVV) participants.
                 The FSS application process for WTW participants is handled in the same
                 manner as stated in the preceding paragraph, however if the participant fails to


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              return the application, HACoLA would propose termination on the grounds of
              non-compliance with program mandate.
              Once an application is returned to the FSS office, eligibility is determined. If
              accepted, a Contract of Participation (CoP) is developed and an Individual
              Training and Services Plan (ITSP) is created. Following the CoP and ITSP being
              executed, participants are referred to an FSS case manager or to a contracted
              Community-Based Organization (CBO) to administer the case. If the application
              is not accepted, the tenant will be notified in writing within 5 calendar days. This
              applies to housing choice voucher applications only. All Welfare-To-Work
              applications are accepted.

      20.5.1 FSS Eligible Families
             X24 CFR 6984.2031
              FSS eligible families are housing choice voucher holders and/or residents of
              County Public Housing.
              ❑ "FSS family" or "participating family" means a family that receives assistance
                 under Public Housing or the Housing Choice Voucher Program and elects to
                 participate in the FSS Program and whose designated head of FSS family
                 has signed the Contract of Participation.
              ❑ "Head of the FSS family" means the adult member of the FSS family who is
                 the head of household for purposes of determining income eligibility and rent.

      20.5.2 Denial of Participation
             X24 CFR &984.3021
              If a family previously participated in the FSS Program but did not meet its
              obligations and was terminated, the family may be denied future participation.
              Families may be denied participation in the program if they owe HACoLA or
              another housing authority money in connection with the Housing Choice Voucher
              Program or Public Housing assistance.

       20.6    FSS CONTRACT OF PARTICIPATION(COP)
               X24 CFR 6984.303]

               Upon receipt of the application HACoLA will prepare a Contract of Participation
               within 5 to 10 calendar days. The contract will contain the effective date as well
               as the expiration date. It will execute the resources and supportive service and
               outline the starting base for determining the escrow account. In addition, the
               contract will outline the guidelines for administering and disbursing the escrow
               funds[24 CFR §984.303(b)(1)].
               Each family participating in FSS must execute a Contract of Participation with
               HACoLA. The effective date of the contract will be the first of the month after the
               contract is executed. The limited term is five years. The contract may be
               extended in writing and at the family's request, for up to two year for good cause
              [24 CFR §984.303(c)].
               HACoLA will only grant an extension in rare circumstances that are beyond the
               control of the family, and which prevent completion of the training and services
               plan [24 CFR §984.304(d)].

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            Termination of employment for nonperformance by the FSS head is not
            justification for a contract extension.
            HACoLA may extend the CoP to allow families to meet the interim goal of being
            welfare-free at least 12 consecutive months prior to the expiration of the contract.
            During an extension to the contract, the family continues to have FSS amounts
            credited to the escrow account.
            HACoLA may set milestones for employment and other activities leading to self-
            sufficiency early in the five-year contract term in accordance with the family's
            abilities.
            The family's obligations may terminate before the end of the five-year contract
            term, and the family's participation in FSS and entitlement to the escrow may be
            less than five years.
            Three items of information must be entered into the contract to be valid:
                ➢ Gross Annual Income
                ➢ The amount of earned income in the gross annual income
                ➢ Family Rent(TTP or 30 percent of Monthly Adjusted Income for
                    vouchers)
            The CoP establishes an agreement between the family and HACoLA as to the
            responsibilities of each party. The contract is to be signed by the head of the
            FSS family, which is the head of household for purposes of determining eligibility.
            Copies of the documents will be famished to the head of household.
            The CoP may be modified in the following areas, if HACoLA and the family
            mutually agree [24 CFR §984.303(fl]:
                ➢ Individual Training and Services Plan
                ➢ The contract term (extension)
                ➢ Designation of the FSS head of the family in cases where the FSS head
                    is deceased or becomes unassisted
             A change in the designated FSS head must be included as an attachment to the
             Contract. It must contain the following:
                 ➢ Name of new designated FSS head
                 ➢ The signatures of the new FSS head and a HACoLA representative
                 ➢ The date signed

       20.6.1 Compliance With The Lease
              X24 CFR ~984.303(b)(311
             The Contract provides that the family must comply with the assisted lease.
             Therefore, noncompliance with County Housing Development lease, or the lease
             with the owner in the Housing Choice Voucher Program, is grounds for
             termination of the FSS Contract of Participation.
             In the Housing Choice Voucher Program, if the violation of the lease is "serious
             or repeated," the housing authority may also terminate program assistance.


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             The following representatives) is/are authorized to execute a contract on behalf
             of HACoLA: Special Programs Administrator, FSS Coordinator, and FSS
             Program Specialist.

      20.7    INDIVIDUAL TRAINING AND SERVICE PLAN (ITSP)
             [24 CFR 5984.303(b)(211

             The contract must contain an ITSP for the FSS head of household. Other adult
             family members who wish to receive services must also have an individual
             training and services plan to participate in the FSS program. The resources and
             services to be provided must be contained in the plan. It must contain the
              milestones, interim goals and final goal for suitable employment.

      20.7.1 Needs Assessment
             HACoLA will perform a needs assessment with the family using various needs
             assessment tools. Upon completion of the assessment, FSS will be able to
             establish the milestones, and short- and long-term goals designated for the head
             of household on the ITSP and any other participating family members with an
             executed ITSP.

      20.7.2 The Individual Training and Services Plan (ITSP)
             f24 CFR 6984.303]
             Each individual FSS contract must contain an ITSP for the FSS head of
             household and any participating family member. The items included on the ITSP
             will include:
                 ➢ The resources and services to be provided by HACoLA and contracted
                   supportive services provider;
                 ➢ The individual milestones, interim goals and final goal for suitable
                   employment;
                 ➢ Completion dates for each individual interim goals will be included on or
                   before the contract expiration date;
                 ➢ A mandatory interim goal for families receiving welfare is that all family
                   members must be free of welfare assistance for 12 consecutive months
                   prior to the expiration of the contract (including extensions)[24 CFR

                  ➢ The requirement for the head of the FSS family to seek and maintain
                      suitable employment throughout the term of the contract; and
                  ➢ Each ITSP plan must be signed by the participant and a HACoLA
                      representative.
              Any changes to the ITSP must be included as a revision to the original plan. The
              revision may be based on the following reasons: factors keeping the client from
              effectively becoming suitably employed, lack of supportive services, and
              unforeseen circumstances/barriers. The revision must include:
                     The item changed;
                  ➢ Signature of the participant and a HACoLA representative; and


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                ➢ The date signed.

      20.8   ESCROW ACCOUNTS
             f24 CFR 6984.3051

             The general concept of the escrow account is that FSS families continue to pay
             rent in accordance with their incomes (even as their incomes increase due to
             employment income). As a rule, the amount of the increase in earned income is
             escrowed. Because there are other factors that affect the family rent, it will not
             necessarily be dollar for dollar. The amount escrowed for the family will depend
             on whether the family is considered a very low- or low-income family.
             ❑ Disbursing the FSS Escrow Account: The amount in an FSS account, in
               excess of any amount owed to HACoLA by the FSS family, is paid to the
               head or designated remaining family member of the FSS family [24 CFR

                        When the contract of participation has been completed; and
                        When, at contract completion, the head of the family certifies that
                        family member receives Federal or state welfare assistance.
             ❑ Interim Disbursement: HACoLA may, at its sole option, disburse a portion of
               the funds from the family's escrow account during the contract period for
               contract-related expenses if the family has fulfilled certain interim goals and
               needs a portion of the FSS account funds for purposes consistent with
               contract such as[24 CFR §984.305(c)(2)]:
                    • School tuition;
                    • Business start-up expenses;
                    • Car when public transportation is unavailable or inaccessible to the
                      family; or
                     • Job training expenses.
             The family may use the final disbursement of escrow account funds without
             restriction.
             HACoLA cannot restrict a family's use of FSS escrow account funds withdrawn
             by the family unless the funds are withdrawn to aid in the completion of an
             interim goal.
                 ➢ If a family receives an advance payment from their escrow account prior
                   to completing the Contract, the advance payment does not have to be
                   repaid to HACoLA if the family drops out of the FSS program, unless the
                   payment was due to fraud or misinformation by the family.
              If the family moves outside of HACoLA's jurisdiction under the Housing Choice
              Voucher Program portability procedures, HACoLA may transfer the balance of
              the family's FSS escrow account to another housing authority [24 CFR




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      20.8.1 ForFeitina the FSS Escrow Account
            [24 CFR §984.305(f)11
             Amounts in the FSS escrow account will be forfeited if:
                 ➢ The Contract of Participation is terminated;
                 ➢ The Contract of Participation is completed but the family is receiving
                   welfare assistance when the contract expires, including extensions; or
                      The head of the family dies and the remaining members of the family
                      choose not to continue participating in the program, and the contract
                      obligations have not been met.
             If families do not pay their rent to the owner, the funds may be forfeited because:
                 ➢ Compliance with the applicable housing choice voucher or Public Housing
                     lease is a family obligation under the Contract, and
                 ➢ Nonpayment of rent is grounds for terminating a family's FSS participation
                     and forfeiture of the escrow.
             In the housing choice voucher program, FSS account funds forfeited by the
             family will be treated as program receipts for payment of program expenses
             under HACoLA's Housing Choice Voucher Program budget. Escrow funds may
             be used by HACoLA for HUD-approved expenses; such expenses may include
             rental assistance payments.
              In Public Housing, the forfeited account will be credited to the Housing Authority's
              operating reserves and counted as other income in the calculation of the PFS
              operating subsidy eligibility for the next budget year. The escrow funds may be
              used by the Housing Authority for HUD-approved expenses such as Public
              Housing maintenance costs.

      20.9    CHANGE IN FAMILY COMPOSITION

              If the head of the FSS family no longer resides with other family members in the
              assisted unit, the remaining family members of the family will have the right to
              designate another family member to receive the funds. HACoLA must be
              consulted and must approve this change.
              If a family with two adults splits up, HACoLA will determine if the escrow should
              be paid. The family may be paid if the family member that continues to reside in
              a Housing Development and/or retains the rental assistance through the Housing
              Choice Voucher Program:
                  ➢ Is already head of the FSS family, or
                    Was not designated as head of the FSS family but now designate himself
                    or herself to receive the escrow account.

       20.10 FSS TERMINATION/CANCELLATION/PORTABILITY
            [24 CFR ~984.303(h)1

              HACoLA is responsible for determining whether the family has violated the FSS
              contract and whether the family's rental assistance should be terminated.


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      20.10.1    FSS Termination Due To Portability
                 f24 CFR &984.306(fll
                 Where the family is relocating and is not absorbed by the receiving
                 housing authority under the portability regulations, and is participating in
                 the receiving housing authority's FSS Program, HACoLA must abide by
                 the termination decision of the receiving housing authority.
                 If a relocating FSS family is unable to fulfill its obligation under the FSS
                 contract, HACoLA or the receiving housing authority, whoever is party to
                 the FSS Contract of Participation may:
                 • Terminate the family from the FSS Program and the family's FSS
                       account will be forfeited, and
                 • Terminate the family's rental assistance since the family failed to meet
                       its obligations under the FSS contract. This is applicable to Welfare-
                       to-Work participants only.
                  If the family's FSS account is forfeited, the funds in the account will revert
                 to the housing authority maintaining the FSS account for the family and
                  will be treated as program receipts.




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                                      CHAPTER 21:
                             PRE-PAY/PRESERVATION PROGRAM
                                     [24 CFR §886]

      21.1   INTRODUCTION

             The Section 8Pre-Pay/Preservation Program is a transition program designed to
             preserve the level of affordable housing and avoid the potential displacement of
             low and moderate-income families when owners of eligible properties pre-pay
             their HUD-insured mortgage loan or voluntarily terminate their mortgage insured
             contract. Families determined eligible for this program are assisted with special
             Section 8 Vouchers. The Preservation Program policies and procedures are
             the same as that of the Housing Choice Voucher except as otherwise
              noted.

      21.2   TERMS/PROVISIONS

             There are two types of housing conversion actions that the property owners can
             choose: pre-pay or opt-out.
             1. Pre-pay date is the date the owner officially "pays ofP' their HUD-insured
                mortgage. The property is no longer considered a Project-Based or
                Affordable Development, and the owner is free to increase rents to market
                levels. As early as 60 days after this "pre-payment date," the residents are
                no longer protected by the subsidy or affordable rents.
                The residents on the Project-Based program under the HUD Section 8
                Contract are eligible to receive an Enhance Housing Choice Voucher if the
                participant eligibility screening is approved, including the criminal background
                check requirement.
                The participant has the right to stay in the unit if they so desire, however, the
                families who choose to stay are required to contribute a minimum rent
                 requirement for as long as they are eligible to receive this assistance and
                 must remain in the unit for at least for one year.
                 Families assisted with enhance housing choice voucher assistance have a
                 special statutory minimum rent requirement (read above statement). The law
                 requires that a family receiving enhance voucher assistance must pay for rent
                 no less than the rent the family was paying on the date of the pre-pay date of
                 the Section 8 housing contract or the expiration date of the expiring project-
                 based contract in case of owner opt-outs.
                 The enhance voucher minimum rent only applies if the family remains in
                 the project. The enhance voucher minimum rent does not apply if the
                 family moves.
                 Families who choose to vacate, the enhance voucher becomes regular
                 housing choice voucher and the eligibility requirements policy is the same as
                 for screening regular admissions for the Housing Choice Voucher.Program.
                 Families are also eligible for portability and the minimum rent requirement is
                  no longer applicable.




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           2. Opt-out is where owners elect to discontinue the existing contract with HUD
              and no longer desire to participate in any subsidy program. In cases when
              owners pre-pay either their mortgage loan or opt-out of the Section 8 Housing
              Assistance, federal law requires that owners provide the tenants with a one
              year notification before the expiration of the Section 8 Contract. The owners
              are required to give proper notice of intent to pre-pay or opt-out to HUD, a
              notice of intent to pre-pay loan to California Housing Partnership Office, the
              Participant City, the local Housing Authority, and the Legal Aid Foundation.
              These notifications must be sent at least one year in advance, along with the
              notice of intent to increase the rent with a minimum of 60-day notice to the
              tenants of such a rent increase.




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      Housing Authority of the County of Los Angeles

                                   CHAPTER 22:
                   MODERATE REHABILITATION PROGRAM [24 CFR §882]

      22.1   INTRODUCTION

             The Moderate Rehabilitation (Mod Rehab) Program was designed in 1978 to be
             an expansion of the rental certificate program. The rental certificate program
             was initially amended to permit moderate levels of rehabilitation to upgrade and
             preserve the housing stock. The rental certificate program required a minimum
             expenditure of $1,500.00 in repairs to meet the program housing quality
             standards.
             After the work was completed, owners entered into a 15-year Housing
             Assistance Contract with the local housing authority. Using this 15-year rental
             certificate contract, the housing authority helped the owner repay the loan by
             subsidizing the rents of low-income participants at ahigher-than-fair market rate.
             The contract tied rental subsides to the building not the participant. Although
             funding is no longer available for new participants, the Assisted Housing Division
             continues to administer existing contracts under this program. Mod Rehab
             policies and procedures are the same as that of the Housing Choice
             Voucher program except as otherwise noted.

      22.2   THE EXPIRED 15-YEAR CONTRACTS

             To date, many of the 15-year contracts have now expired. HUD has authorized
             housing authorities to extend expiring Moderate Rehabilitation Contracts under
             certain conditions. These conditions are as follows:
                 ➢ The project must have five or more units. If a building has five or more
                   units, but only one of the units is under Moderate Rehabilitation Program
                   then the unit is cover under the contract. The building still qualifies for an
                   extension because the requirement is tied to the project not the contract.
                 ➢ The owner must be in good standing with the current contract. Examples
                   of non-compliance: on-going non-compliance with the Housing Quality
                   Standard inspections.

      22.3    REQUESTING AN EXTENSION

              HACoLA closely monitors the expiration dates for all Moderate Rehabilitation
              contracts and mails the owners a letter asking owners if they would like to
              request an extension. Owners need to reply immediately to this letter if they wish
              to extend another year. The extension of the contract is a one-year extension.
              HUD has allowed HACoLA to continue to extend the "extension" contract for
              another year. This has been the practice since 1996. However, there is no
              guarantee that the contracts will continue to be extended in the future.
              If an owner does not wish to extend the Mod Rehab Contract for their building,
              they are under no obligation to extend the contract. Rules governing the
              Moderate Rehabilitation program require that the owners advise their tenants
              one-year notice in advance of the expiration of the contract and their intent to
              opt-out of the program. The families will receive enhanced vouchers and have


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             the right to remain in your units as long as the units are used for rental housing.
             If the family chooses to vacate the Mod Rehab unit, then the family will be given
             a Housing Choice Voucher.
             If an owner does not provide a family with the required notice, the family is
             protected as if they were under an assisted tenancy until one year from the time
             the owner actually provides the notice. This means that if the owner elects not to
             renew the contract and the family chooses to remain in the unit as an unassisted
             tenant, the owner will be required to accept the family portion of the rent as full
             payment until he/she has complied with the notification requirement.

      22.4   ANNUAL INCREASE FOR THE EXPIRED 15-YEAR CONTRACTS

             HACoLA will mail the owner a letter regarding their upcoming expiration date and
             advise them of their annual increase that may be granted to them providing that
             they choose to extend their contract. The owner must respond immediately for
             an extension so that HACoLA can expedite the process to secure funding for the
             new coming year.
             The methodology used to calculate the rent that an owner may be eligible to
             receive under the renewal contract is different. To determine the rent under the
             extension contract the Housing Authority must compare the following three rent
             analyses:
                 ➢ Existing contract rents multiplied by the Operating Cost Adjustment
                   Factors(OCAF);
                 ➢ The Mod Rehab FMR (120% of the existing Fair Market Rents) minus the
                   Utility allowance; and
                 ➢ Comparable market rents
             The rent under the extension contract is based on the lowest of the above three
             figures. HACoLA will complete this analysis for the building and provide the
             owner with a copy.
             For the participants re-examination process, see Chapter 12 (Re-Examination).
             For family obligations, see Chapter 15 (Family Obligations). These two rulings
             apply to the Section 8 Certificate Program and the Housing Choice Voucher
             Program.

      22.5    NON-EXPIRED MOD REHAB CONTRACTS

              For those Mod Rehab contracts that have not reached their 15-year contract, the
              annual increases may be granted providing:
                 ➢ The owner submits a proper 60-day notice, prior to the anniversary date,
                   of their rent increase amount to HACoLA.
                  ➢ The new rent increase does not exceed the annual adjustment factor and
                    comparables justify the increase.
                  ➢ The unit has passed the annual inspection.
              For the re-examination process for the participant, see Chapter 12 (Re-
              Examination). On family obligations, see Chapter 15 (Family Obligations).


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             These rulings apply to the Section 8 Certificate Program and the Housing Choice
             Voucher Program.

      22.6   REQUEST TO MOVE

             Since the assistance is attached to the unit and not the participant, a participant
             wishing to relocate and continue their assistance must relocate to another Mod
             Rehab Unit. The participant must submit their 30-60 day notice to vacate to their
             owner and mail a copy to the Housing Authority. Once the office receives the
             vacate notice, the Housing Authority will confirm receipt of the notice to vacate by
             sending the participant a confirmation notice along with a set of income
             verification forms. The participant must submit their income verifications forms
             by the due date on the cover letter. Upon receipt of the completed income forms,
             the representative will contact the participant to schedule an appointment for their
             issuance. Listings for other vacant Mod Rehab Units may be available.
             For those participants who placed themselves on the waiting list for a Housing
             Choice Voucher and have been contacted by the Applications and Eligibility
             Department for issuance, the participant must submit their proper 30-60 day
             notice to their owner and mail a copy to the Housing Authority.
             If the participant vacates their unit without the proper 30-60 day written notice to
             their owner and the Housing Authority, they will be terminated from the program.
             Keep in mind that under the Mod Rehab program, the owner may file for vacancy
             loss and if any money is paid on behalf of the participant, they must reimburse
             the Housing Authority before we can consider any future assistance.
             If the owner has submitted a written notice to the participant to vacate their
             premises, the participant needs to contact their representative immediately. The
             representative will advise and direct the participant of their responsibilities.

      22.7   REFERRALS

             When a Mod Rehab unit is ready for new lease inspection, the owner/manager
             will refer their next applicant off their waiting list to the Mod Rehab unit. Once the
             applicant calls the office, the applicant's name and family composition will be
             requested in order to prepare the income verification packet along with the
             Criminal Background Check (family members 18 years and older need to sign
             this form) for the Head of Household to pick-up at the once. The applicant will
             have 10 calendar days to return the completed income verbcation forms to the
             office to determine eligibility. If the applicant has not submitted all the necessary
             documents to determine eligibility, a final notice will be mailed out and given a 10
             working day due date. If the final request is not returned by the due date, the
             owner must refer the next applicant on their waiting list.
              The criminal background check is required for family members 18 years and
              older. For information on the eligibility process, please see Chapter 2, Section
              2.6, on Criminal Background Checks.




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      22.8   NEW LEASE PROCESS

             Once the applicant has been determined eligible for the Mod Rehab program, the
             HACoLA representative will contact the applicant and schedule them for a lease
             issuance. Following the issuance of the lease, the representative will contact the
             owner/manager to schedule a new lease inspection. Upon passing of the initial
             inspection, the representative will contact the owner to confirm the effective date
             of the new lease and the amount of the security deposit that will be collected.
             See Chapter 10 for information on inspections.
             The representative will complete the new lease process by entering all the
             necessary tenant and owner information into the Memory Lane System and print
             the new lease. The new lease will then be mailed to the owner for signatures
             from the participant and owner. Upon receipt of the signed lease, then the
             representative will release the HAP payment to the owner.

      22.9   CLAIMS. MOVE-0UT AND CLOSE-OUT INSPECTIONS

             Please see Chapter 18 (Claims, Move-Out and Close-Out Inspections) for more
             information on this subject.




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                                                       HOUSING AUTHORITY OF THE
                                                        COUNTY OF LOS ANGELES
                                                                12131 TELEGRAPH ROAD
                                                              SANTA FE SPRINGS, CA 90670
                                                                    (562)347-4663




                                                               ADMINISTRATIVE PLAN
                                                                   JULY 1, 2008




                                Strengthening Neighborhoods•Supporting Locolfconomies•fmpowe~ing families •Promoting /ndividuolArhievement
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                                     CHAPTER 1:
                               POLICIES AND OBJECTIVES

      1.1   INTRODUCTION
            The Los Angeles County Community Development Commission (CDC) was
            created in 1982 by the County's Board of Supervisors. The CDC aims to build
            better lives and better neighborhoods, by providing services to improve the
            quality of life in low- and moderate-income neighborhoods. The CDC manages
            programs in public and assisted housing, community development, economic
            development, and housing development and preservation.
            The Housing Authority of the County of Los Angeles (Housing Authority) was
            created in 1938 to manage and develop affordable housing. Since 1938, the
            Housing Authority has administered federally funded public housing, rental
            assistance programs, and services and special programs for residents of public
            and assisted housing.
            In an effort to streamline Los Angeles County's housing and community
            development programs and services, the County Board of Supervisors combined
            the Housing Authority with the CDC in 1982. The Housing Authority is comprised
            of finro divisions of the CDC. The Housing Management Division manages public
            housing and related programs and services. The Assisted Housing Division
            administers rental assistance programs.

      1.2   PURPOSE OF THE PLAN
            [24 CFR &982.54(a1— 6982.54(cll
            The purpose of the Administrative Plan is to clearly outline the policies and
            procedures that govern the Housing Authority's administration of rental
            assistance programs. The plan includes program requirements established by
            the U.S. Department of Housing and Urban Development (HUD), as well as the
            discretionary policies established by the Housing Authority.
            The policies and procedures in this Administrative Plan comply with applicable
            local, State, and HUD and other Federal regulations, relevant memos, notices
            and guidelines, including fair housing and equal opportunity requirements. If
            applicable regulatory changes conflict with this plan, regulations will have
            precedence.
             The Housing Authority adheres to the Administrative Plan in administering all
             rental assistance programs. The original plan and any changes must be
             approved by the Board of Commissioners of the agency (the Los Angeles County
             Board of Supervisors), and a copy of the plan must be provided to HUD.
             As much as possible, revisions and additions are published to coincide with
             published changes in the Housing Authority's Agency Plan. Interim changes,
             including Board mandates and administrative updates reflecting changes in law
             or regulatory requirements, will be made effective by memo from the Executive
             Director or designee.




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      Housing Authority of the County of Los Angeles


      1.3    LOCAL OBJECTIVES
             X24 CFR §982.1(a)]
             The Housing Authority's rental assistance programs are designed to achieve
             three major objectives:
                 1. To provide improved living conditions and decent, safe, and sanitary
                    housing for very low-income families while maintaining their rent
                    payments at an affordable level;
                 2. To provide an incentive to private property owners to rent to lower income
                    families by offering timely assistance payments; and
                 3. To promote freedom of housing choice and spatial deconcentration of
                    lower income and minority families.
             Additionally, the Housing Authority has adopted the following mission statement:
                 ➢ To promote adequate and affordable housing, economic opportunity and
                     a suitable living environment free from discrimination.

      1.4    JURISDICTION
             X24 CFR 6982.51 and 24 CFR 6982.4(b11
             HUD has authorized the Housing Authority to administer rental assistance
             programs within the corporate boundaries of Los Angeles County. The Housing
             Authority's jurisdiction includes:
                 1. The unincorporated areas of the County, and
                 2. Participating cities within the County. Participating small cities are defined
                    as cities in the Los Angeles County area that have authorized the
                    Housing Authority to administer rental assistance programs within their
                    city limits.

       1.5    RENTAL ASSISTANCE PROGRAMS
             Section 8 of the Housing and Community Development Act of 1974 established
             the "Section 8 Program," the first permanent Federal program for rental
             assistance. The program authorized a basic certificate program, as well as
             targeted subprograms. As rental assistance programs developed, Congress
             authorized additional Section 8 programs, including a voucher program in 1987.
              In 1998, the Quality Housing and Work Responsibility Act (QHWRA) required
              housing authorities to convert their certificates into vouchers and establish the
              Housing Choice Voucher Program as the primary rental assistance program. As
              a result of this conversion, the Housing Choice Voucher Program now
              encompasses all Housing Authority rental assistance except for existing
              certificates under the previously offered Moderate Rehabilitation Program.
             •     Moderate Rehabilitation Pro4ram: A certificate-based rental assistance
                  program incorporating financial options for owners doing moderate levels of
                  rehab and upkeep to affordable housing rental units. Administration involves
                  closing or extending expiring contracts. Chapter 20 (Moderate Rehabilitation
                  Program) covers the details of this program.


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              •    Section 8 Pre-Pav/Preservation Program: A voucher-based rental
                  assistance program that enables existing participants, living in units in which
                  owners have prepaid aHUD-insured mortgage loan, to remain in affordable
                  housing. Chapter 19 (Pre-Pay/Preservation Program) covers the details of
                  this program.
              •    Project-Based Voucher Prouram: The Housing Authority will utilize
                  Project-Based vouchers to prevent the displacement of families and preserve
                  affordable rents in the case of an unforeseen event.
              •    Housin4 Choice Voucher Program: The major rental assistance program
                  administered by the Housing Authority.
                  ➢ Note: Unless otherwise noted, the procedures in this Administrative Plan
                     are for the general Housing Choice Voucher Program.
              As required by HUD regulations, the Housing Authority administers the Family
              Self-Sufficiency Program as a special program option for participants in the
              Housing Choice Voucher Program. See Chapter 18 (Special Programs) for
              details.

      1.5.1   Set-Aside. Targeted and Saecial Pro4rams
              The Housing Authority may use the Housing Choice Voucher Program budget to
              fund set-aside programs, which are detailed in Chapter 18 (Special Programs).
              All set-aside programs are subject to the availability of funding. The Executive
              Director has the discretion to approve allocations beyond the existing program
              size for all set-aside programs.
                  ➢ Housing Choice Voucher Homeless Program: This program targets
                    families throughout Los Angeles County. All eligible families are referred
                    to the Housing Authority by pre-selected service providers.
                  ➢ Housin4 Choice Voucher Lonct-Term Family Self-Sufficiency
                     Homeless Program: This program targets homeless families who are
                     eligible for CaIWORKs and are employed or have an offer of employment
                    (either subsidized or unsubsidized).
                      Housin4 Choice Voucher Family Unification Set-Aside Program: This
                      program provides assistance to families who are in imminent danger of
                      losing or who cannot regain custody of their minor children due to lack of
                      adequate housing.
              Periodically, the Housing Authority applies for special funding from HUD to
              administer vouchers to targeted populations, within the Housing Choice Voucher
              Program. The Housing Authority administers vouchers through the following
              targeted programs:
                     Housin4 Choice Voucher Welfare to Work Program: This program
                      provides assistance to families who are eligible for CaIWORKs benefits,
                      are in good standing with the employmen~ob training program offered by
                     the Los Angeles County Department of Public and Social Services
                     (DPSS) and are in need of housing in order to obtain or retain
                      employment. See Chapter 18(Special Programs)for details.



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                ➢ Housin4 Choice Voucher Mainstream Program: This program assists
                  very-low income, disabled families who need rental assistance. As
                  authorized by HUD regulations, the Housing Authority administers this
                  program independently and does not rely on joint ventures with
                  community partners. Eligible families are identified from the regular
                  housing choice voucher waiting list and are admitted on a first come, first
                  served basis.
                  Families admitted into a targeted program must meet all regular
                  admission requirements with the exception of the residency requirement.
                  Since the Housing Authority is required to work closely with other County
                  departments that provide services through all of Los Angeles County,
                  families residing outside of the Housing Authority's jurisdiction are
                  allowed to participate in targeted programs. However, families may be
                  required to move within the Housing Authority's jurisdiction for at least
                  one year.
             The Housing Authority also receives non-Housing Choice Voucher Program
             funding to administer the following special programs. See Chapter 18 (Special
             Programs)for details:
                 ➢ Shelter Plus Care Program
                 ➢ Housing Ogaortunities for Persons with AIDS(HOPWA)Program

      1.6     FAIR HOUSING AND EQUAL OPPORTUNITY POLICY
             (24 CFR &982.53]
             It is the policy of the Housing Authority to comply fully with all Federal, State and
             local nondiscrimination laws and with the rules and regulations governing fair
             housing and equal opportunity in housing and employment.
             The Housing Authority shall not deny any family or individual the opportunity to
             apply for or receive assistance under its rental assistance programs on the basis
             of race, color, sex, religion, creed, national or ethnic origin, age, family status,
             handicap or disability.
             The Housing Authority will provide Federal, State, and local information to
             voucher holders regarding discrimination, and the recourse available to them if
             they are victims of discrimination. Such information will be made available during
             the family briefing session, and all fair housing information and discriminatory
             complaint forms will be included in the voucher holder's briefing packet.
              Except as otherwise provided in 24 CFR §8.21(c)(1), §8.24(a), §8.25 and §8.31,
              no individual with disabilities shall be denied the benefits of, be excluded from
              participation in, or otherwise be subjected to discrimination because the Housing
              Authority's facilities are inaccessible to or unusable by persons with disabilities.

       1.7    OPERATING RESERVES
              The Board of Commissioners shall establish the permitted uses of earned
              administrative fees at the time of the Annual Consolidated Operating Budget
              approval. The approval shall consist of the use of administrative fees for the
              Housing Choice Voucher Program (Section 8) administration.


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              The Board of Commissioners must approve the expenditure of Section 8
              operating reserves in excess of $50,000. The Executive Director may authorize
              allowable use of Section 8 operating reserve funds not in excess of $49,999. The
              Assistant Executive Director may authorize allowable use of Section 8 operating
              reserve funds not in excess of $30,000.

      1.8     SERVICE POLICY
              I24 CFR X8.24]
              This policy is applicable to all situations described in this Administrative Plan
              when a family initiates contact with the Housing Authority, when the Housing
              Authority initiates contact with a family including when a family applies, and when
              the Housing Authority schedules or reschedules any kind of appointments.
              It is the policy of the Housing Authority to be service-directed in the
              administration of its rental assistance programs, and to exercise and
              demonstrate a high level of professionalism while providing housing services to
              all families.
              The Housing Authority's policies and practices are designed to provide
              assurances that all persons with disabilities will be provided reasonable
              accommodation so that they may fully access and utilize the housing program
              and related services. The availability of specific accommodations will be made
               known by including notices on Housing Authority forms and letters to all families.

      1.8.1   Requests for Reasonable Accommodation
              X24 CFR X8.281
              The Housing Authority is required to make reasonable adjustments to rules,
              policies, practices and procedures of its programs, in order to enable a disabled
              applicant or participant to have an equal opportunity to use and enjoy their unit,
              including common areas, and to comply with program obligations.
               The Housing Authority approves reasonable accommodation requests on a case-
               by-case basis, upon determination that:
                  ➢ The requested accommodation is reasonable (i.e., it does not result in a
                     fundamental alteration in the nature of the program or an undue financial
                      and administrative burden), and
                   ➢ There is an identifiable relationship befinreen the requested
                      accommodation and the individual's disability.
               All requests for accommodation will be verified with a reliable, knowledgeable
               professional so that the Housing Authority can properly accommodate the need
               presented by the disability (see Chapter 7 for Verification of Reasonable
               Accommodations).
               Families requesting a reasonable accommodation will be notified in writing of the
               decision.
               Reasonable accommodation will be made for persons with disabilities that
               require an advocate or accessible offices. A designee will be allowed to provide
               information as needed, but only with the permission of the person with the
               disability.


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      1.9    FAMILY OUTREACH
              Each time the Housing Authority enters into an Annual Contributions Contract
             (ACC) with HUD for new Section 8 existing units, it will be publicized in
              accordance with the specification in the criteria of the Equal Opportunity Housing
              Plan. The Housing Authority's waiting list will remain open on a continuous basis
              for the foreseeable future.
              The Housing Authority will communicate the status of housing availability to other
              service providers in the community; advise them of housing eligibility factors and
              guidelines in order that they can make proper referrals for housing assistance.
              Information regarding the program directed at prospective applicantg/tenants will
              be disseminated in accordance with Equal Opportunity Housing Plan and HUD
              guidelines for fair housing.

      1.10    OWNER OUTREACH
             [24 CFR &982.54(d11511
              The Housing Authority encourages owners of decent, safe and sanitary housing
              units to lease to families participating in its rental assistance programs. The
              Housing Authority maintains and regularly updates a list of interested landlords
              and available units for its rental assistance programs. When listings from owners
              are received, they are compiled by Housing Authority staff and made available
              through the phone hotline, by mail, or by Internet at www.hacola.orca.
              Ongoing marketing efforts to recruit suburban owners for participation include,
              but are not limited to:
                  1. Brochures for owners;
                  2. Realty Board presentations;
                  3. Apartment Owner Association presentations;
                  4. Community Center presentations; and
                  5. Presentation to organizations serving the disabled and other similar
                     organizations.
              The Housing Authority periodically evaluates the distribution of assisted families
              to identify areas within the jurisdiction where owner outreach should be targeted.
              Special outreach efforts will be used in order to encourage participation of those
              groups who would not normally apply or participate.

      1.17     PRIVACY RIGHTS
               X24 CFR X5.212]
               Applicants and participants, including all adults in each household, are required
               to sign the HUD-9886 Form (Authorization for the Release of Information). This
               document incorporates the Federal Privacy Act Statement and describes the
               conditions under which HUD will release family information.
               A statement of the Housing Authority's policy on release of information to
               prospective landlords will be included in the briefing packet that is provided to the
               family.
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             The Housing Authority's practices and procedures are designed to safeguard the
             privacy of applicants and program participants. All applicant and participant files
             are stored in a secure location that is only to be accessed by authorized staff.
             Housing Authority staff will not discuss family information contained in files
             unless there is a business or legal reason to do so. Inappropriate discussion of
             family information or improper disclosure of family information will result in
             disciplinary action.

      1.12    MONITORING PROGRAM PERFORMANCE
             [24 CFR X9851
             In order to ensure quality control, supervisory staff will review the following
             functions:
                 1. 10 percent of all work completed by their staff, and
                 2. 100 percent of work completed by new staff for a minimum of 30 calendar
                    days.
             The Housing Authority's Gluality Assurance Unit conducts audits of:
                 1. 5 percent of annual re-examinations/interim re-examinations, and
                 2. Minimum Housing Quality Standards(HQS) quality control inspections as
                    dictated by Section 8 Management Assessment Program (SEMAP)
                    Indicator #5.
             The Housing Authority's Program EnforcemenUlnvestigations Unit uses credit
             checks, and other similar tools to ensure program integrity. 1,500 random credit
             reviews are conducted annually for new applicant and existing participant
             households, including added family members, portability households, zero-
             income households, staff referrals and fraud inquiries.

      1.13   TERMINOLOGY
             X24 CFR ~982.4(b)and FR-5056-N-01]
             "Family" is used interchangeably with "applicant' or "participant" and can refer to
             a single person family. "Tenant" refers to participants in terms of their relation to
             landlords.
             "Landlord° and "owned' are used interchangeably.
             "Domestic Violence" is defined as felony or misdemeanor crimes of violence
             committed by:
                  ➢ A current or former spouse of the victim;
                  ➢ A person with whom the victim shares a child in common;
                  ➢ A person who is cohabitating with or has cohabitated with the victim as a
                    spouse;
                  ➢ A person similarly situated to a spouse of the victim under local and state
                    domestic or family violence laws;




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                 ➢    Any other person against an adult or youth victim who is protected from
                     that person's acts under local and state domestic or family violence laws.
            "Dating Violence" is defined as violence committed by a person:
                ➢ Who is or has been in a social relationship of a romantic or intimate
                   nature with the victim; and
                 ➢ Where the existence of such a relationship shall be determined based on
                   consideration of the following factors:
                          o The length of the relationship;
                          o Type of relationship; and
                          o Frequency of interaction between persons involved in the
                            relationship.
             "Stalking" is defined:
                 ➢ To follow, pursue, or repeatedly commit acts with the intent to kill, injure,
                   harass, or intimidate another person; or
                 ➢ To place under surveillance with the intent to kill, injure, harass, or
                   intimidate another person; and
                     In the course of, or as a result of, such following, pursuit, surveillance, or
                     repeatedly committed acts, to place a person in reasonable fear of the
                     death of, or serious bodily injury to, or to cause serious emotional harm to
                     that person, the spouse or intimate partner of that person, or a member of
                     the immediate family of that person.
             "Immediate Family Member' is defined to mean, with respect to a person,
                 ➢ A spouse, parent, brother or sister, or child of that person, or an individual
                    to whom that person stands in loco parentis; or
                 ➢ Any other person living in the household of that person and related to that
                     person by blood or marriage.
             "Student" is defined to mean all students enrolled either full-time or part-time at
             an institution of higher education.
             "Independent Student Status" is when the income of the students parents is not
             relevant or the student can demonstrate the absence of, or his or her
             independence from, parents. These criteria include but are not limited to the
             following:
                     ➢ The individual must be of legal contract age under state law;
                      ➢ The individual must have established a household separate from
                        parents or legal guardians for at least one year prior to application for
                        assistance, or
                      ➢    The individual meets the U.S. Department of Education's definition of
                           an independent student:
                              • Be at least 24 years old by December 31 of the award year for
                                which aid is sought;
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                         • Be an orphan or a ward of the court through the age of 18.
                         • Be a veteran of the U.S. Armed Forces;
                         • Have a legal dependents other than a spouse (for example,
                           dependent children or parent);
                         • Be a graduate or professional student; or,
                         • Be married.
           "Financial Aid" means any assistance that an individual receives:
                   ➢ Under the Higher Education Act of 1965;
                   ➢ From private sources;
                   ➢ From an institute of higher education.
           Such financial aid may include federal, state, and local grants and scholarships
           (athletic and academic), fellowships and student educational financial assistance
           from parents, guardians, or other persons residing outside of the student family
            household.
            Types of financial aid under the Higher Education Act of 1965 would include: the
            Pell Grant, the Federal Supplemental Education Opportunity Grant (FSEOG),
            Academic Achievement Incentive Scholarships, State assistance under the
            Leveraging Educational Assistance Partnerships Program, the Robert C. Byrd
            Honors Scholarship Program, and federal Work-Study(FWS) programs.
            "Tuition" shall have the meaning given by the institution of higher education in
            which the student is enrolled.
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      Housing Authority of the County of Los Angeles


                                     CHAPTER 2:
            ADMISSION ELIGIBILITY FACTORS AND APPLICANT REQUIREMENTS

      2.1    INTRODUCTION
             f24 CFR ~982.54(d)]
             This chapter defines the criteria used by the Housing Authority to determine
             program eligibility, and the requirements that families and family members must
             meet in order to receive assistance under the program. This chapter also
             clarifies the circumstances that may lead to a denial of admission, and the
             process for notifying families if they are denied admission.
             Family members being added to households that are currently receiving
             assistance are considered new applicants and are subject to the Housing
             Authority's admission and eligibility requirements.
             The intent of these policies is to maintain consistency and objectivity in
             evaluating the eligibility of families who apply for the programs. The criteria listed
             in this chapter are the only factors used to review eligibility, to minimize the
             possibility of bias or discrimination. Selection shall be made without regard to
             race, color, creed, religion, sex, national origin, familial status, source of income,
             or disability/handicap.

      2.2    ELIGIBILITY FACTORS AND REQUIREMENTS
             j24 CFR 5982.201 and 24 CFR X982.5521
             In accordance with HUD regulations, the Housing Authority has established the
             following eligibility criteria, which are detailed throughout this chapter. To be
             eligible for admission, an applicant family must:
                 1. Meet the definition of a "family;"
                 2. Be within the appropriate income limits;
                 3. Be a citizen, or anon-citizen with eligible immigration status[24 CFR
                    §5.508]; and
                 4. Furnish and verify valid Social Security numbers for all family members
                    age 6 and over[24 CFR §5.216].
              The Housing Authority will also deny admission as follows:
                 1. If applicant fails to meet specified criteria regarding drug abuse and other
                    criminal activity;
                 2. If applicant fails to submit required consent forms, or any other Housing
                    Authority-required information to verify family eligibility, composition, or
                    income (including birth certificates and valid state identification);
                 3. If applicant is in violation of other criteria listed in Section 2.8 of this
                    chapter;
                 4. If the applicant is a member, officer or employee of the Housing Authority
                    who formulates policy or influences decisions with respect to federally
                    funded rental assistance programs or a public o~cial or a member of the
                    local governing body or member of Congress; or


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               5. If applicant is a student enrolled in an institution of higher learning and
                  meets all the criteria listed in Section 2.5 of this chapter.
            The Housing Authority's procedures regarding notification and informal reviews
            for applicants who are denied assistance can be found at the end of this chapter.

      2.3    FAMILY COMPOSITION
            [24 CFR &982.201(c)1
            The applicant must qualify as a family. The Housing Authority defines a family as
            a single person or a group of persons as follows.
                1. An elderly family: A family whose head, co-head, spouse, or sole
                   member is a person who is at least 62 years of age. It may include two or
                   more persons who are at least 62 years of age living together, or one or
                   more persons who are at least 62 years of age living with one or more
                   live-in aides.
                2. A disabled family: A family whose head, co-head, spouse, or sole
                   member is a person with disabilities. It may include two or more persons
                   with disabilities living together, or one or more persons with disabilities
                   living with one or more live-in aides.
                3. The remaining member of a tenant family: The remaining member of a
                   tenant family will be reassigned another bedroom size voucher, provided
                   there is funding available.
                    The remaining member of a tenant family does not include alive-in aide
                    of the former family whose service was necessary to care for the well
                    being of an elderly, disabled or handicapped head of household, co-head,
                    or spouse and whose income was not included for eligibility purposes.
                4. A group of persons: Two or more persons sharing residency, who are
                   not categorized as an elderly or disabled family, whose income and
                   resources are available to meet family needs. There must be a relation
                   by blood, marriage or operation of law, or the group must provide
                   evidence of a significant relationship determined to be stable by the
                   Housing Authority.
                   The following is to be considered as relation by blood: mother, father,
                   children, cousin, niece, nephew, aunt, uncle, grandfather and
                   grandmother. A group of two could also be a single person who is
                   pregnant or in the process of adopting or securing legal custody of any
                   individual under the age of 18.
                5. A single person: A person who lives alone, or intends to live atone, who
                   is not categorized as elderly, disabled, or the remaining member of a
                   tenant family.
             A child who is temporarily away from home due to placement in foster care is
             considered a member of the family.




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      Housing Authority of the County of Los Angeles


      2.3.1   Stable Relationshia
              When the applicant group is not related by blood, marriage, or operation of law,
              the Housing Authority will require that the applicant group provide evidence of a
              stable relationship.
              The Housing Authority defines a stable relationship as:
                 1. A relationship that has been in existence for a minimum of 6 months, and
                 2. The parties provide financial support for each other.
              Acceptable documentation of a stable relationship includes lease agreements
              indicating that the parties have lived together for at least 6 months, utility bills,
              other joint bills and/or bank accounts)(need to provide fora 6-month period),
              and, on a case-by-case basis, letters from a social service provider or religious
              organization confirming the relationship.

      2.3.2 Head of Household
            X24 CFR X5.504]
              The head of household is considered to be the adult member of the household
              who is designated by the family or the Housing Authority as head, is wholly or
              partly responsible for paying the rent, to sign program-related documents, and
              has the legal capacity to enter into a lease under State/local law. However, since
              rental assistance is provided to the entire family, it is expected that every family
              member will uphold the Housing Authority's rules and regulations. Emancipated
              minors who qualify under State law will be recognized as head of household.

      2.3.3 Saouse of Head
              Spouse means the husband or wife of the head of household. The marriage
              partner who, in order to dissolve the relationship would have to be divorced. It
              includes the partner in a common law marriage. The term "spouse" does not
              apply to boyfriends, girlfriends, significant others, or co-heads.

      2.3.4 Co-Head
              A co-head is an individual in the household who is equally responsible for the
              lease with the head of household. A family may have a spouse or co-head, but
              not both. A co-head never qualifies as a dependent.

       2.3.5 Live-In Aides
             I24 CFR 5982.316 and 24 CFR X5.403]
               A family may include a live-in aide if the live-in aide meets the following
               stipulations. The live-in aide:
                  1. Is determined by the Housing Authority to be essential to the care and
                     well being of an elderly person or a person with a disability;
                  2. Is not obligated for the support of the person(s);
                  3. Would not be living in the unit except to provide care for the person(s);
                     and



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               4. Must submit a signed Criminal Background Consent Form.
           A live-in aide is different from a family member in the following:
               1. An aide's income will not be used to determine eligibility of family;
               2. An aide is not subject to citizenship/eligible immigrant requirements;
               3. An aide is not considered a remaining member of the tenant family, which
                  means that they are not entitled to retain the voucher if the eligible family
                  members) voluntarily leave the program, are terminated from the
                  program, or have a voucher that expires.
            Relatives are not automatically excluded from being live-in aides, but they must
            meet all the stipulations in the live-in aide definition described above to qualify for
            the income exclusion as a live-in aide.
            A relative who does not qualify for income exclusion as a live-in aide may qualify
            for other exclusions, including if a family receives income from a state agency to
            offset the cost of services and equipment needed to keep a developmentally
            disabled family member at home. For a complete list of income exclusions, refer
            to Section 6.4(Income Inclusions and Exclusions).
            A live-in aide may only reside in the unit with the approval of the Housing
            Authority. The Housing Authority will require written verification from a reliable,
            knowledgeable professional, such as a doctor, social worker, or caseworker.
            The verification provider must certify that alive-in aide is needed for the care of
            the family member who is elderly, and/or disabled. The verification must include
            the hours of care that will be provided.
            The live-in aide will be subject to a criminal background check and must meet the
            same standard as an applicant. Please see Section 2.8 (Screening for Drug
            Abuse and Other Criminal Activity)for more information.
            With authorization from the assisted family, the landlord and the Housing
            Authority, alive-in aide may have a family member live in the assisted unit as
            long as it does not create overcrowding in the unit. The Housing Authority will
            not increase the family's subsidy to accommodate the,family of a live-in aide.

      2.3.6 Salit Households Before Voucher Issuance
            When a family breakup occurs while a family is on the waiting list due to divorce
            or legal separation, it is the responsibility of the two families to decide which will
            take the placement on the waiting list. If no decision or court determination is
            made, the Housing Authority will make the decision, taking into consideration the
            following:
                1. Which family member applied as head of household;
                2. Which family member retains the children or any disabled or elderly
                   members;
                3. Any restrictions that were in place at the time the family applied;
                4. Role of domestic violence or any other infraction; and
                5. Recommendation of social service agencies or qualified professionals.



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      2.3.7 Multiale Families in the Same Household
            When families consisting of two families living together, (such as a mother and
            father, and a daughter with her own husband or children), apply together as a
            family, they will be treated as one-family unit.

      2.3.8 Joint Custody of Children
             Children who are subject to a joint custody agreement but live with one parent at
             least 51 percent of the time will be considered members of that household. If
             both parents on the waiting list are trying to claim the child, the parent whose
             address is listed in the school records will be allowed to claim the school-age
             child as a dependent.
             Where court orders exist and provide guidance on custody issues, the Housing
             Authority will follow the directives outline in the court documents.

      2.4    INCOME LIMITATIONS
            (24 CFR 6982.201(b) and 24 CFR &5.603(b1
             In order to be eligible for assistance, an applicant must be:
                 1. An extremely low-income family (a family whose gross annual income
                    does not exceed 30 percent of the HUD-established median income for
                    the Los Angeles-Long Beach Primary Metropolitan Statistical Area); or
                 2. Avery low-income family(a family whose gross annual income does not
                    exceed 50 percent of the median income for the Los Angeles-Long Beach
                    Primary Metropolitan Statistical Area).
                 3. Alow-income family(a family whose gross annual income does not
                    exceed 80 percent of the median income for the Los Angeles-Long Beach
                    Primary Metropolitan Statistical Area) who meets at least one of the
                    following criteria:
                     i. Is "continuously assisted"(meaning the applicant has been receiving
                     assistance under a program covered by the 1937 Housing Act, i.e. public
                     housing); or
                     ii. Is displaced as a result of the prepayment of the mortgage or voluntary
                     termination of an insurance contract on eligible low-income housing; or
                     iii. Qualifies for assistance as anon-purchasing family residing in a
                     HOPE 1 or HOPE 2 project; or
                     iv. Qualifies for assistance as anon-purchasing family residing in a
                     project subject to a resident homeownership program under 24 CFR
                     §248.101.
              As required by HUD regulations, 75 percent of all new admissions will be
              required to meet the definition of an extremely low-income family. To achieve the
              required balance, it may be necessary to skip over an otherwise eligible family. If
              this occurs, families that have been skipped over will retain the time and date of
              application and will be admitted as soon as an appropriate opening becomes
              available.



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              Families whose annual incomes exceed the income limit will be denied
              admission and offered an informal review.

      2.4.1   Income Limits for Other Programs
              Periodically, HUD has provided funding to the Housing Authority for projects
              involving preservation opt-outs and/or the expiration of a project based Section 8
              contract. HUD provides the income limits applicable to those projects through
              specific regulation. The Housing Authority will follow HUD directives in
              determining admissions for such programs.

      2.5     ELIGIBILITY OF STUDENTS
              X24 CFR X5.6121
              The student rule applies to all individuals enrolled as a full or part-time student at
              an institution of higher education for the purpose of obtaining a degree,
              certificate, or other program leading to a recognized educational credential,
              except for a student who is livin4 with his/her parents who are applvin4 for or
              receivinca section 8 assistance.
              No assistance shall be provided to any individual that meets the following criteria:
                  ➢ Is enrolled as a student at an institution of higher education, as defined
                    under section 102 of the Higher Education Act of 1965(20 U.S.C. 1002);
                  ➢ Is under 24 years of age;
                  ➢ Is not a veteran of the United States military;
                  ➢ Is unmarried;
                  ➢ Does not have a dependent child;
                  ➢ Is not a person with disabilities, as such term is defined in section
                    3(b)(3)(F) of the United States Housing Act of 1937 and was not receiving
                    assistance under such section 8 as of November 30, 2005; and
                  ➢ Is not otherwise individually eligible (determined independent from his or
                    her parents. See section 1.13 Terminology), or has parents, who
                    individually or jointly, are not eligible on the basis of income to receive
                    assistance.
                    Unless the student is determined independent from his or her parents, the
                    eligibility of a student seeking assistance will be based on both the
                    student and the parents being determined income eligible for assistance
                    or whether the student's parents, individually or jointly, are income eligible
                    for assistance. Both the student's income and the parents' income must
                    be separately assessed for income eligibility.

       2.6     CITIZENSHIPlELIGIBLE IMMIGRATION STATUS
              (24 CFR ~982.201(al and ~982.203(b)(4) and X5.5081
               Eligibility for assistance is contingent upon a family's submission of evidence of
               citizenship or eligible immigration status. In order to receive assistance, a family
               member must be a U.S. citizen or eligible immigrant. Each family member,
               regardless of age, must submit a signed declaration of U.S. citizenship or eligible


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              immigration status. The Housing Authority may request verification of the
              declaration according to verification guidelines detailed in Chapter 7.
              The citizenship/eligible immigration status of each member of the family is
              considered individually before the family's status is defined.

      2.6.1   Mixed Families
              X24 CFR &5.5041
              An applicant family is eligible for assistance as long as at least one member is a
              citizen or eligible immigrant. A family that includes eligible and ineligible
              individuals is called a "mixed family.° Mixed family applicants will be given notice
              that their assistance will be prorated and that they may request a hearing if they
              contest this determination.

      2.6.2 No Eligible Members
            X24 CFR ~982.552(b)(411
              The Housing Authority is required to deny admission if no member of the family is
              a U.S. citizen or eligible immigrant. Families will be provided the opportunity to
              appeal the decision in an informal review.

      2.7     SOCIAL SECURITY NUMBER REQUIREMENTS
              X24 CFR &5.216(a)]
              Applicant families are required to provide verification of Social Security numbers
              for all family members prior to admission, if they have been issued a number by
              the Social Security Administration. This requirement also applies to persons
              joining the family after the admission to the program. Children age 5 and under,
              who have not been assigned a number, are exempt from this requirement.
              Failure to furnish verification of Social Security numbers is grounds for denial of
              admission.

      2.8     SCREENING FOR DRUG ABUSE AND OTHER CRIMINAL ACTIVITY
              X24 CFR X982.552 — &982.5531
              This section describes the guidelines the Housing Authority has established for
              screening applicants for drug abuse and other criminal activity. The section
              includes HUD-required screening standards, as well as discretionary standards
              allowed by HUD. The Housing Authority will deny program admission if there is
              reasonable cause to believe that an applicant family has engaged in activity
              prohibited by these guidelines.
              These guidelines apply to applicant families, and any new members being added
              to the household of a family currently participating in a rental assistance program
              administered by the Housing Authority. The Housing Authority also screens
              families transferring into its jurisdiction from other housing authorities, as
              authorized at 24 CFR §982.355(c)(9) and §982.355(c)(10).




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      2.8.1    Dru4 Abuse and Criminal History Screening Standards
              [24 CFR 6982.552(1) and 6982.553(a)]
               The Housing Authority will prohibit program admission to households if any
               household member is found to have engaged in activities listed in this screening
               standards section. Applicants convicted of an act listed in this section are
               ineligible to receive assistance. However, the Housing Authority will consider the
               household eligible for rental assistance if the household member who committed
               the criminal act will not be a part of the assisted household; as long as all other
               admission requirements are met. The family may be required to submit written
               certification that the ineligible family members) will not reside in and/or visit the
               household.
                    1. Applicants) previously evicted from federally assisted housing for
                        drug-related criminal activity.
                       The Housing Authority is required to deny admission to the applicant or
                       any household member evicted from public housing, Indian housing,
                       Section 23, or any federally assisted housing program because of a drug-
                       related criminal activity fora 3-year period beginning on the date of such
                       eviction. However, the Housing Authority may waive the 3-year probation
                       period if the person who committed the drug-related crime has
                       successfully completed an approved supervised drug rehabilitation
                       program after the date of the eviction or if the circumstances leading to
                       the eviction no longer exist (i.e. the individual responsible for the original
                       eviction is imprisoned or is deceased).
                   2. Applicants) convicted for the manufacture of methamphetamine on
                      the premises of federally assisted housing.
                      The Housing Authority is required to deny admission if the applicant or
                      any household member has ever been convicted of drug-related criminal
                      activity for manufacture or production of methamphetamine on the
                      premises of federally assisted housing.
                   3. Applicants) currently engaging in the illegal use of a drug.
                      The Housing Authority is required to deny admission to an applicant or
                      any household member who the Housing Authority determines is
                      currently engaging in illegal use of a drug.
                       The Housing Authority is required to deny admission if the Housing
                       Authority has reasonable cause to believe that there is a pattern of illegal
                       use of a drug by the applicant or any household member and that this
                       pattern may threaten the health, safety, or right to peaceful enjoyment of
                       the premises by others, regardless of whether the household member has
                       been arrested or convicted.
                       The Housing Authority may approve admission if the person provides
                       sufficient evidence that they are no longer engaging in illegal drug use
                       and have successfully completed a supervised drug rehabilitation
                       program.
                    4. Applicants)subject to a lifetime sex offender registration
                       requirement.



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                    The Housing Authority is required to deny admission if the applicant or
                    any household member is subject to lifetime registration as a sex offender
                    under a state registration program, regardless of longevity of conviction or
                    completion of any rehabilitative program.
                5. Applicants) with a pattern of alcohol abuse.
                    The Housing Authority is required to deny admission if the Housing
                    Authority has reasonable cause to believe that there is a pattern of abuse
                    of alcohol by the applicant or any household member and this pattern
                    may threaten the health, safety, or peaceful enjoyment of the premises.
                    The Housing Authority may approve admission if the person provides
                    sufficient evidence that they are no longer engaging in the abuse of
                    alcohol and has successfully completed a supervised alcohol
                    rehabilitation program.
                6. Applicants) currently engaging in, or who have engaged in criminal
                   activities.
                   The Housing Authority shall deny admission if the applicant or any
                    household member has been convicted for ~a of the following activities,
                   for a period of 3 years following the end of a conviction or incarceration
                   (which ever is later), with no further arrest or convictions other than minor
                   traffic violations:
                    • Drug-related criminal activity;
                    • Violent criminal activity (convicted perpetrators only);
                    • Other criminal activity which may threaten the health, safety, or right
                      to peaceful enjoyment of the premises by other residents or persons
                      residing in the immediate vicinity; and
                    • Other criminal activity which may threaten the health or safety of the
                      owner or Housing Authority staff, contractor or subcontractors or
                      vendors.
                    • The Housing Authority may waive the 3-year period for drug-related
                      criminal activity if the person provides sufficient evidence that they are
                      no longer engaging in the illegal use of a controlled substance and
                      have successfully completed a supervised drug rehabilitation
                      program.
                 7. Applicants)engaging in fraud or bribery associated with any federal
                    housing program.
                    The Housing Authority shall deny admission if the applicant or any
                    household member has committed fraud, bribery, or any other corrupt or
                    criminal act in connection with any Federal housing program. The
                    Housing Authority may make an exception in determining admission if the
                    family members) who participated or were culpable for the action do not
                    reside in the assisted unit.
                 8. Applicants) have not completed parole or probation.




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                   The Housing Authority shall deny admission if the applicant or any
                   household member has not completed parole or probation, including
                   summary probation.

      2.8.2 Criminal Background Checks
            [24 CFR 6982.552 — &982.553. X5.903 —X5.9051
            The Housing Authority requests a criminal background check for all applicant
            household members (including live-in aides) 18 years of age and older. The
            criminal background check is used as a factor in screening applicants for criminal
            activities that would prohibit admission to the Housing Authority's Section 8 rental
            assistance programs.
            All adult members of an applicant household must submit a signed Criminal
            Background Consent Form [24 CFR §5.903(b)], authorizing the release of
            criminal conviction records from law enforcement agencies. Failure to sign the
            consent form will result in the denial of assistance.
            A criminal conviction alone may or may not result in the denial of assistance.
            Factors such as disclosure, completion of a drug or alcohol rehabilitative
            treatment program, type and longevity of the conviction may also be taken into
            consideration.
            The Housing Authority is additionally authorized by HUD to obtain access to sex
            offender registration information, in order to prevent program admission to any
            household member (including live-in aides and minors) subject to a lifetime sex
            offender registration under a State sex offender registration program.

      2.8.3 ReQuests for Criminal Records by Owners of Covered Housing for the
            Purposes of Screening
            [24 CFR ~5.903(dll
             Owners of covered housing may request that the Housing Authority obtain
             criminal records, on their behalf, for the purpose of screening applicants. The
             Housing Authority will charge a fee in order to cover costs associated with the
             review of criminal records. These costs could include fees charged to the
             Housing Authority by the law enforcement agency and the Housing Authority's
             own related staff and administrative cost.
             Owners must submit the following items in order for the Housing Authority to
             process criminal records. Owner requests must include:
                1. A copy of a signed consent form from each adult household members,
                   age 18 years and older. Included in the consent form must be a legible
                   name, the date of birth, a California Identification Number, and a Social
                   Security number. This information will be used for the sole purpose of
                   distinguishing persons with similar names or birth dates.
                2. An owner's criteria or standards for prohibiting admission of drug
                   criminals in accordance with HUD regulations (§ 5.854 of 24 CFR Parts 5
                   et al.), and for prohibiting admission of other criminals(§ 5.855 of 24 CFR
                   Parts 5 et al.).
             Once the Housing Authority obtains criminal records, a determination will be
             made as to whether a criminal act, as shown by a criminal record, can be used


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             as a basis for applicant screening. The Housing Authority will base its
             determination in accordance with HUD regulations and the owner criteria. If the
             owner's criteria conflicts with HUD regulations, the regulations will have
             precedence.
             It is important to note that the Housing Authority will not disclose the applicant's
             criminal conviction record or the content of that record to the owner.

      2.8.4 Request for Criminal Records by Section 8 Project-Based Owners for the
            Puraoses of Lease Enforcement or Eviction
             Section 8 project-based owners may request that the public housing agency in
             the location of the project obtain criminal conviction records of a household
             member on behalf of the owner for the purpose of lease enforcement or eviction.
             The owner's request must include the following:
                  1. A copy of the consent form, signed by the household member, and
                  2. The owner's standards for lease enforcement and evicting due to criminal
                     activity by members of a household.

      2.8.5 Confidentiality of Criminal Records
            [24 CFR 65.903(a1l
             Criminal records received by the Housing Authority are maintained confidentially,
             not misused, nor improperly disseminated and kept locked during non-business
             hours. All criminal records will be destroyed no later than 30 calendar days after
             a final determination is made.

      2.8.6 Disclosure of Criminal Records to Family
              The applicant or family member requesting to be added to the household will be
              provided with a copy of the criminal record upon request and an opportunity to
              dispute the record. Applicants will be provided an opportunity to dispute the
              record at an informal review. Participants may contest such records at an
              informal hearing [24 CFR §982.553(d)].

       2.8.7 Exalanations and Terms
             X24 CFR &5.1001
              The following terms are used to determine eligibility when an applicant or a family
              member is added to an already assisted household and is undergoing a criminal
              background check.
             •     "Covered housing" includes public housing, project-based assistance under
                  Section 8 (including new construction and substantial rehabilitation projects),
                  and tenant-based assistance under Section 8.
              •  "Drug" means a controlled substance as defined in Section 102 of the
                Controlled Substance Act(21 U.S.C. 802).
              • "Drug-related criminal activity" means the illegal manufacture, sale,
                distribution, or use of a drug, or the possession of a drug with the intent to
                manufacture, sell, distribute or use the drug.



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            •  "Pattern" is defined as the use of a controlled substance or alcohol if there is
              more than one incident during the previous 12 months. "Incident" includes
              but is not limited to arrests, convictions, no contest pleas, fines, and city
              ordinance violations.
            • "Premises° is the building or complex or development in which the public or
              assisted housing dwelling unit is located, including common areas and
              grounds.
            • "Sufficient evidence" may include all or a number of personal certification
              along with supporting documentation from the following sources 1) probation
              officer; 2) landlord; 3) neighbors; 4) social service workers; 5) review of
              verified criminal records.
            • "Violent criminal activity" means any criminal activity that has as one of its
              elements the use, attempted use, or threatened use of physical force
              substantial enough to cause, or be reasonably likely to cause, serious bodily
              injury or property damage. Violent criminal activity also includes activity
              within the family, such as during domestic disputes.

      2.9   OTHER CRITERIA FOR ADMISSION
            X24 CFR ~982.552(c11
             The Housing Authority is authorized to apply the following criteria, in addition to
             the HUD eligibility criteria, as grounds for denial of admission to the program.
                 1. The family, or any household member, must not have violated any family
                    obligations during a previous participation in a federally assisted housing
                    program. The Housing Authority will review situations, on a cas~by-case
                    basis, for violations that are more than 5 years old.
                2. The family, or any household member, must not have engaged in serious
                   lease violations while a resident of federally assisted housing or within the
                   past 5 years had been evicted from a federally assisted housing program.
                3. The family, or any household member, must not be a past participant of
                   any Section 8 or public housing program who has failed to satisfy liability
                   for rent, damages or other amounts to the Housing Authority or another
                   public housing agency, including amounts paid under a HAP contract to
                   an owner for rent, damages, or other amounts owed by the family under
                   the lease.
                   • On a case-by-case basis, the Housing Authority may provide the
                        applicant the opportunity to repay any such debt in full as a condition
                        of admissions. The Housing Authority will not enter into a repayment
                        agreement for this purpose.
                4. No family household member may have engaged in or threaten abusive
                    or violent behavior toward Housing Authority personnel.
                        "Abusive or violent behavior" includes verbal as well as physical
                        abuse or violence. Use of expletives that are generally considered
                        insulting, racial epithets, or other language, written or oral, that is
                        customarily used to insult or intimidate, may be cause for denial of
                        admission.


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                    • "Threatening" refers to oral or written threats or physical gestures that
                      communicate intent to abuse or commit violence.
                    • Actual physical abuse or violence will always be cause for denial.
                 5. The family, or any household member, must not supply false, inaccurate
                    or incomplete information on any application for federal housing
                    programs, including public housing and Section 8. The family may be
                    denied for a period not to exceed 2 years from the date of such a
                    determination by the Housing Authority that information which was
                    provided was false, inaccurate or incomplete, provided that no further
                    cause for denial exists[24 CFR §982.552(c)(2)(i)].

      2.10   SUITABILITY OF FAMILY
             [24 CFR ~982.3071a)(2ll
             The Housing Authority may take into consideration any admission criteria listed in
             this chapter in order to screen applicants for program eligibility; however, it is the
             owner's responsibility to screen applicants for family behavior and suitability for
             tenancy.
             The Housing Authority will assist and advise applicants on how to file a compliant
             if they have been discriminated against by an owner.

      2.11    DENYING ADMISSION TO INELIGIBLE FAMILIES
              X24 CFR ~982.201(fl(1) AND 6982.552(Al(211
              Denial of assistance for an applicant family may include denying placement on
              the waiting list; denying or withdrawing a voucher; refusing to enter into a HAP
              contract or approve a lease; and refusing to process or provide assistance under
              portability procedures.
              Families from the waiting list who are determined to be ineligible will be notified in
              writing of the reason for denial and given an opportunity to request an informal
              review if they do not agree with the decision. This policy also applies to incoming
              families from other housing authorities that have not yet received assistance in
              the Housing Authority's jurisdiction. Please refer to Chapter 16 for more
               information on the informal review process.




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                                        CHAPTER 3:
                             ADMINISTRATION OF THE WAITING LIST

      3.1     INTRODUCTION
              X24 CFR &982.54(dl(1)l
              This chapter describes the policies and procedures that govern the initial
              application, placement and denial of placement on the Housing Authority's
              waiting list. It is the Housing Authority's objective to ensure that the families are
              placed on the waiting list in the proper order so that an offer of assistance is not
              delayed to any family, or made to any family prematurely.
              By maintaining an accurate waiting list, the Housing Authority will be able to
              perform the activities, which ensure that an adequate pool of qualified applicants
              will be available so that program funds are used in a timely manner.

      3.2     HOW TO REGISTER
              Interested persons may apply online at www.hacola.or4, or by calling the
              Housing Authority at(562) 347-4663 or(800) 731-4663.

      3.2.1    Preliminary Registration Waitin4 List
              [24 CFR ~982.2041b)l
              All families wishing to receive rental assistance through a Housing Authority
              rental assistance program are initially placed on the Preliminary Registration
              Waiting List. This is essentially an interest list. Families are placed on the
              Preliminary Registration Waiting List according to the Housing Authority's
              admission policies. Preliminary information regarding the family's address,
              income, family composition, and disability status is collected. However, this
              information is not verified until the family is placed on the Active Waiting List.
              Applicants receive a confirmation letter that their name has been placed on the
              Preliminary Registration Waiting List.

      3.2.2 Active Waiting List
               When the Housing Authority determines that there is sufficient funding to issue
               additional vouchers, a pool of potential new applicants is drawn from the
               Preliminary Registration Waiting List. Families move onto the Active Waiting List
               according to the Housing Authority's admission policies. Once a family has been
               placed on the Active Waiting List, they will be asked to complete an application
               and provide all the necessary income and eligibility forms. At this point, all
               information will be confirmed through athird-party. Families must meet all
               admissions requirements to be issued a voucher.

       3.2.3 Change in Circumstances
             X24 CFR ~982.204(bll
               Applicants are required to notify the Housing Authority in writing, within 30
               calendar days, when their circumstances change, including any change of
               address, income or family composition.



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      3.3     APPLYING FOR SPECIAL PROGRAMS AND NON-HOUSING CHOICE
              VOUCHER PROGRAMS
              To see a list of special programs, other non-Housing Choice Voucher Programs
              and the eligibility process, please refer to Chapter 18(Special Programs).

      3.4     SPECIAL ADMISSIONS
              Applicants admitted under special admissions, rather than from the waiting list,
              are identified by codes in the automated system and are not maintained on
              separate lists.
              Applicants who are admitted under targeted funding which are not identified as a
              Special Admission are identified by codes in the automated system and are not
              maintained on separate waiting lists.

      3.4.1   Exceptions for Special Admissions
              X24 CFR X982.203]
              If HUD awards the Housing Authority program funding that is targeted for
              specifically named families, the Housing Authority will admit these families under
              a special admission procedure. Special admissions families will be admitted
              outside of the regular waiting list process. They do not have to qualify for any
              preferences, nor are they required to be on the program waiting list. They are not
              counted in the limit on non-Federal preference admissions. The Housing
              Authority maintains separate records of these admissions. The following are
              examples of types of program funding that may be designated by HUD for
              families living in a specified unit:
                  1. A family displaced because of demolition or disposition of a public or
                     Indian housing project;
                  2. A family residing in a multifamily rental housing project when HUD sells
                     forecloses or demolishes the project;
                  3. For housing covered by the Low Income Housing Preservation and
                     Resident Homeownership Act of 1990;
                  4. A family residing in a project covered by a project-based Section 8 HAP
                     contract at or near the end of the contract term; and
                  5. Anon-purchasing family residing in a HOPE 1 or HOPE 2 project.

      3.4.2 Criminal Background Checks
               Program applicants for all voluntary set-aside programs will require criminal
               background checks. Applicants for the Shelter Plus Care program will not be
               required to undergo criminal background checks. For more specific information
               on the applicant screening standards used by the Housing Authority when
               reviewing criminal records, please refer to Section 2.8 (Screening for Drug Abuse
               and Other Criminal Activity).




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      3.5     OPENING AND CLOSING THE WAITING LIST
              X24 CFR X982.2061
              The Housing Authority has maintained a continuously open waiting list, and for
              the foreseeable future plans to continue this process indefinitely. However,
              should it become necessary to close and then reopen the waiting list, the
              Housing Authority will comply with the policies outlined in this chapter.

      3.5.1   Oaenin4 the Waiting List
              X24 CFR &982.206(all
              When the Housing Authority opens its waiting list, it will give public notice by
              advertising in the following newspapers, minority publications, and media entities.
                     Los Angeles Times
                  ➢ La Opinion
                  ➢ The Daily News
                  ➢ International Daily News
                  ➢ L.A. Sentinel
                  ➢ Long Beach Press Telegram
                  ➢ Eastern Group Publications
                  ➢ The Wave
                  ➢ The Daily Breeze
              The Housing Authority's public notice will contain:
                  ➢ The dates, times, and locations where families may apply;
                  ➢ The programs for which applications will be taken;
                  ➢ A brief description of the program(s);
                  ➢ A statement that public housing residents must submit a separate
                    application if they want to apply to a rental assistance program;
                  ➢ Any limitations on who may apply; and
                  ➢ The Fair Housing Logo.
              The notice will provide potential applicants with information that includes the
              Housing Authority's telephone number, website address, location address,
              information on eligibility requirements, and the availability of local preferences, if
              applicable. The notice will be made in an accessible format to persons with
              disabilities if requested.
              Additional time for submission of an application after the stated deadline will be
              given as a reasonable accommodation at the request of a person with a
              disability.




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      3.5.2 Criteria Defining Who Mav Appiv
            [24 CFR &982.206(bl(1►1
             Upon opening the waiting list, the Housing Authority will disclose the criteria
             defining what families may apply for assistance under a public notice.



      3.5.3 Closin4 the Waitin4 List
            X24 CFR &982.206(c)]
             Should it become necessary to close the waiting list, the Housing Authority will
             use the same advertising methods described above.
             Notification of impending closure will be provided to the public for a minimum of
             30 calendar days.

      3.6    TIME OF SELECTION
             X24 CFR ~982.204(d)l
             When funding is available, families will be selected from the waiting list based on
             the Housing Authority's admission policies.
             If the Housing Authority ever has insufficient funds to subsidize the unit size of
             the family at the top of the waiting list, the Housing Authority will not admit any
             other applicant until funding is available for the first applicant.
             However, families may be skipped over to meet HUD-mandated income targeting
             requirements [24 CFR §982.201(b)]. See Section 2.4 (Income Limitations) for
             details.

      3.7     CROSS-LISTING OF PUBLIC HOUSING AND SECTION 8 WAITING LISTS
              X24 CFR ~982.205(a)1
              The Housing Authority does not merge the waiting lists for public housing and
              Section 8. However, if the Section 8 waiting list is open when the applicant is
              placed on the public housing list, the Housing Authority must offer to place the
              family on the Section 8 waiting list. If the public housing waiting list is open at the
              time an applicant applies for Section 8 rental assistance, the Housing Authority
              must offer to place the family on the public housing waiting list.

       3.8    REMOVING APPLICANTS FROM THE WAITING LIST AND PURGING
              X24 CFR b982.204(cl and ~982.201(fl(1)1
              The Housing Authority is authorized to remove names of applicants who do not
              respond to requests for information or updates. An applicant who fails to respond
              to a Housing Authority mailing within the time frame indicated will be removed
              from the waiting list.      An extension may be considered a reasonable
              accommodation if requested in advance by a person with a disability.
              If a letter is returned by the Post Office, the applicant will be removed without
              further notice. The envelope and letter will be maintained in the file.




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            This policy applies to purging, in which a request for current information and
            confirmation of continued interest is mailed to all applicants, to ensure that the
            waiting list is current and accurate.
            Notices will be made available in accessible format upon the request of a person
            with a disability.
            Applicants who are removed from the waiting list for failure to respond are not
            entitled to reinstatement on the waiting list, unless:
                ➢ The Housing Authority verifies afamily/health/work emergency, or
                ➢ The applicant failed to respond because of a family member's disability.
            Periodically, applicants will call to check their status on the waiting list and learn
            that they have been cancelled because mail was returned undeliverable. In
            extenuating circumstances, such as a long-term illness, or other family
            emergency, the applicant may be reinstated. However, the applicant must be
            able to provide documentation of the circumstances. Such requests will be
            reviewed and approved (or denied) on a case-by-case basis by the Applications
            and Eligibility Unit Supervisor.

      3.9   APPLICATION POOL
            The waiting list will be maintained in accordance with the following guidelines:
                1. The application will be a permanent file;
                2. Applications equal in preference will be maintained by date and time; and
                3. All applicants must meet eligibility requirements outlined in Chapter 2
                  (Admission Eligibility Factors and Applicant Requirements).




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                                           Chapter 4:
                                      ADMISSION PROCESS


      4.1    INTRODUCTION
             The policies outlined in this chapter are intended to ensure that all families who
             express an interest in housing assistance are given an equal opportunity to
             apply. The primary purpose of the intake function is to gather information about
             the family so that an accurate, fair, and timely decision relative to the family's
             eligibility may be made. As such, applicants are placed on the waiting list in
             accordance with this plan.

      4.2    APPLICATION PROCEDURES
             X24 CFR 6982.204(c)1
             Once the applicant is transferred from the Preliminary Registration Waiting List to
             the Active Waiting List, an application will be mailed to the applicant. The
             application is due back within 10 calendar days from the date it was mailed. If
             the application is returned undeliverable, the applicant will be cancelled from the
             waiting list.
             Once an application is returned, the information provided by the applicant will be
             used to determine if the applicant is eligible for a tenant selection preference, and
             used to help the Housing Authority determine which income forms the applicant
             must complete.
              If an applicant is ineligible based on the information provided on the application,
              or because they fail to return the documents by the due date, the applicant will be
              provided written notice of the reason for their disqualification and their right to
              request an informal review.
              The application may capture the following information:
                  ➢ Name of adult members and age of all members;
                  ➢ Sex and relationship of all members;
                  ➢ Street address and phone number;
                  ➢ Mailing address;
                  ➢ Amount(s) and sources) of income received by household members;
                  ➢ Information regarding disabilities relating to program requirements;
                  ➢ Information related to qualification for preference(s);
                  ➢ Social Security numbers;
                  ➢ Race/ethnicity;
                  ➢ Citizenship/eligible immigration status;
                    Convictions for drug-related or violent criminal activity;
                  ➢ Request for specific reasonable accommodations) needed to fully utilize
                    program and services;



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                    ➢ Previous address;
                    ➢ Current and previous landlords' names and addresses;
                    ➢ Emergency contact person and address; and
                    ➢ Program integrity questions regarding previous participation in HUD
                      programs.
              Applicants are required to inform the Housing Authority in writing within 30
              calendar days of effective date of any changes in family composition, income,
              and address, as well as any changes in their preference status. Applicants must
              also comply with requests from the Housing Authority to update information.

      4.2.1   Interview Sessions/Mailincts
              The Housing Authority will use both mailing and interview sessions to obtain
              income, asset and family composition information from applicants.

      4.2.2 Reuuest for Information via Mail
              During times of high activity, the Housing Authority will mail income and asset
              forms to applicants. Applicants will be given 10 calendar days to complete and
              return all required forms. If forms are not returned in a timely manner, the
              applicant will receive a final notice. The final notice will provide an additional 5-
              day grace period. If the required forms are not returned, as specified, the
              application will be cancelled. The Housing Authority will provide additional time,
              with appropriate documentation, as a reasonable accommodation and in special
              circumstances such as an illness and/or death in the family.

      4.2.3 Aaplication Interview Process
              During times for regular activity (average volume), the Housing Authority utilizes
              a full application interview to discuss the family's circumstances in greater detail,
              to clarify information that has been provided by the applicant, and to ensure that
              the information is complete.
              Applicants are given two opportunities to attend an interview session. If the
              applicant does not respond to the second invitation, the application is cancelled.
              Housing Authority will allow for a third interview appointment as a reasonable
              accommodation and in special circumstances such as illness. An applicant may
              also request that the Housing Authority assign someone to conduct the interview
              at the applicants home, as a reasonable accommodation.
              All     applicants   must   complete   the   following   requirements [24       CFR


                    1. At minimum, the head of household must attend the interview. The
                       Housing Authority requests that all adult members of the applicant family
                       attend when possible. This assures that all members receive information
                       regarding their obligations and allows the Housing Authority to obtain
                       signatures on critical documents quicker.




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                2. All adult members of the applicant family must sign the HUD-9886 Form
                  (Authorization for the Release of Information), and all supplemental forms
                   required by Housing Authority.
                3. Citizen declaration forms must be completed for all applicant family
                   members, regardless of age.
                4. All adult members of the applicant family must complete and sign a
                   Criminal Background Consent/Acknowledgment Form.
                5. Identification information for all members of the applicant family such as
                   birth certificates, valid driver's licenses or State (Department of Motor
                   Vehicles) ID cards, whichever is applicable based on the age of the family
                   member, must be submitted for all members of the household regardless
                   of age.
             Information provided by the applicant will be verified, including citizenship status,
             full-time student status and other factors related to preferences, eligibility and
             rent calculation. Verifications must not be older than 60 calendar days old at the
             time of issuance.
             If they are requested, exceptions for any of the above listed items will be
             reviewed on a case-by-case basis. Exceptions will be granted based upon
             hardship. Reasonable accommodations will be made for persons with disabilities.
             In these cases, a designee will be allowed to provide some information, but only
             with permission of the person with a disability.
             Under both processes, all local preferences claimed on the application while the
             family is on the waiting list will be verified. Preference is based on current status,
             so the qualifications for preference must exist at the time the preference is
             verified, regardless of the length of time an applicant has been on the waiting list.

      4.2.4 Secondary Reviews/Credit Reports
            [24 CFR ~982.551(b)(11l
             Before issuing vouchers to applicant families, the Housing Authority requests a
             credit report for a random sample of new applicant families, as detailed in
             Section 1.12 (Monitoring Program Performance). Of the randomly selected
             families, all adults (persons 18 years of age and older) who will reside in the
             assisted household will have their credit report reviewed by the Housing
             Authority. Applicant households claiming that they have zero income will
             automatically undergo a credit review.
              The information contained in the credit report will be used to confirm the
              information provided by the family. Specifically, the credit report will be used to
              confirm:
                   Employment: A credit report will list any employers that the applicant has
                 listed in any recent credit applications. If the credit report reveals
                 employment, for any adult household member, within the last 12 months that
                 was not disclosed, the family will be asked to provide additional documents to
                 clear up the discrepancy. Failure to disclose current employment may result
                 in cancellation of the family's application.




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           •  Aliases: A credit report can provide information on other names that have
             been used for the purposes of obtaining credit. Common reasons for use of
             other names include a recent marriage or a divorce. If an alias has not been
             disclosed to the Housing Authority, the family will be asked to provide
             additional evidence of the legal identity of adult family members.
           • Current and previous addresses: A credit report can provide a history of
             where the family has lived. This is particularly important because the
             Housing Authority provides a residency preference. If the family has provided
             one address to the Housing Authority and the credit report indicates a
             different address, the family will be asked to provide additional proof of
             residency. This may include a history of utility bills, bank statements, school
             enrollment records for children, credit card statements or other relevant
             documents. Failure to provide adequate proof will result in the denial of a
             residency preference.
           •    Credit card and loan aavments: A credit report will usually include a list of
               the family's financial obligations. Examples of the items that may show up
               include car loans, mortgage loans, student loans and credit card payments.
               The Housing Authority will review this information to confirm the income and
               asset information provided by the family. If the family's current financial
               obligations (total amount of current monthly payments) exceed the amount of
               income reported by the family, the Housing Authority will ask the family to
               disclose how they are currently meeting their financial obligations. Accounts
               that have been charged off or significantly delinquent are not included in this
               calculation. Failure to provide adequate proof of income will result in
               termination of the application.
           •    Multiple Social Security numbers: A credit report may list multiple Social
               Security numbers if an adult family member has used different Social Security
               numbers to obtain credit. If the credit report information does not match the
               information provided by an adult member of the family, the family member will
               be required to obtain written confirmation of the Social Security number that
               was issued to him/her from the Social Security Administration.
            A family will not be issued a voucher until all discrepancies between the
            information provided by the applicant family, and the information contained in the
            credit report have been cleared by the applicant family.
            When discrepancies are found, the family will be contacted by telephone or by
            mail. In most cases, the family will be allowed a maximum of 10 calendar days to
            provide the additional documentation. On a case-by-case basis, as a reasonable
            accommodation, the family may be granted additional time. If additional time is
            granted, the family will receive a letter confirming the new deadline. No
            additional extension will be granted thereafter.
            When the credit report reveals multiple discrepancies that are not easily
            communicated over the telephone, the Housing Authority will set up a face-to-
            face interview with the applicant. The Housing Authority will schedule up to two
            interview appointments. An additional interview may be scheduled as a
            reasonable accommodation. Failure to appear at the interview session will result
            in cancellation of the application.




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             Additionally, failure to provide the necessary information will result in cancellation
             of the application.

      4.3    LOCAL PREFERENCES
             X24 CFR 6982.2071
             The Housing Authority will apply a system of local preferences in determining
             admissions for the program. All preferences will be subject to the availability of
             funds and all applicants will be required to meet all eligibility requirements. In
             accordance with California Health and Safety Code §34322.2, the Housing
             Authority will give priority to families of veterans and members of the armed
             forces in each of the categories below. Local preferences are weighted highest
             to lowest, in the following order:
                     Set-Aside. Tar4eted. and Special Pro4rams :Families who qualify for
                     Set-Aside, Targeted, or Special Programs administered by the Housing
                     Authority will be admitted before all other eligible applicants or applicants
                     on the waiting list. Referral may be made by County agencies with a
                     contract or Memorandum of Understanding in place, or by contracted
                     CBO's up to and not to exceed the number of vouchers specified in the
                     contract.
                 2. Families previously assisted by the Housing Authority whose assistance
                     was terminated due to insu~cient funding.
                 3. Families who live or work in the jurisdiction in the following categories that
                    are subject to the approval by the Executive Director:
                    • Victims of Declared Disasters: An admissions preference may be
                        given to bona fide victims of declared disasters, whether due to
                        natural calamity (e.g. earthquake), civil disturbance, or other causes
                        recognized by the federal government. Victims must provide
                        documentation to receive an admissions preference. Admissions
                        preference may only be given within the allotted timeframe
                        established by the federal government. If HUD provides specific
                        funding, the Housing Authority will not exceed the allocated amount.
                          Disalacement Due to Government Actions: Families or individuals
                          who are certified as displaced due to the action of a federal
                          government agency or local government agencies may be given an
                          admissions preference.
                          Referrals from law enforcement a4encies: The Housing Authority
                          may distribute application forms and may issue a voucher to families
                          or single persons that are referred by law enforcement agencies. The
                          types of referrals that will be considered include, but are not limited to:
                             • Victims of domestic violence,
                             • Involuntarily displaced to avoid reprisals, or
                             • Displaced due to being a victim of a hate crime.
                          Law enforcement referrals must be made in writing, on law
                          enforcement agency letterhead, and signed by the requesting officer


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                       and his or her immediate supervisor. Eligibility, including background
                       checks will be confirmed for all members.
                 4. Jurisdictional Preference: Families who live and/or work in the Housing
                    Authority's jurisdiction will be admitted before families outside of the
                    Housing Authority's jurisdiction.
                 5. Date and Time of Registration: When the family placed their name on
                    the Section 8 Preliminary Registration Waiting List.

      4.3.1    Verification of Preferences
              [24 CFR &982.207(el]
              Residency Preference: For families who are residing in the Housing Authority's
              jurisdiction at the time the, or have at least one adult member who works or has
              been hired to work in the Housing Authority's jurisdiction.
                  ➢ In order to verify that an applicant is a resident, the Housing Authority will
                    require documentation of residency as shown by the following
                    documents: current rent receipts, leases, utility bills, employer or agency
                    records, school records, drivers licenses, state identification or credit
                    reports.
                  ➢ In cases where an adult member of the household works or has been
                    hired to work in the Housing Authority's jurisdiction, a statement from the
                    employer will be required.
               Veteran's Preference: Acceptable documentation regarding veteran's status will
               include a DD-214 (discharge documents), proof of receipt of veteran's benefits,
               or documentation from the Veteran's Administration.

      4.3.2 Final Verification of Preferences
            X24 CFR &982.207(ell
               Preference information on applications will be updated as applicants are selected
               from the waiting list. At that time, the Housing Authority will obtain necessary
               verifications of preference at the interview and by third-party verification.

      4.3.3 Preference Denial
               If the Housing Authority denies a preference, the Housing Authority will notify the
               applicant in writing of the reasons why the preference was denied and offer the
               applicant an opportunity for an informal review. The applicant must request for an
               informal review in writing within 15 calendar days from the date of the notification.
               The request should also provide all information and documents supporting the
               applicants request. If the preference denial is upheld as a result of the informal
               review, the applicant will be placed on the waiting list without benefit of the
                preference. Applicants may exercise other rights if they believe they have been
                discriminated against.
               If the applicant falsifies documents or makes false statements in order to qualify
               for any preference, or for any other reason, they will be removed from the waiting
               list.



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     4.4     DENIAL OF ASSISTANCE
            (24 CFR 6982.204(c)(1) and 6982.204(fl(11 X982.5521
             If an application is denied due to failure to attend the initial and final interviews, or
             for failure to provide eligibility related information, the applicant family will be
             notified in writing and offered an opportunity to request an informal review. If the
             applicant misses two scheduled meetings, the Housing Authority will cancel the
             application and remove the applicants name from the waiting list.
             The Housing Authority may at any time deny program assistance to an applicant
             family because of actions or failure to act by members of the family such as any
             member of the family to sign and submit consent forms for obtaining information.
             The Housing Authority will not deny admission of an applicant who is or has been
             a victim of domestic violence, dating violence, sexual assault, or stalking, if the
             applicant otherwise qualifies for admission.

      4.5    FINAL DETERMINATION AND NOTIFICATION OF ELIGIBILITY
             X24 CFR X982.3011
             If the applicant family is determined to be eligible after all applicable paperwork
             has been reviewed, they will be invited to attend a briefing session at which time
             they will receive information regarding their rights and responsibilities and they
             will be issued a voucher. See Chapter 8 (Voucher Issuance and Briefings) for
              more detail information.




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                                       CHAPTER 5:
                                   SUBSIDY STANDARDS


      5.1   INTRODUCTION
            f24 CFR 6982.402(a1l
            Program regulations require that the Housing Authority establish subsidy
            standards that determine the number of bedrooms needed for families of different
            sizes and compositions. Such standards must provide for a minimum
            commitment of subsidy while avoiding overcrowding. The standards in
            determining the voucher size must be within the minimum unit size requirements
            of HUD's Housing Quality Standards(HQS).
            This chapter lays out the factors used in determining the voucher size issued to a
            family initially and when there is a move to a new unit, as well as the Housing
            Authority's procedures for handling changes in family size, selection of unit size
            that are different from the voucher size and requests for waivers.

      5.2   DETERMINATION OF VOUCHER SIZE
            X24 CFR X982.402]
            Subsidy standards and determination of voucher bedroom size are based upon
            the number of family members who will reside in the assisted dwelling unit. All
            standards in this section relate to the number of bedrooms on the voucher, not
            the family's actual living arrangements.
            The unit size on the voucher remains the same as long as the family composition
            remains the same.
            As required by HUD, the Housing Authority's subsidy standards for determining
            voucher size shall provide for the smallest number of bedrooms needed to house
            a family without overcrowding. They will be applied consistently for all families of
            like size and composition, in a manner consistent with fair housing guidelines and
            HQS.
            In accordance with HUD regulations, the unit size designated on the voucher
            should be assigned using the following Housing Authority subsidy standards,
            which are based on two persons per bedroom:

                              Number of                   Number of
                          Household Members               Bedrooms
                                   1-2                   1-bedroom
                                   3-4                   2- bedroom
                                   5-6                   3- bedroom
                                   7-8                   4- bedroom
                                   9-10                  5- bedroom
                                   11-12                 6- bedroom




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                 1. At issuance, the bedroom size assigned should not require more than two
                    persons to occupy the same bedroom. The family may choose and live
                    within a suitable unit in any grouping that is acceptable to the family,
                    including using the living room for sleeping purposes.
                 2. Every family member is to be counted as a person in determining the
                    family unit size [24 CFR §982.402(a)(4)-(6)]. Under this definition, family
                    members include the unborn child of a pregnant woman; any live-in aides
                   (approved by the Housing Authority to reside in the unit to care for a
                    family member who is disabled or is at least 50 years of age); and a child
                    who is temporarily away from the home because of placement in foster
                    care. A family that consists of a pregnant woman (with no other persons)
                     must be treated as atwo-person family.
                    Note: An approved live-in aide is counted in determining the voucher
                    size. There is no waiver or exception to the subsidy standards unless
                    otherwise specified.
                 3. An additional bedroom may be assigned if approved under a waiver by
                    the Housing Authority (see Section 5.3 below).
                 4. If the family decides to move, the Housing Authority will issue a voucher
                    based on the family's current composition.

      5.2.1   Maximum Unit Occuaancv
              In cases where an additional persons) joins the family and the family will
              continue to occupy the same rental unit, i.e. no move is involved, the Housing
              Authority may require the family to use the living room for sleeping purposes for
              no more than one person provided that the unit meets other HQS.
              Changes to household composition must be made according to Housing
              Authority policy detailed in Section 12.5(Changes in Family Composition).
              The maximum occupancy as determined by the Housing Authority is as follows:

                                     Number of          Maximum
                                     Bedrooms          Occuaancv
                                    1- bedroom            3
                                    2- bedroom            5
                                    3- bedroom             7
                                    4- bedroom             9
                                    5- bedroom            11
                                    6- bedroom            13

              The Housing Authority will not increase the family's voucher size due to additions
              where the family will continue to occupy the same unit, unless the addition
              creates an overcrowding situation for the family.
              The family may be required to move into a larger size dwelling unit if the Housing
              Authority determines that the family is overcrowded.



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      5.3   OCCUPANCY STANDARDS WAIVER
            f24 CFR 5982.402(b)(8)l
            The standards discussed above should apply to the vast majority of assisted
            families. However, in some cases, the Housing Authority may grant exceptions
            to the subsidy standards. Examples of possible exceptions that may be justified
            include but are not limited to:
               1. The health of a family member.
               2. A reasonable accommodation to a disability.
            Requests based on health related reasons must be verified, in writing, by a
            doctor or other medical professional. The request must specify the reason for
            the request and how providing a larger bedroom size would improve or
            accommodate the medical condition.
            A Unit Supervisor who has not been involved in the initial determination will
            review the request, any prior determination and make a decision based on the
            specifics of the individual case (on a case-by-case basis). After the decision is
            made, a letter notifying the applicant or participant of the decision regarding the
            waiver will be sent by the reviewing supervisor.
            To request a larger voucher size than indicated by the subsidy standards for any
            other reason, the family must submit a written request within 15 calendar days of
            the Housing Authority's determination of bedroom size. The request must
            explain the need or justification for a larger bedroom size.

      5.4    EXCEPTIONS FOR FOSTER CHILDREN
            [24 CFR ~982.402(bl(81l
            Exceptions will be made to accommodate foster children. The Los Angeles
            County Department of Family and Children Services (DCFS) has very specific
            housing guidelines that must be met by foster families. In order to assure that
            foster children are able to remain with designated Section 8 foster families, the
            Housing Authority will utilize the guidelines published by the Los Angeles County
            DCFS, or specified in a court order, in situations involving foster children.

      5.5    FLEXIBILITY OF UNIT SIZE ACTUALLY SELECTED
             X24 CFR &982.4021d)l
             The family may select a dwelling unit with a different size than that listed on the
             voucher:
                 Laraer than the voucher size: The Housing Authority shall not prohibit a
                family from renting an otherwise acceptable unit because it is too large for the
                family, provided that the rent for the unit is comparable and the family's total
                rent contribution (rent to the owner plus any applicable utility costs) does not
                exceed 40 percent of the family's adjusted monthly income (applies only if the
                gross rent for the unit exceeds the payment standard).
                  Smaller than the voucher size: The Housing Authority will allow families to
                 request a waiver to rent an otherwise acceptable unit with fewer bedrooms




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                 than the voucher size, if the unit does not exceed maximum unit occupancy
                 requirements.

      5.5.1   Calculatin4 Assistance for a Different Unit Size
              To determine the family's maximum rent subsidy, the Housing Authority uses the
              payment standard for the voucher size or the selected unit size, whichever is
              lower[24 CFR §982.402(c)].
              The utility allowance used to calculate the gross rent is based on the actual size
              of the unit the family selects, regardless of the size authorized on the family's
              voucher[24 CFR § 982.517(d)].




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                                     CHAPTER 6:
            DETERMINING THE TOTAL TENANT PAYMENT AND HOUSING AUTHORITY
                                   ABSENCE POLICY

      6.1     INTRODUCTION
              This chapter explains how the Total Tenant Payment (TTP) is calculated at
              admission and during annual re-examinations. It covers Housing Authority and
              HUD standards used to calculate income inclusions and deductions.
              This chapter also provides the Housing Authority's definition of absence of
              household members and explains how the presence or absence of household
              members can affect the TTP.
              The policies outlined in this chapter address those areas, which allow the
              Housing Authority discretion to define terms and to develop standards in order to
              assure consistent application of the various factors that relate to the
              determination of TTP.

      6.2     INCOME DEFINITIONS
                   Total Tenant Payment (TTP): represents the minimum amount a family
                  must contribute toward rent and utilities regardless of the unit selected.. The
                  TTP is the greater of:
                        30 percent of monthly adjusted income;
                         10 percent of monthly gross income; or
                        The Housing Authority's minimum rent of $50.
              •  Income: The Housing Authority will include income from all sources, unless
                otherwise specifically exempted [24 CFR §5.609(c)] through program
                regulations, for the purposes of calculating the TTP. In accordance with this
                definition, income from all sources of each member of the household is
                counted.
              • Annual Income [24 CFR 65.609(a)l: The gross amount of income
                anticipated to be received by the family during the 12 months after
                certification or re-examination. Gross income is the amount of income prior to
                any HUD allowable expenses or deductions, and does not include income
                that has been excluded by HUD. Annual income is used to determine
                whether or not applicants are within the applicable income limits.
              • Adjusted Income X24 CFR §5.6111: The annual income minus any HUD
                allowable deductions.

       6.3     INCOME DEDUCTIONS
               f24 CFR &5.611(a1l
               The following deductions- will be applied in the TTP calculation:
                  ➢ Deaendent Allowance: $480 each for family members (other than the
                      head, co-head, or spouse), who are minors, and for family members who



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                    are 18 and older who are full-time students or who are disabled. This
                    allowance does not apply to foster children.
                  ➢ Elderiv Family or Disabled Familv Allowance: $400 for families whose
                    head, co-head, or spouse is 62 or over or disabled.
                  ➢ Childcare Expenses: Deducted for children under 13, including foster
                    children, when childcare is necessary to allow an adult member to work,
                    search for work, or attend school (see below for details).
                  ➢ Allowable Medical Expenses: Deducted for unreimbursed medical
                    expenses for members of any elderly family or disabled family.
                  ➢ Disability Assistance Exaenses: Deducted for persons with disabilities
                    if needed to enable the individual or an adult family member to work.

      6.3.1   Childcare Expenses
              X24 CFR ~5.603(b) and 24 CFR ~5.611(a11
              Childcare expenses for children under 13 years of age may be deducted from
              annual income if they enable an adult to work, search for work, or attend school
              full time.
              In the case of a child attending school, only care during non-school hours can be
              counted as childcare expenses.
              Families will be given a childcare allowance based on the following guidelines:
              •    Childcare to Work: The maximum childcare expense allowed must be less
                  than the amount earned by the person enabled to work. The "person enabled
                  to work" will be the adult member of the household who earns the least
                  amount of income from working.
              •    Childcare to Search for Work: Childcare expenses cannot exceed the
                  current amount of income received.
              •    Childcare for School: The number of hours claimed for childcare may not
                  exceed the number of hours the family member is attending school (including
                  one hour travel time to and from school).
              •    Amount of Expense: The Housing Authority will determine local average
                  costs as a guideline. If the hourly rate materially exceeds the guideline, the
                  Housing Authority may calculate the allowance using the guideline.

       6.3.2 Medical Exaenses
            (24 CFR 65.611(a)(3)(i)1
              When it is unclear in the HUD rules as to whether or not to allow an item as a
              medical expense, IRS Publication 502 will be used as a guide.
              The Housing Authority will allow as medical expense the actual out-of-pocket
              amounts which are owed and anticipated to be paid by the family during the re-
              examination period. Expenses from the previous year may be analyzed to
              determine the amount to anticipate when other verification is not available.
               Nonprescription medicines will be counted toward medical expenses for families
               who qualify if the family furnishes legible receipts.


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              Acupressure, acupuncture and related herbal medicines, and chiropractic
              services will be considered allowable medical expenses.

      6.4     INCOME INCLUSIONS AND EXCLUSIONS

      6.4.1    Income Inclusions
              (24 CFR ~5.609(b)]
              The Housing Authority considers the following to be included in the family's
              annual income, as required by HUD:
              (1) The full amount, before any payroll deductions, of wages and salaries,
                  overtime pay, commissions, fees, tips and bonuses, and other compensation
                  for personal services;
              (2) The net income from operation of a business or profession. Expenditures for
                  business expansion or amortization of capital indebtedness shall not be used
                  as deductions in determining net income. An allowance for depreciation of
                  assets used in a business or profession may be deducted, based on straight
                  line depreciation, as provided in Internal Revenue Service regulations. Any
                  withdrawal of cash or assets from the operation of a business or profession
                  will be included in income, except to the extent the withdrawal is
                  reimbursement of cash or assets invested in the operation by the family;
              (3) Interest, dividends, and other net income of any kind from real or personal
                  property. Expenditures for amortization of capital indebtedness shall not be
                  used as deductions in determining net income. An allowance for depreciation
                  is permitted only as authorized in paragraph (2) of this section. Any
                  withdrawal of cash or assets from an investment will be included in income,
                  except to the extent the withdrawal is reimbursement of cash or assets
                  invested by the family. Where the family has net family assets in excess of
                  $5,000, annual income shall include the greater of the actual income derived
                  from net family assets or a percentage of the value of such assets based on
                  the current passbook savings rate, as determined by HUD;
              (4) The full amount of periodic payments received from Social Security,
                  annuities, insurance policies, retirement funds, pensions, lotteries, disability
                  or death benefits, and other similar types of periodic receipts, including a
                  lump-sum payment for the delayed start of a periodic payment (but see
                  paragraph (13) under Income Exclusions);
              (5) Payments in lieu of earnings, such as unemployment, worker's
                  compensation, and severance pay (but see paragraph (3) under Income
                  Exclusions);
              (6) Welfare Assistance.
                   a. Welfare assistance received by the household.
                   b. The amount of reduced welfare income that is disregarded specifically
                      because the family engaged in fraud or failed to comply with an economic
                      self-sufficiency or work activities requirement.
                   c. If the welfare assistance payment includes an amount specifically
                      designated for shelter and utilities that is subject to adjustments by the


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                   welfare assistance agency in accordance with the actual cost of shelter
                   and utilities, the amount of welfare income to be included as income shall
                   consist of:
                   (i) The amount of the allowance or grant exclusive of the amount
                        specifically designated for shelter or utilities; plus
                   (ii) The maximum amount that the welfare assistance agency could in
                        fact allow the family for shelter and utilities. If the family's welfare
                        assistance is ratably reduced from the standard of need by applying a
                        percentage, the amount calculated under this paragraph shall be the
                        amount resulting from one application of the percentage;
            (7) Periodic and determinable allowances, such as alimony and child support
                payments, and regular contributions or gifts received from persons not
                residing in the dwelling;
                    Regular Contributions and Gifts X24 CFR ~5.609(b)(7)1
                    Any contribution or gift received every 3 months or more frequently
                    will be considered a "regular" contribution or gift from the same
                    source. This includes payments made on behalf of the family such as
                    payments for a car, credit card bills, rent and/or utility bills and other
                    cash or non-cash contributions provided on a regular basis. It does
                    not include casual contributions or sporadic gifts.
                    If the family's expenses exceed its known income, the Housing
                    Authority will question the family about contributions and gifts. If the
                    family indicated that it is able to meet the extra expenses due to gifts
                    or contributions from persons outside the household, the amount
                    provided will be included in the family's TTP.


                     Alimony and Child Suagort f24 CFR &5.609(b)(7)1
                     If the amount of child support or alimony received is less than the
                     amount awarded by the court, the Housing Authority must use the
                     amount awarded by the court unless the family can verify that they are
                     not receiving the full amount. Acceptable verification in such cases
                     may include:
                     1. Verification from the agency responsible for enforcement or
                        collection, and
                     2. Documentation of child support or alimony collection action filed
                        through a child support enforcemenUcollection agency, or has filed
                        an enforcement or collection action through an attorney.
                     It is the family's responsibility to supply a certified copy of the divorce
                     decree.
             (8) All regular pay, special pay, and allowances of a member of the Armed
                 Forces (whether or not living in the dwelling) who is head of the family, co-
                 head, spouse, or other person whose dependents are residing in the unit (but
                 see paragraph (7) under Income Exclusions).


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           (9) Any financial assistance, in excess of amounts received for tuition, that an
               individual received for tuition, that an individual receives under the Higher
               Education Act of 1965(20 U.S.C. 1001 of seq.), from private sources, or from
               an institution of higher education (as defined under the Higher Education Act
               of 1965 (20 U.S.C. 1002)), shall be considered income to that individual,
               except that financial assistance described in this paragraph is not considered
               annual income for students who are living with their parents who are applying
               for or receiving assistance or persons over the age of 23 with dependent
               children. For the purpose of determining income, loan proceeds are not
               considered "financial assistance".
          (10) Any part of an athletic scholarship that can be used to cover housing costs
               must be included in the family's income.
          (11) The net amount of Social Security (SS) and Supplemental Security Income
              (SSI) benefits when there is a payment deduction due to prior overpayments
               of benefits.

      6.4.2 Income Exclusions
            [24 CFR ~5.609(c)1
            The Housing Authority considers the following to be excluded from the family's
            annual income, as required by HUD:
            (1) Income from employment of children (including foster children) under the age
                of 18 years;
            (2) Payments received for the care of foster children or foster adults (usually
                individuals with disabilities, unrelated to the tenant family, who are unable to
                live alone);
                     Benefits received through the Kin GAP program, a California program
                     designed specifically for foster children who have been place in the
                   ~ home of a relative are considered foster care and should be excluded.
            (3) Lump-sum additions to family assets, such as inheritances, insurance
                payments (including payments under health and accident insurance and
                worker's compensation), capital gains, and settlement for personal or
                property losses (but see paragraph (5) under Income Inclusions);
            (4) Amounts received by the family that are specifically for, or in reimbursement
                of, the cost of medical expenses for any family member;
            (5) Income of a live-in aide (as defined by regulation);
            (6) Subject to paragraph (9) in Income Inclusions, the full amount of student
                financial assistance paid directly to the student or to the educational
                institution;
            (7) The special pay to a family member serving in the Armed Forces who is
                exposed to hostile fire;
             (8)(a) Amounts received under training programs funded by HUD;
                (b) Amounts received by a person with disabilities that are disregarded for a
                    limited time for purposes of Supplemental Security Income eligibility and


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                   benefits because they are set aside for use under a Plan to Attain Self-
                   Sufficiency (PASS);
               (c) Amounts received by a participant in other publicly assisted programs
                   which are specifically for or in reimbursement of out-of-pocket expenses
                   incurred (special equipment, clothing, transportation, child care, etc.) and
                   which are made solely to allow participation in a specific program;
                (d) A resident service stipend. This is a modest amount (not to exceed $200
                    per month) received by a resident for performing a service for the owner,
                    on a part-time basis, that enhances the quality of life in the development.
                    This may include, but is not limited to fire patrol, hall monitoring, lawn
                    maintenance, and resident initiatives coordination and serving as a
                    member of the PHA's governing board. No resident may receive more
                    than one such stipend during the same period of time; or
                (e) Incremental earnings and benefits resulting to any family member from
                    participation in qualifying state or local employment training programs
                   (including training programs not affiliated with a local government) and
                    training of a family member as resident management staff. Amounts
                    excluded by this provision must be received under employment training
                    programs with clearly defined goals and objectives, and are excluded only
                    for the period during which the family member participates in the
                    employment training program.
             (9) Temporary, nonrecurring, or sporadic income (including gifts). For example,
                 amounts earned by temporary census employees whose terms of
                 employment do not exceed 180 days (Notice PIH 2000-1).
            (10) Reparations payments paid by a foreign government pursuant to claims
                 filed under the laws of that government by persons who were persecuted
                 during the Nazi era;
            (11) Earnings in excess of $480 for each full-time student 18 years or older
                (excluding the head of household, co-head, and spouse);
             (12) Adoption assistance payments in excess of $480 per adopted child;
             (13) Deferred periodic payments of supplemental security income and social
                  security benefits that are received in a lump-sum payment or in prospective
                  monthly payments;
             (14) Amounts received by the family in the form of refunds or rebates under
                  state or local law for property taxes paid on the dwelling unit;
             (15) Amounts paid by a state agency to a family with a developmentally disabled
                  family member living at home to offset the cost of services and equipment
                  needed to keep the developmentally disabled family member at home; and
             (16) Amounts specifically excluded by any other federal statute from
                  consideration as income for purposes of determining eligibility or benefits
                  under a category of assistance programs that includes assistance under the
                  1937 Act. A notice will be published in the Federal Register and distributed
                  to PHAs identifying the benefits that qualify for this exclusion. Updates will
                  be distributed when necessary. The following is a list of income sources
                  that qualify for that exclusion:


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                a) The value of the allotment provided to an eligible household under the
                   Food Stamp Act of 1977(7 U.S.C. 2017 (b));
                b) Payments to Volunteers under the Domestic Volunteer Services Act of
                   1973(42 U.S.C. 5044(8), 5058);
                c) Payments received under the Alaska Native Claims Settlement Act(43
                   U.S.C. 1626(c));
                d) Income derived from certain submarginal land of the United States that
                   is held in trust for certain Indian tribes(25 U.S.C. 459e);
                e) Payments or allowances made under the Department of Health and
                   Human Services' Low-Income Home Energy Assistance Program (42
                   U.S.C. 8624(fl);
                fl Payments received under programs funded in whole or in part under the
                   Job Training Partnership Act(29 U.S.C. 1552(b); (effective July 1, 2000,
                    references to Job Training Partnership Act shall be deemed to refer to
                   the corresponding provision of the Workforce Investment Act of 1998
                   (29 U.S.C. 2931);
                g) Income derived from the disposition of funds to the Grand River Band of
                    Ottawa Indians (Pub.L- 94-540, 90 Stat. 2503-04);
                h) The first $2000 of per capita shares received from judgment funds
                    awarded by the Indian Claims Commission or the U. S. Claims Court,
                    the interests of individual Indians in trust or restricted lands, including
                    the first $2000 per year of income received by individual Indians from
                    funds derived from interests held in such trust or restricted lands(25
                    U.S.C. 1407-1408);
                 i Amounts of scholarships funded under title IV of the Higher Education
                 )
                    Act of 1965, including awards under federal work-study program or
                    under the Bureau of Indian Affairs student assistance programs(20
                     U.S.C. 1087uu);
                j) Payments received from programs funded under Title V of the Older
                     Americans Act of 1985(42 U.S.C. 3056(fl);
                 k) Payments received on or after January 1, 1989,from the Agent Orange
                    Settlement Fund or any other fund established pursuant to the
                    settlement in In Re Agent-product liability litigation, M.D.L. No. 381
                    (E.D.N.Y.);
                 )I Payments received under the Maine Indian Claims Settlement Act of
                     1980(25 U.S.C. 1721);
                 m)The value of any child care provided or arranged (or any amount
                   received as payment for such care or reimbursement for costs incurred
                   for such care) under the Child Care and Development Block Grant Act
                   of 1990(42 U.S.C. 9858q);
                 n) Earned income tax credit(EITC) refund payments received on or after
                    January 1, 1991 (26 U.S.C. 32(j));




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                  o) Payments by the Indian Claims Commission to the Confederated Tribes
                     and Bands of Yakima Indian Nation or the Apache Tribe of Mescalero
                     Reservation (Pub. L. 95-433);
                  p) Allowances, earnings and payments to AmeriCorps participants under
                     the National and Community Service Act of 1990(42 U.S.C. 12637(d));
                  q) Any allowance paid under the provisions of 38 U.S.C. 1805 to a child
                     suffering from spina bifida who is the child of a Vietnam veteran (38
                     U.S.C. 1805);
                  r) Any amount of crime victim compensation (under the Victims of Crime
                     Act) received through crime victim assistance (or payment or
                     reimbursement of the cost of such assistance) as determined under the
                     Victims of Crime Act because of the commission of a crime against the
                     applicant under the Victims of Crime Act(42 U.S.C. 10602); and
                  s) Allowances, earnings and payments to individuals participating in
                     programs under the Workforce Investment Act of 1998(29 U.S.C.
                     2931).
            (17) Earned Income Disallowance for persons with disabilities[24CFR5.617]
                  (a) Initial 12-Month Exclusion [24CFR5.617(C)(1)]
                  (b) Second 12-Month Exclusion and Phase-In [24CFR5.617(C)2)
                 (c) Maximum 4-Year Disallowance [24 CFR 5.617(c)(3)]
            (18) The low-income subsidy (extra help) received to assist low-income persons
               in paying for their Medicare Prescription Drug Plan cost.
            (19) The payment amount of Social Security(SS) and Supplemental Security
                Income(SSI) benefits that are reduced due to prior overpayments.

      6.4.3 Earned Income Disallowance
           (24 CFR &5.6171
             When determining the annual income of a participant family that includes
             persons with disabilities, the determination must exclude an increase in annual
             income due to any of the following events:
              1. Employment by a family member who is a person with disabilities and who
                 was previously unemployed for one or more years prior to employment.
                 ➢ A previously unemployed person is defined as a person who in the 12
                   months prior to employment has earned no more than would be received
                   for 10 hours of work per week for 50 weeks at the established minimum
                   wage.
              2. An increase in income by a family member who is a person with disabilities
                 and whose earnings increase during participation in an economic self-
                 sufficiency program or other job-training program.
                     An economic self-sufficiency program is any program designed to
                     encourage, assist, train, or facilitate the economic independence of HUD-
                     assisted families or to provide work for such families.



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              3. New employment or increased earnings by a family member who is a person
                 with disabilities and who has received TANF benefits or services within the
                 past 6 months.
                  ➢ If TANF is received in the form of monthly monetary maintenance, there is
                    no minimum amount that must be received to be considered a participant
                    in TANF.
                  ➢ If TANF is received in the form of one-time payments, wage subsidies
                    and transportation assistance that add up to at least $500 over a 6-month
                    period, they would meet this requirement.

      6.4.4 Earned Income Disallowance Exclusion Time Periods
            X24 CFR ~5.617(cll
              •    Initial 12-Month Exclusion: During the initial 12-month exclusion period,
                  the full amount of the increase in income due to employment or increase
                  earnings is excluded. This exclusion extends for 12 cumulative months and
                  the months do not have to be consecutive.
              •    Second 12-Cumulative Months: During the second 12-month exclusion
                  and phase-in period, the exclusion is reduced to half, or 50 percent, of the
                  increase in income due to employment or increased earnings. This second
                  12-month exclusion period begins after the full 12 months of the full exclusion
                  has been used and the months do not have to be consecutive.
                   4-Year Lifetime Limit: A participant has a total lifetime limit of 48
                  consecutive months that begins once the initial exclusion is given after the
                  qualifying event. No exclusion should be given after the lifetime limit has
                  been reached.

      6.5     FAMILY ASSETS
              X24 CFR 65.603(b)1

      6.5.1   Included Assets
              (1) Amounts in savings and checking accounts.
              (2) Stocks, bonds, savings certificates, money market funds and other
                  investment accounts.
              (3) Equity in real property or other capital investments. Equity is the estimated
                  current market value of the asset less the unpaid balance on all loans
                  secured by the assets and reasonable costs (such as broker fees) that
                  would be incurred in selling the assets.
              (4) The cash value of trusts that may be withdrawn by the family.
              (5) IRA, Keogh and similar retirement savings accounts, even though
                  withdrawal would result in a penalty.
              (6) Some contributions to company retirement/pension funds.
                    Contributions to company retiremenUpension funds are handled as follows:



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                     1. While an individual is employed, include as assets only amounts the
                        family can withdraw without retiring or terminating employment.
                     2. After retirement or termination of employment, include any amount the
                        individual elects to receive as a lump sum.
            (7) Assets, which although owned by more than one person, allow unrestricted
                access by the applicant.
            (8) Lump sum receipts such as inheritances, capital gains, lottery winnings,
                insurance settlements, and other claims.
                   Lump-sum additions to family assets, such as inheritances, insurance
                   payments (including lump-sum payments under health and accident
                   insurance and worker's compensation), capital gains, and settlement for
                   personal or property losses, are not included as income but may be
                   included in assets.
                    Lump-sum payments caused by delays in processing periodic payments
                   (unemployment or welfare assistance) are counted as income. Lump sum
                    payments from Social Security or SSI are excluded from income, but any
                    amount remaining will be considered an asset. Deferred periodic payments
                    which have accumulated due to a dispute will be treated the same as
                    periodic payments which are deferred due to delays in processing.
                   The family's attorney fees may be deducted from lump-sum payments when
                   computing annual income if the attorney's efforts have recovered a lump-
                   sum compensation, and the recovery paid to the family does not include an
                   additional amount in full satisfaction of the attorney fees.
             (9) Personal property held as an investment such as gems, jewelry, coin
                 collections, antique cars, etc.
             (10) Cash value of life insurance policies.
             (11) Assets disposed of for less than fair market value during the finro years
                  preceding certification or re-certification.
                    The Housing Authority must count assets disposed of for less than fair
                    market value during the 2 years preceding certification or re-examination.
                    The Housing Authority will count the difference between the market value
                    and the actual payment received in calculating total assets.
                    Assets disposed of as a result of foreclosure or bankruptcy, separation or
                    divorce are not considered to be assets disposed of for less than fair
                    market value.
                    The Housing Authority's minimum threshold for counting assets disposed of
                    for less than Fair Market Value is $5,000. If the total value of assets
                    disposed of within a 1-year period is less than $5,000, they will not be
                    considered an asset.

       6.5.2 Excluded Assets
             (1)     Necessary personal property, except as noted in #9 above at Section 6.5.1.



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            (2) Interest in Indian trust lands.
            (3) Assets that are part of an active business or farming operation.
                  If a household member's main occupation is the business from his/her
                  rental property, the rental property is considered a business asset and
                  therefore excluded. If a household member's rental property is considered
                  a personal asset and held as an investment, it is considered an included
                  asset.
            (4) Assets not controlled by or accessible to the family and which provide no
                income for the family.
            (5)   Vehicles especially equipped for the disabled.
            (6)   Equity in owner-occupied cooperatives and manufactured homes in which
                  the family lives.

      6.6    CALCULATING INCOME AND FAMILY CONTRIBUTION

      6.6.1 "Minimum Rent" and Minimum Familv Contribution
            X24 CFR ~5.630(al(211
             Minimum family contribution in the Housing Authority's rental assistance
             programs is $50, for all new contracts including moves effective April 5, 2005,
             and effective at annual re-examinations beginning May 2005.
             The Housing Authority will waive the minimum rent requirement in cases where
             the family documents that they do not currently have any source of income such
             as in the case of some homeless families. In such cases, the family will be re-
             evaluated in 6 months. All families are required to report changes in income
             within 30 calendar days.

      6.6.2 Minimum Income
             There is no minimum income requirement. Families who report zero income may
             be required to attend an interim re-examination periodically, up to once a quarter,
             at the Housing Authority's discretion. A credit review will automatically be
             requested for families claiming zero income.

      6.6.3 Averaaina Income
            (24 CFR 6982.516(b)(21 and 24 CFR ~5.609(d)l
              When annual income cannot be anticipated for a full 12 months, the Housing
              Authority may annualize current income and conduct an interim re-examination if
              income changes.
              If there are bonuses or overtime which the employer cannot anticipate for the
              next 12 months, bonuses and overtime received the previous year may be used.
              Income from the previous year may be analyzed to determine the amount to
              anticipate when third-party or check-stub verification is not available.




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             If by averaging, an estimate can be made for those families whose income
             fluctuates from month to month, this estimate will be used so that the housing
             payment will not change from month to month.
             The method used depends on the regularity, source and type of income.

      6.6.4 Utility Allowance and Utility Reimbursement Payments
            (24 CFR 6982.5171
             The utility allowance is intended to help defray the cost of utilities not included in
             the rent and is subtracted from TTP to establish the family's rent to the owner.
             The allowances are based on rates and average consumption studies, not on a
             family's actual consumption. The Housing Authority will review the Utility
             Allowance Schedule on an annual basis and revise it if needed (10 percent
             increase or decrease).
             The approved utility allowance schedule is given to families along with the
             voucher. The utility allowance is based on the actual unit size selected.
             Where families provide their own range and refrigerator, the Housing Authority
             will establish an allowance adequate for the family to purchase or rent a range or
             refrigerator, even if the family already owns either appliance. Allowances for
             ranges and refrigerators will be based on the lesser of the cost of leasing or
             purchasing the appropriate appliance over a 12-month period.
             If the utility allowance exceeds the family's TTP, the Housing Authority will
             provide a utility reimbursement payment for the family each month. The check
             will be made out directly to the family's head of household on record.

      6.6.5 Reduction in Welfare Assistance
            X24 CFR X5.6151
             The Housing Authority will impute (count) welfare income not received by the
             family, if the welfare assistance was reduced specifically because of:
                 ➢ Fraud;
                 ➢ Failure to participate in an economic self-sufficiency programs; or
                  ➢ Noncompliance with a work activities requirement.
              Imputed welfare income is the amount that welfare benefits are reduced.
             Imputed welfare income is not included in the family's annual income, if the
             family was not assisted at the time of the welfare sanction.
              The Housing Authority will include in the family's annual income the amount of
              the imputed welfare income plus the total amount of other annual income and the
              family's rent will not be reduced.
              However, the Housing Authority will reduce the rent if the welfare assistance
              reduction is a result of any of the following:
                  ➢ The expiration of a lifetime time limit on receiving benefits;
                  ➢ The family has complied with welfare program requirements but cannot
                    obtain employment; or



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                     The family member has not complied with other welfare agency
                     requirements.
              A family's request for rent reduction shall be denied upon the Housing Authority
              obtaining written verification from the welfare agency stating that the family's
              benefits have been reduced for fraud or noncompliance.

      6.6.6 Prior Overaavment of Social Security(SSl and Suaalemental Security
            Income (SSI1
            When there is a payment reduction due to prior overpayments, staff will use the
            net amount of the SS/SSI benefit to calculate projected annual income.

      6.7      PRORATION OF ASSISTANCE FOR "MIXED" FAMILIES

      6.7.1    Aaalicability
              [24 CFR &5.520(a)]
              Proration of assistance must be offered to any "mixed" applicant or participant
              family. A "mixed" family is one that includes at least one U.S. citizen or eligible
              immigrant and any number of ineligible members.
              "Mixed" families that were participants on June 19, 1995, and that do not qualify
              for continued assistance must be offered prorated assistance. Mixed family
              applicants are entitled to prorated assistance. Families that become mixed after
              June 19, 1995 by addition of an ineligible member are entitled to prorated
              assistance.

      6.7.2 Prorated Assistance Calculation
            X24 CFR ~5.520(c)1
               Prorated assistance is calculated by determining the amount of assistance
               payable if all family members were eligible and multiplying by the percent of the
               family members who actually are eligible.

      6.8      ABSENCE POLICY
               The Housing Authority must compute all applicable income of every family
               member who is on the lease, including those who are temporarily absent. to
               addition, the Housing Authority must count the income of the spouse or the head
               of household if that person is temporarily absent, even if that person is not on the
               lease.
               Income of persons permanently absent will not be counted. If the head of
               household or spouse is temporarily absent and in the military, alt military pay and
               allowances (except hazardous duty pay when exposed to hostile fire and any
               other exceptions to military pay HUD may define) is counted as income.
               It is the responsibility of the household to report absences and changes in family
               composition. The Housing Authority will evaluate absences from the unit using
               this policy [24 CFR §982.551(1)].




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      6.8.1    Absence of Entire Family
              [24 CFR 6982.3121
              These policy guidelines address situations when the family is absent from the
              unit, but has not moved out of the unit. In cases where the family has moved out
              of the unit, the Housing Authority will terminate assistance in accordance with
              appropriate termination procedures contained in this plan.
               Families are required both to notify the Housing Authority before they move out
               of a unit and to give the Housing Authority information about any family absence
               from the unit.
               Families must notify the Housing Authority if they are going to be absent from the
               unit for more than 30 consecutive calendar days.
               If the family fails to notify the Housing Authority of an absence of longer than 30
               consecutive calendar days, or if the entire family is absent from the unit for more
               than 60 consecutive calendar days, the unit will be considered to be vacated and
               the assistance will be terminated. The Housing Authority at all times shall
               reserve the right to exercise its judgment regarding extensions on family absence
               from the unit on a case-by-case basis. However, HUD regulations require the
                Housing Authority to terminate assistance if the entire family is absent from the
                unit for a period of more than 180 consecutive calendar days.
               "Absence of entire family" means that no family member is residing in the unit,
               and the unit has not been vacated. In order to determine if the family is absent
               from the unit, the Housing Authority may:
                   ➢ Write letters to the family at the unit
                       Telephone the family at the unit
                   ➢ Interview the owner
                   ➢ Interview neighbors
                   ➢ Verify if utilities are in service
                   ➢ Conduct an interim HQS Inspection
               If the absence which resulted in termination of assistance was due to a person's
               disability, and the Housing Authority can verify that the person was unable to
               notify Housing Authority in accordance with the family's responsibilities, and if
               funding is available, the Housing Authority may reinstate the family as a
               reasonable accommodation if requested by the family.

       6.8.2 Absence of Anv Member
             X24 CFR ~982.312(a1]
                Any member of the household will be considered permanently absent if s/he is
                away from the unit for 180 consecutive calendar days except as otherwise
                provided in this chapter.




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      6.8.3 Absence Due to Medical Reasons
            X24 CFR 5982.312(el(1ll
            If any family member leaves the household to enter a facility such as a hospital,
            nursing home, or rehabilitation center, the Housing Authority will seek advice
            from a reliable qualified source as to the likelihood and timing of their return. If
            the verification indicates that the family member will return in less than 180
            calendar days, the family member will not be considered permanently absent.
            If the verification indicates that the family member will be permanently confined to
            a nursing home, the family member will be considered to be permanently absent,
            out of the home and removed from the family composition.
            If the person who is determined to be permanently absent is the sole member of
            the household, assistance will be terminated in accordance with the Housing
            Authority's "Absence of Entire Family" policy.

      6.8.4 Absence Due to Incarceration
            L24 CFR ~982.312(e)(1)]
            If the sole member of the household is incarcerated for more than 30 calendar
            days, s/he will be considered permanently absent and the Housing Authority will
            initiate proposed termination procedures to terminate assistance.
            Any member of the household, other than the sole member, will be considered
            permanently absent if s/he is incarcerated for 60 calendar days. Once a family
            member is removed from the family composition, the family must seek Housing
            Authority approval prior to allowing the family member to re-join the assisted
            household. Failure to adhere to this policy can result in termination of assistance.
             The Housing Authority will determine if the reason for any family member's
             incarceration is for drug-related or violent criminal activity and, if appropriate, will
             pursue termination of assistance for the family if deemed appropriate.

      6.8.5 Foster Care and Absences of Children
            f24 CFR &982.551(h1(4)1
             If the family includes a child or children temporarily absent from the home due to
             placement in foster care, the Housing Authority will request information from the
             appropriate agency to determine when the child/children will be returned to the
             home.
             If the time period is to be greater than 180 calendar days from the date of
             removal of the child/children, the voucher size may be temporarily reduced. If
             children are removed from the home permanently, the voucher size will be
              permanently reduced in accordance with the Housing Authority's subsidy
             standards.

       6.8.6 Absence of Adult
             [24 CFR ~982.312(e)]
             If neither parent remains in the household and the appropriate agency has
             determined that another adult is to be brought into the assisted unit to care for



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             the children for an indefinite period, the Housing Authority will treat that adult as a
             visitor for up to the first 180 calendar days.
             If during or by the end of that period, court-awarded custody or legal
             guardianship has been awarded to the caretaker, the voucher will then be
             transferred to the caretaker.
             If custody or legal guardianship has not been awarded by the court, but the
             action is in process, the Housing Authority will secure verification from social
             services staff or the attorney as to the status.
             If the appropriate agency cannot confirm the guardianship status of the
             caretaker, the Housing Authority will review the status at 120-day intervals.
             The caretaker will be allowed to remain in the unit, as a visitor, until a
             determination of custody is made or up to 12 months total.
             The Housing Authority will transfer the voucher to the caretaker, in the absence
             of a court order, if the caretaker has been in the unit for more than 12 months
             and it is reasonable to expect that custody will be granted.
             When the Housing Authority approves a person to reside in the unit as caretaker
             for the children, this person's income will be counted in the TTP for the family
             pending a final disposition. The Housing Authority will work with the appropriate
             service agencies and the owner to provide a smooth transition in these cases.
             If a member of the household is subject to a court order that restricts him/her
             from the home for more than 180 calendar days, the person will be considered
             permanently absent.
             If an adult family member leaves the household for any reason, the family must
             report the change in family composition to the Housing Authority within 30
             calendar days.
             The family will be required to notify the Housing Authority in writing within 30
             calendar days when a family member leaves the household for any reason or
             moves out. The notice must contain a certification by the family as to whether
             the member is temporarily or permanently absent. The family member will be
             determined permanently absent if verification is provided.
              If an adult child goes into the military and leaves the household, they will be
              considered permanently absent.
              Time extensions may be granted as a reasonable accommodation upon request
              by a person with a disability.

      6.8.7 Students
            [24 CFR &982.312(el]
              Full time students who attend school away from the home and live with the family
              during school recess will be considered temporarily absent from the household.
              These family members will continue to be counted for the purpose of determining
              the family's appropriate voucher size.




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      6.8.8 Visitors
            X24 CFR 5982.312(e)]
            Any person not included on the HUD-50058 who has been in the unit more than
            30 calendar days, or a total of 60 calendar days in a 12-month period, will be
            considered to be living in the unit as an unauthorized household member.
            Absence of evidence of any other address will be considered verification that the
            visitor is a family member.
            Statements from neighbors and/or the owner will be considered in making the
            determination.
            Use of the unit address as the visitor's current residence for any purpose that is
            not explicitly temporary shall be construed as permanent residence.
            The burden of proof that the individual is a visitor rests on the family. In the
            absence of such proof, the individual will be considered an unauthorized member
            of the family and the Housing Authority will terminate assistance since prior
            approval was not requested for the addition.
             In a joint custody arrangement, if the minor is in the household less than 180
             calendar days per year, the minor will be considered to be an eligible visitor and
             not a family member.

      6.8.9 Reportin4 Absences to the Housin4 Authority
            X24 CFR &982.551(h)(31 and ~982.551(ill
            If a family member leaves the household, the family must report this change to
            the Housing Authority, in writing, within 30 calendar days of the change and
            certify as to whether the member is temporarily absent or permanently absent.
            When available to do so, an adult family member who is leaving the household
            should remove him/herself in writing from the lease and voucher family
            composition.
            The Housing Authority will conduct an interim re-examination for changes, which
             may affect the TTP in accordance with the interim policy. See Section 12.5
            (Changes in Family Composition)for more information.

      6.8.10 Verification of Absence
             Please refer to Section 7.10.4.(Verification of Permanent Absence of Adult
             Member).




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                                         CHAPTER 7:
                                  VERIFICATION PROCEDURES

      7.1     INTRODUCTION
              f24 CFR ~5.240(c1, 24 CFR X5.210, 24 CFR ~982.551(b)]
              HUD regulations require the Housing Authority to verify factors of eligibility.
              Applicants and program participants must furnish proof of their statements
              whenever required by the Housing Authority, and the information they provide
              must be true and complete. The Housing Authority's verification requirements are
              designed to maintain program integrity. This chapter explains the Housing
              Authority's procedures and standards for verification of preferences, income,
              assets, allowable deductions, family status, and changes in household
              composition. The Housing Authority will ensure that proper authorization from
              the family is always obtained before making verification inquiries.

      7.2     METHODS OF VERIFICATION AND TIME ALLOWED
              The Housing Authority will use five levels of verification methods acceptable to
              HUD in the following order:
                 1. Up-Front Income Verification (UIV) will be the first level used, when
                    available.
                 2. Third-party written verification will be the second level used when UIV is
                     not available, when there is a discrepancy between UIV and the tenant-
                     provided documents or when the family disputes the information found on
                     UIV.
                 3. Third-party oral verification will be the third level used when written
                     verification is delayed or not possible.
                 4. Review of documents verification will be used in conjunction with UIV
                    when available or as the fourth level of verification if third-party oral
                    verification is unavailable.
                 5. Certification/self-declaration verification will be the fifth level used if
                    review of documents cannot be made.
              The Housing Authority may allow up to 10 calendar days for the return of third-
              party verifications before going to the next method.
              For applicants, verifications may not be more than 60 calendar days old at the
              time of voucher issuance [24 CFR §982.201(e)]. For participants, income forms
              are valid for 120 calendar days.

      7.2.1    Up-Front Income Verification (UIV)
               The Housing Authority will utilize up-front income verification tools, such as
               Enterprise Income Verification system, State Systems for the Temporary
               Assistance of Needy Families (TANF), and Work Number, to verify items
               including but not limited to Social Security (SS) and Supplemental Security
               Income (SSI), State Unemployment Insurance, TANF and wages whenever
               possible.



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            If there is a difference between UIV verification and family provided documents
            and the tenant disputes the discrepancy or cannot provide adequate
            documentation to validate the discrepancy, third-party verification will be
            required.
            In these cases, the Housing Authority shall follow the guidelines below:
                ➢ The Housing Authority may request written third-party verification from the
                  discrepant income source.
                ➢ The Housing Authority may review historical income data for patterns of
                  employment, paid benefits, and/or receipt of other income, when the
                  Housing Authority can not readily anticipate income, such as in cases of
                  seasonal employment, unstable working hours, and suspected fraud.
                ➢ The Housing Authority will analyze all data (UIV data, third-party
                  verification and other documents and information provided by the family)
                  and attempt to resolve the income discrepancy.
                ➢ The Housing Authority will use the most current information available to
                   calculate the anticipated annual income.
            In cases where UIV income data is different than tenant-reported income and the
            tenant does not dispute the discrepancy and can provide adequate
            documentation to validate the discrepancy, the Housing Authority will use the
            most current information available to calculate the anticipated annual income.

      7.2.2 Third-Party Written Verification
            Third-party written verification will be used when UIV is not available or when a
            participant disputes a discrepancy on the UIV or cannot provide adequate
            documentation to validate the discrepancy.
             Third-party written verification forms will be sent and returned via first class mail.
            The family will be required to sign an authorization for the information source to
            release the specified information.
             Verifications received electronically directly from the source are considered third
             party written verifications.

      7.2.3 Third-Party Oral Verification
             Oral third-party verification will be used when written third-party verification is
             delayed or not possible. When third-party oral verification is used, staff will be
             required to document the file, noting with whom they spoke, the date of the
             conversation, and the facts provided.

      7.2.4 Review of Documents
             The Housing Authority will use documents provided by the family in conjunction
             with UIV documentation. In the event that UIV or third-party written or oral
             verification is unavailable, or the information has not been verified by the third
             party, the Housing Authority will annotate the file accordingly and utilize
             documents provided by the family as the primary source if the documents provide
             complete information.



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             All documents will be photocopied and retained in the family file. The Housing
             Authority will accept the following documents or other documents from the family
             provided that the document is such that tampering would be easily noted:
                    Printed wage stubs
                ➢ Computer print-outs from the employer
                 ➢ Signed letters by source
             The Housing Authority will accept computerized printouts delivered by the family
             from the following agencies or any other required agencies.
                 ➢ Social Security Administration
                 ➢ Veterans Administration
                 ➢ Welfare Assistance
                 ➢ Unemployment Compensation Board
                 ➢ City or County Courts
                 ➢ Child Support Enforcement Agencies
             The Housing Authority will accept faxed documents, however a hard copy may
             be requested for verification.
             If third-party verification is received after documents have been accepted as
             provisional verification, and there is a discrepancy, the Housing Authority may
             utilize the third-party verification and/or document the reason for not using the
             third-party verification.

      7.2.5 Self-Certification/Self-Declaration
             When verification cannot be made by third-party verification or review of
             documents, families will be required to submit aself-certification.
             Self-certification means a signed statemenUaffidaviUcertification under penalty of
             perjury.

      7.3     RELEASE OF INFORMATION
              f24 CFR 65.2301
              The family will be required to sign specific authorization forms when information
              is needed that is not covered by the HUD-9886 Form (Authorization for the
              Release of Information).
              Each member requested to consent to the release of information will be provided
              with a copy of the appropriate forms for their review and signature.
              Family refusal to cooperate with the HUD prescribed verification system will
              result in denial of admission or termination of assistance because it is a family
              obligation to supply any information requested by the Housing Authority or HUD.




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      7.4       COMPUTER MATCHING
               [24 CFR ~5.210(a1]
               Where allowed by HUD and/or other State or local agencies, computer matching
               will be done.

      7.4.1    Data Sharing
                State of California Health and Safetv Code. X342171
               The Housing Authority will share applicant and participant information that is
               necessary to determine eligibility for County welfare department programs or
               services for which the client has applied or is receiving.

      7.5      ITEMS TO BE VERIFIED
               [24 CFR §982.551(b1l
               •    All income not specifically excluded by the regulations.
               •    Zero-income status of household.
               •  Full-time student status including high school students who are age 18 or
                 over.
               • Current assets including assets disposed of for less than fair market value in
                 preceding two years.
               •     Childcare expense where it allows an adult family member to be employed,
                    seek employment or to further his/her education.
               •  Total medical expenses of all family members in households whose head,
                 co-head, or spouse is elderly or disabled.
               • Disability assistance expenses to include only those costs associated with
                 attendant care or auxiliary apparatus, which allow an adult family member to
                 be employed.
               •     Identity.
               •     U.S. citizenship/eligible immigrant status.
               •     Social Security Numbers for all family members 6 years of age or older.
                •    Preference status, based upon local preferences.
                •    Displacement status of single applicants who are involuntarily displaced
                    through no fault of their own.
                •    Familial/marital status when needed for head or spouse definition.
                •    Disability for determination of preferences, allowances or deductions.
                •    Enrollment in a Medicare prescription drug plan.
                •    The amount of Prescription drug benefits received.

       7.5.1    Victims of Violence
                The Housing Authority may request that an applicanUparticipant certify



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              their statement of being a victim of domestic violence, dating violence, sexual
              assault, or stalking and that the incident or incidents in question are bona fide
              incidents of actual or threatened abuse. Certification must be received within
              fourteen (14) business days after the applicanUparticipant receives the request
              for certification. The Housing Authority will accept the following forms of
              verification:
                  ❑ Certification of Domestic Violence, Dating Violence or Stalking (HUD-
                      50066 Form)
                  ❑ Documentation signed by an employee, agent, or volunteer of a victim
                      service provider, an attorney, or a medical professional, from whom the
                      victim has sought assistance in addressing domestic violence, dating
                      violence, sexual assault, or stalking, or the effect of the abuse in which
                      the professional attests under penalty of perjury to the professional's
                       belief that the incident or incidents in question are bona fide incidents of
                      abuse, and that the victim of domestic violence, dating violence, sexual
                      assault, or stalking has signed or attested to the documentation, or
                      ❑ Federal, State, tribal, territorial, or local police record, or
                     o Court record.

      7.6     VERIFICATION OF INCOME
              f24 CFR &982.516(al(21(ill
              This section defines the methods the Housing Authority will use to verify various
              types of income. The Housing Authority may make an exception to obtaining
              third-party verification when:
                  1. The use of Up-Front Income Verification(UI~ is unavailable; and
                  2. Staff has made at least two documented efforts (mail, fax, telephone call,
                     or email) to obtain third-party verification of income and no response is
                     received; or
                  3. An independent source does not have the capability of sending written
                     third-party verification directly to the Housing Authority or does not
                     facilitate oral third-party verification.

      7.6.1    Emalovment Income
               X24 CFR ~5.609(a)and (b1(1)ll
               Verification forms request the employer to specify the:
                   ➢ Dates of employment
                   ➢ Amount and frequency of pay
                     Date of the last pay increase
                   ➢ Likelihood of change of employment status and effective date of any
                     known salary increase during the next 12 months
                   ➢ Year-to-date earnings
                   ➢ Estimated income from overtime, tips, bonus pay expected during next 12
                     months

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            Acceptable methods of verification include, but are not limited to the following:
               1. Up-Front Income Verification (UIV)tools, such as Enterprise Income
                  Verification (EIV) system and Work Number.
               2. Employment verification form completed by the employer.
               3. Check stubs or earning statements, which indicate the employee's gross
                  pay, frequency of pay or year-to-date earnings.
               4. W-2 forms plus income tax return forms.
               5. Income tax returns signed by the family may be used for verifying self-
                  employment income, or income from tips and other gratuities.
            In cases where there are questions about the validity of information provided by
            the family, the Housing Authority will require the most recent federal income tax
            statements.

      7.6.2 Social Security. Pensions. Disability. Suaplementary Security Income
            X24 CFR ~5.609(bl(41]
            Acceptable methods of verification include, but are not limited to the following:
                1. Enterprise Income Verification (EIS system.
                2. Benefit verification form completed by agency providing the benefits.
                3. Award or benefit notification letters prepared and signed by the providing
                   agency.
                4. Computer report electronically obtained or in hard copy.
             The Housing Authority may request a complete Social Security Earnings
             Statement(SSA Form 7004)to resolve discrepancies with Social Security
             income

      7.6.3 Unemployment Compensation
            X24 CFR ~5.6091b)(51]
             Acceptable methods of verification include, but are not limited to the following:
                1. Enterprise Income Verification (EIS System.
                2. Computer printouts from unemployment office stating payment dates and
                   amounts.
                3. Payment stubs.
             Unemployment and State Disability Insurance may no longer be verified through
             the Employment Development Department(EDD)[EDD Letter, 5/23/2006].

       7.6.4 Welfare Payments or General Assistance
             X24 CFR ~5.609(bl(6)l
             Acceptable methods of verification include, but are not limited to the following:
                 1. LEADER for the Temporary Assistance of Needy Families(TANF)
                 2. Computer-generated Notice of Action.


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                  3. Housing Authority verification form completed by payment provider.
                  4. Written statement from payment provider indicating the amount of
                     grant/payment, start date of payments, and anticipated changes in
                     payment in the next 12 months.

      7.6.5 Alimony or Child Suaport Payments
            X24 CFR 65.609(b1(71l
               Acceptable methods of verification include, but are not limited to the following:
                  1. Computerized official printout of payments made if through a state
                     agency.
                  2. Housing Authority verification form completed by payment provider.
                  3. A letter from the person paying the support.
                  4. Copy of latest check and/or payment stubs from Court Trustee. The
                     Housing Authority must record the date, amount, and number of the
                     check.
                  5. Copy of a separation or settlement agreement or a divorce decree stating
                     amount and type of support and payment schedules.
                  6. Family's self-certification of amount received and of the likelihood of
                     support payments being received in the future, or that support payments
                     are not being received.
                   7. If payments are irregular, the family must provide:
                   ➢ A copy of the separation or settlement agreement, or a divorce decree
                      stating the amount and type of support and payment schedules.
                   ➢ A statement from the agency responsible for enforcing payments to show
                     that the family has filed for enforcement.
                   ➢ A welfare notice of action showing amounts received by the welfare
                     agency for child support.
                   ➢ A written statement from the District Attorney's office or other appropriate
                     agency certifying that a collection or enforcement action has been filed.
                Written or oral third party verification of child support payments may no longer be
                verified through the County of Los Angeles Child Support Services Department.
               [See memo, 2/8/2007]

       7.6.6    Net Income from a Business
                X24 CFR &5.609(b1(21l
                In order to verify the net income from a business, the Housing Authority will view
                IRS and financial documents from prior years and use this information to
                anticipate the income-and expenses for the next 12 months.
                Acceptable methods of verification include, but are not limited to the following:
                   1. IRS Form 1040, including:
                    ➢ Schedule C (Small Business)



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                ➢ Schedule E (Rental Property Income)
                ➢ Schedule F(Farm Income)
               2. If accelerated depreciation was used on the tax return or financial
                  statement, an accountant's calculation of depreciation expense,
                  computed using straight-line depreciation rules.
               3. Audited or unaudited financial statements) of the business.
               4. Third-party verification forms for each customer/contract indicating the
                  amounts of income received in a specified time period.
            Expenses for rent and utilities will not be allowed for operations or businesses
            based in the subsidized unit, as these expenses are a required family
            contribution in the Housing Choice Voucher Program and are calculated based
            upon the family's income.

      7.6.7 Child Care Business
            If a family is operating a licensed day care business, income and expenses will
            be verified as with any other business.
            If the family is operating a cash and carry operation (which may or may not be
            licensed), the Housing Authority will require that the family complete a form for
            each customer which indicates: name of persons) whose child/children is/are
            being cared for, phone number, number of hours child is being cared for, method
            of payment(check/cash), amount paid, and signature of person.
            If childcare services were terminated, athird-party verification will be sent to the
             parent whose child was receiving childcare.

      7.6.8 Recurrin4 Gifts
            (24 CFR ~5.609(b)(711
             The family must furnish aself-certification containing the following information:
                 ➢ The person who provides the gifts
                 ➢ The value of the gifts
                 ➢ The regularity (dates) of the gifts
                 ➢ The purpose of the gifts

       7.6.9 Zero-Income Status
             Families claiming to have no income will automatically undergo a credit review.
             The information contained in the credit report will be used to confirm the
             information provided by the family. The Housing Authority will also utilize records
             provided by the Department of Public Social Services(DPSS).
             Moreover, the Housing Authority may check records of other departments in the
             jurisdiction that have information about income sources of customers.




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      7.6.10 Full-Time Student Status
             X24 CFR ~5.609(c)(1111
               Only the first $480 of the earned income of full-time students 18 years or older
              (including those who are temporarily absent), other than head of household, co-
               head, or spouse, will be counted towards family income.
               Verification of full-time student status includes:
                  1. Written verification from the registrar's office or other school official;
                  2. School records indicating enrollment for su~cient number of credits to be
                     considered afull-time student by the educational institution; and
                  3. A copy of final grades.

      7.7      INCOME FROM ASSETS
               Third-party verification will be conducted for assets totaling more than $5,000.
               The Housing Authority may make an exception to obtaining third-party
               verification when:
                   1. The asset or expense to be verified is not a significant amount and would
                      have minimum impact on total payment(TTP) and the Housing Authority
                      is able to verify the asset or expense through review of original
                      documents provided by the tenant; or
                   2. An independent source does not have the capability of sending written
                      third-party verification directly to the Housing Authority or does not
                      facilitate oral third-party verification; or
                   3. It is not cost effective or reasonable to obtain third-party verification of
                      assets and expenses.

      7.7.1    Savings Account Interest Income and Dividends
              [24 CFR ~5.609(bl(3)l
               Acceptable documents for verification include, but are not limited to the following:
                   1. Account statements, passbooks, certificates of deposit, or Housing
                      Authority verification forms completed. by the financial institution.
                   2. Broker's statements showing value of stocks or bonds and the earnings
                      credited the family. Earnings can be obtained from current newspaper
                      quotations or oral broker's verification.
                   3. IRS Form 1099 from the financial institution, provided that the Housing
                      Authority must adjust the information to project earnings expected for the
                      next 12 months.

       7.7.2 Interest Income from Mortgages or Similar Arrangements
             [24 CFR ~5.609(b)(71l
                Acceptable documents for verification include, but are not limited to the following:
                    1. A letter from an accountant, attorney, real estate broker, the buyer, or a
                       financial institution stating interest due for next 12 months.(A copy of the


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                    check paid by the buyer to the family is not sufficient unless a breakdown
                    of interest and principal is shown.)
                 2. Amortization schedule showing interest for the 12 months following the
                    effective date of the certification or re-examination.

      7.7.3 Net Rental Income from Property Owned by Family
           [24 CFR ~5.609(bl(311
              Acceptable documents for verification include, but are not limited to the following:
                 1. IRS Form 1040 with Schedule E (Rental Income).
                 2. Copies of latest rent receipts, leases, or other documentation of rent
                    amounts.
                 3. Documentation of allowable operating expenses of the property: tax
                    statements, insurance invoices, bills for reasonable maintenance and
                    utilities, and bank statements or amortization schedules showing monthly
                    interest expense.

      7.8     VERIFICATION OF ASSETS
              X24 CFR 5982.5161a1(2)(ii)l

      7.8.1   Family Assets
              The Housing Authority will determine the current cash value,(the net amount the
              family would receive if the asset were converted to cash). Acceptable documents
              for verification include, but are not limited to the following:
                  1. Verification forms, letters, or documents from a financial institution or
                     broker.
                  2. Passbooks, checking account statements, certificates of deposit, bonds,
                     or financial statements completed by a financial institution or broker.
                  3. Quotes from a stockbroker or realty agent as to net amount family would
                     receive if they liquidated securities or real estate.
                  4. Real estate tax statements if the approximate current market value can
                     be deduced from assessment.
                  5. Financial statements for business assets.
                  6. Copies of closing documents showing the selling price and the distribution
                     of the sales proceeds.
                  7. Appraisals of personal property held as an investment.

       7.8.2 Assets Disaosed of for Less than Fair Market Value(FMV)
            [24 CFR ~5.603(b)(3ll
               This includes assets disposed of during 2 years preceding effective date of
               certification or re-examination:
                   1. For all certifications and re-examinations, the Housing Authority will
                       obtain the family's certification as to whether any member has disposed


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                    of assets for less than fair market value during the 2 years preceding the
                    effective date of the certification or re-examination.
                 2. If the family certifies that they have disposed of assets for less than fair
                    market value, verification [or certification] is required that shows:
                    • All assets disposed of for less than FMV;
                    • The date they were disposed of;
                    • The amount the family received; and
                    • The market value of the assets at the time of disposition. Third-party
                      verification will be obtained wherever possible.

      7.9     VERIFICATION OF ALLOWABLE DEDUCTIONS FROM INCOME
              X24 CFR &5.111

      7.9.1   Childcare Exaenses
              X24 CFR ~5.611(a)(4)]
              Acceptable documents for verification include, but are not limited to the following:
                 1. Written verification from the person who receives the payments is
                    required. If the childcare provider is an individual, s/he must provide a
                    statement of the amount they are charging the family for their services
                    and whether any of the amounts owed have been or will be paid by
                    sources outside the family.
                 2. Verifications must specify the child care provider's name, address,
                    telephone number, the names of the children cared for, the number of
                    hours the child care occurs, the rate of pay, and the typical yearly amount
                    paid, including school and vacation periods.
                 3. Family's certification as to whether any of those payments have been or
                    will be paid or reimbursed by outside sources.

       7.9.2 Medical Expenses
             j24 CFR 55.611(al(311
              Families who claim medical expenses or expenses to assist a persons) with a
              disability will be required to submit a certification as to whether or not any
              expense payments have been, or will be, reimbursed by an outside source.
              Acceptable documents for verification include, but are not limited to the following:
                 1. Written verification by a doctor, hospital or clinic personnel, dentist,
                     pharmacist, of
                    • The anticipated medical costs to be incurred by the family and regular
                        payments due on medical bills, and
                    • Extent to which those expenses will be reimbursed by insurance or a
                        government agency.
                  2. Written confirmation by the insurance company or employer of health
                     insurance premiums to be paid by the family.


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               3. Written confirmation from the Social Security Administration's written of
                  Medicare premiums to be paid by the family over the next 12 months. A
                  computer printout will be accepted.
               4. For attendant care:
                      A reliable, knowledgeable professional's certification that the
                      assistance of an attendant is necessary as a medical expense and a
                      projection of the number of hours the care is needed for calculation
                      purposes.
                      Attendant's written confirmation of hours of care provided and amount
                      and frequency of payments received from the family or agency (or
                      copies of canceled checks the family used to make those payments)
                      or stubs from the agency providing the services.
               5. Receipts, canceled checks, or pay stubs that verify medical costs and
                  insurance expenses likely to be incurred in the next 12 months.
               6. Copies of payment agreements or most recent invoice that verify
                  payments made on outstanding medical bills that will continue over all or
                  part of the next 12 months.
               7. Receipts or other record of medical expenses incurred during the past 12
                   months that can be used to anticipate future medical expenses. The
                  Housing Authority may use this approach for general medical expenses
                  such as non-prescription drugs and regular visits to doctors or dentists,
                   but not for one-time, nonrecurring expenses from the previous year.
               8. The Housing Authority will use mileage at the IRS rate, or cab, bus fare,
                   or other public transportation cost for verification of the cost of
                  transportation directly related to medical treatment.

      7.9.3 Assistance to Persons with Disabilities
            X24 CFR §5.611(a)(3)(ii)l
                1. In all cases:
                       Written certification from a reliable, knowledgeable professional that
                       the person with disabilities requires the services of an attendant
                       and/or the use of auxiliary apparatus to permit him/her to be employed
                       or to funcfion sufficiently independently to enable another family
                       member to be employed.
                       Family's certification as to whether they receive reimbursement for
                       any of the expenses of disability assistance and the amount of any
                       reimbursement received.
                2. Attendant Care:
                   • Attendants written certification of amount received from the family,
                     frequency of receipt, and hours of care provided.
                   • Certification of family and attendant and/or copies of canceled checks
                     family used to make payments.
                3. Auxiliary Apparatus:



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                    • Receipts for purchases or proof of monthly payments and
                      maintenance expenses for auxiliary apparatus.
                      In the case where the person with disabilities is employed, a
                      statement from the employer that the auxiliary apparatus is necessary
                      for employment.

      7.10   VERIFYING NON-FINANCIAL FACTORS
             X24 CFR &982.551(b)(1)l

      7.10.1 Verification of Legal Identity
             In order to prevent program abuse, the Housing Authority will require applicants
             to furnish verification of legal identity for all family members.
             The documents listed below will be considered acceptable verification of legal
             identity for adults. If a document submitted by a family is invalid or otherwise
             questionable, more than one of these documents may be required.
                  ➢ Certificate of Birth, naturalization papers
                     Church issued baptismal certificate
                  ➢ Current, valid Driver's license
                  ➢ U.S. military discharge(DD 214)
                  ➢ U.S. passport
                  ➢ Board approved Consulate General identification cards, which are
                    currently Mexico's and Argentina's "Matricula Consular" identification
                    cards
                  ➢ Companylagency Identification Card
                  ➢ Department of Motor Vehicles Identification Card
                  ➢ Hospital records
              Documents considered acceptable for the verification of legal identity for minors
              may be one or more of the following:
                  ➢ Certificate of Birth
                  ➢ Adoption papers
                  ➢ Custody agreement
                  ➢ Health and Human Services ID

       7.10.2 Verification of Marital Status
             • Verification of divorce status will be a certified copy of the divorce decree,
                  signed by a Court Officer.
              •    Verification of a separation may be a copy of court-ordered maintenance or
                  other records.
                   Verification of marriage status is a marriage certificate.
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      7.10.3 Familial Relationshias
             The following verifications may be required if applicable:
                 ➢ Verification of relationship:
                    • Official identification showing names
                    • Birth Certificates
                    • Baptismal certificates
                 ➢ Verification of guardianship:
                    • Court-ordered assignment
                 ➢ Verification from social services agency
                 ➢ School records
                    • Affidavit of parent
                     Evidence of a stable family relationship:
                    • Joint bank accounts or other shared financial transactions
                    • Leases or other evidence of prior cohabitation
                    • Credit reports showing relationship

      7.10.4 Verification of Permanent Absence of Adult Member
             If an adult member who was formerly a member of the household is reported
             permanently absent by the family, the Housing Authority may require one or
             more of the following as verification:
                 1. Husband or wife institutes divorce action.
                 2. Husband or wife institutes legal separation.
                 3. Order of protection/restraining order obtained by one family member
                    against another.
                 4. Proof of another home address, such as utility bills, canceled checks for
                    rent, drivers license, or lease or rental agreement, if available.
                 5. Statements ftom other agencies such as social services or a written
                    statement from the owner or manager that the adult family member is no
                    longer living at that location.
                 6. If the adult family member is incarcerated, a document from the Court or
                    prison should be obtained stating how long they will be incarcerated.
                 7. A statement by the adult member of the household removing him/herself
                    from the lease and voucher household and providing a forwarding
                    address and effective date of the move.




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      7.10.5 Verification of Change in Family Comaosition
             X24 CFR 6982.516(c)]
             The Housing Authority may verify changes in family composition (either reported
             or unreported) through letters, telephone calls, utility records, inspections,
             owners, neighbors, credit data, school or DMV records, and other sources.

      7.10.6 Verification of Disabitity
             Verification of disability must be receipt of SSI or SSA disability payments under
             Section 223 of the Social Security Act or 102(7) of the Developmental Disabilities
             Assistance and Bill of Rights Act (42 U.S.C. 6001(7) or verified by appropriate
             diagnostician such as physician, psychiatrist, psychologist, therapist,
             rehabilitation specialist, or licensed social worker, using the HUD language as
             the verification format.

      7.10.7 Verification of Citizenship/Eli4ible Immigrant Status
             X24 CFR Part 5, Subpart El
             To be eligible for assistance, individuals must be U.S. citizens, or non-citizens
             with eligible immigrant status based on the eligible categories specified by
             regulations. Individuals who are neither may elect not to contend their status.
             Each family member must declare their status once. Assistance cannot be
             delayed, denied, or terminated while verification of status is pending except that
             assistance to applicants may be delayed while the Housing Authority hearing is
             pending.
                 1. Citizens or Nationals of the United States: Required to sign a declaration
                    under penalty of perjury[24 CFR §5.508(b)(1)].
                 2. Eligible Immigrants AQe 62 and Over: Required to sign a declaration of
                    eligible immigration status and provide proof of age [24 CFR

                 3. All Other Eli4ible Immigrants: Required to sign a declaration of status and
                    verification consent form, and to provide an acceptable document of
                    eligible immigration as follows:
                     • Resident Alien Card (I-551)
                     • Alien Registration Receipt Card (I-151)(With receipt for application of
                       -551)
                     • Foreign Passport with I-551 stamp
                     • Arrival-Departure Record (I-94) with no annotation accompanied by:
                               ■ A final court decision granting asylum (if no appeal is
                                  taken);
                               ■ A letter from an INS or USCIS asylum officer granting
                                   asylum (if application is filed on or after 10/1990) or from
                                   and INS director granting asylum (application filed before
                                   10/1/90);
                                 ■   A court decision granting withholding of deportation; or



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                              ■  A letter from an asylum officer granting withholding of
                                 deportation (if application filed on or after 10/1/90).
                      Arrival-Departure Record (I-94)stamped with one of the following:
                              ■   "Admitted as a Refugee Pursuant to Section 207"
                              ■   "Section 208" or "Asylum"
                              "Section 243(h)° or "Deportation stayed by Attorney
                              ■
                               General°
                           ■ "Paroled Pursuant to Section 221(d)(5) of the INS (or
                               USCIS)"
                  • Temporary Resident Card (I-688) annotated "Section 245A" or
                    Section "210"
                    Employment Authorization Card (I-6888) annotated "Provision of Law
                    274a. 12(11)" or "Provision of Law 274a.12"
                  • Employment Authorization Document (I-766) annotated "Provision of
                    Law 274a. 12(11)" or "Provision of Law 274a.12"
                    Any official revision of the acceptable documents listed above
                  • Receipt issued by the United States Citizenship and Immigration
                       Service (USCIS) for issuance of replacement of any of the above
                       documents that shows individual's entitlement has been verified
                   The document is copied front and back and returned to the family. A birth
                   certificate is not acceptable verification of eligible immigrant status. All
                   documents in connection with U.S. citizenship/eligible immigrant status
                   must be kept 5 years.
                   Eligible immigrants must have their status verified by USCIS. The
                   Housing Authority verifies the status through the USCIS SAVE system. If
                   this primary verification fails to verify status, the Housing Authority must
                   request within 10 calendar days that the USCIS conduct a manual search
                  [24 CFR §5.512(c)].
                4. Ineligible Familv Members: Family members who do not claim to be
                   citizens or eligible immigrants must be listed on a statement of ineligible
                   family members signed by the head of household, co-head, or spouse[24
                   CFR §5.508(e)].
                5. Non-Citizen Students on Student Visas: Ineligible, even though they are
                    in the country lawfully. They must provide their student visa but their
                   status will not be verified and they do not sign a declaration but are listed
                    on the statement of ineligible members[24 CFR §5.522).
            •    Failure to Provide: If an applicant or participant family member fails to sign
                required declarations and consent forms or provide documents, as required,
                they must be listed as an ineligible member. If the entire family fails to provide
                and sign as required, the family may be denied or terminated for failure to
                provide required information [24 CFR §5.508(1)].
                 Time of Verification: For applicants, verification of U.S. citizenship/eligible
                immigrant status occurs at the same time as verification of other factors of


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                eligibility for final eligibility determination. For family members added after
                other members have been verified, the verification occurs at the first interim
                or annual re-examination after the new member moves in. Once verification
                has been completed for any covered program, it need not be repeated except
                that, in the case of port-in families, if the initial public housing agency does
                not supply the documents, the Housing Authority must conduct the
                determination [24 CFR §5.508(8)].
                 Extensions of Time to Provide Documents: Extensions must be given for
                persons who declare their eligible immigration status but need time to obtain
                the required documents. The length of the extension shall be based on
                individual circumstances. The Housing Authority will generally allow up to 30
                calendar days to provide the document or a receipt issued by the USCIS for
                issuance of replacement documents[24 CFR §5.508(h)].
                  Determination of Ineli4ibility: After the Housing Authority has made a
                 determination of ineligibility, the family will be notified of the determination
                 and the reasons and informed of the option for prorated assistance (if
                 applicable).

      7.10.8 Verification of Social Security Numbers
             r24 CFR ~5.216(a1]
             Social Security numbers must be provided as a condition of eligibility for all family
             members, except for children age 5 and under, who have not been assigned a
             number, and family members who are not eligible to obtain a Social Security
             number. Social Security numbers will be verified through a Social Security card
             issued by the Social Security Administration. If a family member cannot produce
             a Social Security card, only the documents listed below showing his or her Social
             Security number may be used for verification. The family is also required to
             certify in writing that the documents) submitted in lieu of the Social Security card
             information provided is/are complete and accurate [24 CFR §5.2160]:
                 ➢ A driver's license
                 ➢ Identification card issued by a Federal, state or local agency
                 ➢ Identification card issued by a medical insurance company or provider
                   (including Medicare and Medicaid)
                 ➢ An identification card issued by an employer or trade union
                 ➢ An identification card issued by a medical insurance company
                 ➢ Earnings statements or payroll stubs
                 ➢ Bank statements
                 ➢ IRS Form 1099
                  ➢ Benefit award letters from government agencies
                  ➢ Retirement benefit letter
                  ➢ Life insurance policies
                  ➢ Court records such as real estate, tax notices, marriage and divorce,
                    judgment or bankruptcy records


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                ➢ Verification of benefits or Social Security Number from Social Security
                  Administration
            All new family members, except children age 5 and under, who have not been
            assigned a number, will be required to produce their Social Security card or
            provide the substitute documentation described above together with their
            certification that the substitute information provided is complete and accurate.
            This information is to be provided at the time the change in family composition is
            reported to the Housing Authority[24 CFR §5.216(a)].
             If a family member is able to disclose the Social Security number but cannot
             meet the documentation requirements, he/she must sign a certification to that
            effect provided by the Housing Authority. The family member will have an
             additional 60 calendar days to provide proof of the Social Security number. If
            they fail to provide this documentation, the family's assistance will be terminated
            [24 CFR §5.216(8)].
            If the family member states they have not been issued a number, the family
            member will be required to sign a certification to this effect.

      7.10.9 Medical Need for Larger Unit
            A written certification that a larger unit is medically necessary must be obtained
            from a reliable, knowledgeable medical professional.

      7.10.10 Reasonable Accommodation
             In order to verify the necessity for a reasonable accommodation, the Housing
             Authority will require the disabled individual, or a third party acting on their behalf,
             to return the Reasonable Accommodation Request form, or other written
             documentation, completed by a qualified professional with direct experience with
             the individual's disability. Qualified professionals may include, but are not limited
             to:
                 ➢ A medical doctor
                 ➢ A psychiatrist
                 ➢ Asocial worker
                 ➢ Other unlicensed care providers

       7.10.11 Secondary Review/Credit Checks
               The Housing Authority uses credit reports obtained from reliable sources to
               conduct secondary verifications fora random sample of applicants and
               participants as detailed in Section 1.12(Monitoring Program Performance).
               The methodology used to evaluate the information obtained from the credit
               report in relation to new applicants is outlined in Chapter 4 (Establishing
               Preferences and Maintaining the Waiting List).
               The secondary review includes a comparison befinreen the information
               contained in the credit report, for each adult household member, and the
               information provided by the family to the Housing Authority for eligibility
               purposes. Specifically, the Housing Authority reviews the credit report to verify:


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                ➢ Emalovment: If the credit report reveals employment during the
                  subsidized period that was not disclosed to the Housing Authority, the
                  family will be required to provide documentation that the employment did
                  not occur or provide information regarding the amount of earnings
                  received during the employment period.
                    If the family contends that the employment was made up for the purposes
                    of obtaining credit or was erroneously placed on the credit report, the
                    family must supply a letter from the employers listed confirming such
                    information. On a case-by-case basis, the Housing Authority may accept
                    a certified statement from the family.
                    If the family failed to disclose employment for a period longer than 6
                     months, the Housing Authority will propose termination of the family's
                    assistance and seek repayment of any overpayment. On a case-by-case
                     basis the Housing Authority may counsel the family before proposing
                    termination and seeking repayment of any overpayment.
                    If the family failed to disclose employment for less than 6 months, the
                    family will be required to attend a counseling interview and re-sign all
                    program documents re-enforcing the family's obligations. The family will
                    also be required to repay any overpayment amount. A second violation of
                    this nature will result in a proposed termination.
                 ➢ Assets: The credit report information will be used to verify assets,
                   particularly, large items such as real estate property. If the credit report
                   reveals that the family owns property, the family will be required to
                   provide the appropriate documentation regarding the property.
                     If all documentation confirms that the family (any family member) owns
                     real estate property that was purposely concealed, the Housing Authority
                     will propose termination of assistance and seek repayment of any
                     overpayment amount.
                 ➢ Aliases: A credit report can provide information on other names that have
                   been used for the purposes of obtaining credit. Common reasons for use
                   of other names include a recent marriage or a divorce. If an alias has not
                   been disclosed to the Housing Authority, the family will be asked to
                   provide additional evidence of the legal identity of adult family members.
                 ➢ Current and Previous Addresses: For a continuously assisted family, it
                   is assumed that the family's primary residence is the assisted address. If
                   the credit report indicates the continuous use of an address, other than
                   that of the assisted unit during the subsidized period, the family will be
                   asked to provide documentation that the assisted address is being used
                   as the family's primary residence. This may include a history of utility
                    bills, bank statements, school enrollment record for children, credit card
                   statements or other relevant documents. Failure to provide adequate
                    proof may result in termination of assistance.
                    If the family is not using the subsidized unit as their primary residency
                    and/or is subletting the assisted unit, the file will be referred for proposed
                    termination and the Housing Authority will seek full repayment of any
                    overpayment amount.



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              ➢ Credit Card and Loan Payments: A credit report will usually include a
                list of the family's financial obligations. Examples of the items that may
                show up include car loans, mortgage loans, student loans and credit card
                payments. The Housing Authority will review this information to confirm
                the income and asset information provided by the family. If the family's
                current financial obligations (total amount of current monthly payments)
                exceed the amount of income reported by the family, the Housing
                Authority will ask the family to disclose how they are currently meeting
                their financial obligations. Accounts that have been charged off or
                significantly delinquent are not included in this calculation. Failure to
                 provide adequate proof of income will result in the file being referred for
                 proposed termination. Additionally, the Housing Authority will seek full
                 repayment of any overpayment amount.
              ➢ Multiple Social Security Numbers: A credit report may list multiple
                Social Security numbers if an adult family member has used different
                Social Security numbers to obtain credit. If the credit report information
                does not match the information provided by an adult member of the
                family, the family member will be required to obtain written confirmation of
                the Social Security number that was issued to him/her from the Social
                Security Administration.
                  Whenever a violation results in a proposed termination, the family is
                  entitled to request an informal hearing. Procedures governing the informal
                  hearing process are outlined in Chapter 16 (Informal Hearings and
                  Complaints).




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                                        CHAPTER 8:
                              VOUCHER ISSUANCE AND BRIEFINGS

      8.1     INTRODUCTION
              This chapter covers the Housing Authority's process for issuing vouchers,
              including the contents of the briefing that is conducted for families receiving a
              voucher. It also includes policies on the term of the voucher.

      8.2     ISSUANCE OF HOUSING CHOICE VOUCHERS
              When funding is available, the Housing Authority will issue vouchers to
              applicants whose eligibility has been determined.
              The number of vouchers issued must ensure that the Housing Authority stays as
              close as possible to 100 percent lease-up. The Housing Authority performs a
              calculation to determine whether applications can be processed, the number of
              vouchers that can be issued, and to what extent the Housing Authority can over-
              issue.
              The Housing Authority may over-issue vouchers only to the extent necessary to
              meet leasing goals. All vouchers that are over-issued must be honored. If the
              Housing Authority finds it is over-leased, it must adjust future issuance of
              vouchers in order not to exceed the ACC budget limitations for the fiscal year.

      8.3     BRIEFING TYPES AND REQUIRED ATTENDANCE

      8.3.1    Initial Aaalicant Briefing
              (24 CFR ~982.301(a)]
               When the family is initially issued a voucher, the Housing Authority conducts a
               briefing session, as required by HUD. The briefing session is mandatory.
                    Briefing sessions will be conducted in groups or individual meetings.
               The Housing Authority will not issue a voucher to a family unless the household
               representative has attended a briefing and signed the voucher. Applicants who
               provide prior notice of inability to attend a briefing will automatically be scheduled
               for the next briefing. Applicants who fail to attend scheduled briefings, without
               prior notification and approval of the Housing Authority, may be denied admission
               based on failure to supply information needed for certification. The Housing
               Authority will conduct individual briefings for families with disabilities at their
               home, upon request by the family, if required for reasonable accommodation.
               Families who attend group briefings and still have the need for individual
               assistance will be referred to the appropriate staff person.

       8.3.2 Re-Issuance Briefing
               A briefing will be held for participants who will be re-issued vouchers to move.
               This briefing may include incoming and outgoing portable families. Families
               failing to attend a scheduled briefing twice will be denied a new voucher based
               on failure to provide required information.


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      8.3.3 Owner Briefing
              Briefings are held for owners at least annually. Invitations are mailed to all
              owners. Prospective owners are also welcome. The purpose of the briefing is to
              assure successful owner participation in the program.

      8.4     INFORMATION PROVIDED AT THE BRIEFING SESSION
              The Housing Authority's objectives are to assure that families selected to
              participate are successful in obtaining an acceptable housing unit, and that they
              have sufficient knowledge to derive maximum benefit from the program and to
              comply with program requirements.
              The purpose of the briefing session is to provide information on the Housing
              Authority's process for voucher holders who intend to lease a unit. This will
              enable families to utilize the program to their advantage, and prepare them to
              discuss it with potential owners and property manager.
              When the family is selected to participate, the briefing session includes
              information as follows.

      8.4.1    Togics Covered in the Briefing Session
              [24 CFR ~982.301(a1]
               The person conducting the briefing will describe how the program works and
               include information on the following subjects:
              •    A description of how the program works;
              •    Family and owner responsibilities;
              •   Where a family may lease a unit inside and outside the Housing Authority's
                jurisdiction;
              • How portability works for families eligible to exercise portability; and
              • Advantages of moving to an area that does not have a high concentration of
                 poor families, for families living in high poverty census tracts in the Housing
                Authority's jurisdiction.
               If the family includes a person with disabilities, the Housing Authority will ensure
               compliance with 24 CFR §8.6 to ensure effective communication.

      8.4.2 Briefing Packet
            [24 CFR ~982.301(bIl
               The Housing Authority provides families with a briefing packet that contains more
               detailed information about the program. The packet includes forms and
               information required by HUD, as well as additional resources. The person
               conducting the briefing session will explain the documents in the briefing packet.
               1. Instructions: This explains the term of the voucher, the Housing Authority's
                   policies on extensions and suspensions, and how families may request
                   tenancy approval.




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             2. Subsidy Estimation: A worksheet on rent calculations, including a description
                 of the method used to calculate the assistance payment, how the minimum
                 and maximum allowable rent is determined, how the payment standard is
                 determined, and a calculation of the estimated maximum rent to suit the
                 tenants budget.
             3. Utility Allowance Schedule: Utility allowance amounts for rental units, by unit
                 size and utility type, for cities and unincorporated areas within the Housing
                 Authority's jurisdiction.
             4. Information on where the family can lease a unit, including portability
                  procedures, a list of area housing authorities, and a form for participants who
                 are requesting to transfer.
             5. Form HUD-53641: The HUD-required "tenancy addendum" that must be
                  included in the lease.
             6. Request for Tenancy Aaaroval lRTA): Families request Housing Authority
                  approval of the assisted tenancy with this form. The RTA includes a
                  statement of Housing Authority policy on providing family information to
                  prospective owners.
              7. Subsidy Standards and Requests for Waivers: Explains how the number of
                  bedrooms (unit size) relates to family composition, and when and how
                  exceptions are made in regards to requests for additional bedrooms.
             8. A Good Place to Live: HUD's brochure on selecting a unit that complies with
                HQS.
             9. Are You A Victim of Housin4 Discrimination: HUD's pamphlet on fair housing
                which contains the complaint form. The Housing Authority also includes
                available State and local information on equal opportunity laws.
              10. Marketing List of Available Proaerties: The Housing Authority has contracted
                  with Socialserve.com to provide an Internet-based property listing and search
                 service for owners and participants. The Housing Authority includes an
                  information sheet on how to access Socialsenrve.com.
              11. Family Obligations: Families sign to acknowledge program obligations, and
                  consequences including termination of assistance for failure to comply.
              12. Informal Hearing Information: Includes procedures and explanations of when
                  participant families have the opportunity for an informal hearing, and how to
                  request a hearing.
              The packet may also include the following materials:
             •  Three Way Partnership: Explains the relationship between owners,
               participants and the Housing Authority.
             • Protect Your Family From Lead In Your Home: Federal brochure on the
               hazards of lead-based paint and resources for additional information.
              •    Searchin4 for a Rental Home: Guidance on finding a unit and submitting a
                  successful rental application.
              •    Additional Standards for HQS Insaections and inspections process details.



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             •    Owner materials including information on the New Contracts Process and
                 the Benefits of Participation.
             •    Owner forms including IRS W-9, Letter of Authorization, Authorization
                 Agreement for Direct Deposit, and a sample Lead-Based Paint Disclosure.
                  Request for Voucher Extension form

      8.5     ENCOURAGING PARTICIPATION IN AREAS WITHOUT LOW INCOME OR
              MINORITY CONCENTRATION
             (24 CFR 5982.301(a)(31
             At the briefing, families are encouraged to search for housing in non-impacted
             areas. The Housing Authority provides assistance to families who wish to do so.
             The assistance provided to such families includes:
             •    Direct contact with owners;
             •    Counseling with the family;
             •    Providing information about services in various non-impacted areas;
             •    Meeting with neighborhood groups to promote understanding;
             •    Formal or informal discussions with owner groups;
             •    Formal or informal discussions with social service agencies;
             •    Meeting with rental referral companies or agencies; and
             •    Meeting with fair housing groups or agencies.
              The Housing Authority will maintain a database of available housing submitted by
              owners in all neighborhoods within its jurisdiction to ensure greater mobility and
              housing choice to very low-income households. The Marketing List will be made
              available to voucher holders who are actually seeking housing.

      8.6     SECURITY DEPOSIT REQUIREMENTS
              X24 CFR X982.3131
              Security deposits charged by owners may not exceed those charged to
              unassisted families (nor the maximum prescribed by State or local law.)
              For lease-in-place families, responsibility for first and last month's rent is not
              considered a security deposit issue. In these cases, the owner should settle the
              issue with the family prior to the beginning of assistance.

       8.7    TERM OF VOUCHER
              X24 CFR ~982.301(b)1111
              During the briefing session, each family is issued a voucher, which represents a
              contractual agreement between the Housing Authority and the family, specifying
              the rights and responsibilities of each party. It does not constitute admission to
              the program, which occurs when the lease and contract become effective.




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      8.7.1   Exgirations
              X24 CFR 6982.303(a1]
              The voucher is valid for a period of 60 calendar days from the date of issuance.
              The family must submit a Request for Tenancy Approval and lease within the 60
              calendar-day period, unless an extension has been granted by the Housing
              Authority.
              If the voucher has expired, and has not been extended by the Housing Authority
              or expires after an extension, the family will be denied assistance. The family will
              not be entitled to a review or hearing. If the family is currently assisted, they may
              remain as a participant in their unit if there is an assisted lease/contract in effect.

      8.7.2 Policv on Susaensions (Tollin4)
            X24 CFR 982.3031c11
              When a Request for Tenancy Approval is received, the Housing Authority will not
              deduct the number of calendar days required to process the request from the
              term of the voucher.

      8.7.3 Extensions
            X24 CFR ~982.303(b1l
              The Housing Authority may grant extensions to vouchers.
              A family may request an extension of the voucher time period. All requests for
              extensions must be received prior to the expiration date of the voucher.
              Extensions may be granted in 30, 60, or 120-day increments, up to a maximum
              term of 180 calendar days, if necessary for the tenant to locate a unit.
              Supervisors may authorize extensions up to a maximum term of 270 calendar
              days for extenuating circumstances or as a reasonable accommodation. Such
              matters will be considered on an individual basis and must be supported by
              verifiable third-party documentation.

      8.7.4 Assistance to Voucher Holders
            X24 CFR ~982.301(b)1
               Families who require additional assistance during their search may call the
               Housing Authority to obtain a Marketing List of available units. Information
               regarding the Marketing List will be presented at the briefing session.
               The Housing Authority will assist families with negotiations with owners and
               provide other assistance related to the families' search for housing.

       8.8     VOUCHER ISSUANCE DETERMINATION FOR SPLIT HOUSEHOLDS
              (24 CFR 6982.3151
               In those instances when a family assisted under the Housing Choice Voucher
               Program becomes divided into two otherwise eligible families due to divorce,
               legal separation, or the division of the family, and the new families cannot agree
               as to which new family unit should continue to receive the assistance, and there



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              is no determination by a court, the Housing Authority shall consider the following
              factors to determine which of the families will continue to be assisted:
                 1. Which of the two new family units has custody of dependent children.
                 2. Which family member was the head of household when the voucher was
                    initially issued (listed on the initial application).
                 3. The composition of the new family units, and which unit contains elderly
                    or disabled members.
                 4. Whether domestic violence was involved in the breakup.
                 5. Which family members remain in the unit.
                 6. Recommendations of social service professionals.
              Documentation of these factors will be the responsibility of the requesting parties.
              If documentation is not provided, the Housing Authority will terminate assistance
              on the basis of failure to provide information necessary to complete the annual
              re-examination.
              Where the breakup of the family also results in a reduction of the size of the
              voucher, the family will be required to move to a smaller unit if the current owner
              is unwilling to accept the rent level of the smaller sized certificate.

      8.9     REMAINING MEMBER OF FAMILY —RETENTION OF VOUCHER
              To be considered the remaining member of the family, the person must have
              been previously approved by the Housing Authority to be living in the unit.
              A live-in aide, by definition, is not a member of the family and will not be
              considered a remaining member of the family.
               In order for a minor child to continue to receive assistance as a remaining family
               member:
                  1. The court has to have awarded emancipated minor status to the minor, or
                  2. The Housing Authority has to have verified that social services and/or the
                     Juvenile Court has arranged for another adult to be brought into the
                     assisted unit to care for the child/children for an indefinite period.
               A reduction in family size may require a reduction in the voucher size.

       8.10    FAMILY VOLUNTARILY RELINQUISHES HOUSING CHOICE VOUCHER
               The family may voluntarily relinquish their voucher at any time. In such cases,
               the Housing Authority will provide the owner of the property with a 30 calendar
               days notice indicating that rental assistance will terminate based on the family's
               request. The family will become fully liable for the contract rent after 30 calendar
               days.
               Generally, the Housing Authority will not reinstate a family once a request for
               voluntary termination has been received.          However, as a reasonable
               accommodation, the Housing Authority will review requests for reinstatements
               received within 6 months and make a determination on a case-by-case basis.


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             If a family voluntarily relinquishes their voucher in lieu of facing termination, the
             Housing Authority will continue to seek to recover any monies that may be due to
             the Housing Authority as a result of misrepresentation or other breach of program
             regulations.




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                                CHAPTER 9:
         THE NEW CONTRACT PROCESS REQUEST FOR TENANCY APPROVAL AND
                            CONTRACT EXECUTION

      9.1      INTRODUCTION
               X24 CFR &982.302(b) and 24 CFR &982.353(b11
               After families are issued a voucher, they may search for a unit anywhere within
               the Housing Authority's jurisdiction, or outside of the Housing Authority's
               jurisdiction if they qualify for portability. The family must find an eligible unit under
               the program rules, with an owner who is willing to enter into a Housing
               Assistance Payments (HAP) contract with the Housing Authority. This chapter
               defines the types of eligible housing, the Housing Authority's policies which
                pertain to lease requirements, owner disapproval, and the processing of
                Requests for Tenancy Approval(RTA).

      9.2       REQUEST FOR TENANCY APPROVAL
               [24 CFR &982.302(cll
               The family must submit the RTA and a copy of the proposed lease during the
               term of the voucher. Both the owner and the voucher holder must sign the RTA.
               The Housing Authority will not permit the family to submit more than one RTA at
               a time.
               The RTA will be approved if[24 CFR §982.302(d)]:
                   1. The unit is an eligible type of housing;
                   2. The unit passes an inspection (based on HUD's Housing Quality
                      Standards and the Housing Authority's requirements, detailed in Chapter
                      10);
                   3. The rent is reasonable;
                   4. The security deposit amount is approvabfe;
                   5. The proposed lease complies with HUD and Housing Authority
                      requirements, and State and local law;
                   6. The owner is approvable, and there are no conflicts of interest; and
                   7. All applicable lead-based paint disclosure requirements have been met.
                      See Section 10.4(Lead-Based Paint) for additional policies.

       9.2.1    Disaparoval of RTA
                X24 CFR ~982.302(d)]
                If the Housing Authority determines that the RTA cannot be approved for any
                reason, the owner and the family will be notified in writing. The Housing
                Authority will instruct the owner and family of the steps that are necessary to
                approve the Request.
                The owner will be given 5 calendar days to submit an approvable RTA from the
                date of disapproval unless the reason for the disapproval is the result of multiple
                failed inspections (three or more failed HQS inspections).


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              When, for any reason, an RTA is not approved, the Housing Authority will furnish
              another RTA form to the family along with the notice of disapproval so that the
              family can continue to search for eligible housing.
              The Housing Authority will suspend the term of the voucher while the RTA is
               being processed. Therefore, the length of time allotted to a family for the
               purpose of locating another unit will be based on the number of days left on the
              term of the voucher at the time the RTA was submitted to the Housing Authority
              [24 CFR §982.303(b)].

      9.3      ELIGIBLE TYPES OF HOUSING
              [24 CFR X982.352]
               The Housing Authority will approve the following types of housing in the voucher
               program:
              • Single-family dwellings, including condos and townhouses.
              • Manufactured homes where the family leases the mobile home and the pad
               [24 CFR §982.620(a)(2)].
              •     Manufactured homes where the family owns the mobile home and leases
                   the pad [24 CFR §982.620(a)(3)].
              •     Multifamily dwellings (apartment buildings).
              •     Units owned but not subsidized by the Housing Authority (HUD-prescribed
                   requirement).
               A family can own a rental unit but cannot reside in it while being assisted, except
               in the cases involving manufactured homes when the family owns the mobile
               home and leases the pad. A family may lease in and have an interest in a
               cooperative housing development.
               The Housing Authority may not permit a voucher holder to lease a unit that is
               receiving project-based Section 8 assistance or any duplicative rental subsidies.

      9.3.1    Special Housing Tvc~es
               X24 CFR X982.6011
               The Housing Authority must permit use of all special housing type listed below, if
               needed as a reasonable accommodation so the program is readily accessible to
               and usable by persons with disabilities in accordance with 24 CFR Part 8.
               •    Congregate housing
               •    Group home
               •    Shared housing
               •    Cooperative housing (excluding families that are not cooperative members)
               •    Homeownership (if homeownership program is available)
               •    Single Room Occupancy(SRO)




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     9.3.2 Ineli4ible Housing Tvpes
           f24 CFR &982.352(all
            The Housing Authority will not approve:
            •  A unit occupied by the owner or by any person with an interest in the unit,
              other than manufactured homes described above.
            • Nursing homes or other institutions that provide care.
            •    School dormitories and institutional housing.
            •    Structures that have not been properly converted. Owners will be required
                to provide finalized permits for all conversion work when the integrity and/or
                soundness of a structure is in question.
            •    Converted garages or other structures not intended to be living areas.
            •    Any other types of housing prohibited by HUD.

      9.4   RESTRICTIONS ON RENTING TO RELATIVES
            f24 CFR ~982.306(d1l
            In accordance with HUD policy, the family will not be allowed to rent a unit from
            an owner (including a principal or other interested party) who is the spouse,
            parent, child, grandparent, grandchild, and sister or brother of any member of the
            family. This restriction applies to all new contracts entered into after June 16,
            1998.
            Exceptions may be made to this policy as a reasonable accommodation for
             persons with a disability. The Housing Authority will review all such requests on
            a case-by-case basis. The family will be required to provide documentation of
            disability and how the particular unit, owned by the relative, could benefit the
             disabled person. Owners must provide the current address of their residence
            (not a Post Office box). If families lease properties owned by relatives, the
             owner's current address will be compared to the subsidized units address.
             Owners must provide an Employer Identification Number or Social Security
             number, and may also be required to provide a copy of their driver's license or
             other photo identification. In addition, the Housing Authority may request a copy
             of the owner's current utility bills and bank statement.
             Failure to provide adequate documentation, within the specified time period (2
             weeks), will be grounds for denial of such request.
             In all cases, the owner of the assisted unit may not reside in the unit with the
             assisted household at any time during the term of the Housing Assistance
             Payment(HAP)Contract between the Housing Authority and the owner.

      9.5    LEASE AGREEMENTS
             X24 CFR &982.308 -X982.3091
             The tenant and the owner must enter a written lease for the unit. If the owner
             uses a standard lease form for rental to unassisted tenants in the locality or the
             premises, the lease must be in such standard form, plus the required HUD
             Tenancy Addendum, which the Housing Authority will provide to the owner.


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            The Housing Authority will review the lease for compliance with regulations. At
            minimum, the lease must specify the following information:
            •    The names of the owner and tenant;
            •    The address of the unit rented;
            •     The term of the lease including the initial term and any provisions for
                 renewal;
            •    The amount of the monthly rent to owner; and
            •     A specification of which utilities and appliances will be supplied by the
                 owner, and which by the family.
             The lease must provide the following are grounds for the owner to terminate
             tenancy [24 CFR §982.310(c)]:
            •     Drug- related criminal activity engaged in, on or near the premises by any
                 tenant, household member, or guest, or such activity engaged in on the
                 premises by any other person under the tenants control. In addition, the
                 lease must provide that the owner may evict a family when the owner
                 determines that a household member is illegally using a drug or when the
                 owner determines that a pattern of illegal use of a drug interferes with the
                 health, safety, or right to peaceful enjoyment of the premises by other
                 residents.
             •    Any of the following types of criminal activity by a covered person:
                 ➢ Any criminal activity that threatens the health, safety, or right to peaceful
                    enjoyment of the premises by other residents (including property
                    management staff residing on the premises);
                 ➢ Any criminal activity that threatens the health, safety, or right to peaceful
                   enjoyment of their residences by persons residing in the immediate
                   vicinity of the premises; or
                 ➢ Any violent criminal activity on or near the premises by a tenant,
                   household member, or guest, or any such activity on the premises by any
                   other person under the tenants control.
             •    If a tenant is:
                 ➢ Fleeing to avoid prosecution, or custody or confinement after conviction,
                   for a crime, or attempt to commit a crime, that is a felony under the laws
                   of the place from which the individual flees, or
                 ➢ Violating a condition of probation or parole imposed under Federal or
                   State law.
              When needed, the Housing Authority may require the owner and family to
              execute a lease rider to include changes to the rent amount, changes to utility
              responsibilities and/or effective date on the owner's original lease.
              The effective date of the lease and the HAP contract will be based on the date
              the unit passed inspection or the family took possession of the unit, whichever is
              later. For this purpose, the family is considered to be in possession of the unit



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              when the family has a key to the unit and the unit is fully available for the family's
              exclusive use [24 CFR §982.305(b)].

      9.5.1    Separate Agreements
              (24 CFR ~982.510(c1]
              Separate agreements are not necessarily prohibited. Families and owners will
              be advised of the prohibition of illegal side payments for additional rent, or for
              items normally included in the rent of unassisted families, or for items not shown
              on the approved lease.
              Owners and families may execute separate agreements for services (parking
              space), appliances (other than range and refrigerator) and other items that are
              not included in the lease if the agreement is in writing and approved by the
              Housing Authority.
               Any appliances, services or other items which are routinely provided to
               unassisted families as part of the lease (such as air conditioning, dishwasher or
               garage) or are permanently installed in the unit, cannot be put under separate
               agreement and must be included in the lease. For there to be a separate
               agreement, the family must have the option of not utilizing the service, appliance
               or other item.
               The Housing Authority is not liable for unpaid charges for items covered by
               separate agreements and nonpayment of these agreements cannot be cause for
               eviction.
               If the family and owner have come to a written agreement on the amount of
               allowable charges for a specific item, so long as those charges are reasonable
               and not a substitute for higher rent, they will be allowed.
               All agreements for special items or services must be attached to the lease
               approved by the Housing Authority. If agreements are entered into at a later
               date, they must be approved by the Housing Authority and attached to the lease.

      9.6      INITIAL INSPECTIONS
               See Chapter 10(Housing Quality Standards and Inspections).

      9.7      RENT LIMITATIONS
               X24 CFR X982.508]
               In accordance with HUD regulations, at the time the family initially receives
               assistance for a new unit, the family's share of the rent for the unit (includes
               utilities and the rent to the owner) may not exceed more than 40 percent of the
               family's adjusted monthly income if the gross rent for the unit exceeds the
               payment standard. Although HUD does not place limits on the amount that a
               family may contribute towards rent (if the family is a continuing family or the
               gross rent for an initial lease does not exceed the payment standard), the
               Housing Authority is concerned about affordability. Therefore, whenever a family
               is contributing more than 60 percent of their adjusted family income towards rent,
               the family will be required to attend a Housing Authority affordability counseling
               session. Trained staff will review the family's financial situation and review the


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             family's ability to meet their rental obligation. If the family discloses that they are
             concerned about their ability to meet their rental obligation, the Housing Authority
             will work with the family to help them locate another affordable unit. If the family
             indicates that they are able to meet all of their current financial obligations, the
             family will be allowed to proceed with their request to remain in the current
             contracted unit. A notation will be made in the family's file.

      9.8    RENT REASONABLENESS
             X24 CFR ~982.5071a1(111
             A rent reasonable test will be used to determine if the rent amount request by the
             owner can be approved. The Housing Authority's rent reasonableness policy,
             including appeals process, is covered in Chapter 11 (Setting Payment Standards
             and Determining Rent Reasonableness).

      9.9    INFORMATION TO OWNERS
             X24 CFR ~982.307(b)l
             The Housing Authority is required to provide prospective owners with the address
             of the applicant and the names and addresses of the current and previous owner
             if known. The Housing Authority will make an exception to this requirement if the
             family's whereabouts must be protected due to domestic abuse or witness
             protection. The Housing Authority will not release any other information
             regarding the family.
             The Housing Authority will inform owners that it is the responsibility of the owner
             to determine the suitability of prospective tenants. Owners will be encouraged to
             screen applicants for rent payment history, eviction history, damage to units, and
             other factors related to the family's suitability as a tenant[24 CFR §982.307(a)].
             Information regarding the Housing Authority's policy on this subject is included in
             the briefing packet and as an attachment to the Request for Tenancy Approval.
             This policy will apply uniformly to all families and owners.
              In addition to the information listed above, the Housing Authority provides owner
              workshops at least twice a year. At the workshops, current and prospective
              owners are given an overview of the program and information about any
              significant program changes. There is also ample time for a question and
              answer session.

      9.10    OWNER DISAPPROVAL
             [24 CFR ~982.306(a) - &982.306(c)(4►1
              For purposes of this section, "owner" includes a principal or other interested
              party, and to disapprove an owner means to prevent the participation of an owner
              in Housing Authority programs.
              The Housing Authority is required to disapprove an owner for the following
              reasons:
              ➢ HUD has informed the Housing Authority that the owner has been debarred,
                suspended, or subject to a limited denial of participation under 24 CFR Part
                24.
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           ➢ HUD has informed the Housing Authority that the federal government has
             instituted an administrative or judicial action against the owner for violation of
             the Fair Housing Act or~ other federal equal opportunity requirements and
             such action is pending.
           ➢ HUD has informed the Housing Authority that a court or administrative
             agency has determined that the owner violated the Fair Housing Act or other
             Federal equal opportunity requirements.
                If the owner is the spouse, parent, child, grandparent, grandchild, sister, or
                brother of any member of the family.
            The Housing Authority also maintains the discretion to disapprove an owner for
            the reasons listed below. The Housing Authority may disapprove an owner for a
            period of 1 year for the following reasons:
            ➢ The owner has violated obligations under a housing assistance payments
              contract under Section 8 of the 1937 Act(42 U.S.C. 1437fl.
            ➢ The owner has a history or practice of non-compliance with the HQS for units
              leased under the tenant-based programs or with applicable housing
              standards for units leased with project-based Section 8 assistance or leased
              under any other Federal housing program.
            ➢ The owner has a history or practice of renting units that fail to meet State or
              local housing codes;
            ➢ The owner has not obtained a business license for rental property for the
               assisted unit, where required by local ordinance; or
            ➢ The owner has not paid State or local real estate taxes, fines or
               assessments.
            An owner may be disapproved for a period of up to 5 years for the following
            reasons:
            ➢ The owner has committed fraud, bribery or any other corrupt or criminal act in
                connection with any Federal housing program.
                The owner has a history or practice of failing to terminate tenancy of Section
                8-assisted tenants, or tenants assisted under any other federally-assisted
                housing program, for activity engaged in by the tenant, any member of the
                household, guest or another person under the control of any member of the
                household that:
                -   Threatens the right to peaceful enjoyment of the premises by other
                    residents;
                    Threatens the health or safety of other residents, of employees of the
                    Housing Authority, or of owner employees or other persons engaged in
                    management of the housing;
                -   Threatens the health or safety of, or the right to peaceful enjoyment of
                    their residences, by persons residing in the immediate vicinity of the
                    premises; or commits drug related criminal activity or violent criminal
                    activity.
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             An owner may be disapproved for a period of up to 10 years for the following
             reason:
             ➢ The owner has engaged in any drug-related criminal activity or any violent
               criminal activity.
             If an owner disagrees with the Housing Authority's disapproval, the owner may
             appeal the decision in writing within 10 calendar days from receiving the Housing
             Authority's decision. A supervisor will review the appeal and prepare a written
             decision within 30 calendar days after receiving the request. The decision of the
             supervisor is final.

      9.11   CHANGE IN TOTAL TENANT PAYMENT ITTP)PRIOR TO HAP EFFECTIVE
             DATE
             When the family reports changes in factors that will affect the Total Tenant
             Payment(TTP) prior to the effective date of the HAP contract, the information will
             be verified and the TTP will be recalculated. If the family does not report any
             change, the Housing Authority need not obtain new verifications before the HAP
             contract becomes effective, unless the verifications are more than 120 calendar
             days old.

      9.12   CONTRACT EXECUTION PROCESS
             X24 CFR &982.305(cll
             Provided that the unit passes inspection, the Housing Authority will prepare the
             HAP contract for execution. The family and the owner will execute the lease
             agreement, and the owner and the Housing Authority will execute the HAP
             contract. Copies of the documents will be furnished to the parties who signed the
             respective documents.
             The Housing Authority makes every effort to execute the HAP contract before the
             commencement of the lease term. The HAP contract may not be executed more
             than 60 calendar days after commencement of the lease term and no payments
             will be made until the contract is executed.
             Verbcation documents may not be more than 120 days old at the time of the
             contract effective date.
             The following Housing Authority representatives are authorized to execute a
             contract on behalf of the Housing Authority: Assisted Housing's Division Director,
             Assistant Director, Managers, Assistant Managers and Supervisors.
              Owners must provide the current address of their residence (not a Post Office
              box). If families lease properties owned by relatives, the owner's current address
              wilt be compared to the subsidized unit's address.
              Owners must provide an Employer Identification Number or Social Security
              number, and may also be required to provide a copy of their driver's license or
              other photo identification.




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      9.12.1 Determining the Contract Effective Date
             The effective date and the amount of the rental payment is communicated in
             writing to both the owner and family.
             If the owner and the family have entered into a lease and provide a copy of the
             lease with the RTA, the effective date of the contract will be either:
                1. The date the unit passed inspection (for families residing in the unit prior
                   to the inspection date), or
                2. The date that the Housing Authority authorized the owner to allow the
                   family to take possession of the unit.
             The contract effective date will be based on the later of these two dates. If the
             owner and the family have not executed a lease prior to the HAP contract
             negotiation process, then the HAP contract will become effective once the lease
             has been properly executed by both parties.

      9.12.2 Prorating First Month's Rent
             When the effective date of a new contract begins on a day other than the first of
             the month, the Housing Authority will determine a prorated contract rent amount.
             For consistency with rental industry standards, prorated amounts will be
             calculated by using 30 days to establish a daily rate (refer to 3/3/05 memo).

      9.12.3 Proof Of Ownership
             The Housing Authority will use property profile information obtained from a
             private vendor to confirm ownership of the assisted unit. If third party information
             cannot confirm ownership of the unit, the Housing Authority may also request a
             recorded deed or closing escrow statement to prove ownership.
              Owners may also be required to provide a copy of a business rental license if the
              assisted unit is in a city where one is required.
              Any requested information must be provided prior to execution of the HAP
              contract. Failure.to provide the requested information within a reasonable period
              of time, generally not more than 30 calendar days, will result in a cancellation of
              the RTA.

       9.12.4 Establishing Eligibility To Execute HAP Contract and Related Documents
              In cases involving multiple owners, the Housing Authority will accept the
              signature of a designee on all contracts and related paperwork if all the legal
              owners have jointly agreed on the person/persons who may act on their behalf.
              In cases involving multiple owners, the Housing Authority requires that all
              persons who have interest in the property sign or provide a letter of authorization,
              giving one or more parties the right to sign contracts and other program
              documents.
              In cases involving a partnership or corporation, the Housing Authority may
              request the partnership agreement or incorporation documents to determine who
              is designated to act on the group's behalf. In cases involving a trust, the Housing



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             Authority may request a copy of the trust in order to verify the names of the
             trustees.
             The Housing Authority will not execute a HAP Contract until all proper
             authorization, from all appropriate parties, has been provided. Failure to provide
             information needed to establish authority to execute the HAP contract within a
             reasonable time, generally 30 calendar days, may result in a cancellation of the
             RTA.
             Once the Housing Authority has established proper authorization, the letter of
             authorization will remain in effect until superseded by another authorization or the
             HAP contract is terminated. All changes or modification to the instructions
             provided in the current letter of authorization must be provided in writing.

      9.12.5 Payment To The Owner
             X24 CFR b982.311(a)]
             Once the HAP Contract is executed, the Housing Authority begins processing
             payments to the owner. Because the Housing Authority's sole method of
             payment to owners is direct deposit, new and existing owners must provide the
             necessary information for enrollment in the Housing Authority's direct deposit
             program. Payments will be made via direct deposit by the first of each month.
             Owners must notify the Housing Authority of any missing payments as soon as
             possible. The Housing Authority will accept report of missing payment both via a
             telephone call and/or in writing.

      9.13   CHANGE IN OWNERSHIP
             A change in ownership does not require execution of a new contract.
             The Housing Authority will process a change of ownership only upon the written
             request of the previous or new owner and only if accompanied by a copy of the
             escrow statement or other document showing the transfer of title and the
             Employee Identification Number or Social Security number of the new owner.
              In order to complete a change of ownership, the new owner must complete an
              Assumptions of Obligations and Benefits contract. This form obligates the new
              owner to the HAP contract. The Housing Authority will provide this document
              once a written request for a change is received.
              When the assumption contract has been executed, the Housing Authority will
              send a copy of it, along with a copy of the original HAP contract and lease, to the
              new owner.
              New owners are subject to the Housing Authority's owner disapproval policy as
              detailed in Section 9.10 of this chapter.




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                                    CHAPTER 10:
                     HOUSING QUALITY STANDARDS AND INSPECTIONS

      10.1   INTRODUCTION
             This chapter describes the Housing Authority's procedures for implementing
             Housing Quality Standards (HQS), conducting different inspections, and setting
             standards for the timeliness of repairs. It also explains the responsibilities of the
             owner and family, and the consequences for noncompliance with HQS by the
             owner and family.

      10.2   TYPES OF INSPECTIONS
             X24 CFR X982.4051
             The Housing Authority conducts the following inspections, which will be
             explained in greater detail throughout the chapter:
             •    New Contracts Inspection: A unit must pass this HQS inspection before
                 the Housing Authority enters into a HAP Contract with the owner.
                  Inspections at Other Times as Needed:
                 ➢ Interim Inspection: HQS inspection conducted upon request of the owner,
                   family or agency.
                 ➢ Emeraencv Inspection: HQS inspection conducted for life-threatening
                   violations.
                 ➢ Compliance Check/Home Visit Inspections: An inspection conducted,
                   without notice, to verify compliance with the Section 8 Program.
                  Annual Inspection: A unit must pass its annual HQS inspection.
             •    Quality Control Insaection: The Housing Authority is required to conduct
                 supervisor quality control HQS inspections.
             •    Move-Out Inspection: For its Moderate Rehabilitation Program, the
                 Housing Authority may conduct amove-out inspection for contracts effective
                 before October 2, 1995, at an owner's request, if a damage claim is to be
                 submitted (see Section 20.9 for details on these inspections).

      10.3   HOUSING QUALITY STANDARDS(HQS)
             X24 CFR X982.4011
              HQS is the minimum quality standards set forth by HUD for tenant-based
              programs. These standards are in place to ensure that assisted housing is
              decent, safe and sanitary. All program housing must meet the HQS performance
              requirements both at commencement of assisted occupancy, and throughout the
              assisted tenancy.
              Efforts will be made at all times to encourage owners to provide housing above
              the HQS minimum standards.
              HQS applies to the building and premises, as well as the unit. In order for a unit
              to pass an HQS inspection, the following standards must be met.



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      10.3.1 Unit Soace and Size
             X24 CFR &982.4011d)(21(i)l
             At minimum, a living room, kitchen area, and bathroom must be located in the
             unit.

      10.3.2 Livina Room / Sleeainu Room
             X24 CFR &982.401(d)(21(ii)1. X24 CFR &982.401(hl(2)(iv)1.(24 CFR ~982.401(fll
            •     The dwelling unit must have at least one bedroom or living/sleeping room for
                 each two persons. Children of opposite sex, other than very young children,
                 may not be required to occupy the same bedroom or living/sleeping room.
            •     There must be at least one window in the living room and in each sleeping
                 room. If the window is designed to be openable, the window must open and
                 close properly, and be large enough to provide emergency egress.
            •     The living room and each bedroom must have at least finro electrical outlets
                 in proper operating condition. Permanent overhead or wall-mounted light
                 fixtures may count as one of the required electrical outlets.
             •    Bedrooms must also have abuilt-in closet or wardrobe, be located within the
                 unit (e.g., no garages), and be private (have a closing door separating it from
                 the rest of the unit). Bedrooms should also be finished in a quality similar to
                 other bedrooms in the home.
             •    In cases where an owner has modified the rental unit without obtaining the
                 proper city and/or County building permits, the Housing Authority may rely on
                 the legal property description for the purposes of negotiating the rent and
                 determining how many actual sleeping rooms are in the rental unit.

      10.3.3 Sanitary Facilities(Bathroom
            [24 CFR ~982.401(bll. X24 CFR &982.401(h)(21(iii1L X24 CFR ~982.4011f)(2)(ii)1
             •    The bathroom must be located in a separate private room and contain a
                 working flush toilet.
             •    Bathroom areas must have one openable window or other adequate
                 exhaust ventilation.
             •    The unit must have a fixed sink. The bathroom sink may be located
                 separately from other bathroom facilities, but the kitchen sink may not also be
                 used for the bathroom sink.
             •    The unit must have a shower or tub in proper operating condition, with hot
                 and cold running water. The shower or tub need not be in the same room
                 with other bathroom facilities, but they must be private.
             •    All walls in a tub or shower area must be covered with ceramic the or other
                 material that is impervious to water to prevent water damage and
                 deterioration.
             •     Sinks and commode water lines must have shut off valves, unless faucets
                  are wall-mounted. All sinks in the unit must have functioning stoppers.




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            •     The bathroom must have a permanent ceiling or wall light fixture in proper
                 operating condition.
                  All bathrooms in the unit must be in proper operating condition.

      10.3.4 Food Preaaration (Kitchen)
             X24 CFR ~982.401(c)1,[24 CFR 5982.401(fl(21(ii)]
            •     The dwelling unit must have suitable space and equipment to store, prepare,
                 and serve foods in a sanitary manner (i.e., kitchen).
            •     The dwelling unit must have an oven, and a stove or range, and a
                 refrigerator of appropriate size for the family. All of the equipment must be in
                 proper operating condition. The stove and oven must be properly hooked up
                 to the gas, with no hazards present. The refrigerator. must be able to
                 maintain a temperature sufficient to keep food from spoiling over a
                 reasonable period of time. The equipment may be supplied by either the
                 owner or the family.
            •     A microwave oven may be substituted for atenant-supplied oven and stove
                 or range. A microwave oven may be substituted for an owner-supplied oven
                 and stove or range if the tenant agrees and microwave ovens are furnished
                 instead of an oven and stove or range to both subsidized and unsubsidized
                 tenants in the building or premises.
             •    The kitchen area must have a permanent ceiling or wall light fixture in proper
                 operating condition, and at least one electrical outlet in proper operating
                 condition.
             •    The dwelling unit must have a permanently attached kitchen sink in proper
                 operating condition, with a sink trap and hot and cold running water. The sink
                 must have a shut off valve, unless faucets are wall-mounted, and must drain
                 into an approvable public or private system. All sinks in the unit must have
                 functioning stoppers.
             •    There must be facilities and services for the sanitary disposal of food waste
                 and refuse, including temporary storage facilities where necessary (e.g.,
                 garbage cans).

      10.3.5 Ceilincts. Walls, Floors and Building Exterior
             X24 CFR ~982.401(al]
             The unit must be structurally sound. The structure must not present any threat to
             the health and safety of the occupants and must protect the occupants from the
             environment.
             Ceilings, walls, floors and fences must not have any serious defects such as
             severe bulging or leaning, large holes, loose surface materials, severe buckling,
             missing parts, or other serious damage.
             •      Wood floors must be sanded to a smooth surface and sealed. Any loose or
                  warped boards must be re-secured and made level. If the boards cannot be
                  leveled, they must be replaced.




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            •     The exterior wall structure and surface must not have any serious defects
                 such as serious leaning, buckling, sagging, large holes, or defects that may
                 result in air infiltration or vermin infestation.
            •   In areas where plaster or drywall is sagging, severely cracked, bulging or
              leaning, or has large holes, it must be repaired or replaced.
            • The condition and equipment of interior and exterior stairs, halls, porches,
              walkways, etc., must not present a danger of tripping and falling. For
              example, broken or missing steps or loose boards are unacceptable. Stairs
              with four or more steps must have a secure handrail.
             •  A porch or balcony at least 30 inches or more from the ground must have
               secure railings.
             • The roof must be structurally sound and weather tight and must not have
               any serious defects, such as buckling or sagging. Gutters, downspouts and
               soffits must not show signs of serious decay and must not allow entry of
               significant air or water into the interior of the structure.
             •  The chimney must not be seriously leaning or showing evidence of
               significant disintegration.
             • Building foundations must not have any severe structural defects that may
               create a hazardous condition, including allowing significant entry of ground
               water.

      10.3.6 Windows
             X24 CFR ~982.401(fl(11(ii)1, X24 CFR ~982.401(d1(2(iii)1
              All window sashes must be in good condition, solid, intact, and fit properly in the
              window frame. Damaged or deteriorated sashes must be replaced.
              Windows must be weather-stripped as needed to ensure a weather tight seal.
              Windows must not have missing or broken-out panes, or panes that are
              dangerously loose or have large cracks.
              If window security bars or security screens are present on emergency exit
              windows, they must be equipped with a quick release system. The owner is
              responsible for ensuring that the family is instructed on the use of the system.
              Dwelling unit windows that are accessible from the outside, such as basement,
              first floor, and fire escape windows, must be lockable (such as window units with
              sash pins or sash locks, and combination windows with latches).
              Windows that are nailed shut are acceptable only if these windows are not
              needed for ventilation or as an alternate exit in case of fire.

       10.3.7 Doors and Unit Access
             (24 CFR ~982.401(d1121(ivll. X24 CFR &982.401(k)1
              All exterior doors must be solid core and weather tight to avoid any air or water
              infiltration, have no holes, and have all trim intact.
              All interior doors must have no holes, have all trim intact, and be openable
              without the use of a key.


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            All exterior doors must have dead bolt locks.
            The unit must be able to be used and maintained without unauthorized use of
            other private properties. The building must provide an alternate means of exit in
            case of fire (such as fire stairs or egress through windows).

      10.3.8 Thermal Environment
             X24 CFR 6982.401(ell
            There must be a safe system for heating the unit, in proper operating condition.
            The heating unit must be affixed to the unit and be able to provide adequate
            heat, either directly or indirectly, to each room. The dwelling unit must not
            contain unvented room heaters that burn gas, oil, or kerosene. Electric heaters
            are acceptable. Portable heaters are not acceptable. Heating equipment also
            must not pose other unsafe conditions, such as improper flue connection or
            installation of equipment.

      10.3.9 Electrici
            [24 CFR 6982.401(8]
             The unit must not contain any electrical hazards, such as exposed electrical
             connections; broken, noninsulated or frayed wiring; improper types of wiring,
             connections or insulation, or wires lying in or near standing water or other
             hazardous locations.

      10.3.10 Smoke Detectors
            [24 CFR 6982.401(nll
             Each assisted unit must be equipped with at least one properly working battery-
             operated or hard-wired smoke detector on each level of the unit.
             Whenever possible, smoke detectors should be installed in a hallway adjacent to
             a bedroom.
             If an assisted unit is occupied by a household with hearing-impaired persons, a
             permanently installed smoke detector designed for people with hearing-
             impairments must be located in each bedroom that is occupied by a hearing-
             impaired person.

       10.3.11 Site and Sanitation
               [24 CFR ~982.401(I)1. X24 CFR ~982.401(mll
               The site and neighborhood may not be subject to serious adverse
               environmental conditions, natural or manmade. These can include dangerous
               walks or steps; instability; flooding, poor drainage, septic tank back-ups or
               sewage hazards; mudslides; abnormal air pollution, smoke or dust; excessive
               noise, vibration or vehicular traffic; excessive accumulations of trash; vermin or
               rodent infestation; or fire hazards.
               Adequate covered facilities for the disposal of rubbish must be present at the
               site, such as covered dumpsters and other covered refuse containers
               approvable by the local health and sanitation department.




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              The unit and its equipment must be in sanitary condition, and free from vermin
              and rodent infestation.

      10.3.12 Manufactured Homes/Mobile Homes HQS Requirements
             [24 CFR 982.6211
               In addition to meeting all other HQS requirements, a mobile home must meet
               the following requirements:
              •     It must be situated on a site that is stable and free from hazards such as
                   sliding or wind damage.
              •     Must be appropriately anchored by a tie down device that distributes and
                   transfers the load imposed by the unit to appropriate ground anchors to
                   resist wind overturning and sliding. Alternative types of anchors, beams
                   and foundation bolts are permissible if they meet manufacturer's
                   specifications.
                    One operable smoke detector is required.

      10.3.13 Additional Housing Quality Standards
              X24 CFR &982.401(a)(411
               The Housing Authority is authorized to enhance HQS, provided that by doing
               so the Housing Authority does not overly restrict the number of units available
               for leasing. The enhancements adopted by the Housing Authority are meant to
               ensure that assisted units are safe in relation to other units rented throughout
               Los Angeles County.
               In addition to the HQS identified by HUD, all assisted units must also be in
               compliance with the following items derived from California and Los Angeles
               County Code, in order to pass an HQS inspection.
               •    Double Cylinder Locks: Double-keyed deadbolts, or any other lock
                   requiring special knowledge or a tool to open, are prohibited in a residential
                   unit. All doors that provide an exit from the residence must be openable
                   from the inside without the need of a key or any other special knowledge,
                   effort or tool.
               •    Swimmin4 Pools: Swimming pools in multifamily structures must be
                   enclosed by a gate from 48 inches to 60 inches tall. The gate must be self-
                   closing with aself-closing latch and a protected panel must surround the
                   latch.
                    Hot Water Heater: Water heaters must have atemperature-pressure relief
                   valve and discharge line (directed toward the floor or outside of the living
                   area) as a safeguard against build up of steam if the water heater
                   malfunctions. Gas or oil-fired water heaters must be vented into a properly
                   installed chimney or flue leading outside. Electric water heaters do not
                   require venting. A gas water heater must have a safety divider or shield if it
                   is located in a bedroom or other living area.
                   If the water heater is located in a large apartment building (at least 25 units)
                   and the unit is inaccessible, staff must check inconclusive on the inspection
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               report. The item may be cleared if the owner or manager can provide
               documentation to show it has passed a local inspection.
             • Earthquake Straps for Water Heaters: Must be secured for seismic
               stability. All water heaters must be braced, anchored or strapped to
               prevent falling or movement during an earthquake.
            Garages: Garages, whether attached or detached, must be accessible. Garages
            are not to be used as a living space.

      10.3.14 Sin41e Room Occupancy(SRO)HQS Requirements
             (24 CFR X982.6051
             The HQS requirements outline in the above sections apply to SRO housing
            along with some additional requirements for access, fire safety, sanitary facilities,
            and space and security. The additional requirements are as follows:
                ❑ Access: Access doors to the SRO unit must have working locks for
                  privacy. The occupant must be able to access the unit without going
                  through any other unit. Each unit must have immediate access to fin►o or
                  more approved means of ext for the building, appropriately marked and
                  leading to a safe and open space at ground level.
                ❑ Fire Safety: All SRO facilities must have a sprinkler system that protects
                  major spaces. "Major spaces" are defined as hallways and common
                  areas. SROs must also have hard-wired smoke detectors.
                ❑ Sanitary Facilities: At least one flush toilet that can be used in privacy,
                  a lavatory basin, a bathtub or shower in proper operating condition must
                  be provided for each six persons (or fewer) residing in the SRO facility. If
                  the SRO units are leased only to men, flush urinals may be substituted for
                  up to one half of the required number of toilets.
                  Sanitary facilities must be reasonable accessible from a common hall or
                  passageway, and may not be located more than one floor above the SRO
                  unit. They may not be located below grade unless the SRO units are
                  located on that level.
                ❑ Space and Security: A SRO unit must contain at least 110 square feet
                  of floor space, and at lease four square feet of closet space with an
                  unobstructed height of at least five feet, for use by the occupant. If the
                  closet space is less than four square feet, the habitable floor space in the
                  SRO unit must be increased by the amount of the deficiency. Exterior
                  doors and windows accessible from the outside the SRO unit must be
                  lockable.
             Because no children live in SRO housing, the housing quality standards
             applicable to lead-based paint do not apply.

       10.3.15 Serious Deficiencies
               Assisted units must meet all HQS performance requirements in order to pass
               an inspection. The Housing Authority has compiled the following list of specific
               conditions that are considered serious deficiencies that may cause a unit to fail
               an inspection. This list assists inspectors in making a determination regarding


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              the condition of an assisted unit; however, deficiencies are not limited to this
              list:
                1. No TPR/Drainpipe on water heater
                2. Clogged toilets/sinks/wash basins/bathtubs
                3. Torn carpet or linoleum flooring posing a tripping hazard
                4. Stretched carpet when a potential hazard exists
                5. Broken mirrors, cabinets, etc.
                6. Missing smoke detectors
                7. Vermin infestation (fleas, roaches, termites, mice, and rats)
                8. Double cylinder locks
                9. Exterior/common grounds excessive rubbish/debris accumulation and
                   overgrown grass/weeds
                10. Large holes/cracks/uneven concrete in walkway
                 11. Building with major peeling of wood trim/paint (directly affecting family's
                     unit)
                 12. Large porcelain chips or peeling paint in bathtubs/sinks/wash basin
                     exposing black surfaces/rust
                 13. Burner knobs missing on stove
                 14. Inoperable stove/refrigerator
                 15. Bathrooms where no windows are present and exhaust fans are
                     missing/inoperable
                 16. Flammable products stored near water heaters
                 17. Signs of leaking/water damage on ceiling/roof
                 18. Broken windows and larger cracks which pose a potential hazard
                 19. Algae/debris in swimming pool
                 20. Loose hand rails/guard rails
                 21. Missing/cracked switch cover plates
                 22. Closet doors off track
                 23. Bedroom window security bar release mechanism is inoperable
                 24. Inoperable window locks

       10.4   LEAD-BASED PAINT
              X24 CFR &982.401(i)l
              The Housing Authority's rental assistance programs are subject to the
              requirements of the Lead-Based Paint Poisoning Prevention Act and the
              Residential Lead-Based Paint Hazard Reduction Act of 1992. Applicable
              regulations are detailed in 24 CFR §35.
              The Housing Authority will be responsible for the collection of LBP disclosure
              information; conducting Visual Assessment inspections; assuring that Clearance



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            Examinations are conducted; collect data regarding Elevated Intervention Blood
            Lead Level (EIBLL) cases, and informing owners of their responsibilities.

      10.4.1 Disclosure
             X24 CFR S35(Subaart All
            Owners of units built before 1978 are required to disclose to lessees all available
            information about the presence of lead-based paint or lead-based paint hazards
            and provide any available record or reports pertaining to the presence of lead-
            based paint or lead-based paint hazards, before the lease is enacted.
            Lessees must also receive a copy of the lead hazard information pamphlet,
            "Protect Your Family From Lead in Your Home."
            For all new contracts, the Housing Authority will require owners to certify on the
            RTA that they have met all applicable lead-based paint disclosure requirements.
            If applicable, the Housing Authority will require owners to submit a copy of the
            lead-based paint disclosure statement, and any inspection reports.
            The Housing Authority will include a sample lead-based paint disclosure form
            and a lead hazard information pamphlet in voucher issuance packets for
            participants. Materials will be made available directly to owners upon request.
            For units built before 1978, the Housing Authority will not approve an owner
            lease without receiving all applicable lead-based paint disclosure information.

      10.4.2 Lead-Based Paint Visual Assessment
            [24 CFR X35.12151
             The Housing Authority is required to conduct lead-based paint visual
             assessments for all units built prior to 1978 that house or will house a child or
             children under 6 years of age, at the time of the new contract inspection and at
             annual inspections.
             The Housing Authority inspectors conducting lead-based               paint visual
             assessments will be trained according to HUD requirements.
            The purpose of the visual assessment is to identify any deteriorated paint.
            Deteriorated paint is paint that. is peeling, chipping, chalking or cracking, or any
            paint or coating located on an interior or exterior surface or fixture that is
            otherwise damaged or separated from the substrate. Inspectors will check the
            condition of painted surfaces. tf any deteriorated paint is found in the course of
            the inspection, the unit will fail the lead-based paint visual assessment. Owners
             must perform paint stabilization on all deteriorated paint surfaces regardless of
            the size of the deteriorated surtace. If the amount of deteriorated paint is below
            the de minimis level, the owner must perform paint stabilization, but is not
             required to perform lead-safe work practices and clearance. The de minimis
            thresholds are defined as 20 sq. ft.(2 sq. meters) on exterior surtaces; 2 sq. ft.
            (0.2 sq. meters) in any one interior room or space; or 10% of the total surface
             area on an interior or exterior type of component with a small surface area (such
             as window sills, baseboards, and trim).




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             If deteriorated paint exceeds the de minimis thresholds as defined by HUD, the
             unit will fail the lead-based paint visual assessment and require stabilization and
             a clearance report

      10.4.3 Stabilization and Clearance
             X24 CFR X35.12151
             Owners of units that fail the lead-based paint visual assessment above de
             minimis levels will be required to stabilize deteriorated paint in order for the unit
             to pass, using lead-safe work practices.
             The Housing Authority will send a letter to owners of failed units that provides
             guidance on stabilizing paint and other required activities. Owners will have 30
             calendar days from the letter date to complete the following:
            •     Repair the deteriorated paint. Work must be performed by certified lead
                 workers using lead-safe work practices. The Housing Authority will provide
                 owners with resources and information on meeting these guidelines.
             •    Obtain a Clearance Report. A contractor certified by the Environmental
                 Protection Agency (EPA) must inspect the unit and prepare a Clearance
                 Report summarizing the work completed and the inspection results.
             •    Complete the Housing Authority's Lead-Based Paint Owner
                 Certification form. The owner must certify that all applicable requirements
                 have been met.
             •    Submit Clearance Report and Certification to the Housing Authority.
                 The Housing Authority will accept paperwork by mail, fax, and hand delivery.
             The owner is responsible for informing tenants of all lead hazard reduction work
             and evaluations, in a manner consistent with HUD regulations.
             If the unit has been previously certified free of lead-based paint by a certified
             inspector, the owner may submit a copy of the inspector's report, along with the
             certification form, to the Housing Authority.
             The Housing Authority will review the Clearance Report and certification form for
             completeness. The Clearance Report must contain all information required by
             HUD. If the Clearance Report passes, the unit will receive a pass on the visual
             assessment; no further inspection visit is required.
              On new contracts inspections, the passing Clearance Report and valid
              certification form must be received by the Housing Authority before the Housing
              Authority can enter into a HAP Contract with the owner. If this does not take
              place within 30 calendar days, the Housing Authority will cancel the RTA.
              For annual inspections, if the owner fails to submit the passing Clearance Report
              and valid certification form within 30 calendar days, the Housing Assistance
              Payments (HAP) will be placed on hold (abated) for the unit and the participant
              will be issued a voucher. The owner will have an additional 60 calendar days to
              obtain and submit a valid Clearance Report before the HAP Contract is
              terminated. See Section 10.11.1 for details on abatement.
              Assisted Housing's Director will review reasonable cause requests for extension.
              Extension requests must be submitted in writing within the first 30 calendar days


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              of the failed lead-based paint visual assessment. An extension shall not extend
              beyond 90 days after the date of notification to the owner of the results of the
              visual assessment. If an extension is approved, the HAP will not be abated
              during this extension period.        Reasonable cause circumstances include
              prohibitive weather conditions, financial hardship, and rehabilitation in progress.

      10.4.4 Children with Environmental Intervention Blood Lead Levels
             X24 CFR 635.12251
              On a quarterly basis, the Division will send the Los Angeles County Department
              of Health Services Childhood Lead Poisoning Prevention (CLPP) Program the
              addresses of assisted families with children under the age of 6. CLPP Program
              staff will check the addresses for matches with cases of identified Environmental
              Intervention Blood Lead Levels (EIBLL). If a match is found, CLPP Program staff
              will conduct a Risk Assessment of the occupied unit and forward a report to the
              Division. A Risk Assessment is a comprehensive evaluation for LBP hazards
              that goes beyond the Visual Assessment component including paint testing, and
              dust and soil sampling. The Risk Assessment Report identifies lead hazards and
              appropriate lead hazard reduction methods.
              A copy of the Risk Assessment Report must immediately be forwarded to the
              participating owner once received by the Division. The owner must post a Notice
              of Lead Hazard Evaluation within 15 calendar days and complete lead hazard
              reduction and clearance activities as advised in the Report within 30 calendar
              days. The Housing Authority is not allowed to assist any other participant in the
              unit until the owner complies with the Report.
              If informed about an EIBLL case from a source other than the CLPP Program,
              the Division must submit the information to the CLPP Program within 5 calendar
              days. The CLPP Program will conduct a Risk Assessment of the occupied unit if
              required.

       10.5   INSPECTIONS SCHEDULE
              Inspections are conducted on business days between the hours of 7:00 a.m. and
              5:00 p.m. An individual over 18 years of age must be present to allow entry for
              the inspector.

       10.6    NEW CONTRACT INSPECTIONS
               X24 CFR ~982.305(bl(21)1
               Under normal circumstances, new contract (initial) inspections are conducted 7
               to 10 calendar days following the receipt of a Request for Tenancy Approval.
               The new contract inspection is conducted in order to:
                   1. Determine if the unit, including common areas, meets housing quality
                      standards.
                  2. Document the current condition of the unit. This will serve as the basis to
                     evaluate the future condition of the unit, i.e. excessive wear and tear.




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      10.6.1 When HQS Deficiencies Must Be Corrected
             If the unit fails the initial inspection, the unit will be scheduled for afollow-up
             inspection within 10 calendar days. The owner will be given 30 calendar days to
             correct the deficiencies. The owner can request an inspection sooner if repairs
             have been made prior to the scheduled follow-up inspection date.
             If the time period given by the Housing Authority to correct the deficiencies has
             lapsed, or the maximum of three failed inspections has occurred, the family must
             select another unit.
             The Housing Authority will not enter into a HAP Contract with the owner until the
             unit passes the inspection. However, the family may already be in the unit when
             the new contract inspection is conducted. If the family lives in the unit at the time
             of the new contract inspection, they are responsible for meeting their HQS
             obligations. See Section 10.8 for details of the family's HQS obligations.

      10.7    ANNUAL AND INTERIM INSPECTIONS
             [24 CFR 6982.4051

      10.7.1 Annuallnsaections
             In order to assure that units meet housing quality standards throughout the
             assisted tenancy, the Housing Authority conducts inspections at least annually.
             As stated in the family obligations, the family must allow the Housing Authority to
             inspect the unit at reasonable times and after reasonable notice. The Housing
             Authority will notify the family and/or owner of the date and time of the scheduled
             inspection appointment in writing at least 10 calendar days prior to the
             inspection.
             Appointments may be rescheduled for good cause such as, but not limited
             to, hospitalization, illness or injury. If the family fails to contact the Housing
             Authority to reschedule the inspection, or if the family misses two inspection
             appointments, the Housing Authority will consider the family to be in violation of
             the Certified Statement of Family Obligation agreement and will initiate
             termination procedures in accordance with the Housing Authority's policy for
             proposed termination. On a case by case basis the Housing Authority may
             counsel the family before proposing termination.

      10.7.2 Interim Insaections
             Interim inspections are conducted at the request of the owner, family, or agency
            (usually as a result of a violation of HQS or violation of the lease). Interim
             inspections may be scheduled and conducted at any time of the year.
      10.7.3 Comaliance ChecklHome Visit Insaections
             Compliance Check/Home Visit Inspections are conducted without prior notice to
             the family or owner. The purpose of these inspections is to verify compliance
             with the Section 8 Program. If a Compliance check/Home Visit Inspection
             occurs, the family has the right to refuse to submit and/or participate in an
             unannounced Compliance Check/Home Visit Inspection or interview.



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      10.8    FAILED INSPECTIONS: DETERMINATION OF RESPONSIBILITY
             (24 CFR 5982.404(b)l
             If deficiencies cause an assisted unit to fail an inspection, Housing Authority
             inspectors will determine who is responsible at the time of inspection.
             In accordance with family obligations, the following deficiencies are considered
             the responsibility of the family:
                 ➢ Family-paid utilities not in service;
                 ➢ Failure to provide or maintain family-supplied appliances; and
                 ➢ Damages to the unit or premises caused by a household member or
                   guest beyond normal wear and tear.
                     • "Normal wear and tear" is defined as items that could be charged
                          against the family's security deposit under state law or court practice.
              The owner is responsible for all other HQS violations. In cases such as vermin
              infestation, where burden of responsibility is not immediately clear, Housing
              Authority inspector will determine the responsible party.
              HQS deficiencies that cause a unit to fail must be corrected by the owner, unless
              the family is responsible for the deficiencies.

      10.9    FAILED INSPECTIONS: WHEN DEFICIENCIES MUST BE CORRECTED
              X24 CFR &982.404(a)(31l

      10.9.1 Emer4encv Fail Deficiencies
              Items that endanger the family's health or safety are considered emergency fails.
              These deficiencies must be corrected within 24 hours of inspection. The following
              deficiencies are considered life-threatening, emergency fails, and will cause a
              unit to be labeled uninhabitable:
                  ➢ Gas leaks
                  ➢ Major plumbing problems
                  ➢ No running water
                  ➢ No functioning toilet
                  ➢ Unstable roof/structure
              In cases where the unit is deemed uninhabitable, the family will be issued a
              voucher within 24 hours so that they can make arrangements to secure another
              residence if necessary.
              If an emergency fail deficiency is not corrected in the time period required by the
              Housing Authority, and the owner is responsible, the housing assistance
              payment will be abated immediately and the contract will be terminated.
               If repairs are completed and the family wishes to move back into the unit, a new
               RTA will need to be submitted for that unit and the New Contract Process will
               need to be completed again.




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             If the emergency fail deficiency is not corrected in the time period required by the
             Housing Authority, and the family is responsible, the Housing Authority will
             terminate the family's assistance for violating family obligations (see Chapter 15:
             Family Obligations), but will not abate the payment to owner for that month.

      10.9.2 Non-Emeraencv Fail Deficiencies
             Non-emergency deficiencies that cause a unit to fail the inspection must be
             corrected within a 30 calendar-day cycle. The family and owner will be notified of
             the failed items in writing. Within the 30 calendar days from the notification letter,
             the owner and family must make the appropriate corrections and notify the
             Housing Authority so that afollow-up inspection can be scheduled.
             If the necessary repairs have been completed prior to the next scheduled
             inspection, the owner or tenant may request an earlier inspection date. Requests
             for earlier repair dates will be reviewed and accommodated in a case-by-case
             basis.
             For major repairs, the Inspections Housing Unit Supervisor or Housing
             Supervisor may approve an extension beyond 30 calendar days. However, this
             extension cannot exceed 60 calendar days.
             If the family is not at home for the follow-up inspection appointment, a card will
             be left at the unit with instructions. A second follow-up inspection will be
             scheduled automatically and the owner and family will be notified by mail.
             If owner-caused deficiencies are not corrected in the time period required by the
             Housing Authority, housing assistance payments will be abated and the contract
             may be terminated. If family-caused deficiencies are not corrected in the time
             period required by the Housing Authority, housing assistance may be terminated.
             See Sections 10.10 and 10.11 below for more information.

      10.9.3 Non-Emeraencv Fail Deficiencies Not Re4uirin4 Follow-ua Inspection
             The following deficiencies will not require afollow-up inspection if cleared by
             proper owner certification:
                 ➢ Inoperable gas wall or floor heater
                 ➢ Damaged (not missing) outlet covers
                 ➢ Inoperable secondary smoke detectors
                 ➢ Presence of vermin/roaches (not infestation)
                 ➢ Minor faucet and/or plumbing leaks
              These deficiencies must be cleared by a certification signed by owner and
              participant. Appropriate third-party documentation must also be supplied where
              appropriate, including a utility receipt, invoice, or Gas Company tag. If the
              certification is not approved by a supervisor, a follow-up inspection must be
              performed.




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      10.10 CONSEQUENCES OF VERIFIED FAMILY-CAUSED DEFICIENCIES
            X24 CFR ~982.552(all
            The family has a responsibility to maintain the assisted unit in good condition and
            to notify the owner of needed repairs. If non-emergency violations of HQS are
            determined to be the responsibility of the family, the Housing Authority will
            require the family to make any repairs) or corrections within the 30 calendar-day
            cycle. Housing assistance will be terminated if an assisted unit continues to fail
            housing inspections for family-caused deficiencies or the family fails to keep
            scheduled appointment(s). See Chapter 15 (Family Obligations) for more
             information.
            Extensions will be granted on a case-by-case basis and must be approved by the
             Unit Supervisor.
             If it has been concluded that all deficiencies are family-caused, the owner's rent
             will not be abated for such items.

      10.11 CONSEQUENCES OF VERIFIED OWNER-RELATED DEFICIENCIES
            X24 CFR ~982.404(a1. 24 CFR X982.452 and 24 CFR &982.4531
             The owner is responsible for maintaining the unit in accordance with HQS. When
              it has been determined that an assisted unit fails to meet HQS,the owner of that
              unit is responsible for completing the necessary repairs) in the time period
             specified by the Housing Authority. If the owner fails to correct deficiencies
              within the specified time period, the Housing Authority is obligated to withhold
             (abate) housing assistance payments.

      10.11.1 Abatement
              X24 CFR &982.453(b) and 24 CFR §982.404(a)(3)]
                Abatement is defined as withholding Housing Assistance Payments (HAP) to
                the owner for the period of time the unit is out of compliance with HQS
                requirements.
                HAP will be abated if:
                1. The assisted unit fails the first and second housing inspections due to
                   owner-related deficiencies.
                   If a unit fails the first inspection due to owner-related deficiencies, the notice
                   sent to the owner stating the deficiencies, repairs that need to be made,
                   and the date of the next inspection will also serve as notice that HAP will be
                   abated if the unit fails a second inspection due to owner-related
                   deficiencies.
                    If, after the 30-day correction period, the unit then fails the second
                    inspection due to owner-related deficiencies, the Housing Authority will stop
                    payment on the first day of the month following the expiration of the 30-day
                    correction period.
                    The owner will be notified of the date of a final inspection. Under normal
                    circumstances, the Housing Authority will inspect an abated unit within 30
                    calendar days after the abatement notification has been issued.



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                  If the owner makes repairs during the abatement period, HAP payments will
                  resume on the day the Housing Authority's inspector has verified the
                  corrections and the unit passes inspection.
                  A 30-day calculation standard will be used to reconcile abatement
                  payments. Please refer to memo dated 3/3/05.
                  No retroactive payments will be made to the owner for the period of time
                  the rent was abated and the unit did not comply with HQS. The notice of
                  abatement states that the family is not responsible for the Housing
                  Authority's portion of rent that is abated. However, the family is responsible
                  to pay its portion of the rent while abatement is in effect.
                  If an assisted unit fails the third and final housing inspection for owner-
                  caused deficiencies, the Housing Authority will terminate the HAP Contract.
                  The Housing Authority will notify the owner of the termination in writing 30
                  calendar days before it becomes effective. Abatement will remain in effect
                  until the effective date of the termination.
                  The Housing Authority is prohibited from implementing rent abatement for
                  family-caused deficiencies. However, abatement will apply if family-caused
                  and owner-related deficiencies exist together.
               2. The Housing Authority has verified that the assisted unit has
                  emergency fail deficiencies, and the owner did not complete the
                  necessary repairs within the required timeframe.
               3. A unit built before 1978 that houses or will house a child under 6
                  years of age fails the lead-based paint visual assessment, and the
                  owner fails to submit a complete, passing clearance report and
                  certification within 30 calendar days. Owners will receive notice by mail
                  if a unit fails the lead-based paint visual assessment. They will have 30
                  calendar days from the date of the notice to perform clearance and submit
                  passing papervvork. If the owner fails to meet these requirements (see
                  Section 10.4 for more information on lead-based paint), HAP will be abated
                  and the Housing Authority will stop payment on the first day of the month
                  following. The participant will be issued a voucher. The owner will have an
                  additional 60 calendar days to obtain and submit a valid Clearance Report
                   before the HAP Contract is terminated.
               Families that reside in units that have been abated will be issued a voucher
               and will have the option to move even if the assisted unit passes inspection at
               the third and final inspection (this excludes participants of the Moderate
               Rehabilitation Program).

       10.11.2 Termination of Contract
              [24 CFR 5982.453(b)]
                When the HAP Contract has been terminated, the family will be required to
                move in order to continue receiving rental assistance.
               RTA submitted for units that have been terminated due to abatement will be
               reviewed on a case-by-case basis. In cases where the RTA is accepted, the
               family will be brought in for counseling on their situation.



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      10.12 QUALITY CONTROL INSPECTIONS
            X24 CFR 6982.405(b)1
           To ensure efficient program operations, it is essential for management to apply
           sound quality control practices. The purpose of quality control inspections is to
           objectively ascertain that each inspector is conducting accurate and complete
           inspections, and to ensure that there is consistency among inspectors in
           application of HQS.
            Quality control inspections will be performed by a Quality Assurance
            Representative according to SEMAP Indicator #5 which meets the minimum
            quality control sample size for the number of units under HAP contract during the
            last completed Housing Authority fiscal year for SEMAP.




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                               CHAPTER 11:
      SETTING PAYMENT STANDARDS AND DETERMINING RENT REASONABLENESS

      11.1   INTRODUCTION
             X24 CFR &982.503]
             The Housing Authority is responsible for ensuring that the rents charged by
             owners are reasonable based upon objective comparables in the rental market.
             When the Housing Authority has determined that the unit meets the minimum
             HQS, that the lease is approvable, and that the rent is reasonable, it will make
             timely payments to the owner and notify the owner of the procedures for rent
             adjustments in the rental assistance programs. This chapter explains the
             Housing Authority's procedures for setting and adjusting the payment standards
             and performing rent reasonableness analysis.

      11.2   PAYMENT STANDARDS FOR THE VOUCHER PROGRAM
             X24 CFR 6982.503(b)(1)]
             HUD regulations allow the Housing Authority to set Payment Standards at a level
             that is between 90 percent to 110 percent of the Fair Market Rent for Los
             Angeles County. The Housing Authority must set the payment standard at a
             level that is high enough to ensure that families are able to afford quality housing
             while also balancing the need to provide assistance to as many families on the
             waiting list as possible.
             The Housing Authority will review the payment standards at least annually to
             determine whether an adjustment should be made for some or all unit sizes. The
             following provides a list of the factors that will be used to evaluate the adequacy
             of the payment standard and/or be used to make a determination to adjust
             standards, as appropriate.

      11.2.1 Assisted Families' Rent Burdens
             The Housing Authority will review reports showing the percent of income used for
             rent by voucher families to determine the extent to which the rent burden is more
             than 50 percent of income.
             If more than 40 percent of program families in the overall program, or for a
             specific unit size, are contributing in excess of 50 percent of their adjusted
             monthly income towards rent, the Housing Authority will consider increasing the
             voucher payment standards. The payment standard will not be raised if:
             •    The payment is already at the maximum level HUD will allow (110%).
             •    The Housing Authority would have to reduce the number of new admissions
                 by 20 percent or more for the upcoming year in order to fund the increase.

       11.2.2 Success Rate of Voucher Holders
              The Housing Authority will periodically review the success rate of voucher
              holders. If 25 percent or more of new admissions and/or families wishing to move
              are unable to use the vouchers due to current rental rates in Los Angeles



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             County, the Housing Authority will consider increasing the payment standard for
             particular unit sizes and/or the entire program, as appropriate.
             The payment standard will not be increased if:
                 The payment is already at the maximum HUD will allow(110%)
             •    The Housing Authority would have to reduce the number of new admissions
                 by 20 percent or more for the upcoming year in order to fund the increase

      11.2.3 Rent Reasonableness Database
             The Housing Authority will review the rent information in the rent reasonableness
             data bank and compare it to the payment standards established for the Housing
             Choice Voucher Program. If the rent reasonableness review indicated that the
             payment standards are higher than the average rental unit in Los Angeles
             County, the payment standard for the specific unit size, or all payment standards,
             will be lowered to reflect the current market rents.

      11.2.4 Quality of Units Selected
             The Housing Authority will review the quality of units selected by participant
             families before determining any change to the Payment Standard to ensure that
             Payment Standard increases are only made when needed to reach the mid-
             range of the market.

      11.2.5 File Documentation
             A file will be retained in the Housing Authority's Administrative Support Unit for at
             least 3 years to document the analysis and findings to justify whether or not the
             Payment Standard was changed.

      11.3    RENT REASONABLENESS DETERMINATIONS
             [24 CFR X982.507]
             Rent reasonableness determinations are made when units are placed under HAP
             contract for the first time, when an owner requests a rent increase, and at the
             HAP contract anniversary if there is a 5 percent decrease in the published fair
             market rent (FMR) in effect 60 days before the HAP contract anniversary. The
             Housing Authority will determine and document on a case-by-case basis that the
             approved rent[24 CFR §982.507(b) and §982.507 (c)]:
             1. Does not exceed rents currently charged on new leases by the same owner
                for an equivalent unassisted unit in the same building or complex, and
             2. Is reasonable in relation to current asking rents and existing rents charged by
                other owners for comparable units in the unassisted market.
              The Housing Authority contracts with an outside agency to provide the Rent
              Comparable System, RENTELLECT. This system considers a variety of criteria
              to provide rent comparable information, including:

                  ➢ Unit location
                     Quality


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                ➢ Size
                    Type
                ➢ Age of the contract unit
                 ➢ Amenities
                 ➢ Housing services
                 ➢ Maintenance; and
                 ➢ Utilities provided by the landlord.
             RENTELLECT applies a statistical methodology to calculate a predicted or
             probable market rent for the unit and a reasonable range of market rent. In
             cases where there are insufficient data records in a given area to establish
             comparables for a given unit, RENTELLECT groups and utilizes similar unit
             profiles from adjacent census tracts to determine a reasonable market range.
             The median amount is used, unless an exception is approved by a Division
             Manager.

      11.3.1 Appealing a Rent Reasonableness Determination
             If the owner of the property disagrees with the rent reasonable determination, the
             owner may appeal the decision in writing by submitting an appeal that includes a
             list of comparable rental units that the owner has found to justify their requested
             rent amount.
             Before using a list of rental units submitted by the owner, the Housing Authority
             would confirm that the units are indeed comparable using the criteria outlined
             above. If the units are not comparable, the Housing Authority will not use these
             units in the rent comparability survey and the owner will be notified of the
             decision. If it is determined that the list of rental units provided by the owner are
             comparable the Housing Authority will use the information and redetermine rent
             reasonableness.

      11.3.2 Rent Increases
             X24 CFR G982.5191
             As stated in the HUD Tenancy Addendum, the owner must notify the Housing
             Authority at least 60 days before the proposed effective date of any intended rent
             increase. The tenant must be notified in writing, and the written notice must be
             submitted to the Housing Authority.
              As authorized by the HAP contract, the Housing Authority will not approve a rent
              increase if the HAP contract is in abatement for owner-related HAS deficiencies.
              In accordance with the HUD Tenancy Addendum, the Housing Authority will
              disapprove requests made during the initial term (first 12 months) of a lease.
              The Housing Authority will use the same criteria defined above to determine if a
              request for a rent increase meets the rent comparability requirement. If the new
              rent is not rent comparable, the Housing Authority will advise both the owner and
              the family that the increase cannot be approved. If a partial rent increase can be
              approved, the Housing Authority will notify the owner, and process the partial
              increase upon owner approval.


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           An owner who disagrees with the determination may exercise any of the
           following options:
               Appeal the rent comparability determination using the steps outlined above.
               Adjust his/her request for a rent increase.
               Serve the family with a proper termination notice.




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                                          CHAPTER 12:
                                        RE-EXAMINATION

      12.1   INTRODUCTION
             X24 CFR &982.516(a)1
             To assure that tenancy is restricted to participants meeting the eligibility
             requirements for continued occupancy and are charged appropriate rents; the
             eligibility status of each participant is re-examined at least annually, based on the
             anniversary date of the HAP contract, per HUD requirements.
             The Housing Authority will only change the anniversary date at the time of a new
             contract, and at other times as necessary, per management approval.

      12.1.1 Procedure
             To maintain program efficiency and integrity, the Housing Authority at its own
             discretion may conduct re-examination interviews by mail or in-person. The
             Housing Authority will attempt to conduct all annual re-examinations interviews
             through the mail. Annual re-examinations not completed through the mail
             process will be conducted in person.

      12.2   RE-EXAMINATION NOTIFICATION TO THE FAMILY
             Participating families are advised of the annual re-examination requirement and
             the importance of reporting income and family composition changes as they
             occur during the initial re-examination.

      12.2.1 Persons with Disabilities
             X24 CFR ~8.24(all
             Persons with disabilities who are unable to come in to the Housing Authority's
             office will be granted a reasonable accommodation of conducting the interview at
             the person's home or by mail, upon verification that the accommodation
             requested meets the need presented by the disability.

      12.2.2 Requirements to Attend
              If it is determined that a participant (family) will need to come to the Housing
              Authority's office then all adult household members 18 years and older will be
              required to attend the re-examination interview.

       12.2.3 Failure to Resaond
              If a family fails to complete or return the required re-examination documents
              within the specified timeframe, the Housing Authority will schedule the family for
              a mandatory appointment. The appointment letter will provide the date and time
              of the appointment and a list of items that family will need to bring. Additionally,
              the appointment letter will serve as a proposed termination notice and will contain
              the date of termination as well as a specified timeframe to request an informal
              hearing.



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            If the family fails to attend the appointment or fails to bring all the required
            information and has not requested an informal hearing, Housing Assistance
            Payments will be stopped.
            If the family is able to provide documentation of an emergency situation that
            prevented them from completing the required re-examination documents or
            attending the mandatory appointment, the Unit Supervisor at his/her own
            discretion may, on a case-by-case basis reschedule the appointment.

      12.2.4 Documents Required from the Family
            The re-examination documents will include instructions and appropriate forms
            that need to be submitted to complete the re-examination. The required forms
            and documentation are the following:
                1. Documentation of income for all family members;
                2. Documentation of assets;
                3. Documentation of medical or child care expenses;
                4. Certified statement of family obligations; and
                5. Consent for Release of Information (signed by all household members
                   over 18 years of age).
             Verification of these documents will be conducted in accordance with Housing
             Authority procedures and guidelines described in this plan.

      12.2.5 Tenant Rent Increases
            If the tenant rent increases, a 30-day notice of increase in rent is mailed to the
            family before the anniversary date.
             If less than 30 calendar days are remaining before the anniversary date, the new
             tenant rent will be effective on the first of the month following the 30-day notice.
             If the Housing Authority was unable to process the re-examination on a timely
             basis due to the family's failure to provide re-examination documents, then the
             rent increase will be effective retroactive to the appropriate anniversary date.
             If the family causes a delay in the re-examination processing, there will be a
             retroactive increase in rent to the anniversary date. In this particular case, the
             owner will receive a retroactive HAP payment and every effort will be made to
             recover lost rent from the tenant.

       12.2.6 Tenant Rent Decreases
             If the tenant rent decreases, it will be effective on the anniversary date.
             If the family causes a delay so the processing of the re-examination is not
             completed by the anniversary date, the rent change will be effective on the first
             day of the month following the completion of the re-examination processing.




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      12.3    INTERIM RE-EXAMINATION
             [24 CFR ~982.516(b)1311
             No TTP adjustments will be affected between dates of periodic re-examination or
             pre-scheduled re-examinations except as noted below:
             Tenants are required to submit information affecting eligibility income at all re-
             examinations. Additionally, tenants are required to report the following changes
             in family circumstances:
                 1. Changes in family composition, including loss or addition of one or more
                    family members through death, divorce, birth, or adoption [24 CFR
                    §982.516(c)], and
                 2. Changes in family income including increases and decreases for income
                    received by the family.
             A family is required to report these changes to the Housing Authority within 30
             calendar days after the change has occurred. The Housing Authority will verify
             all reported information that will result in an interim reexamination.
              The U.S. citizenship/eligible immigrant status of additional family members must
              be declared and verified as required at the first interim or regular re-examination
              after moving into the unit. See Section 7.10.7 (Verification of Citizenship/Eligible
              Immigration Status)for details.

      12.3.1 Interim Chan4es in Income
             • Decreases: If the information provided results in a decrease in tenant rent, a
                 modification to the HAP Contract is executed to be effective the first of the
                 month following the month in which the required documentation is supplied by
                the participant.
             •     Increases: If the information provided results in an increase in tenant rent,
                 the Housing Authority may conduct an interim re-examination, or may flag the
                 file and make adjustments at the annual re-examination. In either case, the
                 tenant will be notified in writing at least 30 calendar days in advance of an
                  increase.

      12.4    SPECIAL ADJUSTMENTS
              If, at the time of re-examination, a family is clearly of low-income, and it is not
              possible to make an estimate of the family's income for the next 12-month period;
              A special re-examination will be scheduled to accommodate the family's
              circumstances. This includes cases where:
                  1. A tenant is unemployed and there are no anticipated prospects of
                     employment, or
                  2. The conditions of employment and/or receipt of income are too unstable
                     to validate usual and normal standards for determination. An interim re-
                     examination will be scheduled for families with zero or unstable income
                     every 3 months.
              Families whose past employment has been sporadic or who are on welfare,
              become employed, then are unemployed, or are self-employed, will not be given


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             special re-examination. If such an income pattern has been established and is
             expected to continue, then a reasonable 12-month estimate of the income may
             be based upon past income and present rate of income.
             Furthermore, special re-examinations must be clearly set for a definite time to
             assure compliance.

      12.5    CHANGES IN FAMILY COMPOSITION
             [24 CFR 6982.516(c) and 24 CFR ~982.551(h)(2)]
              The composition of the assisted family residing in the unit must be approved by
              the Housing Authority. An interim re-examination will be conducted for any
              changes in family composition.
             The Housing Authority may verify changes in family composition as detailed in
             Section 7.10.5.

      12.5.1 Allowable Familv Additions
             X24 CFR 5982.551(h)(2ll
              Allowable family additions are the following:
              1. Addition due to birth, adoption or court awarded custody
                  ➢ Must be reported to the Housing Authority, in writing, within 30 calendar
                    days of the occurrence. Families should notify the owner and comply with
                    any lease requirements to obtain owner approval.
              2. Other allowable persons:
                  ➢ The family must request approval from the owner and the Housing
                    Authority before the person is added. Anyone who moves into the unit
                    without written owner and Housing Authority approval is considered an
                    unauthorized person.
                     • Addition of marriage/or marital type relation (i.e., couples that certify
                       that they intend to live in the same principal residence indefinitely and/
                       or register in California as domestic partners);
                     • Addition of a minor who is a child of the head of household, co-head,
                       spouse or marital-type partner, who have been living elsewhere; and
                     • Addition of a Housing Authority-approved live-in aide;
                     • Addition of an adult child due to recent discharge from the military.
              As part of the approval process, the Housing Authority conducts a criminal
              background check, and may also conduct a credit review, on all new potential
              family members, 18 years of age and older. Criminal records will only be used to
              screen new household members. They will not be used for lease enforcement or
              eviction of residents already receiving tenant-based rental assistance.
              If an approved change requires a larger size unit due to overcrowding, the
              change in voucher size will be made effective immediately (see Chapter 5). The
              Housing Authority will determine the assistance, based on funding availability.




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      12.5.2 Decreases in Family Size
             When a family member leaves the household, the absence must be reported to
             the Housing Authority, in writing, within 30 calendar days of the occurrence, as
             detailed in Section 6.8.9 (Reporting Absences to the Housing Authority). The
             change in family composition may impact the voucher size, as explained in
             Chapter 5(Subsidy Standards).
             If a decrease in family size results in a decrease of the voucher size, the Housing
             Authority may exercise the option to downsize the family's voucher size and
             require the family to move.
             Generally, families will be asked to move if the unit is finro bedrooms or larger
             than the family is eligible to rent. When this is necessary, the family will be
             granted 120 calendar days to locate another suitable unit. Extensions are
             granted in accordance with the policy outlined in Chapter 8 (Voucher Issuance
             and Briefings).
             However, if the family's Total Tenant Payment unit does not exceed 50 percent
             of the family's monthly-adjusted income, the family will be allowed to remain in
             the unit.

      12.6    CONTINUATION OF ASSISTANCE FOR "MIXED" FAMILIES
             [24 CFR &5.504(b)1
             Families that include at least one citizen or eligible immigrant, and any number of
             ineligible members, are considered "mixed" families.
             "Mixed" families that were participants on or before June 19, 1995, shall continue
             full assistance if they meet the following criteria:
                 1. The head of household, co-head, or spouse is a U.S. citizen or has
                    eligible immigrant status, and
                 2. All members of the family other than head, co-head, spouse, parents of
                    head, parents of co-head, parents of spouse, children of head, co-head,
                    or spouse are citizens or eligible immigrants. The family may change the
                    head of household designation to another adult member of the family to
                    qualify under this provision.
             If they do not qualify for continued assistance, the members) that cause the
             family to be ineligible for continued assistance may move, or the family may
             choose prorated assistance.




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                                      CHAPTER 13:
                               ALLOWABLE MOVES/PORTABILITY

      13.1   INTRODUCTION
             This chapter defines the procedures, restrictions and limitations for moving, for
             new applicants and current participants.
             As stated in HUD regulations, eligible families participating in the Housing Choice
              Voucher Program have the right to receive tenant-based voucher assistance
              anywhere in the United States, in the jurisdiction of a public housing agency
             (PHA) administering a Housing Choice Voucher program. This program feature
              is called "portability." This chapter includes the Housing Authority's procedures
             for new applicants and current participants that "port out" of the Housing
              Authority's jurisdiction.
              Additionally, this chapter specifies the Housing Authority's policies for receiving
             "incoming ports" from other public housing agencies.
              The option of portability does not apply to families assisted under the Moderate
               Rehabilitation Program.

      13.2    ALLOWABLE MOVES AND RESTRICTIONS

      13.2.1 Restrictions on Moves
              The Housing Authority may deny families permission to move if:
                 ➢ There is insufficient funding for continued assistance;
                  ➢ The family has violated a family obligation;
                  ➢ The family is in the initial term of the lease (see 13.2.4 for exceptions); or
                  ➢ The family owes money to this Housing Authority or another PHA. See
                    Section 17.2 (Repayment Agreements for Families) for more information
                    on allowable moves for families with repayment agreements.
              In the event of insufficient funding, the Housing Authority is approved to deny
              new and assisted families permission to move if the family chooses to move to a
              higher cost area. New or assisted families will not be permitted to move to a
              different public housing agency's jurisdiction if the new HAP is higher than the
              current HAP subsidy for a participant, or the estimated HAP for an applicant,
              unless the receiving PHA chooses to absorb the new or assisted family into their
              Section 8 program.

       13.2.2 Allowable Moves for New Aaplicants
             [24 CFR $982.353]
              A family who lives and/or works in the Housing Authority's jurisdiction at the time
              they are admitted to the Housing Choice Voucher Program may choose, as their
              initial housing:
                   ➢ To remain in their current unit (this is referred to as leasing-in-place);
                  ➢ A unit anywhere within this Housing Authority's jurisdiction; or


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                ➢ A unit outside of this Housing Authority's jurisdiction. For more
                  information, see the Outgoing Portability section of this chapter.
             A family who does not live or work in this Housing Authority's jurisdiction at the
             time they are admitted to the Housing Choice Voucher Program must initially
             locate a unit within this Housing Authority's jurisdiction in order to receive
             assistance. The family does not have any right to portability until they have
             resided in this Housing Authority's jurisdiction for at least 12 months [24 CFR

                 ➢ Under limited conditions, the Housing Authority may waive this
                   requirement. Examples of situations that may warrant an exception to
                   this rule include life-threatening situations or as a reasonable
                   accommodation. However, in all cases both the Housing Authority and
                   the receiving jurisdiction must agree to allow the move. If the receiving
                   public housing agency does not agree, the Housing Authority will not
                   approve a transfer[24 CFR §982.353(c)(3)].

      13.2.3 Allowable Moves for Current Particigants
             f24 CFR &982.3141
             A family that initially receives assistance for a unit leased in this Housing
             Authority's jurisdiction may request to move to another unit and receive
             continued assistance. Families in good standing may move with continued
             assistance if:
                 1. The assisted lease for the old unit has ended because the Housing
                    Authority has terminated the HAP contract for owner breach [24 CFR

                 2. The lease was terminated by mutual agreement of the owner and the
                    family [24 CFR §982.314(b)(1)(ii)]. The Housing Authority must receive a
                    copy of this notice;
                 3. The owner has given the family a notice to vacate for reasons other than
                    a lease violation [24 CFR §982.314(b)(2)]. The Housing Authority must
                    receive a copy of this notice; or
                 4. The family has given proper written notice of lease termination after the
                    initial lease term and in accordance with State law. This generally
                    requires a 30-day notice; however, the Housing Authority recommends
                    that families provide a 60-day notice in order to ensure a smooth
                    transition to the new unit [24 CFR §982.314(b)(3)]. The Housing
                    Authority must receive a copy of this notice.
              A family is considered to be in good standing if they have not violated the terms
              of the lease, any program regulations and do not owe any money to this Housing
              Authority or another public housing agency.
              Families that are eligible to move with continued assistance may choose to move
              to a unit that is:
                  ➢ Within this Housing Authority's jurisdiction. This type of a move is
                    called a "reserve vacate." This means that the family is moving from a
                    unit, which could result in a temporary vacancy in the program until


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                   another unit is secured; however, the slot remains reserved for the family
                   until the time they lease another unit.
                ➢ Outside Housin4 Authority's jurisdiction. See the Outgoing Portability
                  section of this chapter for more information.

      13.2.4 Restrictions on Moves During the Initial Lease
             X24 CFR ~982.314(c)and 6982.314(e)]
             Generally, families will not be permitted to move during the initial lease (12
             months), or more than once in any 12-month period except as noted below:
                1. Life-Threatening Situations (witness to or victim of a crime, victims of
                   domestic violence, dating violence, and stalking; HQS emergency items,
                   natural disaster, unsafe environment, etc.)
                2. Reasonable Accommodation: A family may request to move to
                   accommodate a disability. The Housing Authority may approve the move
                   as a reasonable accommodation and grant the request to move.
                   However, the owner of the properly must agree to release the tenant from
                   the lease.
                3. Mutual Termination: The family and the owner agree to mutually
                   terminate the contract. If a family requests to terminate a HAP contract
                   based on a mutual termination more than once in a 12-month period, the
                   Housing Authority may review the reason for the mutual termination. If the
                   owner is requesting a mutual termination in lieu of enforcing tenant
                   obligations under the lease, and there is evidence that the family has
                   committed violations of the lease, the Housing Authority may terminate
                   the family for non-compliance with family obligations.

      13.3   PROCEDURES FOR MOVES FOR CURRENT PARTICIPANTS
             X24 CFR ~982.314(dll
             Eligible families who wish to move must first provide the Housing Authority a
             written notice of their intent to move. Once the Housing Authority has received
             the intent to move notice, the family will be issued a new voucher. If there are no
             reported changes to the family's income and/or family composition, the Housing
             Authority will not be required to conduct a reexamination of families whose
             reexaminations have been completed within the last 12 months. If there are
             changes to the family's income and/or family composition, a reexamination will
             be conducted before a new voucher may be issued.
             At the same time the voucher is issued, the family will receive a Request for
             Tenancy Approval (RTA). The family should begin looking for housing
             immediately in order to ensure a smooth transition to the new unit.
             Requests to move for families wishing to port to another jurisdiction must be
             submitted in writing.
             To initiate the lease termination, the family must send a written notice to the
             owner and the Housing Authority no less than 30 calendar days before the
             vacate date. A contract may not be drafted without the proper notice to move.



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      13.4    OUTGOING PORTABILITY PROCEDURES
             [24 CFR 5982.355(c►l
             Both new applicants and current participant families must first identify the new
             jurisdiction where they will be moving. Once the Housing Authority has received
             this information, the Housing Authority will:
                  1. Notify the receiving public housing agency (PHA) that the family wishes to
                      relocate into its jurisdiction [24 CFR §982.355(c)(3)];
                 2. Advise the family how to contact and request assistance from the
                    receiving PHA [24 CFR §982.355(c)(2)]; and
                 3. Provide the following documents and information to the receiving PHA [24
                    CFR §982.355(c)(4)]:
                     •   A copy of the family's voucher, with issue and expiration dates,
                         formally acknowledging the family's ability to move under portability.
                     •   The most recent HUD 50058 form and verifications.
                     •   The Family Portability form (HUD-52665).
              New applicant families will be subject to the income eligibility requirements of the
              jurisdiction in which they will be receivin4 assistance [24 CFR §982.353(d)].

      13.4.1 Briefing for Families Wishing to Exercise Portability
              Since families wishing to move to another jurisdiction must understand that the
              policies ar~d procedures of the receiving PHA prevail, the Housing Authority will
              provide counseling for those families who express an interest in portability. This
              will include a discussion of difference in payment standards, subsidy standards,
              and income limits, if applicable.

      13.4.2 Payment to the Receiving PHA
             (24 CFR 5982.355(d) and ~982.355(el]
              If the receiving PHA chooses to administer and bill assistance on the Housing
              Authority's behalf, the Housing Authority will reimburse the receiving PHA for
              costs associated with administering the voucher, as specified in HUD regulations.
              The receiving PHA must submit to the Housing Authority the initial billing no later
              than 60 days following the expiration date of the family voucher issued or within
              10 days of an executed contract.
              The Housing Authority will ensure that the receiving PHA receives all subsequent
              monthly payments no later than the fifth working day of each month.

      13.5    INCOMING PORTABILITY PROCEDURES
              (24 CFR X982.3551
              Eligible participants in the Housing Choice Voucher Program in other public
              housing agencies may be assisted in the Housing Authority's jurisdiction.
              For a family to port in to the Housing Authority's jurisdiction, the Housing
              Authority must receive, from the initial PHA:


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                ➢ The Family Portability form (HUD-52665) with Part I completed.
                ➢ A copy of the family's voucher with a valid expiration date.
                ➢ The most recent HUD 50058 form and required income verifications
                  supporting the form.

      13.5.1 Policies on Absoration and Administration
             X24 CFR 6982.355(d) and ~982.355(e)]
            For incoming ports, the Housing Authority may, if funding permits, accept a family
            with a valid voucher from another jurisdiction and absorb the voucher. The
            Housing Authority may also exercise the option to administer the initial public
            housing agency's voucher and bill the initial PHA as authorized in the
            regulations.
            If the Housing Authority chooses to administer, it will submit to the initial PHA an
            initial billing no later than 60 days following the expiration date of the family
            voucher issued or within 10 days of an executed contract to ensure timely receipt
            of payment.
             All subsequent monthly billing payments are to be received by the Housing
             Authority no later than the fifth working day of each month.

      13.5.2 Income and Total Tenant Payment Review
            [24 CFR 6982.355(c)1
             The Housing Authority will conduct an initial review of all incoming port families.
             The Housing Authority will:
                 ➢ Conduct criminal background and registered sex offender registration
                   checks of family members(see Section 13.5.3 below).
                 ➢ Verify identifying documents,family income and composition.
                 ➢ As necessary, the Housing Authority will change the bedroom size of a
                   family's voucher to comply with the Housing Authority's subsidy
                   standards. If this occurs, the family will be notified in writing of the
                   change.
                 ➢ If family income documents are missing or there has been a change in
                   the family's circumstances, the Housing Authority may re-determine the
                   family's TTP.
                 ➢ For incoming port families who have not yet leased a unit under the
                   Housing Choice Voucher Program (initial applicants), the Housing
                   Authority must verify that the family meets the Housing Authority's income
                   limits.
             If a re-determination is necessary, the Housing Authority will not delay issuing the
             family a voucher or otherwise delay approval of a unit unless the re-
             determination reveals that the family is not eligible for assistance in the Housing
             Authority's jurisdiction. In such cases, the family will be referred to the initial PHA
             for further assistance [24 CFR §982.355(c)(4)].
             In general, all families porting into the Housing Authority's jurisdiction will be
             issued a Housing Authority voucher. The term of the voucher may not expire


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             before the expiration date noted on the voucher issued by the initial public
             housing agency. The Housing Authority will determine whether to extend the
             voucher term, if necessary, based on the Housing Authority's policy for
             extension. The Housing Authority will notify the initial PHA if such an extension
             is granted [24 CFR §982.355(c)(6)].
             If a family that has ported into the Housing Authority's jurisdiction is unable to
             locate a unit within the allotted time authorized on the voucher, the Housing
             Authority will notify the issuing PHA that the voucher did not result in a HAP
             contract.
             Approval of any unit is subject to rent reasonableness and a passed inspection
            [24 CFR §982.401(a)(3)].

      13.5.3 Criminal Backaround Checks for Incomin4 Portability
             24 CFR &982.355(c)(9) — (101 and PIH Notice 2004-12
             The Housing Authority will conduct criminal background and sex offender
             registration checks for all incoming portability families and will not delay issuing
             the family a voucher but will take subsequent necessary action, including up to
             termination of a family's assistance (see Section 2.8 for details on screening).
             The Housing Authority will take the following steps to minimize the number of
             terminations for families that are porting into its jurisdiction:
                 ➢ At voucher issuance, families be will informed of the Housing Authority's
                   criminal background policies and that they will be going through a
                   background check and offered an opportunity to return to their originating
                   PHA.
                 ➢ If it is determined before a contract is effective that a family member is
                   unsuitable due to a criminal background check the family will be given the
                   options of returning to the originating PHA or excluding the culpable
                   family member.
                 ➢ If it is determined after a contract is effective that a family member is
                   unsuitable and the Housing Authority is billing the originating PHA, the
                   family will have the option of returning to the originating PHA or exclude
                   the culpable household member.
                 ➢ If it is determined after the contract is effective that a family member is
                   unsuitable and the Housing Authority has absorbed the contract, the
                   family will only have the option of excluding the culpable household
                   member and will not be allowed to return to the originating PHA.
              The contract will be terminated if it has been absorbed and if the family chooses
              not to exclude the culpable household member or there are no other adult eligible
              household members.

       13.5.4 Terminations
              In cases where the Housing Authority is administering a contract on behalf of
              another PHA, the Housing Authority will notify the initial PHA in writing of any
              termination of assistance within 30 calendar days of the termination.



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      13.5.5 Informal Hearings/Reviews
             X24 CFR X982.555]
            If an informal hearing is required and requested by the family, the Housing
            Authority will conduct the hearing only if the participant has been assisted within
            the Housing Authority's jurisdiction. Such hearings will be conducted using the
            regular hearing procedures included in this plan. Families who have not yet
            received assistance in the Housing Authority's jurisdiction are eligible for informal
            reviews, as detailed elsewhere in this administrative plan.
            The initial PHA will be responsible for collecting amounts owed to that public
            housing agency by the family for claims paid and for monitoring repayment. If
            the initial PHA notifies the Housing Authority that the family is in arrears or the
            family has refused to sign a Repayment Agreement, the Housing Authority will
            terminate assistance to the family.




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                                         CHAPTER 14:
                                    CONTRACT TERMINATIONS

      14.1    INTRODUCTION
              The chapter identifies the key documents/contracts that set forth the
              responsibilities of each party involved in the rental assistance relationship and
              outlines the policies and procedures under which these contracts can be
              terminated.

      14.2    DESCRIPTION OF DOCUMENTS
              There are three parties involved in the rental relationship: the assisted family, the
              owner and the Housing Authority.
              The rights and responsibilities of the assisted family are defined in the voucher or
              certificate and the Certified Statement of Family Obligations. A copy of the
              voucher or certificate is provided to the family at admission and each time a new
              voucher is issued. The family signs the Certified Statement of Family Obligations
              annually.
              The relationship between the family and the owner is outlined in the rental lease.
              Generally, the term of the lease is for one year and then turns into amonth-to-
              month tenancy. Although the Housing Authority is not a part of the lease, HUD
              regulations allow public housing agencies to act against the family for serious or
              repeated violations of the lease.
              The terms of the relationship between the owner and the Housing Authority are
              outlined in the Housing Assistance Payments (HAP) contract. The term of the
              HAP contract is the same as the term of the lease.

      14.3    TERMINATION OF THE LEASE BY THE FAMILY: MOVES
              X24 CFR 6982.309(c1]
              For continued tenant assistance, the family cannot terminate the lease until after
              the initial term of the lease except for material breach of the lease by the owner.
              The lease determines the notice period for termination to the owner. Most leases
              require, at minimum, a 30-day notification. However, the Housing Authority
              recommends that families provide a minimum of a 60-day notice in order to allow
              enough time for a smooth transition of assistance from the old unit to the new
              unit. To initiate the lease termination, the family must send a written notice to the
              owner and the Housing Authority no less than 30 calendar days before the
              vacate date.

       14.4    TERMINATION OF THE LEASE BY THE OWNER
               An owner or manager may bifurcate (separate) a lease in order to evict, remove,
               or terminate assistance to any individual who is a tenant or lawful occupant and
               who engages in criminal acts of physical violence against family members or
               others, without evicting, removing, or terminating assistance, or terminating
               assistance, or otherwise penalizing the victim of such violence which is also a
               tenant or lawful occupant.


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      14.4.1 Terminating the Lease Durinct the Initial Term of the Lease
            (24 CFR ~982.3101a11
            During the term of the lease, the owner may not terminate the tenancy except for
            good cause, which includes serious or repeated violations of the lease and/or
            violations of federal, state or local law that imposes obligations on the family in
            connection with the use of the unit.
             Under such conditions, the owner must provide both the family and the Housing
             Authority with a copy of any notice to move or eviction action. An eviction action
             is defined as a notice to vacate, or a complaint, or other initial pleading used
             under State or local law to commence an eviction action. Any eviction notice
             served to a family must.specify the grounds for the termination of the tenancy.
             An owner may commence termination of a tenancy for good cause by serving a
             legal notice of termination on the family for the following reasons:
                1. Serious or repeated violation of the terms and conditions of the lease [24•
                   CFR §982.310(a)(1)];
                2. Violation of federal, state or local law that imposes obligations on the
                   tenant in connection with the occupancy or use of the premises [24 CFR
                   §982.310(a)(2)]; and
                3. Other good cause,[24 CFR §982.310(a)(3)] including:
                   • Criminal activity by the tenant, any member of the household, a guest
                      or another person under the tenant's control that threatens the health,
                      safety or right to peaceful enjoyment of the premises by the other
                      residents, or persons residing in the immediate vicinity of the
                      premises[24 CFR §982.310(d)];
                    • Any drug-related criminal activity on or near the premises; or
                      Tenant disturbance of neighbors, destruction of property, or behavior
                      resulting in damage to the premises.

      14.4.2 Terminating the Lease After the Initial Term of the Lease
             After the initial term of the lease, the owner may terminate the lease for other
             good cause. Examples of other good cause include:
                 ➢ Business or economic reason for regaining possession of the unit;
                 ➢ Owner's desire to repossess the unit for personal or family use or for a
                   purpose other than residential property;
              When terminating the lease for business or economic reasons, the owner is
              required to provide a 90-day notice to both the family and the Housing Authority.

       14.4.3 Requests for Criminal Records by Project-Based Section 8 Owners
              f24 CFR ~5.903(d)(31l
              Project-based Section 8 owners (excludes housing choice voucher owners), that
              have contracts with the Housing Authority, may request that the Housing
              Authority obtain criminal records, on their behalf, for the purpose of eviction or



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             lease enforcement. The Housing Authority will, however, charge a fee in order to
             cover costs associated with the review of criminal records.
             Project-based owners must submit the following items in order for the Housing
             Authority to process criminal records. Owner requests must include:
                1. A copy of a signed consent form from each adult household members,
                   age 18 years and older. Included in the consent form must be a legible
                   name, the date of birth, a California Identification Number, and a Social
                   Security number. This information will be used for the sole purpose of
                   distinguishing persons with similar names or birth dates.
                2. An owner's criteria or standards for evicting drug criminals in accordance
                   with HUD regulations (§ 5.857 of 24 CFR Parts 5 et al.); or criteria for
                   evicting other criminals (§ 5.858 of 24 CFR Parts 5 et al.); or criteria for
                   lease enforcement.
             Once the Housing Authority obtains the criminal records, a determination will be
             made as to whether a criminal act, as shown by a criminal record, can be used
             as a basis for eviction or lease enforcement. The Housing Authority will base its
             determination in accordance with HUD regulations and the owner criteria.
             It is important to note that the Housing Authority will not disclose the participants
             criminal conviction record, nor the content of that record to the owner unless the
             owner is proceeding with a judicial eviction process. In the case of a judicial
             eviction, the owner must provide the Housing Authority with a certification that
             the criminal records are necessary to proceed with the eviction.

      14.5   MUTUAL TERMINATION OF THE LEASE
             In cases where the owner and the family agree to terminate the lease, both
             parties have an obligation to notify the Housing Authority in writing at least 30
             calendar days in advance of the vacate date in order that Housing Authority may
             avoid overpayment to the owner.

      14.6   TERMINATION OF THE HAP CONTRACT BY HOUSING AUTHORITY
             X24 CFR X982.453 —X982.4541
             The Housing Authority will terminate the HAP contract as follows:
              1. When the Housing Authority terminates program assistance for the family.
             2. When the owner has breached the HAP contract.
                 Any of the following actions will be considered a breach of the HAP contract
                 by the owner:
                 ➢ The owner has violated any obligation under the HAP contract for the
                     dwelling unit, including the owner's obligation to maintain the unit
                     according to housing quality standards, including any standards the
                     Housing Authority has adopted in this policy [24 CFR §982.453(a)(1)].
                  ➢ The owner has violated any obligation under any other HAP contract
                    under Section 8 of the 1937 Act (42 U.S.C. 1437fl [24 CFR




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               ➢ The owner has committed fraud, bribery or any other corrupt or criminal
                 act in connection with any federal housing program [24 CFR

               ➢ The owner has failed to comply with regulations, the mortgage or note, or
                 the regulatory agreement for projects with mortgages insured by HUD or
                 loans made by HUD [24 CFR §982.453(a)(4)].
               ➢ The owner has engaged in drug-related criminal activity [24 CFR

               ➢ The owner has committed any violent criminal activity [24 CFR

            3. If the family is required to move from a unit which is overcrowded based on
               the Housing Authority's current subsidy standards [24 CFR §982.403(a)].
            4. If funding is no longer available under the ACC[24 CFR §982.454].
               ➢ Before terminating HAP contracts on the basis of insufficient funding, the
                 Housing Authority is required to ensure that the determination of
                 insufficient funding is documented. The Housing Authority will consider
                 funding insufficient if it is determined that the projected year-end subsidy
                 falls short of the authorized budget amount.
                ➢ The Housing Authority will determine the number of families that must be
                    terminated, and will present the Board of Commissioners with a
                    recommended method for terminating HAP contracts. Following Board of
                    Commissioner and HUD notification, the Housing Authority will terminate
                    HAP contracts.
                ➢ Contracts of elderly and disabled families will not be subject to
                    termination.
                ➢ Terminated families will be placed on the waiting list and will receive a
                     preference for assistance from the waiting list.
            The Housing Authority may terminate the HAP contract if the owner has violated
            any obligation under any other HAP contract under Section 8 of the 1937 Act(42
            U.S.C. 1437 [24 CFR §982.453(a)(2)]. The Housing Authority will consider the
            following list of factors in determining whether to terminate the HAP contract for a
            violation of another HAP contract:

                ➢ The nature of the breach
                ➢ The location of the other units under contract compared to the subject unit
                ➢ The impacts on participants in other the units

            Additionally, an owner who breaches a HAP contract may be disapproved to
            participate in Housing Authority programs, as detailed in Section 9.10 (Owner
            Disapproval). The Housing Authority's rights and remedies against the owner
            under the HAP contract include recovery of overpayments, abatement or other
            reduction of housing assistance payments, termination of housing assistance
            payments, and termination of the HAP contracts.




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             Request for reasonable accommodations relating to termination of HAP contracts
             will be reviewed on a case-by-case basis.

      14.7   HAP PAYMENTS AND CONTRACT TERMINATIONS
             f24 CFR X982.3111
             When a HAP contract terminates, the Housing Authority will make payments in
             accordance with the HAP contract and depending on the reason for the contract
             termination.
             In cases involving a tenant notice to move or a mutual termination, not involving
             an eviction action, the Housing Authority will pay the owner for the entire last
             month that the family was in the unit regardless of the actual day of the month
             that the family moved out. The Housing Authority may also pay HAP on behalf
             of the family for the new unit in the same month. However, while the Housing
             Authority can pay a subsidy for two units in a given month under these
             conditions, the family may only have physical possession of one unit at a time. A
             family will be considered to have physical possession of a unit if they still have
             belongings in the unit and the key to the unit. Under such cases, the family will
             be required to pay the full rent for one of the units in its possession and the
             family's portion for the other unit[24 CFR §982.311(d)].
             In cases involving evictions, the Housing Authority will continue to pay the HAP
             until the day the family moves out or is evicted [24 CFR §982.311(b)].
             In cases involving termination of assistance due to insufficient funding, families
             will receive a minimum of 30 days notice of termination of assistance.
             In cases involving termination of assistance for reasons other than insufficient
             funding, the Housing Authority will notify the owner and the family of the
             proposed termination date. If the family, does not request a hearing or the
             hearing is decided in the Housing Authority's favor, the HAP payments will
             terminate in accordance with the notification. If a family continues to occupy the
             unit after assistance is terminated, the family is responsible for the total amount
             of rent due to the owner.
             If HAP payments are released to the owner for periods of time beyond the dates
             set forth above, the owner will be required to return all monies to the Housing
             Authority within 30 calendar days or within the time specified in any approved
             repayment agreement. The Housing Authority also reserves the right to deduct
             any monies from other HAP payments being made to the owner by the Housing
             Authority. If the owner fails to repay the HAP, the account will be forwarded for
             further action.




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                                         CHAPTER 15:
                                      FAMILY OBLIGATIONS

      15.1   INTRODUCTION
             X24 CFR 6982.552(a)]
             The Housing Authority may terminate assistance for a family because of the
             family's action or failure to act. The Housing Authority will provide families with a
             written description of the family obligations under the program, the grounds under
             which the Housing Authority can terminate assistance, and the Housing
             Authority's informal hearing procedures. This chapter describes when the
             Housing Authority is required to terminate assistance, and the Housing
             Authority's policies for the termination of assistance.

      15.2   GROUNDS FOR TERMINATION
             X24 CFR ~982.552(cl(21(iv11
             The Housing Authority will not terminate assistance of a participant who is or has
             been a victim of domestic violence, dating violence, sexual assault, or stalking, if
             the participant otherwise qualifies for assistance.
             If termination is based upon behavior resulting from a disability, the Housing
             Authority will delay the termination in order to determine if there is a reasonable
             accommodation, pursuant to law, that would cure the grounds for the termination.

      15.2.1 Form of Termination
             Termination of assistance for a participant may include any or all of the following
             [24 CFR §982.552(a)(3)]:
                 1. Refusal to enter into a HAP contract or approve a lease
                 2. Termination of HAP under an outstanding HAP contract
                 3. Refusal to process or provide assistance under portability procedures

       15.2.2 Mandatory Termination
             The Housing Authority must terminate assistance for participants under the
             following conditions:
                 1. If any member of the family fails to sign and submit to HUD or Housing
                     Authority required consent forms for obtaining information [24 CFR

                 2. If no member of the family is an U.S. citizen or eligible immigrant[24 CFR

                 3. If 180 calendar days have elapsed since the Housing Authority's last
                    housing assistance payment was made.
                 4. If any family member fails to meet the eligibility requirements concerning
                    individuals enrolled at an institution of higher education as specified in
                    Section 2.5[24 CFR §5.612].



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      15.2.3 Grounds for Termination of Assistance
             X24 CFR 5982.552(c)(11l
             The Housing Authority may at any time terminate program assistance to a
             participant, for any of the following reasons:
                1. The family violates any family obligation under the program as listed in 24
                   CFR 982.551 [24 CFR §982.552(c)(1)(i)].
                2. Any member of the family has ever engaged in serious lease violations
                   while a resident of federally assisted housing or within the past 5 years
                   has been evicted from a federally assisted housing program [24 CFR

                3. Any family member engages in drug-related or violent criminal activity [24
                   CFR §982.553(a) and §982.551(k)-(I)].
                4. The family currently owes rent or other amounts to the Housing Authority
                   or to another housing agency in connection with Section 8 or public
                    housing assistance under the 1937 Act[24 CFR §982.552(c)(1)(v)].
                5. The family has not reimbursed the Housing Authority or any housing
                    agency for amounts paid under a HAP contract to an owner for rent,
                    damages to the unit, or other amounts owed by the family under the lease
                   [24 CFR §982.552(c)(1)(vi)].
                 6. The family breaches an agreement with any housing agency to pay
                    amounts owed to any housing agency, or amounts paid to an owner by
                    any housing agency [24 CFR §982.552(c)(1)(vii)].
                 7. A family participating in the family self-sufficiency (FSS) program fails to
                    comply, without good cause, with the family's FSS contract of
                    participation (COP)[24 CFR §982.552(c)(1)(viii)].
                 8. The family has engaged in or threatened abusive or violent behavior
                    toward Housing Authority personnel [24 CFR §982.552(c)(1)(ix)].
                       "Abusive or violent behavior" includes verbal as well as physical
                        abuse or violence. Use of expletives that are generally considered
                        insulting, racial epithets, or other language, written or oral, that is
                        customarily used to insult or intimidate, may be cause for termination.
                        'Threatening" refers to oral or written threats or physical gestures that
                         communicate intent to abuse or commit violence.
                         Actual physical abuse or violence will always be cause for termination.

       15.2.4 Welfare to Work Pro4ram
              X24 CFR ~982.552(cl(11(x1]
              Failure to fulfill the obligations and conditions of the Welfare to Work program is
              grounds for termination of assistance.
              Specifically, the Housing Authority will terminate assistance for Welfare-to-Work
              families if the family fails to comply with GAIN requirements, the FSS Contract of
              Participation (CoP) and/or other required Family Self-Sufficiency requirements
              without good cause.



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      15.2.5 Registered Sex Offenders
             If it is brought to the attention of the Housing Authority that a current program
             participant is on the sex offender registration list, the Housing Authority will
             review on a case-by-case basis. The Housing Authority will consult with law
             enforcement and legal counsel and take appropriate actions based on findings.

      15.3   FAMILY OBLIGATIONS
             X24 CFR &982.5511
             Failure to abide by any of the family obligations is grounds for termination.
                1. The family must supply any information that the Housing Authority or
                   HUD determines is necessary in the administration of the program [24
                   CFR §982.551(b)]. Information includes any requested certification,
                   release or other documentation. Requirements include:
                   • Submission of required evidence of citizenship or eligible immigration
                       status(as provided by 24 CFR part 5);
                    • Disclosure and verification of social security numbers (as provided by
                       24 CFR part 5);
                    • Providing any information requested by the Housing Authority or HUD
                       for use in a regularly scheduled or interim determination of family
                       income and composition, including income, assets, and accurate
                       family composition.
                 2. The family must report all changes in family income and composition in
                    writing immediately as they occur. The owner of the unit and the Housing
                    Authority must approve changes in composition of the assisted family [24
                    CFR §982.551(b) and §982.551(h)(2)]. The family must:
                    • Report the birth, adoption or court-awarded custody of a child;
                      Request Housing Authority approval to add any other family member;
                    • Notify the Housing Authority when a family member no longer lives in
                      the unit.
                     If the Housing Authority gives approval, alive-in aide or a foster child may
                     live in the unit. Failure to report changes, making false reports and/or
                     allowing unauthorized people in the unit is cause for termination from the
                     program.
                 3. All information supplied by the family must be true and complete [24 CFR

                 4. Maintain the rental unit [24 CFR §982.551(c)]. The family is responsible
                    for any violation of Housing Quality Standards resulting from:
                         Failure to pay for tenant-paid utilities;
                     • Failure to furnish required stove and or refrigerator if to be provided by
                       family; or
                     • Damage to the unit or grounds by the family or its guests beyond
                       normal wear and tear.


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                5. The family must allow the Housing Authority to inspect the unit at
                    reasonable times and after reasonable notice [24 CFR §982.551(d)].
                6. The family may not commit any serious or repeated violation of the lease
                   [24 CFR §982.551(e)].
                7. The family must notify the owner and, at the same time, notify the
                   Housing Authority before the family moves out of the unit or terminates
                   the lease on notice to the owner. The family must promptly give the
                   Housing Authority a copy of any owner eviction notice [24 CFR

                8. The family must use the assisted unit for residence by the family. The
                   unit must be the family's only residence. The family must not sublease or
                   let the unit[24 CFR §982.551(h)(1),(6)j.
                9. The family must not assign the lease or transfer the unit. In cases where
                   there is a change in the head of household, the lease may be transferred
                   to the new Head but only with the consent of the owner of the property
                   and the Housing Authority [24 CFR §982.551(h)(7)].
                 10. Members of the household may engage in legal profit-making activities in
                    the unit, but only if such activities are incidental to primary use of the unit
                     as a residence by members of the family[24 CFR §982.551(h)(5)].
                 11. The family must supply any information or certification requested by the
                     Housing Authority to verify that the family is living in the unit, or relating to
                    family absence from the unit, including any Housing Authority-requested
                     information or certification on the purposes of family absences. The family
                     must cooperate with the Housing Authority for this purpose. The family
                     must promptly notify the Housing Authority of absence from the unit [24
                     CFR §982.551(1)].
                 12. The family must not own or have any interest in the unit [24 CFR
                     §982.551 U)l•
                 13. The members of the family must not commit fraud, bribery or any other
                     corrupt or criminal act in connection with the programs [24 CFR

                 14. The members of the family may not engage in drug-related criminal
                     activity or violent criminal activity, or other criminal activity that threatens
                     the health, safety or right to peaceful enjoyment of other residents and
                     persons residing in the immediate vicinity of the premises.
                 15. The members of the family must not abuse alcohol in a way that
                     threatens the health, safety or right to peaceful enjoyment of other
                     residents and persons residing in the immediate vicinity of the premises.
                 16. An assisted family, or members of the family, may not receive Section 8
                     tenant-based assistance while receiving another housing subsidy, for the
                     same unit or for a different unit, under any duplicative (as determined by
                     HUD or in accordance with HUD requirements) federal, State or local
                     housing assistance program [24 CFR §982.551(n)].
                 17. The family must pay only the amount authorized by the Housing Authority
                     on the approved lease. Any amount paid by the family other than the


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                   authorized amount is considered an illegal side payment and is cause for
                   termination of the housing assistance subsidy. The Housing Authority
                   may authorize additional payments for other amenities [24 CFR

                18. The family must not receive housing choice voucher program housing
                    assistance while residing in a unit owned by a spouse, parent, child,
                    grandparent, grandchild, sister or brother of any member of the family,
                    unless the Housing Authority has determined (and has notified the owner
                    and the family of such determination) that approving rental of the unit,
                    notwithstanding such relationship, would           provide reasonable
                    accommodation for a family member who is a person with disabilities
                   (See Section 9.4 for more information).
                19. The family must not have a member that has committed a crime that
                    subjects them to a lifetime sex offender registration requirement imposed
                    by any State sex offender registration program reside in the unit. This is
                    to ensure that no household member or guest is creating or maintaining a
                    threat to the health and safety of other residents or the public.

      15.3.1 Housing Authority Discretion
             X24 CFR 5982.552(c1121]
            In deciding whether to terminate assistance because of action or failure to act by
            members of the family, the Housing Authority has discretion to consider all of the
            circumstances in each case, including:
                ➢ The seriousness of the case,
                ➢ The extent of participation or culpability of individual family members, and
                ➢ The length of time since the violation occurred and more recent record of
                  compliance, and the effects of denial or termination of assistance on other
                  family members who were not involved in the action or failure to act.
            On a case by case basis the Housing Authority may counsel the family before
            proposing termination.
            The Housing Authority may impose, as a condition of continued assistance for
            other family members, a requirement that family members who participated in or
            were culpable for the action or failure will not reside and/or visit in the unit. The
            Housing Authority may permit the other members of a family to continue in the
            program.

      15.3.2 Enforcing Family Obligations
             Explanations and Terms
            •    HQS Breach: The inspector will determine if an HQS breach as identified in
                24 CFR §982.404(b) is the responsibility of the family. Families may be given
                extensions to correct HQS breaches as explained in Chapter 10.
            •    Lease Violations: The following criteria will be used to decide if a serious or
                repeated violation of the lease will cause a termination of assistance [24 CFR
                §982.310]:



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                    •   If the owner terminates tenancy through court action for serious or
                        repeated violation of the lease.
                    • If the owner notifies the family of intention to terminate tenancy for
                      serious or repeated lease violations, and the family moves from the
                      unit prior to the completion of court action, and the Housing Authority
                      determines that the cause is a serious or repeated violation of the
                      lease based on available evidence.
                    • If there are police reports, neighborhood complaints or other third-
                      party information, and the Housing Authority has verified the
                      information. Lack of receipts or other proof of rent payments by the
                      family may also be considered verification of lease violations.
            •     Family Member Moves Out: Families are required to notify the Housing
                 Authority within 30 calendar days if any family member leaves the assisted
                 household [24 CFR §982.551(h)(3)]. When the family notifies the Housing
                 Authority, they must furnish the following information:
                    • The date the family member moved out.
                    • The new address, if known, of the family member.
                    • A statement as to whether the family member is temporarily or
                      permanently absent.
                    • Related income, asset or deduction changes resulting from the
                      member moving.
             •    Limitation on Profit-making Activity in Unit X24 CFR ~982.551(h1(511: If
                 the business activity area results in the inability of the family to use any of the
                 critical living areas, such as a bedroom utilized for a business which is not
                 available for sleeping, it will be considered a violation.
                 If the Housing Authority determines that the use of the unit as a business is
                 not incidental to its use as a dwelling unit, it will be considered a violation of
                 family obligations.
             •    Interest in Unit X24 CFR ~982.551(i)]: The owner may not reside in the
                 assisted unit, under any circumstances, including as a live-in aide, regardless
                 of whether the owner is a member of the assisted family, unless assistance is
                 being provided for a mobile home and the family owns the mobile home and
                 rents the pad under the Certificate or Housing Choice Voucher Program.
             •    Fraud X24 CFR &982.551(k)]: In each case, the Housing Authority will
                 consider which family members were involved, the circumstances, and any
                 hardship that might be caused to innocent members.

       15.3.3 Drua-Related Criminal Activity
             [24 CFR ~982.553(a)(11 and Ibl(111
              Drug-related criminal activity refers to the illegal manufacture, sale, distribution,
              use or possession with intent to manufacture, sell, distribute or use a controlled
              substance[24 CFR §5.100].
              Drug-related criminal activity does not include the prior use or possession of a
              controlled substance if the family member had an addiction to the substance and


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            has recovered, or is recovering from the addiction and does not currently use or
            possess the substance and has demonstrated successful completion of a
            rehabilitation program [24 CFR §982.553(b)].
                ➢ The Housing Authority may propose termination against the family for
                  drug-related criminal activity that occurs on or off the premises of the
                  assisted unit. An arrest or conviction is not required to deny or terminate
                  assistance.
                ➢ Participants may be terminated if they have been arrested, convicted or
                  whose tenancy is being terminated due to drug-related criminal activity or
                  whose activities have created a disturbance in the building or
                  neighborhood.
                ➢ If the family violates the lease for drug-related criminal activity, the
                  Housing Authority will terminate assistance.
            In appropriate cases, the Housing Authority may permit the family to continue
            receiving assistance provided that family members determined to have engaged
            in the prescribed activities will not reside and/or visit in the unit. If the violating
            member is a minor, the Housing Authority may consider individual circumstances
            with the advice of Juvenile Court officials.

      15.3.4 Violent Criminal Activity
             X24 CFR &982.553(al(2) and (b)(2ll
             Violent criminal activity includes any criminal activity that has as one of its
             elements the use, attempted use, or threatened use of physical force against a
             person or property, and the activity is being engaged in by any family member.
             Violent criminal activity also includes activity which occurs within the family, such
             as during domestic disputes.
                 ➢ The Housing Authority may propose termination against the family for
                   violent criminal activity that occurs on or off the premises of the assisted
                   unit. An arrest or conviction is not required to deny or terminate
                   assistance.
                   Participants may be terminated if they have been arrested, convicted or
                   whose tenancy is being terminated due to violent criminal activity or
                   whose activities have created a disturbance in the building or
                   neighborhood.
                 ➢ If the family violates the lease for violent criminal activity, the Housing
                   Authority will terminate assistance.
                     Incidents or threats of abuse, or criminal activity related to abuse
                     engaged in by a member or guest of the participant's household, will not
                     be grounds for termination of the victim or threatened victim of the abuse.
             In appropriate cases, the Housing Authority may permit the family to continue
             receiving assistance provided that family members determined to have engaged
             in the prescribed activities will not reside and/or visit in the unit. If the violating
             member is a minor, the Housing Authority may consider individual circumstances
             with the advice of Juvenile Court o~cials.




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      15.3.5 ReQuired Evidence
            [24 CFR ~982.553(cll
             In determining whether to terminate assistance based on criminal activity, the
             Housing Authority may terminate assistance if the preponderance of evidence
             indicates that a family member has engaged in such activity, regardless of
             whether the family member has been arrested or convicted.
             The Housing Authority may consider arrests, convictions, no contest pleas, fines,
             city ordinance violations or other credible preponderance of evidence in
             determining if a violation has occurred.
             Preaonderance of evidence: evidence which is of greater weight or more
             convincing than the evidence which is offered in opposition to it; that is, evidence
             which as a whole shows that the fact sought to be proved is more probable than
             not. The intent is not to prove criminal liability, but to establish that the acts)
             occurred. Preponderance of evidence may not be determined by the number of
             witnesses, but by the greater weight of all evidence.

      15.3.6 Confidentiality of Criminal Records
             X24 CFR ~5.903(a)1
             Criminal records received by the Housing Authority shall be maintained
             confidential, not misused, nor improperly disseminated and kept locked during
             non-business hours. Also, all criminal records will be destroyed no later than 30
             calendar days after a final determination is made.

      15.3.7 Disclosure of Criminal Records to Family
             X24 CFR &5.903(fl and ~982.553(d)1
             The applicant or household member requesting to be added to the lease will be
             provided with a copy of the criminal record upon request and an opportunity to
             dispute the record. Applicants will be provided with the opportunity to dispute the
             record at an informal review. Participants may contest such records at an
             informal hearing.

      15.4    NOTICE OF TERMINATION OF ASSISTANCE
              In any instance where the Housing Authority decides to terminate assistance to
              the family, the Housing Authority must give the family a written notice that
              includes:
                 1. The reasons)for the proposed termination;
                 2. The effective date of the proposed termination;
                 3. Information regarding the family's right to request an Informal Hearing to
                    be held before termination of assistance; and
                 4. The date by which a request for an informal hearing must be received by
                    the Housing Authority.
              A final notice of determination and date of termination will then be sent to the
              participant if no hearing is requested within the allowable time or if the Informal
              Hearing confirms the termination.


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              The Housing Authority will simultaneously provide written notice of the contract
              termination to the owner so that it will coincide with the termination of assistance.
              The notice to the owner will not include any details regarding the reason for
              termination of assistance.

      15.5    PROCEDURES FOR NON-CITIZENS
              [24 CFR 6982.552(b1(4) and 24 CFR 65.5141
              The Housing Authority is required to terminate assistance for participant families
              in which no members are U.S. citizens or eligible immigrants. If a family member
              does not establish citizenship or eligible immigration status as required, the
              Housing Authority will prorate the assistance, or if there are no eligible family
              members remaining, the Housing Authority will propose program termination and
              provide the opportunity for an informal hearing, as explained in Chapter 16.

      15.5.1 False or Incomalete Information(No Eligible Members)
               Families are required to submit evidence and sign declarations of their
               citizenship or eligible immigration status. If the Housing Authority obtains
               substantive documentation (such as a permanent resident card or information
               from another agency) that contradicts a family member's declaration of
               citizenship, an investigation will be conducted and the individual given an
               opportunity to present relevant information.
                  ➢ If the family (or any member) claimed eligible immigrant status and the
                    USCIS primary and secondary verifications failed to document the status,
                    the family may make an appeal to the USCIS and request a hearing with
                    the Housing Authority either after the USCIS appeal or in lieu of the
                    USCIS appeal.
                  ➢ If the family member is unable to verify their citizenship, the Housing
                    Authority may give the individual an opportunity to provide a new
                    declaration as an eligible immigrant or to elect not to contend their status.
                    The Housing Authority will then verify eligible status, and terminate, or
                     prorate as applicable.
                   ➢ Assistance may not be terminated while verification of the participant
                     family's eligible immigration status is pending.
               After the Housing Authority has made a determination of ineligibility, the family
               will be notified of the determination and the reasons, and informed of the option
               for prorated assistance (if applicable) or the proposed termination.
               The Housing Authority will terminate assistance for misrepresentations or
               submission of false information.

       15.6    ZERO ASSfSTANCE (END OF PARTICIPATIONI
               j24 CFR 6982.455]
               The Housing Authority is required to automatically terminate the HAP contract
               180 calendar days after the last housing assistance payment is made to the
               owner. A family receiving no assistance may remain in the unit for up to 180
               calendar days after the last HAP payment. If the family is still in the unit after 180



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             calendar days, assistance is terminated. If within the 180-day period, an owner
             rent increase or a decrease in the TTP causes the family to be eligible for a
             housing assistance payment, the Housing Authority will resume assistance
             payments for the family.
             In order for a family to move to another unit during the 180 calendar days, the
             rent for the new unit would have to be high enough to necessitate a housing
             assistance payment.

      15.7   OPTION NOT TO TERMINATE FOR MISREPRESENTATION OF INCOME
             If the family has misrepresented any facts that caused Housing Authority to
             overpay assistance, the Housing Authority may choose not to terminate and may
             offer to continue assistance provided that the family agrees to pay the Housing
             Authority the amount owed and either pays the Housing Authority in full or
             executes a Repayment Agreement and makes payments in accordance with the
             agreement.

      15.8   MISREPRESENTATION IN COLLUSION WITH OWNER
             If the family willingly and knowingly commits fraud or is involved in any other
             illegal scheme with the owner, the Housing Authority will deny or terminate
             assistance.

      15.9   MISSED APPOINTMENTS AND DEADLINES
             X24 CFR X982.5511
             It is a family obligation to supply information, documentation, and certifications as
             needed for the Housing Authority to complete required processes. The Housing
             Authority schedules appointments and sets deadlines in order to obtain the
             required information. Failure to supply requested information can result in
             termination of assistance. Examples of failing to supply requested information
             can include: failing to sign necessary documents, failing to return documents or
             returning incomplete or altered documents, failing to complete all information
             requested on documents, etc.
             The obligations also require that the family keep all appointments and allow the
             Housing Authority to inspect the assisted unit. All scheduled inspections are
             considered "appointments."
             The family will receive information about the requirement to keep appointments,
             and the number of times that appointments are rescheduled as specified below.
             Appointments are scheduled and time requirements imposed for the following
             events and circumstances:
                 1. Eligibility for Admissions;
                 2. Verification Procedures;
                 3. Voucher Issuance and Briefings;
                 4. HQS Inspections;
                 5. Re-examinations; and



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               6. Appeals (informal Hearing/Reviews).
           Examples of good cause for missing appointments or failing to provide
           information by deadlines are medical and/or family emergencies. In such cases,
           the family may be requested to provide verification of such circumstances.
           An applicant or participant who fails to keep appointments, or to supply
           information required by a deadline without notifying the Housing Authority may be
           sent a notice of termination of assistance for failure to comply with program
           regulations.
            The family may be granted up to two opportunities before they receive a notice of
            denial or termination for breach of a family obligation. After issuance of the
            denial or termination notice, if the family offers to correct the breach within the
            time allowed to request a review or hearing, the notice may be rescinded after
            the family corrects the breach, if the family does not have a history of non-
            compliance. For families with a history of non-compliance, the Housing Authority
            may elect to hold the review or hearing.




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                                       CHAPTER 76:
                                INFORMAL REVIEWS/HEARINGS

      16.1   INTRODUCTION
             This chapter covers the Housing Authority's policy and procedures for informal
             reviews and informal hearings. This chapter defines the Housing Authority's
             responsibilities to applicants and participants.

      16.2   REASONABLE ACCOMMODATION
             Afl requests for accommodation will be verified with a reliable, knowledgeable
             professional so that the Housing Authority can properly accommodate the need
             presented by the disability.
             Requests for accommodation from persons with disabilities will be granted upon
             verification that they are reasonable, and they meet the need presented by the
             disability.
             Reasonable accommodation will be made for persons with disabilities that
             require an advocate or accessible offices. A designee will be allowed to provide
             information as needed, but only with the permission of the person with the
             disability.



      16.3   INFORMAL REVIEW PROCEDURES FOR APPLICANTS
             X24 CFR ~982.554(a)]
              Under certain circumstances, the Housing Authority offers informal reviews for
             applicants. Applicants are defined as families who are on the Section 8 waiting
              list and are awaiting the issuance of a voucher or families who have been issued
              a voucher but have not yet been assisted under a Housing Assistance Payment
             (HAP)Contract.
              When the Housing Authority denies assistance to an applicant, the family is
              notified in writing. The notice contains:
                    The reasons)for the decision;
                 ➢ The procedure for requesting an informal review if the applicant does not
                   agree with the decision; and
                     The time limit for requesting a review.
              The Housing Authority must provide applicants with the opportunity for an
              Informal Review of Decisions denying issuance of a voucher or participation in
              the program.
              Applicants who are denied assistance based on ineligible immigration status are
              entitled to an informal hearing (rather than an informal review).




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      16.3.1 When an informal Review is Not Required
             X24 CFR ~982.554(c)]
            Informal reviews are not required for established policies, procedures, and
            Housing Authority determinations such as:
               1. Discretionary administrative determinations by the Housing Authority;
               2. General policy issues or class grievances;
               3. A determination of the family unit size under the Housing Authority
                  subsidy standards;
               4. Refusal to extend or suspend a certificate or voucher;
                5. Disapproval of lease;
               6. Determination that the unit is not in compliance with HQS; or
               7. Determination that the unit is not in accordance with HQS due to family
                  size or composition.

      16.3.2 Procedure for Review
             X24 CFR ~982.554(b1l
            Informal Reviews will be conducted via mail. Applicants will be required to submit
            written objections to the Housing Authority by the close of business day, no later
            than 15 calendar days from the date of the Housing Authority's notification of
            "Notice of Cancellation of Application." The informal review will be conducted
            within 30 calendar days from the date the request is received.
             The informal review will not be conducted by the person who made or approved
             the decision under review, nor a subordinate of such person. The review may be
             conducted by:
                ➢ A staff person who is not the person who made the decision or his/her
                  subordinate, or
                ➢ An individual from outside the Housing Authority.
             A Notice of the Review decision will be provided in writing to the applicant within
             30 calendar days after the review. It shall include the decision of the review
             officer, and an explanation of the reasons for the decision.
             All requests for a review, supporting documentation, and a copy of the final
             decision will be retained in the applicants file.
             Requests for accommodations from persons with disabilities will be granted upon
             verification that the request is reasonable, and they meet the need presented by
             the disability on a case-by-case basis.




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      16.4   INFORMAL HEARING FOR PARTICIPANTS
             f24 CFR X982.5551

      16.4.1 When an Informal Hearing Mav Be Requested
            [24 CFR ~982.555(a)(11]
             A participant family must be given an opportunity for an informal hearing to
             consider whether certain Housing Authority decisions are in accordance with the
             law, HUD regulations and Housing Authority policies.
             In the following cases, the Housing Authority must give the participant an
             opportunity for an informal hearing before the Housing Authority terminates HAP
             for the family under an existing HAP contract:
                1. A determination of the family's annual or adjusted income, and the use of
                   the income to compute the housing assistance payment.
                2. A determination of the appropriate utility allowance (if any)for tenant-paid
                   utilities from the Housing Authority utility allowance schedule.
                3. A determination of the family unit size under the Housing Authority's
                   subsidy standards.
                4. A determination that a certificate program family is residing in a unit with a
                   larger number of bedrooms than appropriate for the family unit size under
                   the Housing Authority's subsidy standards, or a Housing Authority
                   determination to deny the family request for a waiver from the standards.
                 5. A determination to terminate assistance for a participant family because
                    of the family's action or failure to act.
                 6. A determination to terminate assistance because the participant family
                    has been absent from the assisted unit for longer than the maximum
                    period permitted under Housing Authority policy and HUD rules.

       16.4.2 Notification
              X24 CFR &982.555(c)1
                  When the matter in question is:
                 1. The determination of the family's annual or adjusted income or
                    computation of the housing assistance payment;
                 2. Appropriate utility allowance (if any)for tenant-paid utilities; or
                 3. Family unit size,
                 The Housing Authority must notify the family that they may ask for an
                 explanation of the basis of the Housing Authority's determination. The family
                 must also be notified that if the family does not agree with the explanation,
                 the family may request in writing an informal hearing on the decision.
                  When the matter in question is:
                  1. Certificate family residing in too large a unit, or the Housing Authority's
                     refusal to issue a waiver to subsidy standards;
                 2. Termination due to the family's action or failure to act; or


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               3. Absence from the assisted unit for longer than the maximum period
                   permitted,
               The Housing Authority must give the family prompt written notice that the
               family may request in writing an informal hearing on the decision.
                When the Housing Authority has made a decision to:
               1. Terminate HAP on behalf of a participant under an active contract;
               2. Refuse to re-issue a voucher; or
               3. Refuse to execute a new contract with a program participant,
               The family must be given written notice of the opportunity for an informal
               hearing before the termination of Housing Assistance Payments.
                The notice must:
                  • Contain a brief statement of reasons for the decision;
                  • Inform the participant regarding his/her right to an informal hearing;
                  • Advise the participant that a request for an informal hearing must be
                    in writing;
                  • Advise the participant that the Housing Authority must receive the
                    request within 10 calendar days of the date of the letter; and
                  • Explain the basic elements of the informal hearing, i.e., right of the
                    participant to present evidence, question witnesses, to have
                    representation, the Housing Authority designated impartial hearing
                    officer a written decision.

      16.4.3 Prior to Hearing
            [24 CFR ~982.555(e)(2ll
            Before the informal hearing, the family may request an appointment to examine
            any documents in the family's portion of the file that are directly relevant to the
            hearing. The family must be allowed to copy any such document at the family's
            expense. If the Housing Authority does not make the document in the family's
            file available for examination on request of the family, the Housing Authority may
            not use the document at the hearing.
            The Housing Authority may also provide information to participants on relevant
            documents in the possession of other public agencies in order for the participant
            to contact the agency and obtain a copy of the document. The Housing Authority
            may then reference the contents of the document at the hearing through witness
            testimony.
            The Housing Authority requires that the family submit any documents that are
            directly relevant to the hearing either before or at the time of the hearing. The
            Housing Authority must be allowed to copy any such documents at the Housing
            Authority's expense. If the family does not make the document available for
            examination on request of the Housing Authority, the family may not rely on the
            document at the hearing.




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             During the course of the hearing, if the family offers to submit evidence, the
             Hearing Officer is not required to, but may exercise the discretion to allow the
             family to submit a document within a specified period.

      16.4.4 Hearing Process
             f24 CFR &982.555(dll
             When a participant family has timely requested a hearing, the Housing Authority
             will proceed within 15 calendar days of receipt of the request to notify the
             participant of the date, time and location of the hearing.
                 ➢ There may be one postponement of the hearing date by the participant.
                   A request to reschedule must be requested before the scheduled date
                   and may not extend beyond the proposed termination date.

                 ➢ Any additional postponements may only be for good cause such as, but
                   not limited to hospitalization, illness or injury. Second postponement
                   requests must be supported by verification of the cause.

      16.4.5 Hearinct Officer
            (24 CFR ~982.555(e1(411
             The Hearing Officer may be either a Housing Authority employee or an outside
             third party contracted by the Housing Authority. The Hearing Officer must not
             have made or approved the decision under review nor be a subordinate of the
             person who made the decision. The Hearing Officer controls the informal hearing
             and may:
                  ➢ Control the scope and method of direct and cross examination of
                    witnesses;
                  ➢ Control the admission and determine relevancy of offered evidence;
                  ➢ Question witnesses and set time limitations for any portion of the informal
                    hearing process.
                  ➢ May consider evidence without regard to admissibility under the rules of
                    evidence applicable to judicial proceedings.
              The Hearing Officer will audio record the hearing and follow the format set forth
              below.

       16.4.6 O enin
              The Hearing Officer will convene the informal hearing with both parties and their
              representatives present. (If the participant is represented, the participant will
              have provided the Housing Authority written authorization for the representative
              to do so.)
              The Hearing Officer will explain the informal hearing procedures, state the
              purpose of the hearing, and inform the participant that the hearing will be
              recorded. The Hearing Officer may request clarification or ask questions of
              either side or witnesses at anytime during the Informal Hearing. Each person
              present will introduce himself or herself.



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      16.4.7 Presentations
              Each side will have an opportunity to present its case and be allowed to present
              witnesses and submit relevant evidence as determined by the Informal Hearing
              Officer. (Witnesses may be cross-examined at this time.) The Housing Authority
              begins the hearing by presenting the Notice of Hearing. The Housing Authority
              will then present a copy of the original notification to the participant regarding the
              matter, followed by the evidence, including testimony of witnesses, which
              supports the allegations in the notification.

      16.4.8 Rebuttals
              Each side will have an opportunity to present rebuttal to the evidence presented.

      16.4.9 Final Summary
              Each side is then allowed to summarize its arguments.

      16.4.10 Conclusion of Hearin4
                The Hearing Officer may continue a hearing if additional information from either
                party is requested. Otherwise, the Hearing Officer will advise each side that the
                testimony and evidence will be reviewed, a final decision made and a
                determination letter issued stating the decision and the reasons for the decision
                within 10 calendar days. The decision of the Hearing Officer is final.
                The Hearing Officer will use the following principles for the Informal Hearings
                and decisions:
                  1. Evidence may be considered without regard to admissibility under the
                     rules of evidence applicable to judicial proceedings.
                  2. Determinations on the matter being reviewed shall be based on the
                     evidence presented at the hearing.
                  3. If the issues and differences can properly be resolved at the hearing, the
                     Hearing Officer should attempt to resolve them through mutual consent
                     as long as the resolution is not contrary to applicable law, HUD
                     regulations and/or Housing Authority's policies.
                  4. The purpose of the hearing is to determine if the original decision made in
                     the case is in accordance with the law, HUD regulations and Housing
                     Authority policies.
                  5. The Hearing Officer may not make a finding contrary to HUD regulations
                     or requirements, contrary to federal, state or local law or exceeding the
                     authority of the Hearing Officer.

       16.5    WHEN AN INFORMAL HEARING IS NOT REQUIRED
               X24 CFR ~982.555(b)~
               The Housing Authority is not required to provide a participant family an
               opportunity for an informal hearing for the following:




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                1. To review discretionary administrative determinations by the Housing
                   Authority, or to consider general policy issues or class grievances;
                2. To review the Housing Authority's determination that a unit does not
                   comply with HQS, exceat when the breach of HQS was determined to be
                   tenant-caused;
                3. To review decision by the Housing Authority to exercise or not exercise
                   any remedy against the owner under an outstanding Contract, including
                   the termination of HAP to the owner;
                4. To review the Housing Authority's decision not to approve a family's
                   request for an extension or suspension of the term of the voucher;
                5. Determination that the unit is not accordance with HQS due to family size;
                6. Establishment of the Housing Authority's schedule of utility allowances for
                   families in the program; or
                7. A Housing Authority determination not to approve a unit or lease.




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                                     CHAPTER 17:
                     OWNER OR FAMILY DEBTS TO HOUSING AUTHORITY

      17.1    INTRODUCTION
             [24 CFR X982.163 AND X7921
             This chapter describes the Housing Authority's policies and guidelines for the
             recovery of debts and the use of repayment agreements. Before a debt is
             assessed against a family or owner, the file must contain documentation to
             support the Housing Authority's claim that the debt is owed. The file must further
             contain written documentation of the method of calculation, in a clear format for
             review by the owner or the family, as appropriate.
              When families or owners owe money to the Housing Authority, every effort will be
              made to collect the debt. A variety of collection tools to recover debts may be
              used including, but not limited to:
                 ➢ Requests for lump sum payments
                 ➢ Repayment agreements
                 ➢ Abatements
                 ➢ Deductions
                 ➢ Collection agencies
                 ➢ Credit bureaus
                  ➢ Civil suits

      17.2    REPAYMENT AGREEMENTS FOR FAMILIES
              X24 CFR b792.1031
              A Repayment Agreement as used in this plan is a document entered into
              between the Housing Authority and the person who owes a debt to the Housing
              Authority. The Repayment Agreement contains an acknowledgment by the
              person of the debt in a specific amount, the terms of repayment, any special
              provisions of the agreement, and the remedies available to the Housing Authority
              upon default of the agreement.
              If a repayment agreement is to be entered into, the Housing Authority will usually
              require that the family pay an initial lump sum (in an amount determined by the
              Housing Authority) with the remaining balance to be paid in equal payments over
              a period of time not to exceed 12 months for amounts under $2,400 or 24 months
              for any amount in excess of $2,400.
              In determining the initial lump sum, the Housing Authority will consider the total
              amount owed, the ability of the person to make the remaining payments and the
              percentage of the total sum owed. In most cases, the Housing Authority will
              require a significant initial lump sum as part of entering into a Repayment
              Agreement to help ensure full payment to the Housing Authority and to reduce
              the monthly payment.




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      17.2.1 Late Payments
             A payment will be considered to be in arrears if the payment has not been
             received by the close of the business day on which the payment was due.
                 ➢ If the due date is on a weekend or holiday, the due date will be at the
                    close of the next business day.
             If the family's repayment agreement is in arrears, the Housing Authority may do
             one or more of the following:
                  ➢ Require the family to pay the entire arrearage plus current month's
                      payment in order avoid loss of assistance;
                 ➢ Require the family to pay the balance in full in order to avoid losing
                   assistance;
                 ➢ Pursue civil collection of the balance due; or
                 ➢ Terminate the housing assistance.

      17.2.2 Requests To Move
             If the family requests a move to another unit and has a repayment agreement in
             place and the repayment agreement is not in arrears, the family will be required
             to pay the balance in full prior to the issuance of a voucher.
             If the family requests a move to another unit and is in arrears on a repayment
             agreement unless, they pay the balance in full, the request will be denied.
             Under special circumstances, the Housing Authority may make an exception and
             allow a family to move without paying the entire balance of the debt if the family
             is current with its payments. The Housing Authority may also allow a family who
             is in arrears to become current in order to process a move if the move is for one
             of the following reasons:
                 ➢ HAP contract is terminated due to owner non-compliance
                 ➢ A natural disaster
                 ➢ The unit is uninhabitable or has major HQS deficiencies that are not the
                   result of a family action or inaction.
                 ➢ Alife-threatening situation such as the family is a witness to or a victim of
                   a crime and must move for safety reasons. The family will be required to
                   provide proof in such cases.
              The Housing Authority may not agree to a repayment agreement if the family
              already has a Repayment Agreement in place, or if the family has breached
              previous Repayment Agreements.

       17.2.3 Guidelines for Reaavment Agreements
              The Housing Authority, at its sole discretion, will determine on a case-by-case
              basis whether or not to offer a family a repayment agreement for monies owed to
              the Housing Authority.




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              Repayment Agreements will be executed between the Housing Authority and the
              head of household or other adult family member.
              Monthly payments may be decreased in cases of hardship with the prior notice of
              the family, verification of hardship, and the approval of a Housing Authority
              Housing Supervisor.
              •    Additional Debt Incurred: If the family has a Repayment Agreement in
                  place and incurs an additional debt to the Housing Authority:
                    • The Housing Authority may choose, at its discretion, to agree to more
                      than one Repayment Agreement at a time with the same family.
                    • If a Repayment Agreement is in arrears more than 30 calendar days,
                      any new debts must be paid in full.

      17.3    FAMILY DEBTS OWED FOR CLAIMS
              If a family owes money to the Housing Authority for claims paid to an owner:
                  ➢ The Housing Authority may require the family to repay the amount in full.
                  ➢ The Housing Authority may agree to a Repayment Agreement.

      17.4    FAMILY DEBTS DUE TO FRAUDINON-REPORTING OF INFORMATION
              X24 CFR X792.1031
              HUD's Definition of Program Fraud and Abuse: A single act or pattern of
              actions that constitutes false statement, omission, or concealment of a
              substantive fact, made with intent to deceive or mislead, and that results in
              payment of Housing Choice Voucher Program funds in violation of Housing
              Choice Voucher Program requirements.

      17.4.1 Familv Error/Late Reporting
              Families who owe money to the Housing Authority due to the family's failure to
              report increases in income or change in allowances or deductions will be
              required to repay in accordance with the guidelines set forth in 17.2(Repayment
              Agreements for Families) of this chapter.

      17.4.2 Pros~ram Fraud
              At the Housing Authority's discretion, families who owe money to the Housing
              Authority due to program fraud may be required to repay in accordance with the
              guidelines set forth in Section 17.2 (Repayment Agreements for Families) of this
              chapter.
               In addition, the case may be referred to the Inspector General and/or the
               Housing Authority may refer the case for criminal prosecution.

       17.5    FAMILY DEBTS PAID IN FULL
               If the Housing Authority determines not to enter into a Repayment Agreement, or
               if the Repayment Agreement is breached and the Housing Authority demands
               payment of the balance in full, the family must pay the full amount due and owing


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              in one lump sum. If the family fails to pay, the Housing Authority may pursue
              collection through a collection agency or a civil action and may notify credit
              agencies of the debt. Whether or not the amount is paid, the Housing Authority
              does not waive its right to take other action including termination of assistance or
              referral for criminal prosecution in appropriate cases.

      17.6    OWNER DEBTS TO HOUSING AUTHORITY
              If the Housing Authority determines that the owner has retained Housing
              Assistance or Claim Payments the owner is not entitled to, the Housing Authority
              may deduct the amounts owed from future Housing Assistance or Claim
              Payments owed the owner for any units under contract.
              If future Housing Assistance or Claim Payments are insufficient to reclaim the
              amounts owed, Housing Authority may do one or more of the following:
                  ➢ Require the owner to pay the amount in full within 30 calendar days;
                  ➢ Agree to a repayment agreement with the owner for the amount owed.
                    Repayment period may not exceed 12 months;
                  ➢ Pursue collections through the local court system;
                  ➢ Pursue collections through a collection agency; or
                  ➢ Restrict the owner from future participation.

      17.6.1 Owner Debts Due to Fraud
              If the landlord has been overpaid because of fraud, misrepresentation or violation
              of the contract, the Housing Authority may terminate the contract and arrange for
              restitution to the Housing Authority and/or family as appropriate.
              The Housing Authority will make every effort to recover any overpayments made
              as a result of landlord fraud or abuse. Possible remedies available to the
              Housing Authority include: recovering monies owed from payments otherwise
              due to the owner, setting up a repayment agreement, referring the debt to a
              collection agency, or pursuing the matter in a civil court. A determination on the
              course of action to be taken will be based on the nature of the violation and the
              amount of the money owed. Generally, if the owner is cooperative, is willing to
              pay back all monies owed, and all monies will be repaid within 12 months, the
              Housing Authority will offer the owner a chance to enter into a Repayment
              Agreement. However, in cases where the owner knowingly and willfully violated
              program rules, the Housing Authority may seek full repayment in one lump sum.

       17.7   WRITING OFF DEBTS
              Debts may be written off if:
                  ➢ The debtor's whereabouts are unknown and the debt is more than 3
                    years old.
                  ➢ A determination is made that the debtor is judgment proof.
                   ➢ The debtor is deceased and has an insufficient estate.



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              ➢ The debtor is confined to an institution indefinitely or for more than 3
                years.
              ➢ The amount is less than $100 and the debtor cannot be located.




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                                         CHAPTER 18:
                                      SPECIAL PROGRAMS

      78.1   INTRODUCTION
             The Housing Authority periodically has the opportunity to apply for targeted
             funding for special populations. The Housing Authority often enters into
             collaborative agreements with other agencies or County departments to qualify
             for and/or administer these funds. Special Program policies and procedures
             are the same as that of the Housing Choice Voucher program except as
             otherwise noted. If there is a conflict between program regulations and the
             Admin Plan,the program regulations have precedence.
             Currently, The Housing Authority's Special Programs Unit administers the
             following targeted programs:
                 ➢ Family Unification Set-Aside Program (Family UP);
                     Welfare-to-Work Program (Wt1l~;
                 ➢ Homeless Set-Aside Program;
                 ➢ Shelter Plus Care Program (S+C);
                     Housing Opportunities for Persons with AIDS Program (HOPWA); and
                 ➢ The Family Self-Sufficiency Program (FSS).
             This chapter provides details on the special programs currently administered by
             the Housing Authority. This section is divided into two main parts:
                     Housing Assistance Programs, and
                 ➢ Family Self-Sufficiency Program.

      18.2   HOUSING ASSISTANCE PROGRAMS

      18.2.1 Housing Choice Voucher Pros rams
                   Housin4 Choice Voucher Welfare-to-Work Program (WtW1 Proctram:
                 This program provides assistance to families who are eligible for CaIWORKs
                  benefits, are in good standing with the employment/job training program
                  offered by the Los Angeles County Department of Public and Social Services
                 (DPSS) and are in need of housing in order to obtain or retain employment.
                  Eligible families are identified by DPSS and referred to the Housing Authority
                 for rental assistance. The Housing Authority may also refer eligible families
                 from the Housing Authority waiting list to DPSS for assistance.

      18.2.2 Voluntary Set-Aside Programs For Homeless Families
                  Housinct Choice Voucher Homeless Set-Aside Program: This program
                 targets families throughout Los Angeles County. All eligible families are
                 referred to the Housing Authority by pre-selected service providers.
             •     Housin4 Choice Voucher Lona Term Family Self-Sufficiency Homeless
                  Program: This program targets homeless families who are eligible for



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                 CaIWORKs and are employed or have an offer of employment (either
                 subsidized or unsubsidized). Families assisted under this program will have
                 access to a $1,500 Relocation grant to help meet the cost of moving
                 expenses and have access to Housing Counseling Services. Relocation and
                 Housing Counseling Services are funded by the Los Angeles County
                 Department of Public and Social Services (DPSS). This program is currently
                 inactive until funding from the DPSS is secured.
            •     Housin4 Choice Voucher Family Unification (Family UP) Set-Aside
                 Prouram: This program provides assistance to families who are in imminent
                 danger of losing or who cannot regain custody of their minor children due to
                 lack of adequate housing. This program is a collaborative effort between the
                 Housing Authority and the Los Angeles Department of Children and Family
                 Services (DCFS). Eligible families are identified by DCFS through their
                 Family Preservation Unit and referred to the Housing Authority for rental
                 assistance. The Housing Authority may also refer eligible families from the
                 Housing Authority waiting list to DCFS.
            These programs are funded from the Housing Authority's regular turnover, i.e.
            vouchers that are vacated throughout the year because families are terminated
            from the program or voluntarily leave are used to provide assistance to special
            needs families.
            For each set-aside program, the Housing Authority works with pre-selected
            supportive services providers who will certify that the family meets the specific
            criteria for the set-aside program and commits to providing on-going supportive
            services for a minimum of 6 months in order to ensure that the family is able to
            live independently.
             All families admitted into aset-aside program must be referred by an approved
             supportive service provider and meet all regular admission requirements with the
             exception of the residency requirement. For the purpose of the set-aside
             programs, the Housing Authority will not require that a family qualify for a
             residential preference since most families are homeless and are unable to
             provide information about their last known permanent address. However,
             families must agree to reside in the Housing Authority's jurisdiction for the first
             year of assistance.

      18.2.3 Non-Housing Choice Voucher Special Pro4rams
                 Shelter Plus Care (S+C) Program: This program is designed to link rental
                assistance to supportive services for homeless individuals with disabilities
                and/or their families. This program primarily provides assistance to those
                who have been diagnosed with mental illness, chronic substance abuse
                problems, or AIDS. Assistance is provided for a term of 5 years or for as long
                as there is a continuum of funding available for this program.
             •     Housing Opuortunities for Persons with AIDS (HOPWA): This program
                  specifically targets individuals and families afflicted by HIV/AIDS. Assistance
                  under this program is provided for one year. After the one-year term, all
                  HOPWA participants in good standing are allowed to transition to the regular
                  Housing Choice Voucher Program. This program is also administered by the




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                 Housing Authority in other cities in addition to the cities currently within the
                 Housing Authority's jurisdiction.

      18.3   HOUSING ASSISTANCE PROGRAM PROCEDURES

      18.3.1 Referral Process/VNaitinct List
             The Housing Authority does not maintain a waiting list for the Housing Choice
             Voucher Special Programs, Housing Choice Voucher Homeless Set-aside
             Programs, or Non-Housing Choice Voucher Special Programs. Eligible families
             are identified to apply for these programs by pre-selected service providers, other
             agencies or County departments are referred to the Housing Authority.

      18.3.2 Eli ibili
             Applicants must meet HUD's eligibility requirements for that specific program to
             qualify for rental assistance. In order to determine final eligibility, the Housing
             Authority may verify all information submitted by applicants.
              For more specific information on eligibility requirements, please see Chapter 2
             (Admission Eligibility Factors and Applicant Requirements).

      18.3.3 Verification Procedures
             Since HUD requires that factors of eligibility must be verified, applicants and
             program participants are required to provide proof of their statements whenever
             required by the Housing Authority. Some Special Programs may require
             additional documents when verifying program eligibility. For example:
                 ➢ Homeless Condition Form: Must be provided for all individuals/families
                   referred through the Shelter Plus Care Program, Homeless Set-Aside
                   Program, Homeless with AIDS program, and HOPWA program.
                  ➢ Verification of Disability and/or Dia4nosis Form: Must be provided for
                    all individuals claiming a disability, especially a disability that is cited as a
                    qualifying factor for a particular program (i.e. S+C, HOPWA). Written
                    determinations must be made by a psychiatric or medical professional
                    trained to make such determination.

      18.3.4 Denial of Participation
              If a family previously participated in any special program and violated a family
              obligation and was terminated, the family may be denied future participation.
              Families may be denied participation in the program if they owe the Housing
              Authority or another housing agency money in connection with the Housing
              Choice Voucher Program or Public Housing assistance.
              Families referred by contracted Community-Based Organizations(CBO's), will be
              sent a denial letter and referred to the CBO if there are any further questions.




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      18.3.5 Criminal Backctround
            Program applicants for all voluntary set-aside programs and Housing Choice
            Voucher Special Programs will require criminal background checks. Shelter Plus
            Care applicants will not be required to undergo the criminal background check.
             For more specific information on the applicant screening standards used by the
             Housing Authority when reviewing criminal records, please see Section 2.8
            (Screening for Drug Abuse and Other Criminal Activity).

      18.3.6 Briefing Sessions
             Briefing sessions are conducted for all special programs. Families are issued
             accordingly:
                ➢ Housing Choice Voucher Special Programs and Homeless Set-aside
                  Programs are issued a Housing Choice Voucher.
                ➢ Shelter Plus Care applicants are issued a participation agreement. This
                  participation agreement allows for termination of assistance if any
                  member of the family violates the terms set forth in the participation
                  agreement.
                ➢ HOPWA applicants are issued certificates.
             For more specific information on voucher issuance and briefings, please see
             Chapter 8(Voucher Issuance and Briefing).

      18.3.7 Contracts/Tenant Payments
             Housing Choice Voucher Special Programs and Homeless Set-Aside Programs
             are contracted based on the payment standards, and participants may pay up to
             40% of their adjusted monthly income.
             Non-Housing Choice Voucher Special Programs are contracted based on the
             Fair Market Rents published by HUD and tenant rental portions are limited to
             30% of the participant's adjusted monthly income.
             For more specific information on determining total tenant payment, please refer
             to Chapter 6. For more specific information on the new contract process, request
             for tenancy approval and contract execution, please refer to Chapter 9.

       18.3.8 Re-Examinations
             The Housing Authority is required to process annual re-examinations. In cases
             where a family experiences a change in household composition and/or income
             between annual re-examinations, the Housing Authority will process an interim
             re-examination. The family is required to report all changes in household
             composition and/or income to the Housing Authority within 30 calendar days of
             occurrence.
             For more specific information regarding causes for processing annual/interim re-
             examinations and the requirements for completing annual/interim re-
             examinations, please refer to Chapter 12(Re-Examination).




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      18.3.9 Terminations
             •     Proposed Terminations: Community Based Organizations and/or other
                  government units or departments currently contracted by the Housing
                  Authority to provide supportive services may request termination of housing
                  assistance for a program participant who is in violation of program
                  requirements and/or conditions of occupancy.
             •     Terminations: Housing assistance may be terminated if a family violates
                  specific program requirements and/or the family obligation. For more specific
                  information on family obligations, please see Chapter 15(Family Obligations).

      18.3.10 Portability
                 All special programs have different requirements for portability. They are listed
                 as follows:
                   ➢ Housing Choice Voucher Special Programs and Housing Choice Voucher
                     Set-aside Programs must live within the Housing Authority's jurisdiction
                     for at least one year before becoming eligible to port out to another
                     housing authority's jurisdiction.
                   ➢ Shelter Plus Care participants have no portability rights. They must
                     continue to live within the Housing Authority's jurisdiction for as long as
                     they continue to participate in this program.
                   ➢ HOPWA participants have no portability rights as long as they continue
                     being assisted under this program. However, after 1 year of HOPWA
                     assistance, eligible participants are converted to the regular Housing
                     Choice Voucher program and become eligible to port out to another
                     housing authority's jurisdiction.
                 For more specific information on allowable moves and eligibility for portability,
                 please refer to Chapter 13(Allowable Moves/ Portability).

      18.4   FAMILY SELF-SUFFICIENCY PROGRAM
             t24 CFR &984.101(a1l
             Family Self-Sufficiency promotes the development of local strategies to enable
             families to achieve economic independence and self-sufficiency. The program is
             designed to provide supportive services for families who are residents within the
             Housing Authority's jurisdiction. Supportive services include but are not limited to
             childcare, education, transportation, counseling, job preparation, vocational
             training and home ownership workshops.
              Upon becoming employed, FSS participants continue to pay rent in accordance
              with the Housing Authority's housing choice voucher procedures. Whenever the
              participant's rent increases, the Housing Authority establishes an interest bearing
              Escrow Account in their name. If the family successfully completes the contract
              obligations within 5 years, the family can apply to graduate from the program and
              receive the accrued portion of their escrow account.
              New admissions to the Family Self-Sufficiency program will be limited to the level
              of available funding.



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      18.5    FSS APPLICATION PROCESS
              An application is mailed to the applicant and is due back within 10 calendar days
              from the date it was mailed. If the application is returned undeliverable, the
              Housing Authority will make one more attempt to contact the applicant by mail. If
              the second application is returned undeliverable, the file will be documented as
              such. Tenants will not be penalized for not participating in the FSS Program
              since it is a voluntary program for voucher holders with the exception of the
              Welfare-To-Work (WTV1n participants.

              The FSS application process for WfW participants is handled in the same
              manner as stated in the preceding paragraph, however if the participant fails to
              return the application, the Housing Authority would propose termination on the
              grounds of non-compliance with program mandate.
              Once an application is returned to the FSS office, eligibility is determined. If
              accepted, a Contract of Participation (CoP) is developed and an Individual
              Training and Services Plan (ITSP) is created. Following the CoP and ITSP being
              executed, participants are referred to an FSS case manager or to a contracted
              Community-Based Organization (CBO) to administer the case. If the application
              is not accepted, the tenant will be notified in writing within 5 calendar days. This
              applies to housing choice voucher applications only. All Welfare-To-Work
              applications are accepted.

      18.5.1 FSS Eligible Families
            [24 CFR X984.1031
              FSS eligible families are housing choice voucher holders and/or residents of
              County Public Housing.
              •   "FSS family" or "participating family" means a family that receives assistance
                  under Public Housing or the Housing Choice Voucher Program and elects to
                  participate in the FSS Program and whose designated head of FSS family
                  has signed the Contract of Participation.
              •    "Head of the FSS family" means the adult member of the FSS family who is
                  the head of household for purposes of determining income eligibility and rent.

       18.5.2 Denial of Particiaation
             (24 CFR X984.3021
               If a family previously participated in the FSS Program but did not meet its
               obligations and was terminated, the family may be denied future participation.
               Families may be denied participation in the program if they owe the Housing
               Authority or another housing agency money in connection with the Housing
               Choice Voucher Program or Public Housing assistance.

       18.6    FSS CONTRACT OF PARTICIPATION(COP)
               f24 CFR X984.303]
               Upon receipt of the application, the Housing Authority will prepare a Contract of
               Participation within 5 to 10 calendar days. The contract will contain the effective


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             date as well as the expiration date. It will execute the resources and supportive
             service and outline the starting base for determining the escrow account. In
             addition, the contract will outline the guidelines for administering and disbursing
             the escrow funds[24 CFR §984.303(b)(1)].
            Each family participating in FSS must execute a Contract of Participation with
             Housing Authority. The effective date of the contract will be the first of the month
             after the contract is executed. The limited term is 5 years. The contract may be
            extended in writing and at the family's request, for up to 2 years for good cause
            [24 CFR §984.303(c)].
             The Housing Authority will only grant an extension in rare circumstances that are
             beyond the control of the family, and which prevent completion of the training and
             services plan [24 CFR §984.304(d)].
             Termination of employment for nonperformance by the FSS head is not
             justification for a contract extension.
             The Housing Authority may extend the CoP to allow families to meet the interim
             goal of being welfare-free at least 12 consecutive months prior to the expiration
             of the contract.
             During an extension to the contract, the family continues to have FSS amounts
             credited to the escrow account.
             The Housing Authority may set milestones for employment and other activities
             leading to self-sufficiency early in the 5-year contract term in accordance with the
             family's abilities.
             The family's obligations may terminate before the end of the 5-year contract
             term, and the family's participation in FSS and entitlement to the escrow may be
             less than 5 years.
             Three items of information must be entered into the contract to be valid:
                 ➢ Gross Annual Income
                 ➢ The amount of earned income in the gross annual income
                 ➢ Family Rent (TTP or 30 percent of Monthly Adjusted Income for
                   vouchers)
             The CoP establishes an agreement between the family and the Housing
             Authority as to the responsibilities of each party. The contract is to be signed by
             the head of the FSS family, which is the head of household for purposes of
             determining eligibility. Copies of the documents will be furnished to the head of
             household.
             The CoP may be modified in the following areas, if the Housing Authority and the
             family mutually agree [24 CFR §984.303(fl]:
                 ~ Individual Training and Services Plan
                 ➢ The contract term (extension)
                  ➢ Designation of the FSS head of the family in cases where the FSS head
                    is deceased or becomes unassisted



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             A change in the designated FSS head must be included as an attachment to the
             Contract. It must contain the following:
                ➢ Name of new designated FSS head
                ➢ The signatures of the new FSS head and a Housing Authority
                  representative
                ➢ The date signed

      18.6.1 Compliance With The Lease
             X24 CFR ~984.303(b)(31]
             The Contract provides that the family must comply with the assisted lease.
             Therefore, noncompliance with County Housing Development lease, or the lease
             with the owner in the Housing Choice Voucher Program, is grounds for
             termination of the FSS Contract of Participation.
             In the Housing Choice Voucher Program, if the violation of the lease is "serious
             or repeated," the housing authority may also terminate program assistance.
             The following representatives) is/are authorized to execute a contract on behalf
             of the Housing Authority: Special Programs Administrator, FSS Coordinator, and
             FSS Program Specialist.

      18.7   INDIVIDUAL TRAINING AND SERVICE PLAN (ITSP)
             X24 CFR ~984.303(b)(2)l
             The contract must contain an ITSP for the FSS head of household. Other adult
             family members who wish to receive services must also have an individual
             training and services plan to participate in the FSS program. The resources and
             services to be provided must be contained in the plan. It must contain the
              milestones, interim goals and final goal for suitable employment.

      18.7.1 Needs Assessment
             The Housing Authority will perform a needs assessment with the family using
             various needs assessment tools. Upon completion of the assessment, FSS will
             be able to establish the milestones, and short- and long-term goals designated
             for the head of household on the ITSP and any other participating family
             members with an executed ITSP.

       18.7.2 The Individual Training and Services Plan (ITSPI
              X24 CFR G984.3031
              Each individual FSS contract must contain an ITSP for the FSS head of
              household and any participating family member. The items included on the ITSP
              will include:
                 ➢ The resources and services to be provided by the Housing Authority and
                   contracted supportive services provider;
                 ➢ The individual milestones, interim goals and final goal for suitable
                   employment;



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                 ➢ Completion dates for each individual interim goals will be included on or
                   before the contract expiration date;
                 ➢ A mandatory interim goal for families receiving welfare is that all family
                   members must be free of welfare assistance for 12 consecutive months
                   prior to the expiration of the contract (including extensions) [24 CFR

                 ➢ The requirement for the head of the FSS family to seek and maintain
                   suitable employment throughout the term of the contract; and
                   Each ITSP plan must be signed by the participant and a Housing
                   Authority representative.
             Any changes to the ITSP must be included as a revision to the original plan. The
             revision may be based on the following reasons: factors keeping the client from
             effectively becoming suitably employed, lack of supportive services, and
             unforeseen circumstances/barriers. The revision must include:
                 ➢ The item changed;
                    Signature of the participant and a Housing Authority representative; and
                 ➢ The date signed.

      18.8   ESCROW ACCOUNTS
             X24 CFR 5984.3051
             The general concept of the escrow account is that FSS families continue to pay
             rent in accordance with their incomes (even as their incomes increase due to
             employment income). As a rule, the amount of the increase in earned income is
             escrowed. Because there are other factors that affect the family rent, it will not
             necessarily be dollar for dollar. The amount escrowed for .the family will depend
             on whether the family is considered a very low- or low-income family.
             •     Disbursin4 the FSS Escrow Account: The amount in an FSS account, in
                  excess of any amount owed to the Housing Authority by the FSS family, is
                  paid to the head or designated remaining family member of the FSS family
                 [24 CFR §984.305(c)(1)]:
                        When the contract of participation has been completed; and
                    • When, at contract completion, the head of the family certifies that no
                      family member receives Federal or state welfare assistance.
                  Interim Disbursement: The Housing Authority may, at its sole option,
                 disburse a portion of the funds from the family's escrow account during the
                 contract period for contract-related expenses if the family has fulfilled certain
                 interim goals and needs a portion of the FSS account funds for purposes
                 consistent with contract such as[24 CFR §984.305(c)(2)]:
                    • School tuition;
                    • Business start-up expenses;
                    • Car when public transportation is unavailable or inaccessible to the
                      family; or



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                  • Job training expenses.
            The family may use the final disbursement of escrow account funds without
            restriction.
           The Housing Authority cannot restrict a family's use of FSS escrow account
           funds withdrawn by the family unless the funds are withdrawn to aid in the
           completion of an interim goal.
               ➢ If a family receives an advance payment from their escrow account prior
                 to completing the Contract, the advance payment does not have to be
                 repaid to the Housing Authority if the family drops out of the FSS
                 program, unless the payment was due to fraud or misinformation by the
                 family.
            If the family moves outside of the Housing Authority's jurisdiction under the
            Housing Choice Voucher Program portability procedures, the Housing Authority
            may transfer the balance of the family's FSS escrow account to another public
            housing agency [24 CFR §984.306(e)].

      18.8.1 Forfeitina the FSS Escrow Account
             X24 CFR ~984.305(flll
            Amounts in the FSS escrow account will be forfeited if:
                ➢ The Contract of Participation is terminated;
                ➢ The Contract of Participation is completed but the family is receiving
                  welfare assistance when the contract expires, including extensions; or
                ➢ The head of the family dies and the remaining members of the family
                  choose not to continue participating in the program, and the contract
                  obligations have not been met.
            If families do not pay their rent to the owner, the funds may be forteited because:
                ➢ Compliance with the applicable housing choice voucher or Public Housing
                  lease is a family obligation under the Contract, and
                ➢ Nonpayment of rent is grounds for terminating a family's FSS participation
                  and forfeiture of the escrow.
            In the housing choice voucher program, FSS account funds forfeited by the
            family will be treated as program receipts for payment of program expenses
            under. the Housing Authority's Housing Choice Voucher Program budget.
            Escrow funds may be used by the Housing Authority for HUD-approved
            expenses; such expenses may include rental assistance payments.
             In Public Housing, the forfeited account will be credited to the Housing Authority's
             operating reserves and counted as other income in the calculation of the PFS
             operating subsidy eligibility for the next budget year. The escrow funds may be
             used by the Housing Authority for HUD-approved expenses such as Public
             Housing maintenance costs.




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      18.9   CHANGE IN FAMILY COMPOSITION
             If the head of the FSS family no longer resides with other family members in the
             assisted unit, the remaining family members of the family will have the right to
             designate another family member to receive the funds. The Housing Authority
             must be consulted and must approve this change.
             If a family with two adults splits up, the Housing Authority will determine if the
             escrow should be paid. The family may be paid if the family member that
             continues to reside in a Housing Development and/or retains the rental
             assistance through the Housing Choice Voucher Program:
                 ➢ Is already head of the FSS family, or
                 ➢ Was not designated as head of the FSS family but now designates
                   himself or herself to receive the escrow account.

      78.10 FSS TERMINATION/CANCELLATION/PORTABILITY
           [24 CFR ~984.303(hll
             The Housing Authority is responsible for determining whether the family has
             violated the FSS contract and whether the family's rental assistance should be
             terminated.

      18.10.1 FSS Termination Due To Portability
             (24 CFR &984.306(fll
               Where the family is relocating and is not absorbed by the receiving housing
               authority under the portability regulations, and is participating in the receiving
               housing authority's FSS Program, the Housing Authority must abide by the
               termination decision of the receiving housing authority.
               If a relocating FSS family is unable to fulfill its obligation under the FSS
               contract, the Housing Authority or the receiving public housing agency,
               whoever is party to the FSS Contract of Participation may:
                 ➢ Terminate the family from the FSS Program and the family's FSS account
                   will be forfeited, and
                 ➢ Terminate the family's rental assistance since the family failed to meet its
                   obligations under the FSS contract. This is applicable to Welfare-to-Work
                   participants only.
               If the family's FSS account is forfeited, the funds in the account will revert to
               the housing authority maintaining the FSS account for the family and will be
               treated as program receipts.




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                                     CHAPTER 19:
                            PRE-PAY/PRESERVATION PROGRAM
                                    [24 CFR §886]

      19.1   INTRODUCTION
             The Section 8Pre-Pay/Preservation Program is a transition program designed to
             preserve the level of affordable housing and avoid the potential displacement of
             low and moderate-income families when owners of eligible properties pre-pay
             their HUD-insured mortgage loan or voluntarily terminate their mortgage insured
             contract. Families determined eligible for this program are assisted with special
             Section 8 Vouchers. The Preservation Program policies and procedures are
             the same as that of the Housing Choice Voucher program except as
             otherwise noted. If there is a conflict between program regulations and the
             Admin Plan, the program regulations have precedence.

      19.2   TERMS/PROVISIONS
             There are finro types of housing conversion actions that the property owners can
             choose: pre-pay or opt-out.
             1. Pre-pay date is the date the owner officially "pays off' their HUD-insured
                mortgage. The property is no longer considered a Project-Based or
                Affordable Development, and the owner is free to increase rents to market
                levels. As early as 60 days after this "pre-payment date,° the residents are
                no longer protected by the subsidy or affordable rents.
             2. Opt-out is where owners elect to discontinue the existing contract with HUD
                and no longer desire to participate in any subsidy program. In cases when
                owners pre-pay either their mortgage loan or opt-out of the Section 8 Housing
                Assistance, federal law requires that owners provide the tenants with a 1-year
                notification before the expiration of the Section 8 Contract. The owners are
                required to give proper notice of intent to pre-pay or opt-out to HUD, a notice
                of intent to pre-pay loan to California Housing Partnership Office, the
                Participant City, the local Housing Authority, and the Legal Aid Foundation.
                These notifications must be sent at least 1 year in advance, along with the
                notice of intent to increase the rent with a minimum of 60-day notice to the
                tenants of such a rent increase.
      19.3   Enhanced Housing Choice Vouchers
             The residents of the Project-Based program under the HUD Section 8 Contract
             are eligible to receive an Enhance Housing Choice Voucher if the participant
             eligibility screening is approved, including the criminal background check
             requirement.
             The Housing Authority issues a family an enhanced voucher based on the
             number of bedrooms the family qualifies for under the current subsidy standards,
             not actual size of the unit the family is occupying. If the bedroom size of the
             family's unit exceeds the number of bedrooms the family qualifies for under the
             current subsidy standards the family is over-housed.




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      19.4   Availability of Aaproariate Size Units in the Project
             The over-housed family must move to an appropriate size unit in the project if
             one is available in order to receive enhanced voucher assistance. The enhanced
             voucher housing assistance payment calculation is based on the gross rent of
             the appropriate size unit.


      19.4.1 No Aparoariate Size Units Currently Available in the Project
             If there is no appropriate size unit current available far the family in the project,
             the Housing Authority executes a HAP contract on behalf of the family for the
             oversized unit, provided the rent is reasonable and the unit complies with all
             other program requirements such as the housing quality standards.
             The enhanced voucher housing subsidy calculation is based on the gross rent for
             the oversized unit. The subsidy calculation will continue to be based on the
             gross rent (including subsequent rent increases) for the oversized unit until an
             appropriate size unit in the project becomes available for occupancy for the
             family.


      19.4.2 Actions when Approariate Size Units Later Become Available in the Project
             The owner must immediately inform the Housing Authority and the family when
             an appropriate size unit will become available in the project.          When an
             appropriate size unit becomes available, the family residing in the oversized unit
             must move to the appropriate size unit within 60 days to continue to receive
             enhanced voucher assistance. Extensions may be authorized as a reasonable
             accommodation. Such matters will be considered on an individual basis and
             must be supported by verifiable third-party documentation from a qualified
             professional with direct experience with the individual's disability.

              The family and owner will enter into a new lease and the Housing Authority will
              execute a new HAP contract with the owner for the appropriate size unit. The
              enhanced voucher subsidy calculation is based on the gross rent for the
              appropriate size unit.

      If an over-housed enhanced voucher family refuses to move to the appropriate size unit,
      staff will calculate the family's housing assistance payment(HAP)for the oversized unit
      based on the current applicable voucher subsidy formula using the applicable payment
      standard. The family will be responsible for any amount of the gross rent not covered by
      the housing assistance payment.


      19.4.3 Decrease in Family Size or Chanae in Family Comaosition
             If, as a result of a decrease in family size or change in family composition, an
             enhanced voucher family later becomes over-housed, the same policy regarding
             over-housed enhanced voucher families would apply. The family would continue
             to receive enhanced voucher assistance in the oversized unit until such time that



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             an appropriate size unit becomes available for occupancy by the family in the
             project.
             If an over-housed enhanced voucher family refuses to move to the appropriate
             size unit, staff will calculate the family's housing assistance payment (HAP)for
             the oversized unit based on the current applicable voucher subsidy formula using
             the applicable payment standard. The family will be responsible for any amount
             of the gross rent not covered by the housing assistance payment.


      If there are more over-housed families than the number of available appropriate size
      units at any given time, the Housing Authority will require families to move to the
      appropriate size unit according to the date of their initial lease. If the family is unable to
      move due to a disability and a reasonable accommodation has been approved, we will
      move to the next household by date of their initial lease.
      Families who choose to vacate, the enhance voucher becomes regular housing choice
      voucher and the eligibility requirements policy is the same as for screening regular
      admissions for the Housing Choice Voucher Program. Families are also eligible for
      portability and the minimum rent requirement is no longer applicable.




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                                   CHAPTER 20:
                   MODERATE REHABILITATION PROGRAM [24 CFR §882]

      20.1   INTRODUCTION
             The Moderate Rehabilitation (Mod Rehab) Program was designed in 1978 to be
             an expansion of the rental certificate program. The rental certificate program
             was initially amended to permit moderate levels of rehabilitation to upgrade and
             preserve the housing stock. The rental certificate program required a minimum
             expenditure of $1,500 in repairs to meet the program housing quality standards.
             After the work was completed, owners entered into a 15-year Housing
             Assistance Contract with the local housing authority. Using this 15-year rental
             certificate contract, the housing authority helped the owner repay the loan by
             subsidizing the rents of low-income participants at ahigher-than-fair market rate.
             The contract tied rental subsides to the building not the participant. Although
             funding is no longer available for new participants, the Assisted Housing Division
             continues to administer existing contracts under this program. Mod Rehab
             policies and procedures are the same as those of the Housing Choice
             Voucher program except as otherwise noted. If there is a conflict between
              program regulations and the Admin Plan, the program regulations have
              precedence.

      20.2   THE EXPIRED 15-YEAR CONTRACTS
             To date, many of the 15-year contracts have now expired. HUD has authorized
             housing authorities to extend expiring Moderate Rehabilitation Contracts under
             certain conditions. These conditions are as follows:
                 ➢ The project must have five or more units. If a building has five or more
                   units, but only one of the units is under Moderate Rehabilitation Program
                   then the unit is covered under the contract. The building still qualifies for
                   an extension because the requirement is tied to the project not the
                   contract.
                 ➢ The owner must be in good standing with the current contract. Examples
                   of non-compliance: on-going non-compliance with the Housing Quality
                   Standard inspections.

      20.3    REQUESTING AN EXTENSION
             The Housing Authority closely monitors the expiration dates for all Moderate
             Rehabilitation contracts and mails the owners a letter asking owners if they would
             like to request an extension. Owners need to reply immediately to this letter if
             they wish to extend another year. The extension of the contract is a 1-year
             extension. HUD has allowed the Housing Authority to continue to extend the
             "extension" contract for another year. This has been the practice since 1996.
             However, there is no guarantee that the contracts will continue to be extended in
             the future.
              If an owner does not wish to extend the Mod Rehab Contract for their building,
              they are under no obligation to extend the contract. Rules governing the
              Moderate Rehabilitation program require that the owners give their tenants 1-


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              year notice in advance of the expiration of the contract and their intent to opt-out
              of the program. The families will receive enhanced vouchers and have the right
              to remain in the units as long as the units are used for rental housing. If the
              family chooses to vacate the Mod Rehab unit, then the family will be given a
              Housing Choice Voucher.
              If an owner does not provide a family with the required notice, the family is
              protected as if they were under an assisted tenancy until 1 year from the time the
              owner actually provides the notice. This means that if the owner elects not to
              renew the contract and the family chooses to remain in the unit as an unassisted
              tenant, the owner will be required to accept the family portion of the rent as full
              payment until he/she has complied with the notification requirement.

      20.4    ANNUAL INCREASE FOR THE EXPIRED 15-YEAR CONTRACTS
              The Housing Authority will mail the owner a letter regarding their upcoming
              expiration date and advise them of their annual increase that may be granted to
              them providing that they choose to extend their contract. The owner must
              respond immediately for an extension so that the Housing Authority can expedite
              the process to secure funding for the new coming year.
              The methodology used to calculate the rent that an owner may be eligible to
              receive under the renewal contract is different. To determine the rent under the
              extension contract the Housing Authority must compare the following three rent
              analyses:
                  ➢ Existing contract rents multiplied by the Operating Cost Adjustment
                    Factors(OCAF);
                  ➢ The Mod Rehab FMR (120% of the existing Fair Market Rents) minus the
                    Utility allowance; and
                  ➢ Comparable market rents
              The rent under the extension contract is based on the lowest of the above three
              figures. The Housing Authority will complete this analysis for the building and
              provide the owner with a copy.
              For the participants re-examination process, see Chapter 12(Re-Examination).
              For family obligations, see Chapter 15 (Family Obligations). These two rulings
              apply to the Section 8 Certificate Program and the Housing Choice Voucher
              Program.

       20.5    NON-EXPIRED MOD REHAB CONTRACTS
               For those Mod Rehab contracts that have not reached their 15-year contract, the
               annual increases may be granted providing:
                   ➢ The owner submits a proper 60-day notice, prior to the anniversary date,
                     of their rent increase amount to the Housing Authority.
                   ➢ The new rent increase does not exceed the annual adjustment factor and
                     comparables justify the increase.
                   ➢ The unit has passed the annual inspection.



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             For the re-examination process for the participant, see Chapter 12 (Re-
             Examination). On family obligations, see Chapter 15 (Family Obligations).
             These rulings apply to the Section 8 Certificate Program and the Housing Choice
             Voucher Program.

      20.6   REQUEST TO MOVE
             Since the assistance is attached to the unit and not the participant, a participant
             wishing to relocate and continue their assistance must relocate to another Mod
             Rehab Unit. The participant must submit their 30-60 day notice to vacate to their
             owner and mail a copy to the Housing Authority. Once the office receives the
             vacate notice, the Housing Authority will confirm receipt of the notice to vacate by
             sending the participant a confirmation notice along with a set of income
             verification forms. The participant must submit their income verifications forms
             by the due date on the cover letter. Upon receipt of the completed income forms,
             the representative will contact the participant to schedule an appointment for their
             issuance. Listings for other vacant Mod Rehab Units may be available.
             For those participants who placed themselves on the waiting list for a Housing
             Choice Voucher and have been contacted by the Applications and Eligibility
             Department for issuance, the participant must submit their proper 30-60 day
             notice to their owner and mail a copy to the Housing Authority.
             If the participant vacates their unit without the proper 30-60 day written notice to
             their owner and the Housing Authority, they will be terminated from the program.
             Keep in mind that under the Mod Rehab program, the owner may file for vacancy
             loss and if any money is paid on behalf of the participant, they must reimburse
             the Housing Authority before we can consider any future assistance.
             If the owner has submitted a written notice to the participant to vacate their
             premises, the participant needs to contact their representative immediately. The
             representative will advise and direct the participant of their responsibilities.

      20.7   REFERRALS
             24 CFR &882.514
              When a Mod Rehab unit is ready for new lease inspection, the owner/manager
              will refer their next applicant off their waiting list to the Mod Rehab unit. Once the
              applicant calls the office, the applicant's name and family composition will be
              requested in order to prepare the income verification packet along with the
              Criminal Background Check (family members 18 years and older need to sign
              this form) for the Head of Household to pick-up at the office. The applicant will
              have 10 calendar days to return the completed income verification forms to the
              office to determine eligibility. If the applicant has not submitted all the necessary
              documents to determine eligibility, a final notice will be mailed out and given a 10
              working day due date. If the final request is not returned by the due date, the
              owner must refer the next applicant on their waiting list.
              The criminal background check is required for family members 18 years and
              older. For information on the eligibility process, please see Chapter 2(Admission
              Eligibility Factors and Applicant Requirements).




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      20.8   NEW LEASE PROCESS
             Once the applicant has been determined eligible for the Mod Rehab program, the
              Housing Authority will contact the applicant and schedule them for a lease
              issuance. Following the issuance of the lease, the Housing Authority will contact
             the owner/manager to schedule a new lease inspection. The unit is subject to
              lead-based paint requirements specified at 24 CFR §882.404(d). Chapter 10
             (Housing Quality Standards and Inspections) contains details on inspections.
             Upon passing of the initial inspection, the Housing Authority will contact the
             owner to confirm the effective date of the new lease and the amount of the
             security deposit that will be collected.
              The Housing Authority will generate a new lease, which will then be mailed to the
              owner for signatures from the participant and owner. Upon receipt of the signed
              lease, the representative will release the HAP payment to the owner.

      20.9    CLAIMS. MOVE-OUT AND CLOSE-OUT INSPECTIONS
              This section applies to Moderate Rehabilitation Program contracts that were
              effective before October 2, 1995.

      20.9.1 Owner Claims
              Under the Moderate Rehabilitation Program, owners may make a special claim
              for damages, unpaid rent, and vacancy loss after the tenant has vacated the unit.
              Owner claims for payment for unpaid rent, damages, or vacancy loss will be
              reviewed for accuracy and completeness and compared with records in the file.
              The Housing Authority establishes standards by which to evaluate claims, but the
              burden of proof rests with the owner.
              If vacancy loss is claimed, the Housing Authority will ascertain whether the family
              gave proper notice of its intent to move. The file will also be reviewed to verify
              owner compliance at the time the contract was terminated.
              The Housing Authority will pay properly filed claims to the owner as a function of
              the contract, but the tenant is ultimately responsible to reimburse the Housing
              Authority for claims paid to the owner.

      20.9.2 Unpaid Rent
              Unpaid rent only applies to the tenant's portion of rent while the tenant is in
              residence under the assisted lease and only until the termination date of the HAP
              contract.
              Separate agreements are not considered a tenant obligation under the lease and
              the Housing Authority will not reimburse the owner for any claims under these
              agreements.

       20.9.3 Vacancy Loss
              24 CFR &882.411
              Vacancy loss under the Mod Rehab Program is paid if the move was in violation
              of the notice requirements in the lease, or the result of an eviction.


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             In order to claim vacancy loss, the unit must be available for lease and the
             landlord must:
                 1. Notify the Housing Authority within 72 hours upon learning of the
                    vacancy, or prospective vacancy, and
                2. Pursue all possible activities to fill the vacancy, including, but not limited
                   to:
                    • Contacting applicants on the owner's waiting list, if any;
                    • Seeking eligible applicants by listing the unit with the Housing
                      Authority;
                    • Advertising the availability of the unit; and
                    •   Not rejecting potentially eligible applicants except for good cause.
             In the event that a unit becomes vacant because of death, the Housing Authority
             will permit the owner to keep the HAP for the month in which the tenant died, but
             may pay no further HAP.
             If the tenant moves after the date given on their notice of intent to vacate, the
             landlord may claim vacancy loss by providing acceptable documentation that
             there was a bona fide prospective tenant to whom the unit could have been
             rented.

      20.9.4 Damage Claims
             To ensure valid claim processing, the Housing Authority should conduct a
             thorough move-in inspection noting conditions as well as HQS deficiencies, take
             pictures of questionable items, and send a report of all items to the owner and
             tenant.
             The owner must be present during the move-out inspection and only damages
             claimed by the owner are reimbursable.
             All claims for damages must be supported by the actual bills for materials and
             labor and a copy of the canceled checks or other receipts documenting payment.
             Estimates are accepted at the discretion of the Housing Authority depending
             upon the nature of the work to be done.
              Bills from individuals providing labor must include their name, Social Security
              number, address and phone number. The owner may not bill himself/herself for
              labor since that is not considered by the Housing Authority to be an "actual cosY'.
              However, the actual cost of the owner's employees' labor, such as the resident
              manager, to make repairs may be included.
              Persons making repairs or replacements must be licensed to do business in Los
              Angeles County.
              Reasonableness of costs will be based on the Means Cost Estimatin4 Guide.
              Reimbursement for replacement of items such as carpets, drapes, or appliances,
              are based on depreciation schedules in general use by the Housing Authority.
              The Housing Authority may require verification of purchase date, quality, and
              price of replaced items in order to calculate depreciation.



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            Claims for unpaid utility bills cannot be approved as part of a claim.
            Claims for normal wear and tear, previously existing conditions, routine turnover
            preparation, and cyclical interior painting are not paid.
            The Housing Authority will inspect the unit to verify that repairs were made.

      20.9.5 Move-Out and Close-Out Inspections
            Move-out (vacate) inspections are performed for the Mod Rehab Program after
            the tenant has vacated the unit. These inspections are pertormed by Program
            Specialists/Inspectors to assess the condition of the unit, not to evaluate the
            HQS.
            The owner must notify the Housing Authority of the move-out and request an
            inspection within 5 calendar days of learning of the move-out, or contract
            termination, whichever is first, in order to submit a claim for damages.
            If the contract was terminated due to owner breach, or the owner was in violation
            of the contract at the time that it was terminated, there will be no entitlement to
            claims and therefore no inspection.
            The owner and tenant will be notified of the date and time of the inspection. If the
            owner is not present, the move-out inspection will not be rescheduled.
            The Housing Authority will conduct amove-out inspection on the tenants
            request.
            In the event that the Housing Authority is unable to inspect within 10 calendar
            days, the owner will be permitted to use date-stamped photographs to
            substantiate the claim.

      20.9.6 Processing Claims
            Any amount owed by the tenant to the owner for unpaid rent or damages will first
            be deducted from the maximum security deposit that the owner could have
            collected under the program rules. If the maximum allowable security deposit is
            insufficient to reimburse the owner for the unpaid tenant rent or other amounts
            which the family owes under the lease, the owner may request reimbursement
            from the Housing Authority up to the limits for each program.
             If the owner claims vacancy loss, the security deposit that s/he collected or could
             have collected will be deducted from the vacancy loss claim.
             The Housing Authority reviews claims for unpaid rent, damages, or vacancy loss
             and makes a preliminary determination of amount payable. The family is
             informed that a claim is pending (notice sent to last known address). The
             notification will state the,preliminarily determined amount, the type of claim, and
             describe the procedure for contesting the claim.
                 1. The Housing Authority will offer the family 10 calendar days to contest the
                    claim. If the family disputes the claim, the Housing Authority will schedule
                    an informal meeting/claim review with the owner and tenant in order to
                    resolve the differences.




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                 2. If the tenant fails to attend the meeting, the Housing Authority will proceed
                    with its original determination; the meeting will not be rescheduled unless
                    there are extenuating circumstances.
                 3. At the Claim Review, the amount and type of claim will be discussed with
                    the family. If the family agrees with the amount and type of claim, the
                    family may be offered a Repayment Agreement. If the family does not
                    agree to sign a Repayment Agreement, the Housing Authority will
                    process the account for collection.
                 4. If the family demonstrates that the claim, or parts of it, is invalid, the
                    Housing Authority will adjust the amount. The Housing Authority may
                    offer the tenant an opportunity for an Informal Hearing regarding the claim
                    if disputes cannot be resolved.
             After a determination has been made, the Housing Authority will notify the family
             in writing of the decision. If it has been determined that the family owes money,
             the Housing Authority will pursue collection to repay either in a lump sum or
             through a payment agreement. The notice will warn the family that their
             assistance may be terminated and they may be denied future participation in the
             program if they do not reimburse the Housing Authority as required.

      20.9.7 Other Requirements for Claims Processin4
            • The Housing Authority will require proof that the owner has complied with
                State and local laws applicable to security deposits before making payment
                on any claim.
             •   All notices to tenants during the processing of a claim must include proof of
                 mailing or of personal delivery.
             •    Costs of filing eviction to remove the tenant or any other legal fees, shall not
                 be reimbursed.
             •    No claims will be paid for a unit that is vacant as the result of the landlord
                 voluntarily moving a family to another unit owned by the same landlord or as
                 a result of a mutual rescission between the landlord and tenant family.
             All unpaid rent, damage, and vacancy loss claim forms must be fully complete
             when they are submitted, and they must be submitted within 30 calendar days of
             the date the owner learned of the move-out.




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                                       CHAPTER 21:
                                 PROJECT-BASED VOUCHERS

      21.1   INTRODUCTION
             ~24CFR983. 5]
             The Project-Based Voucher (PBV) program is administered by Public Housing
             Authorities who also administer the tenant-based Housing Choice Voucher
             program, or Section 8. PBV is assistance that is tied directly to a unit in an
             approved project, unlike HCV, where assistance is tied to the participant. The
             policies regarding the Housing Choice Voucher program apply to the PBV
             program, except where they are specifically altered in this chapter.
             In administering the Project-Based Voucher program, the goals of this Housing
             Authority are to:
                ➢ Attract more affordable developments to the Housing Authority's
                  jurisdiction;
                ➢ Preserve affordable units that might otherwise become market-rate units;
                ➢ Increase affordability of housing for families making below 30% of the
                  area median income; and
                ➢ Further HUD and Housing Authority goals of deconcentration.
             The Housing Authority may enter into contracts for Project-Based Vouchers
             based on the policies outlined in this chapter.

      21.2    LEVEL OF ASSISTANCE
             [24CFR983.61
             The Housing Authority will appropriate no more than 20% of the Section 8 budget
             authority for Project-Based Vouchers.

      21.3    OWNER PROPOSAL SELECTION PROCEDURE
             [24CFR983.51]
             The Housing Authority may use one of the following methods to select owner
             proposals:
                 1. Request for Proposal (RFP): The Housing Authority may issue a
                    competitive request for PBV proposals. An RFP may not be limited to a
                    single site and may not impose restrictions that practically preclude owner
                    submission of proposals for PBV on different sites.
                    The Housing Authority will publish an RFP in at least one newspaper of
                    general circulation, as well as post the RFP on the Housing Authority
                    website. The submission deadline will be included in the RFP and a
                    detailed application and selection criteria will be provided to all interested
                    parties.
                 2. At the discretion of the Housing Authority, projects may be selected for
                    PBV assistance using proposals for housing developed using federal,
                    state, or local government housing assistance, community development,


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                    or a supportive services program that requires competitive selection of
                    proposals (e.g., HOME, competitively-awarded Low-Income Housing Tax
                    Credit, City of Industry Funds), where the proposal has already been
                    selected in accordance with such program's competitive selection
                    requirements within three years of the Housing Authority's PBV selection
                    date, and the earlier selection proposal did not involve any consideration
                    that the project would receive Housing Authority PBV assistance.

      21.3.1 Selection Criteria
            [24CFR983.571
             The following criteria will be considered when evaluating proposals for Project-
             Based Voucher assistance:
                 1. Housing that serves homeless families;
                2. Housing that serves disabled families or individuals;
                3. Housing that serves elderly families or individuals;
                4. Housing that serves families with children, consistent with the needs
                   indicated by HACoLA's waiting list; and/or
                5. Other documented needs
                6. Housing that promotes deconcentration by:
                     ➢ Being located in a census tract where the poverty rate is 20% or less,
                       or if the poverty rate is greater than 20%, if the overall poverty rate
                       has declined over the past five years;
                     ➢ Serving very low-income families in mixed-income projects;
                     ➢ Other appropriate criteria consistent with regulation.
                 7. Housing that provides an appropriate level of supportive services to
                    residents;
                 8. Housing that serves low- to extremely low-income families for the life of
                    the project;
                 9. Other criteria consistent with regulation.

      21.3.2 Requirements For Rehabilitated and Newly Constructed Housing
             f24CFR983.1511
             The following policies do not apply to existing housing. If a project is selected
             under the rehabilitated or newly constructed category, it cannot be selected
             under existing housing.

      21.3.3 Agreement to Enter Into the HAP Contract
             ~24CFR 983.152]
              If a rehabilitated or newly constructed project, as defined by regulation, is
              selected by the Housing Authority to receive Project-Based Vouchers, the
              Housing Authority will enter into an Agreement with the owner in the form
              required by HUD.



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             In the Agreement the owner agrees to develop the contract units to comply with
             HQS, and the Housing Authority agrees that, upon timely completion of the
             development in accordance with the terms of the Agreement, the Housing
             Authority will enter into a HAP contract with the owner for the contract units.

      21.3.4 Subsidy Laverina Review(SLR)
            (24CFR983.55]
             The Housing Authority may only provide assistance in accordance with HUD
             subsidy layering regulations and other requirements.
             When a project has received any form of governmental housing assistance other
             than the PBV assistance, HUD must first conduct a subsidy layering review to
             determine if the project is in accordance with regulations before any agreement
             or contract is executed between the Housing Authority and the owner.
             Once HUD has reviewed and approved, the owner must certify in the HAP
             contract that the project has not received and will not receive any other form of
             public assistance during the life of the HAP contract other than that disclosed in
             the subsidy layering review.

      21.3.5 Housin4 Authority —Owned Units
             ~24CFR983.591
             Units where a direct or indirect interest is held by any officer or employee of the
             Housing Authority are considered Housing Authority —owned units. Project-
             based vouchers may not be used for public housing units.
             Selection of a project owned by the Housing Authority must be consistent with
             the process outlined in section 21.3 of this chapter.
             Rent to owner must be determined in accordance with the same requirements for
             other units, except that the initial contract rent must be determined by an
             independent entity, approved by HUD, based on an appraisal by a licensed,
             state-certified appraiser.
             A HUD-approved, independent entity must also perform all HQS inspections as
             required by regulation.

      21.4   HOUSING ELIGIBLE FOR ASSISTANCE
             ~24CFR983.52]
             The Housing Authority will consider proposals for existing and newly constructed
             and rehabilitated housing.
             The following types of housing are ineligible under the Project-Based Voucher
             Program:
                     ➢ Shared housing;
                     ➢ Units on the grounds of a penal, reformatory, medical, mental, or
                       similar public or private institution;
                     ➢ Facilities providing continuous medical or related care, except an
                       assisted-living facility that provides home health care services;



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                    ➢ Units owned by an educational institution that are designated for
                      occupancy by students of the institution;
                    ➢ Manufactured homes;
                    ➢ Cooperative housing;
                    ➢ High-rise elevator project for families with children
                        Transitional housing;
                    ➢ Units occupied by owners; and
                        Units occupied by ineligible families.

      21.5    LIMITS ON ASSISTANCE
             [24CFR983.561
             The Housing Authority may only provide Project-Based Voucher assistance to up
             to 25% of the units in a selected development.
             Units excepted from this rule are:
                     ➢ Units that house elderly or disabled families; and
                     ➢ Families receiving qualified supportive services.
             More than 25% of the units in asingle-family building (a building with no more
             than 4 dwelling units) may be assisted with PBV.

      21.5.1 Qualified Supportive Services
             Units occupied by families receiving qualified supportive services are excepted
             from the 25% cap on PBV assistance within a single development. Examples of
             supportive services that qualify for an exception include, but are not limited to:
                     ➢ Family Self-Sufficiency(FSS) program;
                     ➢ Welfare-to-Work
                     ➢ Psychological or medical services
                     ➢ Drug or alcohol rehabilitative treatment
                     ➢ Job training or placement services
                     ➢ Education program where there is a reasonable expectation of leading
                       to self-sufficiency

      21.5.2 Qualifications for Supportive Services
              It is not necessary that the supportive services be provided at or by the project.
              At least one member of the family must be receiving the supportive service for
              the unit to remain excepted from the 25% cap.
              Participation in medical- or disability-related services is not required as a
              condition of living in an excepted unit, other than a drug and alcohol treatment
              program for current abusers, although such services may be offered.




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      21.5.3 Suaaortive Services Monitoring
             Participant compliance with a supportive service contract will be monitored at
             least annually. The Housing Authority will request a status update for the
             participant's supportive service contract at the anniversary of said contract. The
             Housing Authority may request a status update on the supportive service
             contract more frequently, at its discretion.
             Providers of supportive services must provide the Housing Authority any changes
             to the program within thirty days of when those changes occur. Providers must
             also immediately report to the Housing Authority when a family fails to meet the
             supportive service contract requirements.

      21.5.4 Failure to Meet Suaportive Service ReQuirements
             When a family living in an excepted unit fails to meet the requirements of a
             supportive service contract, and is living in the excepted unit because of the
             supportive services received, the Housing Authority will propose termination of
             the contract. The family will not be issued a voucher to move.
             The owner and participant will be given asixty-day notice of the proposed
             termination of the HAP contract. The owner may at that time terminate the lease
             and issue an order to vacate by the HAP contract termination date.
             If a family fails to meet the requirements of the supportive service contract for
             good cause, as determined by the Housing Authority, and is qualified to become
             reinstated in the supportive service program within a reasonable time period, the
             Housing Authority may counsel the family on its obligations and allow
             reinstatement of the supportive service contract.

      21.6   SELECTION OF PARTICIPANTS
             ~24CFR983.251
             The Housing Authority will only provide PBV assistance to families determined
             eligible, consistent with Chapter Four of this Plan.

      21.6.1 Waiting List
             The Housing Authority will use a separate waiting list to administer the Project-
             Based Voucher program. All applicants currently on the tenant-based assistance
             waiting list will be given an opportunity to place their name on the PBV waiting
             list, with their original date and time intact. New applicants will be given the
             opportunity to place their name on both the tenant-based waiting list and the PBV
             waiting list.

      21.6.2 Protection of In-Place Families
              Families already residing in units to be placed under contract will be given the
              opportunity to place their name on the PBV waiting list. If the family is
              determined eligible for the PBV program after they have been placed on the
              waiting list, an absolute preference will be given that family, who will then be
              referred to the owner for an appropriately-sized unit in the project. This
              protection does not apply to families who do not meet eligibility criteria on the
              proposal selection date.


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      21.6.3 Local Preferences
             Applicants on the PBV waiting list are subject to the system of local preferences
             as outlined in Chapter Four of this Plan.
             Disabled families who need the services offered at a particular project may be
             awarded first preference from the waiting list. This preference is limited to
             families or individuals who meet the following criteria:
                     ➢ Has a disability that significantly interferes with the ability to obtain
                         and maintain themselves in housing;
                    ➢ WII not be able to obtain or maintain themselves in housing without
                      appropriate supportive services;
                    ➢ For whom such services cannot be provided in a nonsegregated
                      setting.
             Disabled families may not be required to accept the supportive services offered
             nor can a preference be granted for those with a particular disability.

      21.6.4 Refusal of Assistance
             If a family refuses an offer of PBV assistance, the Housing Authority may remove
             the family from the PBV waiting list. Such refusal will not affect the family's
             position on the waiting list for tenant-based assistance nor affect any admissions
             preference for which the family qualifies.
             If an owner rejects a family for admission to the owner's PBV units, such
             rejection will not affect the family's position on the tenant-based waiting list and
             the family will be returned to their position on the PBV waiting list. If a family is
             rejected three times by PBV owners, the Housing Authority may remove the
             family from the PBV waiting list.

      21.7   INFORMATION FOR ACCEPTED FAMILIES
             ~24CFR983.252]
              When a family accepts an offer of Project-based assistance, the Housing
              Authority will provide the family an oral briefing. Attendance at this briefing is
              mandatory. The briefing will include:
                      ➢ A description of how the program works;
                     ➢ Family and owner responsibilities.
              A briefing packet will be provided, with information regarding:
                      1. How the Housing Authority determines total tenant payment;
                     2. Family obligations; and
                     3. Applicable fair housing information.




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      21.8   LEASING OF CONTRACT UNITS
             ~24CFR983.2531
             Owners must lease contract units only to eligible families, selected and referred
             by the Housing Authority from the waiting list, during the term of the HAP
             contract.
             Owners must develop written tenant selection procedures consistent with the
             purpose of improving housing opportunities for very low-income families, related
             to program eligibility and an applicant's ability to perform lease obligations.
             An owner must promptly notify, in writing, any rejected applicant of the grounds
             for rejection.
             Owners must follow the Housing Authority's subsidy standards when leasing
             units to referred families.

      21.9    VACANCIES
             [24CFR983.2541
             The owner must promptly notify the Housing Authority of any current or expected
             vacancy in a contract unit. After owner notice, the Housing Authority will
             promptly refer a sufficient number of families to the owner to fill the vacancy.
             If any contract unit has been vacant for at least 120 days since the owner notice
             of vacancy, the Housing Authority may give notice to the owner amending the
             HAP contract to reduce the number of contract units by the number of units that
             have been vacant for that period.

      21.10 TENANT SCREENING
            ~24CFR983.255]
             The Housing Authority may take into consideration any admission criteria
             outlined in Chapter Two of this Plan in order to screen applicants for eligibility;
             however, it is the responsibility of the owner to screen applicants for behavior
             and suitability for tenancy.
              The Housing Authority will provide the owner with the tenant's current and former
              address, as well as the name and address of the current and/or former landlord,
              if known. This policy is consistent with information provided to owners under the
              Housing Choice Voucher program.

      21.11 HOUSING ASSISTANCE PAYMENTS CONTRACT
              The Housing Authority must enter into a Housing Assistance Payments (HAP)
              contract with the owner in order to provide housing assistance payments for
              eligible families. The Housing Authority will make housing assistance payments
              to the owner in accordance with the HAP contract, for contract units leased and
              occupied by eligible families during the term of the HAP contract.

       21.11.1 HAP Contract Information
                 The HAP contract must specify:
                  1. The total number of contract units by number of bedrooms;


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                2. Project name and full address, including the block and lot number, if
                   known;
                3. Information to identify the specific contract units, including;
                       ❑   Number of units in each building;
                       ❑ Location of each contract unit;
                       ❑ Area of each contract unit; and
                       ❑   Number of bedrooms and bathrooms in each unit.
                4. Services, maintenance and equipment to be supplied by owner without
                   additional charge;
                5. Utilities available to the contract unit, specifying which utilities are paid by
                   owner and which are paid by tenant;
                6. Assurance of nondiscrimination;
                7. The HAP contract term;
                8. The number of excepted units (exceed the 25% per building cap) that will
                   be set aside for occupancy by qualifying families;
                9. The initial rent to owner.
                 10. For newly constructed or rehabilitated units, the owner's certification of
                    the units' completion in accordance with the Agreement.

      21.11.2 Execution of the HAP Contract
              ~24CFR983.204. 24CFR983.2091
             Before the HAP contract may be executed, the Housing Authority will inspect
             each contract unit in accordance with section 21.12 of this chapter and Chapter
             Ten of this Plan.
             For existing housing, the HAP contract must be executed promptly after selection
             of the owner proposal and inspection.
             For new construction or rehabilitated housing, the HAP contract is executed after
             the Housing Authority has inspected the completed units and is satisfied that said
             units are completed in accordance with the Agreement and the owner has
             furnished required evidence of completion.
             By execution of the HAP contract, the owner certifies:
                     ➢ The owner is and will maintain all contract units in accordance with
                       HQS;
                     ➢ The owner is providing all services, maintenance, equipment and
                       utilities as agreed to under the HAP contract and in the leases with
                       assisted families;
                     ➢ Each contract unit is leased to an eligible family and the lease
                       complies with the HAP contract and HUD requirements;
                     ➢ Members of the assisted family reside in the contract unit and it is
                       their only residence;



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                   ➢ The owner is not a relative of any member of the assisted family by
                     blood or operation of law;
                   ➢ The amount of the housing assistance payment is the correct amount
                     due under the HAP contract;
                   ➢ The rent to owner for each contract unit does not exceed the rent due
                     to owner for any comparable, unassisted unit;
                   ➢ The owner will not receive any other payments beyond the tenant rent
                     and housing assistance payments for the contract unit; and
                   ➢ The family does not own or have any interest in the contract unit.

      21.11.3 Term of the HAP Contract
             (24CFR983.205]
            The Housing Authority may enter into a HAP contract with an owner for an initial
            term of not less than one year and not more than ten years for each contract unit.
            Within one year of the expiration of the HAP contract, the Housing Authority may
            extend the term of the HAP contract up to five additional years.
            The HAP contract may be terminated by the Housing Authority for insufficient
            funds. If it is determined there are insufficient funds available to continue to
            assist all contract units for the full term, the Housing Authority may give notice to
            the owner for all or any of the contract units, in accordance with HUD
            instructions.

      21.11.4 Amendments to the HAP Contract
              ~24CFR983.2061
            Amendment to Substitute Contract Units —The Housing Authority may amend
            the HAP contract to substitute a different unit with the same number of bedrooms
            in the same building for the previously assisted unit. Prior to the substitution, the
            Housing Authority will inspect the proposed substitution unit and determine
            reasonable rent.
            Amendment to Add Contract Units — At the discretion of the Housing Authority
            and provided the number of PBV-assisted units in a building will not exceed the
            25% cap or the 20% budget authority, a HAP contract may be amended during
            the three-year period immediately following the execution date of the HAP
            contract to add additional PBV units to a building. The anniversary and
            expiration date for the added units will be the same as for the existing units under
            the HAP contract.
      21.12 INSPECTIONS
            I24CFR983.1031
             HQS inspections will be conducted in accordance with Chapter Ten of this Plan.
             The Housing Authority may not perform inspections on units where there is a
             direct or indirect interest by any of its employees or officers.
             The Housing Authority will inspect PBV units at the following times:
                1. Pre-selection —the Housing Authority will inspect the proposed site before
                   the proposal selection date. For existing units, units must substantially


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                    comply with HQS before the proposal selection date. Units must fully
                    comply before the HAP contract may be executed;
                2. Pre-HAP contract;
                3. Turnover —the Housing Authority must inspect a unit before a new family
                   moves in. The unit must fully comply with HQS before a family may
                   receive assistance in that unit;
                4. Annual —The Housing Authority will conduct inspections on a random
                   sample of at least 20% of contract units in a building annually. Turnover
                   inspections are not counted toward annual inspections.
                   If more than 20% of the annual sample fail the HQS inspections, 100% of
                   the contract units in the building must be inspected.
                5. Other times —the Housing Authority will inspect PBV units at other times
                   as necessary to insure the contract units are in compliance with HQS and
                   that the owner is providing utilities, maintenance and other services in
                   accordance with the HAP contract.

      21.12.1 HQS Violation
              ~24CFR983.2071
             The Housing Authority may make no HAP payments to the owner during any
             period in which the contract unit does not comply with HQS or any other HAP
             contract requirement.
             Remedies for HQS violation include abatement or reduction in HAP payments,
             reduction of contract units, and termination of the HAP contract.

      21.13 LEASE
           (24CFR983.2561
             Owners must use the same lease for contract units as for unassisted units, with
             the lease being in accordance with state law.
             The lease must include the HUD tenancy addendum. All provisions in the
             tenancy addendum must be included in the lease. Provisions in the addendum
             shall prevail over provisions in the lease.
             The initial term of the lease must be for at least one year.
             The lease must specify:
                     ➢ Names of the owner and tenant;
                     ➢ Identifying information of the unit rented;
                     ➢ Term of the lease and any provision for renewal;
                     ➢ The amount of tenant rent to owner;
                        Specification of services, maintenance, equipment, and utilities to be
                        provided by the owner;
                     ➢ The amount of any charges for food, furniture, or supportive services.




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      21.13.1 Changes in the Lease
            If the tenant and owner agree to any changes in the lease, the change must be in
            writing and must be submitted to the Housing Authority immediately.
            The owner must notify the Housing Authority of any proposed change in the
            lease regarding responsibility for utilities. Such changes may only be made with
            approval of the Housing Authority. If the Housing Authority approves a change in
            responsibilities for utilities, rent reasonableness must then be redetermined,
            which will then be used in calculation of rent to owner from the effective date of
            the change.

      21.13.2 Absence from the Unit
            The Housing Authority's absence policies found in Chapter Six of this Plan will
            apply to the PBV program. The lease may specify a maximum period of family
            absence from the unit that is shorter than that specified by the Housing Authority.
            The HAP contract will not be terminated if the family is absent for longer than the
            maximum period permitted by the Housing Authority.

      21.13.3 Owner Termination of Tenancy and Eviction
            Grounds for owner termination and eviction are the same as outlined in Chapter
            Fourteen of this Plan, except that an owner may not terminate tenancy after the
            initial term of the lease for business or economic reasons, or to repossess the
            unit for personal, family, or nonresidential use.
            If an owner refuses to renew the lease without good cause, the family will be
            issued atenant-based voucher and the unit will be removed from the HAP
            contract.

      21.13.4 Security Deposits
              ~24CFR983.2581
             The owner may collect a security deposit from the tenant. The amount may not
             exceed that allowed by state and local law or that charged to unassisted units in
             the same building.
             When the tenant moves out, the owner may use the amount of the deposit, in
             accordance with the lease and state and local law, as reimbursement for any
             unpaid tenant rent, damage to the unit, or any other amount the tenant owes
             under the lease.
             The owner must give the tenant a written list of all items charged against the
             security deposit and the amount of each item. After deducting the amount used
             to reimburse the owner, the owner must promptly refund the full amount of the
             balance to the tenant.
             If the balance is not sufficient to cover amounts the tenant may owe under the
             lease, the owner may seek the remainder from the tenant. The Housing
             Authority has no liability or responsibility for payment of any amount owed by the
             family to the owner.




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      21.14

              If the Housing Authority determines that a family is occupying the wrong-size
              unit, or a unit with accessibility features the family does not require, and is
              needed by a family that requires the accessibility features, the Housing Authority
              will offer the family continued assistance in another unit and will notify the family
              and owner immediately of its offer of continued assistance and determination.
              The Housing Authority may offer continued assistance either in another PBV unit
              or a tenant-based voucher. If appropriate, the Housing Authority may refer the
              family to an available public housing unit or other public or private tenant-based
              assistance (e.g. HOME).
              If the family is given atenant-based voucher, policies under the Housing Choice
              Voucher program regarding voucher issuance and expiration will apply. If a
              family fails to lease a unit with the tenant-based voucher, assistance will be
              terminated upon expiration of the voucher (and any subsequent extensions
              granted by the Housing Authority)
              Upon determination that the family is occupying a wrong-size unit or an
              accessible unit that is not required, and continued assistance is offered in the
              form of a Project-Based voucher, the family will have ninety days in which to
              move to another unit. If the family fails to move or refuses the offer of continued
              assistance in another unit, assistance to the family will be terminated.

      21.15 DETERMINING RENT TO OWNER
            ~24CFR983.3011
              The amount of estimated rent to owner must be included in the Agreement for
              rehabilitated or newly constructed housing. The actual rent to owner must be
              determined at the beginning of the HAP contract term for all types of housing.
              The amount of rent to owner is redetermined at the owner's request for a rent
              increase and when there is a 5% or greater decrease in the published FMR.
              Except for certain tax credit units specified below, the amount of rent to owner
              must not exceed the lowest of:
                     ➢ An amount determined by the PHA that does not exceed 110% of the
                         FMR (or any exception payment standard approved by HUD), minus
                         the utility allowance;
                       ➢ The reasonable rent; or
                       ➢ The rent requested by the owner.

       21.15.1 Rent to Owner for Certain Tax Credit Units
              Rent to owner must be determined differently if the unit receives low-income
              housing tax credits under the Internal Revenue Code of 1986 and:
                 1. Is not located in a qualified census tract; and
                   2. Is located in the same building as comparable tax credit units of the same
                      bedroom size that do not receive any other form of rental assistance; and



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               3. The tax credit rent exceeds fair market rental or any exception payment
                  standard.
            In the case that the unit meets all of the above stated criteria, rent to owner must
            not exceed the lowest of:
                    ➢ The tax credit rent (comparable tax credit units in the same building
                       that do not receive any other form of rental assistance), minus the
                       utility allowance;
                   ➢ The reasonable rent; or
                   ➢ The rent requested by owner.
            When determining the initial rent to owner, the Housing Authority will use the
            most recently published FMR and utility allowance in effect at the execution of
            the HAP contract. However, at its discretion, the Housing Authority may use the
            amounts in effect at any time during the 30-day period immediately before the
            beginning date of the HAP contract.

      21.15.2 Housing Authority —Owned Units
            For any units in which any officer or employee has a direct or indirect interest, the
            initial determination of rent to owner and the annual redetermination of rent to
            owner will be made by an independent entity, approved by HUD.

      21.15.3 Redetermination of Rent to Owner
              ~24CFR983.3021
            The Housing Authority will only redetermine rent to the owner when the owner
            requests an increase at the annual anniversary of the HAP contract or when
            there is at least a 5% decrease in the published FMR. Notice of rent increase
            and other limitations on rent adjustments must conform to the above stated
            policies and section 11.3.3 of this Plan.
            If there is a decrease in rent due to a 5% or greater decrease in the published
            FMR, the rent to owner must be decreased, whether or not the owner requested
            a rent adjustment.
            The notice of rent adjustment from the Housing Authority constitutes an
            amendment of rent to owner specified in the HAP contract.
            Rent reasonableness will be determined by aHUD-approved, independent entity
            for units owned by the Housing Authority. The entity will provide a copy of the
            determination to the Housing Authority and the HUD Los Angeles field office.

      21.15.4 Rent Determination for Projects with Other Subsidies
             ~24CFR983.304]
             Rents may not exceed rent limits as established by the applicable federal
             program for units subsidized under the following programs:
                 1. HOME;
                 2. Insured or non-insured Section 236 project;




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                3. Formerly insured or non-insured Section 236 project that continues to
                   receive Interest Reduction Payment following a decoupling action;
                4. Section 221(d)(3) below market interest rate(BMIR) project;
                5. Section 515 project of the Rural Housing Service;
                6. A project receiving Low-Income Housing Tax Credits;
                7. Any other type of federally subsidized project specified by HUD.
             The Housing Authority may, at its discretion; reduce the initial amount of rent to
             the owner because of other governmental subsidies.

      21.15.5 Rent Control and Other Rent Limitations
              ~24CFR983.3051
             Rent control and other rent limitations under local, state or federal law will apply.

      21.16 PAYMENT TO OWNER
           (24CFR983.3511
             The Housing Authority will make HAP payments to the owner in accordance with
             the HAP contract for the months in which the contracted unit is leased to and
             occupied by an eligible family. Except for discretionary vacancy payments
             described in section 21.16.1 of this chapter, the Housing Authority will not make
             any payments for any month after the month in which the family moves out of the
             unit. In order to continue receiving HAP payments, the owner must comply with
             all provisions of the HAP contract, including HQS.

      21.16.1 Vacancy Payments
              ~24CFR983.3521
             If a family moves out of a contract unit, the owner may keep the payment for the
             full calendar month in which the family moves out. The owner may not keep the
             payment if the Housing Authority determines that the vacancy is the owner's
             fault.
              The Housing Authority may provide for vacancy payments to the owner not to
              exceed finro months following move out. The vacancy payment may not exceed
              the amount of monthly rent under the assisted lease, minus any rent received by
              the owner, including any available amount from the tenant's security deposit.
              Vacancy payments may only cover periods the unit is actually vacant.
              The Housing Authority will only make vacancy payments to the owner if:
                     ➢ The owner gives prompt, written notice to the Housing Authority
                        certifying that the family vacated the unit, including the date the family
                        moved out, and certifies:
                         o The vacancy is not the fault of the owner and the unit was vacant
                           during the period claimed;
                         o The owner has taken every reasonable step to minimize the
                           likelihood and length of the vacancy.



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            The owner must then submit a form requesting vacancy payments and provide
            the amount of the tenants security deposit with any amount available to
            reimburse unpaid rent. The form must be accompany receipts substantiating any
            damages the owner claims from the security deposit. The owner must certify on
            this form that no other payments were received for the unit during the period
            vacancy claimed.

      21.16.2 Other Charges and Fees
              [24CFR983.354]
            The owner may not require the family to pay charges for any meals or supportive
            services unless the project is an assisted living development, in which case
            owners may charge tenants, family members, or both for meals and supportive
            services. These charges may not be included in the rent to owner and may not
            be used to calculate rent reasonableness. Nonpayment of such charges is
            grounds for termination under the lease only in an assisted living development.
            The owner may not charge tenants or family members extra amounts for items
            customarily included in the rent in Los Angeles County, or provided at no
            additional cost for unsubsidized tenants in the premises.




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                                          CHAPTER 22:
                               LIMITED ENGLISH PROFICIENCY

      22.1   INTRODUCTION
             In accordance with Executive Order 13166, the Housing Authority will provide
             meaningful access to its programs and activities by persons with Limited English
             Proficiency (LEP). This chapter describes how the Housing Authority will
             undertake reasonable efforts to provide or arrange free language assistance for
             LEP beneficiaries or potential beneficiaries of the Housing Choice Voucher
             program and all other programs administered by the Housing Authority.

      22.2   MEANINGFUL ACCESS: FOUR-FACTOR ANALYSIS
             Meaningful access is free language assistance in accordance with federal
             guidelines. The Housing Authority will annually assess and update the following
             four-factor analysis:

             1. The number or proportion of LEP persons eligible to be served or likely to be
                served by the Housing Authority.
             2. The frequency with which with LEP persons using a particular language come
                into contact with the Housing Authority.
             3. The nature and importance of the Housing Authority program, activity or
                service to the person's life.
             4. The Housing Authority's resources and the cost of providing meaningful
                access.

      22.3    LANGUAGE ASSISTANCE

              A person who does not speak English as their primary language AND who has a
              limited ability to read, write, speak or understand English may be a Limited
              English Proficient (LEP) person and may be entitled to language assistance with
              respect to the programs and activities of the Housing Authority.

              Language assistance includes interpretation, which means oral or spoken
              transfer of a message from one language into another language; and/or
              translation, which means the written transfer of a message from one language
              into another language. The Housing Authority will determine when interpretation
              and/or translation services are needed and are reasonable based upon the four-
              factor analysis.

              Housing Authority staff will take reasonable steps to provide language assistance
              to LEP applicants and participants who have di~culty communicating in English.
              The Housing Authority will provide the language assistance in the LEP
              individual's preferred language upon request.




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            The Housing Authority will periodically assess the necessity for language
            assistance based on the frequency of requests for interpreters and/or translation,
            as well as the literacy skills of applicants and participants.

     22.4   TRANSLATION OF DOCUMENTS
            The Housing Authority will consider the following factors in determining whether a
            document requires translation:
               a. The document meets the threshold of a "vital document". Per the HUD
                  guidance, "vital documents" are those that are critical for ensuring
                   meaningful access by beneficiaries or potential beneficiaries generally
                  and LEP persons specifically.
                b. The costs and benefits of translating documents for potential LEP groups,
                   the barriers to meaningful translation or interpretation of technical housing
                   information, the likelihood of frequent changes in documents, the
                   existence of multiple dialects within a single language group, the literacy
                   rate in an LEP group and other relevant factors. The Housing Authority
                   will undertake this examination when an eligible LEP group constitutes 5
                   percent of an eligible group of beneficiaries or potential beneficiaries (for
                   example, 5 percent of households receiving Section 8 assistance) or
                   1,000 persons, whichever is less.

            In consideration of the above, the Housing Authority will begin to identify all vital
            documents that need to be translated. The Housing Authority will then translate
            a portion of those documents identified every year as financially feasible.

            As opportunities arise, the Housing Authority may work with other local public
            housing authorities(PHAs)to share the costs of translating common documents.

            As HUD continues to translate standard housing documents in multiple
            languages, the Housing Authority will replace its translated versions with the
            official HUD versions.

            The Housing Authority will consider technological aids such as Internet-based
            translation services, which may provide helpful, although perhaps not
            authoritative, translations of written materials.

      22.4.1 Audiovisual Materials

             The Housing Authority will make reasonable efforts to produce multiple
             translations of audiovisual materials it may use to inform or educate applicants,
             participants and other client groups. For example, the Housing Authority
             provides interpreters at Resident Advisory Board meetings.

      22.4.2 Formal Interareters
             To provide meaningful access for LEP applicants and participants, the Housing
             Authority will provide qualified interpreters, including agency bilingual staff and
             outside vendors, on an as-needed basis. At important stages that require one-



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             on-one contact, written translation and verbal interpretation services will be
             provided, consistent with the four-factor analysis.

             The Housing Authority may require an interpreter to certify that he/she
             understood the matter communicated and rendered a competent interpretation.

             Qualified interpreters shall be used at the following:

                    a. Voucher issuance briefings;

                     b. Informal hearings for termination of assistance;

             A Housing Authority staff interpreter may not be a subordinate to the person
             making the decision.

             The Housing Authority maintains a list of qualified, bilingual employees who have
             applied for, and tested for proficiency in languages used by clients. Those
             employees receive additional compensation for demonstrating non-English
             language proficiency and can provide limited assistance to Housing Authority
             staff and LEP clients as part of their regular job duties.

      22.4.3 Informal Interpreters

             Informal interpreters may include the family members, friends, legal guardians,
             service representatives or advocates of the LEP individual. Housing Authority
             staff will determine whether it is appropriate to rely on informal interpreters,
             depending upon the circumstances and subject matter of the communication.
             However, in many circumstances, informal interpreters, especially children, may
             not be an appropriate option to provide accurate interpretations. There may be
             issues of confidentiality, competency or conflict of interest.

              A LEP person may use an informal interpreter of his/her own choosing and at
              his/her expense, either in place of or as a supplement to the free language
              assistance offered by the Housing Authority. If possible, the Housing Authority
              will accommodate a LEP individual's request to use an informal interpreter in
              place of a formal interpreter.

              If a LEP individual prefers an informal interpreter, after the Housing Authority has
              offered free interpreter services, the informal interpreter may interpret. In these
              cases, the LEP individual and interpreter may be asked to sign a waiver refusing
              interpreter services.

              If a LEP individual wants to use his/her own informal interpreter, the Housing
              Authority reserves the right to also have a formal interpreter present.

       22.4.4 Outside Resources

              Outside resources may include community volunteers or Housing Choice
              Voucher participants.




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             Outside resources may be used for interpreting services at public or informal
             meetings or events if a timely request has been made.

             The Housing Authority will establish and maintain relationships with organizations
             that assist specific cultural and ethnic groups living in Los Angeles County. To
             help their clients obtain or keep housing assistance through the Housing
             Authority, these organizations may provide qualified interpreters for LEP persons.

      22.5   MONITORING

             The Housing Authority will review and revise this LEP policy annually. The
             review will include:
                 a. Reports from the Housing Authority's software system on the number of
                    LEP clients, to the extent that the software and staff data entry can
                     provide such information. Such reports may be supplemented by staff
                    observations.
                 b. A determination as to whether 5 percent or 1,000 persons from Housing
                     Authority-administered programs or the waiting list speak a specific
                     language, which triggers consideration of document translation needs as
                     described above.
                 c. Analysis of staff requests for contract interpreters: number of requests,
                     languages requested, costs, etc.

      22.6   LEP PLAN DISTRIBUTION AND TRAINING
             The LEP Plan will be:

                 1. Distributed to all Housing Authority staff.

                 2. Available at the Housing Authority's Administrative Office.

                 3. Posted on the Housing Authority's website at www.hacola.ora.

                 4. Explained in orientation and training sessions for supervisors and other
                 staff who need to communicate with LEP clients.




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                                      CHAPTER 1:
                                POLICIES AND OBJECTIVES

      1.1   INTRODUCTION
            The Los Angeles County Community Development Commission (CDC) was
            created in 1982 by the County's Board of Supervisors. The CDC aims to build
            better lives and better neighborhoods, by providing services to improve the
            quality of life in low- and moderate-income neighborhoods. The CDC manages
            programs in public and assisted housing, community development, economic
            development, and housing development and preservation.
            The Housing Authority of the County of Los Angeles (Housing Authority) was
            created in 1938 to manage and develop affordable housing. Since 1938, the
            Housing Authority has administered federally funded public housing, rental
            assistance programs, and services and special programs for residents of public
            and assisted housing.
            In an effort to streamline Los Angeles County's housing and community
            development programs and services, the County Board of Supervisors combined
            the Housing Authority with the CDC in 1982. The Housing Authority is comprised
            of two divisions of the CDC. The Housing Management Division manages public
            housing and related programs and services. The Assisted Housing Division
            administers rental assistance programs.

      1.2   PURPOSE OF THE PLAN
            f24 CFR 6982.54(a) — ~982.54(c)1
            The purpose of the Administrative Plan is to clearly outline the policies and
            procedures that govern the Housing Authority's administration of rental
            assistance programs. The plan includes program requirements established by
            the U.S. Department of Housing and Urban Development (HUD), as well as the
            discretionary policies established by the Housing Authority.
            The policies and procedures in this Administrative Plan comply with applicable
            local, State, and HUD and other Federal regulations, relevant memos, notices
            and guidelines, including fair housing and equal opportunity requirements. If
            applicable regulatory changes conflict with this plan, regulations will have
            precedence.
            The Housing Authority adheres to the Administrative Plan in administering all
            rental assistance programs. The original plan and any changes must be
            approved by the Board of Commissioners of the agency (the Los Angeles County
            Board of Supervisors), and a copy of the plan must be provided to HUD.
             As much as possible, revisions and additions are published to coincide with
             published changes in the Housing Authority's Agency Plan. Interim changes,
             including Board mandates and administrative updates reflecting changes in law
             or regulatory requirements, will be made effective by memo from the Executive
             Director or designee.




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      Housing Authority of the County of Los Angeles


      1.3    LOCAL OBJECTIVES
             f24 CFR 6982.1(a)1
             The Housing Authority's rental assistance programs are designed to achieve
             three major objectives:
                 1. To provide improved living conditions and decent, safe, and sanitary
                    housing for very low-income families while maintaining their rent
                    payments at an affordable level;
                2. To provide an incentive to private property owners to rent to lower income
                   families by offering timely assistance payments; and
                3. To promote freedom of housing choice and spatial deconcentration of
                   lower income and minority families.
             Additionally, the Housing Authority has adopted the following mission statement:
                 ➢ To promote adequate and affordable housing, economic opportunity and
                   a suitable living environment free from discrimination.

      1.4     JURISDICTION
             [24 CFR 6982.51 and 24 CFR ~982.4(b)1
             HUD has authorized the Housing Authority to administer rental assistance
             programs within the corporate boundaries of Los Angeles County. The Housing
             Authority's jurisdiction includes:
                 1. The unincorporated areas of the County, and
                 2. Participating cities within the County. Participating small cities are defined
                    as cities in the Los Angeles County area that have authorized the
                    Housing Authority to administer rental assistance programs within their
                    city limits.

       1.5    RENTAL ASSISTANCE PROGRAMS
             Section 8 of the Housing and Community Development Act of 1974 established
             the "Section 8 Program," the first permanent Federal program for rental
             assistance. The program authorized a basic certificate program, as well as
             targeted subprograms. As rental assistance programs developed, Congress
             authorized additional Section 8 programs, including a voucher program in 1987.
              In 1998, the Quality Housing and Work Responsibility Act (~HWRA) required
              housing authorities to convert their cert'rficates into vouchers and establish the
              Housing Choice Voucher Program as the primary rental assistance program. As
              a result of this conversion, the Housing Choice Voucher Program now
              encompasses all Housing Authority rental assistance except for existing
              certificates under the previously offered Moderate Rehabilitation Program.
              ❑ Moderate Rehabilitation Program: Acertificate-based rental assistance
                program incorporating financial options for owners doing moderate levels of
                rehab and upkeep to affordable housing rental units. Administration involves
                closing or extending expiring contracts. Chapter 20 (Moderate Rehabilitation
                Program) covers the details of this program.


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              ❑ Section 8 Pre-Pav/Preservation Program: A voucher-based rental
                assistance program that enables existing participants, living in units in which
                owners have prepaid aHUD-insured mortgage loan, to remain in affordable
                housing. Chapter 19 (Pre-Pay/Preservation Program) covers the details of
                this program.
              ❑ Project-Based Voucher Program: The Housing Authority will utilize Project-
                Based vouchers to prevent the displacement of families and preserve
                affordable rents in the case of an unforeseen event.
              ❑ Housin4 Choice Voucher Program: The major rental assistance program
                administered by the Housing Authority.
                 ➢ Note: Unless otherwise noted, the procedures in this Administrative Plan
                    are for the general Housing Choice Voucher Program.
              As required by HUD regulations, the Housing Authority administers the Family
              Self-Sufficiency Program as a special program option for participants in the
              Housing Choice Voucher Program. See Chapter 18 (Special Programs) for
              details.

      1.5.1   Set-Aside. Targeted and Saecial Pro4rams
              The Housing Authority may use the Housing Choice Voucher Program budget to
              fund set-aside programs, which are detailed in Chapter 18 (Special Programs).
              All set-aside programs are subject to the availability of funding. The Executive
              Director has the discretion to approve allocations beyond the existing program
              size for all set-aside programs.
                  ➢ Housin4 Choice Voucher Homeless Program: This program targets
                    families throughout Los Angeles County. All eligible families are referred
                    to the Housing Authority by pre-selected service providers.
                  ➢ Housing Choice Voucher Lona-Term Family Self-Sufficiency
                    Homeless Program: This program targets homeless families who are
                    eligible for CaIWORKs and are employed or have an offer of employment
                    (either subsidized or unsubsidized).
                  ➢ Housing Choice Voucher Family Unification Set-Aside Program: This
                    program provides assistance to families who are in imminent danger of
                    losing or who cannot regain custody of their minor children due to lack of
                    adequate housing.
              Periodically, the Housing Authority applies for special funding from HUD to
              administer vouchers to targeted populations, within the Housing Choice Voucher
              Program. The Housing Authority administers vouchers through the following
              targeted programs:
                   ➢ Housing Choice Voucher Welfare to Work Program: This program
                     provides assistance to families who are eligible for CaIWORKs benefits,
                     are in good standing with the employment/job training program offered by
                     the Los Angeles County Department of Public and Social Services
                     (DPSS) and are in need of housing in order to obtain or retain
                     employment. See Chapter 18 (Special Programs)for details.




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      Housing Authority of the County of Los Angeles


                    Housin4 Choice Voucher Mainstream Pro4ram: This program assists
                    very-low income, disabled families who need rental assistance. As
                    authorized by HUD regulations, the Housing Authority administers this
                    program independently and does not rely on joint ventures with
                    community partners. Eligible families are identified from the regular
                    housing choice voucher waiting list and are admitted on a first come, first
                    served basis.
                    Families admitted into a targeted program must meet all regular
                    admission requirements with the exception of the residency requirement.
                    Since the Housing Authority is required to work closely with other County
                    departments that provide services through all of Los Angeles County,
                    families residing outside of the Housing Authority's jurisdiction are
                    allowed to participate in targeted programs. However, families may be
                    required to move within the Housing Authority's jurisdiction for at least
                    one year.
             The Housing Authority also receives non-Housing Choice Voucher Program
             funding to administer the following special programs. See Chapter 18 (Special
             Programs)for details:
                 ➢ Shelter Plus Care Program
                 ➢ Housing Opaortunities for Persons with AIDS(HOPWAI Pro4ram

      1.6    FAIR HOUSING AND EDUAL OPPORTUNITY POLICY
             f24 CFR §982.531
             It is the policy of the Housing Authority to comply fully with all Federal, State and
             local nondiscrimination laws and with the rules and regulations governing fair
             housing and equal opportunity in housing and employment.
             The Housing Authority shall not deny any family or individual the opportunity to
             apply for or receive assistance under its rental assistance programs on the basis
             of race, color, sex, religion, creed, national or ethnic origin, age, family status,
             handicap or disability.
              The Housing Authority will provide Federal, State, and local information to
              voucher holders regarding discrimination, and the recourse available to them if
              they are victims of discrimination. Such information will be made available during
              the family briefing session, and all fair housing information and discriminatory
              complaint forms will be included in the voucher holder's briefing packet.
              Except as otherwise provided in 24 CFR §8.21(c)(1), §8.24(a), §8.25 and §8.31,
              no individual with disabilities shall be denied the benefits of, be excluded from
              participation in, or otherwise be subjected to discrimination because the Housing
              Authority's facilities are inaccessible to or unusable by persons with disabilities.

       1.7    OPERATING RESERVES
              The Board of Commissioners shall establish the permitted uses of earned
              administrative fees at the time of the Annual Consolidated Operating Budget
              approval. The approval shall consist of the use of administrative fees for the
              Housing Choice Voucher Program (Section 8) administration.


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              The Board of Commissioners must approve the expenditure of Section 8
              operating reserves in excess of $50,000. The Executive Director may authorize
              allowable use of Section 8 operating reserve funds not in excess of $49,999. The
              Assistant Executive Director may authorize allowable use of Section 8 operating
              reserve funds not in excess of $30,000.

      1.8     SERVICE POLICY
              X24 CFR §8.241
              This policy is applicable to all situations described in this Administrative Plan
              when a family initiates contact with the Housing Authority, when the Housing
              Authority initiates contact with a family including when a family applies, and when
              the Housing Authority schedules or reschedules any kind of appointments.
              It is the policy of the Housing Authority to be service-directed in the
              administration of its rental assistance programs, and to exercise and
              demonstrate a high level of professionalism while providing housing services to
              all families.
              The Housing Authority's policies and practices are designed to provide
              assurances that all persons with disabilities will be provided reasonable
              accommodation so that they may fully access and utilize the housing program
              and related services. The availability of specific accommodations will be made
              known by including notices on Housing Authority forms and letters to all families.

      1.8.1   Requests for Reasonable Accommodation
              f24 CFR §8.281
              The Housing Authority is required to make reasonable adjustments to rules,
              policies, practices and procedures of its programs, in order to enable a disabled
              applicant or participant to have an equal opportunity to use and enjoy their unit,
              including common areas, and to comply with program obligations.
              The Housing Authority approves reasonable accommodation requests on a case-
              by-case basis, upon determination that:
                  ➢ The requested accommodation is reasonable (i.e., it does not result in a
                    fundamental alteration in the nature of the program or an undue financial
                    and administrative burden), and
                   ➢ There is an identifiable relationship between               the   requested
                     accommodation and the individual's disability.
               All requests for accommodation will be verified with a reliable, knowledgeable
               professional so that the Housing Authority can properly accommodate the need
               presented by the disability (see Chapter 7 for Verification of Reasonable
               Accommodations).
               Families requesting a reasonable accommodation will be notified in writing of the
               decision.
               Reasonable accommodation wilt be made for persons with disabilities that
               require an advocate or accessible offices. A designee will be allowed to provide
               information as needed, but only with the permission of the person with the
               disability.


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      Housing Authority of the County of Los Angeles


      1.9     FAMILY OUTREACH
               Each time the Housing Authority enters into an Annual Contributions Contract
              (ACC) with HUD for new Section 8 existing units, it will be publicized in
              accordance with the specification in the criteria of the Equal Opportunity Housing
              Plan. The Housing Authority's waiting list will remain open on a continuous basis
              for the foreseeable future.
              The Housing Authority will communicate the status of housing availability to other
              service providers in the community, advise them of housing eligibility factors and
              guidelines in order that they can make proper referrals for housing assistance.
              Information regarding the program directed at prospective applicants/tenants will
              be disseminated in accordance with Equal Opportunity Housing Plan and HUD
              guidelines for fair housing.

      1.10     OWNER OUTREACH
               j24 CFR 6982.54(d)_(5)1
               The Housing Authority encourages owners of decent, safe and sanitary housing
               units to lease to families participating in its rental assistance programs. The
               Housing Authority maintains and regularly updates a list of interested landlords
               and available units for its rental assistance programs. When listings from owners
               are received, they are compiled by Housing Authority staff and made available
               through the phone hotline, by mail, or by Internet at www.hacola.orq.
               Ongoing marketing efforts to recruit suburban owners for participation include,
               but are not limited to:
                   1. Brochures for owners;
                  2. Realty Board presentations;
                  3. Apartment Owner Association presentations;
                   4. Community Center presentations; and
                   5. Presentation to organizations serving the disabled and other similar
                      organizations.
               The Housing Authority periodically evaluates the distribution of assisted families
               to identify areas within the jurisdiction where owner outreach should be targeted.
               Special outreach efforts will be used in order to encourage participation of those
               groups who would not normally apply or participate.

       1.11    PRIVACY RIGHTS
               f24 CFR §5.2121
               Applicants and participants, including all adults in each household, are required
               to sign the HUD-9886 Form (Authorization for the Release of Information). This
               document incorporates the Federal Privacy Act Statement and describes the
               conditions under which HUD will release family information.
               A statement of the Housing Authority's policy on release of information to
               prospective landlords will be included in the briefing packet that is provided to the
               family.
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              The Housing Authority's practices and procedures are designed to safeguard the
              privacy of applicants and program participants. All applicant and participant files
              are stored in a secure location that is only to be accessed by authorized staff.
              Housing Authority staff will not discuss family information contained in files
              unless there is a business or legal reason to do so. Inappropriate discussion of
              family information or improper disclosure of family information will result in
              disciplinary action.

      1.12    MONITORING PROGRAM PERFORMANCE
              X24 CFR §9851
              In order to ensure quality control, supervisory staff will review the following
              functions:
                  1. 10 percent of new applicants/contracts, and
                  2. 100 percent of work completed by new staff for a minimum of 30 calendar
                     days.
              The Housing Authority's Quality Assurance Unit conducts audits of:
                  1. 5 percent of annual re-examinations/interim re-examinations, and
                  2. Minimum Housing Quality Standards(HAS) quality control inspections as
                     dictated by Section 8 Management Assessment Program (SEMAP)
                     Indicator #5.
              The Housing Authority 's Program Integrity/Fraud Prevention Team uses credit
              checks, and other similar tools to ensure program integrity. 1,500 random credit
              reviews are conducted annually for new applicant and existing participant
              households, including added family members, portability households, zero-
              income households, staff referrals and fraud inquiries.

       1.13   TERMINOLOGY
              f24 CFR &982.4(bl and FR-5056-N-011
              "Family' is used interchangeably with "applicant' or "participant° and can refer to
              a single person family. `Tenant' refers to participants in terms of their relation to
              landlords.
              "Landlord" and "owned' are used interchangeably.
              "Domestic Violence" is defined as felony or misdemeanor crimes of violence
              committed by:
                   ➢ A current or former spouse of the victim;
                   ➢ A person with whom the victim shares a child in common;
                   ➢ A person who is cohabitating with or has cohabitated with the victim as a
                     spouse;
                   ➢ A person similarly situated to a spouse of the victim under local and state
                     domestic or family violence laws;




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                 ➢    Any other person against an adult or youth victim who is protected from
                     that person's acts under local and state domestic or family violence laws.
            "Dating Violence" is defined as violence committed by a person:
                 ➢ Who is or has been in a social relationship of a romantic or intimate
                   nature with the victim; and
                 ➢ Where the existence of such a relationship shall be determined based on
                   consideration of the following factors:
                          o The length of the relationship;
                          o Type of relationship; and
                          o Frequency of interaction between persons involved in the
                            relationship.
             "Stalking" is defined:
                 ➢ To follow, pursue, or repeatedly commit acts with the intent to kill, injure,
                   harass, or intimidate another person; or
                 ➢ To place under surveillance with the intent to kill, injure, harass, or
                   intimidate another person; and
                 ➢ In the course of, or as a result of, such following, pursuit, surveillance, or
                   repeatedly committed acts, to place a person in reasonable fear of the
                   death of, or serious bodily injury to, or to cause serious emotional harm to
                   that person, the spouse or intimate partner of that person, or a member of
                   the immediate family of that person.
             "Immediate Family Member" is defined to mean, with respect to a person,
                 ➢ A spouse, parent, brother or sister, or child of that person, or an individual
                    to whom that person stands in loco parentis; or
                 ➢ Any other person living in the household of that person and related to that
                     person by blood or marriage.
             "Student" is defined to mean all students enrolled either full-time or part-time at
             an institution of higher education.
             "Independent Student Status" is when the income of the student's parents is not
             relevant or the student can demonstrate the absence of, or his or her
             independence from, parents. These criteria include but are not limited to the
             following:
                     ➢ The individual must be of legal contract age under state law;
                     ➢ The individual must have established a household separate from
                       parents or legal guardians for at least one year prior to application for
                       assistance, or
                      ➢    The individual meets the U.S. Department of Education's definition of
                           an independent student:
                              • Be at least 24 years old by December 31 of the award year for
                                which aid is sought;


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                           • Be an orphan or a ward of the court through the age of 18.
                           • Be a veteran of the U.S. Armed Forces;
                           • Have a legal dependents other than a spouse (for example,
                             dependent children or parent);
                           • Be a graduate or professional student; or,
                           • Be married.
            "Financial Aid" means any assistance that an individual receives:
                    ➢ Under the Higher Education Act of 1965;
                    ➢ From private sources;
                    ➢ From an institute of higher education.
            Such financial aid may include federal, state, and local grants and scholarships
            (athletic and academic), fellowships and student educational financial assistance
            from parents, guardians, or other persons residing outside of the student family
             household.
             Types of financial aid under the Higher Education Act of 1965 would include: the
             Pell Grant, the Federal Supplemental Education Opportunity Grant (FSEOG),
             Academic Achievement Incentive Scholarships, State assistance under the
             Leveraging Educational Assistance Partnerships Program, the Robert C. Byrd
             Honors Scholarship Program, and federal Work-Study(FWS) programs.
      `Tuition" shall have the meaning given by the institution of higher education in which the
      student is enrolled.




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                                     CHAPTER 2:
            ADMISSION ELIGIBILITY FACTORS AND APPLICANT RE~IUIREMENTS

      2.1    INTRODUCTION
             f24 CFR §982.54(d)1
             This chapter defines the criteria used by the Housing Authority to determine
             program eligibility, and the requirements that families and family members must
             meet in order to receive assistance under the program. This chapter also
             clarifies the circumstances that may lead to a denial of admission, and the
             process for notifying families if they are denied admission.
             Family members being added to households that are currently receiving
             assistance are considered new applicants and are subject to the Housing
             Authority's admission and eligibility requirements.
             The intent of these policies is to maintain consistency and objectivity in
             evaluating the eligibility of families who apply for the programs. The criteria listed
             in this chapter are the only factors used to review eligibility, to minimize the
             possibility of bias or discrimination. Selection shall be made without regard to
             race, color, creed, religion, sex, national origin, familial status, source of income,
             or disability/handicap.

      2.2    ELIGIBILITY FACTORS AND REGIUIREMENTS
             f24 CFR &982.201 and 24 CFR §982.5521
             In accordance with HUD regulations, the Housing Authority has established the
             following eligibility criteria, which are detailed throughout this chapter. To be
             eligible for admission, an applicant family must:
                 1. Meet the definition of a "family;"
                 2. Be within the appropriate income limits;
                 3. Be a citizen, or anon-citizen with eligible immigration status[24 CFR
                    §5.508]; and
                 4. Furnish and verify valid Social Security numbers for all family members
                    age 6 and over[24 CFR §5.216].
              The Housing Authority will also deny admission as follows:
                 1. If applicant fails to meet specified criteria regarding drug abuse and other
                    criminal activity;
                 2. If applicant fails to submit required consent forms, or any other Housing
                     Authority-required information to verify family eligibility, composition, or
                     income (including birth certificates and valid state identification);
                 3. If applicant is in violation of other criteria listed in Section 2.8 of this
                     chapter;
                 4. If the applicant is a member, officer or employee of the Housing Authority
                     who formulates policy or influences decisions with respect to federally
                     funded rental assistance programs or a public official or a member of the
                     local governing body or member of Congress; or


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               5. If applicant is a student enrolled in an institution of higher learning and
                  meets all the criteria listed in Section 2.5 of this chapter.
            The Housing Authority's procedures regarding notification and informal reviews
            for applicants who are denied assistance can be found at the end of this chapter.

      2.3   FAMILY COMPOSITION
            f24 CFR &982.201(c)1
            The applicant must qualify as a family. The Housing Authority defines a family as
            a single person or a group of persons as follows.
                1. An elderly family: A family whose head, spouse, or sole member is a
                    person who is at least 62 years of age. It may include two or more
                    persons who are at least 62 years of age living together, or one or more
                    persons who are at least 62 years of age living with one or more live-in
                    aides.
                2. A disabled family: A family whose head, spouse, or sole member is a
                    person with disabilities. It may include two or more persons with
                    disabilities living together, or one or more persons with disabilities living
                    with one or more live-in aides.
                3. The remaining member of a tenant family: Includes a pregnant person
                   whose pregnancy was terminated after admission to the program.
                   However, if the pregnancy is terminated before admission to the program,
                   the individual will no longer constitute a family. The remaining member of
                   a tenant family will be reassigned another bedroom size voucher,
                   provided there is funding available. The remaining member of a tenant
                   family does not include alive-in aide of the former family whose service
                   was necessary to care for the well being of an elderly, disabled or
                   handicapped head of household, or spouse and whose income was not
                   included for eligibility purposes.
                4. A group of persons: Two or more persons sharing residency, who are
                   not categorized as an elderly or disabled family, whose income and
                   resources are available to meet family needs. There must be a relation
                   by blood, marriage or operation of law, or the group must provide
                   evidence of a significant relationship determined to be stable by the
                   Housing Authority. The following is to be considered as relation by blood:
                   mother, father, children, cousin, niece, nephew, aunt, uncle, grandfather
                   and grandmother. A group of two could also be a single person who is
                   pregnant or in the process of adopting or securing legal custody of any
                   individual under the age of 18.
                5. A single person: A person who lives alone, or intends to live alone, who
                   is not categorized as elderly, disabled, or the remaining member of a
                   tenant family.
             A child who is temporarily away from home due to placement in foster care is
             considered a member of the family.




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      2.3.1   Stable Relationship
              When the applicant group is not related by blood, marriage, or operation of law,
              the Housing Authority will require that the applicant group provide evidence of a
              stable relationship.
              The Housing Authority defines a stable relationship as:
                 1. A relationship that has been in existence for a minimum of 6 months, and
                 2. The parties provide financial support for each other.
              Acceptable documentation of a stable relationship includes lease agreements
              indicating that the parties have lived together for at least 6 months, utility bills,
              other joint bills and/or bank accounts) (need to provide fora 6-month period),
              and, on a case-by-case basis, letters from a social service provider or religious
              organization confirming the relationship.

      2.3.2 Head of Household
            f24 CFR §5.5041
              The head of household is considered to be the adult designated by the family or
              the Housing Authority to sign program-related documents. However, since rental
              assistance is provided to the entire family, it is expected that every family
              member will uphold the Housing Authority's rules and regulations. Emancipated
              minors who qualify under State law will be recognized as head of household.

      2.3.3 Spouse of Head
              Spouse means the husband or wife of the head of household. The marriage
              partner who, in order to dissolve the relationship, would have to be divorced. This
              includes the partner in a common-law marriage.

      2.3.4 Live-In Aides
            f24 CFR 6982.316 and 24 CFR &5.4031
              A family may include a live-in aide if the live-in aide meets the following
              stipulations. The live-in aide:
                  1. Is determined by the Housing Authority to be essential to the care and
                      well being of an elderly person or a person with a disability;
                  2. Is not obligated for the support of the person(s);
                  3. Would not be living in the unit except to provide care for the person(s);
                     and
                  4. Must submit a signed Criminal Background Consent Form.
               A live-in aide is different from a family member in the following:
                   1. An aide's income will not be used to determine eligibility of family;
                  2. An aide is not subject to citizenship/eligible immigrant requirements;
                  3. An aide is not considered a remaining member of the tenant family, which
                     means that they are not entitled to retain the voucher if the eligible family



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                      members) voluntarily leave the program, are terminated from the
                      program, or have a voucher that expires.
               Relatives are not automatically excluded from being live-in aides, but they must
               meet all the stipulations in the live-in aide definition described above to qualify for
               the income exclusion as a live-in aide. A relative who does not qualify for an
               income exclusion as a live-in aide may qualify for other exclusions, including if a
               family receives income from a state agency to offset the cost of services and
               equipment needed to keep a developmentally disabled family member at home.
               For a complete list of income exclusions, refer to Section 6.4 (Income Inclusions
               and Exclusions).
               A live-in aide may only reside in the unit with the approval of the Housing
               Authority. The Housing Authority will require written verification from a reliable,
               knowledgeable professional, such as a doctor, social worker, or caseworker.
               The verification provider must certify that alive-in aide is needed for the care of
               the family member who is elderly, and/or disabled. The verification must include
               the hours of care that will be provided.
               The live-in aide will be subject to a criminal background check and must meet the
               same standard as an applicant. Please see Section 2.8 (Screening for Drug
               Abuse and Other Criminal Activity) for more information.
               With authorization from the assisted family, the landlord and the Housing
               Authority, alive-in aide may have a family member live in the assisted unit as
               long as it does not create overcrowding in the unit. The Housing Authority will
               not increase the family's subsidy to accommodate the family of a live-in aide.

      2.3.5 Salit Households Before Voucher Issuance
               When a family breakup occurs while a family is on the waiting list due to divorce
               or legal separation, it is the responsibility of the two families to decide which will
               take the placement on the waiting list. If no decision or court determination is
               made, the Housing Authority will make the decision, taking into consideration the
               following:
                    1. Which family member applied as head of household;
                   2. Which family member retains the children or any disabled or elderly
                      members;
                   3. Any restrictions that were in place at the time the family applied;
                   4. Role of domestic violence or any other infraction; and
                   5. Recommendation of social service agencies or qualified professionals.

       2.3.6    Multiple Families in the Same Household
                When families consisting of two families living together, (such as a mother and
                father, and a daughter with her own husband or children), apply together as a
                family, they will be treated as one-family unit.




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      2.3.7 Joint Custody of Children
             Children who are subject to a joint custody agreement but live with one parent at
             least 51 percent of the time will be considered members of that household. If
             both parents on the waiting list are trying to claim the child, the parent whose
             address is listed in the school records will be allowed to claim the school-age
             child as a dependent.
             Where court orders exist and provide guidance on custody issues, the Housing
             Authority will follow the directives outline in the court documents.

      2.4    INCOME LIMITATIONS
             f24 CFR &982.201(b) and 24 CFR §5.603(bl
             In order to be eligible for assistance, an applicant must be:
                 1. An extremely low-income family (a family whose gross annual income
                    does not exceed 30 percent of the HUD-established median income for
                    the Los Angeles-Long Beach Primary Metropolitan Statistical Area); or
                 2. Alow-income family (a family whose gross annual income does not
                    exceed 80 percent of the median income for the Los Angeles-Long Beach
                    Primary Metropolitan Statistical Area.
             As required by HUD regulations, 75 percent of all new admissions will be
             required to meet the definition of an extremely low-income family. To achieve the
             required balance, it may be necessary to skip over an otherwise eligible family. If
             this occurs, families that have been skipped over will retain the time and date of
             application and will be admitted as soon as an appropriate opening becomes
             available.
             Families whose annual incomes exceed the income limit will be denied
             admission and offered an infoRnal review.

      2.4.1 Income Limits for Other Programs
             Periodically, HUD has provided funding to the Housing Authority for projects
             involving preservation opt-outs and/or the expiration of a project based Section 8
             contract. HUD provides the income limits applicable to those projects through
             specific regulation. The Housing Authority will follow HUD directives in
             determining admissions for such programs.

      2.5     ELIGIBILITY OF STUDENTS
              f24 CFR §5.6121
              The student rule applies to all individuals enrolled as a full or part-time student at
              an institution of higher education for the purpose of obtaining a degree,
              certificate, or other program leading to a recognized educational credential,
              except for a student who is living with his/her parents who are applvin4 for or
              receiving section 8 assistance.
              No assistance shall be provided to any individual that meets the following criteria:
                  ➢ Is enrolled as a student at an institution of higher education, as defined
                    under section 102 of the Higher Education Act of 1965(20 U.S.C. 1002);


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                 ➢ Is under 24 years of age;
                 ➢ Is not a veteran of the United States military;
                    Is unmarried;
                 ➢ Does not have a dependent child;
                 ➢ Is not a person with disabilities, as such term is defined in section
                   3(b)(3)(F) of the United States Housing Act of 1937 and was not receiving
                   assistance under such section 8 as of November 30, 2005; and
                 ➢ Is not otherwise individually eligible (determined independent from his or
                   her parents. See section 1.13 Terminology), or has parents, who
                   individually or jointly, are not eligible on the basis of income to receive
                   assistance.
                   Unless the student is determined independent from his or her parents, the
                   eligibility of a student seeking assistance will be based on both the
                   student and the parents being determined income eligible for assistance
                   or whether the student's parents, individually or jointly, are income eligible
                   for assistance. Both the student's income and the parents' income must
                   be separately assessed for income eligibility.

      2.6     CITIZENSHIP/ELIGIBLE IMMIGRATION STATUS
              f24 CFR &982.201(a) and ~982.203(b1(41 and §5.5081
              Eligibility for assistance is contingent upon a family's submission of evidence of
              citizenship or eligible immigration status. In order to receive assistance, a family
              member must be a U.S. citizen or eligible immigrant. Each family member,
              regardless of age, must submit a signed declaration of U.S. citizenship or eligible
              immigration status. The Housing Authority may request verification of the
              declaration according to verification guidelines detailed in Chapter 7.
              The citizenship/eligible immigration status of each member of the family is
              considered individually before the family's status is defined.

      2.6.1   Mixed Families
              f24 CFR §5.5041
              An applicant family is eligible for assistance as long as at least one member is a
              citizen or eligible immigrant. A family that includes eligible and ineligible
              individuals is called a "mixed family." Mixed family applicants will be given notice
              that their assistance will be prorated and that they may request a hearing if they
              contest this determination.

       2.6.2 No Eli4ible Members
             f24 CFR 6982.552(b)(4)1
              The Housing Authority is required to deny admission if no member of the family is
              a U.S. citizen or eligible immigrant. Families will be provided the opportunity to
              appeal the decision in an informal review.




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      2.7      SOCIAL SECURITY NUMBER REDUiREMENTS
              [24 CFR &5.216(a)1
              Applicant families are required to provide verification of Social Security numbers
              for all family members prior to admission, if they have been issued a number by
              the Social Security Administration. This requirement also applies to persons
              joining the family after the admission to the program. Children age 5 and under,
              who have not been assigned a number, are exempt from this requirement.
              Failure to furnish verification of Social Security numbers is grounds for denial of
              admission.

      2.8     SCREENING FOR DRUG ABUSE AND OTHER CRIMINAL ACTIVITY
              f24 CFR &982.552 —X982.5531
              This section describes the guidelines the Housing Authority has established for
              screening applicants for drug abuse and other criminal activity. The section
              includes HUD-required screening standards, as well as discretionary standards
              allowed by HUD. The Housing Authority will deny program admission if there is
              reasonable cause to believe that an applicant family has engaged in activity
              prohibited by these guidelines.
              These guidelines apply to applicant families, and any new members being added
              to the household of a family currently participating in a rental assistance program
              administered by the Housing Authority. The Housing Authority also screens
              families transferring into its jurisdiction from other housing authorities, as
              authorized at 24 CFR §982.355(c)(9) and §982.355(c)(10).

      2.8.1    Drua Abuse and Criminal History Screenin4 Standards
              [24 CFR ~982.552(i) and 6982.553(a)1
               The Housing Authority will prohibit program admission to households if any
               household member is found to have engaged in activities listed in this screening
               standards section. Applicants convicted of an act listed in this section are
               ineligible to receive assistance. However, the Housing Authority will consider the
               household eligible for rental assistance if the household member who committed
               the criminal act will not be a part of the assisted household; as long as all other
               admission requirements are met. The family may be required to submit written
               certification that the ineligible family members) will not reside in and/or visit the
               household.
                   1. Applicants) previously evicted from federally assisted housing for
                      drug-related criminal activity.
                      The Housing Authority is required to deny admission to the applicant or
                      any household member evicted from public housing, Indian housing,
                      Section 23, or any federally assisted housing program because of a drug-
                      related criminal activity fora 3-year period beginning on the date of such
                      eviction. However, the Housing Authority may waive the 3-year probation
                      period if the person who committed the drug-related crime has
                      successfully completed an approved supervised drug rehabilitation
                      program after the date of the eviction or if the circumstances leading to



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                 the eviction no longer exist (i.e. the individual responsible for the original
                 eviction is imprisoned or is deceased).
              2. Applicants) convicted for the manufacture of methamphetamine on
                 the premises of federally assisted housing.
                  The Housing Authority is required to deny admission if the applicant or
                  any household member has ever been convicted of drug-related criminal
                  activity for manufacture or production of methamphetamine on the
                  premises of federally assisted housing.
              3. Applicants) currently engaging in the illegal use of a drug.
                 The Housing Authority is required to deny admission to an applicant or
                 any household member who the Housing Authority determines is
                 currently engaging in illegal use of a drug.
                  The Housing Authority is required to deny admission if the Housing
                  Authority has reasonable cause to believe that there is a pattern of illegal
                  use of a drug by the applicant or any household member and that this
                  pattern may threaten the health, safety, or right to peaceful enjoyment of
                  the premises by others, regardless of whether the household member has
                  been arrested or convicted.
                  The Housing Authority may approve admission if the person provides
                  sufficient evidence that they are no longer engaging in illegal drug use
                  and have successfully completed a supervised drug rehabilitation
                  program.
               4. Applicants)subject to a lifetime sex offender registration
                  requirement.
                  The Housing Authority is required to deny admission if the applicant or
                  any household member is subject to lifetime registration as a sex offender
                   under a state registration program, regardless of longevity of conviction or
                  completion of any rehabilitative program.
               5. Applicants) with a pattern of alcohol abuse.
                  The Housing Authority is required to deny admission if the Housing
                  Authority has reasonable cause to believe that there is a pattern of abuse
                  of alcohol by the applicant or any household member and this pattern
                  may threaten the health, safety, or peaceful enjoyment of the premises.
                  The Housing Authority may approve admission if the person provides
                  sufficient evidence that they are no longer engaging in the abuse of
                  alcohol and has successfully completed a supervised alcohol
                  rehabilitation program.
               6. Applicants)currently engaging in, or who have engaged in criminal
                  activities.
                  The Housing Authority shall deny admission if the applicant or any
                   household member has been convicted for ~a of the following activities,
                  for a period of 3 years following the end of a conviction or incarceration
                  (which ever is later), with no further arrest or convictions other than minor
                  traffic violations:



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                   • Drug-related criminal activity;
                   • Violent criminal activity (convicted perpetrators only);
                   • Other criminal activity which may threaten the health, safety, or right
                     to peaceful enjoyment of the premises by other residents or persons
                     residing in the immediate vicinity; and
                   • Other criminal activity which may threaten the health or safety of the
                     owner or Housing Authority staff, contractor or subcontractors or
                     vendors.
                   • The Housing Authority may waive the 3-year period for drug-related
                     criminal activity if the person provides sufficient evidence that they are
                      no longer engaging in the illegal use of a controlled substance and
                      have successfully completed a supervised drug rehabilitation
                      program.


                7. Applicants)engaging in fraud or bribery associated with any federal
                   housing program.
                   The Housing Authority shall deny admission if the applicant or any
                   household member has committed fraud, bribery, or any other corrupt or
                   criminal act in connection with any Federal housing program. The
                   Housing Authority may make an exception in determining admission if the
                   family members) who participated or were culpable for the action do not
                   reside in the assisted unit.
                8. Applicants) have not completed parole or probation.
                    The Housing Authority shall deny admission    the applicant or any
                    household member   has not  completed parole or probation, including
                    summary probation.

      2.8.2 Criminal Back4round Checks
            f24 CFR X982.552 — 6982_.553, 55.903 — §5.9051
            The Housing Authority requests a criminal background check for all applicant
            household members (including live-in aides) 18 years of age and older. The
            criminal background check is used as a factor in screening applicants for criminal
            activities that would prohibit admission to the Housing Authority's Section 8 rental
            assistance programs.
            All adult members of an applicant household must submit a signed Criminal
            Background Consent Form [24 CFR §5.903(b)], authorizing the release of
            criminal conviction records from law enforcement agencies. Failure to sign the
            consent form will result in the denial of assistance.
              A criminal conviction alone may or may not result in the denial of assistance.
              Factors such as disclosure, completion of a drug or alcohol rehabilitative
              treatment program, type and longevity of the conviction may also be taken into
              consideration.
              The Housing Authority is additionally authorized by HUD to obtain access to sex
              offender registration information, in order to prevent program admission to any


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            household member (including live-in aides and minors) subject to a lifetime sex
            offender registration under a State sex offender registration program.

      2.8.3 Requests for Criminal Records by Owners of Covered Housing for the
            Purposes of Screening
            f24 CFR §5.903(d)1
            Owners of covered housing may request that the Housing Authority obtain
            criminal records, on their behalf, for the purpose of screening applicants. The
            Housing Authority will charge a fee in order to cover costs associated with the
            review of criminal records. These costs could include fees charged to the
            Housing Authority by the law enforcement agency and the Housing Authority's
            own related staff and administrative cost.
             Owners must submit the following items in order for the Housing Authority to
             process criminal records. Owner requests must include:
                1. A copy of a signed consent form from each adult household members,
                   age 18 years and older. Included in the consent form must be a legible
                   name, the date of birth, a California Identification Number, and a Social
                   Security number. This information will be used for the sole purpose of
                   distinguishing persons with similar names or birth dates.
                2. An owner's criteria or standards for prohibiting admission of drug
                   criminals in accordance with HUD regulations (§ 5.854 of 24 CFR Parts 5
                   et al.), and for prohibiting admission of other criminals(§ 5.855 of 24 CFR
                   Parts 5 et al.).
             Once the Housing Authority obtains criminal records, a determination will be
             made as to whether a criminal act, as shown by a criminal record, can be used
             as a basis for applicant screening. The Housing Authority will base its
             determination in accordance with HUD regulations and the owner criteria. If the
             owner's criteria conflicts with HUD regulations, the regulations will have
             precedence.
             It is important to note that the Housing Authority will not disclose the applicant's
             criminal conviction record or the content of that record to the owner.

       2.8.4 Request for Criminal Records by Section 8 Project-Based Owners for the
             Purposes of Lease Enforcement or Eviction
             Section 8 project-based owners may request that the public housing agency in
             the location of the project obtain criminal conviction records of a household
             member on behalf of the owner for the purpose of lease enforcement or eviction.
             The owner's request must include the following:
                 1. A copy of the consent form, signed by the household member, and
                 2. The owner's standards for lease enforcement and evicting due to criminal
                    activity by members of a household.




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      2.8.5 Confidentiality of Criminal Records
            f24 CFR §5.903(q)1
             Criminal records received by the Housing Authority are maintained confidentially,
             not misused, nor improperly disseminated and kept locked during non-business
             hours. All criminal records will be destroyed no later than 30 calendar days after
             a final determination is made.

      2.8.6 Disclosure of Criminal Records to Family
             The applicant or family member requesting to be added to the household will be
             provided with a copy of the criminal record upon request and an opportunity to
             dispute the record. Applicants will be provided an opportunity to dispute the
             record at an informal review. Participants may contest such records at an
             informal hearing [24 CFR §982.553(d)].

      2.8.7 Explanations and Terms
            f24 CFR §5.1001
             The following terms are used to determine eligibility when an applicant or a family
             member is added to an already assisted household and is undergoing a criminal
             background check.
             ❑ "Covered housing" includes public housing, project-based assistance under
               Section 8 (including new construction and substantial rehabilitation projects),
               and tenant-based assistance under Section 8.
             ❑ "Drug" means a controlled substance as defined in Section 102 of the
               Controlled Substance Act(21 U.S.C. 802).
             ❑ "Drug-related criminal. activity" means the illegal manufacture, sale,
               distribution, or use of a drug, or the possession of a drug with the intent to
               manufacture, sell, distribute or use the drug.
             ❑ "Pattern" is defined as the use of a controlled substance or alcohol if there is
               more than one incident during the previous 12 months. "Incident' includes
               but is not limited to arrests, convictions, no contest pleas, fines, and city
               ordinance violations.
             ❑ "Premises" is the building or complex or development in which the public or
               assisted housing dwelling unit is located, including common areas and
               grounds.
             ❑ "Sufficient evidence" may include all or a number of personal certification
               along with supporting documentation from the following sources 1) probation
                officer; 2) landlord; 3) neighbors; 4) social service workers; 5) review of
                verified criminal records.
              O "Violent criminal activity' means any criminal activity that has as one of its
                elements the use, attempted use, or threatened use of physical force
                substantial enough to cause, or be reasonably likely to cause, serious bodily
                injury or property damage. Violent criminal activity also includes activity
                within the family, such as during domestic disputes.




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      2.9     OTHER CRITERIA FOR ADMISSION
              f24 CFR &982.552(c)1
              The Housing Authority is authorized to apply the following criteria, in addition to
              the HUD eligibility criteria, as grounds for denial of admission to the program.
                  1. The family, or any household member, must not have violated any family
                     obligations during a previous participation in a federally assisted housing
                     program. The Housing Authority will review situations, on a case-by-case
                     basis, for violations that are more than 5 years old.
                 2. The family, or any household member, must not have engaged in serious
                    lease violations while a resident of federally assisted housing or within the
                    past 5 years been evicted from a federally assisted housing program.
                 3. The family, or any household member, must not be a past participant of
                    any Section 8 or public housing program who has failed to satisfy liability
                    for rent, damages or other amounts to the Housing Authority or another
                    public housing agency, including amounts paid under a HAP contract to
                    an owner for rent, damages, or other amounts owed by the family under
                    the lease.
                    • On a case-by-case basis, the Housing Authority may provide the
                        applicant the opportunity to repay any such debt in full as a condition
                        of admissions. The Housing Authority will not enter into a repayment
                        agreement for this purpose.
                 4. No family household member may have engaged in or threaten abusive
                    or violent behavior toward Housing Authority personnel.
                     • "Abusive or violent behavior' includes verbal as well as physical
                       abuse or violence. Use of expletives that are generally considered
                       insulting, racial epithets, or other language, written or oral, that is
                       customarily used to insult or intimidate, may be cause for denial of
                       admission.
                     • 'Threatening" refers to oral or written threats or physical gestures that
                       communicate intent to abuse or commit violence.
                     • Actual physical abuse or violence will always be cause for denial.
                  5. The family, or any household member, must not supply false, inaccurate
                     or incomplete information on any application for federal housing
                     programs, including public housing and Section 8. The family may be
                     denied for a period not to exceed 2 years from the date of such a
                     determination by the Housing Authority that information which was
                     provided was false, inaccurate or incomplete, provided that no further
                     cause for denial exists[24 CFR §982.552(c)(2)(i)].

       2.10    SUITABILITY OF FAMILY
               f24 CFR &982.307(al(2)1
               The Housing Authority may take into consideration any admission criteria listed in
               this chapter in order to screen applicants for program eligibility; however, it is the
               owner's responsibility to screen applicants for family behavior and suitability for
               tenancy.


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             The Housing Authority will assist and advise applicants on how to file a compliant
             if they have been discriminated against by an owner.

      2.11   DENYING ADMISSION TO INELIGIBLE FAMILIES
             f24 CFR 6982.201(fl(1) AND §982.552(A)(211
             Denial of assistance for an applicant family may include denying placement on
             the waiting list; denying or withdrawing a voucher; refusing to enter into a HAP
             contract or approve a lease; and refusing to process or provide assistance under
             portability procedures.
             Families from the waiting list who are determined to be ineligible will be notified in
             writing of the reason for denial and given an opportunity to request an informal
             review if they do not agree with the decision. This policy also applies to incoming
             families from other housing authorities that have not yet received assistance in
             the Housing Authority's jurisdiction. Please refer to Chapter 16 for more
             information on the informal review process.




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                                        CHAPTER 3:
                             ADMINISTRATION OF THE WAITING LIST

      3.1     INTRODUCTION
              f24 CFR §982.54(d)(111
              This chapter describes the policies and procedures that govern the initial
              application, placement and denial of placement on the Housing Authority's
              waiting list. It is the Housing Authority's objective to ensure that the families are
              placed on the waiting list in the proper order so that an offer of assistance is not
              delayed to any family, or made to any family prematurely.
              By maintaining an accurate waiting list, the Housing Authority will be able to
              perform the activities, which ensure that an adequate pool of qualified applicants
              will be available so that program funds are used in a timely manner.

      3.2     HOW TO REGISTER
              Interested persons may apply online at www.hacola.orq, or by calling the
              Housing Author'ity's special application telephone number.

      3.2.1    Preliminary Rectistration Waitinct List
              [24 CFR §982.204(b)1
               All families wishing to receive rental assistance through a Housing Authority
               rental assistance program are initially placed on the Preliminary Registration
               Waiting List. This is essentially an interest list. Families are placed on the
               Preliminary Registration Waiting List according to the date and time of their
               registration. Preliminary information regarding the family's address, income,
               family composition, and disability status is collected. However, this information is
               not verified until the family is placed on the Active Waiting List. Applicants
               receive a confirmation letter that their name has been placed on the Preliminary
               Registration Waiting List.

       3.2.2 Active Waiting List
               When the Housing Authority determines that there is sufficient funding to issue
               additional vouchers, a pool of potential new applicants is drawn from the
               Preliminary Registration Waiting List. Families move onto the Active Waiting List
               according to the date and time of their registration. Once a family has been
               placed on the Active Waiting List, they will be asked to complete an application
               and provide all the necessary income and eligibility forms. At this point, all
               information will be confirmed through athird-party. Families must meet all
               admissions requirements to be issued a voucher.

       3.2.3 Change in Circumstances
             f24 CFR §982.204(b)1
               Applicants are required to notify the Housing Authority in writing, within 30
               calendar days, when their circumstances change, including any change of
               address, income or family composition.



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      3.3

              To see a list of special programs, other non-Housing Choice Voucher Programs
              and the eligibility process, please refer to Chapter 18 (Special Programs).

      3.4     SPECIAL ADMISSIONS
              Applicants admitted under special admissions, rather than from the waiting list,
              are identified by codes in the automated system and are not maintained on
              separate lists.
              Applicants who are admitted under targeted funding which are not identified as a
              Special Admission are identified by codes in the automated system and are not
              maintained on separate waiting lists.

      3.4.1   Exceptions for Saecial Admissions
              f24 CFR §982.2031
              If HUD awards the Housing Authority program funding that is targeted for
              specifically named families, the Housing Authority will admit these families under
              a special admission procedure. Special admissions families will be admitted
              outside of the regular waiting list process. They do not have to qualify for any
              preferences, nor are they required to be on the program waiting list. They are not
              counted in the limit on non-Federal preference admissions. The Housing
              Authority maintains separate records of these admissions. The following are
              examples of types of program funding that may be designated by HUD for
              families living in a specified unit:
                  1. A family displaced because of demolition or disposition of a public or
                     Indian housing project;
                  2. A family residing in a multifamily rental housing project when HUD sells
                     forecloses or demolishes the project;
                  3. For housing covered by the Low Income Housing Preservation and
                     Resident Homeownership Act of 1990;
                  4. A family residing in a project covered by a project-based Section 8 HAP
                     contract at or near the end of the contract term; and
                  5. Anon-purchasing family residing in a HOPE 1 or HOPE 2 project.

      3.4.2 Criminal Background Checks
               Program applicants for all voluntary set-aside programs will require criminal
               background checks. Applicants for the Shelter Plus Care program will not be
               required to undergo criminal background checks. For more specific information
               on the applicant screening standards used by the Housing Authority when
               reviewing criminal records, please refer to Section 2.8 (Screening for Drug Abuse
               and Other Criminal Activity).




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      3.5     OPENING AND CLOSING THE WAITING LIST
              f24 CFR &982.2061
              The Housing Authority has maintained a continuously open waiting list, and for
              the foreseeable future plans to continue this process indefinitely. However,
              should it become necessary to close and then reopen the waiting list, the
              Housing Authority will comply with the policies outlined in this chapter.

      3.5.1    Opening the Waiting List
              [24 CFR 6982.206(all
              When the Housing Authority opens its waiting list, it will give public notice by
              advertising in the following newspapers, minority publications, and media entities.
                  ➢ Los Angeles Times
                  ➢ La Opinion
                  ➢ The Daily News
                  ➢ International Daily News
                  ➢ L.A. Sentinel
                  ➢ Long Beach Press Telegram
                  ➢ Eastern Group Publications
                  ➢ The Wave
                  ➢ The Daily Breeze
               The Housing Authority's public notice will contain:
                   ➢ The dates, times, and locations where families may apply;
                   ➢ The programs for which applications will be taken;
                   ➢ A brief description of the program(s);
                   ➢ A statement that public housing residents must submit a separate
                     application if they want to apply to a rental assistance program;
                   ➢ Any limitations on who may apply; and
                   ➢ The Fair Housing Logo.
               The notice will provide potential applicants with information that includes the
               Housing Authority's telephone number, website address, location address,
               information on eligibility requirements, and the availability of local preferences, if
               applicable. The notice will be made in an accessible format to persons with
               disabilities if requested.
               Additional time for submission of an application after the stated deadline will be
               given as a reasonable accommodation at the request of a person with a
               disability.




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      3.5.2 Criteria Definin4 Who Mav Apply
            f24 CFR ~982.206(b)(1)1
             Upon opening the waiting list, the Housing Authority will disclose the criteria
             defining what families may apply for assistance under a public notice.
             If there are sufficient applications from elderly families, disabled families, and
             displaced singles, applications will not be accepted from other singles.

      3.5.3 Closing the Waiting List
            f24 CFR §982.206(c)1
             Should it become necessary to close the waiting list, the Housing Authority will
             use the same advertising methods described above.
             Notification of impending closure will be provided to the public for a minimum of
             30 calendar days.

      3.6    TIME OF SELECTION
             f24 CFR &982.204(d)1
             When funding is available, families will be selected from the waiting list based on
             the date and time of registration.
             If the Housing Authority ever has insufficient funds to subsidize the unit size of
             the family at the top of the waiting list, the Housing Authority will not admit any
             other applicant until funding is available for the first applicant.
             However,families may be skipped over to meet HUD-mandated income targeting
             requirements [24 CFR §982.201(b)]. See Section 2.4 (Income Limitations) for
             details.

      3.7

              The Housing Authority does not merge the waiting lists for public housing and
              Section S. However, if the Section 8 waiting list is open when the applicant is
              placed on the public housing list, the Housing Authority must offer to place the
              family on the Section 8 waiting list. If the public housing waiting list is open at the
              time an applicant applies for Section 8 rental assistance, the Housing Authority
              must offer to place the family on the public housing waiting list.

       3.8    REMOVING APPLICANTS FROM THE WAITING LIST AND PURGING
              j24 CFR &982.204(c) and §982.201(fl(1)1
              The Housing Authority is authorized to remove names of applicants who do not
              respond to requests for information or updates. An applicant who fails to respond
              to a Housing Authority mailing within the time frame indicated will be removed
              from the waiting list. An extension may be considered a reasonable
              accommodation if requested in advance by a person with a disability.
              If a letter is returned by the Post Office, the applicant will be removed without
              further notice. The envelope and letter will be maintained in the file.



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            This policy applies to purging, in which a request for current information and
            confirmation of continued interest is mailed to all applicants, to ensure that the
            waiting list is current and accurate.
            Notices will be made available in accessible format upon the request of a person
            with a disability.
            Applicants who are removed from the waiting list for failure to respond are not
            entitled to reinstatement on the waiting list, unless:
                ➢ The Housing Authority verifies afamily/health/work emergency, or
                ➢ The applicant failed to respond because of a family member's disability.
            Periodically, registrants will call to check their status on the waiting list and learn
            that they have been cancelled because mail was returned undeliverable. In
            extenuating circumstances, such as a long-term illness, or other family
            emergency, the registrant may be reinstated. However, the registrant must be
            able to provide documentation of the circumstances. Such requests will be
            reviewed and approved (or denied) on a case-by-case basis by the Applications
            and Eligibility Unit Supervisor.

      3.9   APPLICATION POOL
            The waiting list will be maintained in accordance with the following guidelines:
                1. The application will be a permanent file;
                2. Applications equal in preference will be maintained by date and time; and
                3. All applicants must meet eligibility requirements outlined in Chapter 2
                  (Admission Eligibility Factors and Applicant Requirements).




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                                           Chapter 4:
                                      ADMISSION PROCESS


      4.1    INTRODUCTION
             The policies outlined in this chapter are intended to ensure that all families who
             express an interest in housing assistance are given an equal opportunity to
             apply. The primary purpose of the intake function is to gather information about
             the family so that an accurate, fair, and timely decision relative to the family's
             eligibility may be made. As such, applicants are placed on the waiting list in
             accordance with this plan.

      4.2    APPLICATION PROCEDURES
             f24 CFR §982.204(c)1
             Once the applicant is transferred from the Preliminary Registration Waiting List to
             the Active Waiting List, an application will be mailed to the applicant. The
             application is due back within 10 calendar days from the date it was mailed. If
             the application is returned undeliverable, the applicant will be cancelled from the
             waiting list.
             Once an application is returned, the information provided by the applicant will be
             used to determine if the applicant is eligible for a tenant selection preference, and
             used to help the Housing Authority determine which income forms the applicant
             must complete.
             If an applicant is ineligible based on the information provided on the application,
             or because they fail to return the documents by the due date, the applicant will be
             provided written notice of the reason for their disqualification and their right to
             request an informal review.
             The application may capture the following information:
                 ➢ Name of adult members and age of all members;
                 ➢ Sex and relationship of all members;
                 ➢ Street address and phone number;
                 ➢ Mailing address;
                 ➢ Amount(s) and sources) of income received by household members;
                 ➢ Information regarding disabilities relating to program requirements;
                 ➢ Information related to qualification for preference(s);
                 ➢ Social Security numbers;
                  ➢ Race/ethnicity;
                  ➢ Citizenship/eligible immigration status;
                  ➢ Convictions for drug-related or violent criminal activity;
                  ➢ Request for specific reasonable accommodations) needed to fully utilize
                    program and services;


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                 ➢ Previous address;
                 ➢ Current and previous landlords' names and addresses;
                 ➢ Emergency contact person and address; and
                     Program integrity questions regarding previous participation in HUD
                     programs.
              Applicants are required to inform the Housing Authority in writing within 30
              calendar days of effective date of any changes in family composition, income,
              and address, as well as any changes in their preference status. Applicants must
              also comply with requests from the Housing Authority to update information.

      4.2.1   Interview Sessions/Mailinus
              The Housing Authority will use both mailing and interview sessions to obtain
              income, asset and family composition information from applicants.

      4.2.2 Reauest for Information via Mail
              During times of high activity, the Housing Authority will mail income and asset
              forms to applicants. Applicants will be given 10 calendar days to complete and
              return all required forms. If forms are not returned in a timely manner, the
              applicant will receive a final notice. The final notice will provide an additional 5-
              day grace period. If the required forms are not returned, as specified, the
              application will be cancelled. The Housing Authority will provide additional time,
              with appropriate documentation, as a reasonable accommodation and in special
              circumstances such as an illness and/or death in the family.

      4.2.3 Application Interview Process
              During times for regular activity (average volume), the Housing Authority utilizes
              a full application interview to discuss the family's circumstances in greater detail,
              to clarify information that has been provided by the applicant, and to ensure that
              the information is complete.
              Applicants are given two opportunities to attend an interview session. If the
              applicant does not respond to the second invitation, the application is cancelled.
              Housing Authority will allow for a third interview appointment as a reasonable
              accommodation and in special circumstances such as illness. An applicant may
              also request that the Housing Authority assign someone to conduct the interview
              at the applicants home, as a reasonable accommodation.
              All applicants must        complete    the   following   requirements [24       CFR
              §982.551(b)(1)(iii)].
                  1. At minimum, the head of household must attend the interview. The
                     Housing Authority requests that all adult members of the applicant family
                     attend when possible. This assures that all members receive information
                     regarding their obligations and allows the Housing Authority to obtain
                     signatures on critical documents quicker.




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                 2. All adult members of the applicant family must sign the HUD-9886 Form
                    (Authorization for the Release of Information), and all supplemental forms
                     required by Housing Authority.
                 3. Citizen declaration forms must be completed for all applicant family
                     members, regardless of age.
                 4. All adult members of the applicant family must complete and sign a
                     Criminal Background Consent/Acknowledgment Form.
                 5. Identification information for all members of the applicant family such as
                     birth certificates, valid driver's licenses or State (Department of Motor
                     Vehicles) ID cards, whichever is applicable based on the age of the family
                     member, must be submitted for all members of the household regardless
                     of age.
             Information provided by the applicant will be verified, including citizenship status,
             full-time student status and other factors related to preferences, eligibility and
             rent calculation. Ver'rfications must not be older than 60 calendar days old at the
             time of issuance.
             If they are requested, exceptions for any of the above listed items will be
             reviewed on a case-by-case basis. Exceptions will be granted based upon
             hardship. Reasonable accommodations will be made for persons with disabilities.
             In these cases, a designee will be allowed to provide some information, but only
             with permission of the person with a disability.
             Under both processes, all local preferences claimed on the application while the
             family is on the waiting list will be verified. Preference is based on current status,
             so the qualifications for preference must exist at the time the preference is
             verified, regardless of the length of time an applicant has been on the waiting list.

       4.2.4 Secondary Reviews/Credit Resorts
             f24 CFR §982.551(b)(1)1
             Before issuing vouchers to applicant families, the Housing Authority requests a
             credit report for a random sample of new applicant families, as detailed in
             Section 1.12 (Monitoring Program Performance). Of the randomly selected
             families, all adults (persons 18 years of age and older) who will reside in the
             assisted household will have their credit report reviewed by the Housing
             Authority. Applicant households claiming that they have zero income will
             automatically undergo a credit review.
              The information contained in the credit report will be used to confirm the
              information provided by the family. Spec'rfically, the credit report will be used to
              confirm:
              ❑ Emalovment: A credit report will list any employers that the applicant has
                  listed in any recent credit applications. If the credit report reveals
                  employment, for any adult household member, within the last 12 months that
                  was not disclosed, the family will be asked to provide additional documents to
                  clear up the discrepancy. Failure to disclose current employment may result
                  in cancellation of the family's application.




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            ❑ Aliases: A credit report can provide information on other names that have
              been used for the purposes of obtaining credit. Common reasons for use of
              other names include a recent marriage or a divorce. If an alias has not been
              disclosed to the Housing Authority, the family will be asked to provide
              additional evidence of the legal identity of adult family members.
            ❑ Current and previous addresses: A credit report can provide a history of
              where the family has lived. This is particularly important because the
              Housing Authority provides a residency preference. If the family has provided
              one address to the Housing Authority and the credit report indicates a
              different address, the family will be asked to provide additional proof of
              residency. This may include a history of utility bills, bank statements, school
              enrollment records for children, credit card statements or other relevant
              documents. Failure to provide adequate proof will result in the denial of a
              residency preference.
            ❑ Credit card and loan payments: A credit report wilt usually include a list of
              the family's financial obligations. Examples of the items that may show up
              include car loans, mortgage loans, student loans and credit card payments.
              The Housing Authority will review this information to confirm the income and
              asset information provided by the family. If the family's current financial
              obligations (total amount of current monthly payments) exceed the amount of
              income reported by the family, the Housing Authority will ask the family to
              disclose how they are currently meeting their financial obligations. Accounts
              that have been charged off or significantly delinquent are not included in this
              calculation. Failure to provide adequate proof of income will result in
              termination of the application.
            ❑ Multiple Social Security numbers: A credit report may list multiple Social
              Security numbers if an adult family member has used different Social Security
              numbers to obtain credit. If the credit report information does not match the
              information provided by an adult member of the family, the family member will
              be required to obtain written confirmation of the Social Security number that
              was issued to him/her from the Social Security Administration.
            A family will not be issued a voucher until all discrepancies between the
            information provided by the applicant family, and the information contained in the
            credit report have been cleared by the applicant family.
            When discrepancies are found, the family will be contacted by telephone or by
            mail. In most cases, the family will be allowed a maximum of 10 calendar days to
            provide the additional documentation. On a case-by-case basis, as a reasonable
            accommodation, the family may be granted additional time. If additional time is
            granted, the family will receive a letter confirming the new deadline. No
            additional extension will be granted thereafter.
            When the credit report reveals multiple discrepancies that are not easily
            communicated over the telephone, the Housing Authority will set up a face-to-
            face interview with the applicant. The Housing Authority will schedule up to two
            interview appointments. An additional interview may be scheduled as a
            reasonable accommodation. Failure to appear at the interview session will result
            in cancellation of the application.




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             Additionally, failure to provide the necessary information will result in cancellation
             of the application.

      4.3    LOCAL PREFERENCES
             f24 CFR 5982.2071
             The Housing Authority will apply a system of local preferences in determining
             admissions for the program. All preferences will be subject to the availability of
             funds and all applicants will be required to meet all eligibility requirements. In
             accordance with California Health and Safety Code §34322.2, the Housing
             Authority will give priority to families of veterans and members of the armed
             forces in each of the categories below. Local preferences are weighted highest
             to lowest, in the following order:
                 1. Set-Aside, Targeted, and Saecial Pro4rams :Families who qualify for
                    Set-Aside, Targeted, or Special Programs administered by the Housing
                    Authority will be admitted before all other eligible registrants or applicants
                    on the waiting list. Referral may be made by County agencies with a
                    contract or Memorandum of Understanding in place, or by contracted
                    CBO's up to and not to exceed the number of vouchers specified in the
                    contract.
                 2. Families previously assisted by the Housing Authority whose assistance
                    was terminated due to insufficient funding.
                 3. Jurisdictional Preference: Families who live and/or work in the Housing
                    Authority's jurisdiction will be admitted before families outside of the
                    Housing Authority's jurisdiction.
                 4. These preferences are subject to the approval of the Executive Director:
                    • Victims of Declared Disasters: An admissions preference may be
                       given to bona fide victims of declared disasters, whether due to
                       natural calamity (e.g. earthquake), civil disturbance, or other causes
                       recognized by the federal government. Victims must provide
                       documentation to receive an admissions preference. Admissions
                       preference may only be given within the allotted timeframe
                       established by the federal government. If HUD provides specific
                       funding, the Housing Authority will not exceed the allocated amount.
                     • Disalacement Due to Government Actions: Families or individuals
                       who are certified as displaced due to the action of a federal
                       government agency or local government agencies may be given an
                       admissions preference.
                     • Referrals from law enforcement agencies: The Housing Authority
                       may distribute application forms and may issue a voucher to families
                       or single persons that are referred by law enforcement agencies. The
                       types of referrals that will be considered include, but are not limited to:
                             • Victims of domestic violence,
                             • Involuntarily displaced to avoid reprisals, or
                             • Displaced due to being a victim of a hate crime.


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                        Law enforcement referrals must be made in writing, on law
                        enforcement agency letterhead, and signed by the requesting officer
                        and his or her immediate supervisor. Eligibility, including background
                        checks will be confirmed for all members.
                 5. Date and Time of Registration: When the family placed their name on
                    the Section S Preliminary Registration Waiting List.
                 6. Other preferences:
                         Elderly and permanently disabled families as defined in Chapter 2,
                         Section 2.3(Family Composition).
              Treatment of Single Applicants: All families with children, elderly families, and
              disabled families will have an admission preference over "Other Singles"

      4.3.1   Verification of Preferences
              f24 CFR &982.207(e)1
              Residency Preference: For families who are residing in the Housing Authority's
              jurisdiction at the time the application is mailed to them, or have at least one
              adult member who works or has been hired to work in the Housing Authority's
              jurisdiction.
                   ➢ In order to verify that an applicant is a resident, the Housing Authority will
                       require documentation of residency as shown by the following
                      documents: current rent receipts, leases, utility bills, employer or agency
                       records, school records, drivers licenses or credit reports.
                  ➢ In cases where the family's head of household or spouse works or has
                    been hired to work in the Housing Authority's jurisdiction, a statement
                    from the employer will be required.
              Veteran's Preference: Acceptable documentation regarding veteran's status will
              include a DD-214 (discharge documents), proof of receipt of veteran's benefits,
              or documentation from the Veteran's Administration.

       4.3.2 Final Verification of Preferences
             f24 CFR &982.207(e)1
              Preference information on applications will be updated as applicants are selected
              from the waiting list. At that time, the Housing Authority will obtain necessary
              verifications of preference at the interview and by third-party verification.

       4.3.3 Preference Denial
              If the Housing Authority denies a preference, the Housing Authority will notify the
              applicant in writing of the reasons why the preference was denied and offer the
              applicant an opportunity for an informal review. If the preference denial is upheld
              as a result of the informal review, the applicant will be placed on the waiting list
              without benefit of the preference. Applicants may exercise other rights if they
              believe they have been discriminated against.




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             If the applicant falsifies documents or makes false statements in order to qualify
             for any preference, or for any other reason, they will be removed from the waiting
             list.

      4.4    DENIAL OF ASSISTANCE
             f24 CFR 6982.204(c)(1) and §982.2040(1)§982.5521
             If an application is denied due to failure to attend the initial and final interviews, or
             for failure to provide eligibility related information, the applicant family will be
             notified in writing and offered an opportunity to request an informal review. If the
             applicant misses two scheduled meetings, the Housing Authority will cancel the
             application and remove the applicant's name from the waiting list.
             The Housing Authority may at any time deny program assistance to an applicant
             family because of actions or failure to act by members of the family such as any
             member of the family to sign and submit consent forms for obtaining information.
             The Housing Authority will not deny admission of an applicant who is or has been
             a victim of domestic violence, dating violence, sexual assault, or stalking, if the
             applicant otherwise qualifies for admission.

      4.5    FINAL DETERMINATION AND NOTIFICATION OF ELIGIBILITY
             j24 CFR §982.301
             If the applicant family is determined to be eligible after all applicable paperwork
             has been reviewed, they will be invited to attend a briefing session at which time
             they will receive information regarding their rights and responsibilities and they
             will be issued a voucher. See Chapter 8 (Voucher Issuance and Briefings) for
             more detail information.




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                                        CHAPTER 5:
                                    SUBSIDY STANDARDS


      5.1   INTRODUCTION
            f24 CFR 6982.402(a)1
            Program regulations require that the Housing Authority establish subsidy
            standards that determine the number of bedrooms needed for families of different
            sizes and compositions. Such standards must provide for a minimum
            commitment of subsidy while avoiding overcrowding. The standards in
            determining the voucher size must be within the minimum unit size requirements
            of HUD's Housing Quality Standards(HQS).
            This chapter lays out the factors used in determining the voucher size issued to a
            family initially and when there is a move to a new unit, as well as the Housing
            Authority's procedures for handling changes in family size, selection of unit size
            that are different from the voucher size and requests for waivers.

      5.2   DETERMINATION OF VOUCHER SIZE
            f24 CFR §982.4021
            Subsidy standards and determination of voucher bedroom size are based upon
            the number of family members who will reside in the assisted dwelling unit. All
            standards in this section relate to the number of bedrooms on the voucher, not
            the family's actual living arrangements.
            The unit size on the voucher remains the same as long as the family composition
            remains the same.
            As required by HUD, the Housing Authority's subsidy standards for determining
            voucher size shall provide for the smallest number of bedrooms needed to house
            a family without overcrowding. They will be applied consistently for all families of
            like size and composition, in a manner consistent with fair housing guidelines and
            HQS.
            In accordance with HUD regulations, the unit size designated on the voucher
            should be assigned using the following Housing Authority subsidy standards,
            which are based on two persons per bedroom:

                              Number of                   Number of
                          Household Members               Bedrooms
                                    1-2                  1-bedroom
                                    3-4                  2- bedroom
                                    5-6                  3- bedroom
                                    7-8                  4 bedroom
                                   9-10                  5- bedroom
                                   11-12                 6- bedroom




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                1. At issuance, the bedroom size assigned should not require more than two
                   persons to occupy the same bedroom. The family may choose and live
                   within a suitable unit in any grouping that is acceptable to the family,
                    including using the living room for sleeping purposes.
                2. Every family member is to be counted as a person in determining the
                   family unit size [24 CFR §982.402(a)(4)-(6)]. Under this definition, family
                    members include the unborn child of a pregnant woman; any live-in aides
                   (approved by the Housing Authority to reside in the unit to care for a
                   family member who is disabled or is at least 50 years of age); and a child
                    who is temporarily away from the home because of placement in foster
                    care. A family that consists of a pregnant woman (with no other persons)
                     must be treated as atwo-person family.
                     Note: An approved live-in aide is counted in determining the voucher
                    size. There is no waiver or exception to the subsidy standards unless
                    otherwise specified.
                3. An additional bedroom may be assigned if approved under a waiver by
                     the Housing Authority (see Section 5.3 below).
                 4. If the family decides to move, the Housing Authority will issue a voucher
                    based on the family's current composition.

      5.2.1   Maximum Unit Occupancy
              In cases where an additional persons) joins the family and the family will
              continue to occupy the same rental unit, i.e. no move is involved, the Housing
              Authority may require the family to use the living room for sleeping purposes for
              no more than one person provided that the unit meets other HG~S.
              Changes to household composition must be made according to Housing
              Authority policy detailed in Section 12.5(Changes in Family Composition).
              The maximum occupancy as determined by the Housing Authority is as follows:

                                     Number of          Maximum
                                     Bedrooms          Occupancy
                                     1-bedroom            3
                                    2- bedroom            5
                                    3- bedroom            7
                                     4- bedroom           9
                                     5- bedroom           11
                                     6- bedroom           13

              The Housing Authority will not increase the family's voucher size due to additions
              where the family will continue to occupy the same unit, unless the addition
              creates an overcrowding situation for the family.
              The family may be required to move into a larger size dwelling unit if the Housing
              Authority determines that the family is overcrowded.



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      5.3   OCCUPANCY STANDARDS WAIVER
            X24 CFR &982.402fb)(8)1
            The standards discussed above should apply to the vast majority of assisted
            families. However, in some cases, the Housing Authority may grant exceptions
            to the subsidy standards. Examples of possible exceptions that may be justified
            include but are not limited to:
               1. The health of a family member.
               2. A reasonable accommodation to a disability.
            Requests based on health related reasons must be verified, in writing, by a
            doctor or other medical professional. The request must specify the reason for
            the request and how providing a larger bedroom size would improve or
            accommodate the medical condition.
            A Unit Supervisor who has not been involved in the initial determination will
            review the request, any prior determination and make a decision based on the
            specifics of the individual case (on a case-by-case basis). After the decision is
            made, a letter notifying the applicant or participant of the decision regarding the
            waiver will be sent by the reviewing supervisor.
            To request a larger voucher size than indicated by the subsidy standards for any
            other reason, the family must submit a written request within 15 calendar days of
            the Housing Authority's determination of bedroom size. The request must
            explain the need or justification for a larger bedroom size.

      5.4   EXCEPTIONS FOR FOSTER CHILDREN
            f24 CFR ~982.402(b)(8)1
            Exceptions will be made to accommodate foster children. The Los Angeles
            County Department of Family and Children Services (DCFS) has very specific
            housing guidelines that must be met by foster families. In order to assure that
            foster children are able to remain with designated Section 8 foster families, the
            Housing Authority will utilize the guidelines published by the Los Angeles County
            DCFS, or spec'rfied in a court order, in situations involving foster children.

      5.5    FLEXIBILITY OF UNIT SIZE ACTUALLY SELECTED
             f24 CFR $982.402(d)1
             The family may select a dwelling unit with a different size than that listed on the
             voucher:
             ❑ Laraer than the voucher size: The Housing Authority shall not prohibit a
               family from renting an otherwise acceptable unit because it is too large for the
               family, provided that the rent for the unit is comparable and the family's total
               rent contribution (rent to the owner plus any applicable utility costs) does not
               exceed 40 percent of the family's adjusted monthly income (applies only if the
               gross rent for the unit exceeds the payment standard).
             ❑ Smaller than the voucher size: The Housing Authority will allow families to
                request a waiver to rent an otherwise acceptable unit with fewer bedrooms
               than the voucher size, if the unit does not exceed maximum unit occupancy
                requirements.


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      5.5.1   Calculatin4 Assistance for a Different Unit Size
              To determine the family's maximum rent subsidy, the Housing Authority uses the
              payment standard for' the voucher size or the selected unit size, whichever is
              lower [24 CFR §982.402(c)].
              The utility allowance used to calculate the gross rent is based on the actual size
              of the unit the family selects, regardless of the size authorized on the family's
              voucher [24 CFR § 982.517(d)].




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                                     CHAPTER 6:
            DETERMINING THE TOTAL TENANT PAYMENT AND HOUSING AUTHORITY
                                   ABSENCE POLICY

      6.1     INTRODUCTION
              This chapter explains how the Total Tenant Payment (TTP) is calculated at
              admission and during annual re-examinations. It covers Housing Authority and
              HUD standards used to calculate income inclusions and deductions.
              This chapter also provides the Housing Authority's definition of absence of
              household members and explains how the presence or absence of household
              members can affect the TTP.
              The policies outlined in this chapter address those areas, which allow the
              Housing Authority discretion to define terms and to develop standards in order to
              assure consistent application of the various factors that relate to the
              determination of TTP.

      6.2     INCOME DEFINITIONS
              ❑ Total Tenant Payment (TTP): TTP is calculated for each household based
                 on family income. It is used to determine the tenant contribution toward rent.
                 The TTP is affected by who is included in the family composition. Accurate
                 calculation of annual income and adjusted income ensures that families do
                 not pay more or less for rent than obligated and required by the regulations.
              ❑ Income: The Housing Authority will include income from all sources, unless
                 otherwise specifically exempted [24 CFR §5.609(c)] through program
                 regulations, for the purposes of calculating the TTP. In accordance with this
                 definition, income from all sources of each member of the household is
                 counted.
               ❑ Annual Income f24 CFR 65.609(a)1: The gross amount of income
                 anticipated to be received by the family during the 12 months after
                 certification or re-examination. Gross income is the amount of income prior to
                 any HUD allowable expenses or deductions, and does not include income
                 that has been excluded by HUD. Annual income is used to determine
                 whether or not applicants are within the applicable income limits.
               O Adjusted Income X24 CFR §5.611 : The annual income minus any HUD
                 allowable deductions.

       6.3     INCOME DEDUCTIONS
               f24 CFR §5.611(all
               The following deductions will be applied in the TTP calculation:
                  ➢ Deaendent Allowance: $480 each for family members (other than the
                      head or spouse), who are minors, and for family members who are 18
                      and older who are full-time students or who are disabled. This allowance
                      does not apply to foster children.




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                 ➢ Elderly Family or Disabled Family Allowance: $400 for families whose
                   head or spouse is 62 or over or disabled.
                 ➢ Childcare Expenses: Deducted for children under 13, including foster
                   children, when childcare is necessary to allow an adult member to work,
                   search for work, or attend school (see below for details).
                   Allowable Medical Expenses: Deducted for unreimbursed medical
                   expenses for members of any elderly family or disabled family.
                 ➢ Attendant Care and Auxili~ry Apparatus Exaenses: Deducted for
                   persons with disabilities if needed to enable the individual or an adult
                   family member to work.

      6.3.1   Childcare Exaenses
              f24 CFR 55.603(b) and 24 CFR §5.611(a)1
              Childcare expenses for children under 13 years of age may be deducted from
              annual income if they enable an adult to work, search for work, or attend school
              full time.
              In the case of a child attending school, only care during non-school hours can be
              counted as childcare expenses.
              Families will be given a childcare allowance based on the following guidelines:
              ❑ Childcare to Work: The maximum childcare expense allowed must be less
                 than the amount earned by the person enabled to work. The "person enabled
                 to work° will be the adult member of the household who earns the least
                 amount of income from working.
              ❑ Childcare to Search for Work: Childcare expenses cannot exceed the
                 current amount of income received.
              ❑ Childcare for School: The number of hours claimed for childcare may not
                 exceed the number of hours the family member is attending school (including
                 one hour travel time to and from school).
              ❑ Amount of Exgense: The Housing Authority will determine local average
                  costs as a guideline. If the hourly rate materially exceeds the guideline, the
                  Housing Authority may calculate the allowance using the guideline.

       6.3.2 Medical Expenses
             f24 CFR 65.611(a)(3)(ill
              When it is unclear in the HUD rules as to whether or not to allow an item as a
              medical expense, IRS Publication 502 will be used as a guide.
              The Housing Authority will allow as medical expense the actual out-of-pocket
              amounts which are owed and anticipated to be paid by the family during the re-
              examination period. Expenses from the previous year may be analyzed to
              determine the amount to anticipate when other verification is not available.
               Nonprescription medicines will be counted toward medical expenses for families
               who qualify if the family furnishes legible receipts.




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              Acupressure, acupuncture and related herbal medicines, and chiropractic
              services will be considered allowable medical expenses.

      6.4     INCOME INCLUSIONS AND EXCLUSIONS

      6.4.1   Income Inclusions
              f24 CFR 65.609(b)1
              The Housing Authority considers the following to be included in the family's
              annual income, as required by HUD:
              (1) The full amount, before any payroll deductions, of wages and salaries,
                  overtime pay, commissions, fees, tips and bonuses, and other compensation
                  for personal services;
              (2) The net income from operation of a business or profession. Expenditures for
                  business expansion or amortization of capital indebtedness shall not be used
                  as deductions in determining net income. An allowance for depreciation of
                  assets used in a business or profession may be deducted, based on straight
                  line depreciation, as provided in Internal Revenue Service regulations. Any
                  withdrawal of cash or assets from the operation of a business or profession
                  will be included in income, except to the extent the withdrawal is
                  reimbursement of cash or assets invested in the operation by the family;
              (3) Interest, dividends, and other net income of any kind from real or personal
                  property. Expenditures for amortization of capital indebtedness shall not be
                  used as deductions in determining net income. An allowance for depreciation
                  is permitted only as authorized in paragraph (2) of this section. Any
                  withdrawal of cash or assets from an investment will be included in income,
                  except to the extent the withdrawal is reimbursement of cash or assets
                  invested by the family. Where the family has net family assets in excess of
                  $5,000, annual income shall include the greater of the actual income derived
                  from net family assets or a percentage of the value of such assets based on
                  the current passbook savings rate, as determined by HUD;
              (4) The full amount of periodic payments received from Social Security,
                  annuities, insurance policies, retirement funds, pensions, lotteries, disability
                  or death benefits, and other similar types of periodic receipts, including a
                  lump-sum payment for the delayed start of a periodic payment (but see
                  paragraph (13) under Income Exclusions);
              (5) Payments in lieu of earnings, such as unemployment, worker's
                  compensation, and severance pay (but see paragraph (3) under Income
                  Exclusions);
              (6) Welfare Assistance.
                   a. Welfare assistance received by the household.
                   b. The amount of reduced welfare income that is disregarded specifically
                      because the family engaged in fraud or failed to comply with an economic
                      self-sufficiency or work activities requirement.
                   c. If the welfare assistance payment includes an amount specifically
                      designated for shelter and utilities that is subject to adjustments by the


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                   welfare assistance agency in accordance with the actual cost of shelter
                   and utilities, the amount of welfare income to be included as income shall
                   consist of:
                   (i) The amount of the allowance or grant exclusive of the amount
                       specifically designated for shelter or utilities; plus
                   (ii) The maximum amount that the welfare assistance agency could in
                        fact allow the family for shelter and utilities. If the family's welfare
                        assistance is ratably reduced from the standard of need by applying a
                        percentage, the amount calculated under this paragraph shall be the
                        amount resulting from one application of the percentage;
            (7) Periodic and determinable allowances, such as alimony and child support
                payments, and regular contributions or gifts received from persons not
                residing in the dwelling;
                    Regular Contributions and Gifts f24 CFR §5.609(b)(7)1
                    Any contribution or gift received every 3 months or more frequently
                    will be considered a "regular" contribution or gift. This includes
                    payments made on behalf of the family such as payments for a car,
                    credit card bills, rent and/or utility bills and other cash or non-cash
                    contributions provided on a regular basis. It does not include casual
                    contributions or sporadic gifts.
                    If the family's expenses exceed its known income, the Housing
                    Authority will question the family about contributions and gifts. If the
                    family indicated that it is able to meet the extra expenses due to gifts
                    or contributions from persons outside the household, the amount
                    provided will be included in the family's TTP.


                    Alimony and Child Support f24 CFR §5.609(b)(7)1
                    If the amount of child support or alimony received is less than the
                    amount awarded by the court, the Housing Authority must use the
                    amount awarded by the court unless the family can verify that they are
                    not receiving the full amount. Acceptable verification in such cases
                    may include:
                     1. Verification from the agency responsible for enforcement or
                        collection, and
                     2. Documentation of child support or alimony collection action filed
                        through a child support enforcement/collection agency, or has filed
                        an enforcement or collection action through an attorney.
                     It is the family's responsibility to supply a certified copy of the divorce
                     decree.
             (8) All regular pay, special pay, and allowances of a member of the Armed
                 Forces (whether or not living in the dwelling) who is head of the family,
                 spouse, or other person whose dependents are residing in the unit (but see
                 paragraph (7) under Income Exclusions).


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           (9) Any financial assistance, in excess of amounts received for tuition, that an
               individual received for tuition, that an individual receives under the Higher
               Education Act of 1965(20 U.S.C. 1001 et seq.), from private sources, or from
               an institution of higher education (as defined under the Higher Education Act
               of 1965 (20 U.S.C. 1002)), shall be considered income to that individual,
               except that financial assistance described in this paragraph is not considered
               annual income for students who are living with their parents who are applying
               for or receiving assistance or persons over the age of 23 with dependent
               children. For the purpose of determining income, loan proceeds are not
               considered "financial assistance".
          (10) Any part of an athletic scholarship that can be used to cover housing costs
               must be included in the family's income.

      6.4.2 Income Exclusions
            f24 CFR $5.609(c)1
            The Housing Authority considers the following to be excluded from the family's
            annual income, as required by HUD:
           (1) Income from employment of children (including foster children) under the age
               of 18 years;
           (2) Payments received for the care of foster children or foster adults (usually
               individuals with disabilities, unrelated to the tenant family, who are unable to
               live alone);
                    Benefits received through the Kin GAP program, a California program
                    designed specifically for foster children who have been place in the
                    home of a relative are considered foster care and should be excluded.
            (3) Lump-sum additions to family assets, such as inheritances, insurance
                payments (including payments under health and accident insurance and
                worker's compensation), capital gains, and settlement for personal or
                property losses (but see paragraph (5) under Income Inclusions);
            (4) Amounts received by the family that are specifically for, or in reimbursement
                of, the cost of medical expenses for any family member;
            (5) Income of a live-in aide (as defined by regulation);
            (6) Subject to paragraph (9) in Income Inclusions, the full amount of student
                financial assistance paid directly to the student or to the educational
                institution;
            (7) The special pay to a family member serving in the Armed Forces who is
                exposed to hostile fire;
            (8)(a) Amounts received under training programs funded by HUD;
                (b) Amounts received by a person with disabilities that are disregarded for a
                    limited time for purposes of Supplemental Security Income eligibility and
                    benefits because they are set aside for use under a Plan to Attain Self-
                    Sufficiency (PASS);




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               (c) Amounts received by a participant in other publicly assisted programs
                   which are specifically for or in reimbursement of out-of-pocket expenses
                   incurred (special equipment, clothing, transportation, child care, etc.) and
                   which are made solely to allow participation in a specific program;
               (d) A resident service stipend. This is a modest amount (not to exceed $200
                   per months received by a resident for performing a service for the owner,
                   on a part-time basis, that enhances the quality of life in the development.
                   This may include, but is not limited to fire patrol, hall monitoring, lawn
                   maintenance, and resident initiatives coordination and serving as a
                   member of the PHA's governing board. No resident may receive more
                   than one such stipend during the same period of time; or
                (e) Incremental earnings and benefits resulting to any family member from
                    participation in qualifying state or local employment training programs
                   (including training programs not affiliated with a local government) and
                    training of a family member as resident management staff. Amounts
                    excluded by this provision must be received under employment training
                    programs with clearly defined goals and objectives, and are excluded only
                    for the period during which the family member participates in the
                    employment training program.
            (9) Temporary, nonrecurring, or sporadic income (including gifts). For example,
                amounts earned by temporary census employees whose terms of
                employment do not exceed 180 days (Notice PIH 2000-1).
            (10) Reparations payments paid by a foreign government pursuant to claims
                 filed under the laws of that government by persons who were persecuted
                 during the Nazi era;
            (11) Earnings in excess of $480 for each full-time student 18 years or older
                (excluding the head of household and spouse);
             (12) Adoption assistance payments in excess of $480 per adopted child;
            (13) Deferred periodic payments of supplemental security income and social
                 security benefits that are received in a lump-sum payment or in prospective
                 monthly payments;
            (14) Amounts received by the family in the form of refunds or rebates under
                 state or local law for property taxes paid on the dwelling unit;
             (15) Amounts paid by a state agency to a family with a developmentally disabled
                  family member living at home to offset the cost of services and equipment
                  needed to keep the developmentally disabled family member at home; and
             (16) Amounts specifically excluded by any other federal statute from
                  consideration as income for purposes of determining eligibility or benefits
                  under a category of assistance programs that includes assistance under the
                  1937 Act. A notice will be published in the Federal Register and distributed
                  to PHAs identifying the benefits that qualify for this exclusion. Updates will
                  be distributed when necessary. The following is a list of income sources
                  that qualify for that exclusion:
                   a) The value of the allotment provided to an eligible household under the
                      Food Stamp Act of 1977(7 U.S.C. 2017 (b));


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                b) Payments to Volunteers under the Domestic Volunteer Services Act of
                   1973(42 U.S.C. 5044(8), 5058);
               c) Payments received under the Alaska Native Claims Settlement Act(43
                  U.S.C. 1626(c));
                d) Income derived from certain submarginal land of the United States that
                   is held in trust for certain Indian tribes(25 U.S.C. 459e);
                e) Payments or allowances made under the Department of Health and
                   Human Services' Low-Income Home Energy Assistance Program (42
                   U.S.C. 8624(f));
                f) Payments received under programs funded in whole or in part under the
                   Job Training Partnership Act(29 U.S.C. 1552(b); (effective July 1, 2000,
                    references to Job Training Partnership Act shall be deemed to refer to
                   the corresponding provision of the Workforce Investment Act of 1998
                   (29 U.S.C. 2931);
                g) Income derived from the disposition of funds to the Grand River Band of
                   Ottawa Indians (Pub.L- 94-540,90 Stat. 2503-04);
                h) The first $2000 of per capita shares received from judgment funds
                   awarded by the Indian Claims Commission or the U. S. Claims Court,
                   the interests of individual Indians in trust or restricted lands, including
                   the first $2000 per year of income received by individual Indians from
                   funds derived from interests held in such trust or restricted lands (25
                   U.S.C. 1407-1408);
                i Amounts of scholarships funded under title IV of the Higher Education
                )
                  Act of 1965, including awards under federal work-study program or
                  under the Bureau of Indian Affairs student assistance programs(20
                  U.S.C. 1087uu);
                j) Payments received from programs funded under Title V of the Older
                    Americans Act of 1985(42 U.S.C. 3056(f));
                 k) Payments received on or after January 1, 1989,from the Agent Orange
                    Settlement Fund or any other fund established pursuant to the
                    settlement in In Re Agent-product liability litigation, M.D.L. No. 381
                   (E.D.N.Y.);
                 I Payments received under the Maine Indian Claims Settlement Act of
                 )
                    1980(25 U.S.C. 1721);
                 m) The value of any child care provided or arranged (or any amount
                    received as payment for such care or reimbursement for costs incurred
                    for such care) under the Child Care and Development Block Grant Act
                    of 1990(42 U.S.C. 9858q);
                 n) Earned income tax credit(EITC) refund payments received on or after
                    January 1, 1991 (26 U.S.C. 32(j));
                 o) Payments by the Indian Claims Commission to the Confederated Tribes
                    and Bands of Yakima Indian Nation or the Apache Tribe of Mescalero
                    Reservation (Pub. L. 95-433);




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                  p) Allowances, earnings and payments to AmeriCorps participants under
                     the National and Community Service Act of 1990(42 U.S.C. 12637(d));
                  q) Any allowance paid under the provisions of 38 U.S.C. 1805 to a child
                     suffering from spina bifida who is the child of a Vietnam veteran (38
                     U.S.C. 1805);
                  r) Any amount of crime victim compensation (under the Victims of Crime
                     Act) received through crime victim assistance (or payment or
                     reimbursement of the cost of such assistance) as determined under the
                     Victims of Crime Act because of the commission of a crime against the
                     applicant under the Victims of Crime Act(42 U.S.C. 10602); and
                 s) Allowances, earnings and payments to individuals participating in
                    programs under the Workforce Investment Act of 1998(29 U.S.C.
                    2931).
            (17) Earned Income Disallowance for persons with disabilities[24CFR5.617]
                  (a) Initial 12-Month Exclusion [24CFR5.617(C)(1)]
                  (b) Second 12-Month Exclusion and Phase-In [24CFR5.617(C)2)
                 (c) Maximum 4-Year Disallowance [24 CFR 5.617(c)(3)]
             (18) Medicare Prescription Drug Plan

      6.4.3 Earned Income Disallowance
            f24 CFR §5.6171
              When determining the annual income of a participant family that includes
              persons with disabilities, the determination must exclude an increase in annual
              income due to any of the following events:
              1. Employment by a family member who is a person with disabilities and who
                 was previously unemployed for one or more years prior to employment.
                 ➢ A previously unemployed person is defined as a person who in the 12
                     months prior to employment has earned no more than would be received
                     for 10 hours of work per week for 50 weeks at the established minimum
                     wage.
              2. An increase in income by a family member who is a person with disabilities
                 and whose earnings increase during participation in an economic self-
                 sufficiency program or other job-training program.
                  ➢ An economic self-sufficiency program is any program designed to
                    encourage, assist, train, or facilitate the economic independence of HUD-
                    assisted families or to provide work for such families.
              3. New employment or increased earnings by a family member who is a person
                 with disabilities and who has received TANF benefits or services within the
                 past 6 months.
                  ➢ If TANF is received in the form of monthly monetary maintenance, there is
                    no minimum amount that must be received to be considered a participant
                    in TANF.



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                 ➢ If TANF is received in the form of one-time payments, wage subsidies
                   and transportation assistance that add up to at least $500 over a 6-month
                   period, they would meet this requirement.

      6.4.4 Earned Income Disallowance Exclusion Time Periods
            f24 CFR 65.617(c)1
            ❑ Initial 12-Month Exclusion: During the initial 12-month exclusion period, the
               full amount of the increase in income due to employment or increase
                earnings is excluded. This exclusion extends for 12 cumulative months and
                the months do not have to be consecutive.
             ❑ Second 12-Cumulative Months: During the second 12-month exclusion and
                phase-in period, the exclusion is reduced to half, or 50 percent, of the
                increase in income due to employment or increased earnings. This second
                12-month exclusion period begins after the full 12 months of the full exclusion
                has been used and the months do not have to be consecutive.
             ❑ 4-Year Lifetime Limit: A participant has a Total lifetime limit of 48
                consecutive months that begins once the initial exclusion is given after the
                qualifying event. No exclusion should be given after the I'rfetime limit has
                 been reached.

      6.5     FAMILY ASSETS
              f24 CFR ~5.603(b)1

      6.5.1   Included Assets
              (1) Amounts in savings and checking accounts.
              (2) Stocks, bonds, savings certificates, money market funds and other
                  investment accounts.
              (3) Equity in real property or other capital investments. Equity is the estimated
                  current market value of the asset less the unpaid balance on all loans
                  secured by the assets and reasonable costs (such as broker fees) that
                  would be incurred in selling the assets.
              (4) The cash value of trusts that may be withdrawn by the family.
              (5) IRA, Keogh and similar retirement savings accounts, even though
                  withdrawal would result in a penalty.
              (6) Some contributions to company retiremenUpension funds.
                    Contributions to company retirement/pension funds are handled as follows:
                     1. While an individual is employed, include as assets only amounts the
                         family can withdraw without retiring or terminating employment.
                      2. After retirement or termination of employment, include any amount the
                         individual elects to receive as a lump sum.
              (7) Assets, which although owned by more than one person, allow unrestricted
                  access by the applicant.



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            (8) Lump sum receipts such as inheritances, capital gains, lottery winnings,
                insurance settlements, and other claims.
                  Lump-sum additions to family assets, such as inheritances, insurance
                  payments (including lump-sum payments under health and accident
                  insurance and worker's compensation), capital gains, and settlement for
                  personal or property losses, are not included as income but may be
                  included in assets.
                  Lump-sum payments caused by delays in processing periodic payments
                  (unemployment or welfare assistance) are counted as income. Lump sum
                   payments from Social Security or SSI are excluded from income, but any
                  amount remaining will be considered an asset. Deferred periodic payments
                   which have accumulated due to a dispute will be treated the same as
                   periodic payments which are deferred due to delays in processing.
                  The family's attorney fees may be deducted from lump-sum payments when
                  computing annual income if the attorney's efforts have recovered a lump-
                  sum compensation, and the recovery paid to the family does not include an
                  additional amount in full satisfaction of the attorney fees.
            (9) Personal property held as an investment such as gems, jewelry, coin
                collections, antique cars, etc.
            (10) Cash value of life insurance policies.
            (11) Assets disposed of for less than fair market value during the two years
                 preceding certification or re-certification.
                   The Housing Authority must count assets disposed of for less than fair
                   market value during the 2 years preceding certification or re-examination.
                   The Housing Authority will count the difference between the market value
                   and the actual payment received in calculating total assets.
                   Assets disposed of as a result of foreclosure or bankruptcy, separation or
                   divorce are not considered to be assets disposed of for less than fair
                   market value.
                   The Housing Authority's minimum threshold for counting assets disposed of
                   for less than Fair Market Value is $5,000. If the total value of assets
                   disposed of within a 1-year period is less than $5,000, they will not be
                   considered an asset.

      6.5.2 Excluded Assets
             (1) Necessary personal property, except as noted in #9 above at Section 6.5.1.
             (2) Interest in Indian trust lands.
             (3) Assets that are part of an active business or farming operation.
                   If a household member's main occupation is the business from his/her
                   rental property, the rental property is considered a business asset and
                   therefore excluded. If a household member's rental property is considered
                   a personal asset and held as an investment, it is considered an included
                   asset.


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            (4) Assets not controlled by or accessible to the family and which provide no
                income for the family.
            (5) Vehicles especially equipped for the disabled.
            (6) Equity in owner-occupied cooperatives and manufactured homes in which
                the family lives.

      6.6    CALCULATING INCOME AND FAMILY CONTRIBUTION

      6.6.1 "Minimum Rent" and Minimum Family Contribution
            f24 CFR §5.630(a)(2)1
             Minimum family contribution in the Housing Authority's rental assistance
             programs is $50, for alt new contracts including moves effective April 5, 2005,
             and effective at annual re-examinations beginning May 2005.
             The Housing Authority will waive the minimum rent requirement in cases where
             the family documents that they do not currently have any source of income such
             as in the case of some homeless families. In such cases, the family will be re-
             evaluated in 6 months. All families are required to report changes in income
             within 30 calendar days.

      6.6.2 Minimum Income
             There is no minimum income requirement. Families who report zero income may
             be required to attend an interim re-examination periodically, up to once a quarter,
             at the Housing Authority's discretion. A credit review will automatically be
             requested for families claiming zero income.

      6.6.3 Avera4in41ncome
            f24 CFR ~982.516(b)(2) and 24 CFR §5.609fd11
             When annual income cannot be anticipated for a full 12 months, the Housing
             Authority may annualize current income and conduct an interim re-examination if
             income changes.
             tf there are bonuses or overtime which the employer cannot anticipate for the
             next 12 months, bonuses and overtime received the previous year may be used.
             Income from the previous year may be analyzed to determine the amount to
             anticipate when third-party or check-stub verification is not available.
             If by averaging, an estimate can be made for those families whose income
             fluctuates from month to month, this estimate will be used so that the housing
             payment will not change from month to month.
             The method used depends on the regularity, source and type of income.

       6.6.4 Utility Allowance and Utility Reimbursement Payments
             f24 CFR §982.5171
              The utility allowance is intended to help defray the cost of utilities not included in
              the rent and is subtracted from TTP to establish the family's rent to the owner.



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               The allowances are based on rates and average consumption studies, not on a
               family's actual consumption. The Housing Authority will review the Utility
               Allowance Schedule on an annual basis and revise it if needed (10 percent
               increase or decrease).
               The approved utility allowance schedule is given to families along with the
               voucher. The utility allowance is based on the actual unit size selected.
               Where families provide their own range and refrigerator, the Housing Authority
               will establish an allowance adequate for the family to purchase or rent a range or
               refrigerator, even if the family already owns either appliance. Allowances for
               ranges and refrigerators will be based on the lesser of the cost of leasing or
               purchasing the appropriate appliance over a 12-month period.
               If the utility allowance exceeds the family's TTP, the Housing Authority will
               provide a utility reimbursement payment for the family each month. The check
               will be made out directly to the family's head of household on record.

      6.6.5 Reduction in Welfare Assistance
            f24 CFR §5.6151
               Imputed welfare income is the amount that welfare benefits are reduced
               specifically because of the following:
                      Fraud;
                     Failure to participate in an economic self-sufficiency programs; or
                   ➢ Noncompliance with a work activities requirement.
               The Housing Authority will include in the family's annual income the amount of
               the imputed welfare income plus the total amount of other annual income and the
               family's rent will not be reduced.
               However, the Housing Authority will reduce the rent 'rf the welfare assistance
               reduction is a result of any of the following:
                   ➢ The expiration of a lifetime time limit on receiving benefits;
                   ➢ The family has complied with welfare program requirements but cannot
                     obtain employment; or
                   ➢ The family member has not complied with other welfare agency
                     requirements.
                A family's request for rent reduction shall be denied upon the Housing Authority
                obtaining written verification from the welfare agency stating that the family's
                benefits have been reduced for fraud or noncompliance.

       6.7      PRORATION OF ASSISTANCE FOR "MIXED" FAMILIES

       6.7.1    Apalicability
                f24 CFR §5.520(a11
                Proration of assistance must be offered to any "mixed" applicant or participant
                family. A °mixed" family is one that includes at least one U.S. citizen or eligible
                immigrant and any number of ineligible members.

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              "Mixed" families that were participants on June 19, 1995, and that do not qualify
              for continued assistance must be offered prorated assistance. Mixed family
              applicants are entitled to prorated assistance. Families that become mixed after
              June 19, 1995 by addition of an ineligible member are entitled to prorated
              assistance.

      6.7.2 Prorated Assistance Calculation
            f24 CFR §5.520(c)1
              Prorated assistance is calculated by determining the amount of assistance
              payable if all family members were eligible and multiplying by the percent of the
              family members who actually are eligible. TTP is the gross rent minus the
              prorated assistance.

      6.8     ABSENCE POLICY
              The Housing Authority must compute all applicable income of every family
              member who is on the lease, including those who are temporarily absent. In
              addition, the Housing Authority must count the income of the spouse or the head
              of household if that person is temporarily absent, even if that person is not on the
              lease.
              Income of persons permanently absent will not be counted. If the spouse is
              temporarily absent and in the military, all military pay and allowances (except
              hazardous duty pay when exposed to hostile fire and any other exceptions to
              military pay HUD may define) is counted as income.
              It is the responsibility of the household to report absences and changes in family
              composition. The Housing Authority will evaluate absences from the unit using
              this policy[24 CFR §982.551(1)].

      6.8.1   Absence of Entire Family
              f24 CFR §982.3121
               These policy guidelines address situations when the family is absent from the
               unit, but has not moved out of the unit. In cases where the family has moved out
               of the unit, the Housing Authority will terminate assistance in accordance with
               appropriate termination procedures contained in this plan.
               Families are required both to notify the Housing Authority before they move out
               of a unit and to give the Housing Authority information about any family absence
               from the unit.
               Families must notify the Housing Authority if they are going to be absent from the
               unit for more than 30 consecutive calendar days.
               If the family fails to notify the Housing Authority of an absence of longer than 30
               consecutive calendar days, or if the entire family is absent from the unit for more
               than 60 consecutive calendar days, the unit will be considered to be vacated and
               the assistance will be terminated. The Housing Authority at all times shall
               reserve the right to exercise its judgment regarding extensions on family absence
               from the unit on a case-by-case basis. However, HUD regulations require the
               Housing Authority to terminate assistance 'rf the entire family is absent from the
               unit for a period of more than 180 consecutive calendar days.


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            "Absence of entire family" means that no family member is residing in the unit,
            and the unit has not been vacated. In order to determine if the family is absent
            from the unit, the Housing Authority may:
                 ➢ Write letters to the family at the unit
                 ➢ Telephone the family at the unit
                 ➢ Interview the owner
                 ➢ Interview neighbors
                 ➢ Verify if utilities are in service
                    Conduct an interim HQS Inspection
             If the absence which resulted in termination of assistance was due to a person's
             disability, and the Housing Authority can verify that the person was unable to
             notify Housing Authority in accordance with the family's responsibilities, and if
             funding is available, the Housing Authority may reinstate the family as a
             reasonable accommodation if requested by the family.

      6.8.2 Absence of Anv Member
            [24 CFR §982.312(all
             Any member of the household will be considered permanently absent if s/he is
             away from the unit for 180 consecutive calendar days except as otherwise
             provided in this chapter.

      6.8.3 Absence Due to Medical Reasons
            X24 CFR §982.312(e)(1)1
             If any family member leaves the household to enter a facility such as a hospital,
             nursing home, or rehabilitation center, the Housing Authority will seek advice
             from a reliable qualified source as to the likelihood and timing of their return. If
             the verification indicates that the family member will return in less than 180
             calendar days,the family member will not be considered permanently absent.
              If the verification indicates that the family member will be permanently confined to
              a nursing home,the family member will be considered to be permanently absent,
              out of the home and removed from the family composition.
              If the person who is determined to be permanently absent is the sole member of
              the household, assistance will be terminated in accordance with the Housing
              Authority's "Absence of Entire Family" policy.

      6.8.4 Absence Due to Incarceration
            f24 CFR $982.312(e)(1)1
              If the sole member of the household is incarcerated for more than 30 calendar
              days, s/he will be considered permanently absent and the Housing Authority will
              initiate proposed termination procedures to terminate assistance.
              Any member of the household, other than the sole member, will be considered
              permanently absent if s/he is incarcerated for 60 calendar days. Once a family
              member is removed from the family composition, the family must seek Housing


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            Authority approval prior to allowing the family member to re-join the assisted
            household. Failure to adhere to this policy can result in termination of assistance.
            The Housing Authority will determine if the reason for any family member's
            incarceration is for drug-related or violent criminal activity and, if appropriate, will
            pursue termination of assistance for the family if deemed appropriate.

      6.8.5 Foster Care and Absences of Children
            f24 CFR §982.551(h)(4)1
            If the family includes a child or children temporarily absent from the home due to
            placement in foster care, the Housing Authority will request information from the
            appropriate agency to determine when the child/children will be returned to the
            home.
            If the time period is to be greater than 180 calendar days from the date of
            removal of the child/children, the voucher size may be temporarily reduced. If
            children are removed from the home permanently, the voucher size will
            permanently reduced in accordance with the Housing Authority's subsidy
            standards.

      6.8.6 Absence of Adult
            (24 CFR 6982.312(e)1
             If neither parent remains in the household and the appropriate agency has
             determined that another adult is to be brought into the assisted unit to care for
             the children for an indefinite period, the Housing Authority will treat that adult as a
             visitor for up to the first 180 calendar days.
             If during or by the end of that period, court-awarded custody or legal
             guardianship has been awarded to the caretaker, the voucher will then be
             transferred to the caretaker.
             If custody or legal guardianship has not been awarded by the court, but the
             action is in process, the Housing Authority will secure verification from social
             services staff or the attorney as to the status.
             If the appropriate agency cannot confirm the guardianship status of the
             caretaker, the Housing Authority will review the status at 120-day intervals.
             The caretaker will be allowed to remain in the unit, as a visitor, until a
             determination of custody is made or up to 12 months total.
             The Housing Authority will transfer the voucher to the caretaker, in the absence
             of a court order, if the caretaker has been in the unit for more than 12 months
             and it is reasonable to expect that custody will be granted.
             When the Housing Authority approves a person to reside in the unit as caretaker
             for the children, this person's income will be counted in the TTP for the family
             pending a final disposition. The Housing Authority will work with the appropriate
             service agencies and the owner to provide a smooth transition in these cases.
             If a member of the household is subject to a court order that restricts him/her
             from the home for more than 180 calendar days, the person will be considered
             permanently absent.



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             If an adult family member leaves the household for any reason, the family must
             report the change in family composition to the Housing Authority within 30
             calendar days.
             The family will be required to notify the Housing Authority in writing within 30
             calendar days when a family member leaves the household for any reason or
             moves out. The notice must contain a certification by the family as to whether
             the member is temporarily or permanently absent. The family member will be
             determined permanently absent if ver'rfication is provided.
             If an adult child goes into the military and leaves the household, they will be
             considered permanently absent.
             Time extensions may be granted as a reasonable accommodation upon request
             by a person with a disability.

      6.8.7 Students
            f24 CFR §982.312(e)1
             Full time students who attend school away from the home and live with the family
             during school recess will be considered temporarily absent from the household.
             These family members will continue to be counted for the purpose of determining
             the family's appropriate voucher size.

      6.8.8 Visitors
            f24 CFR §982.312(e)1
             Any person not included on the HUD-50058 who has been in the unit more than
             30 calendar days, or a total of 60 calendar days in a 12-month period, will be
             considered to be living in the unit as an unauthorized household member.
              Absence of evidence of any other address will be considered verification that the
              visitor is a family member.
             Statements from neighbors and/or the owner will be considered in making the
             determination.
             Use of the unit address as the visitor's current residence for any purpose that is
             not explicitly temporary shall be construed as permanent residence.
              The burden of proof that the individual is a visitor rests on the family. In the
              absence.of such proof, the individual will be considered an unauthorized member
              of the family and the Housing Authority will terminate assistance since prior
              approval was not requested for the addition.
              In a joint custody arrangement, if the minor is in the household less than 180
              calendar days per year, the minor will be considered to be an eligible visitor and
              not a family member.

       6.8.9 Reaortina Absences to the Housing Authority
             f24 CFR &982.551(h)(3) and &982.551(111
              If a family member leaves the household, the family must report this change to
              the Housing Authority, in writing, within 30 calendar days of the change and
              certify as to whether the member is temporarily absent or permanently absent.


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            When available to do so, an adult family member who is leaving the household
            should remove him/herself in writing from the lease and voucher family
            composition.
            The Housing Authority will conduct an interim re-examination for changes, which
             may affect the TTP in accordance with the interim policy. See Section 12.5
            (Changes in Family Composition)for more information.

      6.8.10 Verification of Absence
             Please refer to Section 7.10.4 (Verification of Permanent Absence of Adult
             Member).




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                                          CHAPTER 7:
                                   VERIFICATION PROCEDURES

      7.1      INTRODUCTION
               f24 CFR &5.240(c), 24 CFR X5.210, 24 CFR §982.551(b)1
               HUD regulations require the Housing Authority to verify factors of eligibility.
               Applicants and program participants must furnish proof of their statements
               whenever required by the Housing Authority, and the information they provide
               must be true and complete. The Housing Authority's verification requirements are
               designed to maintain program integrity. This chapter explains the Housing
               Authority's procedures and standards for verification of preferences, income,
               assets, allowable deductions, family status, and when there are changes in
               family members. The Housing Authority will ensure that proper authorization
               from the family is always obtained before making verification inquiries.

      7.2      METHODS OF VERIFICATION AND TIME ALLOWED
               The Housing Authority will use five levels of verification methods acceptable to
               HUD in the following order:
                  1. Up-Front Income Verification (UIV) will be the first level used, when
                     available.
                  2. Third-party written verification will be the second level used when UIV is
                      not available.
                  3. Third-party oral verification will be the third level used when written
                      verification is delayed or not possible.
                   4. Review of documents verification will be the fourth level used if third-party
                      oral verification is unavailable.
                   5. CertificatioNself-declaration verification will be the fifth level used if
                      review of documents cannot be made.
               The Housing Authority may allow up to 10 calendar days for the return of third-
               party verifications before going to the next method.
               For applicants, verifications may not be more than 60 calendar days old from the
               date of receipt at the time of voucher issuance [24 CFR §982.201(e)]. For
               participants, income forms are valid for 120 calendar days from date of receipt.

       7.2.1    Up-Front Income Verification (UIV)
                The Housing Authority will utilize up-front income verification tools, such as
                Enterprise Income Verification system, State Systems for the Temporary
                Assistance of Needy Families (TANF), and Work Number, to verify items
                including but not limited to Social Security (SS) and Supplemental Security
                Income (SSI), TANF and wages whenever possible.
                If there is a $200 or greater difference between UIV verification and family
                provided documents, third-party verification will be required.
                In cases where UIV income data is not substantially different than tenant-
                reported income, the Housing Authority will follow the guidelines below:


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               ➢ If UIV income data is less than current tenant-provided documentation,
                 the Housing Authority will use tenant-provided documents to calculate
                 anticipated annual income.
               ➢ If UIV income data is more than current tenant-provided documentation,
                 the Housing Authority will use UIV income data to calculate anticipated
                 annual income unless the tenant provides the Housing Authority with
                 documentation of a change in circumstances (i.e. change in employment,
                 reduction in hours, etc.). Upon receipt of acceptable tenant-provided
                 documentation of a change in circumstances, the Housing Authority will
                  use tenant-provided documents to calculate anticipated annual income.
            In cases where UIV income data is substantially different than tenant-reported
            income, the Housing Authority shall follow the guidelines below:
                ➢ The Housing Authority may request written third-party verification from the
                   discrepant income source.
                ➢ The Housing Authority may review historical income data fro patterns of
                   employment, paid benefits, and/or receipt of other income, when the
                   Housing Authority can not readily anticipate income, such as in cases of
                   seasonal employment, unstable working hours, and suspected fraud.
                ➢ The Housing Authority will analyze all data (UIV data, third-party
                  verification and other documents and information provided by the family)
                  and attempt to resolve the income discrepancy.
                ➢ The Housing Authority will use the most current verified income data (and
                  historical income data if appropriate) to calculate anticipated annual
                  income.

      7.2.2 Third-Party Written Verification
            Third-parry written verification will be used when up-front income verification is
            not available. Third-party written verification forms will be sent and returned via
            first class mail. The family will be required to sign an authorization for the
            information source to release the specified information.
            Verifications received electronically directly from the source are considered third
            party written verifications.

      7.2.3 Third-Party Oral Verification
             Oral third-party verification will be used when written third-party verification is
             delayed or not possible. When third-party oral verification is used, staff will be
             required to document the file, noting with whom they spoke, the date of the
             conversation, and the facts provided

       7.2.4 Review of Documents
             In the event that, third-party written or oral verification is unavailable, or the
             information has not been verified by the third party, the Housing Authority will
             annotate the file accordingly and utilize documents provided by the family as the
             primary source if the documents provide complete information.



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             All documents will be photocopied and retained in the family file. The Housing
             Authority will accept the following documents or other documents from the family
             provided that the document is such that tampering would be easily noted:
                 ➢ Printed wage stubs
                 ➢ Computer print-outs from the employer
                 ➢ Signed letters by source
             The Housing Authority will accept computerized printouts delivered by the family
             from the following agencies or any other required agencies.
                 ➢ Social Security Administration
                 ➢ Veterans Administration
                 ➢ Welfare Assistance
                     Unemployment Compensation Board
                 ➢ City or County Courts
                 ➢ Child Support Enforcement Agencies
             The Housing Authority will accept faxed documents, however a hard copy may
             be requested for verification.
             If third-party verification is received after documents have been accepted as
             provisional verification, and there is a discrepancy, the Housing Authority may
             utilize the third-party verification and/or document the reason for not using the
             third-party verification.

      7.2.5 Self-Certification/Self-Declaration
              When verification cannot be made by third-party verification or review of
              documents,families will be required to submit aself-certification.
              Self-certification means a signed statemenUaffidaviUcertification under penalty of
              perjury.

      7.3     RELEASE OF INFORMATION
              f24 CFR §5.2301
              The family will be required to sign specific authorization forms when information
              is needed that is not covered by the HUD-9886 Form (Authorization for the
              Release of Information).
              Each member requested to consent to the release of information will be provided
               with a copy of the appropriate forms for their review and signature.
              Family refusal to cooperate with the HUD prescribed verification system will
              result in denial of admission or termination of assistance because it is a family
              obligation to supply any information requested by the Housing Authority or HUD.




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      7.4      COMPUTER MATCHING
               f24 CFR §5.210(a)1
               Where allowed by HUD and/or other State or local agencies, computer matching
               will be done.

      7.4.1     Data Sharing
               (State of California Health and Safety Code,§342171
                The Housing Authority will share applicant and participant information that is
                necessary to determine eligibility for County welfare department programs. or
                services for which the client has applied or is receiving.

      7.5      ITEMS TO BE VERIFIED
               f24 CFR $982.551(b)1
                O All income not specifically excluded by the regulations.
                ❑ Zero-income status of household.
                ❑ Full-time student status including high school students who are age 18 or
                  over.
                ❑ Current assets including assets disposed of for less than fair market value in
                  preceding two years.
                ❑ Childcare expense where it allows an adult family member to be employed,
                  seek employment or to further his/her education.
                ❑ Total medical expenses of all family members in households whose head or
                  spouse is elderly or disabled.
                ❑ Disability assistance expenses to include only those costs associated with
                  attendant care or auxiliary apparatus, which allow an adult family member to
                   be employed.
                O Identity.
                ❑ U.S. citizenship/eligible immigrant status.
                ❑ Social Security Numbers for all family members 6 years of age or older.
                ❑ Preference status, based upon local preferences.
                ❑ Displacement status of single applicants who are involuntarily displaced
                  through no fault of their own.
                ❑ FamiliaUmarital status when needed for head or spouse definition.
                ❑ Disability for determination of preferences, allowances or deductions.

       7.5.1     Victims of Violence
                 The Housing Authority may request that an applicant/participant certify
                 their statement of being a victim of domestic violence, dating violence,
                 sexual assault, or stalking and that the incident or incidents in question are
                 bona fide incidents of actual or threatened abuse. Certification must be
                 received within fourteen (14) business days after the applicandparticipant


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              receives the request for certification. The Housing Authority will accept the
              following forms of verification:
                 ❑ Certification of Domestic Violence, Dating Violence or Stalking
                   (HUD-50066 Form)
                 ❑ Documentation signed by an employee, agent, or volunteer of a
                    victim service provider, an attorney, or a medical professional, from
                    whom the victim has sought assistance in addressing domestic
                    violence, dating violence, sexual assault, or stalking, or the effect of
                    the abuse in which the professional attests under penalty of perjury
                    to the professional's belief that the incident or incidents in question
                    are bona fide incidents of abuse, and that the victim of domestic
                    violence, dating violence, sexual assault, or stalking has signed or
                    attested to the documentation, or
                    o Federal, State, tribal, territorial, or local police record, or
                     o Court record.

      7.6      VERIFICATION OF INCOME
              [24 CFR &982.516(a1(2)(i)1
              This section defines the methods the Housing Authority will use to verify various
              types of income. The Housing Authority may make an exception to obtaining
              third-party verification when:
              1. Staff has made at least two documented efforts (mail, fax, telephone call, or
                  email) to obtain third-party verification of income and no response is received;
                  or
              2. An independent source does not have the capability of sending written third-
                   party verification directly to the Housing Authority or does not facilitate oral
                  third-party verification.

      7.6.1    Employment Income
               f24 CFR &5.609(a) and (bl(1))1
               Verification forms request the employer to specify the:
                  ➢ Dates of employment
                  ➢ Amount and frequency of pay
                  ➢ Date of the last pay increase
                  ➢ Likelihood of change of employment status and effective date of any
                    known salary increase during the next 12 months
                   ➢ Year-to-date earnings
                   ➢ Estimated income from overtime, tips, bonus pay expected during next 12
                     months
               Acceptable methods of verification include, but are not limited to the following:
                  1. Employment verification form completed by the employer.

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                2. Check stubs or earning statements, which indicate the employee's gross
                   pay,frequency of pay oryear-to-date earnings.
                 3. W-2 forms plus income tax return forms.
                 4. Income tax returns signed by the family may be used for verifying self-
                    employment income, or income from tips and other gratuities.
             In cases where there are questions about the validity of information provided by
             the family, the Housing Authority will require the most recent federal income tax
             statements.

      7.6.2 Social Security, Pensions, Disability. Supplementary Security Income
            f24 CFR &5.609(b)(4)1
            Acceptable methods of verification include, but are not limited to the following:
                 1. Benefit verification form completed by agency providing the benefits.
                 2. Award or benefit notification letters prepared and signed by the providing
                    agency.
                 3. Computer report electronically obtained or in hard copy.

      7.6.3 Unemployment Compensation
            (24 CFR §5.609(bl(5)1
              Acceptable methods of verification include, but are not limited to the following:
                 1. Computer printouts from unemployment office stating payment dates and
                    amounts.
                 2. Payment stubs.
              Unemployment and State Disability Insurance may no longer be verified through
              the Employment Development Department(EDD)[EDD Letter, 5/23/2006].

      7.6.4 Welfare Payments or General Assistance
            f24 CFR §5.609(b)(611
            Acceptable methods of verification include, but are not limited to the following:
                  1. Computer-generated Notice of Action.
                  2. Housing Authority verification form completed by payment provider.
                  3. Written statement from payment provider indicating the amount of
                     granUpayment, start date of payments, and anticipated changes in
                     payment in the next 12 months.

       7.6.5 Alimony or Child Support Payments
             f24 CFR §5.609(b)(~1
              Acceptable methods of verification include, but are not limited to the following:
                 1. Computerized official printout of payments made if through a state
                    agency.
                 2. Housing Authority verification form completed by payment provider.


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                3. A letter from the person paying the support.
                4. Copy of latest check and/or payment stubs from Court Trustee. The
                   Housing Authority must record the date, amount, and number of the
                   check.
                5. Copy of a separation or settlement agreement or a divorce decree stating
                   amount and type of support and payment schedules.
                6. Family's self-certification of amount received and of the likelihood of
                   support payments being received in the future, or that support payments
                   are not being received.
                7. If payments are irregular, the family must provide:
                 ➢ A copy of the separation or settlement agreement, or a divorce decree
                   stating the amount and type of support and payment schedules.
                 ➢ A statement from the agency responsible for enforcing payments to show
                   that the family has filed for enforcement.
                 ➢ A welfare notice of action showing amounts received by the welfare
                   agency for child support.
                 ➢ A written statement from the District Attorney's office or other appropriate
                   agency certifying that a collection or enforcement action has been filed.

      7.6.6 Net Income from a Business
            [24 CFR §5.609(b)(211
              In order to verify the net income from a business, the Housing Authority will view
              IRS and financial documents from prior years and use this information to
              anticipate the income and expenses for the next 12 months.
              Acceptable methods of ver'rfication include, but are not limited to the following:
                 1. IRS Form 1040, including:
                  ➢ Schedule C (Small Business)
                  ➢ Schedule E (Rental Property Income)
                 ➢ Schedule F (Farm Income)
                 2. If accelerated depreciation was used on the tax return or financial
                    statement, an accountants calculation of depreciation expense,
                    computed using straight-line depreciation rules.
                  3. Audited or unaudited financial statements) of the business.
                  4. Third-party verification forms for each customer/contract indicating the
                     amounts of income received in a specified time period.
              Expenses for rent and utilities will not be allowed for operations or businesses
              based in the subsidized unit, as these expenses are a required family
              contribution in the Housing Choice Voucher Program and are calculated based
              upon the family's income.




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      7.6.7 Child Care Business
            If a family is operating a licensed day care business, income and expenses will
            be verified as with any other business.
            If the family is operating a cash and carry operation (which may or may not be
            licensed), the Housing Authority will require that the family complete a form for
            each customer which indicates: name of persons) whose child/children is/are
             being cared for, phone number, number of hours child is being cared for, method
            of payment(check/cash), amount paid, and signature of person.
            If childcare services were terminated, athird-party verification will be sent to the
            parent whose child was receiving childcare.

      7.6.8 Recurring Gifts
            f24 CFR §5.609(b)(7)1
            The family must furnish aself-certification containing the following information:
                    The person who provides the gifts
                ➢ The value of the gifts
                ➢ The regularity (dates) of the gifts
                ➢ The purpose of the gifts

      7.6.9 Zero-Income Status
             Families claiming to have no income will automatically undergo a credit review.
             The information contained in the credit report will be used to confirm the
             information provided by the family. The Housing Authority will also utilize records
             provided by the Department of Public Social Services(DPSS).
             Moreover, the Housing Authority may check records of other departments in the
             jurisdiction that have information about income sources of customers.

      7.6.10 Full-Time Student Status
            (24 CFR 65.609(c)(11)1
            Only the first $480 of the earned income of full-time students 18 years or older
            (including those who are temporarily absent), other than head of household or
            spouse, will be counted towards family income.
             Verification of full-time student status includes:
                 1. Written verification from the registrar's office or other school official;
                 2. School records indicating enrollment for sufficient number of credits to be
                    considered afull-time student by the educational institution; and
                 3. A copy of final grades.




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      7.?     INCOME FROM ASSETS
              Third-party verification will be conducted for assets totaling more than $5,000.
              The Housing Authority may make an exception to obtaining third-party
              verification when:
                  1. The asset or expense to be verified is not a significant amount and would
                      have minimum impact on total payment (TTP) and the Housing Authority
                      is able to verify the asset or expense through review of original
                      documents provided by the tenant; or
                 2. An independent source does not have the capability of sending written
                    third-party verification directly to the Housing Authority or does not
                    facilitate oral third-party verification; or
                 3. It is not cost effective or reasonable to obtain third-party verification of
                    assets and expenses.

      7.7.1   Savings Account Interest Income and Dividends
              f24 CFR 65.609(b)(3)1
              Acceptable documents for verification include, but are not limited to the following:
                 1. Account statements, passbooks, certificates of deposit, or Housing
                     Authority verification forms completed by the financial institution.
                  2. Broker's statements showing value of stocks or bonds and the earnings
                     credited the family. Earnings can be obtained from current newspaper
                     quotations or oral broker's verification.
                  3. IRS Form 1099 from the financial institution, provided that the Housing
                     Authority must adjust the information to project earnings expected for the
                     next 12 months.

      7.7.2 Interest Income from Mortaaaes or Similar Arrangements
            f24 CFR 65.609(bl(711
               Acceptable documents for verification include, but are not limited to the following:
                  1. A letter from an accountant, attorney, real estate broker, the buyer, or a
                     financial institution stating interest due for next 12 months.(A copy of the
                     check paid by the buyer to the family is not sufficient unless a breakdown
                      of interest and principal is shown.)
                  2. Amortization schedule showing interest for the 12 months following the
                      effective date of the certification or re-examination.

       7.7.3 Net Rental Income from Property Owned by Family
             f24 CFR §5.609(b)(3)1
               Acceptable documents for verification include, but are not limited to the following:
                  1. IRS Form 1040 with Schedule E (Rental Income).
                   2. Copies of latest rent receipts, leases, or other documentation of rent
                      amounts.



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                 3. Documentation of allowable operating expenses of the property: tax
                    statements, insurance invoices, bills for reasonable maintenance and
                    utilities, and bank statements or amortization schedules showing monthly
                    interest expense.

      7.8     VERIFICATION OF ASSETS
              f24 CFR §982.516(a)(21(ii)1

      7.8.1   Familv Assets
              The Housing Authority will determine the current cash value, (the net amount the
              family would receive if the asset were converted to cash). Acceptable documents
              for verification include, but are not limited to the following:
                 1. Verification forms, letters, or documents from a financial institution or
                    broker.
                 2. Passbooks, checking account statements, certificates of deposit, bonds,
                    or financial statements completed by a financial institution or broker.
                 3. Quotes from a stockbroker or realty agent as to net amount family would
                    receive if they liquidated securities or real estate.
                 4. Real estate tax statements if the approximate current market value can
                    be deduced from assessment.
                 5. Financial statements for business assets.
                 6. Copies of closing documents showing the selling price and the distribution
                    of the sales proceeds.
                  7. Appraisals of personal property held as an investment.

      7.8.2 Assets Disposed of for Less than Fair Market Value(FMV)
            f24 CFR ~5.603(b)(3)1
              This includes assets disposed of during 2 years preceding effective date of
              certification or re-examination:
                  1. For all certifications and re-examinations, the Housing Authority will
                     obtain the family's cert'rfication as to whether any member has disposed
                     of assets for less than fair market value during the 2 years preceding the
                     effective date of the certification or re-examination.
                  2. If the family certifies that they have disposed of assets for less than fair
                     market value, verification [or certification] is required that shows:
                     • All assets disposed of for less than FMV;
                     • The date they were disposed of;
                     • The amount the family received; and
                     • The market value of the assets at the time of disposition. Third-party
                       verification will be obtained wherever possible.




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      7.9     VERIFICATION OF ALLOWABLE DEDUCTIONS FROM INCOME
              f24 CFR §5.111

      7.9.1    Childcare Expenses
              [24 CFR &5.611(a)(4)1
               Acceptable documents for verification include, but are not limited to the following:
                  1. Written verification from the person who receives the payments is
                      required. If the childcare provider is an individual, s/he must provide a
                     statement of the amount they are charging the family for their services
                      and whether any of the amounts owed have been or will be paid by
                     sources outside the family.
                  2. Verifications must specify the child care provider's name, address,
                      telephone number, the names of the children cared for, the number of
                      hours the child care occurs, the rate of pay, and the typical yearly amount
                      paid, including school and vacation periods.
                  3. Family's certification as to whether any of those payments have been or
                      will be paid or reimbursed by outside sources.

      7.9.2 Medical Expenses
            I24 CFR 55.611(a)(_3)1
               Families who claim medical expenses or expenses to assist a persons) with a
               disability will be required to submit a certification as to whether or not any
               expense payments have been, or will be, reimbursed by an outside source.
               Acceptable documents for verification include, but are not limited to the following:
                   1. Written verification by a doctor, hospital or clinic personnel, dentist,
                      pharmacist, of
                      • The anticipated medical costs to be incurred by the family and regular
                          payments due on medical bills, and
                      • Extent to which those expenses will be reimbursed by insurance or a
                          government agency.
                   2. Written confirmation by the insurance company or employer of health
                      insurance premiums to be paid by the family.
                   3. Written confirmation from the Social Security Administration's written of
                      Medicare premiums to be paid by the family over the next 12 months. A
                      computer printout will be accepted.
                   4. For attendant care:
                      • A reliable, knowledgeable professional's certification that the
                        assistance of an attendant is necessary as a medical expense and a
                        projection of the number of hours the care is needed for calculation
                        purposes.
                      • Attendants written confirmation of hours of care provided and amount
                        and frequency of payments received from the family or agency (or



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                      copies of canceled checks the family used to make those payments)
                      or stubs from the agency providing the services.
               5. Receipts, canceled checks, or pay stubs that verify medical costs and
                  insurance expenses likely to be incurred in the next 12 months.
               6. Copies of payment agreements or most recent invoice that verify
                  payments made on outstanding medical bills that will continue over all or
                  part of the next 12 months.
               7. Receipts or other record of medical expenses incurred during the past 12
                  months that can be used to anticipate future medical expenses. The
                  Housing Authority may use this approach for general medical expenses
                  such as non-prescription drugs and regular visits to doctors or dentists,
                  but not for one-time, nonrecurring expenses from the previous year.
               8. The Housing Authority will use mileage at the IRS rate, or cab, bus fare,
                  or other public transportation cost for verification of the cost of
                  transportation directly related to medical treatment.

      7.9.3 Assistance to Persons with Disabilities
            f24 CFR &5.611(a)(3)(ii)1
                1. In all cases:
                       Written certification from a reliable, knowledgeable professional that
                       the person with disabilities requires the services of an attendant
                       and/or the use of auxiliary apparatus to permit him/her to be employed
                       or to function sufficiently independently to enable another family
                       member to be employed.
                   • Family's certification as to whether they receive reimbursement for
                     any of the expenses of disability assistance and the amount of any
                     reimbursement received.
                2. Attendant Care:
                   • Attendants written certification of amount received from the family,
                     frequency of receipt, and hours of care provided.
                   • Certification of family and attendant and/or copies of canceled checks
                     family used to make payments.
                3. Auxiliary Apparatus:
                   • Receipts for purchases or proof of monthly payments and
                     maintenance expenses for auxiliary apparatus.
                   • In the case where the person with disabilities is employed, a
                     statement from the employer that the auxiliary apparatus is necessary
                     for employment.




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      7.10   VERIFYING NON-FINANCIAL FACTORS
             f24 CFR ~982.551(b)(111

      7.10.1 Verification of Leaal Identity
             In order to prevent program abuse, the Housing Authority will require applicants
             to furnish verification of legal identity for all family members.
             The documents listed below will be considered acceptable verification of legal
             identity for adults. If a document submitted by a family is invalid or otherwise
             questionable, more than one of these documents may be required.
                 ➢ Certificate of Birth, naturalization papers
                 ➢ Church issued baptismal certificate
                 ➢ Current, valid Driver's license
                 ➢ U.S. military discharge (DD 214)
                     U.S. passport
                   Board approved Consulate General identification cards, which are
                   currently Mexico's and Argentina's "Matricula Consular" identification
                   cards
                 ➢ Company/agency Ident'rfication Card
                   Department of Motor Vehicles Identification Card
                     Hospital records
              Documents considered acceptable for the verification of legal identity for minors
              may be one or more of the following:
                 ➢ Certificate of Birth
                  ➢ Adoption papers
                  ➢ Custody agreement
                    Health and Human Services ID

       7.10.2 Verification of Marital Status
              ❑ Verification of divorce status will be a certified copy of the divorce decree,
                 signed by a Court Officer.
              ❑ Verification of a separation may be a copy of court-ordered maintenance or
                  other records.
              ❑ Verification of marriage status is a marriage certificate.

       7.10.3 Familial Relationships
              The following verifications may be required if applicable:
                  ➢ Verification of relationship:
                    • Official identification showing names
                     • Birth Certificates
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                   • Baptismal certificates
                ➢ Verification of guardianship:
                   • Court-ordered assignment
                ➢ Verification from social services agency
                ➢ School records
                    • Affidavit of parent
                 ➢ Evidence of a stable family relationship:
                   • Joint bank accounts or other shared financial transactions
                    • Leases or other evidence of prior cohabitation
                    • Credit reports showing relationship

      7.10.4 Verification of Permanent Absence of Adult Member
             If an adult member who was formerly a member of the household is reported
             permanently absent by the family, the Housing Authority may require one or
             more of the following as verification:
                 1. Husband or wife institutes divorce action.
                 2. Husband or wife institutes legal separation.
                 3. Order of protection/restraining order obtained by one family member
                    against another.
                 4. Proof of another home address, such as utility bills, canceled checks for
                    rent, drivers license, or lease or rental agreement, if available.
                 5. Statements from other agencies .such as social services or a written
                    statement from the owner or manager that the adult family member is no
                    longer living at that location.
                 6. If the adult family member is incarcerated, a document from the Court or
                    prison should be obtained stating how long they will be incarcerated.
                 7. A statement by the adult member of the household removing him/herself
                    from the lease and voucher householtl and providing a forwarding
                    address and effective date of the move.

       7.10.5 Verification of Chanae in Family Composition
              f24 CFR §982.516(c)1
              The Housing Authority may verify changes in family composition (either reported
              or unreported) through letters, telephone calls, utility records, inspections,
              owners, neighbors, credit data, school or DMV records, and other sources.

       7.10.6 Verification of Disability
              Verification of disability must be receipt of SSI or SSA disability payments under
              Section 223 of the Social Security Act or 102(7) of the Developmental Disabilities
              Assistance and Bill of Rights Act (42 U.S.C. 6001(7) or verified by appropriate
              diagnostician such as physician, psychiatrist, psychologist, therapist,


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            rehabilitation specialist, or licensed social worker, using the HUD language as
            the verification format.

      7.10.7 Verification of Citizenship/Eligible Immigrant Status
             j24 CFR Part 5. Subpart El
             To be eligible for assistance, individuals must be U.S. citizens, or non-citizens
             with eligible immigrant status based on the eligible categories specified by
             regulations. Individuals who are neither may elect not to contend their status.
             Each family member must declare their status once. Assistance cannot be
             delayed, denied, or terminated while verification of status is pending except that
             assistance to applicants may be delayed while the Housing Authority hearing is
             pending.
                 1. Citizens or Nationals of the United States: Required to sign a declaration
                     under penalty of perjury[24 CFR §5.508(b)(1)J.
                 2. Eligible Immigrants Aae 62 and Over: Required to sign a declaration of
                     eligible immigration status and provide proof of age [24 CFR

                 3. All Other Eligible Immigrants: Required to sign a declaration of status and
                    verification consent form, and to provide an acceptable document of
                    eligible immigration as follows
                    • Resident Alien Card (I-551)
                    • Alien Registration Receipt Card (I-151)(With receipt for application of
                       -551)
                      Foreign Passport with I-551 stamp
                    • Arrival-Departure Record (I-94) with no annotation accompanied by:
                                ■    A final court decision granting asylum (if no appeal is
                                     taken);
                                ■    A letter from an INS or USCIS asylum officer granting
                                     asylum (if application is filed on or after 10/1990) or from
                                     and INS director granting asylum (application filed before
                                     10/1/90);
                                ■    A court decision granting withholding of deportation; or
                                ■ A letter from an asylum officer granting withholding of
                                  deportation (if application filed on or after 10/1/90).
                     • Arrival-Departure Record (I-94) stamped with one of the following:
                               ■ "Admitted as a Refugee Pursuant to Section 207"
                                 ■   "Section 208" or "Asylum"
                                 ■ "Section 243(h)" or "Deportation stayed by Attorney
                                   General"
                                 ■ °Paroled Pursuant to Section 221(d)(5) of the INS (or
                                   U~7V~S~n



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                 • Temporary Resident Card (I-688) annotated "Section 245A" or
                   Section "210"
                 • Employment Authorization Card (I-6886) annotated "Provision of Law
                   274a. 12(11)° or "Provision of Law 274a.12"
                 • Employment Authorization Document (I-766) annotated "Provision of
                   Law 274a. 12(11)° or "Provision of Law 274a.12"
                  • Any official revision of the acceptable documents listed above
                  • Receipt issued by the United States Citizenship and Immigration
                    Service (USCIS) for issuance of replacement of any of the above
                    documents that shows individual's entitlement has been verified
                  The document is copied front and back and returned to the family. A birth
                  certificate is not acceptable verification of eligible immigrant status. All
                  documents in connection with U.S. citizenship/eligible immigrant status
                  must be kept 5 years.
                  Eligible immigrants must have their status verified by USCIS. The
                  Housing Authority verifies the status through the USCIS SAVE system. If
                  this primary verification fails to verify status, the Housing Authority must
                  request within 10 calendar days that the USCIS conduct a manual search
                 [24 CFR §5.512(c)].
               4. Ineligible Familv Members: Family members who do not claim to be
                  citizens or eligible immigrants must be listed on a statement of ineligible
                  family members signed by the head of household or spouse [24 CFR

               5. Non-Citizen Students on Student Visas: Ineligible, even though they are
                  in the country lawfully. They must provide their student visa but their
                  status will not be verified and they do not sign a declaration but are listed
                  on the statement of ineligible members[24 CFR §5.522].
            ❑ Failure to Provide: If an applicant or participant family member fails to sign
              required declarations and consent forms or provide documents, as required,
              they must be listed as an ineligible member. If the entire family fails to provide
              and sign as required, the family may be denied or terminated for failure to
              provide required information [24 CFR §5.508(1)].
            ❑ Time of Verification: For applicants, verification of U.S. citizenship/eligible
              immigrant status occurs at the same time as verification of other factors of
              eligibility for final eligibility determination. For family members added after
              other members have been verified, the verification occurs at the first interim
              or annual re-examination after the new member moves in. Once verification
               has been completed for any covered program, it need not be repeated except
              that, in the case of port-in families, if the initial public housing agency does
               not supply the documents, the Housing Authority must conduct the
               determination [24 CFR §5.508(8)].
            ❑ Extensions of Time to Provide Documents: Extensions must be given for
               persons who declare their eligible immigration status but need time to obtain
               the required documents. The length of the extension shall be based on
               individual circumstances. The Housing Authority will generally allow up to 30



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               calendar days to provide the document or a receipt issued by the USCIS for
               issuance of replacement documents[24 CFR §5.508(h)].
             ❑ Determination of Ineli4ibility: After the Housing Authority has made a
               determination of ineligibility, the family will be notified of the determination
               and the reasons and informed of the option for prorated assistance (if
               applicable).

      7.10.8 Verification of Social Security Numbers
             f24 CFR §5.216(a)1
             Social Security numbers must be provided as a condition of eligibility for all family
             members, except for children age 5 and under, who have not been assigned a
             number, and family members who are not eligible to obtain a Social Security
             number. Social Security numbers will be verified through a Social Security card
             issued by the Social Security Administration. If a family member cannot produce
             a Social Security card, only the documents listed below showing his or her Social
             Security number may be used for verification. The family is also required to
             certify in writing that the documents) submitted in lieu of the Social Security card
             information provided is/are complete and accurate [24 CFR §5.216(fl]:
                 ➢ A driver's license
                 ➢ Identification card issued by a Federal, state or local agency
                 ➢ Identification card issued by a medical insurance company or provider
                   (including Medicare and Medicaid)
                    An identification card issued by an employer or trade union
                 ➢ An identification card issued by a medical insurance company
                   Earnings statements or payroll stubs
                  ➢ Bank statements
                  ➢ IRS Form 1099
                  ➢ Benefit award letters from government agencies
                  ➢ Retirement benefit letter
                  ➢ Life insurance policies
                  ➢ Court records such as real estate, tax notices, marriage and divorce,
                      judgment or bankruptcy records
                  ➢ Verification of benefits or Social Security Number from Social Security
                      Administration
              All new family members, except children age 5 and under, who have not been
              assigned a number, will be required to produce their Social Security card or
              provide the substitute documentation described above together with their
              certification that the substitute information provided is complete and accurate.
              This information is to be provided at the time the change in family composition is
              reported to the Housing Authority [24 CFR §5.216(a)].
              If a family member is able to disclose the Social Security number but cannot
              meet the documentation requirements, he/she must sign a certification to that


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            effect provided by the Housing Authority. The family member will have an
            additional 60 calendar days to provide proof of the Social Security number. If
            they fail to provide this documentation, the family's assistance will be terminated
            [24 CFR §5.216(8)].
            If the family member states they have not been issued a number, the family
            member will be required to sign a certification to this effect.

      7.10.9 Medical Need for Larger Unit
            A written certification that a larger unit is medically necessary must be obtained
            from a reliable, knowledgeable medical professional.

      7.10.10 Reasonable Accommodation
             In order to verify the necessity for a reasonable accommodation, the Housing
             Authority will require the disabled individual, or a third parry acting on their behalf,
             to return the Reasonable Accommodation Request form, or other written
             documentation, completed by a qualified professional with direct experience with
             the individual's disability. G~ualified professionals may include, but are not limited
             to:
                 ➢ A medical doctor
                 ➢ A psychiatrist
                 ➢ Asocial worker
                 ➢ Other unlicensed care providers

      7.10.11 Secondary Review/Credit Checks
               The Housing Authority uses credit reports obtained from reliable sources to
               conduct secondary verifications fora random sample of applicants and
               participants as detailed in Section 1.12 (Monitoring Program Performance).
               The methodology used to evaluate the information obtained from the credit
               report in relation to new applicants is outlined in Chapter 4 (Establishing
               Preferences and Maintaining the Waiting List).
               The secondary review includes a comparison between the information
               contained in the credit report, for each adult household member, and the
               information provided by the family to the Housing Authority for eligibility
               purposes. Specifically, the Housing Authority reviews the credit report to verify:
                 ➢ Employment: If the credit report reveals employment during the
                     subsidized period that was not disclosed to the Housing Authority, the
                     family will be required to provide documentation that the employment did
                     not occur or provide information regarding the amount of earnings
                     received during the employment period.
                     tf the family contends that the employment was made up for the purposes
                     of obtaining credit or was erroneously placed on the credit report, the
                     family must supply a letter from the employers listed confirming such
                     information. On a case-by-case basis, the Housing Authority may accept
                     a certified statement from the family.


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                    If the family failed to disclose employment for a period longer than 6
                    months, the Housing Authority will propose termination of the family's
                    assistance and seek repayment of any overpayment.
                    If the family failed to disclose employment for less than 6 months, the
                    family will be required to attend a counseling interview and re-sign all
                     program documents re-enforcing the family's obligations. The family will
                    also be required to repay any overpayment amount. A second violation of
                    this nature will result in a proposed termination.
                 ➢ Assets: The credit report information will be used to verify assets,
                   particularly, large items such as real estate property. If the credit report
                   reveals that the family owns property, the family will be required to
                   provide the appropriate documentation regarding the property.
                   If all documentation confirms that the family (any family member) owns
                   real estate property that was purposely concealed, the Housing Authority
                   will propose termination of assistance and seek repayment of any
                   overpayment amount.
                 ➢ Aliases: A credit report can provide information on other names that have
                   been used for the purposes of obtaining credit. Common reasons for use
                   of other names include a recent marriage or a divorce. If an alias has not
                    been disclosed to the Housing Authority, the family will be asked to
                    provide additional evidence of the legal identity of adult family members.
                 ➢ Current and Previous Addresses: For a continuously assisted family, it
                   is assumed that the family's primary residence is the assisted address. If
                   the credit report indicates the continuous use of an address, other than
                   that of the assisted unit during the subsidized period, the family will be
                   asked to provide documentation that the assisted address is being used
                   as the family's primary residence. This may include a history of utility
                    bills, bank statements, school enrollment record for children, credit card
                   statements or other relevant documents. Failure to provide adequate
                    proof may result in termination of assistance.
                    If the family is not using the subsidized unit as their primary residency
                    and/or is subletting the assisted unit, the file will be referred for proposed
                    termination and the Housing Authority will seek. full repayment of any
                    overpayment amount.
                  ➢ Credit Card and Loan Payments: A credit report will usually include a
                    list of the family's financial obligations. Examples of the items that may
                    show up include car loans, mortgage loans, student loans and credit card
                     payments. The Housing Authority will review this information to confirm
                    the income and asset information provided by the family. If the family's
                    current financial obligations (total amount of current monthly payments)
                     exceed the amount of income reported by the family, the Housing
                     Authority will ask the family to disclose how they are currently meeting
                     their financial obligations. Accounts that have been charged off or
                     significantly delinquent are not included in this calculation. Failure to
                     provide adequate proof of income will result in the file being referred for
                     proposed termination. Additionally, the Housing Authority will seek full
                     repayment of any overpayment amount.


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              ➢ Multiple Social Security Numbers: A credit report may list multiple
                Social Security numbers if an adult family member has used different
                Social Security numbers to obtain credit. If the credit report information
                does not match the information provided by an adult member of the
                family, the family member will be required to obtain written confirmation of
                the Social Security number that was issued to him/her from the Social
                Security Administration.
                Whenever a violation results in a proposed termination, the family is
                entitled to request an informal hearing. Procedures governing the informal
                 hearing process are outlined in Chapter 16 (Informal Hearings and
                Complaints).




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                                        CHAPTER 8:
                              VOUCHER ISSUANCE AND BRIEFINGS

      8.1     INTRODUCTION
              This chapter covers the Housing Authority's process for issuing vouchers,
              including the contents of the briefing that is conducted for families receiving a
              voucher. It also includes policies on the term of the voucher.

      8.2     ISSUANCE OF HOUSING CHOICE VOUCHERS
              When funding is available, the Housing Authority will issue vouchers to
              applicants whose eligibility has been determined.
              The number of vouchers issued must ensure that the Housing Authority stays as
              close as possible to 100 percent lease-up. The Housing Authority performs a
              calculation to determine whether applications can be processed, the number of
              vouchers that can be issued, and to what extent the Housing Authority can over-
              issue.
              The Housing Authority may over-issue vouchers only to the extent necessary to
              meet leasing goals. All vouchers that are over-issued must be honored. If the
              Housing Authority finds it is over-leased, it must adjust future issuance of
              vouchers in order not to exceed the ACC budget limitations for the fiscal year.

      8.3     BRIEFING TYPES AND REGIUIRED ATTENDANCE

      8.3.1    Initial Apalicant Briefin4
              [24 CFR ~982.301(a)1
              When the family is initially issued a voucher, the Housing Authority conducts a
              briefing session, as required by HUD. The briefing session is mandatory.
              ❑ Briefing sessions will be conducted in groups or individual meetings.
               ❑ Briefing sessions will be conducted in English.
               The Housing Authority will not issue a voucher to a family unless the household
               representative has attended a briefing and signed the voucher. Applicants who
               provide prior notice of inability to attend a briefing will automatically be scheduled
               for the next briefing. Applicants who fail to attend scheduled briefings, without
               prior notification and approval of the Housing Authority, may be denied admission
               based on failure to supply information needed for certification. The Housing
               Authority will conduct individual briefings for families with disabilities at their
               home, upon request by the family, if required for reasonable accommodation.
               Families who attend group briefings and still have the need for individual
               assistance will be referred to the appropriate staff person.

       8.3.2 Re-Issuance Briefing
               A briefing will be held for participants who will be re-issued vouchers to move.
               This briefing may include incoming and outgoing portable families. Families



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              failing to attend a scheduled briefing twice will be denied a new voucher based
              on failure to provide required information.

      8.3.3 Owner Briefing
              Briefings are held for owners at least annually. Invitations are mailed to all
              owners. Prospective owners are also welcome. The purpose of the briefing is to
              assure successful owner participation in the program.

      8.4     INFORMATION PROVIDED AT THE BRIEFING SESSION
              The Housing Authority's objectives are to assure that families selected to
              participate are successful in obtaining an acceptable housing unit, and that they
              have sufficient knowledge to derive maximum benefit from the program and to
              comply with program requirements.
              The purpose of the briefing session is to provide information on the Housing
              Authority's process for voucher holders who intend to lease a unit. This will
              enable families to utilize the program to their advantage, and prepare them to
              discuss it with potential owners and property manager.
              When the family is selected to participate, the briefing session includes
              information as follows.

      8.4.1   Tonics Covered in the Briefing Session
              f24 CFR §982.301(a)1
              The person conducting the briefing will describe how the program works and
              include information on the following subjects:
               ❑ A description of how the program works;
               O Family and owner responsibilities;
               ❑ Where a family may lease a unit inside and outside the Housing Authority's
                 jurisdiction;
               ❑ How portability works for families eligible to exercise portability; and
               ❑ Advantages of moving to an area that does not have a high concentration of
                 poor families, for families living in high poverty census tracts in the Housing
                 Authority's jurisdiction.
               If the family includes a person with disabilities, the Housing Authority will ensure
               compliance with 24 CFR §8.6 to ensure effective communication.

       8.4.2 Briefing Packet
             f24 CFR ~982.301(b)1
               The Housing Authority provides families with a briefing packet that contains more
               detailed information about the program. The packet includes forms and
               information required by HUD, as well as additional resources. The person
               conducting the briefing session will explain the documents in the briefing packet.




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             1. Instructions: This explains the term of the voucher, the Housing Authority's
                policies on extensions and suspensions, and how families may request
                tenancy approval.
             2. Subsidy Estimation: A worksheet on rent calculations, including a description
                of the method used to calculate the assistance payment, how the minimum
                and maximum allowable rent is determined, how the payment standard is
                determined, and a calculation of the estimated maximum rent to suit the
                tenant's budget.
             3. Utility Allowance Schedule: Utility allowance amounts for rental units, by unit
                size and utility type, for cities and unincorporated areas within the Housing
                 Authority's jurisdiction.
             4. Information on where the family can lease a unit, including portability
                 procedures, a list of area housing authorities, and a form for participants who
                 are requesting to transfer.
             5. Form HUD-53641: The HUD-required "tenancy addendum" that must be
                included in the lease.
             6. Request for Tenancy Approval (RTA1: Families request Housing Authority
                approval of the assisted tenancy with this form. The RTA includes a
                statement of Housing Authority policy on providing family information to
                prospective owners.
             7. Subsidy Standards and Requests for Waivers: Explains how the number of
                bedrooms (unit size) relates to family composition, and when and how
                exceptions are made in regards to requests for additional bedrooms.
             8. A Good Place to Live: HUD's brochure on selecting a unit that complies with
                HG1S.
             9. Are You A Victim of Housin4 Discrimination: HUD's pamphlet on fair housing
                which contains the complaint form. The Housing Authority also includes
                available State and local information on equal opportunity laws.
              10. Marketing List of Available Properties: Owners or other parties willing to lease
                 to assisted families submit listings of units that are available to rent, which the
                  Housing Authority compiles and distributes. The list includes any available
                  information on units that are accessible to persons with disabilities.
              11. Family Obligations: Families sign to acknowledge program obligations, and
                  consequences including termination of assistance for failure to comply.
              12. Informal Hearing Information: Includes procedures and explanations of when
                  participant families have the opportunity for an informal hearing, and how to
                  request a hearing.
              The packet may also include the following materials:
              ❑ Three Wav Partnership: Explains the relationship between owners,
                participants and the Housing Authority.
              ❑ Protect Your Family From Lead In Your Home: Federal brochure on the
                hazards of lead-based paint and resources for additional information.




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             ❑ Searching fora Rental Home: Guidance on finding a unit and submitting a
               successful rental application.
             O Additional Standards for HOS Insaections and inspections process details.
             ❑ Owner materials including information on the New Contracts Process and the
               Benefits of Participation.
             ❑ Owner forms including IRS W-9, Letter of Authorization, Authorization
               Agreement for Direct Deposit, and a sample Lead-Based Paint Disclosure.
             ❑ Request for Voucher Extension form

      8.5    ENCOURAGING PARTICIPATION IN AREAS WITHOUT LOW INCOME OR
             MINORITY CONCENTRATION
             f24 CFR §982.301(al(3)
             At the briefing, families are encouraged to search for housing in non-impacted
             areas. The Housing Authority provides assistance to families who wish to do so.
             The assistance provided to such families includes:
             ❑ Direct contact with owners;
             ❑ Counseling with the family;
             ❑ Providing information about services in various non-impacted areas;
             O Meeting with neighborhood groups to promote understanding;
             ❑ Formal or informal discussions with owner groups;
             ❑ Formal or informal discussions with social service agencies;
             ❑ Meeting with rental referral companies or agencies; and
             ❑ Meeting with fair housing groups or agencies.
             The Housing Authority will maintain a database of available housing submitted by
             owners in all neighborhoods within its jurisdiction to ensure greater mobility and
             housing choice to very low-income households. The Marketing List will be made
             available to voucher holders who are actually seeking housing.

       8.6   SECURITY DEPOSIT REQUIREMENTS
             f24 CFR §982.3131
             Security deposits charged by owners may not exceed those charged to
             unassisted families (nor the maximum prescribed by State or local law.)
             For lease-in-place families, responsibility for first and last month's rent is not
             considered a security deposit issue. In these cases, the owner should settle the
             issue with the family prior to the beginning of assistance.

       8.7   TERM OF VOUCHER
             [24 CFR ~982.301(b)(1)1
              During the briefing session, each family is issued a voucher, which represents a
              contractual agreement between the Housing Authority and the family, specifying


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              the rights and responsibilities of each party. It does not constitute admission to
              the program, which occurs when the lease and contract become effective.

      8.7.1   Expirations
              f24 CFR &982.303(a)1
              The voucher is valid for a period of 60 calendar days from the date of issuance.
              The family must submit a Request for Tenancy Approval and lease within the 60
              calendar-day period, unless an extension has been granted by the Housing
              Authority.
              If the voucher has expired, and has not been extended by the Housing Authority
              or expires after an extension, the family will be denied assistance. The family will
              not be entitled to a review or hearing. If the family is currently assisted, they may
              remain as a participant in their unit if there is an assisted lease/contract in effect.

      8.7.2 Policv on Susaensions(Tolling)
            [24 CFR 982.303(c)1
              When a Request for Tenancy Approval is received, the Housing Authority will not
              deduct the number of calendar days required to process the request from the
              term of the voucher.

      8.7.3 Extensions
            X24 CFR §982.303(b)1
              The Housing Authority may grant extensions to vouchers.
              A family may request an extension of the voucher time period. All requests for
              extensions must be received prior to the expiration date of the voucher.
              Extensions may be granted in 30, 60, or 120-day increments, up to a maximum
              term of 1 SO calendar days, 'rf necessary for the tenant to locate a unit.
              Housing Supervisors may authorize extensions up to a maximum term of 270
              calendar days for extenuating circumstances or as a reasonable accommodation.
              Such matters will be considered on an individual basis and must be supported by
              verifiable third-party documentation.

       8.7.4 Assistance to Voucher Holders
             f24 CFR &982.301(b)1
               Families who require additional assistance during their search may call the
               Housing Authority to obtain a Marketing List of available units. Information
               regarding the Marketing List will be presented at the briefing session.
               The Housing Authority will assist families with negotiations with owners and
               provide other assistance related to the families' search for housing.

       8.8     VOUCHER ISSUANCE DETERMINATION FOR SPLIT HOUSEHOLDS
               f24 CFR $982.3151
               In those instances when a family assisted under the Housing Choice Voucher
               Program becomes divided into two otherwise eligible families due to divorce,


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             legal separation, or the division of the family, and the new families cannot agree
             as to which new family unit should continue to receive the assistance, and there
             is no determination by a court, the Housing Authority shall consider the following
             factors to determine which of the families will continue to be assisted:
                1, Which of the two new family units has custody of dependent children.
                2. Which family member was the head of household when the voucher was
                   initially issued (listed on the initial application).
                3. The composition of the new family units, and which unit contains elderly
                   or disabled members.
                4. Whether domestic violence was involved in the breakup.
                5. Which family members remain in the unit.
                6. Recommendations of social service professionals.
             Documentation of these factors will be the responsibility of the requesting parties.
             If documentation is not provided, the Housing Authority will terminate assistance
             on the basis of failure to provide information necessary to complete the annual
             re-examination.
             Where the breakup of the family also results in a reduction of the size of the
             voucher, the family will be required to move to a smaller unit 'rf the current owner
             is unwilling to accept the rent level of the smaller sized certificate.

      8.9    REMAINING MEMBER OF FAMILY —RETENTION OF VOUCHER
             To be considered the remaining member of the family, the person must have
             been previously approved by the Housing Authority to be living in the unit.
             A live-in aide, by definition, is not a member of the family and will not be
             considered a remaining member of the family.
              In order for a minor child to continue to receive assistance as a remaining family
              member:
                  1. The court has to have awarded emancipated minor status to the minor, or
                 2. The Housing Authority has to have verified that social services and/or the
                    Juvenile Court has arranged for another adult to be brought into the
                    assisted unit to care for the child/children for an indefinite period.
              A reduction in family size may require a reduction in the voucher size.

      8.10    FAMILY VOLUNTARILY RELINGIUISHES HOUSING CHOICE VOUCHER
              The family may voluntarily relinquish their voucher at any time. In such cases,
              the Housing Authority will provide the owner of the property with a 30 calendar
              days notice indicating that rental assistance will terminate based on the family's
              request. The family will become fully liable for the contract rent after 30 calendar
              days.
              Generally, the Housing Authority will not reinstate a family once a request for
              voluntary termination has been received.             However, as a reasonable


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             accommodation, the Housing Authority will review requests for reinstatements
             received within 6 months and make a determination on a case-by-case basis.
             If a family voluntarily relinquishes their voucher in lieu of facing termination, the
             Housing Authority will continue to seek to recover any monies that may be due to
             the Housing Authority as a result of misrepresentation or other breach of program
             regulations.




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                                CHAPTER 9:
         THE NEW CONTRACT PROCESS RE(~UEST FOR TENANCY APPROVAL AND
                            CONTRACT EXECUTION

      9.1      INTRODUCTION
               f24 CFR &982.302(b)and 24 CFR §982.353(b)1
               After families are issued a voucher, they may search for a unit anywhere within
               the Housing Authority's jurisdiction, or outside of the Housing Authority's
               jurisdiction if they qualify for portability. The family must find an eligible unit under
               the program rules, with an owner who is willing to enter into a Housing
               Assistance Payments (HAP) contract with the Housing Authority. This chapter
               defines the types of eligible housing, the Housing Authority's policies which
               pertain to lease requirements, owner disapproval, and the processing of
               Requests for Tenancy Approval (RTA).

      9.2      REC#UEST FOR TENANCY APPROVAL
               f24 CFR §982.302(c)1
               The family must submit the RTA and a copy of the proposed lease during the
               term of the voucher. Both the owner and the voucher holder must sign the RTA.
               The Housing Authority will not permit the family to submit more than one RTA at
               a time.
               The RTA will be approved if [24 CFR §982.302(d)]:
                   1. The unit is an eligible type of housing;
                   2. The unit passes an inspection (based on HUD's Housing Quality
                      Standards and the Housing.Authority's requirements, detailed in Chapter
                      10);
                   3. The rent is reasonable;
                   4. The security deposit amount is approvable;
                   5. The proposed lease complies with HUD and Housing Authority
                      requirements, and State and local law;
                   6. The owner is approvable, and there are no conflicts of interest; and
                   7. All applicable lead-based paint disclosure requirements have been met.
                      See Section 10.4(Lead-Based Paint) for additional policies.

       9.2.1    Disaparoval of RTA
                f24 CFR &982.302(d)1
                If the Housing Authority determines that the RTA cannot be approved for any
                reason, the owner and the family will be notified in writing. The Housing
                Authority will instruct the owner and family of the steps that are necessary to
                approve the Request.
                The owner will be given 5 calendar days to submit an approvable RTA from the
                date of disapproval unless the reason for the disapproval is the result of multiple
                failed inspections (three or more failed HQS inspections).


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              When, for any reason, an RTA is not approved, the Housing Authority- will furnish
              another RTA form to the family along with the notice of disapproval so that the
              family can continue to search for eligible housing.
              The Housing Authority will suspend the term of the voucher while the RTA is
               being processed. Therefore, the length of time allotted to a family for the
               purpose of locating another unit will be based on the number of days left on the
               term of the voucher at the time the RTA was submitted to the Housing Authority
              [24 CFR §982.303(b)].

      9.3     ELIGIBLE TYPES OF HOUSING
              f24 CFR §982.3521
              The Housing Authority will approve the following types of housing in the voucher
              program:
               ❑ Single-family dwellings, including condos and townhouses.
               ❑ Manufactured homes where the family leases the mobile home and the pad
                 [24 CFR §982.620(a)(2)].
               ❑ Manufactured homes where the family owns the mobile home and leases the
                  pad [24 CFR §982.620(a)(3)].
               ❑ Multifamily dwellings (apartment buildings).
               ❑ Units owned but not subsidized by the Housing Authority (HUD-prescribed
                 requirement).
               A family can own a rental unit but cannot reside in it while being assisted, except
               in the cases involving manufactured homes when the family owns the mobile
               home and leases the pad. A family may lease in and have an interest in a
               cooperative housing development.
               The Housing Authority may not permit a voucher holder to lease a unit which is
               receiving project-based Section 8 assistance or any duplicative rental subsidies.

      9.3.1    Special Housing Tvpes
               f24 CFR §982.6011
               The Housing Authority must permit use of all special housing type listed below, if
               needed as a reasonable accommodation so the program is readily accessible to
               and usable by persons with disabilities in accordance with 24 CFR Part 8.
               ❑ Congregate housing
               ❑ Group home
               ❑ Shared housing
               ❑ Cooperative housing (excluding families that are not cooperative members
               ❑ Homeownership

       9.3.2 Ineligible Housinct Tvaes
             f24 CFR §982.352(a)1
               The Housing Authority will not approve:


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            ❑ A unit occupied by the owner or by any person with an interest in the unit,
              other than manufactured homes described above.
            ❑ Nursing homes or other institutions that provide care.
            ❑ School dormitories and institutional housing.
            O Structures that have not been properly converted. Owners will be required to
              provide finalized permits for all conversion work when the integrity and/or
              soundness of a structure is in question.
            O Converted garages or other structures not intended to be living areas.
            ❑ Any other types of housing prohibited by HUD.

      9.4   RESTRICTIONS ON RENTING TO RELATIVES
            f24 CFR §982.306(d)1
            In accordance with HUD policy, the family will not be allowed to rent a unit from
            an owner (including a principal or other interested party) who is the spouse,
            parent, child, grandparent, grandchild, and sister or brother of any member of the
            family. This restriction applies to all new contracts entered into after June 16,
            1998.
            Exceptions may be made to this policy as a reasonable accommodation for
            persons with a disability. The Housing Authority will review all such requests on
            a case-by-case basis. The family will be required to provide documentation of
            disability and how the particular unit, owned by the relative, could benefit the
            disabled person. Owners must provide the current address of their residence
            (not a Post Office box). If families lease properties owned by relatives, the
            owner's current address will be compared to the subsidized unit's address.
            Owners must provide an Employer Identification Number or Social Security
            number, and may also be required to provide a copy of their driver's license or
            other photo identification. In addition, the Housing Authority may request a copy
            of the owner's current utility bills and bank statement.
             Failure to provide adequate documentation, within the specified time period (2
             weeks), will be grounds for denial of such request.
             In all cases, the owner of the assisted unit may not reside in the unit with the
             assisted household at any time during the term of the Housing Assistance
             Payment(HAP) Contract between the Housing Authority and the owner.

      9.5    LEASE AGREEMENTS
             f24 CFR &982.308 - 6982.3091
             The tenant and the owner must enter a written lease for the unit. If the owner
             uses a standard lease form for rental to unassisted tenants in the locality or the
             premises, the lease must be in such standard form, plus the required HUD
             Tenancy Addendum, which the Housing Authority will provide to the owner.
             The Housing Authority will review the lease for compliance with regulations. At
             minimum, the lease must specify the following information:
             ❑ The names of the owner and tenant;


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             ❑ The address of the unit rented;
             ❑ The term of the lease including the initial term and any provisions for renewal;
             ❑ The amount of the monthly rent to owner; and
             ❑ A specification of which utilities and appliances will be supplied by the owner,
                and which by the family.
             The lease must provide the following are grounds for the owner to terminate
             tenancy [24 CFR §982.310(c)]:
             ❑ Drug- related criminal activity engaged in, on or near the premises by any
               tenant, household member, or guest, or such activity engaged in on the
               premises by any other person under the tenant's control. In addition, the
               lease must provide that the owner may evict a family when the owner
               determines that a household member is illegally using a drug or when the
               owner determines that a pattern of illegal use of a drug interferes with the
               health, safety, or right to peaceful enjoyment of the premises by other
               residents.
             ❑ Any of the following types of criminal activity by a covered person:
                 ➢ Any criminal activity that threatens the health, safety, or right to peaceful
                   enjoyment of the premises by other residents (including property
                   management staff residing on the premises);
                   Any criminal activity that threatens the health, safety, or right to peaceful
                   enjoyment of their residences by persons residing in the immediate
                   vicinity of the premises; or
                 ➢ Any violent criminal activity on or near the premises by a tenant,
                   household member, or guest, or any such activity on the premises by any
                   other person under the tenant's control.
              ❑ If a tenant is:
                 ➢ Fleeing to avoid prosecution, or custody or confinement after conviction,
                   for a crime, or attempt to commit a crime, that is a felony under the laws
                   of the place from which the individual flees, or
                  ➢ Violating a condition of probation or parole imposed under Federal or
                    State law.
              If the owner does not have a standard lease form, the owner may request a
              sample lease.
              When needed, the Housing Authority may require the owner and family to
              execute a lease rider that changes the rent amount and/or effective date on the
              owner's original lease.
              The effective date of the lease and the HAP contract will be based on the date
              the unit passed inspection or the family took possession of the unit, whichever is
              later. For this purpose, the family is considered to be in possession of the unit
              when the family has a key to the unit and the unit is fully available for the family's
              exclusive use [24 CFR §982.305(b)].




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      9.5.1    Separate Agreements
              [24 CFR §982.510(c)1
              Separate agreements are not necessarily prohibited. Families and owners will
              be advised of the prohibition of illegal side payments for additional rent, or for
              items normally included in the rent of unassisted families, or for items not shown
              on the approved lease.
              Owners and families may execute separate agreements for services (parking
              space), appliances (other than range and refrigerator) and other items that are
              not included in the lease if the agreement is in writing and approved by the
              Housing Authority.
               Any appliances, services or other items which are routinely provided to
               unassisted families as part of the lease (such as air conditioning, dishwasher or
               garage) or are permanently installed in the unit, cannot be put under separate
               agreement and must be included in the lease. For there to be a separate
               agreement, the family must have the option of not utilizing the service, appliance
               or other item.
               The Housing Authority is not liable for unpaid charges for items covered by
               separate agreements and nonpayment of these agreements cannot be cause for
               eviction.
               If the family and owner have come to a written agreement on the amount of
               allowable charges for a specific item, so long as those charges are reasonable
               and not a substitute for higher rent, they will be allowed.
               All agreements for special items or services must be attached to the lease
               approved by the Housing Authority. If agreements are entered into at a later
               date, they must be approved by the Housing Authority and attached to the lease.

      9.6      INITIAL INSPECTIONS
               See Chapter 10(Housing Quality Standards and Inspections).

       9.7     RENT LIMITATIONS
              [24 CFR X982.5081
               In accordance with HUD regulations, at the time the family initially receives
               assistance for a new unit, the family's share of the rent for the unit (includes
               utilities and the rent to the owner) may not exceed more than 40 percent of the
               family's adjusted monthly income if the gross rent for the unit exceeds the
               payment standard.
               If the gross rent (rent plus utilities) does not exceed the payment standard, the
               family may contribute more than 40 percent of their monthly income towards rent.
               Although HUD does not place limits on the amount that a family may contribute
               towards rent (if the family is a continuing family or the gross rent for an initial
               lease does not exceed the payment standard), the Housing Authority is
               concerned about affordability. Therefore, whenever a family is contributing more
               than 60 percent of their adjusted family income towards rent, the family will be
               required to attend a Housing Authority affordability counseling session. Trained


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              staff will review the family's financial situation and review the family's ability to
              meet their rental obligation. If the family discloses that they are concerned about
              their ability to meet their rental obligation, the Housing Authority will work with the
              family to help them locate another affordable unit. If the family indicates that they
              are able to meet all of their current financial obligations, the family will be allowed
              to proceed with their request to move into the unit. A notation will be made in the
              family's file.

      9.8     RENT REASONABLENESS
              f24 CFR &982.507(a)(1)1
              A rent reasonable test will be used to determine if the rent amount request by the
              owner can be approved. The Housing Authority's rent reasonableness policy,
              including appeals process, is covered in Chapter 11 (Setting Payment Standards
              and Determining Rent Reasonableness).

      9.9     INFORMATION TO OWNERS
              [24 CFR §982.307(b)1
              The Housing Authority is required to provide prospective owners with the address
              of the applicant and the names and addresses of the current and previous owner
              if known. The Housing Authority will make an exception to this requirement if the
              family's whereabouts must be protected due to domestic abuse or witness
              protection. The Housing Authority will not release any other information
              regarding the family.
              The Housing Authority will inform owners that it is the responsibility of the owner
              to determine the suitability of prospective tenants. Owners will be encouraged to
              screen applicants for rent payment history, eviction history, damage to units, and
               other factors related to the family's suitability as a tenant[24 CFR §982.307(a)].
               Information regarding the Housing Authority's policy on this subject is included in
               the briefing packet and as an attachment to the Request for Tenancy Approval.
               This policy will apply uniformly to all families and owners.
               In addition to the information listed above, the Housing Authority provides owner
               workshops at least twice a year. At the workshops, current and prospective
               owners are given an overview of the program and information about any
               significant program changes. There is also ample time for a question and
               answer session.

       9.10    OWNER DISAPPROVAL
              [24 CFR &982.306(al - 5982.306(c)(4)1
               For purposes of this section, "owned' includes a principal or other interested
               party, and to disapprove an owner means to prevent the participation of an owner
               in Housing Authority programs.
               The Housing Authority is required to disapprove an owner for the following
               reasons:




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               HUD has informed the Housing Authority that the owner has been debarred,
               suspended, or subject to a limited denial of participation under 24 CFR Part
               24.
               HUD has informed the Housing Authority that the federal government has
               instituted an administrative or judicial action against the owner for violation of
               the Fair Housing Act or other federal equal opportunity requirements and
               such action is pending.
            ➢ HUD has informed the Housing Authority that a court or administrative
               agency has determined that the owner violated the Fair Housing Act or other
               Federal equal opportunity requirements.
            ➢ If the owner is the spouse, parent, child, grandparent, grandchild, sister, or
                brother of any member of the family.
            The Housing Authority also maintains the discretion to disapprove an owner for
            the reasons listed below. The Housing Authority may disapprove an owner for a
            period of 1 year for the following reasons:
            ➢ The owner has violated obligations under a housing assistance payments
                contract under Section 8 of the 1937 Act(42 U.S.C. 1437f).
             ➢ The owner has a history or practice of non-compliance with the HQS for units
                leased under the tenant-based programs or with applicable housing
                standards for units leased with project-based Section 8 assistance or leased
                under any other Federal housing program.
            ➢ The owner has a history or practice of renting units that fail to meet State or
              local housing codes;
            ➢ The owner has not obtained a business license for rental property for the
              assisted unit, where required by local ordinance; or
            ➢ The owner has not paid State or local real estate taxes, fines or
               assessments.
            An owner may be disapproved for a period of up to 5 years for the following
            reasons:
            ➢ The owner has committed fraud, bribery or any other corrupt or criminal act in
               connection with any Federal housing program.
            ➢ The owner has a history or practice of failing to terminate tenancy of Section
              8-assisted tenants, or tenants assisted under any other federally-assisted
              housing program, for activity engaged in by the tenant, any member of the
              household, guest or another person under the control of any member of the
              household that:
                -   Threatens the right to peaceful enjoyment of the premises by other
                    residents;
                -   Threatens the health or safety of other residents, of employees of the
                    Housing Authority, or of owner employees or other persons engaged in
                    management of the housing;
                -   Threatens the health or safety of, or the right to peaceful enjoyment of
                    their residences, by persons residing in the immediate vicinity of the


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                    premises; or commits drug related criminal activity or violent criminal
                   activity.
             An owner may be disapproved for a period of up to 10 years for the following
             reason:
             ➢ The owner has engaged in any drug-related criminal activity or any violent
                criminal activity.
             If an owner disagrees with the Housing Authority's disapproval, the owner may
             appeal the decision in writing within 10 calendar days from receiving the Housing
             Authority's decision. A supervisor will review the appeal and prepare a written
             decision within 30 calendar days after receiving the request. The decision of the
             supervisor is final.

      9.11   CHANGE IN TOTAL TENANT PAYMENT(TTP)PRIOR TO HAP EFFECTIVE
             DATE
             When the family reports changes in factors that will affect the Total Tenant
             Payment(TfP) prior to the effective date of the HAP contract, the information will
             be verified and the TTP will be recalculated. If the family does not report any
             change, the Housing Authority need not obtain new verifications before signing
             the HAP contract, even if verifications are more than 60 calendar days old.

      9.12   CONTRACT EXECUTION PROCESS
             f24 CFR §982.305(c)1
             Provided that the unit passes inspection, the Housing Authority will prepare the
             HAP contract for execution. The family and the owner will execute the lease
             agreement, and the owner and the Housing Authority will execute the HAP
             contract. Copies of the documents will be furnished to the parties who signed the
             respective documents.
             The Housing Authority makes every effort to execute the HAP contract before the
             commencement of the lease term. The HAP contract may not be executed more
             than 60 calendar days after commencement of the lease term and no payments
             will be made until the contract is executed.
              The following Housing Authority representatives are authorized to execute a
              contract on behalf of the Housing Authority: Assisted Housing's Division Director,
              Assistant Director, Assistant Managers and Housing Supervisors.
              Owners must provide the current address of their residence (not a Post Office
              box). If families lease properties owned by relatives, the owner's current address
              will be compared to the subsidized unit's address.
              Owners must provide an Employer Identification Number or Social Security
              number, and may also be required to provide a copy of their driver's license or
              other photo identification.

       9.12.1 Determining the Contract Effective Date
              The effective date and the amount of the rental payment is communicated in
              writing to both the owner and family.


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            If the owner and the family have entered into a lease and provide a copy of the
            lease with the RTA,the effective date of the contract will be either:
                1. The date the unit passed inspection (for families residing in the unit prior
                   to the inspection date), or
                2. The date that the Housing Authority authorized the owner to allow the
                   family to take possession of the unit.
            The contract effective date will be based on the later of these two dates. If the
            owner and the family have not executed a lease prior to the HAP contract
            negotiation process, then the HAP contract will become effective once the lease
            has been properly executed by both parties.

      9.12.2 Proratin4 First Month's Rent
             When the effective date of a new contract begins on a day other than the first of
             the month, the Housing Authority will determine a prorated contract rent amount.
             For consistency with rental industry standards, prorated amounts will be
             calculated by using 30 days to establish a daily rate (refer to 3/3/05 memo).

      9.12.3 Proof Of Ownership
             The Housing Authority will use property profile information obtained from a
             private vendor to confirm ownership of the assisted unit. If third party information
             cannot confirm ownership of the unit, the Housing Authority may also request a
             recorded deed or closing escrow statement to prove ownership.
             Owners may also be required to provide a copy of a business rental license if the
             assisted unit is in a city where one is required.
             Any requested information must be provided prior to execution of the HAP
             contract. Failure to provide the requested information within a reasonable period
             of time, generally not more than 30 calendar days, will result in a cancellation of
             the RTA.

      9.12.4 Establishing Eligibilit~[_To Execute HAP Contract and Related Documents
             In cases involving multiple owners, the Housing Authority will accept the
             signature of a designee on all contracts and related paperwork 'rf all the legal
             owners have jointly agreed on the person/persons who may act on their behalf.
             To establish signature and/or payment authority, the Housing Authority requires
             that all persons who have interest in the property sign or provide a letter of
             authorization, giving one or more parties the right to sign contracts, other
             program documents and/or receive payments on behalf of the owners.
             In cases involving a partnership or corporation, the Housing Authority may
             request the partnership agreement or incorporation documents to determine who
             is designated to act on the group's behalf.
             The Housing Authority will not execute a HAP Contract until all proper
             authorization, from all appropriate parties, has been provided. Failure to provide
             information needed to establish authority to execute the HAP contract within a



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             reasonable time, generally 30 calendar days, may result in a cancellation of the
             RTA.
             Once the Housing Authority has established proper authorization, the letter of
             authorization will remain in effect until superseded by another authorization or the
             HAP contract is terminated. All changes or modification to the instructions
             provided in the current letter of authorization must be provided in writing.

      9.12.5 Payment To The Owner
             j24 CFR &982.311(all
             Once the HAP Contract is executed, the Housing Authority begins processing
             payments to the owner. Because the Housing Authority's sole method of
             payment to owners is direct deposit, new and existing owners must provide the
             necessary information for enrollment in the Housing Authority's direct deposit
             program. Payments will be made via direct deposit by the first of each month.
             Owners must notify the Housing Authority of any missing payments as soon as
             possible. The Housing Authority will accept report of missing payment both via a
             telephone call and/or in writing.

      9.13   CHANGE IN OWNERSHIP
             A change in ownership does not require execution of a new contract.
             The Housing Authority will process a change of ownership only upon the written
             request of the previous or new owner and only if accompanied by a copy of the
             escrow statement or other document showing the transfer of title and the
             Employee Identification Number or Social Security number of the new owner.
              In order to complete a change of ownership, the new owner must complete an
              Assumptions of Obligations and Benefits contract. This form obligates the new
              owner to the HAP contract. The Housing Authority will provide this document
              once a written request for a change is received.
              When the assumption contract has been executed, the Housing Authority will
              send a copy of it, along with a copy of the original HAP contract and lease, to the
              new owner.
              New owners are subject to the Housing Authority's owner disapproval policy as
              detailed in Section 9.10 of this chapter.




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                                     CHAPTER 10:
                      HOUSING «UALITY STANDARDS AND INSPECTIONS

      10.1    INTRODUCTION
              This chapter describes the Housing Authority's procedures for implementing
              Housing Quality Standards (HG~S), conducting different inspections, and setting
              standards for the timeliness of repairs. It also explains the responsibilities of the
              owner and family, and the consequences for noncompliance with HQS by the
              owner and family.

      10.2    TYPES OF INSPECTIONS
              f24 CFR $982.4051
              The Housing Authority conducts the following inspections, which will be
              explained in greater detail throughout the chapter:
              ❑ New Contracts Inspection: A unit must pass this HQS inspection before the
                Housing Authority enters into a HAP Contract with the owner.
              ❑ Inspections at Other Times as Needed:
                  ➢ Interim Inspection: H(~S inspection conducted upon request of the owner,
                    family or agency.
                  ➢ EmerQencv Inspection: HAS inspection conducted for Iffe-threatening
                    violations.
                  ➢ Comaliance Check/Home Visit Inspections: An inspection conducted,
                    without notice, to verify compliance with the Section 8 Program.
              ❑ Annual Inspection: A unit must pass its annual HG1S inspection.
              ❑ Gluality Control Insaection: The Housing Authority is required to conduct
                supervisor quality control HQS inspections.
              ❑ Move-Out Inspection: For its Moderate Rehabilitation Program, the Housing
                Authority may conduct amove-out inspection for contracts effective before
                October 2, 1995, at an owner's request, if a damage claim is to be submitted
                (see Section 20.9 for details on these inspections).

       10.3    HOUSING DUALITY STANDARDS(HOS)
              [24 CFR §982.4011
               HQS is the minimum quality standards set forth by HUD for tenant-based
               programs. These standards are in place to .ensure that assisted housing is
               decent, safe and sanitary. All program housing must meet the HQS performance
               requirements both at commencement of assisted occupancy, and throughout the
               assisted tenancy.
               Efforts will be made at all times to encourage owners to provide housing above
               the HAS minimum standards.
               HQS applies to the building and premises, as well as the unit. In order for a unit
               to pass an HQS inspection, the following standards must be met.



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      10.3.1 Unit Space and Size
             f24 CFR 6982.401(d)(2)(i)1
             At minimum, a living room, kitchen area, and bathroom must be located in the
             unit.

      10.3.2 Living Room / Sleeainq Room
             f24 CFR 6982.401(d)(2)(ii)1, f24 CFR §982.401(h)(2)(iv)1, f24 CFR §982.401(f)1
             ❑ The dwelling unit must have at least one bedroom or living/sleeping room for
               each two persons. Children of opposite sex, other than very young children,
               may not be required to occupy the same bedroom or living/sleeping room.
             ❑ There must be at least one window in the living room and in each sleeping.
               room. If the window is designed to be openable, the window must open and
               close properly, and be large enough to provide emergency egress.
             O The living room and each bedroom must have at least two electrical outlets in
               proper operating condition. Permanent overhead or wall-mounted light
               fixtures may count as one of the required electrical outlets.
             ❑ Bedrooms must also have abuilt-in closet or wardrobe, be located within the
               unit (e.g., no garages), and be private (have a closing door separating it from
               the rest of the unit). Bedrooms should also be finished in a quality similar to
               other bedrooms in the home.
             ❑ In cases where an owner has modified the rental unit without obtaining the
                proper city and/or County building permits, the Housing Authority may rely on
               the legal property description for the purposes of negotiating the rent and
               determining how many actual sleeping rooms are in the rental unit.

       10.3.3 Sanitary Facilities(Bathroom
             [24 CFR &982.401(b)1, f24 CFR &982.401(h)(2)(iii)1. f24 CFR 5982.401(f)(2)(ii)1
              O The bathroom must be located in a separate private room and contain a
                working flush toilet.
              ❑ Bathroom areas must have one openable window or other adequate exhaust
                ventilation.
              ❑ The unit must have a fixed sink. The bathroom sink may be located
                separately from other bathroom facilities, but the kitchen sink may not also be
                used for the bathroom sink.
              ❑ The unit must have a shower or tub in proper operating condition, with hot
                and cold running water. The shower or tub need not be in the same room
                with other bathroom facilities, but they must be private.
              ❑ All walls in a tub or shower area must be covered with ceramic the or other
                material that is impervious to water to prevent water damage and
                deterioration.
              ❑ Sinks and commode water lines must have shut off valves, unless faucets are
                wall-mounted. All sinks in the unit must have functioning stoppers.
              ❑ The bathroom must have a permanent ceiling or wall light fixture in proper
                operating condition.


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             ❑ All bathrooms in the unit must be in proper operating condition.

      10.3.4 Food Preparation (Kitchen)
             f24 CFR &982.401(c)1. f24_CFR §982.401(fl(2)(ii)1
             ❑ The dwelling unit must have suitable space and equipment to store, prepare,
               and serve foods in a sanitary manner (i.e., kitchen).
             ❑ The dwelling unit must have an oven, and a stove or range, and a refrigerator
               of appropriate size for the family. All of the equipment must be in proper
               operating condition. The stove and oven must be properly hooked up to the
               gas, with no hazards present. The refrigerator must be able to maintain a
               temperature sufficient to keep food from spoiling over a reasonable period of
               time. The equipment may be supplied by either the owner or the family.
             ❑ A microwave oven may be substituted for atenant-supplied oven and stove
               or range. A microwave oven may be substituted for an owner-supplied oven
               and stove or range if the tenant agrees and microwave ovens are furnished
               instead of an oven and stove or range to both subsidized and unsubsidized
               tenants in the building or premises.
             ❑ The kitchen area must have a permanent ceiling or wall light fixture in proper
               operating condition, and at least one electrical outlet in proper operating
               condition.
             ❑ The dwelling unit must have a permanently attached kitchen sink in proper
               operating condition, with a sink trap and hot and cold running water. The sink
                must have a shut off valve, unless faucets are wall-mounted, and must drain
                into an approvable public or private system. All sinks in the unit must have
               functioning stoppers.
             ❑ There must be facilities and services for the sanitary disposal of food waste
                and refuse, including temporary storage facilities where necessary (e.g.,
                garbage cans).

      10.3.5 Ceilin4s, Walls, Floors and Buildin4 Exterior
             f24 CFR §982.401(p)1
              The unit must be structurally sound. The structure must not present any threat to
              the health and safety of the occupants and must protect the occupants from the
              environment.
              Ceilings, walls, floors and fences must not have any serious defects such as
              severe bulging or leaning, large holes, loose surface materials, severe buckling,
              missing parts, or other serious damage.
              ❑ Wood floors must be sanded to a smooth surface and sealed. Any loose or
                  warped boards must be re-secured and made level. If the boards cannot be
                  leveled, they must be replaced.
               ❑ The exterior wall structure and surface must not have any serious defects
                  such as serious leaning, buckling, sagging, large holes, or defects that may
                  result in air infiltration or vermin infestation.
               ❑ In areas where plaster or drywall is sagging, severely cracked, bulging or
                   leaning, or has large holes, it must be repaired or replaced.


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             ❑ The condition and equipment of interior and exterior stairs, halls, porches,
               walkways, etc., must not present a danger of tripping and falling. For
               example, broken or missing steps or loose boards are unacceptable. Stairs
               with four or more steps must have a secure handrail.
             ❑ A porch or balcony at least 30 inches or more from the ground must have
               secure railings.
             ❑ The roof must be structurally sound and weather tight and must not have any
               serious defects, such as buckling or sagging. Gutters, downspouts and
               soffits must not show signs of serious decay and must not allow entry of
               significant air or water into the interior of the structure.
             ❑ The chimney must not be seriously leaning or showing evidence of significant
               disintegration.
             ❑ Building foundations must not have any severe structural defects that may
               create a hazardous condition, including allowing significant entry of ground
               water.

      10.3.6 Windows
            [24 CFR §982.401(fl(1)(ii)1. f24 CFR §982.401(d)(2(iii)1
             All window sashes must be in good condition, solid, intact, and fit properly in the
             window frame. Damaged or deteriorated sashes must be replaced.
             Windows must be weather-stripped as needed to ensure a weather tight seal.
             Windows must not have missing or broken-out panes, or panes that are
             dangerously loose or have large cracks.
             If window security bars or security screens are present on emergency exit
             windows, they must be equipped with a quick release system. The owner is
             responsible for ensuring that the family is instructed on the use of the system.
             Dwelling unit windows that are accessible from the outside, such as basement,
             first floor, and fire escape windows, must be lockable (such as window units with
             sash pins or sash locks, and combination windows with latches).
              Windows that are nailed shut are acceptable only if these windows are not
              needed for ventilation or as an alternate exit in case of fire.

       10.3.7 Doors and Unit Access
              f24 CFR &982.401(d)(21(iv)1. f24 CFR §982.401(k)1
              All exterior doors must be solid core and weather tight to avoid any air or water
              infiltration, have no holes, and have all trim intact.
              All interior doors must have no holes, have all trim intact, and be openable
              without the use of a key.
              All exterior doors must have dead bolt locks.
              The unit must be able to be used and maintained without unauthorized use of
              other private properties. The building must provide an alternate means of exit in
              case of fire (such as fire stairs or egress through windows).



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      10.3.8 Thermal Environment
             f24 CFR &982.401(e)1
             There must be a safe system for heating the unit, in proper operating condition.
             The heating unit must be affixed to the unit and be able to provide adequate
             heat, either directly or indirectly, to each room. The dwelling unit must not
             contain unvented room heaters that burn gas, oil, or kerosene. Electric heaters
             are acceptable. Portable heaters are not acceptable. Heating equipment also
             must not pose other unsafe conditions, such as improper flue connection or
             installation of equipment.

      10.3.9 Electricity
             f24 CFR §982.401(fll
             The unit must not contain any electrical hazards, such as exposed electrical
             connections; broken, noninsulated or frayed wiring; improper types of wiring,
             connections or insulation, or wires lying in or near standing water or other
             hazardous locations.

      10.3.10 Smoke Detectors
             f24 CFR §982.401(n)1
             Each assisted unit must be equipped with at least one properly working battery-
             operated or hard-wired smoke detector on each level of the unit.
             Whenever possible, smoke detectors should be installed in a hallway adjacent to
             a bedroom.
             If an assisted unit is occupied by a household with hearing-impaired persons, a
             permanently installed smoke detector designed for people with hearing-
             impairments must be located in each bedroom that is occupied by a hearing-
             impaired person.

       10.3.11 Site and Sanitation
               f24 CFR &982.401(1)1, f24 CFR 4982.401(m)1
               The site and neighborhood may not be subject to serious adverse
               environmental conditions, natural or manmade. These can include dangerous
               walks or steps; instability; flooding, poor drainage, septic tank back-ups or
               sewage hazards; mudslides; abnormal air pollution, smoke or dust; excessive
               noise, vibration or vehicular traffic; excessive accumulations of trash; vermin or
               rodent infestation; or fire hazards.
               Adequate covered facilities for the disposal of rubbish must be present at the
               site, such as covered dumpsters and other covered refuse containers
               approvable by the local health and sanitation department.
               The unit and its equipment must be in sanitary condition, and free from vermin
               and rodent infestation.




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      10.3.12

                In addition to meeting all other HQS requirements, a mobile home must meet
                the following requirements:
                ❑ It must be situated on a site that is stable and free from hazards such as
                    sliding or wind damage.
                ❑ Must be appropriately anchored by a tie down device that distributes and
                    transfers the load imposed by the unit to appropriate ground anchors to
                    resist wind overturning and sliding. Alternative types of anchors, beams
                    and foundation bolts are permissible if they meet manufacturer's
                    specifications.
                 ❑ One operable smoke detector is required.

      10.3.13 Additional Housing Quality Standards
              f24 CFR &982.401(a1(4)1
                The Housing Authority is authorized to enhance HQS, provided that by doing
                so the Housing Authority does not overly restrict the number of units available
                for leasing. The enhancements adopted by the Housing Authority are meant to
                ensure that assisted units are safe in relation to other units rented throughout
                Los Angeles County.
                In addition to the HAS identified by HUD, all assisted units must also be in
                compliance with the following items derived from California and Los Angeles
                County Code, in order to pass an HQS inspection.
                ❑ Double Cylinder Locks: Double-keyed deadbolts, or any other lock
                  requiring special knowledge or a tool to open, are prohibited in a residential
                  unit. All doors that provide an exit from the residence must be openable
                  from the inside without the need of a key or any other special knowledge,
                  effort or tool
                ❑ Swimming Pools: Swimming pools in multifamily structures must be
                  enclosed by a gate from 48 inches to 60 inches tall. The gate must be self-
                  closing with aself-closing latch and a protected panel must surround the
                   latch.
                ❑ Hot Water Heater: TPR and drainpipe 6 inches above the floor must be
                   present. PVC type drainpipes are not acceptable.
                 ❑ Earthquake Straps for Water Heaters: Must be secured for seismic
                   stability.
                 O Garages: Garages, whether attached or detached, must be accessible.
                   Garages are not to be used as a living space.

       10.3.14 Serious Deficiencies
                 Assisted units must meet all HQS performance requirements in order to pass
                 an inspection. The Housing Authority has compiled the following list of specific
                 conditions that are considered serious deficiencies that may cause a unit to fail
                 an inspection. This list assists inspectors in making a determination regarding


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               the condition of an assisted unit; however, deficiencies are not limited to this
               list:
                1. No TPR/Drainpipe on water heater
                2. Clogged toilets/sinks/wash basins/bathtubs
                 3. Torn carpet or linoleum flooring posing a tripping hazard
                 4. Stretched carpet when a potential hazard exists
                 5. Broken mirrors, cabinets, etc.
                 6. Missing smoke detectors
                 7. Vermin infestation (fleas, roaches, termites, mice, and rats)
                 8. Double cylinder locks
                 9. Exterior/common grounds excessive rubbish/debris accumulation and
                     overgrown grass/weeds
                 10. Large holes/cracks/uneven concrete in walkway
                 1 1. Building with major peeling of wood trim/paint (directly affecting family's
                      unit)
                  12. Large porcelain chips or peeling paint in bathtubs/sinks/wash basin
                      exposing black surfaces/rust
                 13. Burner knobs missing on stove
                 14. Inoperable stove/refrigerator
                 15. Bathrooms where no windows are present and exhaust fans are
                     missing/inoperable
                 16. Flammable products stored near water heaters
                  17. Signs of leaking/water damage on ceiling/roof
                  18. Broken windows and larger cracks which pose a potential hazard
                  19. Algae/debris in swimming pool
                  20. Loose hand rails/guard rails
                  21. Missing/cracked switch cover plates
                  22. Closet doors off track
                  23. Bedroom window security bar release mechanism is inoperable
                  24. Inoperable window locks

       10.4    LEAD-BASED PAINT
              [24 CFR §982.401(1)1
              The Housing Authority's rental assistance programs are subject to the
              requirements of the Lead-Based Paint Poisoning Prevention Act and the
              Residential Lead-Based Paint Hazard Reduction Act of 1992. Applicable
              regulations are detailed in 24 CFR §35.
               The Housing Authority will be responsible for the collection of LBP disclosure
               information; conducting Visual Assessment inspections; assuring that Clearance


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             Examinations are conducted; collect data regarding Elevated Intervention Blood
             Lead Level (EIBLL) cases, and informing owners of their responsibilities.

      10.4.1 Disclosure
            [24 CFR 635(Subpart A)1
             Owners of units built before 1978 are required to disclose to lessees all available
             information about the presence of lead-based paint or lead-based paint hazards
             and provide any available record or reports pertaining to the presence of lead-
             based paint or lead-based paint hazards, before the lease is enacted.
             Lessees must also receive a copy of the lead hazard information pamphlet,
             "Protect Your Family From Lead in Your Home."
             For all new contracts, the Housing Authority will require owners to certify on the
             RTA that they have met all applicable lead-based paint disclosure requirements.
             If applicable, the Housing Authority will require owners to submit a copy of the
             lead-based paint disclosure statement, and any inspection reports.
             The Housing Authority will include a sample lead-based paint disclosure form
             and a lead hazard information pamphlet in voucher issuance packets for
             participants. Materials will be made available directly to owners upon request.
             For units built before 1978, the Housing Authority will not approve an owner
             lease without receiving all applicable lead-based paint disclosure information.

      10.4.2 Lead-Based Paint Visual Assessment
             f24 CFR §35.12151
             The Housing Authority is required to conduct lead-based paint visual
             assessments for all units built prior to 1978 that house or will house a child or
             children under 6 years of age, at the time of the new contract inspection and at
             annual inspections.
              The Housing Authority inspectors conducting lead-based paint visual
              assessments will be trained according to HUD requirements.
              The purpose of the visual assessment is to identify any deteriorated paint.
              Deteriorated paint is paint that is peeling, chipping, chalking or cracking, or any
              paint or coating located on an interior or exterior surface or fixture that is
              otherwise damaged or separated from the substrate. Inspectors will check the
              condition of painted surfaces. If deteriorated paint exceeds the de minimis
              thresholds as defined by HUD, the unit will fail the lead-based paint visual
              assessment. The de minimis thresholds are defined as 20 sq. ft.(2 sq. meters)
              on exterior surfaces; 2 sq. ft.(02 sq. meters) in any one interior room or space;
              or 10% of the total surface area on an interior or exterior type of component with
              a small surface area (such as window sills, baseboards, and trim.

       10.4.3 Stabilization and Clearance
              f24 CFR 535.12151
              Owners of units that fail the lead-based paint visual assessment will be required
              to stabilize deteriorated paint in order for the unit to pass.



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            The Housing Authority will send a letter to owners of failed units that provides
            guidance on stabilizing paint and other required activities. Owners will have 30
            calendar days from the letter date to complete the following:
            ❑ Repair the deteriorated paint. Work must be performed by certified lead
              workers using lead-safe work practices. The Housing Authority will provide
              owners with resources and information on meeting these guidelines.
            ❑ Obtain a Clearance Report. A contractor certified by the Environmental
              Protection Agency (EPA) must inspect the unit and prepare a Clearance
              Report summarizing the work completed and the inspection results.
            ❑ Complete the Housing Authority's Lead-Based Paint Owner Certification
              form. The owner must certify that all applicable requirements have been
              met.
            ❑ Submit Clearance Report and Certification to the Housing Authority.
              The Housing Authority will accept paperwork by mail, fax, and hand delivery.
            The owner is responsible for informing tenants of all lead hazard reduction work
            and evaluations, in a manner consistent with HUD regulations.
            If the unit has been previously certified free of lead-based paint by a certified
            inspector, the owner may submit a copy of the inspector's report, along with the
            certification form, to the Housing Authority.
            The Housing Authority will review the Clearance Report and certification form for
            completeness. The Clearance Report must contain all information required by
            HUD. If the Clearance Report passes, the unit will receive a pass on the visual
            assessment; no further inspection visit is required.
             On new contracts inspections, the passing Clearance Report and valid
             certification form must be received by the Housing Authority before the Housing
             Authority can enter into a HAP Contract with the owner. If this does not take
             place within 30 calendar days, the Housing Authority will cancel the RTA.
             For annual inspections, if the owner fails to submit the passing Clearance Report
             and valid certification form within 30 calendar days, the Housing Assistance
             Payments (HAP) will be placed on hold (abated) for the unit and the participant
             will be issued a voucher. The owner will have an additional 60 calendar days to
             obtain and submit a valid Clearance Report before the HAP Contract is
             terminated. See Section 10.11.1 for details on abatement.
             Assisted Housing's Director will review reasonable cause requests for extension.
             Extension requests must be submitted in writing within the first 30 calendar days
             of the failed lead-based paint visual assessment. An extension shall not extend
             beyond 90 days after the date of notification to the owner of the results of the
             visual assessment. If an extension is approved, the HAP will not be abated
             during this extension period. Reasonable cause circumstances include
             prohibitive weather conditions, financial hardship, and rehabilitation in progress.

       10.4.4 Children with Environmental Intervention Blood Lead Levels
              f24 CFR §35.1225]
             On a quarterly basis, the Division will send the Los Angeles County Department
             of Health Services Childhood Lead Poisoning Prevention (CLPP) Program the


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             addresses of assisted families with children under the age of 6. CLPP Program
             staff will check the addresses for matches with cases of identified Environmental
             Intervention Blood Lead Levels (EIBLL). If a match is found, CLPP Program staff
             will conduct a Risk Assessment of the occupied unit and forward a report to the
             Division. A Risk Assessment is a comprehensive evaluation for LBP hazards
             that goes beyond the Visual Assessment component including paint testing, and
             dust and soil sampling. The Risk Assessment Report identifies lead hazards and
             appropriate lead hazard reduction methods.
             A copy of the Risk Assessment Report must immediately be forwarded to the
             participating owner once received by the Division. The owner must post a Notice
             of Lead Hazard Evaluation within 15 calendar days and complete lead hazard
             reduction and clearance activities as advised in the Report within 30 calendar
             days. The Housing Authority is not allowed to assist any other participant in the
              unit until the owner complies with the Report.
              If informed about an EIBLL case from a source other than the CLPP Program,
             the Division must submit the information to the CLPP Program within 5 calendar
              days. The CLPP Program will conduct a Risk Assessment of the occupied unit if
              required.

      10.5   INSPECTIONS SCHEDULE
             Inspections are conducted on business days between the hours of 7:00 a.m. and
             5:00 p.m. An individual over 18 years of age must be present to allow entry for
             the inspector.

      10.6    NEW CONTRACT INSPECTIONS
             [24 CFR §982.305(b)(2)11
              Under normal circumstances, new contract (initial) inspections are conducted 7
              to 10 calendar days following the receipt of a Request for Tenancy Approval.
              The new contract inspection is conducted in order to:
                 1. Determine if the unit, including common areas, meets housing quality
                    standards.
                 2. Document the current condition of the unit. This will serve as the basis to
                    evaluate the future condition of the unit, i.e. excessive wear and tear.

       10.6.1 When HG1S Deficiencies Must Be Corrected
              If the unit fails the initial inspection, the unit will be scheduled for afollow-up
              inspection within 10 calendar days. The owner will be given 30 calendar days to
              correct the deficiencies. The owner can request an inspection sooner if repairs
              have been made prior to the scheduled follow-up inspection date.
               If the time period given by the Housing Authority to correct the deficiencies has
              lapsed, or the maximum of three failed inspections has occurred, the family must
              select another unit.
              The Housing Authority will not enter into a HAP Contract with the owner until the
               unit passes the inspection. However, the family may already be in the unit when
              the new contract inspection is conducted. If the family lives in the unit at the time


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              of the new contract inspection, they are responsible for meeting their HQS
              obligations. See Section 10.8 for details of the family's HQS obligations.

      10.7    ANNUAL AND INTERIM INSPECTIONS
              X24 CFR 5982.4051

      10.7.1 Annual Inspections
              In order to assure that units meet housing quality standards throughout the
              assisted tenancy, the Housing Authority conducts inspections at least annually.
              As stated in the family obligations, the family must allow the Housing Authority to
              inspect the unit at reasonable times and after reasonable notice. The Housing
              Authority will notify the family and/or owner of the date and time of the scheduled
              inspection appointment in writing at least 10 calendar days prior to the
              inspection.
              Appointments may be rescheduled for emergency situations. If the family
              faits to contact the Housing Authority to reschedule the inspection, or if the family
               misses two inspection appointments, the Housing Authority will consider the
              family to be in violation of the Certified Statement of Family Obligation agreement
              and will initiate termination procedures in accordance with the Housing
               Authority's policy for proposed termination.

      10.7.2 Interim Insaections
             Interim inspections are conducted at the request of the owner, family, or agency
            (usually as a result of a violation of HQS or violation of the lease). Interim
             inspections may be scheduled and conducted at any time of the year.
       10.7.3 Comaliance Check/Home Visit Insaections
              Compliance ChecWHome Visit Inspections are conducted without prior notice to
              the family or owner. The purpose of these inspections is to verify compliance
              with the Section 8 Program. If a Compliance checWHome Visit Inspection
              occurs, the family has the right to refuse to submit and/or participate in an
              unannounced Compliance Check/Home Visit Inspection or interview.

       10.8    FAILED INSPECTIONS: DETERMINATION OF RESPONSIBILITY
              [24 CFR 6982.404(bll
               If deficiencies cause an assisted unit to fail an inspection, Housing Authority
               inspectors will determine who is responsible at the time of inspection.
               In accordance with family obligations, the following deficiencies are considered
               the responsibility of the family:
                     Family-paid utilities not in service;
                   ➢ Failure to provide or maintain family-supplied appliances; and
                   ➢ Damages to the unit or premises caused by a household member or
                     guest beyond normal wear and tear.




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                        "Normal wear and tear" is defined as items that could be charged
                         against the family's security deposit under state law or court practice.
             The owner is responsible for all other HQS violations. In cases such as vermin
             infestation, where burden of responsibility is not immediately clear, Housing
             Authority inspector will determine the responsible party.
             HQS deficiencies that cause a unit to fail must be corrected by the owner, unless
             the family is responsible for the deficiencies.

      10.9    FAILED INSPECTIONS: WHEN DEFICIENCIES MUST BE CORRECTED
             [24 CFR &982.404(a)(3)1

      10.9.1 Emergencv Fail Deficiencies
             Items that endanger the family's health or safety are considered emergency fails.
             These deficiencies must be corrected within 24 hours of inspection. The following
             deficiencies are considered life-threatening, emergency fails, and will cause a
             unit to be labeled uninhabitable:
                 ➢ Gas leaks
                 ➢ Major plumbing problems
                 ➢ Utilities not in service
                 ➢ No running water
                 ➢ No functioning toilet
                     Unstable roof/structure
              In cases where the unit is deemed uninhabitable, the family will be issued a
              voucher within 24 hours so that they can make arrangements to secure another
              residence if necessary.
              If an emergency fail deficiency is not corrected in the time period required by the
              Housing Authority, and the owner is responsible, the housing assistance
              payment will be abated immediately and the contract will be terminated.
              If repairs are completed and the family wishes to move back into the unit, a new
              RTA will need to be submitted for that unit and the New Contract Process will
              need to be completed again.
              If the emergency fail deficiency is not corrected in the time period required by the
              Housing Authority, and the family is responsible, the Housing Authority will
              terminate the family's assistance for violating family obligations (see Chapter 15:
              Family Obligations), but will not abate the payment to owner for that month.

       10.9.2 Non-Emergencv Fail Deficiencies
              Non-emergency deficiencies that cause a unit to fail the inspection must be
              corrected within a 30 calendar-day cycle. The family and owner will be notified of
              the failed items in writing. Within the 30 calendar days from the notification letter,
              the owner and family must make the appropriate corrections and notify the
              Housing Authority so that afollow-up inspection can be scheduled.



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           If the necessary repairs have been completed prior to the next scheduled
           inspection, the owner or tenant may request an earlier inspection date. Requests
           for earlier repair dates will be reviewed and accommodated in a case-by-case
           basis.
           For major repairs, the Inspections Housing Unit Supervisor or Housing
           Supervisor may approve an extension beyond 30 calendar days. However, this
           extension cannot exceed 60 calendar days.
            If the family is not at home for the follow-up inspection appointment, a card will
            be left at the unit with instructions. A second follow-up inspection will be
            scheduled automatically and the owner and family will be notified by mail.
            If owner-caused deficiencies are not corrected in the time period required by the
            Housing Authority, housing assistance payments will be abated and the contract
            may be terminated. If family-caused deficiencies are not corrected in the time
            period required by the Housing Authority, housing assistance may be terminated.
            See Sections 10.10 and 10.11 below for more information.

      10.9.3 Non-Emeraencv Fail Deficiencies Not Reauirina Follow-ua Inspection
            The following deficiencies will not require afollow-up inspection if cleared by
            proper owner certification:
                ➢ Inoperable gas wall or floor heater
                ➢ Damaged (not missing) outlet covers
                ➢ Inoperable secondary smoke detectors
                ➢ Presence of vermin/roaches (not infestation)
                ➢ Minor faucet and/or plumbing leaks
            These deficiencies must be cleared by a certification signed by owner and
            participant. Appropriate third-party documentation must also be supplied where
            appropriate, including a utility receipt, invoice, or Gas Company tag. If the
            certification is not approved by a supervisor, a follow-up inspection must be
            performed.

      10.10 CONSEGIUENCES OF VERIFIED FAMILY-CAUSED DEFICIENCIES
            f24 CFR &982.552(a)1
             The family has a responsibility to maintain the assisted unit in good condition and
             to notify the owner of needed repairs. If non-emergency violations of HC~S are
             determined to be the responsibility of the family, the Housing Authority will
             require the family to make any repairs) or corrections within the 30 calendar-day
             cycle. Housing assistance will be terminated if an assisted unit continues to fail
             housing inspections for family-caused deficiencies or the family fails to keep
             scheduled appointment(s). See Chapter 15 (Family Obligations) for more
             information.
              Extensions will be granted on a case-by-case basis and must be approved by the
              Unit Supervisor.




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             If it has been concluded that all deficiencies are family-caused, the owner's rent
             will not be abated for such items.

      10.11 CONSEGIUENCES OF VERIFIED OWNER-RELATED DEFICIENCIES
            f24 CFR &982.404(a),24 CFR §982.452 and 24 CFR §982.4531
            The owner is responsible for maintaining the unit in accordance with HQS. When
             it has been determined that an assisted unit fails to meet HQS,the owner of that
             unit is responsible for completing the necessary repairs) in the time period
            specified by the Housing Authority. If the owner fails to correct deficiencies
             within the specified time period, the Housing Authority is obligated to withhold
            (abate) housing assistance payments.

      10.11.1 Abatement
              f24 CFR b982.453(bl and_24 CFR &982.404(a)(311
               Abatement is defined as withholding- Housing Assistance Payments (HAP) to
               the owner for the period of time the unit is out of compliance with HQS
               requirements.
               HAP will be abated if:
               1. The assisted unit fails the first and second housing inspections due to
                  owner-related deficiencies.
                   If a unit fails the first inspection due to owner-related deficiencies, the notice
                   sent to the owner stating the deficiencies, repairs that need to be made,
                   and the date of the next inspection will also serve as notice that HAP will be
                   abated if the unit fails a second inspection due to owner-related
                   deficiencies.
                    If, after the 30-day correction period, the unit then fails the second
                   inspection due to owner-related deficiencies, the Housing Authority will stop
                    payment on the first day of the month following the expiration of the 30-day
                   correction period.
                   The owner will be notified of the date of a final inspection. Under normal
                   circumstances, the Housing Authority will inspect an abated unit within 30
                   calendar days after the abatement notification has been issued.
                   If the owner makes repairs during the abatement period, HAP payments will
                   resume on the day the Housing Authority's inspector has verified the
                   corrections and the unit passes inspection.
                   A 30-day calculation standard will be used to reconcile abatement
                   payments. Please refer to memo dated 3/3/05.
                   No retroactive payments will be made to the owner for the period of time
                   the rent was abated and the unit did not comply with HG1S. The notice of
                   abatement states that the family is not responsible for the Housing
                   Authority's portion of rent that is abated. However, the family is responsible
                   to pay its portion of the rent while abatement is in effect.
                   If an assisted unit fails the third and final housing inspection for owner-
                   caused deficiencies, the Housing Authority will terminate the HAP Contract.


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                 The Housing Authority will notify the owner of the termination in writing 30
                 calendar days before it becomes effective. Abatement will remain in effect
                 until the effective date of the termination.
                 The Housing Authority is prohibited from implementing rent abatement for
                 family-caused deficiencies. However, abatement will apply if family-caused
                 and owner-related deficiencies exist together.
              2. The Housing Authority has verified that the assisted unit has
                 emergency fail deficiencies, and the owner did not complete the
                 necessary repairs within the required timeframe.
              3. A unit built before 1978 that houses or will house a child under 6
                 years of age fails the lead-based paint visual assessment, and the
                 owner fails to submit a complete, passing clearance report and
                 certification within 30 calendar days. Owners will receive notice by mail
                 if a unit fails the lead-based paint visual assessment. They will have 30
                 calendar days from the date of the notice to perform clearance and submit
                 passing paperwork. If the owner fails to meet these requirements (see
                 Section 10.4 for more information on lead-based paint), HAP will be abated
                 and the Housing Authority will stop payment on the first day of the month
                 following. The participant will be issued a voucher. The owner will have an
                 additional 60 calendar days to obtain and submit a valid Clearance Report
                  before the HAP Contract is terminated.
               Families that reside in units that have been abated will be issued a voucher
               and will have the option to move even if the assisted unit passes inspection at
               the third and final inspection (this excludes participants of the Moderate
               Rehabilitation Program).

       10.11.2 Termination of Contract
              [24 CFR §982.453fb)1
               When the HAP Contract has been terminated, the family will be required to
               move in order to continue receiving rental assistance.
               RTA submitted for units that have been terminated due to abatement will be
               reviewed on a case-by-case basis. In cases where the RTA is accepted, the
               family will be brought in for counseling on their situation.

       10.12 QUALITY CONTROL INSPECTIONS
             f24 CFR 6982.405(bll
             To ensure efficient program operations, it is essential for management to apply
             sound quality control practices. The purpose of quality control inspections is to
             objectively ascertain that each inspector is conducting accurate and complete
             inspections, and to ensure that there is consistency among inspectors in
             application of HQS.
              Quality control inspections will be performed by a Quality Assurance
              Representative according to SEMAP Indicator #5 which meets the minimum
              quality control sample size for the number of units under HAP contract during the
              last completed Housing Authority fiscal year for SEMAP.



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                               CHAPTER 11:
      SETTING PAYMENT STANDARDS AND DETERMINING RENT REASONABLENESS

      11.1   INTRODUCTION
             f24 CFR &982.5031
             The Housing Authority is responsible for ensuring that the rents charged by
             owners are reasonable based upon objective comparables in the rental market.
             When the Housing Authority has determined that the unit meets the minimum
             HQS, that the lease is approvable, and that the rent is reasonable, it will make
             timely payments to the owner and notify the owner of the procedures for rent
             adjustments in the rental assistance programs. This chapter explains the
             Housing Authority's procedures for setting and adjusting the payment standards
             and performing rent reasonableness analysis.

      11.2   PAYMENT STANDARDS FOR THE VOUCHER PROGRAM
             f24 CFR ~982.503(b)(1)1
             HUD regulations allow the Housing Authority to set Payment Standards at a level
             that is between 90 percent to 110 percent of the Fair Market Rent for Los
             Angeles County. The Housing Authority must set the payment standard at a
             level that is high enough to ensure that families are able to afford quality housing
             while also balancing the need to provide assistance to as many families on the
             waiting list as possible.
             The Housing Authority will review the payment standards at least annually to
             determine whether an adjustment should be made for some or all unit sizes. The
             following provides a list of the factors that will be used to evaluate the adequacy
             of the payment standard and/or be used to make a determination to adjust
             standards, as appropriate.

       11.2.1 Assisted Families' Rent Burdens
              The Housing Authority will review reports showing the percent of income used for
              rent by voucher families to determine the extent to which the rent burden is more
              than 50 percent of income.
              If more than 40 percent of program families in the overall program, or for a
              specific unit size, are contributing in excess of 50 percent of their adjusted
              monthly income towards rent, the Housing Authority will consider increasing the
              voucher payment standards. The payment standard will not be raised if:
              ❑ The payment is already at the maximum level HUD will allow (110%).
              ❑ The Housing Authority would have to reduce the number of new admissions
                by 20 percent or more for the upcoming year in order to fund the increase.

       11.2.2 Success Rate of Voucher Holders
              The Housing Authority will periodically review the success rate of voucher
              holders. If 25 percent or more of new admissions and/or families wishing to move
              are unable to use the vouchers due to current rental rates in Los Angeles



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             County, the Housing Authority will consider increasing the payment standard for
             particular unit sizes and/or the entire program, as appropriate.
             The payment standard will not be increased if:
             O The payment is already at the maximum HUD will allow (110%)
             ❑ The Housing Authority would have to reduce the number of new admissions
               by 20 percent or more for the upcoming year in order to fund the increase

      11.2.3 Rent Reasonableness Database
             The Housing Authority will review the rent information in the rent reasonableness
             data bank and compare it to the payment standards established for the Housing
             Choice Voucher Program. If the rent reasonableness review indicated that the.
             payment standards are higher than the average rental unit in Los Angeles
             County, the payment standard for the specific unit size, or all payment standards,
             will be lowered to reflect the current market rents.

      11.2.4 Quality of Units Seleoted
             The Housing Authority will review the quality of units selected by participant
             families before determining any change to the Payment Standard to ensure that
             Payment Standard increases are only made when needed to reach the mid-
             range of the market.

      11.2.5 File Documentation
             A file will be retained in the Housing Authority's Administrative Support Unit for at
             least 3 years to document the analysis and findings to justify whether or not the
             Payment Standard was changed.

      11.3   RENT REASONABLENESS DETERMINATIONS
             f24 CFR $982.5071
             Rent reasonableness determinations are made when units are placed under HAP
             contract for the first time and when an owner requests a rent increase. The
             Housing Authority will determine and document on a case-by-case basis that the
             approved rent[24 CFR §982.507(b) and §982.507 (c)]:
              1. Does not exceed rents currently charged on new leases by the same owner
                 for an equivalent assisted or unassisted unit in the same building or complex,
                 and
              2. Is reasonable in relation to rents currently charged by other owners for
                 comparable units in the unassisted market.
              The Housing Authority contracts with an outside agency to provide the Rent
              Comparable System, RENTELLECT. This system considers a variety of criteria
              to provide rent comparable information, including:

                     Unit location
                  ➢ Quality
                  ➢ Size


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                ➢ Type
                    Age of the contract unit
                ➢ Amenities
                 ➢ Housing services
                 ➢ Maintenance; and
                 ➢ Utilities provided by the landlord.
      RENTELLECT applies a statistical methodology to calculate a predicted or probable
      market rent for the unit and a reasonable range of market rent. The median amount is
      used, unless an exception is approved by a Division Manager.

      11.3.1 Appealing a Rent Reasonableness Determination
             If the owner of the property disagrees with the rent reasonable determination, the
             owner may appeal the decision in writing by submitting an appeal that includes a
             list of comparable rental units that the owner has found to justify their requested
             rent amount.
             Before using a list of rental units submitted by the owner, the Housing Authority
             would confirm that the units are indeed comparable using the criteria outlined
             above. If the units are not comparable, the Housing Authority will not use these
              units in the rent comparability survey and the owner will be notified of the
             decision.
              At the owner's request, the Housing Authority will release information on the unit
              addresses used in the rent comparability survey. If the owner finds that the
              information used by the Housing Authority is incorrect, the Housing Authority will
              re-verify the rental comparables used and re-determine the rent comparability for
              the unit.

       11.3.2 Rent Increases
              f24 CFR §982.5191
              As stated in the HUD Tenancy Addendum, the owner must notify the Housing
              Authority at least 60 days before the proposed effective date of any intended rent
              increase. The tenant must be notified in writing, and the written notice must be
              submitted to the Housing Authority.
              As authorized by the HAP contract, the Housing Authority will not approve a rent
              increase if the HAP contract is in abatement for owner-related HQS deficiencies.
              In accordance with the HUD Tenancy Addendum, the Housing Authority will
              disapprove requests made during the initial term (first 12 months) of a lease.
              The Housing Authority will use the same criteria defined above to determine if a
              request for a rent increase meets the rent comparability requirement. If the new
              rent is not rent comparable, the Housing Authority will advise both the owner and
              the family that the increase cannot be approved. If a partial rent increase can be
              approved, the Housing Authority will notify the owner, and process the partial
              increase upon owner approval.
               An owner who disagrees with the determination may exercise any of the
              following options:


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            ❑ Appeal the rent comparability determination using the steps outlined above.
            ❑ Adjust his/her request for a rent increase.
            ❑ Serve the family with a proper termination notice.




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                                          CHAPTER 12:
                                        RE-EXAMINATION

      12.1
             (24 CFR §982.516(a)1
             To assure that tenancy is restricted to participants meeting the eligibility
             requirements for continued occupancy and are charged appropriate rents; the
             eligibility status of each participant is re-examined on an annual basis per HUD
             requirements.
             When families move to another dwelling unit, a re-examination is completed and
             the anniversary date changed.

      12.1.1 Procedure
             To maintain program efficiency and integrity, the Housing Authority at its own
             discretion may conduct re-examination interviews by mail or in-person. The
             Housing Authority will attempt to conduct all annual re-examinations interviews
             through the mail. Annual re-examinations not completed through the mail
             process will be conducted in person.

      12.2   RE-EXAMINATION NOTIFICATION TO THE FAMILY
             Participating families are advised of the annual re-examination requirement and
             the importance of reporting income and family composition changes as they
             occur during the initial re-examination.

      12.2.1 Persons with Disabilities
             f24 CFR §8.24(a)1
              Persons with disabilities who are unable to come in to the Housing Authority's
              office will be granted a reasonable accommodation of conducting the interview at
              the person's home or by mail, upon verification that the accommodation
              requested meets the need presented by the disability.

       12.2.2 Requirements to Attend
              If it is determined that a participant (family) will need to come to the Housing
              Authority's office then all adult household members 18 years and older will be
              required to attend the re-examination interview.

       12.2.3 Failure to Respond
              If a family fails to complete or return the required re-examination documents
              within the specified timeframe, the Housing Authority will schedule the family for
              a mandatory appointment. The appointment letter will provide the date and time
              of the appointment and a list of items that family will need to bring. Additionally,
              the appointment letter will serve as a proposed termination notice and will contain
              the date of termination as well as a specified timeframe to request an informal
              hearing.



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            If the family fails to attend the appointment or fails to bring all the required
            information and has not requested an informal hearing, Housing Assistance
            Payments will be stopped.
            If the family is able to provide documentation of an emergency situation that
            prevented them from completing the required re-examination documents or
            attending the mandatory appointment, the Unit Supervisor at his/her own
            discretion may, on a case-by-case basis reschedule the appointment.

      12.2.4 Documents Required from the Family
            The re-examination documents will include instructions and appropriate forms
            that need to be submitted to complete the re-examination. The required forms
            and documentation are the following:
                1. Documentation of income for all family members;
               2. Documentation of assets;
               3. Documentation of medical or child care expenses;
               4. Certified statement of family obligations; and
               5. Consent for Release of Information (signed by all household members
                  over 18 years of age).
            Verification of these documents will be conducted in accordance with Housing
            Authority procedures and guidelines described in this plan.

      12.2.5 Tenant Rent Increases
            If the tenant rent increases, a 30-day notice of increase in rent is mailed to the
            family before the anniversary date.
            If less than 30 calendar days are remaining before the anniversary date, the new
            tenant rent will be effective on the first of the month following the 30-day notice.
            If the Housing Authority was unable to process the re-examination on a timely
             basis due to the family's failure to provide re-examination documents, then the
             rent increase will be effective retroactive to the appropriate anniversary date.
             If the family causes a delay in the re-examination processing, there will be a
             retroactive increase in rent to the anniversary date. In this particular case, the
             owner will receive a retroactive HAP payment and every effort will be made to
             recover lost rent from the tenant.

       12.2.6 Tenant Rent Decreases
             If the tenant rent decreases, it will be effective on the anniversary date.
             If the family causes a delay so the processing of the re-examination is not
             completed by the anniversary date, the rent change will be effective on the first
             day of the month following the completion of the re-examination processing.




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      12.3    INTERIM RE-EXAMINATION
              f24 CFR ~982.516(b)(311
              No TTP adjustments will be affected between dates of periodic re-examination or
              pre-scheduled re-examinations except as noted below:
              Tenants are required to submit information affecting eligibility income at all re-
              examinations. Additionally, tenants are required to report the following changes
              in family circumstances:
                  1. Changes in family composition, including loss or addition of one or more
                      family members through death, divorce, birth, or adoption [24 CFR
                      §982.516(c)], and
                  2. Changes in family income including increases and decreases for income
                      received by the family.
              A family is required to report these changes to the Housing Authority within 30
              calendar days after the change has occurred. Once notified, the changes that
              affect the eligibility income will be verified.
              The U.S. citizenship/eligible immigrant status of additional family members must
              be declared and verified as required at the first interim or regular re-examination
              after moving into the unit. See Section 7.10.7 (Verification of Citizenship/Eligible
              Immigration Status)for details.

      12.3.1 Interim Changes in Income
             ❑ Decreases: If the information provided results in a decrease in tenant rent, a
                 modification to the HAP Contract is executed to be effective the first of the
                 month following the month in which the required documentation is supplied by
                 the participant.
             ❑ Increases: If the information provided results in an increase in tenant rent,
                 the Housing Authority may conduct an interim re-examination, or may flag the
                 file and make adjustments at the annual re-examination. In either case, the
                 tenant will be notified in writing at least 30 calendar days in advance of an
                 increase.

       12.4    SPECIAL ADJUSTMENTS
               If, at the time of re-examination, a family is clearly of low-income, and it is not
               possible to make an estimate of the family's income for the next 12-month period;
               A special re-examination will be scheduled to accommodate the family's
               circumstances. This includes cases where:
                  1. A tenant is unemployed and there are no anticipated prospects of
                      employment, or
                  2. The conditions of employment and/or receipt of income are too unstable
                      to validate usual and normal standards for determination. An interim re-
                      examination will be scheduled for families with zero or unstable income
                      every 3 months.
               Families whose past employment has been sporadic or who are on welfare,
               become employed, then are unemployed, or are self-employed, will not be given


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             special re-examination. If such an income pattern has been established and is
             expected to continue, then a reasonable 12-month estimate of the income may
             be based upon past income and present rate of income.
             Furthermore, special re-examinations must be clearly set for a definite time to
             assure compliance.

      12.5    CHANGES IN FAMILY COMPOSITION
             [24 CFR 5982.516(c) and 24 CFR §982.551(h)(2)1
             The composition of the assisted family residing in the unit must be approved by
             the Housing Authority. An interim re-examination will be conducted for any
             changes in family composition.
             The Housing Authority may verify changes in family composition as detailed in
             Section 7.10.5.

      12.5.1 Allowable Family Additions
             f24 CFR §982.551(h)(2)1
              Allowable family additions are the following:
              1. Addition due to birth, adoption or court awarded custody
                 ➢ Must be reported to the Housing Authority, in writing, within 30 calendar
                   days of the occurrence. Families should notify the owner and comply with
                   any lease requirements to obtain owner approval.
              2. Other allowable persons:
                  ➢ The family must request approval from the owner and the Housing
                    Authority before the person is added. Anyone who moves into the unit
                    without written owner and Housing Authority approval is considered an
                    unauthorized person.
                    • Addition of marriage/or marital type relation (i.e., couples that certify
                       that they intend to live in the same principal residence indefinitely and/
                       or register in California as domestic partners);
                    • Addition of a minor who is a child of the head of household, spouse or
                        marital-type partner, who have been living elsewhere; and
                     • Addition of a Housing Authority-approved live-in attendant;
                     • Addition of an adult child due to recent discharge from the military.
              As part of the approval process, the Housing Authority conducts a criminal
              background check, and may also conduct a credit review, on all new potential
              family members, 18 years of age and older. Criminal records will only be used to
              screen new household members. They will not be used for lease enforcement or
              eviction of residents already receiving tenant-based rental assistance.
               If an approved change requires a larger size unit due to overcrowding, the
               change in voucher size will be made effective immediately (see Chapter 5). The
               Housing Authority will determine the assistance, based on funding availability.




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      12.5.2 Decreases in Familv Size
             When a family member leaves the household, the absence must be reported to
             the Housing Authority, in writing, within 30 calendar days of the occurrence, as
             detailed in Section 6.8.9 (Reporting Absences to the Housing Authority). The
             change in family composition may impact the voucher size, as explained in
             Chapter 5 (Subsidy Standards).
             If a decrease in family size results in a decrease of the voucher size, the Housing
             Authority may exercise the option to downsize the family's voucher size and
             require the family to move.
              Generally, families will be asked to move if the unit is two bedrooms or larger
             than the family is eligible to rent. When this is necessary, the family will be
              granted 120 calendar days to locate another suitable unit. Extensions are
              granted in accordance with the policy outlined in Chapter 8 (Voucher Issuance
              and Briefings).
              However, if the family's Total Tenant Payment unit does not exceed 50 percent
              of the family's monthly-adjusted income, the family will be allowed to remain in
              the unit.

      12.6    CONTINUATION OF ASSISTANCE FOR "MIXED" FAMILIES
             [24 CFR §5.504(b1]
              Families that include at least one citizen or eligible immigrant, and any number of
              ineligible members, are considered "mixed" families.
             "Mixed" families that were participants on or before June 19, 1995, shall continue
             full assistance ff they meet the following criteria:
                  1. The head of household or spouse is a U.S. citizen or has eligible
                      immigrant status, and
                  2. All members of the family other than head, spouse, parents of head,
                      parents of spouse, children of head or spouse are citizens or eligible
                      immigrants. The family may change the head of household designation
                      to another adult member of the family to qualify under this provision.
              If they do not qualify for continued assistance, the members) that cause the
              family to be ineligible for continued. assistance may move, or the family may
              choose prorated assistance.




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                                      CHAPTER 13:
                               ALLOWABLE MOVES/PORTABILITY

      13.1   INTRODUCTION
             This chapter defines the procedures, restrictions and limitations for moving, for
              new applicants and current participants.
             As stated in HUD regulations, eligible families participating in the Housing Choice
              Voucher Program have the right to receive tenant-based voucher assistance
             anywhere in the United States, in the jurisdiction of a public housing agency
             (PHA) administering a Housing Choice Voucher program. This program feature
              is called "portability." This chapter includes the Housing Authority's procedures
             for new applicants and current participants that "port out' of the Housing
              Authority's jurisdiction.
              Additionally, this chapter specifies the Housing Authority's policies for receiving
             "incoming ports"from other public housing agencies.
              The option of portability does not apply to families assisted under the Moderate
              Rehabilitation Program.

      13.2    ALLOWABLE MOVES AND RESTRICTIONS

      13.2.1 Restrictions on Moves
              The Housing Authority may deny families permission to move if:
                 ➢ There is insufficient funding for continued assistance;
                    The family has violated a family obligation;
                  ➢ The family is in the initial term of the lease (see 13.2.4 for exceptions); or
                  ➢ The family owes money to this Housing Authority or another PHA. See
                    Section 17.2 (Repayment Agreements for Families) for more information
                    on allowable moves for families with repayment agreements.
              In the event of insufficient funding, the Housing Authority is approved to deny
              new and assisted families permission to move if the family chooses to move to a
              higher cost area. New or assisted families will not be permitted to move to a
              different public housing agency's jurisdiction if the new HAP is higher than the
              current HAP subsidy for a participant, or the estimated HAP for an applicant,
              unless the receiving PHA chooses to absorb the new or assisted family into their
              Section 8 program.

       13.2.2 Allowable Moves for New Aaalicants
              f24 CFR §982.3531
              A family who lives and/or works in the Housing Authority's jurisdiction at the time
              they are admitted to the Housing Choice Voucher Program may choose, as their
              initial housing:
                   ➢ To remain in their current unit (this is referred to as leasing-in-place);
                   ➢ A unit anywhere within this Housing Authority's jurisdiction; or


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                 ➢ A unit outside of this Housing Authority's jurisdiction. For more
                    information, see the Outgoing Portability section of this chapter.
             A family who does not live or work in this Housing Authority's jurisdiction at the
             time they are admitted to the Housing Choice Voucher Program must initially
             locate a unit within this Housing Authority's jurisdiction in order to receive
             assistance. The family does not have any right to portability until they have
             resided in this Housing Authority's jurisdiction for at least 12 months [24 CFR

                 ➢ Under limited conditions, the Housing Authority may waive this
                   requirement. Examples of situations that may warrant an exception to
                   this rule include life-threatening situations or as a reasonable
                   accommodation. However, in all cases both the Housing Authority and
                   the receiving jurisdiction must agree to allow the move. If the receiving
                   public housing agency does not agree, the Housing Authority will not
                   approve a transfer[24 CFR §982.353(c)(3)].

      13.2.3 Allowable Moves for Current Participants
             f24 CFR §982.3141
             A family that initially receives assistance for a unit leased in this Housing
             Authority's jurisdiction may request to move to another unit and receive
             continued assistance. Families in good standing may move with continued
             assistance if:
                 1. The assisted lease for the old unit has ended because the Housing
                    Authority has terminated the HAP contract for owner breach [24 CFR

                 2. The lease was terminated by mutual agreement of the owner and the
                    family [24 CFR §982.314(b)(1)(ii)]. The Housing Authority must receive a
                    copy of this notice;
                 3. The owner has given the family a notice to vacate for reasons other than
                    a lease violation [24 CFR §982.314(b)(2)]. The Housing Authority must
                    receive a copy of this notice; or
                 4. The family has given proper written notice of lease termination after the
                    initial lease term and in accordance with State law. This generally
                    requires a 30-day notice; however, the Housing Authority recommends
                    that families provide a 60-day notice in order to ensure a smooth
                    transition to the new unit [24 CFR §982.314(b)(3)]. The Housing
                    Authority must receive a copy of this notice.
              A family is considered to be in good standing if they have not violated the terms
              of the lease, any program regulations and do not owe any money to this Housing
              Authority or another public housing agency.
              Families that are eligible to move with continued assistance may choose to move
              to a unit that is:
                  ➢ Within this Housing Authority's jurisdiction. This type of a move is
                      called a "reserve vacate." This means that the family is moving from a
                      unit, which could result in a temporary vacancy in the program until


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                   another unit is secured; however, the slot remains reserved for the family
                   until the time they lease another unit.
                   Outside Housing Authority's jurisdiction. See the Outgoing Portability
                   section of this chapter for more information.

      13.2.4 Restrictions on Moves During the Initial Lease
            [24 CFR &982.314(c) and ~982.314(ell
             Generally, families will not be permitted to move during the initial lease (12
             months), or more than once in any 12-month period except as noted below:
                1. Life-Threatening Situations (witness to or victim of a crime, victims of
                   domestic violence, dating violence, and stalking; HG1S emergency items,
                   natural disaster, unsafe environment, etc.)
                2. Reasonable Accommodation: A family may request to move to
                   accommodate a disability. The Housing Authority may approve the move
                   as a reasonable accommodation and grant the request to move.
                   However, the owner of the property must agree to release the tenant from
                   the lease.
                3. Mutual Termination: The family and the owner agree to mutually
                   terminate the contract. If a family requests to terminate a HAP contract
                   based on a mutual termination more than once in a 12-month period, the
                   Housing Authority may review the reason for the mutual termination. If the
                   owner is requesting a mutual termination in lieu of enforcing tenant
                   obligations under the lease, and there is evidence that the family has
                   committed violations of the lease, the Housing Authority may terminate
                   the family for non-compliance with family obligations.

      13.3   PROCEDURES FOR MOVES FOR CURRENT PARTICIPANTS
             f24 CFR §982.31.4(d)1
             Eligible families who wish to move must first provide the Housing Authority and
             the property owner with proper written notice. Once the Housing Authority has
             received the notice, the family may be issued a new voucher if there are no
             reported changes to the family's income or family composition. tf there are
             changes to the family's income or family composition, a reexamination will be
             conducted before a new voucher may be issued.
             At the same time the voucher is issued, the family will receive a Request for
             Tenancy Approval (RTA). The family should begin looking for housing
             immediately in order to ensure a smooth transition to the new unit.
                 ➢ Requests to move for families wishing to port to another jurisdiction must
                   be submitted in writing.
              Families in the Housing Authority's jurisdiction that are unable to locate a new
              unit by the time they are supposed to vacate the old unit are responsible for
              contacting the owner and negotiating to stay in the current unit longer. In order
              for an extension to be approved by the Housing Authority, both parties must sign
              and complete the required contract extension form, indicating the revised
              effective expiration date, and submit it to the Housing Authority before the


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             contract is set to expire. Once the request has been received, the Housing
             Authority will release payments to the owner as appropriate. If the owner does
             not agree to extend the notice, the family may be required to seek alternative
             housing, at their own expense, in the interim.

      13.4   OUTGOING PORTABILITY PROCEDURES
             f24 CFR §982.355(c)1
             Both new applicants and current participant families must first identify the new
             jurisdiction where they will be moving. Once the Housing Authority has received
             this information, the Housing Authority will:
                 1. Notify the receiving public housing agency(PHA)that the family wishes to
                    relocate into its jurisdiction [24 CFR §982.355(c)(3)];
                2. Advise the family how to contact and request assistance from the
                   receiving PHA [24 CFR §982.355(c)(2)]; and
                 3. Provide the following documents and information to the receiving PHA [24
                    CFR §982.355(c)(4)]:
                    • A copy of the family's voucher, with issue and expiration dates,
                      formally acknowledging the family's ability to move under portability.
                    • The most recent HUD 50058 form and verifications.
                    • The Family Portability form (HUD-52665).
             New applicant families will be subject to the income eligibility requirements of the
             jurisdiction in which they will be receiving assistance [24 CFR §982.353(d)].

      13.4.1 Briefing for Families Wishin4 to Exercise Portability
             Since families wishing to move to another jurisdiction must understand that the
             policies and procedures of the receiving PHA prevail, the Housing Authority will
             provide counseling for those families who express an interest in portability. This
             will include a discussion of difference in payment standards, subsidy standards,
             and income limits, if applicable.

       13.4.2 Payment to the Receiving PHA
              f24 CFR &982.355(d) and §982.355(e11
              If the receiving PHA chooses to administer and bill assistance on the Housing
              Authority's behalf, the Housing Authority will reimburse the receiving PHA for
              costs associated with administering the voucher, as specified in HUD regulations.
              The receiving PHA must submit to the Housing Authority the initial billing no later
              than 60 days following the expiration date of the family voucher issued or within
              10 days of an executed contract.
              The Housing Authority will ensure that the receiving PHA receives all subsequent
              monthly payments no later than the fifth working day of each month.




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      13.5   INCOMING PORTABILITY PROCEDURES
             j24 CFR 6982.3551
             Eligible participants in the Housing Choice Voucher Program in other public
             housing agencies may be assisted in the Housing Authority's jurisdiction.
             For a family to port in to the Housing Authority's jurisdiction, the Housing
             Authority must receive,from the initial PHA:
                ➢ The Family Portability form (HUD-52665) with Part I completed.
                ➢ A copy of the family's voucher with a valid expiration date.
                ➢ The most recent HUD 50058 form and required income verifications
                  supporting the form.

      13.5.1 Policies on Absorption and Administration
             f24 CFR &982.355(d) and §982.355(e)1
             For incoming ports, the Housing Authority may, if funding permits, accept a family
             with a valid voucher from another jurisdiction and absorb the voucher. The
             Housing Authority may also exercise the option to administer the initial public
             housing agency's voucher and bill the initial PHA as authorized in the
             regulations.
             If the Housing Authority chooses to administer, it will submit to the initial PHA an
             initial billing no later than 60 days following the expiration date of the family
             voucher issued or within 10 days of an executed contract to ensure timely receipt
             of payment.
             All subsequent monthly billing payments are to be received by the Housing
             Authority no later than the fifth working day of each month.

       13.5.2 Income and Total Tenant Payment Review
              f24 CFR &982.355(c)1
             The Housing Authority will conduct an initial review of all incoming port families.
             The Housing Authority will:
                 ➢ Conduct criminal background and registered sex offender registration
                   checks of family members(see Section 13.5.3 below).
                 ➢ Verify identifying documents,family income and composition.
                 ➢ As necessary, the Housing Authority will change the bedroom size of a
                   family's voucher to comply with the Housing Authority's subsidy
                   standards. If this occurs, the family will be notified in writing of the
                   change.
                 ➢ If family income documents are missing or there has been a change in
                   the family's circumstances, the Housing Authority may re-determine the
                   family's TfP.
                 ➢ For incoming port families who have not yet leased a unit under the
                    Housing Choice Voucher Program (initial applicants), the Housing
                    Authority must verify that the family meets the Housing Authority's income
                    limits.


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            If a re-determination is necessary, the Housing Authority will not delay issuing the
            family a voucher or otherwise delay approval of a unit unless the re-
            determination reveals that the family is not eligible far assistance in the Housing
            Authority's jurisdiction. In such cases, the family will be referred to the initial PHA
            for further assistance [24 CFR §982.355(c)(4)].
             In general, all families porting into the Housing Authority's jurisdiction will be
             issued a Housing Authority voucher. The term of the voucher may not expire
             before the expiration date noted on the voucher issued by the initial public
             housing agency. The Housing Authority will determine whether to extend the
             voucher term, if necessary, based on the Housing Authority's policy for
             extension. The Housing Authority will notify the initial PHA if such an extension
             is granted [24 CFR §982.355(c)(6)].
              If a family that has ported into the Housing Authority's jurisdiction is unable to
              locate a unit within the allotted time authorized on the voucher, the Housing
              Authority will notify the issuing PHA that the voucher did not result in a HAP
             contract.
              Approval of any unit is subject to rent reasonableness and a passed inspection
             [24 CFR §982.401(a)(3)].

      13.5.3 Criminal Background Checks for Incoming Portability
             24 CFR &982.355(c)(9) —(10)and PIH Notice 2004-12
             The Housing Authority will conduct criminal background and sex offender
             registration checks for all incoming portability families and will not delay issuing
             the family a voucher but will take subsequent necessary action, including up to
             termination of a family's assistance (see Section 2.8 for details on screening).
             The Housing Authority will take the following steps to minimize the number of
             terminations for families that are porting into its jurisdiction:
                    At voucher issuance, families be will informed of the Housing Authority's
                    criminal background policies and that they will be going through a
                    background check and offered an opportunity to return to their originating
                    PHA.
                  ➢ If it is determined before a contract is effective that a family member is
                    unsuitable due to a criminal background check the family will be given the
                    options of returning to the originating household or excluding the culpable
                    family member.
                  ➢ If it is determined after a contract is effective that a family member is
                    unsuitable and the Housing Authority is billing the originating PHA, the
                    family will have the option of returning to the originating PHA or exclude
                    the culpable household member.
                  ➢ If it is determined after the contract is effective that a family member is
                     unsuitable and the Housing Authority has absorbed the contract, the
                    family will only have the option of excluding the culpable household
                     member and will not be allowed to return to the originating household.




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            The contract will be terminated if it has been absorbed and if the family chooses
            not to exclude the culpable household member or there are no other adult eligible
            household members.

      13.5.4 Terminations
            In cases where the Housing Authority is administering a contract on behalf of
            another PHA, the Housing Authority will notify the initial PHA in writing of any
            termination of assistance within 30 calendar days of the termination.

      13.5.5 Informal Hearings/Reviews
             f24 CFR §982.5551
            If an informal hearing is required and requested by the family, the Housing
            Authority will conduct the hearing only if the participant has been assisted within
            the Housing Authority's jurisdiction. Such hearings will be conducted using the
            regular hearing procedures included in this plan. Families who have not yet
            received assistance in the Housing Authority's jurisdiction are eligible for informal
            reviews, as detailed elsewhere in this administrative plan.
            The initial PHA will be responsible for collecting amounts owed to that public
            housing agency by the family for claims paid and for monitoring repayment. If
            the initial PHA notifies the Housing Authority that the family is in arrears or the
            family has refused to sign a Repayment Agreement, the Housing Authority will
            terminate assistance to the family.




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                                         CHAPTER 14:
                                    CONTRACT TERMINATIONS

      14.1    INTRODUCTION
              The chapter identifies the key documents/contracts that set forth the
              responsibilities of each parry involved in the rental assistance relationship and
              outlines the policies and procedures under which these contracts can be
              terminated.

      14.2    DESCRIPTION OF DOCUMENTS
              There are three parties involved in the rental relationship: the assisted family, the
              owner and the Housing Authority.
              The rights and responsibilities of the assisted family are defined in the voucher or
              certificate and the Certified Statement of Family Obligations. A copy of the
              voucher or certificate is provided to the family at admission and each time a new
              voucher is issued. The family signs the Certified Statement of Family Obligations
              annually.
              The relationship between the family and the owner is outlined in the rental lease.
              Generally, the term of the lease is for one year and then turns into amonth-to-
              month tenancy. Although the Housing Authority is not a part of the lease, HUD
              regulations allow public housing agencies to act against the family for serious or
              repeated violations of the lease.
              The terms of the relationship between the owner and the Housing Authority are
              outlined in the Housing Assistance Payments (HAP) contract. The term of the
              HAP contract is the same as the term of the lease.

       14.3   TERMINATION OF THE LEASE BY THE FAMILY: MOVES
              f24 CFR &982.309(c)1
              For continued tenant assistance, the family cannot terminate the lease until after
              the initial term of the lease except for material breach of the lease by the owner.
              The lease determines the notice period for termination to the owner. Most leases
              require, at minimum, a 30-day notification. However, the Housing Authority
              recommends that families provide a minimum of a 60-day notice in order to allow
              enough time for a smooth transition of assistance from the old unit to the new
               unit. To initiate the lease termination, the family must send a written notice to the
              owner and the Housing Authority no less than 30 calendar days before the
               vacate date.

       14.4    TERMINATION OF THE LEASE BY THE OWNER
               An owner or manager may bifurcate (separate) a lease in order to evict, remove,
               or terminate assistance to any individual who is a tenant or lawful occupant and
               who engages in criminal acts of physical violence against family members or
               others, without evicting, removing, or terminating assistance, or terminating
               assistance, or otherwise penalizing the victim of such violence which is also a
               tenant or lawful occupant.


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      14.4.1 Terminating the Lease During the Initial Term of the Lease
            (24 CFR &982.310(a)1
            During the term of the lease, the owner may not terminate the tenancy except for
            good cause, which includes serious or repeated violations of the lease and/or
            violations of federal, state or local law that imposes obligations on the family in
            connection with the use of the unit.
             Under such conditions, the owner must provide both the family and the Housing
             Authority with a copy of any notice to move or eviction action. An eviction action
             is defined as a notice to vacate, or a complaint, or other initial pleading used
             under State or local law to commence an eviction action. Any eviction notice
             served to a family must specify the grounds for the termination of the tenancy.
             An owner may commence termination of a tenancy for good cause by serving a
             legal notice of termination on the family for the following reasons:
                 1. Serious or repeated violation of the terms and conditions of the lease [24
                     CFR §982.310(a)(1)];
                 2. Violation of federal, state or local law that imposes obligations on the
                     tenant in connection with the occupancy or use of the premises[24 CFR
                     §982.310(a)(2)J; and
                 3. Other good cause,[24 CFR §982.310(a)(3)] including:
                    • Criminal activity by the tenant, any member of the household, a guest
                       or another person under the tenant's control that threatens the health,
                       safety or right to peaceful enjoyment of the premises by the other
                       residents, or persons residing in the immediate vicinity of the
                       premises[24 CFR §982.310(d)];
                    • Any drug-related criminal activity on or near the premises; or
                      Tenant disturbance of neighbors, destruction of property, or behavior
                      resulting in damage to the premises.

      14.4.2 Terminating the Lease After the Initial Term of the Lease
             After the initial term of the lease, the owner may terminate the lease for other
             good cause. Examples of other good cause include:
                 ➢ Business or economic reason for regaining possession of the unit;
                 ➢ Owner's desire to repossess the unit for personal or family use or for a
                   purpose other than residential property;
              When terminating the lease for business or economic reasons, the owner is
              required to provide a 90-day notice to both the family and the Housing Authority.

       14.4.3 Requests for Criminal Records by Project-Based Section S Owners
              f24 CFR 65.903(d)(3)1
              Project-based Section 8 owners (excludes housing choice voucher owners), that
              have contracts with the Housing Authority, may request that the Housing
              Authority obtain criminal records, on their behalf, for the purpose of eviction or



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             lease enforcement. The Housing Authority will, however, charge a fee in order to
             cover costs associated with the review of criminal records.
             Project-based owners must submit the following items in order for the Housing
             Authority to process criminal records. Owner requests must include:
                1. A copy of a signed consent form from each adult household members,
                   age 18 years and older. Included in the consent form must be a legible
                   name, the date of birth, a California Identification Number, and a Social
                   Security number. This information will be used for the sole purpose of
                   distinguishing persons with similar names or birth dates.
                2. An owner's criteria or standards for evicting drug criminals in accordance
                   with HUD regulations (§ 5.857 of 24 CFR Parts 5 et al.); or criteria for
                   evicting other criminals (§ 5.858 of 24 CFR Parts 5 et al.); or criteria for
                   lease enforcement.
             Once the Housing Authority obtains the criminal records, a determination will be
             made as to whether a criminal act, as shown by a criminal record, can be used
             as a basis for eviction or lease enforcement. The Housing Authority will base its
             determination in accordance with HUD regulations and the owner criteria.
             It is important to note that the Housing Authority will not disclose the participant's
             criminal conviction record, nor the content of that record to the owner unless the
             owner is proceeding with a judicial eviction process. fn the case of a judicial
             eviction, the owner must provide the Housing Authority with a certification that
             the criminal records are necessary to proceed with the eviction.

      14.5    MUTUAL TERMINATION OF THE LEASE
             In cases where the owner and the family agree to terminate the lease, both
             parties have an obligation to notify the Housing Authority in writing at least 30
             calendar days in advance of the vacate date in order that Housing Authority may
             avoid overpayment to the owner. If the family has properly notified the Housing
             Authority and is in good standing, they will be scheduled for an issuance session
             where they will receive a voucher and all the necessary documents to search for
             a new unit.

      14.6    TERMINATION OF THE HAP CONTRACT BY HOUSING AUTHORITY
             [24 CFR &982.453 —X982.4541
              The Housing Authority will terminate the HAP contract as follows:
              1. When the Housing Authority terminates program assistance for the family.
              2. When the owner has breached the HAP contract.
                 Any of the following actions will be considered a breach of the HAP contract
                 by the owner:
                 ➢ The owner has violated any obligation under the HAP contract for the
                     dwelling unit, including the owner's obligation to maintain the unit
                     according to housing quality standards, including any standards the
                     Housing Authority has adopted in this policy [24 CFR §982.453(a)(1)].



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                  The owner has violated any obligation under any other HAP contract
                  under Section 8 of the 1937 Act (42 U.S.C. 1437f) (24 CFR

               ➢ The owner has committed fraud, bribery or any other corrupt or criminal
                 act in connection with any federal housing program [24 CFR

               ➢ The owner has failed to comply with regulations, the mortgage or note, or
                 the regulatory agreement for projects with mortgages insured by HUD or
                 loans made by HUD [24 CFR §982.453(a)(4)].
               ➢ The owner has engaged in drug-related criminal activity [24 CFR

               ➢ The owner has committed any violent criminal activity [24 CFR

            3. If the family is required to move from a unit which is overcrowded based on
               the Housing Authority's current subsidy standards[24 CFR §982.403(a)].
            4. If funding is no longer available under the ACC[24 CFR §982.454].
               ➢ Before terminating HAP contracts on the basis of insufficient funding, the
                 Housing Authority is required to ensure that the determination of
                 insufficient funding is documented. The Housing Authority will consider
                 funding insufficient if it is determined that the projected year-end subsidy
                 falls short of the authorized budget amount.
                ➢ The Housing Authority will determine the number of families that must be
                  terminated, and will present the Board of Commissioners with a
                  recommended method for terminating HAP contracts. Following Board of
                  Commissioner and HUD notification, the Housing Authority will terminate
                  HAP contracts.
                ➢ Contracts of elderly and disabled families will not be subject to
                  termination.
                ➢ Terminated families will be placed on the waiting list and will receive a
                  preference for assistance from the waiting list.
            The Housing Authority may terminate the HAP contract if the owner has violated
            any obligation under any other HAP contract under Section 8 of the 1937 Act(42
            U.S.C. 1437f)[24 CFR §982.453(a)(2)]. The Housing Authority will consider the
            following list of factors in determining whether to terminate the HAP contract for a
            violation of another HAP contract:

                ➢ The nature of the breach
                ➢ The location of the other units under contract compared to the subject unit
                ➢ The impacts on participants in other the units

            Additionally, an owner who breaches a HAP contract may be disapproved to
            participate in Housing Authority programs, as detailed in Section 9.10 (Owner
            Disapproval). The Housing Authority's rights and remedies against the owner
            under the HAP contract include recovery of overpayments, abatement or other



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             reduction of housing assistance payments, termination of housing assistance
             payments, and termination of the HAP contracts.

             Request for reasonable accommodations relating to termination of HAP contracts
             will be reviewed on a case-by-case basis.

      14.7    HAP PAYMENTS AND CONTRACT TERMINATIONS
             [24 CFR §982.3111
             When a HAP contract terminates, the Housing Authority will make payments in
             accordance with the HAP contract and depending on the reason for the contract
             termination.
             In cases involving a tenant notice to move or a mutual termination, not involving
             an eviction action, the Housing Authority will pay the owner for the entire last
             month that the family was in the unit regardless of the actual day of the month
             that the family moved out. The Housing Authority may also pay a HAP on behalf
             of the family for the new unit in the same month. However, while the Housing
             Authority can pay a subsidy for two units in a given month under these
             conditions, the family may only have physical possession of one unit at a time. A
             family will be considered to have physical possession of a unit if they still have
             belongings in the unit and the key to the unit. Under such cases, the family will
             be required to pay the full rent for one of the units in its possession and the
             family's portion for the other unit[24 CFR §982.311(d)].
              In cases involving evictions, the Housing Authority will continue to pay the HAP
              until the day the family moves out or is evicted [24 CFR §982.311(b)].
              In cases involving termination of assistance due to insufficient funding, families
              will receive a minimum of 30 days notice of termination of assistance.
             In cases involving termination of assistance for reasons other than insufficient
             funding, the Housing Authority will notify. the owner and the family of the
             proposed termination date. If the family does not request a hearing or the
             hearing is decided in the Housing Authority's favor, the HAP payments will
             terminate in accordance with the notification. If a family continues to occupy the
             unit after assistance is terminated, the family is responsible for the total amount
             of rent due to the owner.
              If HAP payments are released to the owner for periods of time beyond the dates
              set forth above, the owner will be required to return atl monies to the Housing
              Authority within 30 calendar days or within the time specified in any approved
              repayment agreement. The Housing Authority also reserves the right to deduct
              any monies from other HAP payments being made to the owner by the Housing
              Authority. If the owner fails to repay the HAP, the account will be forwarded for
              further action.




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                                         CHAPTER 15:
                                      FAMILY OBLIGATIONS

      15.1   INTRODUCTION
             f24 CFR §982.552(a)1
             The Housing Authority may terminate assistance for a family because of the
             family's action or failure to act. The Housing Authority will provide families with a
             written description of the family obligations under the program, the grounds under
             which the Housing Authority can terminate assistance, and the Housing
             Authority's informal hearing procedures. This chapter describes when the
             Housing Authority is required to terminate assistance, and the Housing
             Authority's policies for the termination of assistance.

      15.2   GROUNDS FOR TERMINATION
             f24 CFR §982.552(c)(2)(iv)1
             The Housing Authority will not terminate assistance of a participant who is or has
             been a victim of domestic violence, dating violence, sexual assault, or stalking, if
             the participant otherwise qualifies for assistance.
             If termination is based upon behavior resulting from a disability, the Housing
             Authority will delay the termination in order to determine if there is a reasonable
             accommodation, pursuant to law, that would cure the grounds for the termination.

      15.2.1 Form of Termination
             Termination of assistance for a participant may include any or all of the following
             [24 CFR §982.552(a)(3)]:
                 1. Refusal to enter into a HAP contract or approve a lease
                 2. Termination of HAP under an outstanding HAP contract
                 3. Refusal to process or provide assistance under portability procedures

      15.2.2 Mandatory Termination
             The Housing Authority must terminate assistance for participants under the
             following conditions:
                     tf any member of the family fails to sign and submit to HUD or Housing
                     Authority required consent forms for obtaining information [24 CFR

                 2. If no member of the family is an U.S. citizen or eligible immigrant[24 CFR

                 3. If 180 calendar days have elapsed since the Housing Authority's last
                    housing assistance payment was made.
                 4. If any family member fails to meet the eligibility requirements concerning
                    individuals enrolled at an institution of higher education as specified in
                    Section 2.5[24 CFR §5.612].



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